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              Declaration of Patrick L. Clawson, Ph.D.
            Fishbeck, et al. v. The Islamic Republic of Iran, et al.

          United States District Court for the District of Columbia

                                April 25, 2022




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                        Declaration of Patrick L. Clawson, Ph.D.
       Under 28 U.S.C. § 1746, I, Patrick L. Clawson, Ph.D., hereby declare under penalty of

perjury as follows:

I.     Professional Background and Witness Qualifications
       1.       I am an adult citizen who resides in the District of Columbia.

       2.       I am an expert on the Islamic Republic of Iran (“Iran”) and have extensively studied

and researched Iran and its sponsorship of terrorism, its economy, and its politics. This Declaration

is submitted to provide the Court with facts and evidence concerning Iran’s system of government,

including how Iran masks its responsibility for actions carried out by its agents when those actions

may draw opprobrium, either at home or abroad.

       3.       I am the Director of Research at the Washington Institute for Near East Policy

(which I will refer to from now on as “The Washington Institute”), where I have been employed

since 1997. My previous positions include five years as senior research professor at the Institute

for National Strategic Studies of the National Defense University and senior economist for four

years each at the Foreign Policy Research Institute, the World Bank, and the International

Monetary Fund. Most of my professional life has been spent studying the Middle East, and in

particular, Iran. My first scholarly article on the Middle East was published approximately 30 years

ago, and the first work I did on the region for the Central Intelligence Agency was approximately

20 years ago.

       4.       The Washington Institute is a think tank, in other words, a 501(c)(3) organization,

which receives funding from a variety of individuals, only Americans, to conduct studies about

U.S. foreign policy interests and concerns in the Middle East. The Washington Institute also

studies domestic and internal issues relating to the Iranian government. My work includes




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extensive research regarding the Iranian Ministry of Intelligence and Security (“MOIS”), the

Iranian Revolutionary Guard Corps (the “IRGC”), and its Qods Force (“Qods Force” or “IRGC-

QF”).

        5.      I have done contract consulting work on Iran and the Middle East for several U.S.

government agencies over the last 30 years, including the Central Intelligence Agency, the Defense

Department, the State Department Bureau of Intelligence and Research, and, through various

contractors, the National Security Agency and the Defense Intelligence Agency. While at the

National Defense University, I worked closely with officials from a wide range of U.S. government

agencies on issues of Middle Eastern politics, including close work with the Central Command

(the U.S. military command responsible for the Middle East), and its subordinate commands, and

with the staff of the Joint Chiefs of Staff.

        6.      For the past 22 years, I have been the Director for Research (or, before staff

reorganization, Deputy Director) at the Washington Institute, a think tank focusing on

contemporary issues of the Middle East. In this capacity, I, inter alia, supervise a staff of about 20

senior researchers who study Middle East politics and terrorism, with considerable focus on Iran

and Syria. Researchers with whom I have worked at the Washington Institute include Dennis Ross,

President Clinton’s chief Middle East peace process negotiator, and who was for four years the

individual at the Obama Administration’s National Security Council responsible for the “Central

Region,” the Central Command covering the Middle East; former Deputy Assistant Secretary of

the Treasury for Intelligence, Matthew Levitt, responsible, inter alia, for following Iranian terror

financing; and several former U.S. ambassadors, including James Jeffrey, Ambassador to Turkey

and Iraq (at different times), as well as currently, State Department Special Envoy to the Global

Coalition to Defeat ISIS (the Islamic State in Iraq and Syria), and Barbara Leaf, Ambassador to




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the United Arab Emirates. I also brief and receive briefings from senior United States military

officials and senior officials of other governments friendly to the United States.

       7.      I have previously been designated and qualified by federal courts as an expert

witness on issues relating to Iran, Iran’s support for terrorism, its economy, and other issues, and

have given live or written testimony in various cases brought against Iran for its sponsorship of

terrorism. In the last four years, those cases were:

               Weinstock v. Islamic Republic of Iran [S.D. Fla., October 2018, No. 1:17-cv-
               23272].
               Hake et al v. Bank Markazi Jomhouri Islami Iran et al [D.D.C., May 2018, No. 17-
               cv-114 (TJK)].
               Havlish v. Islamic Republic of Iran [BCSC, October 2017, No. S-168272].
               Allan et al v. Islamic Republic of Iran [D.D.C. May, 2017, No. 1:17-cv-00338
               (RJL)].
               Parhamovich et al v. Islamic Republic of Iran et al [D.D.C., April 2017, No. 1:17-
               cv-00061].
               Force v. Islamic Republic of Iran [D.D.C., January 2017, No. 16-01468 (RDM)].
               Hirshfeld v. Islamic Republic of Iran [D.D.C., December 27, 2016, No. 15-cv-2272
               (RBW)].
               Braun v. Islamic Republic of Iran [D.D.C., May 2016, No. 15-01136 (BAH)].
               Lelchook v. Islamic Republic of Iran [D. Mass., May 2016, No. 15-13715 (PBS)].
               Kaplan v. Central Bank of Iran [D.D.C., November 2015, No. 10-483 (RCL)].
       8.      Older cases in which I have given live or written testimony include: Cicippio v.

Islamic Republic of Iran, U.S.D.C., D.C. No. 96-01805 (1996); Flatow v. Islamic Republic of Iran,

999 F. Supp. 1, 8-9 (D.D.C. 1998); Cronin v. Islamic Republic of Iran, U.S.D.C., D.C. No. 99-

02890 (1999); Higgins v. Islamic Republic of Iran, U.S.D.C., D.C. No. 99-00377 (1999); Stethem

v. Islamic Republic of Iran, U.S.D.C., D.C. No. 00-00159 (2000); Hegna v. Islamic Republic of

Iran, U.S.D.C., D.C. No. 00-00716 (2000); Anderson v. Islamic Republic of Iran, 90 F. Supp. 2d

107, 112-113 (D.D.C. 2000); Eisenfeld v. Islamic Republic of Iran, 172 F. Supp. 2d 1, 5 (D.D.C.

2000); Elahi v. Islamic Republic of Iran, U.S.D.C., D.C. No. 99-02802 (1999); Wagner v. Islamic

Republic of Iran, U.S.D.C., D.C. No. 00-017999; Polhill v. Islamic Republic of Iran, U.S.D.C.,




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D.C. No. 00-01798 (2000); Mousa v. Islamic Republic of Iran, 238 F. Supp. 2d 1, 3-4 (D.D.C.

2001); Raffi v. Islamic Republic of Iran, U.S.D.C., D.C. No. 01-850 (2001); Kerr v. Islamic

Republic of Iran, U.S.D.C., D.C. No. 01-01994 (2001); Surette v. Islamic Republic of Iran,

U.S.D.C., D.C. No. 01-00570 (2001); Weinstein v. Islamic Republic of Iran, 184 F. Supp. 2d 13,

19 (D.D.C. 2002); Ungar v. Islamic Republic of Iran, 271 F. Supp. 2d 91, 93 (D.D.C. 2002); Stern

v. Islamic Republic of Iran, 271 F. Supp. 2d 286, 288 (D.D.C. 2003); Rieger v. Islamic Republic

of Iran, 281 F. Supp. 2d 87, 90 (D.D.C. 2003); Campuzano v. Islamic Republic of Iran, 281 F.

Supp. 2d 258, 262 (D.D.C. 2003); Greenbaum v. Islamic Republic of Iran, No. 02-2148, 2006 WL

2374221 at *3 (D.D.C. Aug. 10, 2006); Levin v. Islamic Republic of Iran, U.S.D.C., D.C. No. 05-

2494 (2007); Owens v. Republic of Sudan, et al., No. 01-2244, 2011 U.S. Dist. LEXIS 135961

(D.D.C. Nov. 28, 2011); In Re Terrorist Attacks on September 11, 2001, No. 03-MDL-1570

(S.D.N.Y. Dec. 22, 2011), and In Re: 650 Fifth Avenue and Related Properties, 08 Cv. 10934

(KBF), among others.

       9.      I have testified about Iran and/or Syria before the House International Relations,

National Security, and Banking and Financial Services Committees, as well as the Senate Foreign

Relations and Banking Committees.

       10.     I have made presentations about the foreign and economic policy of Iran and U.S.

policy towards Iran at conferences sponsored by, amongst other organizations, the Iranian Foreign

Ministry’s Institute for Political and International Studies in Tehran, Iran; the Royal Institute for

International Affairs in London, UK; the Royal United Services Institute in London, UK; the

Japanese Foreign Ministry in Tokyo, Japan; the Institute for Defense Studies and Analysis in New

Delhi, India; the Shanghai Institute for International Studies in Shanghai, China; the Jaffee Center

of Tel Aviv University in Tel Aviv, Israel; the Council for Foreign Relations in New York City,




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New York; the Nixon Center (part of the Nixon Presidential Library); and the Carnegie

Endowment for International Peace in Washington, D.C.; and a great many universities. I have

given presentations concerning Middle Eastern politics and security at more than 200 symposiums

in more than 20 countries.

       11.    My most recent co-authored book, The Monetary History of Iran From the Safavids

to the Qajars (I.B. Tauris, 2013), with Rudi Matthee and Willem Floor, won the Middle East

Studies Association of North America’s Pourshariati Award for best book about Iran. My books

and monographs published in the last ten years are: Tactical Issues Surrounding a U.S. Withdrawal

from the Iran Nuclear Agreement (The Washington Institute, 2018); Reinforcing the Role of

Sanctions in Restraining Iran (The Washington Institute, 2017, with Katherine Bauer and Matthew

Levitt); Syrian Kurds as a U.S. Ally: Cooperation and Complications (The Washington Institute,

2016, with six Institute fellows); Energizing Policy: America and the Middle East in an Era of

Plentiful Oil (The Washington Institute, 2016, with Simon Henderson); How Iranians Might React

to a Nuclear Deal (The Washington Institute, 2014, with Mehdi Khalaji); Preventing an Iranian

Nuclear Breakout: U.S.-Israel Coordination (The Washington Institute, 2012, with David

Makovsky); An Iranian Nuclear Outbreak is Not Inevitable (The Washington Institute, 2012); The

Red Line: How to Assess Progress in U.S. Iran Policy (The Washington Institute, 2010); The

Perfect Handshake with Iran: Prudent Military Strategy and Pragmatic Policy (The Washington

Institute, 2010); Much Traction from Measured Steps: The Iranian Opposition, the Nuclear Issue,

and the West (The Washington Institute, 2010); and Engaging Iran: Lessons from the Past (The

Washington Institute, 2009, edited). In the last ten years, I also wrote about 100 articles which




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appeared in various publications. A complete list of those publications can be found on The

Washington Institute for Near East Policy website, 1 and in the page about me. 2

           12.     My older books and monographs about Iran include: The Last Resort:

Consequences of Preventative Military Action Against Iran (The Washington Institute, 2008, with

Michael Eisenstadt); Eternal Iran: Continuity and Chaos (Palgrave Press, 2005, with Michael

Rubin); Getting Ready for a Nuclear-Ready Iran (U.S. Army War College, 2005, with Henry

Sokolski, edited); Checking Iran’s Nuclear Ambitions (U.S. Army War College, 2004, with Henry

Sokolski, edited); Iran Under Khatami (The Washington Institute for Near East Policy, 1998, with

others); Strategic Assessment, (the flagship annual report of the Institute for National Strategic

Studies of the National Defense University, which I inaugurated and edited for three years, 1995-

1997); U.S. Sanctions on Iran (Emirates Centre for Strategic Studies and Research, 1997);

Business as Usual? Western Policy Options Towards Iran (American Jewish Committee 1995);

Energy Security in the Twenty-First Century (National Defense University Press, 1995, edited);

Iran’s Strategic Intentions and Capabilities (National Defense University Press, 1994, edited); and

Iran’s Challenge to the West: How, When, and Why (the Washington Institute for Near East Policy,

1993). I have also written or edited several monographs and books on other issues, such as the

Andean cocaine trade.

           13.     I have written about the contemporary Middle East for The New Republic. I have

also authored op-ed articles in The New York Times, Wall Street Journal, and Washington Post,

amongst other newspapers. I am the author of more than 40 scholarly articles in Foreign Affairs,

Survival, Washington Quarterly, International Journal of Middle East Studies, Middle East




1
    Available at https://www.washingtoninstitute.org/.
2
    Available at https://www.washingtoninstitute.org/policy-analysis/#authors=14611&page=100|0.


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Journal, Les Cahiers de l’Orient, and Oxford Bulletin of Economics and Statistics, among other

journals.

        14.    From 1995 to 2012, I was senior editor of Middle East Quarterly, a journal of

Middle Eastern affairs, which regularly publishes on Iranian and Syrian politics and foreign policy.

From 1990 through 1994, I was editor of Orbis, a foreign policy journal.

        15.    My Ph.D. in economics is from the New School for Social Research and my B.A.

is from Oberlin College.

        16.    I am able to read and/or speak Persian and French as well as some Hebrew, Spanish,

and German. I read the Iranian press regularly through the internet. I also read other publications

from Iran, including books in Persian.

        17.    I am being compensated by counsel for the Plaintiffs for my time expended on this

matter. My hourly rate for my research, analysis and the preparation of this report is $150. To date,

I have expended approximately 110 hours on this matter.

II.     Scope of Opinions and Executive Summary
        18.    In this Declaration, I will explain the general organization of the leadership of the

Islamic Republic of Iran (“Iran”). Iran has established a whole set of institutions which are

controlled by the Supreme Leader, the constitutional head of the Iranian system, which do not

report publicly about their activities and which have long engaged in activities illegal under Iranian

law and/or contrary to international norms. The revolutionary institutions, which are directly and

tightly controlled by the Supreme Leader, do not report to the regular government bodies, such as

the Ministry of Foreign Affairs, but they are very much part of the government of Iran.

        19.    I will discuss the Islamic Republic of Iran’s history of attempts to exert influence

through terrorist activities. For over thirty years, Iran has provided material support to terrorism

targeting Americans with the objectives of reducing U.S. presence and influence in the Middle


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East and U.S. influence around the world. Iran has a long history of conducting its support

operations in such a way as to deny responsibility, including compartmentalizing knowledge of

these operations so that the regular government – as distinct from the more powerful revolutionary

institutions – is unaware of what is transpiring. I will discuss Iran’s willingness to work with a

wide variety of terrorist groups, including Sunni extremists hostile to Shi’ism and to Iran.

       20.     I will argue that the Iranian government has a long history of using shadowy means

to carry out terror operations, including hostage-taking and financial support of terrorist

organizations. Many of Iran’s efforts in this regard are with an eye towards maintaining plausible

deniability of Iran’s role. There is strong reason to believe that the actions of Iran’s agents are

under the control and at the direction of Iran’s Supreme Leader.

       21.     I will discuss the relationship to the government of Iran and to terrorism of the

Islamic Revolutionary Guard Corps (IRGC). The IRGC is one of the major organizations through

which Iran has historically carried out its support for terrorism. From its creation through the

present day, the IRGC has been directly controlled by the Supreme Leader. IRGC, principally

through its section known as the Quds Force (IRGC-QF), has been an active supporter of terrorism

for more than thirty years.

       22.     I will discuss the relationship to the government of Iran and to terrorism of the

Ministry of Intelligence and Security (MOIS). MOIS is, in addition to the IRGC, the other principal

organization Iran has used to carry out its terrorist support activities. In providing support to

terrorist groups, MOIS and the IRGC are acting as agencies of the Iranian government whose

activities are tightly and carefully controlled by the Iranian government through the Supreme

Leader and his representatives; the support provided to terrorist groups by the IRGC-QF and MOIS

is an official policy of the Iranian government.




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         23.   I will discuss the relationship to the government of Iran and to terrorism of the Bank

Markazi Jomhouri Islami Iran (otherwise known as the Central Bank of Iran, or Merkazi). Merkazi,

as Iran’s central bank, is subject to the control of the Iranian government both in law and practice.

Iran has used Merkazi for many years, including 2003-2011, to transfer funds to support terrorism.

         24.   I will discuss the relationship to the government of Iran and to terrorism of Bank

Melli / Melli Bank PLC. Bank Melli Iran and Melli Bank PLC are fully owned and controlled by

the government of the Islamic Republic of Iran. They take actions that make no sense commercially

but serve the foreign and security policy goals of the Iranian government. Bank Melli has been

used by IRGC-QF to provide support to terrorist groups.

         25.   I will discuss the relationship to the government of Iran and to terrorism of the

National Iranian Oil Company (NIOC). NIOC is entirely owned by the Government of Iran. At

times NIOC has directly provided support to terrorist groups, such as its support for terrorist attacks

in Iraq, but its more common role has been to support the IRGC-QF and other Iranian government

agencies in financing terrorism.

         26.   I will discuss how Iran evades sanctions and commits acts of terrorism through use

of agents/proxies, specifically, the Reconstruction Organization of the Holy Shrines of Iraq, the

Islamic Republic of Iran Shipping Lines (IRISL), Mahan Air, and Khatam al-Anbiya Construction

Company.

         27.   In short, based upon my expertise and the facts of which I have been apprised, I

conclude that it is reasonably certain that Iran and the other Defendants provided material support

to those carrying out many attacks on Americans in Iraq during the period 2003-2011.

III.     Information Assembled and Consulted to Form Opinions
         28.   This Declaration is based upon the case materials I have been provided as well as

my independent research and general knowledge of this matter.


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        29.      My knowledge about Iran comes as a result of my routine and in-depth access to

facts concerning that country, its politics, its economy, and my extensive study as outlined herein,

including my professional research and publishing in this field over the course of many years.

Indeed, as part of my work, I spend at least an hour a day reviewing writings, including online

sources, from and about Iran. Iran is a relatively open information country in which the competing

political forces frequently reveal information about the country’s security apparatus and debate

issues relating to terrorism. Iran even has many internet sites that publish information on these

subjects. From my years studying Iranian politics and given the competing sources that can be

compared, I believe that I am able to determine whether Iranian reports on these subjects are

credible. Indeed, I use this information as a source to brief the United States and other

governments. Furthermore, Iran and many political actors in Iran have been openly boastful about

activities that violate Iranian law and/or international norms, at times describing them in detail.

        30.      My opinions set forth below are based upon my education, research, and

experience, as well as my review and analysis of documents typically relied upon by experts in my

field. The bases for the opinions set forth herein include but are not limited to: official speeches

made by Iranian officials, U.S. officials, and the officials of other countries; my conversations with

U.S. officials, former Iranian officials, and officials of other countries; and my review and analysis

of relevant documents, including newspaper accounts (in both the English language press and

Persian language press). I rely extensively on statements from the U.S. government.

        31.      More specifically, I made extensive use of the U.S. Treasury Department

statements about Iran. 3 I also used the Treasury Department’s Office of Foreign Assets Control




3
  PX31 Collected at https://home.treasury.gov/policy-issues/financial-sanctions/sanctions-programs-and-country-
information/iran-sanctions


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website, which has detailed fact sheets and lists of individuals and entities designated under various

Executive Orders (E.O.), such as E.O. 13224. 4

        32.     Other Treasury Department materials are specifically cited herein.

        33.     I consulted a variety of material from the State Department. 5 I particularly used the

United States Department of State Office of the Coordinator for Counterterrorism’s annual report

which used to be called Patterns of Global Terrorism and is now called PX202 – 209 Country

Reports on Terrorism.

        34.     I used the statements I prepared for court cases in which I have been an expert

witness, listed separately in this Declaration. I also referred to the court decisions in Peterson v.

Islamic Republic of Iran, 2013 WL 1155576, at *26 (S.D.N.Y. March 13, 2013) and Weinstein v.

Islamic Republic of Iran. 299 F. Supp. 2d 63, 66-70 (E.D.N.Y. 2004).

        35.     I used the decision of the UK court in a case involving Mahan Air, EWCA Civ 544

(11 May 2011). 6

        36.     I used material from a variety of international organizations, as cited herein,

particularly material from:

                         International Monetary Fund (IMF).
                         Financial Action Task Force (FATF), an inter-governmental body with 36
                         members including the United States.
                         The World Bank.
                         UN Security Council Resolution 1803, S/RES/1803(2008).
                         Council of Europe, Committee of Experts on the Evaluation of Anti-Money
                         Laundering Measures and the Financing of Terrorism.
        37.     I consulted the website of the Society for Worldwide Interbank Financial

Telecommunication (SWIFT).



4
  PX32 Available at https://www.treasury.gov/resource-center/sanctions/Programs/Documents/terror.pdf (accessed
June 27, 2019; material subsequently removed from that website).
5
  PX264 Some of their Iran material is at https://www.state.gov/countries-areas/iran/.
6
  Available at http://www.bailii.org/ew/cases/EWCA/Civ/2011/544.html.


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        38.     I used materials from reputable newspapers and news services, especially the New

York Times, the Washington Post, the Wall Street Journal, the Financial Times (UK), and Reuters,

as cited herein.

        39.     I used specialized news services which cover Middle East developments in more

detail, as cited herein.

        40.     I used material from Iranian entities’ websites, as cited herein. I have tried to

identify material in English which I could cite here, though in almost every case I was able to

cross-check that against the Persian language material.

        41.     I used material from reliable Iranian news sources available online, including the

English-language Financial Tribune and its sister Persian-language economic news source Donya

Eqtesad.

        42.     I consulted a wide array of scholarly articles and books about Iran, the terrorist

groups it supports, and the war in Iraq, as cited herein.

        43.     I consulted with my colleagues at The Washington Institute for Near East Policy,

including Michael Knights, who has written extensively about the war in Iraq; Matthew Levitt, a

former Treasury Department Deputy Assistant Secretary, who has testified in many court cases

about Iranian-supported terrorism; Katherine Bauer, a former Treasury Department official who

has worked on and written about Iranian financial practices; and Mehdi Khalaji, who was educated

in Qom religious seminaries for 14 years and has written extensively about the Iranian political

system.

IV.     Iranian Regime
        44.     In 1979, the Islamic Republic of Iran came to power both through a popular

revolution and then through a series of referenda. This government replaced the previous regime,

which was headed by Shah Mohammad Reza Pahlavi.


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       45.     From the beginning, the Islamic Republic of Iran’s political and religious

institutions were overseen by a single person, who was called “the Supreme Leader.”

       46.     The philosophy of government has prevailed since the early days following the

revolution and continues through the current day. In this philosophy, the Supreme Leader is acting

as the earthly representative for the “hidden imam,” who will return at the end of days.

       47.     In the hidden imam’s absence, the Supreme Leader has the authority to make any

decision – be it religious or political. The Iranian Constitution provides that the Supreme Leader

has the authority to dismiss the Iranian President, overrule the parliament and the courts, and

overrule any secular law. Indeed, under the Constitution, the Supreme Leader appoints an

Expediency Council to advise and assist him in overriding any law, civil or religious, which is

found inexpedient. He is the commander-in-chief and personally appoints all generals. He appoints

the head of the judiciary and the head of the monopoly state television and radio. He appoints the

Guardian Council, which has to approve all laws passed by the parliament. He has personal

representatives in every major government office, every province, and every city, with these

people being more important than those nominally in charge.

       48.     In addition, the Supreme Leader is imbued by the religious community with the

authority to overrule any religious law if necessary for the “expediency of the system.” The

revolution’s founder Ayatollah Ruhollah Khomeini said the Supreme Leader can set aside the most

binding obligations of Islamic law and the Quran if that is necessary to preserve the system.

       49.     At the time of the 1979 revolution, Ayatollah Ruhollah Khomeinei was the

Supreme Leader. Currently, the Supreme Leader is Ayatollah Ali Khamenei. He is the only person,

other than Ayatollah Khomeinei, to ever hold the title of Supreme Leader.




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       50.      The Supreme Leader is not popularly elected. He is chosen by an “Assembly of

Experts,” the members of which, in theory, are popularly elected. In fact, however, all candidates

must be approved by the previous Supreme Leader. That makes the selection of the Supreme

Leader rather like the election of a Pope by the College of Cardinals.

       51.      The Islamic Republic of Iran’s political structure is bifurcated into two aspects: (1)

a formal governmental structure; and (2) a revolutionary structure. The Supreme Leader oversees

both aspects.

       52.      An untrained observer could mistakenly regard the activities of Iran’s revolutionary

institutions as occurring outside of the formal governmental structure, i.e., the actions of

enthusiastic outsiders. Nothing could be further from the truth. In fact, the two parallel sets of

institutions are embodied in the Iranian constitution and in Iranian law, as well as being well-

established in Iranian political culture. The Supreme Leader is firmly in charge of both sets of

institutions. In addition to his personal representatives in many places, he maintains an Office (the

Office of the Supreme Leader) with several thousand staff who intervene in every ministry, in

every province, in every IRGC brigade, and in every major decision and many minor ones.

       53.      His Office maintains a tight control over many aspects of Iranian life, going far

beyond the formal government structure. His influence over the economy is particularly vast. He

appoints the head of the religious foundations, including the shrine in Meshed (known as Ostan-e

Qods-e Razavi) which alone has assets in the many tens of billions of dollars. The Supreme Leader

also personally controls Iran’s largest economic enterprise, The Headquarters for Executing the

Order of the Imam known to Iranians as Setad, which Reuters estimated in 2013 had assets worth

$95 billion.7


7
   Reuters, “Khamenei controls massive financial empire built on property seizures,” November 11, 2013,
https://www.reuters.com/investigates/iran/#article/part1.


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       54.     He provides the directives to both the formal government institutions and the

revolutionary institutions – directives he rarely allows to be publicly revealed. Iranian politicians

have complained that his instructions can be vague and contradictory – he may tell one set of actors

to do one thing and then tell another set of actors to carry out actions that frustrate what he just

told the first group. Iranian observers frequently characterize his governing style as desiring credit

for all successful results without being assigned blame for that which goes badly. Given how the

Supreme Leader has chosen to rule, he has full responsibility for actions taken by a wide array of

actors in Iran, be they part of the formal government or in various parallel institutions.

       55.     Iran’s president is constitutionally subordinate to the Supreme Leader, but

otherwise leads Iran’s formal governmental structure. However, the president has little, if any,

control over some key institutions in the formal governmental structure, including MOIS. While

he was president (1997-2005), Ali Khatami complained that he had no role in selecting the head

of MOIS and that MOIS did not inform him about its activities, reporting only to the Supreme

Leader. It is widely said that the same is true of other sensitive positions, such as the head of Voice

and Vision which is the national monopoly over radio and television.

V.     Non-Transparent Character of the Iranian Government
       56.     The Supreme Leader oversees the revolutionary structure. The revolutionary

structure includes entities, some of which are described herein, that are parallel to the traditional

government agencies within the formal government structure. These revolutionary institutions are

provided for in law, including in Iran’s constitution, and their superiority over the regular

governmental institutions is deeply embedded in the Iranian system. For example, the IRGC is

parallel to the regular military of Iran, and the IRGC has steadily increased its power over the years

relative to that of the regular military to the point that the IRGC’s budget is more than five times

that of the military (not even factoring in the extensive extra-budgetary resources on which the


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IRGC can draw). There are revolutionary courts that are parallel to the regular courts of Iran, and

those revolutionary courts assert the authority to run prisons and police outside the control of the

formal government. As those two cases illustrate, in each pair of institutions, the revolutionary

institution is the more powerful.

       57.     Other powerful components of the revolutionary institutions are the foundations

(the Persian term is bonyads) which control much of the Iranian economy. These foundations were

generally established with assets seized from those close to the previous imperial government,

including but not limited to the former royal family. These foundations are run under formal

charters which specify that their leadership is appointed by the Supreme Leader. They are

responsible to him alone. Few, if any, provide accounts which can be audited, much less controlled,

by the Majlis (the Iranian parliament) or formal government structures, as is required for state-

owned enterprises. Many of these foundations engage in extensive commercial activities. Credible

reports in the Iranian press and by Iranian economists state that many foundations evade or simply

violate laws, including engaging in extensive smuggling and tax evasion which goes beyond their

systematic refusal to pay income tax.

       58.     The Iranian government has encouraged a lack of transparency, especially as it

relates to the activities of the revolutionary institutions. In part, this is a feature of how Supreme

Leader Ali Khamenei maintains control. By using checks and balances among institutions—all of

which have to compete for his support—he can disguise his guiding hand in such a way that he is

above criticism. In addition, Iran has long been subject to U.S., European, and UN sanctions, and

it has asserted the right to evade those restrictions by engaging in subterfuge and misdirection. The

result is that Iran engages in extensive illegal methods to hide its tracks. Sigal Mandelker, the




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United States Under-Secretary of the Treasury for Terrorism and Financial Intelligence, has laid

out in detail the means Iran uses, which she summarized as: 8

        What is the paradigmatic example of a regime that uses deception and subterfuge
        to fund illicit activity? It is a regime that uses shell and front companies to conceal
        its tracks. It uses forged documents to hide its participants and deceive legitimate
        private and public actors. It misleads companies, financial institutions, and
        countries using seemingly legitimate businesses. It finds what it perceives to be
        weak links and exploits those links in the hopes that its activities will go undetected.
        It uses officials with influence and credentials to facilitate its illicit transactions.
        And all of this is in support of nefarious activity, whether it is funding terrorists,
        supporting WMD proliferation, or exploiting its own people through corruption and
        human rights abuses. What country fits this prototype? Iran.

VI.     Iranian Support for Terrorism as a Means to Accomplish Its Objectives
        59.     The Islamic Republic of Iran has from its start been convinced that the United States

is out for “regime change,” meaning the overthrow of the current regime. It has defined itself by

its enmity to the United States, which Iranian leaders see not only as hostile to their very system

but also as a malign force in the world. They regularly refer to the United States as “global

arrogance” (a term which has largely replaced “Great Satan,” Khomieni’s favorite description for

the United States). They are determined to reduce U.S. influence in the world and, in particular, to

force the United States to leave the Middle East.

        60.     They are well aware that Iran cannot defeat the United States in any conventional

military confrontation or through economic means. Therefore, Iran’s leaders have pursued non-

conventional approaches. One aspect of that is their pursuit of nuclear weapons. The other main

aspect has been the use of terrorism. Iran’s leaders are convinced that a casualty-shy United States

does not have staying power in face of constant attacks.




8
    PX117 Speech before the Foundation for               the   Defense   of   Democracies,   June   5,   2018,
https://home.treasury.gov/news/press-releases/sm0406.


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        61.     The models for what Iran aims to accomplish are: (1) the 1983 bombing of the

Beirut Marine barracks, which led President Ronald Reagan to pull all U.S. troops out of Lebanon

despite his earlier insistence they would stay; (2) the 1996 bombing of the Khobar Towers barracks

in Saudi Arabia which led the Saudi government to order U.S. forces to leave the kingdom; and

(3) the 2011 withdrawal of U.S. forces from Iraq which Tehran portrayed as a U.S. retreat under

pressure from the Iran-allied militias.

        62.     In each of those cases, Iran worked through proxy groups rather than carrying out

attacks directly itself. That technique allowed Iran to reduce the risk of retaliation. Iran has been

convinced that it will not face retaliation if it sponsors attacks on the United States so long as those

attacks are done by shadowy terrorist groups, with Tehran’s role being on the one hand sufficiently

obvious that Iran is given credit but on the other hand obscured enough that Washington does not

feel empowered to retaliate. And indeed, the United States has generally been reluctant to act

against Iran in the absence of clear and convincing evidence – evidence which often only becomes

available after so much time has lapsed that retaliation no longer seems appropriate. The

exceptions have been few, with the most stunning being the recent U.S. strike on IRGC-QF

commander Qassem Suleimani.

        63.     Iran has provided material support to a wide array of groups willing to attack U.S.

interests. Some of those groups are largely controlled by Iran, especially Lebanon’s Hezbollah and

many (but not all) of the Iraqi Shia militias. But Iran has also been willing to work with groups

which it does not control, such as the Palestinian Hamas group to which it has provided many tens

of millions (if not hundreds of millions) of dollars of support and many types of arms over the

years. Iran is even willing to work with groups which it fundamentally despises when they share a

common anti-American agenda. Prominent example is al-Qaeda, including al-Qaeda in Iraq during




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the period 2003-2011, as discussed below. The Islamic Republic of Iran’s material support to

terrorism targeting Americans has been with the objectives of reducing U.S. presence and

influence in the Middle East and U.S. influence around the world.

        64.     In addition to attacking U.S. interests, revolutionary Iran has long wanted to “export

the revolution” to the extent it can. Iran has largely been opportunistic about this objective, taking

advantage of opportunities without taking great risks. For many years, the most fruitful field for

the export of revolution was to Lebanon, with its large Shia community. However, even before the

2003 overthrow of Saddam Hussein, Iran put much effort into cultivating Iraqi Shia, including

supporting since the early 1980s an armed militia opposing Saddam. Soon after Saddam’s

overthrow, Iran went into overdrive to encourage any group willing to oppose the U.S. presence

there, with funds, arms, and training, as discussed below.

        65.     Iran has been on the U.S. State Department’s list of state sponsors of terrorism since

that list was first issued in the 1980s. Iran is identified in the State Department’s most recent annual

report about terrorist activities as a state sponsor of terrorism. In fact, the State Department has for

more than 20 years described Iran as the world’s leading state sponsor of terrorism.

        66.     In short, the Islamic Republic of Iran has for more than thirty years been a state

sponsor of terror. It provides material support to a wide range of terrorist groups in large part to

enhance their ability to attack U.S. interests.

VII.    Iranian Operations Conducted in the Shadows
        67.     Despite the differences about the character of Iranian support for various terrorist

groups, one constant has been that Iran typically disguises its actions in this regard. It conducts

terror-related activity in such a way that it hopes to claim credit in the eyes of those who support

its revolutionary goals while retaining plausible deniability which can dissuade extensive

retribution from the international community.


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         68.      Many examples could be given to illustrate this pattern, for instance, Iran’s role in

murdering Iranian dissident leaders in a Berlin restaurant in 1989. In that instance, a German court

concluded that the murders had been done at the direction of Iran’s president with approval from

its most senior foreign-policy setting body (the Supreme National Security Council) – despite the

Iranian officials’ vehement denial of having had any role in the killings. 9

         69.      I will confine myself to two examples about which the U.S. government has

provided significant information: First, Iran’s support for bombings and kidnappings of

Westerners by Lebanese Hezbollah in the 1980s, and second, Iran’s support for Al Qaeda and Al

Qaeda in Iraq for 20 years until about 2010.

           A.       Iran’s Disguised Role in Terrorism in Lebanon in the 1980s
         70.      Lebanon has a large Shia community which has close historical links to Iran. When

Israel invaded Lebanon in 1982, Iran was dismayed that the Shia were not opposed to the Israelis,

because the Israelis were seen as displacing the Palestine Liberation Organization (PLO) which

had been the main armed presence in the Shia-majority areas and which had treated the Shia badly.

Iran moved quickly to mobilize radical elements to fight the Israelis, sending IRGC soldiers to set

up a base in the Bekaa Valley (safe from Israeli retaliation) and deploy trainers from there at a

total strength of over 1,000 (1,500 being the usually cited figure). The Shaykh Abdallah barracks

in the Bekaa Valley were for decades after 1982-83 the headquarters for the IRGC in Lebanon and

a principal training facility for Hezbollah.


9
 On September 17, 1992, three leaders of Iranian Kurdish Democratic Party (KDP), Sadegh Sharafkandi, Fattah
Abdoli, Homayoun Ardalan and their translator Nouri Dehkord were assassinated in a restaurant called Mykonos in
Berlin. On April 10, 1997, a German court found Kazem Darabi, an Iranian who worked as a grocer in Berlin, and a
Lebanese man, Abbas Rhayel, guilty of murder and sentenced them to life in prison. Two other Lebanese, Youssef
Amin and Mohamed Atris, were convicted of being accessories to murder. Amin was given 11 years and Atris five
years and three months. The court stated that the order to kill came from top Iranian leaders, without identifying them
by name. Prosecutors had earlier implicated Iran's Supreme Leader, Ayatollah Ali Khamenei, and President Hashemi
Rafsanjani. The decision caused European Union countries to withdraw their ambassadors from Tehran for several
weeks.


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        71.      Iran also provided generous funding for terrorist activities from revolutionary

organizations, especially the Martyrs’ Foundation, and the Iranian embassies in Beirut and

Damascus. For instance, the Iranian Embassy in Damascus reportedly paid a courier the $50,000

used to finance the October 1983 bombing of the U.S. Marine Barracks in Beirut.

        72.      As I described in my testimony in Stethem v. Iran, at the time (the early- and mid-

1980s), I was among those analysts – probably a majority outside of the U.S. Government and

including many inside the U.S. Government – who thought that many of the attacks being claimed

by various shadowy groups were not necessarily centrally controlled and only loosely linked to

Iran. We now know better. In fact, Iran was the instigator of nearly all the attacks about which we

have knowledge.

        73.      The radical forces grew rapidly, as Israeli actions turned the Shia community

against them. By mid-1983, attacks on the Israeli forces by Shia fighters were becoming common.

The casualties the attacks were causing became a major political issue inside Israel. In early 1985,

Israel withdrew from most of Lebanon as a direct product of the attacks by radical forces, nearly

all of whom were Shia. This withdrawal was a major embarrassment for Israel and was described

by Iran as a major victory for the Islamic resistance.

        74.      That term “Islamic resistance” was much used by Sheikh Naim Qassem, long time

Deputy Secretary General of Hezbollah, in his book Hizbullah: The Story from Within. He

describes Hezbollah’s February 1985 Open Letter announcing its existence as coming after two

and a half years of secret activity, i.e., beginning right after the Israeli invasion of Lebanon– a

period when Hezbollah leaders, at Iranian instruction, denied that the organization existed: 10

        Hizbullah’s two and a half foundation years were sufficient to shape an effective
        jihad operation as represented by the Islamic Resistance forcing Israel’s partial
10
   Sheikh Naim Qassem, Hizbullah: The Story from Within (translated from the Arabic by Dalia Khalil, London: Saqi,
2005), p 181.


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       flight from Lebanon in 1985. It was also enough time for the crystallization of a
       political vision, the facets of which were harmonious with faith in Islam as a
       solution. A working agenda defining and expressing the entity called ‘Hizbullah’
       could thus be formulated and used as a point of entry into the Lebanese scene. The
       Party thus declared its ideological, jihad, political and social visions, as well as the
       launch of its political movement, when it issued the Open Letter on… February 16,
       1985… With this declaration Hizbullah entered a new phase, shifting the party from
       secret resistance activity that ran free from political or media interactions into
       public political work.
       75.     Iran’s decades-long, “behind the scenes” support of Hezbollah’s terrorist

activities—including hostage-taking by Hezbollah—is typical of the methods by which Iran

attempts to exert influence.

       76.     In the Lebanese hostage affair, Iran has shown its remarkable talent for holding

hostages well hidden from prying eyes. The United States government, among others, devoted

considerable efforts to find the hostages, to no success. Similarly, Hezbollah was able to hide for

two years the remains of two Israeli soldiers it claimed were still alive without Israel being able to

locate them or definitively learn of their fate, despite extraordinary efforts to that end. In other

words, Iran and its proxies are in a class by themselves when it comes to holding hostages, or their

corpses, hidden from the best intelligence agencies in the world.

         B.      Iran’s Disguised Role in Aiding al-Qaeda, including in Iraq
       77.     Another example of how Iran operates in the shadows is its support for al-Qaeda,

including in Iraq. Al-Qaeda is a Sunni terrorist group established in approximately 1988 or 1989

by Usama bin Ladin and Ayman al-Zawahiri to conduct international jihad. (The term “jihad”

herein is used in in the manner preferred by al-Qaeda, namely, holy war with the goal of the

establishment of the Islamic Caliphate worldwide. Most devout Muslims reject that meaning of

jihad.) I am here describing only Iran’s support to al-Qaeda’s Iraqi affiliate, al-Qaeda in Iraq,

though it is worth noting that Iran’s support to al-Qaeda before the September 11, 2001, attacks




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was described by the 9-11 Commission 11 and the basis for the court judgement in the Havlish case

that Iran was liable for damage due to its material support for that attack.

         78.      Although they have a long history of cooperating in a common anti-American

agenda, Iran and al-Qaeda have always had serious ideological differences. One might therefore

think that Iran’s support to al-Qaeda was an initiative of lower-level functionaries and/or was

episodic rather than systematic. In fact, the U.S. government has provided copious information

showing that Iran’s support was decided by the top Iranian leadership and was sustained and major.

In providing support to al-Qaeda, the IRGC, including the Qods Force, is acting as an official

agency of Iran whose activities are tightly and carefully controlled by the Iranian government

through the Supreme Leader and his representatives.

         79.      In a similar method to its support of Sunni insurgents in Iraq at the same time that

it was supporting the resistance to those insurgents, Iran also supported a wide array of Shia armed

groups which did not get along well with each other. Some of the major groups which get Iranian

support are: Katai’ib Hizballah, Jaysch Al Mahdi, Asa’ib Ahl Al Haq, and – in a unique way, being

more independent of Iran while still receiving its support – Badr Corps. In their analysis of why

there are in Iraq so many Shia militias supported by Iran, Matthew Levitt and Phillip Smyth

explain, 12




11
   PX600 The parts of The National Commission on Terrorist Attacks upon the United States report referring to Iran
are collected together in, “Iran’s Link to Al-Qaeda: The 9-11 Commission’s Evidence,” Middle East Quarterly, Fall
2004, pp 71-74, https://www.meforum.org/670/irans-link-to-al-qaeda-the-9-11-commissions.
12
   Matthew Levitt and Phillip Smyth, “Kataib al-Imam Ali: Portrait of an Iraqi Shiite Militant Group Fighting ISIS,”
https://www.washingtoninstitute.org/policy-analysis/view/kataib-al-imam-ali-portrait-of-an-iraqi-shiite-militant-
group-fighting-isis, January 5, 2015.
At the time Levitt and Smyth wrote (January 2015), they estimated there were more than 50 Shia militias in Iraq. The
origins and differences among some of the major groups is explained in Phillip Smyth, “From Karbala to Sayyida
Zaynab: Iraqi Fighters in Syria’s Shi’a Militias,” CTC Sentinel (from the Combatting Terrorism Center at West Point),
August 2013, pp 28-32, https://ctc.usma.edu/from-karbala-to-sayyida-zaynab-iraqi-fighters-in-syrias-shia-militias/,
and in his article, “All the Ayatollah’s Men,” FP, September 18, 2014, https://foreignpolicy.com/2014/09/18/all-the-
ayatollahs-men/.


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        The creation of new militias may appear counterintuitive when there are already
        many established groups that could be further built up. Yet new groups enable
        Tehran to diversify its political and military portfolio in Iraq. The wide range of
        these organizations also serves as a way to slowly impart and legitimize its ideology
        and power within Iraq….For Western and regional policymakers, the large number
        of groups, connections, and overlapping areas of influence creates further
        confusion, giving Iran and its proxies further room for plausible deniability if the
        need arises. The situation also creates an illusion of choice and independence for
        those joining or supporting these radical Shiite militias and parties.
        80.      In April 2007, the chief spokesman for the American military command in Iraq,

Maj. Gen. William B. Caldwell IV, said, “Detainees in American custody had indicated that

Iranian intelligence operatives had given support to Sunni insurgents. ‘We have in fact found some

cases recently where Iranian intelligence sources have provided to Sunni insurgent groups some

support,’ said General Caldwell, who sat near a table crowded with weapons that he said the

military contended were largely of Iranian manufacture.” 13

        81.      Executive Order 13438 of July 17, 2007, targeted the property of certain persons

who threatened stabilization efforts in Iraq and gave the Secretary of the Treasury discretion to

designate individuals who, among other things, “threatened the peace or stability of Iraq or the

Government of Iraq.” In accord with this Executive Order, the Treasury Department designated

Ahmed Foruzandeh, a Brigadier General in the Qods Force, as such an individual. In the wording

of the designation, 14

        The Qods Force provides training, weapons, and financial support to surrogate
        groups and terrorist organizations including: Lebanese Hizballah; Palestinian
        terrorists; Iraqi Shia militant groups; the Taliban and Islamic militants in
        Afghanistan, the Balkans and elsewhere. The Qods Force plays a central – yet often
        hidden – role in security interests, including Iraq and Afghanistan. Qods Force
        officers often use various cover mechanisms – including diplomatic, non-
        governmental organization, humanitarian, and media – for conducting operational
        activity, belying their military affiliation.


13
   PX616 Alissa J. Rubin, New York Times, U.S. Suspects That Iran Aids Both Sunni and Shiite Militias, April 12,
2007, http://www.nytimes.com/2007/04/12/world/middleeast/12iraq.html.
14
   PX67 U.S. Department of the Treasury, Press Center, Treasury Designates Individuals, Entity Fueling Iraqi
Insurgency, January 9, 2008, https://home.treasury.gov/news/press-releases/hp759


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        82.     It may seem odd that at the same time that Iran was providing ample support for

the Shia militias in Iraq that were fighting Al Qaeda in Iraq, Iran would also support Al Qaeda in

Iraq. A 2008 report from the U.S. Army’s Combatting Terrorism Center at West Point paraphrased

an alleged Iraqi militant’s view: “Iran does not care about the fight between Shi’a and al Qaeda.

Iran just wants to force CF (Coalition Forces) out of Iraq because Iran is afraid CF will use Iraq as

a base for an attack in the future.” 15 That fits the pattern of Iran’s relationship with al-Qaeda, which

has continued even in situations where Iran is also supporting those fighting al-Qaeda. The U.S.

Treasury Department's February 5, 2014, designation of senior al-Qaeda member Jafar al-Uzbeki

described him as part of an al-Qaeda network which “operates there [in Iran] with the knowledge

of Iranian authorities.” 16 The Treasury statement added that this network “uses Iran as a transit

point for moving funding and foreign fighters through Turkey to support al-Qa’ida-affiliated

elements in Syria.” This is despite the fact that Iran has made a major commitment of men and

arms to fight al-Qaeda in Syria.

        83.     Perhaps the epitome of this complicated relationship between Iran and al-Qaeda is

Abu Musa’ab Al-Zarqawi, who until killed by U.S. forces, was the leader of al-Qaeda in Iraq. In

that role, Al-Zarqawi issued many scathing criticisms of the government of Iran and frequently

denied any relationship with that government. Yet that is simply not credible. There is broad

agreement that, until the U.S. invasion of Iraq in March 2003, Al-Zarqawi frequently traveled

through Iran to the Iran-Iraq border region. For instance, the U.S. Treasury Department’s fact sheet

accompanying its September 24, 2003, designation of al-Zarqawi under Executive Order 13224

refers to al-Zarqawi’s presence in Iran. Noted al-Qaeda expert Peter Bergen has said, “Zarqawi


15
    PX121 Iranian Strategy in Iraq: Politics and “Other Means” by Joseph Felter and Brian Fishman,
https://ctc.westpoint.edu/iranian-strategy-in-iraq-politics-and-other-means/
16
      PTX131       Department       of    Treasury,      “Treasury    Targets Networks Linked to Iran,”
https://home.treasury.gov/news/press-releases/jl2287, February 6, 2014.


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spent more time in Iran than anywhere else after September 11” and before the U.S.-led invasion

of Iraq. 17

         84.    Perhaps the most interesting person designated under Executive Order 13224 on

January 16, 2009, was Sa’ad bin Laden, one of Usama bin Laden’s oldest sons. The designation

states, “Sa’ad made key decisions for al-Qaeda and was part of a small group of al-Qaeda members

that was involved in managing the terrorist organization from Iran. He was arrested [sic] by Iranian

authorities in early 2003. As of September 2008, it was possible that Sa’ad bin Laden was no

longer in Iranian custody.” 18 Note that the U.S. Treasury Department is saying: (1) Sa’ad managed

al-Qaeda from Iran; and (2) “it is possible” Sa’ad was released from Iranian custody.

         85.    It is commonly accepted that Iran supports al-Qaeda under circumstances when it

is advantageous to do so, even if Iran simultaneously supports other efforts that are at odds with

al-Qaeda’s goals. This seemingly incongruous phenomenon illustrates the efforts by which Iran

operates by and through third-party agents and proxies to achieve Iran’s goals.

VIII. Iran, IRGC, and Terrorism
         86.    The IRGC was established in the immediate wake of the 1979 revolution. Its role

is built into Iran's constitution as defenders of the revolution. To be clear, the IRGC’s constitutional

role is not just defenders of Iran as a country, but defenders of the 1979 revolution itself. The IRGC

is one of the major organizations through which Iran has historically carried out its support for

terrorism.

         87.    From its creation through the present day, the IRGC has been directly controlled by

the Supreme Leader. It has not reported, in any way, to the president or parliament. Indeed, formal


17
     Peter Bergen, “Who is Abu-Musab al-Zarqawi?”, New York Times, October 10, 2004,
https://www.nytimes.com/2004/10/10/weekinreview/who-is-abu-musab-alzarqawi.html.
18
       PTX129      Department      of    Treasury,     “Treasury     Targets   Al Qaeda Operatives in
Iran,”https://home.treasury.gov/news/press-releases/hp1360 , January 16, 2009.


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government structures, such as the parliament, have little influence on the IRGC. The IRGC

interprets the constitutional provisions establishing it as making the organization unaccountable to

anyone other than the Supreme Leader.

        88.       The IRGC was established by Ayatollah Khomeinei because, after the 1979

revolution, he was suspicious about the ordinary military’s devotion to revolutionary ideals – with

good reason, since that military was dominated by pro-Shah officers and it attempted at least one

coup to overthrow the new revolutionary government.

        89.       Consequently, the IRGC’s leadership and activities were purposefully created to be

separate and apart from the formal government structure, and to act as a counterbalance against

Iran’s formal governmental agencies. The IRGC operates parallel to the formal governmental

structure. In fact, the IRGC has steadily increased its influence over the formal governmental

structure in recent years. IRGC alumni have been named to important posts in the formal military,

consolidating the IRGC’s preeminence.

        90.       Among its other tasks, the IRGC is dedicated to the spread of fundamentalist

Islamist principles throughout the world, and the establishment of fundamentalist Islamist

governments in nations other than Iran. The Qods Force is the branch of the IRGC generally

charged with “foreign operations.” The foreign operations it supports include foreign insurgents

and terrorists such as those fighting U.S. forces and U.S.-backed governments in Afghanistan and

Iraq. The Qods Force is the principal Iranian organization working with the Lebanese Hezbollah

organization’s armed elements, which carry out terrorist operations worldwide, engage in military

operations in Syria in support of the Assad regime’s battle against insurgents, and prepare for battle

against Israel.




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       91.     The IRGC defines itself as coming under the supervision of the Supreme Leader,

to which it pledges its unflinching loyalty. The IRGC and the Supreme Leader both frequently

speak about the IRGC as the guardian of the principles of the Iranian revolution of 1979. IRGC

leaders assert their right and responsibility to intervene in all aspects of Iranian life, including

politics, to assure the preservation of the revolution.

       92.     They have been particularly aggressive in combating perceived Western, especially

American, influence. Like the Supreme Leader, the IRGC sees an American hand in many areas

of life, including the promotion of Western styles and brands. The IRGC has campaigned

vigorously against Western cultural influence, which is indeed very extensive in Iran. It is

suspicious that Western governments promote lifestyle and products to undermine the revolution.

Supreme Leader Khamenei has said that miniskirts are more dangerous than tanks because they

undermine revolutionary purity. Indeed, the Supreme Leader is much more concerned about

invasion of Iran by Hollywood than by U.S. tanks. Nothing could better capture his image of how

the United States plans to undermine the Iranian Revolution than Michelle Obama presenting the

Academy Award for best movie to “Argo” – here was Hollywood and Washington conspiring

together to paint the Iranian revolution in a bad light.

       93.     The Supreme Leader and the IRGC are obsessed with how the Soviet bloc was

overthrown by what they describe as a “velvet revolution” (the term applied by Czechs to their

overthrow of communism) which they see as the product of U.S.-funded broadcasting and people-

to-people exchanges, as well as by the availability of U.S. consumer goods and the lifestyle they

promote. Khamenei has spent decades warning about a “cultural invasion” of Iran by Western,

especially American, culture - an invasion which was largely successful. Iranians are arguably the




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most pro-American and most American-influenced peoples of the Middle East, eager to have

anything and everything American – including American products such as cigarettes.

IX.        Iran, MOIS, and Terrorism
           94.      In furtherance of U.S. sanctions on Iran, Executive Orders 13224, 13553 and 13572

targeted terrorists, their supporters, and those responsible for human rights abuses in Iran and

Syria. On February 16, 2012, the Treasury Department designated MOIS as subject to economic

sanctions under those Executive Orders. In the wording of the designation, 19

           MOIS also provided money and weapons to al Qa’ida in Iraq (AQI), a terrorist
           group designated under E.O. 13224, and negotiated prisoner releases of AQI
           operatives.
           95.      MOIS is, in addition to the IRGC, the other principal organization Iran has used to

carry out its terrorist support activities. MOIS, Iran’s foreign and domestic intelligence service, is

the successor agency to the respected spy agency called SAVAK, run by the Shah. After the 1979

revolution, that organization was not disbanded, but maintained in a secret manner, and then

formed as a ministry openly (MOIS) several years after the 1979 revolution. With approximately

30,000 employees, MOIS is the largest intelligence agency in the Middle East, and in effectiveness

is considered second only to Israeli intelligence. Credible reports in the last decade, including those

from Iranian government investigators looking into domestic misdeeds by MOIS, have estimated

its annual budget to be approximately between $100 and $400 million dollars.

           96.     The prominent role of MOIS in support of terrorism is highlighted by two sets of

documents: (1) the findings in the German so-called Mykonos criminal court case (named for a

murder which took place at a restaurant in Berlin called the Mykonos), which involved murders

carried out in Berlin and organized by MOIS at the instructions of senior Iranian government




19
     PX75 Treasury Department February 16, 2012, https://home.treasury.gov/news/press-releases/tg1424


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officials, and included testimony from a defector who had been a top official in MOIS; and (2) the

information which emerged in Iran in 1999/2000, largely as leaks from an official government

investigation about activities of MOIS and other parts of the Iranian intelligence apparatus in

reaction to assassinations of dissidents in Iran. During the course of that investigation, Iran’s

president (Mohammed Khatami) complained he had no control over MOIS, with the Minister

being appointed at the direction of the Supreme Leader.

        97.     For some years, MOIS’s role appears to have been downgraded as the IRGC took

over more and more functions. Indeed, after 2009, the IRGC’s intelligence arm appeared to be

eclipsing MOIS’s role in some areas. However, after some 2011-2012 serious operational missteps

by the IRGC and IRGC/Qods – including getting caught red-handed at botched terror attacks in

the United States (the planned attack on the Saudi Ambassador to which Mansour Arbabsiar

pleaded guilty in federal court), India, Azerbaijan, Bulgaria, Cyprus, and Malaysia, among other

places – MOIS appears to have made something of a comeback.

        98.     U.S. Department of State reports have for many years frequently referred to Iranian

intelligence services – that is, MOIS’s –role in facilitating terrorist attacks. In “Patterns of Global

Terrorism 1990,” the State Department wrote that, “Iran has used its intelligence services

extensively to facilitate and conduct terrorist attacks . . . . Intelligence officers have used the

diplomatic pouch for conveyance of weapons and finances for terrorist groups.” 20

        99.     In providing support to terrorist groups, MOIS is acting as a ministry of the Iranian

government whose activities are tightly and carefully controlled by the Iranian government

through the Supreme Leader and his representatives. In sum, the terrorism training provided to

terrorist groups by MOIS is an official policy of the Iranian government.


20
  PX270 United States Department of State, Office of the Coordinator for Counterterrorism, Patterns of Global
Terrorism 1990, (Apr. 29, 1991).


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X.       Iran, Bank Jomhouri Islami Iran, and Terrorism

           A.       The Central Bank of Iran Is a Tool of the Iranian Government
         100.     Bank Jomhouri Islami Iran, or the Central Bank of Iran (Merkazi), is not an

independent entity, but acts at the direction of the Iranian government and pursuant to its policies.

The attached Annex examines the relationship between Merkazi and the Iranian government from

the perspective of the law, the practice, and comparative economics. In brief:

         101.     In law, Merkazi is owned by and is tightly linked to the Iranian government. Iran’s

1972 Monetary and Banking Law (“MBL”), which is still in force (debate about replacing it has

gone on for many years), provides that Merkazi is a joint-stock company whose capital is “wholly

owned by the Government,” to quote the MBL’s Article 10(e).

         102.     In practice, the Iranian government exercises tight control over Merkazi and ignores

the law by issuing direct orders to Merkazi. For instance, in practice, the Merkazi governor serves

at the pleasure of the president, rather than for the five-year term specified in the MBL. In 2008,

Merkazi chief Tahmasb Mazaheri was dismissed by presidential decree when he refused to resign.

Second, the government cabinet regularly votes at its meetings to order Merkazi to extend loans

for specific purposes, which is contrary to the procedures set out in the MBL. In short, from the

perspective of comparative economics, Merkazi is not independent from the Iranian government

unlike the central banks in most developed countries.

         103.     Both by law and in practice, Merkazi is the Iranian government’s banker. 21

Government revenue is deposited in Merkazi; government expenditures are carried out through

Merkazi. As a result, all of the government funding for the various ministries, including MOIS,

comes from Merkazi. Government transfers of funds to the IRGC also come from Merkazi. As


21
   I am aware of one court that has found that the Merkazi is not engaged in typical “central banking activities.” See
Peterson v. Islamic Republic of Iran, 2013 WL 1155576, at *26 (S.D.N.Y. March 13, 2013). This case was appealed
to the Supreme Court of the United States on a different issue that had no bearing on the matters discussed herein.


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discussed below, Merkazi has been the route by which the Iranian government has provided many

millions of dollars to terrorist groups.

        104.     The relationship between Merkazi and the government is even closer than specified

in law or recommended by economists. The government misuses Merkazi in ways contrary to

Iranian law and to good economic practice, specifically by ordering Merkazi to ensure how credit

is allocated; that is, the Council of Ministers issues orders about how Merkazi will administer

credit policy, including to which sectors Merkazi will extend loans. This has had some disastrous

effects on the Iranian economy, especially when loans equal to at least ten percent of national

income were extended for ill-conceived and poorly planned housing projects.

        105.     The 2014 IMF report about Iran’s economy states that at the end of 2012, Merkazi

had extended more than $35 billion in loans to the Bank Maskan (Housing Bank) for the Mehr

housing program for low-income families. Press reports suggest that many of the Mehr-funded

developments are of poor quality and those living in them have no means to repay. As the IMF

delicately phrased the matter, “To avoid any future pressure on the Central Bank of Iran for further

financing and increase transparency of the fiscal accounts, the authorities should consider

including the project in the annual budget and finance it through budgetary resources” – a polite

way of saying these loans will not be repaid. 22

        106.     In sum, it is my expert opinion that the Merkazi is a tool of the government of Iran

and operates as the Iranian government’s banker.




22
    PX645 IMF, Islamic Republic of Iran -- Staff Report for the 2014 Article IV Consultation,
https://www.imf.org/external/pubs/ft/scr/2014/cr1493.pdf, p 13. An example of press reporting about the scheme is
Marketa Hulpachova “Iran's economy struggles to support Ahmadinejad's ill-conceived housing vision, Tehran
Bureau, January 30, 2014, http://www.theguardian.com/world/iran-blog/2014/jan/30/irans-economy-struggles-to-
support-ahmadinejads-ill-conceived-housing-vision.


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         B.      Merkazi Supports Terrorism
       107.    U.S. Government officials have made repeated statements concerning Merkazi’s

support for terrorism. Statements by U.S. government officials, like the ones discussed below, are

particularly reliable and are widely used by scholars and policymakers. The Treasury Department

has created a large structure headed by the Under Secretary for Terrorism and Financial

Intelligence to follow terror financing, with two assistant secretaries, each with substantial staff,

and two other large bureaucracies (the Financial Crimes Enforcement Network or FINCEN and

the Office of Foreign Assets Control which enforces sanctions). This structure, which is part of

the U.S. intelligence community, has access to all the intelligence assets of the U.S. government,

including signals intercepts and intelligence from informers. It has the deserved reputation of being

cautious and careful about its designations and public statements; indeed, some commentators and

members of Congress complain that it is too slow to act. In private conversations, Treasury

officials explain that they place high priority on developing sufficiently detailed and well-

documented dossiers so that the U.S. government has high confidence its judgments will stand up

in court if challenged, with the result that sometimes the U.S. government spends years internally

debating before a statement is released characterizing some entity as involved in terror financing.

As noted above, such statements are typically relied upon by Iran and terrorism experts in their

research, and I myself routinely rely upon such statements in my research.

       108.    At a Press Roundtable in Germany on July 12, 2007, U.S. Under Secretary of the

Treasury for Terrorism and Financial Intelligence, Stuart A. Levey, explained:

       The [Iranian] regime does use its banks to pursue not only its proliferation
       ambitions but also its funding of terrorism … we in the United States have taken
       action against Bank Saderat for its role in funneling money from the Central Bank
       of Iran to terrorist organizations [including] Hezbollah … Iran not only uses its




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        banks for that purpose, but also its banks engage in deceptive practices in order to
        engage in that business. 23
        109.     Undersecretary Levey testified similarly before the United States Congress on April

1, 2008, correctly stating that “Iran uses its state-owned banks … for financing terrorism.” 24

        110.     A specific example of the Merkazi funding terrorism was cited in an October 25,

2007, Press Release, the U.S. Department of Treasury, which stated: “… [] from 2001 to 2006,

Bank Saderat transferred $50 million from the Central Bank of Iran through its subsidiary in

London to its branch in Beirut for the benefit of Hizballah fronts in Lebanon that support acts of

violence.” 25

        111.     The U.S. Treasury Department reiterated this finding one year later in a Press

Release dated November 6, 2008, stating: “Between 2001 and 2006, Bank Saderat transferred $50

million from the Central Bank of Iran through Bank Saderat's subsidiary in London to its branch

in Beirut for the benefit of Hizballah fronts that support acts of violence.” 26

        112.     As a direct result of the deceptive financial practices described by Under Secretary

of the Treasury Levey, the U.S. Government subjected Merkazi and other Iranian banks to

sanctions. Deputy Assistant Secretary of Treasury for Terrorism Financing and Financial Crimes

Daniel Glaser provides a good summary of these sanctions, as of early 2008, in his April 17, 2008,

testimony before the House Committee on Foreign Affairs Subcommittee on the Middle East and

South Asia and Subcommittee on Terrorism, Nonproliferation and Trade. Consistent with the



23
   PX303 See 7/12/07 Press Roundtable with Under Secretary of the Treasury Stuart A. Levey, available at
http://germany.usembassy.gov/levey-roundtable.html (all of the emphasis in this paragraph added) (accessed June 27,
2019; material subsequently removed from that website).
24
   PX301 See 4/1/08 Under Secretary for Terrorism and Financial Intelligence Stuart A. Levey, Testimony Before the
Senate Committee on Finance, available at http://www.finance.senate.gov/imo/media/doc/040108sltest.pdf.
25
   See 10/25/07 U.S. Department of Treasury Fact Sheet: Designation of Iranian Entities and Individuals for
Proliferation Activities and Support for Terrorism, available at: https://home.treasury.gov/news/press-
releases/200710259182215122
26
    See 11/6/08 U.S. Department of Treasury Fact Sheet, available at: https://home.treasury.gov/news/press-
releases/hp1258


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statements of Under Secretary of the Treasury Levey, Glaser explains the basis for the sanctions,

as follows:

        Iran uses its global financial ties to pursue both the threat of terrorism and a nuclear
        program through an array of deceptive practices specifically designed to avoid
        suspicion and evade detection from the international financial community.... [One]
        method Iranian banks use to evade controls is to ask other financial institutions
        to remove their names when processing transactions through the international
        financial system....This practice is even used by the Central Bank of Iran
        [emphasis added] to facilitate transactions for sanctioned Iranian banks. 27
        113.    In a March 2008 Advisory, the Department of the Treasury Financial Crimes

Enforcement Network (FinCEN) similarly stated:

        Through state-owned banks, the Government of Iran disguises its involvement in
        … terrorism activities through an array of deceptive practices specifically designed
        to evade detection. The Central Bank of Iran and Iranian commercial banks have
        requested that their names be removed from global transactions in order to make
        it more difficult for intermediary financial institutions to determine the true
        parties in the transaction [emphasis added] … The U.S. Department of the
        Treasury is particularly concerned that the Central Bank of Iran may be facilitating
        transactions for sanctioned Iranian banks. 28
        114.    In a June 22, 2010, Advisory, FinCEN reinforced this stating: “The Financial

Crimes Enforcement Network (FinCEN) is issuing this advisory to supplement information

previously provided on the serious threat of money laundering, terrorism finance, and proliferation

finance emanating from the Islamic Republic of Iran, and to provide guidance to financial

institutions regarding United Nations Security Council Resolution (UNSCR) 1929, adopted on

June 9, 2010....” 29




27
   PX302 See 4/17/08 Testimony of Daniel Glaser before Subcommittee on the Middle East and South Asia and the
Subcommittee         on        Terrorism,         Nonproliferation       and       Trade,   available      at
http://www.iranwatch.org/sites/default/files/glaser-prepared-041708.pdf (emphasis added).
28
   PX116 See 3/20/08 Advisory, Department of the Treasury Financial Crimes Enforcement Network, available at
https://www.fincen.gov/resources/advisories/fincen-advisory-fin-2008-a002 (emphasis added).
29
   PX121 See 6/22/2010 Advisory FIN-2010-A008, Department of the Treasury, Financial Control Enforcement
Network, “Update on the Continuing Illicit Finance Threat Emanating from Iran,” available at
https://www.fincen.gov/resources/advisories/fincen-advisory-fin-2010-a008.


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        115.     These Security Council actions, in addition to Financial Action Task Force

(FATF) 30 statements regarding the risks posed by Iran and calling for countries to impose

countermeasures, illustrate the increasing risk to the integrity of the international financial system

posed by the Iranian financial sector as a whole, which is led by the Central Bank of Iran.

        116.     On November 21, 2011, the U.S. Department of the Treasury issued a finding

which, in the words of the November 21, 2011 Treasury Department press release “identified the

Islamic Republic of Iran as a jurisdiction of primary money laundering concern under Section

311 of the USA PATRIOT Act (Section 311) based on Iran’s support for terrorism; pursuit of

weapons of mass destruction (WMD); reliance on state-owned or controlled agencies to facilitate

WMD proliferation; and the illicit and deceptive financial activities that Iranian financial

institutions – including the Central Bank of Iran – and other state-controlled entities engage in

to facilitate Iran’s illicit conduct and evade sanctions.” 31,32

        117.     In response to the Section 311 PATRIOT Act Finding, Congress passed a series of

provisions concerning Merkazi which were included in the National Defense Authorization Act

for FY2012 (“NDAA FY 2012”), now codified as 22 U. S. Code 8513a, as follows:

        (a) Findings

        Congress makes the following findings:




30
   PX238 The Financial Action Task Force is an inter-governmental body whose 36 members include China, Russia,
Japan, Korea, Australia, Canada, Mexico, the United States, and all the countries of the European Union, among
others. Its purpose is to develop and promote policies to combat money laundering and terrorist financing around the
world. Some though not all of its statements on Iran are available at http://www.fatf-
gafi.org/publications/?hf=10&b=0&q=Iran&s=desc%28fatf_releasedate%29 (the other statements are available at
other places on www.fatf-gafi.org).
31
     PX29 See 11/21/11 U.S. Department of the Treasury Press Release, available at
https://home.treasury.gov/news/press-releases/tg1367(all emphasis in this paragraph added).
32
   Treasury never finalized the November 21, 2011, proposed designation of Iranian banks, including MERKAZI,
under the USA PATRIOT Act’s Section 311 for a variety of reasons, including subsequent Congressional action
concerning sanctions on MERKAZI which in effect made the proposed designation moot.


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  (1) On November 21, 2011, the Secretary of the Treasury issued a finding under
  section 5318A of title 31 that identified Iran as a jurisdiction of primary money
  laundering concern.

  (2) In that finding, the Financial Crimes Enforcement Network of the Department
  of the Treasury wrote, “The Central Bank of Iran, which regulates Iranian banks,
  has assisted designated Iranian banks by transferring billions of dollars to these
  banks in 2011. In mid-2011, the CBI transferred several billion dollars to
  designated banks, including Saderat, Mellat, EDBI and Melli, through a variety
  of payment schemes. In making these transfers, the CBI attempted to evade
  sanctions by minimizing the direct involvement of large international banks with
  both CBI and designated Iranian banks.” [emphasis added]

  (3) On November 22, 2011, the Under Secretary of the Treasury for Terrorism and
  Financial Intelligence, David Cohen, wrote, “Treasury is calling out the entire
  Iranian banking sector, including the Central Bank of Iran, as posing terrorist
  financing, proliferation financing, and money laundering risks for the global
  financial system.”

  (b) Designation of financial sector of Iran as of primary money laundering concern

  The financial sector of Iran, including the Central Bank of Iran, is designated as a
  primary money laundering concern for purposes of section 5318A of title 31
  because of the threat to government and financial institutions resulting from the
  illicit activities of the Government of Iran, including its pursuit of nuclear weapons,
  support for international terrorism, and efforts to deceive responsible financial
  institutions and evade sanctions.

  (c) Freezing of assets of Iranian financial institutions

  The President shall, pursuant to the International Emergency Economic Powers Act
  (50 U.S.C. 1701 et seq.), block and prohibit all transactions in all property and
  interests in property of an Iranian financial institution if such property and interests
  in property are in the United States, come within the United States, or are or come
  within the possession or control of a United States person.

  (d) Imposition of sanctions with respect to the Central Bank of Iran and other
  Iranian financial institutions [emphasis added]

  (1) In general

  Except as specifically provided in this subsection, beginning on the date that is 60
  days after December 31, 2011, the President—

  (A) shall prohibit the opening, and prohibit or impose strict conditions on the
  maintaining, in the United States of a correspondent account or a payable-through



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        account by a foreign financial institution that the President determines has
        knowingly conducted or facilitated any significant financial transaction with the
        Central Bank of Iran or another Iranian financial institution designated by the
        Secretary of the Treasury for the imposition of sanctions pursuant to the
        International Emergency Economic Powers Act (50 U.S.C. 1701 et seq.); and

        (B) may impose sanctions pursuant to the International Emergency Economic
        Powers Act (50 U.S.C. 1701 et seq.) with respect to the Central Bank of Iran.
        118.    More recently, on May 15, 2018, the Treasury Department designated Merkazi

Governor [head] Valiollah Seif as a SDN, stating in its press release, “‘Iran’s Central Bank

Governor covertly funneled millions of dollars on behalf of the IRGC-QF through Iraq-based al-

Bilad Islamic Bank to enrich and support the violent and radical agenda of Hizballah. It is

appalling, but not surprising, that Iran’s senior-most banking official would conspire with the

IRGC-QF to facilitate funding of terror groups like Hizballah, and it undermines any credibility

he could claim in protecting the integrity of the institution as a central bank governor,’ said

Treasury Secretary Steven T. Mnuchin. ‘The United States will not permit Iran’s increasingly

brazen abuse of the international financial system. The global community must remain vigilant

against Iran’s deceptive efforts to provide financial support to its terrorist proxies.’” 33

        119.    Note that there is no suggestion that the millions of dollars in question came from

Governor Seif’s personal resources or that he acted contrary to instructions of the MERKAZI

Board. In my expert opinion, the channeling of these funds was done by Governor Seif in his

official capacity.

        120.    Another recent statement by the U.S. Treasury Department concerning Merkazi

was the designation announced March 26, 2020, of the Reconstruction Organization for the Holy

Shrines in Iraq (ROHSI). ROHSI was accused by Treasury of directing millions of dollars to the



33
   PX118 U.S. Department of Treasury, “Treasury Targets Iran’s Central Bank Governor and an Iraqi Bank Moving
Millions of Dollars for IRGC-Qods Force,” https://home.treasury.gov/news/press-releases/sm0385, May 15, 2018.


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Iraq-based Bahjat al Kawthar Company for Construction and Trading Ltd, also known as Kosar

Company, which Treasury described as “another Iraq-based entity under the IRGC-QF’s control.

Kosar Company has served as a base for Iranian intelligence activities in Iraq, including the

shipment of weapons and ammunition to Iranian-backed terrorist militia groups.” 34 Treasury

added, “Kosar Company has received millions of dollars in transfers from the Central Bank of

Iran.”

         121.    The fact that Iran has used Merkazi to transfer funds to terrorists is also clear from

other sources. For example, officials of terrorist groups, such as the Palestinian group Hamas, have

described carrying tens of millions of dollars of cash notes in suitcases from Iran. 35 It is my expert

opinion that this money was almost certainly assembled with a key role being played by Merkazi,

as the Iranian government’s banker. This opinion is based on my experience in the developing

countries I visited as an IMF official, where it was a universal practice that politically delicate

transactions were carried out directly by the Central Banks of those countries. In addition, even in

the case that such cash came from a government account in a commercial Iranian bank, Merkazi

likely oversaw and facilitated the transaction. As explained above, Merkazi strictly oversees all

Iranian banks. In that capacity, Merkazi closely monitors foreign exchange dealings and certainly

would have been well informed about a large shipment of cash.

         122.    In light of the above information, it is my expert opinion that Merkazi, as Iran’s

central bank, is subject to the control of the Iranian government both in law and practice. It is




34
    PX46 U.S. Department of Treasury, “Treasury Designates Vast Network of IRGC-QF Officials and Front
Companies in Iraq, Iran”, https://home.treasury.gov/news/press-releases/sm957, Mar. 26, 2020.
35
   In 2006, Mahmoud Zahar, then the foreign minister of the Hamas-led Palestinian Authority government, defended
returning from a seven-country trip which included Iran with $20 million in four suitcases, saying “We are not going
to allow anyone to prevent us.” See www.ipsnews.net/2006/06/mideast-hamas-suitcase-economy. Given the other
countries on his itinerary (including China, Indonesia, and Pakistan), it seems highly probable this money came from
Iran.


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further my expert opinion that Iran has used Merkazi for many years to transfer funds to support

terrorism and that Iran’s financial institutions, led by Merkazi, have engaged in deceptive financial

practices in order to accomplish the transfer of funds to terrorist groups without detection. It is also

my expert opinion that Merkazi has engaged in these activities for many years, including during

the period 2003-2011.

XI.     Iran, Bank Melli /Melli Bank PLC, and Terrorism

          A.      Ownership of Bank Melli Iran
        123.    To quote the 2014/15 Annual Report of Bank Melli Iran, “The capital of Bank Melli

Iran at the end of the fiscal year 2014-15 equaled to IRR 99,065,600 million, all of which belong

to the Government of the Islamic Republic of Iran”. 36 That has been true since the bank was

founded more than 90 years ago as Iran’s currency-issuing bank. The very name of the bank means

“National Bank of Iran.” While many state-owned enterprises went through processes of mock

“privatization” in the last decade – in which shares were largely transferred to institutions under

government control, such as government agency pension funds run by political appointees – Bank

Melli remains 100 percent government-owned. All of its distributed profits go to the government.

The government appoints the members of its General Assembly which in theory selects its Board

of Directors; in practice, it appears that the government also selects the Board of Directors and the

Managing Director.

        124.    The Central Bank of Iran, also known as Bank Merkazi Iran, lists Bank Melli Iran

as a “commercial government owned bank.” 37




36
   PX801 Chapter 29, “Capital,” p 70; http://www.bmi.ir/En/FinanceReport.aspx?rptId=23, accessed February 14,
2016.
37
   PX806 http://www.cbi.ir/simplelist/3088.aspx, accessed February 14, 2016.


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         125.   Bank Melli’s website lists Melli Bank PLC as being a subsidiary of Bank Melli. 38

Furthermore, Melli Bank PLC waged a protracted legal battle, which went all the way up to the

European Court of Justice (the highest court in EU countries), about the freezing of its funds due

to Bank Melli’s activities in support of Iran’s pursuit of weapons of mass destruction. The issue

Melli Bank PLC raised was that it itself had not been engaged in nuclear proliferation. The

European Court of Justice ruled, “The reason for freezing of the funds of Melli Bank - which is

wholly owned by Bank Melli Iran, an entity identified as being engaged in nuclear proliferation -

need not be the fact that Melli Bank itself is engaged in such proliferation.” 39 Note that during

these protracted legal proceedings, Melli Bank PLC never alleged it was independent of Bank

Melli.

         126.   In sum, in my expert opinion as an expert on Iran and a former IMF staffer, Bank

Melli Iran and Melli Bank PLC are fully owned and controlled by the government of the Islamic

Republic of Iran.

         127.   Furthermore, these state enterprises do not function as commercial companies but

as instruments of the Iranian government. Iran is an authoritarian state which uses its state owned

and/or controlled entities, including its banks, to support and advance its policies and goals. Bank

Melli is not an independent entity, but acts at the direction of the Iranian government and pursuant

to its policies. Bank Melli acted to advance the policies and goals of the government of Iran,

including its policies and goals vis-à-vis terrorist activities targeting the United States.

         128.   This activity has been against the economic and commercial interests of Bank

Melli. The Treasury Department designation of Bank Melli and its subsidiaries, including Melli



38
  PX807 Bank Melli Iran, BMI Branches, BMI Subsidiaries, https://units.bmi.ir/Fa/.
39
   “Europe’s top court upholds sanctions on Iranian bank,” https://www.reuters.com/article/iran-eu-melli-
idUSL5E8ED62120120313, March 13, 2012.


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Bank PLC, caused substantial financial losses to Bank Melli, as described below. That effect was

enhanced by the U.S.-led effort to warn about BMI activities in several ways discussed below, all

of which would have engendered a reaction from any normal bank. The fact that Bank Melli and

Melli Bank PLC did not react is further proof that they are controlled by Iran and do not act

independently or in a commercial manner, but instead act to further Iran’s foreign policy interests

even at the expense of their own economic well-being.

        129.    The U.S. warnings about dealing with Iranian banks were endorsed by many

governments. In particular, FATF issued statements regarding the risks posed by Iran and calling

for countries to impose countermeasures. Its October 2007 statement included the passage, “FATF

members are advising their financial institutions to take the risk arising from the deficiencies in

Iran’s AML/CFT [anti-money-laundering/ countering the financing of terrorism] regime into

account for enhanced due diligence.” This was upgraded in February 2009 into a warning:

        The FATF reaffirms its call on members and urges all jurisdictions to advise their
        financial institutions to give special attention to business relationships and
        transactions with Iran, including Iranian companies and financial institutions. In
        addition to enhanced scrutiny, the FATF further calls on its members and urges all
        jurisdictions to apply effective counter-measures to protect their financial sectors
        from money laundering and financing of terrorism (ML/FT) risks emanating from
        Iran. Jurisdictions should also protect against correspondent relationships being
        used to bypass or evade counter-measures and risk mitigation practices, and take
        into account ML/FT risks when considering requests by Iranian financial
        institutions to open branches and subsidiaries in their jurisdiction. 40
        130.    The practical impact of this warning was that many international banks re-examined

their correspondent relations and transactions with Iranian banks, including Bank Melli and Melli

Bank PLC, to the financial disadvantage of those entities, as described below.




40
  PX508 Council of Europe, Committee of Experts on the Evaluation of Anti-Money Laundering Measures and the
Financing of Terrorism, https://www.coe.int/t/dghl/monitoring/moneyval/About/FATF-2502.pdf.


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        131.    The U.S. government also pressed action specifically against Bank Melli (and its

subsidiaries) for its role in facilitating Iran’s nuclear program. UN Security Council Resolution

1803, adopted March 3, 2008, in Operative Paragraph 10, “Calls upon all States to exercise

vigilance over the activities of financial institutions in their territories with all banks domiciled in

Iran, in particular with Bank Melli and Bank Saderat, and their branches and subsidiaries abroad,

in order to avoid such activities contributing to the proliferation sensitive nuclear activities, or to

the development of nuclear weapon delivery systems.” 41

        132.    While this action was not for Bank Melli’s support for terrorism, the British and

French government joined with the U.S. government in sending a letter to the Security Council in

August 2008 warning against “Iran’s continued attempts to conduct prohibited proliferation-

related activity and terrorist financing.” 42

        133.    All of these U.S. and U.S.-urged actions had a real financial impact on Bank Melli

and Melli Bank PLC. The New York Times described at length the impact of the U.S. actions on

Bank Melli and the other designated banks, referencing Middle East bankers who said those banks

“were losing customer and struggling to find new banking relationships” with more than 80 banks

curtailing business with them. 43

        134.    The New York Times further quoted Iranian Finance Minister Davoud Danesh

Jaffari complaining bitterly, “We had embarked on a serious and breathtaking game of chess with

America’s Treasury Department.” Another Iranian bank hit by restrictions – Bank Mellat PLC –

in 2013 sued in UK courts for 2.3 billion British pounds (about $3 billion) in damages for those



41
   PX520 UN Security Council Resolution 1803, S/RES/1803 (2008).
42
    Patrick Worsnip, Reuters, Iran rejects Western charges of bank illegalities, August 15, 2008,
http://www.reuters.com/article/us-iran-nuclear-banks-idUSN1531709020080815.
43
    Robin Wright, The New York Times Magazine, Stuart Levey’s War, October 31, 2008,
https://www.nytimes.com/2008/11/02/magazine/02IRAN-t.html?_r=0.


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restrictions (those 2009 restrictions had been under UK law rather than the 2010 restrictions on

Bank Melli which were under EU law and therefore not subject to a suit for damages). The scale

of Bank Mellat PLC’s claim suggests that the damages incurred by Melli Bank PLC from the

restrictions it faced were considerable.

        135.    In short, Bank Melli and Melli Bank PLC had ample warning that banks which

support terrorism will face actions by the U.S. government, and they had strong financial incentive

to either contest the U.S. government concerns or to change the behavior which concerned the U.S.

government. For instance, had Bank Melli and/or Melli Bank PLC contested their designations by

the Treasury Department, there is every reason to think that their case would have been carefully

considered. The U.S. government has a well-established track record of removing from its lists of

designated entities those who were designated in error or who have changed their actions. The

OFAC website fact sheet about Executive Order 13224 gives many names of individuals and

entities which have been removed from the designation list, especially after 2009. 44 As that list

shows, the process of removal continues, e.g., Bank Al Taqwa Limited in the Bahamas was

removed in February 2015.

        136.    The obvious reason why Bank Melli and Melli Bank PLC have not changed their

behavior so that they can become de-designated is that to do so would be against the policy of the

government of Iran, for which the transfer of funds to Hezbollah in particular, has been an

important priority. In other words, Bank Melli and Melli Bank PLC have continued a course of

action which is against their financial interest because that is the course consonant with the foreign

policy of the government of Iran. This is powerful proof that since 2001, the government of Iran

has been the real beneficiary of the banking operations of Bank Melli and Melli Bank PLC.


44
   https://www.treasury.gov/resource-center/sanctions/Programs/Documents/terror.pdf (accessed June 27, 2019;
material subsequently removed from that website).


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           137.     An example of how a state-owned entity which is a distinct economic enterprise

reacts to designations for prohibited activities involving Iran is the March 2016 actions of the

Chinese telecommunications equipment maker ZTE. ZTE is 30.6% owned by ZTE Holdings,

which is in turn 51% owned by state-owned enterprises. This relationship, under the laws of China

and Hong Kong (where ZTE’s shares are listed), is described as “state owned, privately managed.”

When on March 8, 2016, the U.S. Commerce Department imposed sanctions which could have

restricted ZTE’s activities on the U.S. market, ZTE responded within days by agreeing to far-

reaching changes and close cooperation with a U.S. government investigation, as detailed in a

March 23 Financial Times article (“ZTE to give details on Iran sales as US eases ban”). 45

           138.     Bank Melli and Melli Bank PLC are not the only Iranian government-owned banks

which take actions that make no sense commercially but serve the foreign and security policy goals

of the Iranian government. Indeed, the Iranian banking system has been subject to scandals and

corruption for activities that advanced government interests, but commercially harmed the banks.

Specifically, the Iranian government ordered banks to direct credit to particular borrowers, both to

classes of borrowers and to individuals, as described in the annex on Relationship of Iran’s Central

Bank to the Iranian Government. The low government interest rates and the fact that some of the

largest borrowers were not creditworthy resulted in heavy financial losses for the banks. In a 2015

report on the Iranian economy, the IMF highlighted the problems of the banks, resolution of which

it called an “immediate priority for supporting growth.” The IMF wrote, “The complexity and

severity of the challenges facing the banking system require immediate action….They [the




45
     Financial Times, March 23, 2016, “ZTE to give details on Iran sales as US eases ban.”


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authorities] also agreed that the elimination of government-mandated credit policies would help

avoid a repeat of the many vulnerabilities present in the system.” 46

        139.    The fact that Iranian banks have operated against their own economic interest and

in furtherance of Iranian policy can also be seen from a review of the U.S. sanctions against Iran

over the years. The U.S. government first placed sanctions on Iran in 1979 in response to Iran’s

seizure of the U.S. embassy in Tehran and the ensuing hostage crisis. President Carter issued

Executive Order 12170 in November 1979 freezing about $12 billion in Iranian assets. On January

20, 1981, the U.S. lifted all sanctions on Iran pursuant to the Algiers Accord – the agreement which

led to the release of the U.S. hostages. 47

        140.    In the 1980s and 1990s, in reaction first to Iranian support for terrorism and later

also out of concern about Iranian nuclear and missile activities, the U.S. government placed a

variety of ever-tighter sanctions on Iran, targeting entities, including Iranian banks, due to their

involvement in carrying out elements of Iranian foreign policy.

        141.    Beginning in 1995, the Executive Orders specifically affected Iranian banks. In

1995, President Clinton issued Executive Orders 12959 and 13059. In Weinstein v. Islamic

Republic of Iran, the court summarized these sanctions. 48 The Weinstein court explained that the

1995 Executive Orders subjected the banks to significant new restrictions on the basis that they

were entities owned by the Iranian government, and Executive Order 13059 prohibited transactions

with the Iranian government and any entity owned or controlled by it. 49



46
     IMF, Islamic Republic of Iran -- Staff Report for the 2015 Article IV Consultation,
http://www.imf.org/external/pubs/ft/scr/2015/cr15349.pdf, p 17.
47
   The New York Times, TEXT OF AGREEMENT BETWEEN IRAN AND THE U.S. TO RESOLVE THE HOSTAGE
SITUATION, January 20, 1981, http://www.nytimes.com/1981/01/20/world/text-of-agreement-between-iran-and-the-
us-to-resolve-the-hostage-situation.html?pagewanted=all.
48
   299 F. Supp. 2d 63, 66-70 (E.D.N.Y. 2004).
49
   Id. at 70.


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        142.     Thereafter, these banks could only continue to do business in the United States upon

receiving a specific license from the Office of Foreign Asset Control (OFAC). The full relevant

texts of the Executive Orders and regulations and a detailed – and unsympathetic – account of

these sanctions is in the standard academic reference text on the subject, Hossein Alikhani,

Sanctioning Iran: Anatomy of a Failed Policy, London: I.B. Tauris, 2000. It reprints the March 31,

1999, amendment to OFAC’s Iranian Transactions Regulations implementing Executive Order

13059 in which various banks, including Bank Melli are listed by name.

        143.     Beginning in 2007, the United States government began designating Iranian banks

on an individual basis for the actions taken by those banks, as distinct from sanctions on Iran as a

whole and its government which impacted Iranian banks. The first Iranian bank hit by a Treasury

designation was Bank Sepah, designated January 9, 2007, pursuant to Executive Order 13382

about proliferation of weapons of mass destruction and their delivery mechanisms. The Treasury

press release quoted Stuart Levey, Treasury's Under Secretary for Terrorism and Financial

Intelligence: “Bank Sepah is the financial linchpin of Iran’s missile procurement network and has

actively assisted Iran's pursuit of missiles capable of carrying weapons of mass destruction.” 50

        144.     More than 10 months later, on October 25, 2007, Treasury designated two

additional banks, Bank Melli and Bank Mellat, under the same Executive Order. The Treasury

Department press release about the designation explained, “Bank Melli provides banking services

to entities involved in Iran's nuclear and ballistic missile programs, including entities listed by the

U.N. for their involvement in those programs.” 51



50
   PX62 U.S. Department of the Treasury, Press Center, Iran’s Bank Sepah Designated by Treasury Sepah Facilitating
Iran’s Weapons Program, January 9, 2007, https://home.treasury.gov/news/press-releases/hp219
51
   PX36 U.S. Department of the Treasury, Press Center, Fact Sheet: Designation of Iranian Entities and Individuals
for Proliferation Activities and Support for Terrorism, October 25, 2007, https://home.treasury.gov/news/press-
releases/hp644.


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         145.     Also, on October 25, 2007, the Treasury Department designated BSI and BSPLC,

but under Executive Order 13224 which specifically targets terrorists and their supporters. 52

         146.     At the same time and since, Treasury Department officials repeatedly stated that

“Iran uses its state-owned banks … for financing terrorism.” Treasury continued to investigate

banks one by one. Designations under Executive Order 13382 included among others: on October

22, 2008, the Export Development Bank of Iran; June 16, 2010, the Post Bank of Iran; December

21, 2010, the Mehr Bank and the Ansar Bank; and May 17, 2011, the Bank of Industry and Mines

of Iran. 53

         147.     Then, as noted above, on November 21, 2011, Treasury designated Iran as a

“jurisdiction of primary money laundering concern under Section 311 of the USA PATRIOT Act”

which affected all Iranian banks.

         148.     This protracted process shows that Treasury was not painting with a broad brush,

but instead considering the circumstances of each designated bank. It was only after four years and

the designations of many individual banks that Treasury concluded that money laundering was so

pervasive among Iranian banks that this money laundering could endanger the U.S. financial

system. As the quotes above from Undersecretary Levey and Assistant Secretary Glaser state,

Iran’s banks engage in deceptive financial practices in order to support terrorism, among other

reasons.

         149.     These sanctions were directed at Iranian banks and not just at the Iranian

government because the banks played an active role in carrying out Iranian policies which harmed

the United States, as explained in the testimony by Treasury Department officials cited earlier. In


52
  Id.
53
  PX279 Kenneth Katzman, Iran Sanctions, Congressional Research Service Report 7-5700 of April 21, 2015,
available at http://www.parstimes.com/history/crs_april21_15.pdf. Since these banks have been delisted after the Iran
nuclear deal, the OFAC website no longer lists which institutions were designated and when.


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other words, the banks were not innocent bystanders who were caught up when the U.S.

government decided to put pressure on the Iranian government. This is obvious from the way in

which the sanctions against particular Iranian banks developed, on an individualized basis over a

four-year period, as each sanctioned bank engaged in specific problematic activities.

        150.     The slow development of the sanctions also illustrates that the banks that were

sanctioned were aware that their activities in furtherance of Iranian policy would likely harm them

financially. Even if one were to suppose that the banks were not greatly concerned about the

financial impact of U.S. sanctions because they were banned from transactions with U.S. nationals,

they had every reason to be worried about EU action which would cut them off from the SWIFT

interbank transfer system. SWIFT is central to any bank’s ability to transfer funds abroad in a

timely and cost-effective manner. The debate about Iranian access to SWIFT went on for years

before the March 2012 suspension of EU-designated Iranian banks from the SWIFT system. 54

SWIFT continued to give access to other Iranian banks not designated by the EU. 55

        151.     Thus, while the designated banks had ample warning of what was coming, they did

nothing to change their conduct of working with individuals, firms, and government agencies

designated by the UN and/or EU for their role in Iranian nuclear and missile programs, even though

those entities were relatively small players and so presumably not major profit centers for the

banks concerned. From the fact that some Iranian banks retained access to SWIFT, it is clear that




54
   PX112 SWIFT, which is incorporated under Belgian law, took the position that the EU required it to suspend access
to its system by banks designated by the EU. https://www.swift.com/insights/press-releases/swift-instructed-to-
disconnect-sanctioned-iranian-banks-following-eu-council-decision .
55
   Accounts differ on how many of the 30 banks with SWIFT access before 2012 remained connected to the system.
There is no dispute that at least five private and two smaller state-owned banks were connected as of mid-2015, as
described by Iranian officials in https://financialtribune.com/articles/economy-business-and-markets/21026/7-banks-
connected-to-swift.


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had the designated banks focused on their commercial interests instead of Iran’s policies, they had

good reason to think that they would retain access to SWIFT.

        152.     Were these banks basing their decisions on commercial considerations, then most

of them would have exited the business lines to which the EU objected, leaving that business to a

small number of banks which could possibly draw sufficient profit from those activities to justify

the substantial cost of losing access to the SWIFT system.

        153.     For reference, in 2016-2017, the Financial Times reported that Deutsche Bank

planned to cut its commercial client base from 65,000 to 30,000 largely because of regulatory and

law enforcement concerns – a strategy referred to as “derisking” – and the Wall Street Journal

wrote that in 2014 alone, J.P. Morgan Chase dropped over 100,000 customers over concern about

money laundering. 56 A World Bank study found that derisking has become a common practice. 57

        154.     While the rest of the international financial community is headed in the direction

of derisking, Iranian state-controlled banks have adopted an entirely different approach, namely,

they have continued to do business with highly risky customers to their financial detriment –

because that is what Iranian government policy requires.

          B.       Bank Melli, Melli Bank PLC, and Terrorism
        155.     Many of the statements discussed above in the section on Merkazi make reference

to support for terrorism by Iran’s state-owned banks and/or Iran’s commercial banks. Bank Melli

belongs to both of those categories. The statements in question include Treasury Undersecretary

Levey’s July 12, 2007, press Round Table, the March 2008 FinCen warning, Treasury



56
   See https://www.ft.com/content/123550f6-16d7-11e6-9d98-00386a18e39d#axzz49JcJVvmq; Lanier Saperstein and
Geoffrey Sant, Wall Street Journal, Account Closed: How Bank ‘De-Risking’ Hurts Legitimate Customers, August
12, 2015, http://www.wsj.com/articles/account-closed-how-bank-de-risking-hurts-legitimate-customers-1439419093
57
    See https://www.worldbank.org/en/topic/financialsector/publication/world-bank-group-surveys-probe-derisking-
practices.


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Undersecretary Levey’s April 1, 2008, testimony, Treasury Deputy Assistant Secretary Glaser’s

April 17, 2008, testimony, the Treasury Department’s November 21, 2011, press release, PX366

Treasury Undersecretary Cohen’s November 22, 2011, statement, and the NDAA FY2012

provisions.

        156.    In addition, on November 5, 2018, the U.S. Department of Treasury issued a

statement which read in part, 58

        Bank Melli is being designated pursuant to E.O. 13224 [i.e., for support for
        terrorism] for assisting in, sponsoring, or providing financial, material, or
        technological support for, or financial or other services to or in support of, the
        IRGC-QF, which was previously designated pursuant to E.O. 13224 on October 25,
        2007. As of 2018, the equivalent of billions of dollars in funds have flowed through
        IRGC-QF controlled accounts at Bank Melli. Bank Melli has acted as a conduit for
        payments to the IRGC-QF. The IRGC-QF has used Bank Melli to dispense funds
        to Iraqi Shia militant groups, and Bank Melli’s presence in Iraq was part of this
        scheme. Since the mid-2000s, Bank Melli increasingly provided services to Iranian
        military-related entities as they became further involved in all aspects of the Iranian
        economy. Bank Melli has enabled the IRGC and its affiliates to move funds inside
        and outside of Iran....Along with Arian Bank, OFAC designated another 12 entities
        pursuant to E.O. 13224 for being owned or controlled by Bank Melli or one of Bank
        Melli’s subsidiaries: Bank Kargoshaee, Melli Bank PLC, ....
        157.    This designation expanded and extended the earlier October 25, 2007, designation

of Bank Melli under E.O. 13382 about support for proliferation of weapons of mass destruction

and missiles. The Treasury Department announcement of that action stated, “Bank Melli also

provides banking services to the IRGC and the Qods Force. Entities owned or controlled by the

IRGC or the Qods Force use Bank Melli for a variety of financial services. From 2002 to 2006,

Bank Melli was used to send at least $100 million to the Qods Force. When handling financial

transactions on behalf of the IRGC, Bank Melli has employed deceptive banking practices to




58
   PX51 U.S. Department of Treasury, “U.S. Government Fully Re-Imposes Sanctions on the Iranian Regime As Part
of Unprecedented U.S. Economic Pressure Campaign,” https://home.treasury.gov/news/press-releases/sm541,
November 5, 2018.


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obscure its involvement from the international banking system. For example, Bank Melli has

requested that its name be removed from financial transactions.” 59

        158.     A prominent example of Bank Melli’s role in supporting terrorism was its role in

Bahrain’s Future Bank. That bank was established in 2004 as a joint venture between Bahrain’s

Ahli United Bank and Iran’s Bank Melli and Bank Saderat, two large state-owned Iranian banks.

        159.     After the Bahraini authorities closed it in 2015, Bank Melli and Bank Saderat filed

a complaint before the Permanent Court of Arbitration in The Hague. As the Washington Post

described, 60

        In response, Bahrain submitted hundreds of pages of audit findings that paint a
        portrait of a financial institution that operated mainly with “the aim of
        concealment,” the documents state, giving Iranian companies secret access to the
        foreign markets and the international monetary system. The audit “revealed crimes
        and violations of Bahraini and international law of massive proportions,” Bahraini
        Foreign Minister Khalid bin Ahmed al-Khalifa said in a written statement to The
        Post....Among the practices cited in the report was a systematic use of “wire-
        stripping,” the deliberate removal or changing of identifying information when
        transferring money between banks. Auditors said they discovered more than 4,500
        instances of wire-stripping by bank officials to conceal Iran’s role as the sender or
        recipient of funds. The amount of money known to have changed hands in those
        transactions totals $4.7 billion, but the true sum is likely to be far greater, Bahraini
        officials say.... In hundreds of cases, bank transfers were accompanied by specific
        instructions to avoid references to Iran or Iranian banking codes. “Do not mentioned
        [sic] our bank name, BIC code ref. no., in any message routed through U.S.A. and
        do not route through New York,” Future Bank officials were instructed in one
        message from Iran’s Bank Melli.... Among the violations cited were 260 instances
        in which the bank opened accounts for individuals convicted of financial crimes
        such as money laundering and supporting terrorist causes.




59
   U.S. Department of Treasury, “Fact Sheet: Designation of Iranian Entities and Individuals for Proliferation
Activities and Support for Terrorism,” https://home.treasury.gov/news/press-releases/hp644,October 25, 2007.
60
   Error! Main Document Only.“Billion-dollar sanctions-busting scheme aided Iran, documents show, ” by Souad
Mekhennet and Joby Warrick April 3, 2018, https://www.washingtonpost.com/world/national-security/billion-dollar-
sanctions-busting-scheme-aided-iran-documents-show/2018/04/03/37be988a-3356-11e8-94fa-
32d48460b955_story.html.



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        160.     Future Bank came back into the news in February 2020 when the Bahraini

authorities announced indictments of numerous individuals for their role in the bank’s illicit

financing of terror. As reported in Arab News: 61

        The years-long investigation by the CBB [Central Bank of Bahrain], the Ministry
        of Interior, and international regulatory experts, reviewed tens of thousands of
        Future Bank documents... The bank, acting under the direction of Bank Saderat and
        Bank Melli, ...executed thousands of international financial transactions worth $7
        billion while concealing the involvement of Iranian entities. Rasheed Al-Maraj, the
        CBB governor, said the complexity and magnitude of the investigations were
        compounded by the need to disentangle the subterfuge of Iranian-backed financing
        of terrorism.


XII.    Iran, the National Iranian Oil Company (NIOC), and Terrorism

          A.       Ownership of the NIOC
        161.     NIOC is entirely owned by the government of Iran, as explained on its website, at

NOIC.ir. Iran’s Petroleum Minister Bijan Zanganeh is Chairman of NIOC’s Board; his

predecessors as minister also held that position with NIOC while in office. The day on which the

oil industry was nationalized in 1951 is a public holiday in Iran. Government control over the oil

industry is such an important principle that Iranian politicians have for years fought over whether

it was appropriate to bring foreign investors into the industry even in a secondary role. Retaining

complete government ownership and control over NIOC has never been brought into question. As

the U.S. Treasury Department put the matter in a September 24, 2012, press release: “NIOC, which

is owned by the Government of Iran through the Ministry of Petroleum, is responsible for the

exploration, production, refining, and export of oil and petroleum products in Iran.” 62




61
   Error! Main Document Only.“Bahrain brings charges in vast money laundering case linked to Iranian state-owned
banks,” Arab News, February 13, 2010, https://www.arabnews.com/node/1627236/middle-east
62
   PX125 U.S. Department of the Treasury, Press Center, Treasury Submits Report To Congress On NIOC And NITC,
September 24, 2012, available at https://www.treasury.gov/press-center/press-releases/Pages/tg1718.aspx.


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       162.    In the extensive litigation over more than a decade between Ashland Oil and NIOC

(Civ. A. No J85-1064 (L)), including the rulings of the Fifth Circuit, many issues were raised,

including issues about sovereign immunity. To quote the U.S. District Court for the Southern

District of Mississippi in 716 F. Supp. 268, 270 (S.D. Miss. 1989): “The FSIA [Foreign Sovereign

Immunities Act] specifically includes in its definition of a ‘foreign state’ entity that are owned by

the sovereign, 28 U.S.C. § 1603, and in this case, there is no dispute that NIOC is a ‘foreign state’

within the meaning of the FSIA.” 63

         B.      NIOC and Support for Terrorism
       163.    In an article for West Point’s CTC Sentinel, my colleague Michael Knights wrote

about a part of the Iran-Iraq border where Special Groups were engaging in terror attacks against

U.S. and UK forces, “This part of the border is increasingly the scene of U.S. and Iranian

countermoves to support their proxies and patrol the frontier; Iranian intelligence gathering takes

place using National Iranian Oil Company helicopters and border guards.” 64 This role by NIOC

helicopters is not widely known. When I queried Dr. Knights about this statement, he wrote me in

an email on June 6, 2019, “This was a very niche issue. I only dug it [this information] out because

I was present on the border at the time. The locations where the copters were used were the ‘step’

in the Iran-Iraq border, adjacent to Majnoon and what would become Block 11 [2 Iraqi oil fields].

I think Azadegan [an Iranian oil field] is on the other (Iranian) side. IRGC had a number of arms

smuggling routes through those [oil] fields.” 65




63
    National Iranian Oil Co. v. Ashland Oil, 716 F. Supp. 268, 270 (S.D. Miss. 1989), available at
https://law.justia.com/cases/federal/district-courts/FSupp/716/268/2345171/.
64
    PX248 Michael Knights, “Taming Iranian-backed Special Groups in Maysan Province,” CTC Sentinel,
https://ctc.usma.edu/taming-iranian-backed-special-groups-in-maysan-province/, June 2009.
65
   Personal communication to the author.


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        164.     Admittedly, such direct NIOC support for terrorism is more the exception than the

rule. The more typical role is that highlighted by the U.S. Treasury Department in its September

4, 2019, press release, “Treasury Designates Vast Iranian Petroleum Shipping Network That

Supports IRGC-QF and Terror Proxies.” 66

        165.     In that press release, Treasury Secretary Steven Mnuchin is quoted, “Treasury’s

action against this sprawling petroleum network makes it explicitly clear that those purchasing

Iranian oil are directly supporting Iran’s militant and terrorist arm, the IRGC-Qods Force.” The

Treasury statement specified, “The crude oil and condensate sold by this IRGC-QF network

originates with the National Iranian Oil Company (NIOC).”

        166.     NIOC generates billions of dollars in revenue each year for the Iranian government,

in addition to generating the revenue to fund its operations and investment in developing Iran’s oil

industry. There are credible reports, including from Iranian sources, that some of this oil revenue

is not officially reported, making it even more directly available for purposes such as support for

terrorism. An Iranian government audit in 2009 found that more than one billion in oil revenue

from the previous year was missing from the state coffers. 67 The practice continues, with recent

Iranian reports referring to billions in revenues going unaccounted for each year. 68 Credible reports



66
   PX63 U.S. Department of the Treasury, Press Center, Treasury Designates Vast Iranian Petroleum Shipping
Network That Supports IRGC-QF and Terror Proxies, September 4, 2019, https://home.treasury.gov/news/press-
releases/sm767.
67
      UPI,    Iran   looking      for  missing      oil   revenue,     November    20,     2009,     available  at
https://www.upi.com/Business_News/Energy-Industry/2009/11/20/Iran-looking-for-missing-oil-revenue/UPI-
97311258729114/.
68
   Aftabnews, What $ 8 billion of Ahmadinejad’s oil revenue was spent on development in the country, May 21, 2008,
available                   at                https://aftabnews.ir/fa/news/297462/%DB%B8%DB%B0%DB%B0-
%D9%85%DB%8C%D9%84%DB%8C%D8%A7%D8%B1%D8%AF-%D8%AF%D9%84%D8%A7%D8%B1-
%D8%AF%D8%B1%D8%A2%D9%85%D8%AF-%D9%86%D9%81%D8%AA%DB%8C-
%D8%AF%D9%88%D8%B1%D9%87-
%D8%A7%D8%AD%D9%85%D8%AF%DB%8C%E2%80%8C%D9%86%DA%98%D8%A7%D8%AF-
%D8%B5%D8%B1%D9%81-%DA%A9%D8%AF%D8%A7%D9%85-
%D8%AA%D9%88%D8%B3%D8%B9%D9%87-%D8%AF%D8%B1-%DA%A9%D8%B4%D9%88%D8%B1-
%D8%B4%D8%AF.


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provide strong reasons to suspect that some of this missing revenue is directly controlled by Iranian

government agencies, especially the Islamic Revolutionary Guard Corps (IRGC), rather than going

to the treasury and then being allocated to these agencies. 69 The IRGC, which reports directly to

Iran’s Supreme Leader rather than to the President and Parliament, has long maintained it has

authority to engage in many activities on its own rather than going through normal governmental

processes.

           167.   While there is little information in the public realm about the oil or oil sale revenue

which goes to the IRGC, it would appear that NIOC sells oil to IRGC-affiliated middlemen at

below market prices and/or pays such middlemen commissions for oil sales. That would be

consistent with the many non-transparent techniques NIOC has used to sell oil to customers who

wish to disguise their purchases given the U.S. sanctions on entities which purchase Iranian oil or

which handle the shipping or the financial transactions associated with such oil sales. The U.S.

Treasury Department warns that all “who knowingly engage in significant transactions for the

purchase, acquisition, sale, transport, or marketing of petroleum or petroleum products from Iran

— or knowingly provide significant support to an Iranian person on OFAC’s List of Specially

Designated Nationals and Blocked Persons (SDN List), such as the National Iranian Oil Company

(NIOC) . . . are at serious risk of being targeted by the United States for sanctions . . . .” 70 Given

its expertise in clandestine operations, the IRGC would seem well placed to assist in such disguise

efforts.




69
   See Mark Gregory, Expanding business empire of Iran’s Revolutionary Guards, BBC News, July 26, 2010, available
at http://www.bbc.com/news/world-middle-east-10743580.
70
   PX59 Department of the Treasury, OFAC Advisory to the Maritime Petroleum Shipping Community, September 4,
2019, available at https://home.treasury.gov/system/files/126/iran_advisory_09032019.pdfThis Advisory includes
much information about Iran’s “deceptive shipping practices.”


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        168.      The role that NIOC plays regarding terrorism is similar to the role it plays regarding

nuclear proliferation. In its March 1, 2016 ruling upholding the freezing of NIOC funds on nuclear

proliferation grounds, the Court of Justice of the European Union ruled that the European

Council’s designation criteria for the freeze “include natural or legal persons which, even though

they have no direct or indirect link with nuclear proliferation (as is the case with NIOC), could

encourage it by providing the Iranian Government with resources or facilities of a material,

financial, or logistical nature allowing it to pursue proliferation activities.” 71

        169.      In sum, NIOC is wholly owned by the Iranian government and is used by that

government as vital support for its activities, including the funding of terrorism. There is credible

reason to believe that significant revenues from oil sales have been diverted by NIOC into the

pockets of the IRGC. At times during the U.S.-led war against terrorists in Iraq after 2003, NIOC

assets, including its helicopters, have been used to provide more direct support to Iranian terrorism.

XIII. Other Components of Iran’s Terror Network

          A.        The Reconstruction Organization of the Holy Shrines in Iraq (ROHSI)
        170.      On March 26, 2020, the Treasury Department announced the designation under

E.O. 13224 of the Reconstruction Organization of the Holy Shrines in Iraq (ROHSI). Treasury

Secretary Steven T. Mnuchin stated, “Iran employs a web of front companies to fund terrorist

groups across the region, siphoning resources away from the Iranian people and prioritizing

terrorist proxies over the basic needs of its people.” 72 The Treasury Department press release

further stated,

        The Reconstruction Organization of the Holy Shrines in Iraq (ROHSI) is an IRGC-
        QF-controlled organization based in Iran and Iraq whose leadership was appointed
71
   PX517 Press Release No 21/16 of the Court of Justice of the European Union, Judgement in Case C-440/14 P,
National Iranian Oil Company v. Council. The full text of the judgment is available on the CURIA website
https://curia.europa.eu/jcms/upload/docs/application/pdf/2016-03/cp160021en.pdf.
72
   U.S. Department of Treasury, “Treasury Designates Vast Network of IRGC-QF Officials and Front Companies in
Iraq, Iran”, https://home.treasury.gov/news/press-releases/sm957, Mar. 26, 2020.


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       by the late IRGC-QF Commander Qassem Soleimani. Though ostensibly a
       religious institution, ROHSI has transferred millions of dollars to the Iraq-based
       Bahjat al Kawthar Company for Construction and Trading Ltd, also known as
       Kosar Company, another Iraq-based entity under the IRGC-QF’s control. Kosar
       Company has served as a base for Iranian intelligence activities in Iraq, including
       the shipment of weapons and ammunition to Iranian-backed terrorist militia groups.
       Additionally, Kosar Company has received millions of dollars in transfers from the
       Central Bank of Iran…. In addition, IRGC-QF officials have used ROHSI’s funds
       to supplement IRGC-QF budgets, likely embezzling public donations intended for
       the construction and maintenance of Shiite shrines in Iraq.

         B.      Islamic Republic of Iran Shipping Lines (IRISL)
       171.    The Treasury Department’s recent description of the IRISL as “meeting the

definition of the term ‘Government of Iran’” was a change in position from the U.S. government

view in 2016 when the Joint Comprehensive Plan of Action (the arrangement about the nuclear

impasse) went into effect. In the list of individuals and institutions on which sanctions were to be

removed the day that was implemented, the U.S. government put an asterisk next to each institution

that it considered government-owned. There is no asterisk next to IRISL’s name.

       172.    The new position by the U.S. government makes more sense than the previous

stance. IRISL is majority-owned by institutions controlled by the government. There is strong

circumstantial evidence that such institutions continue to hold an overwhelming majority of the

shares, as they long have.

       173.    In 2000/2001, IRISL changed its legal status from a government company to a non-

government company. In the 62-page prospectus (in Persian) it filed in 2008/2009 with the Tehran

Stock Exchange (TSE), it explained that after the change, it had been owned 49% by the Ministry

of Commerce with the other 51% split between two government-run social insurance funds

discussed below, the Social Security Investment Company (SSIC, or “Shasta”), which is actually

a large public insurance company providing health and auto insurance among other products, and

the Civil Service Pension Organization (CSPO), the name preferred on the pension fund’s English-



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language website, 73 which was previously known as the “National Retirement Fund” which is

how it was listed in the TSE records. As I discuss below, those two institutions are controlled by

the government.

           174.     IRISL is now listed on the TSE. For years, the TSE’s Persian-language website

listed for each company all of the owners of 1% or more of the stock in each company on the

Exchange, though that information has not been available for some years. For quite some time, the

ownership of IRISL changed little, with there being only 6 shareholders.

           175.     The top four shareholders were:

           Shareholder                                  Number of Shares          Precent of Shares

           SSIC                                         4,233,585,052             25.8%

           CSPIC                                        4,184,636,801             25.5%

           Provincial Investment Fund                   3,934,319,965             24.0%

           Government Trading Corporation 2,786,805,379                           17.0%
           (GTC)
           Total of these four            15,139,347,197                          92.3%



           176.     However, at some point, the TSE changed how it listed shareholdings; it now only

lists nine shareholders each of whom has 1.0% or more of IRISL’s shares. Six of those are

shadowy investment companies. On August 3, 2021, the TSE records show the largest IRISL

shareholder, with 13.56% of the shares, as “Financial Intermediary Company Bahman Fourth,”

Bahman being an Iranian month. This company has entered into a complex swap agreement with

the government-run Social Security Investment Company (SSIC) which leaves the latter fully




73
     Available at https://www.retirement.ir/english/About/ObjectivesDuties.aspx


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liable for any change in the value of the shares. 74 Similar funds with the names of the other Iranian

months exist and may also own shares. This is in addition to the 9.3% of IRISL shares still owned

directly by SSIC.     Plus, the TSE data have separate listings as the third and fifth largest

shareholder for the Government Trading Corporation of Iran (GTC), to use the name it lists in

English on its website, with a combined 7.99% of the shares. 75 Also listed is the government-run

National Retirement Fund, with 4.06% of the shares. Just those five shareholders have 34.91% of

IRISL’s shares. Another 5.42% is held by four other shadowy investment firms. While I do not

know who owns the other 59.67%, I do know from the TSE data that the daily volume of shares

traded is less than 0.1% of the outstanding shares, which suggests that whoever owns the shares

does not trade them often. That would be consistent with many of those shares being held by long-

term investors such as those four institutions that long held all of IRISL’s shares.

       177.    Iranian economists and businessmen have long complained that many of the

companies on the TSE are in fact controlled by the government indirectly, with the overwhelming

majority of shares held by institutions controlled by the government – the many public retirement

funds are often cited as an example. Many Iranian economists and businessmen cite as evidence

of this de facto government control the very small trading in the shares of many companies listed



74
   https://www.shomanews.com/%D8%A8%D8%AE%D8%B4-
%D9%85%D9%87%D9%85%D8%AA%D8%B1%DB%8C%D9%86-
%D8%A7%D8%AE%D8%A8%D8%A7%D8%B1-
%D8%A7%D9%82%D8%AA%D8%B5%D8%A7%D8%AF%DB%8C-3/936343-
%D8%AA%D8%A7%D9%85%DB%8C%D9%86-%D9%85%D8%A7%D9%84%DB%8C-
%D9%87%D8%B2%D8%A7%D8%B1-
%D9%85%DB%8C%D9%84%DB%8C%D8%A7%D8%B1%D8%AF-
%D8%B1%DB%8C%D8%A7%D9%84%DB%8C-
%D8%AA%D8%A7%D9%85%DB%8C%D9%86-
%D8%A7%D8%AC%D8%AA%D9%85%D8%A7%D8%B9%DB%8C-%D8%A8%D8%A7-
%D8%B5%DA%A9%D9%88%DA%A9-%D8%A7%D8%AC%D8%A7%D8%B1%D9%87
75
   PX809 https://en.gtc.ir/. The translation is a shortened version of a longer Iranian name.


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on the TSE. Furthermore, these economists and businessmen complain about such companies

being so dependent on government decisions that the companies have little independence, and they

allege government interference in corporate affairs especially the selection of company

management. IRISL seems to fit this pattern. Therefore, in my expert opinion as a close observer

of the Iranian economy, IRISL is a company controlled by its four largest shareholders.

           178.    Of the four largest shareholders, the GTC is clearly a government instrumentality.

Its charter, 76 says in Article 1.2 that the firm’s purpose is to serve government interests, in 1.4 it

says that it is a government firm, in 1.6 it says that all the firms shares belong to the government,

and in 9 it says that the firm’s highest authority is the general assembly which is composed of

several government ministers and only them.

           179.    For many years, a major investor in IRISL was the Provincial Investment Fund set

up to manage the shares allocated to workers and the poor when the company was privatized,

known as “justice shares.” These shares were long controlled directly by the central government,

contrary to the fiction that each province had its own separate fund. The TSE had for some years

listed each province’s fund separately, with the result that few met the new 1% reporting threshold

when that was introduced. Until recently, the nominal shareholders were not allowed to sell the

shares held in their name. In May 2020, pursuant to the request of President Hassan Rouhani,

Supreme Leader Ali Khamenei allowed the nominal holders of the justice shares to take actual

control of some of them. It took the government a while to issue the relevant regulations and for

shareholders to decide what to do. Now, shareholders have the option to sell up to 60 percent of

their shares or to leave their shares with the Provincial Investment Fund. Nearly 30 million out of

the 49 million Justice Shareholders, or just over 60 percent, chose to leave the control of their



76
     Available at https://en.gtc.ir/index.aspx?&siteid=7&pageid=1631&p=1&showitem=2


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shares with the Provincial Investment Fund. 77 It is entirely unclear how many of IRISL’s shares

remain in the Provincial Investment Fund and therefore under the de facto control of the

government, but the amount could be considerable.

       180.    The CSPO at times describes itself as a private firm run like an insurance company.

However, as its website in Persian describes, it is “dependent on” the Ministry of Welfare and

Social Security. It provides service only to government employees and contractors. Its website lists

as the law under which it is organized the law for the organization of the civil service, as published

in the official newspaper. I find no claim that it has a managing board with any independence from

the government. Before financial information was removed from its website, the page on its

investments 78 described it as a 25% owner of IRISL, which is what the TSE data used to show.

The TSE data show it as still owning directly 4.06% of IRISL’s shares, and it is entirely possible

that, like SSIC, it has entered into complex swap agreements which leave it in indirect control of

more shares.



77
    https://tejaratnews.com/%DA%AF%D8%B2%D8%A7%D8%B1%D8%B4
%D8%A2%D8%B2%D8%A7%D8%AF-%D8%B3%D8%A7%D8%B2%DB%8C
%D8%B3%D9%87%D8%A7%D9%85%D8%B9%D8%AF%D8%A7%D9%84%D8%AAhttps:/
/; tejaratnews.com/%D8%A2%D8%B2%D8%A7%D8%AF%D8%B3%D8%A7%D8%B2%DB
8C %DB%B4%DB%B0-%D8%AF%D8%B1%D8%B5%D8%AF
%D8%A8%D8%A7%D9%82%DB%8C %D9%85%D8%A7%D9%86%D8%AF%D9%87-
%D8%B3%D9%87%D8%A7%D9%85 %D8%B9%D8%AF%D8%A7%D9%84%D8%AA;and
https://www.newslaw.net/%D9%86%D8%AD%D9%88%D9%87-
%D9%81%D8%B1%D9%88%D8%B4-60 %D8%AF%D8%B1%D8%B5%D8%AF-
%D8%B3%D9%87%D8%A7%D9%85 %D8%B9%D8%AF%D8%A7%D9%84%D8%AA-
%D8%A8%D8%B1%D8%A7%DB%8C
%D8%BA%DB%8C%D8%B1%D9%85%D8%B3%D8%AA%D9%82%DB%8C%D9%85
%D9%87%D8%A7.a274413
78
  This information is no longer on their website, but the old website page can be found at
https://www.retirement.ir/english/Investment/Investments.aspx What the fund now provides,
https://www.cspf.ir/en/aboutusHoldings.html , is the names of the five holding companies under
whose umbrella they have grouped their shares ; the Persian page, https://www.cspf.ir/about-
us/holdings-and-subsidiaries/, is more explicit about how these five are holding companies.


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       181.    Another long-time major shareholder in IRISL has been Shasta, or SSIC. As noted

above, SSIC still controls, directly and indirectly, at least 22.86% of IRISL, and it may control

more through swaps with financial intermediary companies other than Bahman Fourth.

       182.    Those services include, but are not limited to, health, life, unemployment insurance

as well as a retirement fund. It is officially a non-government enterprise, but that is not the reality

of who controls it. Its charter as published in the official newspaper states that the Chief Executive

Officer must be approved by the President’s Deputy (sometimes translated as Vice-President) on

Management and Human Capital. That charter states that all its financial regulations can be

suggested by its management board but must be approved by the cabinet ministers’ vote. While it

has a management board – on which sit many government representatives as well as others – the

charter states that this board is subordinate to its Supreme Council which consists of six

representative of the government including the minister of welfare and social security who is the

head of the council, the minister of labor and social security or his deputy, the president’s deputy

on management and human capital, the minister of economy, the minister of cooperation, and the

minister of industry and mines. Its charter cites no legal requirement to manage its funds for the

behalf of the beneficiaries. In short, it is subordinate to government ministers and has no legal

requirement to operate separately from how those ministers direct. In my expert opinion, that

makes Shasta, also known as SSIC, a government-controlled entity. 79

       183.    In my expert opinion, IRISL’s ownership has become less transparent as TSE

provides less information and government-controlled institutions engage in complex financial




79
  Note that several of these ministries changed names after the law setting up Shasta; for instance,
the ministry of cooperation and the ministry of labor were merged into a ministry of cooperatives,
labor, and social welfare; and the ministry of industry and mines was merged into a ministry of
industry, mines and trade


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transactions. At the last date for which we had full information, IRISL’s four largest shareholders,

who held at least 51% of its stock, were in turn controlled by the government ministers who appoint

a majority of their boards, which serve at the ministers’ pleasure and which have no obligation to

run their funds for the benefit of anyone other than the government. Today, government-controlled

bodies continue to control at least 34.9% of IRISL’s shares and may well control quite a bit more.

In my expert opinion, the Iranian government continues to control IRISL and can direct it to do as

it pleases. Indeed, I have strong reason to believe the reports I have heard from knowledgeable

observers that is precisely what the government has done on many occasions.

        184.       Ownership of the shares of IRISL was quite constant during the years for which

data are available. Other than the changes following the freeing of 60 percent of the Justice Shares,

I see no reason to think IRISL’s ownership has significantly changed since such data were no

longer being published by the TSE. Therefore, I, like the U.S. government, conclude that IRISL is

effectively controlled by the Government of Iran.

        185.       On November 5, 2018, the U.S. Department of Treasury issued a statement which

read in part, 80

        Among those in Iran’s shipping sector placed on the SDN List [the Treasury
        Department list of Specially Designated Nationals and Blocked Persons] today are
        Iran’s national maritime carrier, the Islamic Republic of Iran Shipping Lines
        (IRISL), and oil transport giant National Iranian Tanker Company (NITC), both of
        which were identified pursuant to E.O. 13599 for meeting the definition of the term
        ‘Government of Iran.’...One IRISL subsidiary, Valfajr Shipping Company PJS, has
        been used regularly by the IRGC to transfer passengers, cargo, containers, and
        IRGC personnel from IRGC-controlled ports in Iran to major ports in the Persian
        Gulf region.
        186.       In other words, this IRISL subsidiary was providing material support to the terrorist

IRGC by shipping items to “major ports in the Persian Gulf region.” The Treasury statement did


80
   U.S. Department of Treasury, “U.S. Government Fully Re-Imposes Sanctions on the Iranian Regime As Part of
Unprecedented U.S. Economic Pressure Campaign,” https://home.treasury.gov/news/press-releases/sm541,
November 5, 2018.


                                                    64


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not provide more detail, but two of the main ports in the Persian Gulf to which IRISL carries cargo

are Umm Qasr and Basra in Iraq. The Treasury statement also did not say when this activity started,

but it is hard to see any developments in Iran which have caused a recent start to this activity; it is

much more plausible that this activity dates back to the post-2003 start-up of IRISL shipping to

Umm Qasr and Basra.

        187.     It is worth noting that approximately 20 years ago, an IRISL ship was found by

customs authorities in Belgium’s Antwerp port to be carrying, along with the gherkins and garlic

on the manifest heading to Munich in Germany, a large mortar and shells, evidently for the purpose

of attacking Iranian dissidents . 81

          C.       Mahan Airlines
        188.     Mahan Air’s ownership is a mystery. Indeed, in 2020, BBC Persian Service ran an

article with the title, “Flight in the Mist: Who Does Mahan Air Belong To?” 82 The mystery is

deliberate. The main owner is Mola al-Movaheddin Ali Ibn Abitaleb Charity Institution of Kerman

(hereafter: MMC). Hossein Marashi, the founder of MMC and said to be the founder of Mahan

Air, explained in a 2019 interview:

        “Who should we be reporting [our financial records] to? Allow me to say something. We
        reached a point where I went and wrote down the minutes of the meeting. I added Mr.
        [Mohammad Reza] Bahonar [a prominent hard-line politician] as a trustee [for MMC]. I
        told him to sign [the minutes of the meeting], but he wouldn’t. I pleaded with him until he
        signed. We also got Qasem Soleimani’s signature. He was also a trustee. We [Marashi]
        also signed it.” 83 Note that Marashi was confirming that Qasem Soleimani, the long-time
        head of the IRGC Quds Force until killed by a U.S. airstrike in January 2020, was a trustee

81
  https://www.nytimes.com/1996/05/01/world/mortar-found-on-iranian-ship-in-pickles-bound-
for-germany.html. The episode is reportedly described in a May 3, 1996, article in the Frankfurter Allgemeine
newspaper, Germany’s most respected newspaper, but I have not been able to find that.
82
   https://www.bbc.com/persian/iran-features-52486540, May 4, 2020.
83
   https://www.khabaronline.ir/news/1321629/%D9%85%D8%B1%D8%B9%D8%B4%DB%8C-
%D9%86%D8%AA%D9%88%D8%A7%D9%86%D8%B3%D8%AA%D9%85-%D8%B3%D8%B1-
%D8%A2%DB%8C%D8%AA-%D8%A7%D9%84%D9%84%D9%87-
%D9%87%D8%A7%D8%B4%D9%85%DB%8C-%D8%B1%D8%A7-%DA%A9%D9%84%D8%A7%D9%87-
%D8%A8%DA%AF%D8%B0%D8%A7%D8%B1%D9%85-%DB%8C%DA%A9%DB%8C-%D8%A8%D8%A7-
%D9%84%D8%A8%D8%A7%D8%B3


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        of MMC.

        189.    A detailed April 2021 report in the respected news outlet Tehran Bureau, “Quds

Force in White Collars: Meet the Executives,” described MMC as “the heart of the Quds Force’s

domestic economic activities” and “the ideal legal framework for the Quds Force’s secretive

financial transactions.” 84 From news accounts, this report assembles a list of MMC’s trustees and

executives, several of whom are former governors of Kerman province, which was also the home

province of former Iranian president Hashemi Rafsanjani. The Tehran Bureau article states that

Mahan Air is 100 percent owned by MMC.

        190.    An interesting light on that issue is the following entry in the Official Newspaper

of the Islamic Republic of Iran: 85

        Newspaper number: 21811 county
        Newspaper's page number: 40
        Newspaper's date: 1398/11/8 [January 28, 2020]

        (letter) Number from the recording office: 139830419585004912
        Date of letter from the recording office: 1398/11/5 [January 25, 2020]
        Tracking number of the official newspaper: 981105727650729

        Announcement of a change in private stock company Mahan Airlines Company with
        registration number 2734, national ID 10630109079

        As per documents from the annual ordinary general assembly of 6/31/1398 [August 22,
        2019]:

        a) composition of the board of directors for a period of two years changes to as follows:
        Omran Alavi Development Group Company with national ID 10103837162, Charity
        Institution Mola Al-Mohadin Ali Ibn Abi Taleb of Kerman with national ID 1063008899,
        Mr. Hamid Arabnezhad Khanuki with national [personal] ID number 329924210875;

        b) elected for one financial year were the Tadvin [compilation] and Associates
        Bookkeeping Agency, official accountants, with national ID 10100527339 and registration
        number 13995 as principal inspectors and Mr. Ali Arjmandi with national [personal] ID
        2992387967as substitute inspector;

84
  https://tehranbureau.com/quds-force-in-white-collars-meet-the-executives/
85
  rrk.ir/News/ShowOldNews.jaspx?Code=15059899. In Persian; translation by Patrick Clawson. All items in
brackets are comments by Patrick Clawson.


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           c) the financial statements as of 12/29/1397 [03/20/2019] were approved;

           d) Etela'at and Kerman, widely circulated newspapers, were chosen to publish the
           announcement.

           – No. 981105737650729 Kerman's office of registrar for companies and non-commercial
           institutions

           This announcement in the official newspaper actually tells us very little. It gives no
           information about owners, only about members of the board of directors – which raises the
           interesting issue of how a company can be a member of a committee. The announcement
           does not point out that Omran Alavi Development Company Group appears to be a
           subsidiary of MMC and that Ali Arjomandi is an inspector for both MMC and Omran Alavi
           Development Company Group. The third member of the board of directors, Hamid
           Arabnejad Khanouki, has been the CEO of Mahan Air for nearly two decades.
           191.

           192.    A decade ago, the ownership of Mahan Air was the subject of a protracted legal

battle in Great Britain. A 2011 decision by the England and Wales Court of Appeal (Civil

Division) written by Lord Justice Stanley Burnton, with Lord Justice Gross concurring, in the case

of Mahan Air and Blue Sky Aviation Co FZE v. Blue Sky One Limited et al. 86

           193.    Lord Justice Burton wrote in paragraph 3 of the decision, “According to the witness

statement of Reza Namakshenas dated 20 February 2011, the deputy managing director - finance

of Mahan, 60 percent of the shares in the company are held by Mahan Group Aviation Services

Holding Company (“MAGASH”), on trust for Mow-lal-Movahhedin Charity Institute (“the

Institute”), an Iranian entity; the remaining 40 percent are held directly by the Institute.”

           194.    The respondents in the UK case argued that the Mow-lal-Mohaveddin [an

alternative way to translate the name of MMC] Charity Institute was, in Lord Justice Burnton’s

description of their position, not “a charity as that term would be understood in this country, but a

credit institution, a kind of bank.” He noted that Mahan disputed that, but had taken no steps to



86
     EWCA Civ 544 (11 May 2011), available at http://www.bailii.org/ew/cases/EWCA/Civ/2011/544.html.


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dispute the description of its owner in several important documents, including the trial judge’s

decision, as being a credit union. Lord Justice Burnton added, “I find this surprising, but I cannot

resolve this issue on the material before me.” Indeed, some well-informed Iranian sources tell me

that the organization changed its legal status from a “charity institute” to a “credit union.” That

may or may not be the case.

       195.    But what is quite important here is that both such institutions – of which there are

many in Iran – are most decidedly non-governmental institutions. Iran has quasi-government

institutions, like foundations that are theoretically charitable, which are in practice closely linked

to the government, often through the office of the Supreme Leader. The “charity institutes” are

quite different: they are long-standing private charitable organizations. Similarly, the “credit

unions” are quite independent of the government, being subject to hardly any of the rules which

apply to banks.

       196.    Lord Justice Burnton in his opinion stated, “I find it curious that a charity the

function of which is ‘primarily educational and to help the poor’ should have as its main asset

(according to Mr. Namakshenas) a 96 percent shareholding in a private airline.” The organization

seems to be quite active, though it is widely assumed that the loan recipients are political allies of

the Mow-lal-Mohaveddin leadership.

       197.    Lord Justice Burnton strongly implied that the accounts Mahan Air presented to the

court were unreliable. He wrote, “The accounts of Mahan Air to March 2009 exhibited to Mr.

Moattar’s 4th witness statement are heavily qualified by the notes to those financial statements.

They show considerable transactions with related parties. According to the accounts Mahan Group

Company hold 60 percent of the shares. These accounts were the subject of the cross-examination

of Mr. Moattar before the judge. Mr. Moattar insisted that the financial position of Mahan was




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very different from the poor situation shown in the accounts…..The auditors’ report on the 2010

accounts states, at paragraph 8: ‘Contrary to the accounting standards, some of the transactions

during the year between the Company and the related parties have not been properly disclosed in

the financial statements.’ Clearly, this qualifies the reliability of those statements.” Lord Justice

Burnton concluded, “But whatever the shareholder is, there is no sensible evidence as to its

financial position or means.”

       198.    The whole reason for the UK court case was the chain of deceptive financial

transactions Mahan undertook to evade U.S. sanctions and then to evade repaying those who had

helped them in that process. In the course of these transactions, Mahan repeatedly hid what it was

doing from those with whom it was signing agreements. This, as well as the failure to disclose

transactions in the financial statements, form a pattern of deceptive financial practices which cast

serious doubt on any statements Mahan has made about its ownership.

       199.    The person who has come forward on several occasions claiming to speak for Mow-

lal-Movahhedin Charity Institute is Hossein Marashi, whom the Financial Times among other

sources describe as being a member of the Institute’s board. Hossein Marashi is a well-known

figure. His father has a twin brother. They were wealthy businessmen in Qom who shared a home,

which is where former President Ali Akbar Hossein Rafsanjani came to live when he moved to

Qom at age 11 to attend seminary. Rafsanjani lived there for years and became close to the family;

indeed, he married the daughter of the twin brother. Hossein Marashi remained extremely close to

Rafsanjani. When the latter was president of Iran from 1989 to 1997, Marashi was his chief of

staff. Marashi was the deputy head of the “Executives of Construction” political party, which is

closely linked with Rafsanjani. He was a member of parliament for the city of Kerman and was




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deputy governor of Kerman province at the time that the Mow-lal-Movahhedin Charity Institute

was legally registered; it is often referred to as the Kerman Mow-lal-Movahhedin Charity Institute.

        200.    Marashi’s role with Mahan Air is not clear. In the press, he comments on matters

regarding Mahan as if he speaks for its ownership. Marashi has a reputation for being one of the

best businessmen in Iran. His energy is legendary, and he is said to be very efficient at running

several firms simultaneously.

        201.    As Hashemi Rafsanjani’s star waned in the factional infighting in Iran, so did

Marashi’s position. Marashi was arrested in 2010 after his role supporting the loser in the contested

2009 presidential elections. He was held a year before being let go. Reportedly during that year,

the hardliners were searching high and low for ways to charge him with financial misconduct but

were unable to do so. Hashemi Rafsanjani died in 2017; Marashi does not appear to have held any

important posts since then

        202.    Information available in the Iranian Persian-language press does little to clarify the

situation about the ownership of Mahan Airlines. One publication hostile to reformers in general

and Marashi in particular published what purports to be a detailed investigation of the dense

interlinkages among members of the board of the MMC Charity Institute and various other

companies. Mohammed Reza Pourebrahimi, a parliament member for Kerman (there are several)

and vice-chair of the parliament’s economics commission, has harshly criticized the Mow-lal-

Movahhedin Charity Institute for not publishing any annual financial reports as required by law.

It is not apparent if in fact the financial reports were filed with the authorities as it seems is required

by law. In late 2012, he issued a detailed accusation evidently linked to the report cited above. He

asked, “Does the Institute have ten trillion rials [about $3 billion] in capital?” His complaints about




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lack of transparency seem to imply that the Institute is hiding something, though he is a highly

partisan source.

        203.     On October 12, 2011, the Treasury Department designated Mahan Air under E.O.

13224 for its support for terrorism. The Treasury Department statement was, 87

        The Department of the Treasury announced today the designation of Iranian
        commercial airline Mahan Air pursuant to Executive Order (E.O.) 13224 for
        providing financial, material and technological support to the Islamic
        Revolutionary Guard Corps-Qods Force (IRGC-QF). Based in Tehran, Mahan Air
        provides transportation, funds transfers and personnel travel services to the IRGC-
        QF.’ Mahan Air’s close coordination with the IRGC-QF – secretly ferrying
        operatives, weapons and funds on its flights – reveals yet another facet of the
        IRGC’s extensive infiltration of Iran’s commercial sector to facilitate its support
        for terrorism,’ said Under Secretary for Terrorism and Financial Intelligence David
        S. Cohen. ... Mahan Air also facilitated the covert travel of suspected IRGC-QF
        officers into and out of Iraq by bypassing normal security procedures and not
        including information on flight manifests to eliminate records of the IRGC-QF
        travel. Mahan Air crews have facilitated IRGC-QF arms shipments. Funds were
        also transferred via Mahan Air for the procurement of controlled goods by the
        IRGC-QF.
        204.     When on July 9, 2018, the Treasury Department designated Mahan Travel and

Tourism Sdn Bhd for being a General Sales Agent for Mahan Air, Secretary of the Treasury

Secretary Steven T. Mnuchin said, “Mahan Air is the airline of choice for the Islamic

Revolutionary Guard Corps-Qods Force, facilitating its support to terrorism across the Middle

East....The United States government has been very clear about the deadly role played by Mahan

Air. Our action against an independent company providing General Sales Agent services to Mahan

makes clear to all in the aviation industry that they urgently need to sever all ties and distance

themselves immediately from this airline. Companies that continue to service Mahan aircraft, or




87
   PX43 U.S. Department of Treasury, “Treasury Designates Iranian Commercial Airline Linked to Iran’s Support for
Terrorism,” https://home.treasury.gov/news/press-releases/tg1322October 12, 2011.


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facilitate Mahan flights in and out of airports in Europe, the Middle East, and Asia, are on notice

that they do so at great financial risk.” 88

          D.       Khatam al-Anbiya Construction Company
        205.     Over and above its military assets (weapons, bases, and the like), the IRGC

commercial assets are valued in the billions of dollars. The IRGC runs a large number of

commercial activities, including engineering businesses, smuggling operations, and commercial

activities in the oil and gas sector. The IRGC has long refused to provide information about its

commercial activities to the Parliament or government auditors, insisting on the right to use the

resources generated by commercial activities at its own discretion as directed by the Supreme

Leader. The most important company directly run by the IRGC is the Khatam al-Anbiya

Construction Company (or Khatam al-Anbiya Construction Headquarters) (KAA). KAA has been

awarded contracts worth billions of dollars by government agencies and the National Iranian Oil

Company.

        206.     In its October 25, 2007, designation of the IRGC-QF under E.O. 13224 for support

of terrorism, the Department of Treasury included “designations identifier information, “ which

was a list of organizations and individuals included in the designation. 89

        207.     The first listing under “IRGC Entities” is “KHATAM OL ANBIA GHARARGAH

SAZANDEGI NOOH, AKA: Khatam Ol Ambia.” The name in capital letters is a Persian version

of New KAA Construction Headquarters. This demonstrates that the U.S. government considered

the KAA a part of the IRGC, and therefore under the control of the government of Iran.




88
    PX44 U.S. Department of Treasury, “Treasury Designates Mahan Air Service Provider,”
https://home.treasury.gov/news/press-releases/sm423, July 9, 2018.
89
   PX33 Treasury and State Department Iran Designations Identifier Information Pursuant to E.O. 13224 (Terrorism)
and E.O. 13382 (WMD), October 25, 2007, https://home.treasury.gov/news/press-releases/hp644


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        208.     Treasury made the connection between KAA and the IRGC even more explicit in

its February 10, 2010, designation of the IRGC under E.O. 13382. In its press release, Treasury

stated, “Today’s designations include IRGC General Rostam Qasemi, who is also the commander

of Khatam al-Anbiya Construction Headquarters, the engineering arm of the IRGC that serves to

help the IRGC generate income and fund its operations. Khatam al-Anbiya is owned or controlled

by the IRGC and is involved in the construction of streets, highways, tunnels, water conveyance

projects, agricultural restoration projects, and pipelines.” 90

XIV. Conclusions
        209.     The Iranian government has a long history of using shadowy means to carry out

terror operations, including hostage-taking and financial support of terrorist organizations. Many

of Iran’s efforts in this regard are with an eye towards maintaining plausible deniability of Iran’s

role. Iran has established a whole set of institutions which are controlled by the Supreme Leader,

the constitutional head of the Iranian system, which do not report publicly about their activities

and which have long engaged in activities illegal under Iranian law and/or contrary to international

norms. These revolutionary institutions are more powerful than the normal government structure.

Supreme Leader Khamenei has created many institutions which overlap and compete, allowing

him to exercise control from behind the scenes while preventing any checks and balances on his

power. There is strong reason to believe that the actions of all of Iran’s agents are under the control

and at the direction of Iran’s Supreme Leader.

        210.     It is my opinion, based on all I have articulated in this declaration, to a reasonable

degree of certainty, that for over thirty years, Iran has provided material support to terrorism

targeting Americans, with an important aim being to reduce U.S. presence and influence in the


90
  PX126 U.S. Department of the Treasury, Press Center, Treasury Targets Iran’s Islamic Revolutionary Guard Corps,
February 10, 2010, https://home.treasury.gov/news/press-releases/tg539


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Middle East. Iran has a long history of conducting its support operations in such a way as to deny

responsibility, including compartmentalizing knowledge of these operations so that the regular

government – as distinct from the more powerful revolutionary institutions – is unaware of what

is transpiring. Two examples are the kidnaping of Americans in Lebanon in the 1980s and support

for al-Qaeda, including al-Qaeda in Iraq.

       211.     It is my expert opinion, based on all I have articulated in this affidavit, to a

reasonable degree of certainty, that the defendants in this case are (1) under the control of the

government of Iran and (2) provided material support to terrorism during the period 2003-2011.

Specifically:

       212.     The IRGC is one of the major organizations through which Iran has historically

carried out its support for terrorism. From its creation through the present day, the IRGC has been

directly controlled by the Supreme Leader. IRGC, principally through its section known as the

Quds Force (IRGC-QF), has been an active supporter of terrorism for more than thirty years.

       213.     In providing support to terrorist groups, the IRGC is acting as an agency of the

Iranian government whose activities are tightly and carefully controlled by the Iranian government

through the Supreme Leader who appoints all the senior officials of the IRGC. The terrorism

training and support provided to terrorist groups by the IRGC-QF, including its extensive support

for terror groups in Iraq in the period 2003-2011, has been an official policy of the Iranian

government.

       214.     MOIS is, in addition to the IRGC, the other principal organization Iran has used to

carry out its terrorist support activities during that time period. In providing support to terrorist

groups, MOIS is acting as an agency of the Iranian government whose activities are tightly and

carefully controlled by the Iranian government through the Supreme Leader and his




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representatives. The Supreme Leader appoints the head of MOIS; the President has little control

over its activities. The terrorism training and support provided to terrorist groups by MOIS is an

official policy of the Iranian government.

       215.    Merkazi, as Iran’s central bank, is subject to the control of the Iranian government

both in law and practice. Iran has used Merkazi for many years to transfer funds to support

terrorism and that Iran’s financial institutions, led by Merkazi, have engaged in deceptive financial

practices in order to accomplish the transfer of funds to terrorist groups without detection. Merkazi

has engaged in these activities for many years, including during the period 2003-2011.

       216.    Bank Melli Iran and Melli Bank PLC are fully owned and controlled by the

government of the Islamic Republic of Iran. They take actions that make no sense commercially

but serve the foreign and security policy goals of the Iranian government. As the U.S. Treasury

has determined, Bank Melli has been used by IRGC-QF to dispense funds to Iraqi Shia militant

groups as well as to provide other support to terrorist groups. The activities of these banks are

particularly important for Iran’s support for terrorism because Iranian banks face many restrictions

on their activities due to U.S. sanctions and to international cautions about the Iranian banking

system.

       217.    NIOC is entirely owned by the Government of Iran. At times NIOC has directly

provided support to terrorist groups, such as its support for terrorist attacks in Iraq, but its more

common role has been to support the IRGC-QF and other Iranian government agencies in

financing terrorism.

       218.    In addition to these organizations, Iran’s terror network has other components:




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     a. ROHSI. The U.S. government has designated ROHSI under E.O. 13224 for its

        support for terrorist organizations, including channeling money to the IRGC-QF

        and working with Merkazi to do so.

     b. IRISL. The U.S. government 2018 position that IRISL meets the definition of the

        term “Government of Iran” fits well with the ownership structure and management

        practice of IRISL. There is good reason to think that IRISL continues its practice

        of 20 years ago when its ships were used to ship material to terrorist groups.

     c. Mahan Airlines is a private company, though its exact owners are unclear. For more

        than eight years, the U.S. government has warned that Mahan is actively involved

        in Iran’s state support of terrorism. Mahan has operated many flights which carry

        weapons and fighters on behalf of the IRGC-QF.




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         I declare under the penalty of perjury that the foregoing is true and correct.




DATED: April 25, 2022

                                                   PATRICK L. CLAWSON, Ph.D.




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                                  Experience and Publications
       Dr. Clawson is Director for Research at The Washington Institute for Near East Policy. His

previous positions include five years as senior research professor at the Institute for National

Strategic Studies of the National Defense University and senior economist for four years each at

the Foreign Policy Research Institute, the World Bank, and the International Monetary Fund.

       Dr. Clawson speaks often about Iran for U.S. government audiences, including for the

Office of the Director of National Intelligence, the United States Central Command, the U.S.

Army’s Central Command, various offices at the State Department (including briefing U.S.

ambassadors to Middle Eastern countries), and tours arranged by several U.S. embassies. He has

lectured about Iran and Middle East politics in more than twenty countries, including Saudi Arabia,

the U.A.E., Kuwait, Bahrain, Israel, Russia, China, Britain, France, Germany, Italy, Spain, the

Netherlands, Belgium, Austria, Poland, Portugal, the Czech Republic, Australia, and Canada.

       Dr. Clawson has testified often about Iran before the House International Relations,

National Security, and Banking and Financial Services Committees and the Senate Foreign

Relations and Banking Committees. From 2009 through 2014, he served on the Distinguished

Advisory Panel of the Department of Energy’s Sandia National Laboratory, which is the lead actor

on many nuclear security issues. From 1994 to 2012, Dr. Clawson was senior editor of Middle

East Quarterly. From 1990 through 1994, he was editor of Orbis, a foreign policy quarterly.

       Dr. Clawson has written extensively about Iran including for The New Republic as well as

op-ed articles in The New York Times, The Wall Street Journal, and The Washington Post, among

other newspapers. He is the author of more than thirty scholarly articles in Foreign Affairs,

Survival, Washington Quarterly, International Journal of Middle East Studies, Middle East

Journal, Les Cahiers de l’Orient, and Oxford Bulletin of Economics and Statistics, among other

journals.


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       Dr. Clawson most recent co-authored book, The Monetary History of Iran From the

Safavids to the Qajars (I.B. Tauris, 2013), with Rudi Matthee and Willem Floor, won the Middle

East Studies Association of North America’s Pourshariati Award for best book about Iran. Dr.

Clawson’s other books and monographs published in the last ten years are: Tactical Issues

Surrounding a U.S. Withdrawal from the Iran Nuclear Agreement (The Washington Institute,

2018), Reinforcing the Role of Sanctions in Restraining Iran (The Washington Institute, 2017,

with Katherine Bauer and Matthew Levitt), Syrian Kurds as a U.S. Ally: Cooperation and

Complications (The Washington Institute, 2016, with six institute fellows), Energizing Policy:

America and the Middle East in an Era of Plentiful Oil (The Washington Institute, 2016, with

Simon Henderson), How Iranians Might React to a Nuclear Deal (The Washington Institute, 2014,

with Mehdi Khalaji); Preventing an Iranian Nuclear Breakout: U.S.-Israel Coordination (The

Washington Institute, 2012, with David Makovsky), An Iranian Nuclear Outbreak is Not

Inevitable (The Washington Institute, 2012); The Red Line: How to Assess Progress in U.S. Iran

Policy (The Washington Institute, 2010); The Perfect Handshake with Iran: Prudent Military

Strategy and Pragmatic Policy (The Washington Institute, 2010); Much Traction from Measured

Steps: The Iranian Opposition, the Nuclear Issue, and the West (The Washington Institute, 2010);

and Engaging Iran: Lessons from the Past (The Washington Institute, 2009, edited).

       In the last ten years, Dr. Clawson also wrote many shorter articles which appeared in

various publications, especially in The Washington Institute for Near East Policy’s Policy Watch

series which live on the Institute’s website, www.washingtoninstitute.org. A complete list of those

publications in the last ten years is: Renewing the Iran Sanctions Waivers (Part 2): Energy and

Afghan Trade (The Washington Institute, 2019); Renewing the Iran Sanctions Waivers (Part 1):

Nuclear Activities (The Washington Institute, 2019); IRGC Designation: From Visas to Symbolic




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Effects (Iran Primer, 2019); The Most Important Speech of the Year in Iran: Hostile to the West,

No Concessions at Home (The Washington Institute, 2019); Iran’s Economy Is Stagnating Even

Before New U.S. Sanctions Hit (The Washington Institute, 2018); Iran’s Response to Sanctions?

Ignore Them (The Washington Institute, 2018); Iran’s Vulnerabilities to U.S. Sanctions (Part 1):

Finding the Weak Spots (The Washington Institute, 2018); The JCPOA Decision: Managing

Reactions, Evaluating Sanctions (The Washington Institute, 2018, with Katherine Bauer and

Michael Singh); The Most Important Speech of the Year in Iran (The Washington Institute, 2018);

Protests in Iran: Why? What Impact? How Should the U.S. Respond? (The Washington Institute,

2018, with Michael Singh, Michael Eisenstadt, Hanin Ghaddar, and Mehdi Khalaji); December 13

Is an Iranian Nuclear Trifecta (The Washington Institute, 2017); JCPOA Under the Gun (Part 2):

A Middle Course? (The Washington Institute, 2017, with Katherine Bauer); What To Expect After

Iran's Election (The Washington Institute, 2017, with Patrick Clawson, Nader Uskowi, Farzin

Nadimi, and Katherine Bauer); How Much Has the Trump Presidency Influenced Iran's Election?

(The Washington Institute, 2017, with Nader Uskowi and Elham Gheytanchi); Iran's Presidential

Election: The Economic Situation (The Washington Institute, 2017); Iran's Economy Post-Nuclear

Deal: A Misleading IMF Scorecard (The Washington Institute, 2017); Why Trump and Netanyahu

Might Keep Iran Nuclear Deal After All (The Hill, with Matthew Levitt and Katherine Bauer,

2017); More Information Is Needed to Evaluate Implementation of the Iran Nuclear Deal (The

Washington Institute, 2017, with Katherine Bauer); Obama Team Makes Defensible Actions on

Iran Look Suspicious (The Washington Institute, 2016); Energy and U.S. Middle East Policy in an

Era of Plentiful Oil (The Washington Institute, 2016, with Simon Henderson and Helima Croft);

Why Iran Will Never Proceed with the Proposed Plane Purchases (The Washington Institute,

2016); Iran's Modest Economic Changes Since JCPOA Implementation (The Washington Institute,




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2016); Misleading Claims About U.S. Barriers to Iran-Europe Financial Ties (The Washington

Institute, 2016); Iran Locks Itself Out of the International Financial System While Blaming

Washington (The Washington Institute, 2016); Third Time the Charm for Reform in Iran? (The

Washington Institute, 2016); Sanctions Relief Is Not the Key to Iran's Economy (The Washington

Institute, 2015); Iran's Post-Deal Economic Stagnation Challenges Rouhani (The Washington

Institute, 2015); Beyond the Vote (Part 4): Challenges for the Sanctions Regime (The Washington

Institute, 2015, with Chip Poncy and Matthew Levitt); Iran's 'Frozen' Assets: Exaggeration on

Both Sides of the Debate (The Washington Institute, 2015); Will the Obama Administration

Implement the Stringent Sanctions Authorized Under the Iran Agreement? (The Washington

Institute, 2015); How Iran's Economic Gain from a Nuclear Deal Might Affect Its Foreign Policy

(The Washington Institute, 2015); Iranians Debate: What Next with the United States? (The

Washington Institute, 2015, with Mehdi Khalaji); Khamenei's Silence: Iranian Reactions to the

Nuclear Framework (The Washington Institute, 2015, with Mehdi Khalaji); Potential Economic

Impact of an Iran Deal (Wilson Center Viewpoints, 2014); What Difference Would an Iran Deal

Make? (The Washington Institute, 2014, with Mehdi Khalaji); Iran Can Afford to Say No to a

Nuclear Deal (The Washington Institute, 2014); Why Are Congressional Democrats Considering

New Iran Sanctions? (BBC News, 2014); Making the Iran Nuclear Deal Work (The Washington

Institute, 2013); Iranian Consensus Does Not Necessarily Mean a Good Deal for the West

(Washington Post, 2013, with Mehdi Khalaji); Sanctions Relief for Iran Without Congressional

Approval (The Washington Institute, 2013); Talk Is Cheap (Foreign Affairs, 2013); Stalemate's

End? (Foreign Policy, 2013); Rouhani's Nuclear Views: An Open Book? (The Washington

Institute, 2013); The Iranian Nuclear Crisis: A Memoir (Middle East Quarterly, 2013); Iran

Beyond Oil? (The Washington Institute, 2013); Iran Talks: Is New Momentum Enough? (The




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Washington Institute, 2013); Iran Can't Agree to a Damn Thing (Foreign Policy, 2013); Obama,

Offer Iran a Generous Deal (The Atlantic, 2013); Will Iran Weather the Economic Storm?

(Foreign Policy, 2012); How to Build U.S.-Israeli Coordination on Preventing an Iranian Nuclear

Breakout (The Washington Institute, 2012, with Dennis Ross and David Makovsky); Tehran Adds

to the Pressure on Iran's Economy (The Washington Institute, 2012); New U.S. Tone on Iran (The

Washington Institute, 2012); Iran Confident As Sanctions Tighten (The Washington Institute,

2012, with Mehdi Khalaji); Prospects for Success in the Iran Nuclear Negotiations (The

Washington Institute, 2012, with Mehdi Khalaji); Sanctions Are Only a Stop-Gap (Foreign Affairs,

2012); Don't Throw Iran's Democrats under the Bus (Foreign Policy, 2012); What Iran Might Gain

from a Nuclear Deal (The Washington Institute, 2012); Post-Asad Syria: Opportunity or

Quagmire? (Strategic Forum, 2012); Calculating Victory: How Iran Views Confronting the United

States (The Washington Institute, 2012); Impact of Sanctioning Iran's Central Bank (The

Washington Institute, 2011, with Simon Henderson); Iran Makes Itself More Vulnerable to

Outside Pressure (The Washington Institute, 2011); Is the Palestinian Authority Ready for

Statehood? (The Washington Institute, 2011, with Michael Singh); No Good Options for Iranian

Dissidents in Iraq (The Washington Institute, 2011); Implementing Obama's Message Supporting

Iranian Human Rights (The Washington Institute, 2011, with Mehdi Khalaji); Ahmadinezhad's

Bomb Rhetoric: Opportunities for U.S. Policy (The Washington Institute, 2010).

       Dr. Clawson has previously been designated and qualified by federal courts as an expert

witness on Iran, its support for terrorism, its economy and other issues, and have given live or

written testimony in various cases brought against Iran for its sponsorship of terrorism.




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       Dr. Clawson’s Ph.D. in economics is from the New School for Social Research and his

B.A. is from Oberlin College. He speaks fluently Persian and French, as well as some Hebrew,

Spanish, and German.




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                                      Previous Testimony
       Dr. Clawson has previously been designated and qualified by federal courts as an expert

witness on Iran, its support for terrorism, its economy and other issues, and have given live or

written testimony in various cases brought against Iran for its sponsorship of terrorism. The cases

in which Dr. Clawson has been an expert witness in the last four years are: Kaplan v. Central Bank

of Iran [D.D.C. November, 2015, No. 10-483 (RCL)]; Lelchook v. Islamic Republic of Iran [D.

Mass. May, 2016, No. 15-13715 (PBS)]; Braun v. Islamic Republic of Iran [D.D.C. May, 2016,

No. 15-01136 (BAH)]; Hirshfeld v. Islamic Republic of Iran [D.D.C. December 27, 2016, No. 15-

cv-2272 (RBW)]; Force v. Islamic Republic of Iran [D.D.C. January, 2017, No. 16-01468

(RDM)]; Parhamovich et al. v. Islamic Republic of Iran et al. [D.D.C. April 2017, No. 1:17-cv-

00061]; Allan et al. v. Islamic Republic of Iran [D.D.C. May, 2017, No. 1:17-cv-00338-RJL];

Havlish v. Islamic Republic of Iran [BCSC October, 2017, No. S-168272]; Hake et al. v. Bank

Markazi Jomhouri Islami Iran et al. [D.D.C., May 2018, No. 17-cv-114 (TJK)]; Weinstock v.

Islamic Republic of Iran [S.D. Fla. October, 2018, No. 1:17cv23272]; Christine Levinson et al. v.

Islamic Republic of Iran [February 2019, Civil Action No. 1:17-cv-00511-RBW]; Supplemental

Declaration for Christine Levinson et al. v. Islamic Republic of Iran [February 2019, Civil Action

No. 1:17-cv-00511-RBW]; Ilana Schertzman Cohen et al. v. Islamic Republic of Iran and Islamic

Revolutionary Guard Corps [D.D.C., February 2019, No. 1:17-cv-01214-JEB].; and Ruth

Schwartz et al. v. Iran [D.D.C. 2019, No. 18-cv-1349 (RDM), which may not have yet been filed

with the court].

       Additional cases in which Dr. Clawson has been an expert witness include: Cicippio v.

Islamic Republic of Iran, 18 F. Supp. 2d 62, 64 (D.D.C. 1998) (five Americans held hostage in

Beirut for several years); Flatow v. Islamic Republic of Iran, 999 F. Supp. 1, 8-9 (D.D.C. 1998)

(suicide bombing of bus); Cronin v. Islamic Republic of Iran, 238 F. Supp. 2d 222, 228 (D.D.C.


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2002) (American student held hostage in Beirut for four days); Higgins v. Islamic Republic of Iran,

2000 U.S. Dist. LEXIS 22173 at *14 (D.D.C. 2000) (American marine held hostage in Lebanon

for 18 months and murdered); Stethem v. Islamic Republic of Iran, 201 F. Supp. 2d 78 (2002)

(hijacking of TWA Flight 847); Hegna v. Islamic Republic of Iran, 2002 U.S. Dist. LEXIS 27544

(D.D.C. 2002) (hijacking of KAC Flight 221); Anderson v. Islamic Republic of Iran, 90 F. Supp.

2d 107, 112-113 (D.D.C. 2000) (American journalist held hostage for seven years in Beirut);

Eisenfeld v. Islamic Republic of Iran, 172 F. Supp. 2d 1, 5 (D.D.C. 2000) (suicide bombing of

bus); Elahi v. Islamic Republic of Iran, 124 F. Supp. 2d 97, 100 (D.D.C. 2000) (state-sponsored

assassination); Wagner v. Islamic Republic of Iran,172 F. Supp. 2d 128, 132 (D.D.C. 2001)

(suicide bombing of U.S. Embassy in Beirut); Polhill v. Islamic Republic of Iran, 2001 U.S. Dist.

LEXIS 15322 at *9 (D.D.C. 2001) (American professor held hostage in Beirut for three years);

Mousa v. Islamic Republic of Iran, 238 F. Supp. 2d 1, 3-4 (D.D.C. 2001) (suicide bombing of bus);

Rafii v. Islamic Republic of Iran, No. 01-850 (D.D.C. Dec. 2, 2002) (state-sponsored

assassination); Kerr v. Islamic Republic of Iran, 245 F. Supp. 2d 59 (D.D.C. 2003) (murder of

American University in Beirut President); Surette v. Islamic Republic of Iran, 231 F. Supp. 2d 260,

262 (D.D.C. 2002) (American C.I.A. agent held hostage in Lebanon for fourteen months and

murdered); Weinstein v. Islamic Republic of Iran, 184 F. Supp. 2d 13, 19 (D.D.C. 2002) (suicide

bombing of bus); Ungar v. Islamic Republic of Iran, 211 F. Supp. 2d 91, 93 (D.D.C. 2002)

(machine gun attack); Stern v. Islamic Republic of Iran, 271 F. Supp. 2d 286, 288 (D.D.C. 2003)

(suicide bombing of marketplace); Rieger v. Islamic Republic of Iran, 281 F. Supp. 2d 87, 90

(D.D.C. 2003) (American professor held hostage for sixty five days in Beirut); Campuzano v.

Islamic Republic of Iran, 281 F. Supp. 2d 258, 262 (D.D.C. 2003) (suicide bombing of pedestrian

mall); Greenbaum v. Islamic Republic of Iran, 451 F. Supp. 2d 90, 96 (D.D.C. 2006) (suicide




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bombing of restaurant); Owens v. Republic of Sudan, et al., 2011 U.S. Dist. LEXIS 135961 (D.D.C.

2011) (suicide bombings of U.S. Embassies in Kenya and Tanzania); In Re Terrorist Attacks on

September 11, 2001, 2011 U.S. Dist. LEXIS 155899 at *84 (S.D.N.Y. 2011) (terrorist attacks on

September 11, 2001), and In Re: 650 Fifth Avenue and Related Properties, 2013 U.S. Dist. LEXIS

132119 at *32 (D.D.C. 2013) (forfeiture actions against assets of partnership assisting Iran), among

others.




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                                      UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA

 ESTATE OF CHRISTOPHER BROOK                                               )
 FISHBECK, et al.,                                                         )
                                                                           )
                               Plaintiffs,                                 )
                                                                           ) Civil Action No. 1:18-cv-02248-CRC
          v.                                                               )
                                                                           )
 THE ISLAMIC REPUBLIC OF IRAN, et al.,                                     )
                                                                           )
                               Defendants                                  )
                                                                           )
               EXPERT REPORT & DECLARATION OF DR. MATTHEW LEVITT
A.     Scope of this Expert Report ................................................................................................. 1
B.     Summary of Opinions .......................................................................................................... 2
C.     Professional Background ..................................................................................................... 2
D.     Iran’s Interest in Iraq............................................................................................................ 6
E.     Hezbollah’s Founding, Ideology and Structure.................................................................. 11
F.     Hezbollah’s Role as an Iranian Proxy in Iraq .................................................................... 22
G.    Hezbollah’s Relationships with Special Groups in Iraq ..................................................... 24
H.    Hezbollah’s Training Program for Iraqi Insurgents ........................................................... 39
I.    Hezbollah-Directed Attacks Targeting Coalition Forces ................................................... 42
J.     The January 20, 2007 Karbala Attack ................................................................................ 45
K.    The Capture of Qais Khazali and Ali Musa Daqduq al-Musawi ....................................... 46
L.     Conclusion .......................................................................................................................... 50

A. Scope of this Expert Report
        1.      I have been asked by Plaintiffs’ counsel in the case of Fishbeck, et al. v. The Islamic
Republic of Iran, et al. to provide my professional opinions concerning the matters set forth above,
in particular Lebanese Hezbollah.
        2.      My opinions, as set forth below, are based upon my academic studies, research,
field research, travel in the Middle East, and work in counterterrorism intelligence over the course
of many years, focusing on Middle East terrorist groups such as Hezbollah and their state sponsors,
in particular Iran. During my career, I have obtained information from numerous sources,
including experts, officials, academics and others; and academic and professional lectures and
review of books, newspapers, and academic and policy journals. I have also researched these
materials on the internet (including the websites, video and audio clips and images on
counterterrorism sites, and sites controlled by terrorist groups and their sympathizers).




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        3.      Moreover, in preparing this expert report, I have reviewed the operative Complaints
in these cases and other materials Plaintiffs have provided to me.
        4.      I am being compensated $550.00 per hour in these cases, regardless of the outcome
of the litigation. I have no prior or current professional or personal connection with any of the
parties in these cases precluding my ability to provide impartial evidence herein.

B. Summary of Opinions
        5.      It is my professional opinion based on my professional experience and expertise
that the Iraqi Shia militias, including JAM, and so-called Special Groups like AAH, Kata’ib
Hezbollah and Promised Day Brigades, 1 were provided active guidance, training, intelligence, and
financial and material support by Iran through its IRGC and its proxy Lebanese Hezbollah.
Incidents like the attack on the Karbala PJCC in 2007 were directed by the IRGC and Lebanese
Hezbollah, and thousands of attacks on U.S. and coalition forces were launched between 2004 and
2011 by Iraqi Shia militias with the IRGC’s and Lebanese Hezbollah’s active logistical support.

C. Professional Background
        6.      My qualifications as a noted expert in international terrorism, with a focus on
Middle East terrorist groups and particular expertise in their logistical and financial support
networks, are based on a multidisciplinary combination of my academic education, professional
training, and experience.
        7.    I am a United States citizen, residing in the Washington, D.C. area. I hold both a
Master of Law and Diplomacy (MALD) and a Ph.D. in International Relations from The Fletcher
School of Law and Diplomacy at Tufts University. The Fletcher School, a member of the
Association of Professional Schools of International Affairs and one of the preeminent graduate
programs in international affairs in the United States, is renowned for its interdisciplinary
curriculum and approach to international studies.
       8.       My Master’s degree included concentrations in Conflict Resolution, International
Security Studies, and the Middle East. My doctoral dissertation, entitled “The Impact of Acute
Security Crises on the Process of Ongoing Negotiations,” examines terrorism’s impact on the
Arab-Israeli peace process and encompasses acts of terrorism carried out by both Islamic and
Jewish terrorists. I was awarded several fellowships and grants in support of this research,
including a graduate research fellowship from the Program on Negotiation at Harvard Law School.
While at Harvard, I conducted extensive field research in the West Bank and Gaza Strip. In a letter
supporting my application for funding for my doctoral work, an FBI assistant director described
the project as one that “will be of great benefit to the FBI and the U.S. Intelligence Community
(USIC).”
        9.      I currently work at the Washington Institute for Near East Policy (discussed further
below), where I am a Senior Fellow and Director of the since-renamed Reinhard Program on
Counterterrorism and Intelligence. Previously, I served as a counterterrorism intelligence analyst
with the FBI, providing tactical and strategic analysis in support of counterterrorism operations.
At the FBI, I developed a special focus on fundraising and logistical support networks for Middle
East terrorist groups. In addition, I participated as a team member in a number of crisis situations,

1      After the Mahdi Army nominally disbanded in 2007, it resurfaced as the Promised Day Brigades.


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including the terrorist threat surrounding the turn of the millennium and the September 11 attacks.
In my official capacity as a U.S. government intelligence analyst, I researched and analyzed trends
and patterns of international terrorist groups, produced written products and oral presentations for
FBI management, FBI field agents and other agencies, and liaised with U.S. intelligence
community counterparts, other U.S. government agencies, and foreign services. I received
extensive training and developed particular expertise in the analysis of material collected through
investigations and the synthesis and further analysis of this material together with other sources of
information provided by other agencies, open-source information, and more. In this capacity, I
also made several trips to the Middle East. Indicative of my expertise, I earned three letters of
commendation for my analytical contributions to FBI counterterrorism operations, as well as five
awards in recognition of superior service rendered to the FBI.
        10.     In November 2001, I joined The Washington Institute for Near East Policy as a
Senior Fellow in Terrorism Studies. Founded in 1985, The Washington Institute seeks to “advance
a balanced and realistic understanding of American interests in the Middle East” by bringing
“scholarship to bear on the making of U.S. policy in this vital region of the world.” The Institute’s
Board of Advisors includes several former Secretaries of State, a former Director of Central
Intelligence, and other former senior government officials and diplomats. The Washington
Institute holds annual conferences and periodic policy forums, hosts blue-ribbon presidential study
groups, and publishes scholarly research.
        11.     From November 2005 through January 2007, I served as Deputy Assistant
Secretary for Intelligence and Analysis in the United States Department of the Treasury. In that
capacity, I served both as a senior official within the department’s terrorism and financial
intelligence branch and as deputy chief of the Office of Intelligence and Analysis, one of 16 U.S.
intelligence agencies coordinated under the Office of the Director of National Intelligence. During
my tenure at Treasury, I was at the center of the government’s efforts to protect the U.S. financial
system from abuse and to deny terrorists, weapons proliferators, and other rogue actors the ability
to finance threats to U.S. national security. In recognition of exceptional service to the department,
in January 2007 I was awarded the Treasury Department’s “Exceptional Service Award.” In 2008-
2009 I also served as an advisor on counterterrorism and intelligence for the U.S. State
Department’s Special Envoy Middle East Regional Security (“SEMERS”), whose mission was to
help achieve the Secretary of State’s vision of resolving the Israeli-Palestinian conflict through
two states living side by side in peace and security.
        12.     In February 2007, I returned to the Washington Institute, where, as noted above, I
am a Senior Fellow and Director of the since-renamed Reinhard Program on Counterterrorism and
Intelligence. In this capacity, I am frequently sought after as an analyst and commentator on
terrorism issues for major media outlets including CNN, ABC, NBC, CBS, PBS, The New York
Times, The Washington Post, The Wall Street Journal, National Public Radio, BBC, al Jazeera, al
Arabiya, and more. I have lectured and consulted on terrorism for a variety of government and
other organizations, including the U.S. Departments of State, Homeland Security and Justice, the
Commission on Terrorist Attacks Upon the United States (9-11 Commission), the Financial
Transactions Reports Analysis Centre of Canada (FINTRAC), the Canadian Security and
Intelligence Service, Department of Justice Canada, and others, and write frequent policy briefs
and articles on issues relating to terrorism and U.S. policy.
      13.    I have served as an adjunct professor at Georgetown University’s Edmund A.
Walsh School of Foreign Service and taught as a Professorial Lecturer in International Relations

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and Strategic Studies at Johns Hopkins University’s School of Advanced International Studies
(SAIS). Along with a collection of journal articles and edited volumes, I am also the author of
Targeting Terror (Washington Institute, 2002), Hamas: Politics, Charity and Terrorism in the
Service of Jihad (Yale University Press, 2006), Negotiating Under Fire: Preserving Peace Talks
in the Face of Terror Attacks (Rowman & Littlefield, 2008) and Hezbollah: The Global
Footprint of Lebanon’s Party of God (Georgetown University Press, 2013). A full list of my
publications is reflected in my professional C.V., which is attached hereto as Exhibit A.
        14.     I have developed particular expertise on terrorism in the context of Hezbollah, and
Iran as the world’s foremost State Sponsor of Terrorism. This expertise is evident from the many
publications I have written on these subjects, from newspaper editorials and peer reviewed journal
articles to Congressional and court testimonies and books. I am also the author of the peer-
reviewed book on Hezbollah, published by Georgetown University Press, noted above. I am the
creator of the interactive Lebanese Hezbollah Select Worldwide Activity map and timeline, 2 which
earned high praise from counterterrorism experts such as former director of the U.S. National
Counterterrorism Center (NCTC) Nicholas Rasmussen, former British counterterrorism official
Richard Barrett, former New York Police Department (NYPD) official Mitchel Silber, and the
doyen of counterterrorism studies Professor Bruce Hoffman. 3 In the words of Charles Allen,
former CIA Assistant Director for Collection, “Matthew Levitt is a recognized authority on
Hezbollah and its activities, both in the Levant and globally.” 4 I am a contributor to the Iran
Primer, a publication of the United States Institute of Peace (USIP). I have provided expert court
testimony in both criminal and civil terrorism cases in the United States and abroad, many of which
have focused on Hezbollah and/or Iranian state-sponsorship of terrorism. A full list of the cases in
which I have provided expert testimony is reflected in Exhibit A.
        15.     At The Washington Institute, my work includes the study of Middle East terrorist
groups, front organizations and State Sponsors of Terrorism, the logistical and financial support
networks that facilitate their activities, and the extremist and militant ideologies that drive their
recruitment and radicalization efforts. In my efforts to study and understand terrorism and militant
Islamist ideology, I interview experts, officials, academics and others with particular insight into
these issues, in the United States, Europe and the Middle East. I engage in private, personal
meetings, public conferences, group discussions, and talks that are both on and off the record. I
travel to the Middle East regularly, including trips to the Palestinian Territories, Israel, Jordan,
Egypt, Bahrain, Kuwait, Qatar, the UAE, Saudi Arabia, and Turkey. I also attend conferences and
academic and professional lectures, and read books, newspapers, academic and policy journals,
and research these materials on the internet (including, as noted above, the websites, video and
audio clips and images on counterterrorism sites, and sites controlled by terrorist groups and their
sympathizers). These are the standard sources and methods in the academic and policy
communities for developing the kind of specialized knowledge and expertise I have accumulated
– and for which I have been awarded and commended – in my field. Indeed, the Sixth Circuit has
described my research methodology as “the gold standard.” 5 And, in a watershed ruling upholding
the constitutionality of the Anti-Terrorism Act’s material support statute, 18 U.S.C. § 2339B, the

2           Matthew Levitt, Lebanese Hezbollah Select Worldwide Activity, The Washington Institute for Near East Policy, accessed
September 24, 2020, https://www.washingtoninstitute.org/hezbollahinteractivemap////////////
3           For Rasmussen, Barrett, Silber and Hoffman comments, see https://youtu.be/0Ac2-rom_hs
4           http://press.georgetown.edu/book/georgetown/hezbollah.
5           See Sixth Circuit Court of Appeals ruling in United States v. Damrah, 412 F.3d 618, 625 (6th Cir. 2005).
http://ftp.resource.org/courts.gov/c/F3/412/412.F3d.618.04-4216.html.


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Supreme Court of the United States cited my work twice to support its position. 6
       16.     I study, evaluate, and cross-check the information and data I compile from sources
such as these, and I write about and lecture on my findings. I engage in regular discussions with
other experts both to compare notes and as a means of affording myself an ongoing process of
peer-review and fact-checking. When providing expert testimony in criminal court cases, I also
review evidence provided by the prosecution. In civil cases, I often review material provided by
counsel.
        17.     In addition to my work at The Washington Institute, I use my specialized expertise
to teach and consult, for the U.S. and other governments, and private sector firms. I was a member
of the Council on Foreign Relations’ task force on terrorist financing and sat on the academic
advisory board for the Emirates Center for Strategic Studies and Research (ECSSR). I am a
member of several think tank advisory boards, including the Institute for Counter-Terrorism (ICT)
in Israel, the Center on Economic and Financial Power at the Foundation for Defense of
Democracies in Washington, D.C., the RESOLVE Network Research Advisory Council at the
United Institute for Peace in Washington, D.C., the Centre for Financial Crime and Security
Studies at the Royal United Services Institute for Defence and Security Studies in London, and the
International Centre for Political Violence & Terrorism Research (ICPVTR) in Singapore. I have
also served as a CTC Fellow at the Combating Terrorism Center (CTC) at the U.S. Military
Academy (West Point) and as a senior fellow at The George Washington University’s Homeland
Security Policy Institute, and am a life member of The Council on Foreign Relations.
       18.       The awards and honors I have received in my field include:
             •   U.S. Embassy Expert Speaker Grant, U.S. Embassy Berlin, May 2019;
             •   U.S. Department of Justice, Certificate of Recognition, October 2015;
             •   U.S. Secret Service, Certificate of Appreciation, 2015;
             •   U.S. Marine Corps Forces Cyber Command, Letter of Appreciation, April 3, 2013;
             •   U.S. Department of Justice, Federal Bureau of Investigation, Certificate of
                 Appreciation, March 22, 2013;
             •   U.S. Department of State “Counter-Terrorism Policy” Speaker Grant (lectures in
                 Germany), January 2010;
             •   Ministry of Interior, Kingdom of Bahrain, Award Certificate, February 25, 2009;
             •   Hamas: Politics, Charity and Terrorism in the Service of Jihad selected as a 2007
                 Top Seller in Politics and Law as compiled by YBP Library Service;
             •   Hamas: Politics, Charity and Terrorism in the Service of Jihad selected as a 2007
                 AAUP University Press Book for Public and Secondary School Libraries;
             •   Exceptional Service Award, U.S. Department of the Treasury, January 2007;
             •   Certificate of Appreciation, United States Central Command Directorate of
                 Intelligence, February 2006;
             •   Selected by CNN as one of “the 2005 New Guard: Washington’s Next Generation
                 of Newsmakers,” April 2005;
             •   European Union Visitors Program (EUVP), 2005;
             •   Visiting Scholar, Security Studies Department, the Paul H. Nitze School of


6        See Supreme Court opinion in Holder v. Humanitarian Law Project, 561 U.S. 1, 30-31 (2010).
http://www.supremecourt.gov/opinions/09pdf/08-1498.pdf.


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                   Advanced International Studies (SAIS), Johns Hopkins University, March 2003;
              •    U.S. Department of State Speaker and Specialist Grant (2), April 2002 (lectures in
                   Lithuania), and January 2003 (lectures in Austria);
              •    Letters of Commendation from Deputy Assistant Director (3), Federal Bureau of
                   Investigation, July 2000, August 2000, July 2001;
              •    Performance Awards (2), Federal Bureau of Investigation, December 1999,
                   November 2000;
              •    Special Act or Service Award, Federal Bureau of Investigation, September 1999;
              •    Graduate Research Fellow, The Program on Negotiation at Harvard Law School,
                   1997-1998;
              •    International Security Studies Fellow, International Security Studies Ph.D.
                   Dissertation Fellowship, the Fletcher School of Law and Diplomacy, 1996-1997;
              •    International Security Studies Program Graduate Student Research Grant on the
                   Emerging Issues of Ethnic, Sectarian and Religious Conflict, William H. Donner
                   Foundation, 1996;
              •    Doctoral Scholarship, the Fletcher School of Law and Diplomacy, 1995-1996; and
              •    Sarah Scaife Frank Rockwell Barnett Memorial Grant in International Security
                   Studies, The Fletcher School of Law and Diplomacy, 1994 and 1996.
         19.     I am frequently called upon to testify before the United States Senate and House of
Representatives as an expert on international terrorism, Islamist and other forms of terrorism, and
terrorist financing. I have testified before the Parliaments of the European Union, Canada, and
Australia. I have been qualified as an expert witness and provided expert testimony in dozens of
U.S. federal criminal and civil court proceedings. I have also testified as an expert in several
terrorism-related immigration cases in the U.S. and Canada, as well as in terrorism-related cases
in Denmark, France, Scotland, and Peru. Many of these cases involved Hezbollah and/or Iran. A
list of these cases is included in Exhibit A.

D. Iran’s Interest in Iraq
       20.     In the wake of the Iran-Iraq War, Tehran remained concerned about threats closest
to home. The first four regional commands of the Islamic Revolutionary Guard Corps
(“IRGC”) 7—Iran’s chief terrorist apparatus—were therefore dedicated to Iraq (First Corps),
Pakistan and Iran’s border provinces (Second Corps), Turkey and Kurdish groups (Third Corps),
and Afghanistan and Central Asia (Fourth Corps). According to seized Iraqi intelligence, by the
early 1990s Iran had built the Badr Corps, discussed further below, into a fully functional militia
backed by the Islamic Revolutionary Guard Corps-Qods Force (“IRGC-QF”) 8—the IRGC’s
external wing—regional command in Iraq, better known as Ramazan Corps (Headquarters). By
the mid-1990s, such reports stated, the Ramazan Corps operated three camps along the Iraqi border
to support such activities. By 2007 the multinational forces in Iraq assessed that the Ramazan
Corps “is responsible for most of the Qods Force operations in Iraq.” 9


7        PX34     The   IRGC   was   designated   a   Specially   Designated   Global   Terrorist   on   October   13,   2017.
https://home.treasury.gov/news/press-releases/sm0177
8         PX36 The IRGC-QF was designated a Specially Designated Global Terrorist on October 25, 2007.
https://home.treasury.gov/news/press-releases/hp644
9         PX359 Multi-National Forces-Iraq, Maj. Gen. Kevin Bergner and Brig. Gen. Michael Walsh, press conference, October
3, 2007. https://www.globalsecurity.org/military/library/news/2007/10/mil-071003-mnfi-b01.htm.


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        21.      Gen. Qasem Soleimani succeeded Ahmad Vahidi as IRGC-QF commander in
1998. 10 In October 2011, Soleimani was designated a terrorist by the U.S. State Department, based
on his role in the plot to assassinate the Saudi ambassador in Washington, D.C. 11 IRGC-QF
activities in Iraq, mirroring those already enacted in Lebanon, soon included providing IRGC and
Hezbollah agents safe houses everywhere from Basra in the south to Irbil in the north.
        22.     By forcing the collapse of Saddam Hussein’s regime, Operation Iraqi Freedom
removed Iran’s greatest enemy and longtime nemesis. The 2003 invasion therefore provided Iran
with a historic opportunity to reshape its relationship with Iraq and, in the process, increase its
influence in the region. To that end Iran employed an “all elements of national power” approach
in exploiting the outcome of this seminal event. This included both soft and hard power, from the
use of political, economic, religious, and cultural leverage to the support of militant proxies.
        23.     The Iraqi Dawa party was founded in the late 1950s, and later enjoyed Iranian
support. After 2003, Dawa joined the political process, but lacked its own militia. The party gave
rise to key Iranian-backed terrorists like Abu Mahdi al-Muhandis (discussed below), but its
political leader in post-invasion Iraq, Nuri al-Maliki, was selected by the more powerful Islamic
Supreme Council of Iraq (ISCI, formerly the Supreme Council for the Islamic Revolution in Iraq,
or SCIRI) and Sadrists as a compromise choice for prime minister in Iraq.
        24.     The Islamic Supreme Council of Iraq (ISCI, formerly SCIRI) was established in
1982 by expatriate Iraqis and was based in Iran until returning to Iraq in 2003. Its militia, the Badr
Corps (later renamed the Badr Organization), was trained and controlled by the IRGC and fought
alongside Iranian forces during the Iraq-Iran War. After 2003, thousands of Badr operatives
crossed into southern Iraq from Iran. Many subsequently infiltrated the Iraqi security forces,
particularly the army and the national police in southern Iraq.
         25.     In pursuing its goals in Iraq, Iran backed multiple, often opposing parties and
movements in an effort to secure its interests no matter the outcome of the country’s political
developments. By hedging its bets, Iran was able to rely on different groups for different types of
activities. For example, SCIRI and the Badr Organization quickly entered the political fray in Iraq,
while other hard-line groups played a more strictly militant function. Understanding Iran’s layered
relationships with its Iraqi proxies is critical to understanding the role Hezbollah came to play in
Iraq. 12
        26.     In general, by working through proxies Iran has been able to achieve key militant
goals with plausible deniability. By obfuscating its own footprint in acts of militancy and terrorism,
Iran protects itself from retribution. Working through proxies is also relatively inexpensive and
offers a significant return on the investment.
        27.    Working through its longtime proxies, Iran set out to achieve several goals in Iraq,
the most important and overarching of which was the creation, in the words of then-Defense
Intelligence Agency director Lowell Jacoby, of a “weakened, decentralized and Shi’a-dominated


10         PX212 Joseph Felter and Brian Fishman, “Iranian Strategy in Iraq: Politics and ‘Other Means,’” Combating Terrorism
Center at West Point, October 13, 2008, p. 17. https://ctc.usma.edu/wp-content/uploads/2010/06/Iranian-Strategy-in-Iraq.pdf
11         PX47 U.S. Department of the Treasury, “Treasury Sanctions Five Individuals Tied to Iranian Plot to Assassinate the
Saudi Arabian Ambassador to the United States,” press release, October 11, 2011. https://home.treasury.gov/news/press-
releases/tg1320
12         Mark Urban, Task Force Black (New York: St. Martin’s Press, 2012), p. 111.


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Iraq that is incapable of posing a threat to Iran.” 13 In addition, the long-held Iranian desire to push
the United States out of the Gulf region now extended to the large U.S. and international military
presence in Afghanistan to Iran’s east and Iraq to its west. Iran sought to foster unity among Iraq’s
various Shia parties and movements so that they could consolidate Shia political control (Shia
constitute about 60 percent of the country’s population) over the new Iraqi government. 14
        28.    Even as it pursued its political goal of seeking a weak federal state, dominated by
Shia allies and vulnerable to Iranian influence, Tehran also sought to bloody coalition forces in
Iraq. Careful not to provoke a direct confrontation with U.S. and coalition forces, Iran armed,
trained, and funded a variety of Shia militias and insurgent groups in an effort to bog down
coalition forces in an asymmetric war of attrition. If the United States was humiliated in Iraq and
forced out of the region in disgrace, the thinking went, the Americans would be deterred from
pursuing similar military interventions in the region in the future.
       29.     Iran’s plans to influence political developments in Iraq, as it happened, long
predated the U.S. invasion of 2003. This meant the Iranians were ready to fill the security vacuum
immediately following the invasion, when, a U.S. embassy cable later noted, “little attention was
focused on Iran.” 15
        30.     In April 2008, General David Petraeus and Ambassador Ryan Crocker, the most
senior U.S. military commander and diplomat in Iraq, respectively, testified before the Senate
Armed Services Committee. In his testimony, General Petraeus highlighted the flow of
sophisticated Iranian arms to Shia militants in Iraq. The military’s understanding of Iran’s support
for such groups crystallized, Petraeus explained, with the capture of a number of prominent Shia
militants and several members of the IRGC-QF operating in Iraq as well. Ambassador Crocker,
himself a former U.S. ambassador to Lebanon, was undiplomatically blunt in assessing the
implications of Iran’s arming and training of extremist militia groups: “What this tells me is that
Iran is pursuing, as it were, a Lebanonization strategy, using the same techniques they used in
Lebanon, to co-opt elements of the local Shia community and use them as basically instruments
of Iranian force.” 16
        31.    In the 1980s, Iran helped form what would become Hezbollah by drawing upon
more radical members of the comparatively moderate Amal militia. The fact that a similar
phenomenon was now playing out in Iraq was not lost on the country’s Sunni population or its
Sunni Arab neighbors. In the words of Vali Nasr, an Iranian-American scholar who later served as
a senior adviser at the State Department, “SCIRI and its al-Badr Brigade—a force of some 10,000
that was trained by Iran’s Revolutionary Guards to fight the Saddam regime—look too much like
Lebanese Shia militias, Amal and Hezbollah, and prospects of their assumption of power evoke


13        PX373 U.S. Congress, Senate Select Committee on Intelligence, Current and Projected National Security Threats to the
United States: Hearing before the Select Committee on Intelligence, 109th Cong., 1st sess., February 16, 2005, Statement of Vice
Adm. Lowell E. Jacoby.
14        PX683 Michael Eisenstadt, Michael Knights, and Ahmed Ali, “Iran’s Influence in Iraq: Countering Tehran’s Whole-of-
Government Approach,” Policy Focus 111, Washington Institute for Near East Policy (Washington, DC), April 2011.
http://www.washingtoninstitute.org/policy-analysis/view/irans-influence-in-iraq-countering-tehrans-whole-of-government-
approach.
15        PX697 Sam Dagher, “In Iraq, a Very Busy Iran,” The Wall Street Journal, November 30, 2010.
https://www.wsj.com/articles/SB10001424052748703994904575646911886138950.
16        PX346 U.S. Congress, Senate Committee on Armed Services, The Situation in Iraq and Progress by the Government of
Iraq in Meeting Benchmarks and Achieving Reconciliation: Hearing before the Committee on Armed Services, 110th Cong., 2d
sess., April 8-10, 2008, Statements of Gen. David H. Petraeus and Ambassador Ryan Crocker.


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images of Lebanon’s grueling civil war.” 17
         32.    In time, evidence of Hezbollah’s presence in Iraq would be plentiful, as exemplified
by the group’s creation around 2003 of an outfit, Unit 3800, dedicated to aiding the Shia insurgency
in Iraq. Iraq became a core issue for Hezbollah, however, not because the country’s affairs had any
relationship to Lebanon but because gaining influence over Iraq and hegemony in the region was
of primary concern to its Iranian sponsor. Before long, Unit 3800 trainers and operatives would
work alongside officers from the IRGC-QF’s Department 9000, also known as the Ramazan Corps,
targeting coalition forces in Iraq.
        33.    Speaking to the Islamic Republic News Agency (IRNA) in January 2012, IRGC-
QF chief General Soleimani expressed satisfaction with Iran’s efforts to extend its influence over
Iraq, much as it did over southern Lebanon. “In reality,” Soleimani stated, “in south Lebanon and
Iraq, the people are under the effect of the Islamic Republic’s way of practice and thinking.” 18
According to documents seized by coalition forces, alongside the Badr Corps operatives it sent to
Iraq following the 2003 invasion, Iran “may have even funneled a few Lebanese Hizballah
members into the country to provide expertise and training to its new would-be surrogates.” 19
        34.     Indeed, Iran has largely succeeded in securing its strategic goals in Iraq after the
2003 U.S. invasion. Iran still seeks to ensure that Iraq cannot pose any strategic security threat to
Iran, and actively promotes its allies in Iraq—primarily, but not only Shiite militant and political
groups—in an effort to exert influence over Iraqi domestic and regional policies and extend an
Iranian security beyond the borders of Iran and into Iraq. As a result, a United States Institute for
Peace study concluded, “Tehran has benefited from its longstanding political, military and
financial investments in Iraq. Shiite militias have been institutionalized within Iraq’s armed forces;
their leaders have also waded deeper into politics.” 20
        35.      Iran also continues to leverage Iraqi Shiite militias to target and harass U.S. and
other allied interests. 21 Note, for example, the September 2018 rocket strikes on the U.S. consulate
in Basra, among others. 22
       36.    Iran continues to operate in Iraq through a wide array of proxies, including several
U.S. State Department-designated Foreign Terrorist Organizations, including Lebanese Hezbollah,
Kataib Hezbollah, and Harakat al-Nujaba. 23 Iran’s own Islamic Revolutionary Guard Corps, and


17         Vali Nasr, “Regional Implications of Shi’a Revival in Iraq,” Washington Quarterly 27, no. 3 (Summer 2004): 7-24,
https://calhoun.nps.edu/bitstream/handle/10945/43148/Nasr_Regional_Implications_2004.pdf;sequence=4.
18         “Iran General’s Remarks on South Lebanon Draw March 14 Ire,” Daily Star (Lebanon), January 21, 2012; Hezbollah
insisted Soleimani’s words were misunderstood. See “Hezbollah: Iran General’s Words Twisted,” Daily Star (Lebanon), January
26, 2012. https://web.archive.org/web/20130621164115/http://www.dailystar.com.lb/News/Politics/2012/Jan-21/160604-iran-
generals-remarks-on-south-lebanon-draw-march-14-ire.ashx
19         PX212 Felter and Fishman, “Iranian Strategy in Iraq,” pp. 26-27.
20         Garrett Nada and Mattisan Rowan, “Part 2: Pro-Iran Militias in Iraq,” The Iran Primer, United States Institute for Peace,
April 26, 2018, https://iranprimer.usip.org/blog/2018/apr/26/part-2-pro-iran-militias-iraq
21         Alissa J. Rubin, “Iraq’s Militias, Accused of Threatening U.S., Pose a Quandary for Iraq,” New York Times, May 7, 2019,
https://www.nytimes.com/2019/05/07/world/middleeast/iraq-militias-iran-united-states.html
22         Michael Knights and Alexandre Mello, “Militias are Threatening Public Safety in Iraq,” PolicyWatch 3165, The
Washington Institute for Near East Policy, August 14, 2019, https://www.washingtoninstitute.org/policy-analysis/view/militias-
are-threatening-public-safety-in-iraq
23         PX22 Foreign Terrorist Organizations, U.S. Department of State, https://www.state.gov/foreign-terrorist-organizations/;
PX26 State Department Terrorist Designation of Harakat al-Nujaba (HAN) and Akram ‘Abbas al-Kabi, U.S. Department of State,
March 5, 2019, https://2017-2021.state.gov/state-department-terrorist-designation-of-harakat-al-nujaba-han-and-akram-abbas-al-
kabi/index.html


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the IRGC’s Qods Force, are also active in Iraq. The Qods Force is the sharp end of the spear for
Iran’s extraterritorial activities, almost like its version of a special operations unit for the IRGC
engaged in activities abroad. It has different branches or corps for operations and activities in
different countries around the region. The Qods Force was designated as a terrorist organization
by the U.S. Treasury Department in 2007 24, and the IRGC was designated as such by the Treasury
Department in 2017 25 and as a Foreign Terrorist Organization by the State Department in April
2019. 26 From 2010 to 2014, the number of militants within pro-Iranian militia groups in Iraq
jumped from as few as 4,000 to over 60,0000, and the number of groups expanded as well. 27
        37.     Tehran operates through many more Shiite proxy groups in Iraq—often categorized
together and the Popular Mobilization Forces, or Hashd al-Shabi—that are not formally designated
as terrorist groups. “The military cells supported by Iran are spread across the legal spectrum, from
completely covert organizations to political parties with deniable connections to the IRGC Qods
Force,” 28 and they include Asaib Ahl al-Haq, the Promised Day Brigades, and the Badr
Organization. The Imam Ali Brigades, the Kataib Sayyad al Shudada, and Sayara al Salam are
additional examples of pro-Iran militias in Iraq. 29
        38.    Lebanese Hezbollah continues to be active in Iraq, typically in close cooperation
with, and through the material support of, Iran. Note, for example the U.S. Treasury Designation
of the Governor of the Central Bank of Iran, Valiollah Seif, as well as a bank in Iraq—Al-Bilad
Islamic Bank—and its chairman and chief executive for working with senior Hezbollah official
Muhammad Qasir to transfer funds for the IRGC-QF and Hezbollah. As summarized by the
Treasury Secretary Mnuchin, “Iran’s Central Bank Governor covertly funneled millions of dollars
on behalf of the IRGC-QF through Iraq-based al-Bilad Islamic Bank to enrich and support the
violent and radical agenda of Hizballah.” 30
        39.    Speaking in November 2018, a senior Treasury Department official noted that
“Hezbollah is a terrorist proxy for the Iranian regime that seeks to undermine Iraqi sovereignty
and destabilize the Middle East …. Treasury’s concerted actions aim to deny Hezbollah’s
clandestine attempts to exploit Iraq to launder funds, procure weapons, train fighters, and collect
intelligence as proxies for Iran.” The actions referenced in this statement included the terrorist
designations of Shibl Muhsin ‘Ubayd al-Zaydi who “served as a financial coordinator between the
IRGC-QF and sectarian armed groups in Iraq and assisted in facilitating Iraqi investments on
behalf of IRGC-QF commander Qassem Soleimani.” Al-Zaydi also maintained close business ties
to Hizballah officials and Hizballah financier Adham Tabaja (Tabaja). These activities have

24         “Fact Sheet: Designation of Iranian Entities and Individuals for Proliferation and Support for Terrorism,” U.S. Treasury
Department, October 25, 2007, https://home.treasury.gov/news/press-releases/hp644
25         “Treasury Designates the IRGC under Terrorism Authority and Targets IRGC Military Supporters under Counter-
Proliferation Authority,” U.S. Department of the Treasury, October 13, 2017, https://home.treasury.gov/news/press-
releases/sm0177
26         PX80 “Statement from the President on the Designation of the Islamic Revolutionary Guard Corps as a Foreign Terrorist
Organization,” The White House, April 8, 2019, https://trumpwhitehouse.archives.gov/briefings-statements/statement-president-
designation-islamic-revolutionary-guard-corps-foreign-terrorist-organization/
27         PX250 Michael Knights, “Iran’s Expanding Militia Army in Iraq: The New Special Groups,” CTC Sentinel, Vol. 12,
Issue 7, August 2019, https://ctc.usma.edu/irans-expanding-militia-army-iraq-new-special-groups/
28         PX251 Michael Knights, “The Evolution of Iran’s Special Groups in Iraq,” CTC Sentinel, Vol. 3, Issue 11, November
2010, https://ctc.usma.edu/the-evolution-of-irans-special-groups-in-iraq/
29         Garrett Nada and Mattisan Rowan, “Part 2: Pro-Iran Militias in Iraq,” The Iran Primer, United States Institute for Peace,
April 26, 2018, https://iranprimer.usip.org/blog/2018/apr/26/part-2-pro-iran-militias-iraq
30         PX118 “Treasury Targets Iran’s Central Bank Governor and an Iraqi Bank Moving Millions of Dollars for IRGC-Qods
Force,” U.S. Department of the Treasury, Mary 15, 2018, https://home.treasury.gov/news/press-releases/sm0385


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included providing protection for companies in Iraq allegedly financed by Hizballah and
facilitating the movement of Hizballah funding into Iraq for investments. Al-Zaydi has also
worked with senior Hizballah officials to transfer large sums of money to Lebanon to help fund
Hezbollah’s participation in the Syrian civil war.” 31
        40.     Another Hezbollah officials designated by the U.S. Treasury for his role in Syria is
Yusuf Hashim. According to the Treasury Department, “Hashim oversees all Hizballah-related
operational activities in Iraq and is in charge of protecting Hizballah interests in Iraq. Additionally,
Hashim arranges for the protection of Tabaja inside of Iraq. Hashim has also managed Hizballah’s
relations with sectarian armed groups in Iraq, including the coordination of the deployment of
fighters to Syria.” 32
        41.     Further designations of Hezbollah operatives in Iraq include Adnan Hussein
Kawtharani and Muhammad ‘Abd al-Hadi Farhat. The Treasury Department revealed that
Kawtharani “facilitates business transactions for Hizballah inside Iraq and has attended meetings
in Iraq with sectarian armed groups and Hizballah officials. Kawtharani has also been involved in
securing a significant source of funding for Hizballah, and has served as the right hand man for his
brother and senior Hizballah member Muhammad Kawtharani.” Meanwhile, Farhat “has been
involved in advising sectarian armed groups in Iraq on behalf of Hizballah. As of 2017, Farhat was
tasked with collecting security and intelligence information in Iraq and subsequently providing
reports to senior Hizballah and Iranian leadership. Farhat has been involved in a project to analyze
and report on the Iraqi security situation for Hizballah and the IRGC-QF.” 33

E. Hezbollah’s Founding, Ideology and Structure
         42.   Founded in the early 1980s by a group of young Shia militants, Lebanese Hezbollah
(the “Party of God”) was the product of an Iranian effort to aggregate under one roof a variety of
militant Shia groups in Lebanon, themselves the products of the domestic and regional instability
of the time. Hezbollah was the outgrowth of the complex and bloody civil war. For the first time,
Lebanon’s historically marginalized Shia Muslims attempted to assert economic and political
power. Until 1982, the Shia of Lebanon were considered backward and simple by their more
cosmopolitan Christian and Sunni cousins.
        43.    According to Hezbollah’s Deputy Secretary General, Naim Qassem, the 1982-1985
period were foundational years “for the crystallization of a political vision, the facets of which
were harmonious with faith in Islam as a solution” and for the establishment of “an effective jihad
operation as represented by Islamic Resistance forcing Israel’s partial flight from Lebanon in
1985.” 34


31        PX77 “Treasury Sanctions Key Hizballah, IRGC-QF Networks in Iraq,” U.S. Department of the Treasury, November
13, 2018, https://home.treasury.gov/news/press-releases/sm546
32        PX77 “Treasury Sanctions Key Hizballah, IRGC-QF Networks in Iraq,” U.S. Department of the Treasury, November
13, 2018, https://home.treasury.gov/news/press-releases/sm546
33        PX77 “Treasury Sanctions Key Hizballah, IRGC-QF Networks in Iraq,” U.S. Department of the Treasury, November
13, 2018, https://home.treasury.gov/news/press-releases/sm546
34        Naim Qassem, Hizbullah: The Story from Within (London: Saqi Press, 2005), p. 98; Augustus Richard Norton disputes
Hezbollah leadership’s founding timeline, but his version of events appears to contradict not only Hezbollah’s own account but
also those of the CIA as indicated in declassified CIA reports referenced later in this book. According to Norton, “Although its
leading members refer to 1982 as the year the group was founded, Hezbollah did not exist as a coherent organization until the mid-
1980s. From 1982 through the mid-1980s it was less an organization than a cabal.” See Augustus Richard Norton, Hezbollah: A
Short History, 34.


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        44.     Many of Hezbollah’s founders originally belonged to Amal, the military arm of a
Lebanese political party founded by an influential Shia cleric named Musa al-Sadr. He urged the
Lebanese Shiite community to actively focus on bettering their economic situation and ending
their political marginalization. Although al-Sadr disappeared in Libya in 1978, he intended the
Shiite militia he established to fight Israel as part of the Lebanese Army. However, after his death,
Amal became only one of several armed militias representing key Lebanese religious factions. 35
Disappointed by Amal’s moderate policies, and seeing al-Sadr’s replacement, Nabih Berri, as
weak and open to political accommodation of Israel as opposed to military confrontation, a group
of Amal members joined with other Shia militant groups—including the Muslim Students Union,
the Dawa Party of Lebanon, and others—and established their own umbrella militia, Hezbollah. 36
       45.     In its early years, Hezbollah functioned as a “network of radical Shia paramilitary
groups that agree[d] on major strategic goals such as the establishment of an Islamic republic but
often differ[ed] on tactical or operational matters.” 37 These militant networks were typically
organized around specific family clans, such as the Musawi and Hamadi families. 38
        46.     According to a CIA account written in 1987, Ayatollah Mohammad Hussein
Fadlallah, 39 an early “spiritual guide” for Hezbollah, was an early advocate of the creation of a
revolutionary Shia movement in Lebanon under the banner of the Dawa Party. 40 In the early 1980s,
the Islamic Dawa Party in Lebanon became a “core component in the establishment of the
Hezbollah movement” and merged with other radical Shia groups in Lebanon under the Hezbollah
umbrella. 41 Iran’s Qods Force (or Pasdaran) “drew from this [coalition of Shia militant groups]
and sired the creation of Hezbollah in Baalbek in coordination with the Iranian embassies in Beirut
and Damascus.” 42
       47.     Indeed, Iran played a central role in Hezbollah’s founding. In 1987, the CIA
assessed that “an Islamic fundamentalist movement probably would have developed in Lebanon
without outside support, but Iranian aid has been a major stimulant.” 43 Shortly after the Israeli
invasion, approximately 1,500 IRGC advisors set up a base in the Bekaa Valley with the goal of
exporting the Islamic revolution to the Arab world. 44 Naim Qassem recalls how training camps
supervised by the IRGC were set up in the Bekaa Valley as early as 1982 and how all members
were required to attend these camps and learn how to confront the “enemy.” 45 In 1985, Hezbollah


35        Sami Hajjar, Hezbollah: Terrorism, National Liberation, or Menace?, Strategic Studies Institute, August 2002, p. 5.
https://www.aiswest.com/uploaded/2018_Summer_Work/History/Hizballah_in_Lebanon-_nationla_Liberation_or_Menace_.pdf
36        Sami Hajjar, Hezbollah: Terrorism, National Liberation, or Menace?, p. 5.
37        PX904 “Lebanon: Prospects for Islamic Fundamentalism [redacted],” A Research Paper, Directorate of Intelligence,
Central       Intelligence      Agency,        July       1987,      Approved         for       Release      October       1997,
https://www.cia.gov/readingroom/docs/DOC_0000138966.pdf
38        Magnus Ranstrop, “Hezbollah Training Camps in Lebanon,” in James Forest, Ed, The Making of a Terrorist vol. 2,
Training, Westport: Praeger, 2005, p. 252.
39        PX20 The United States designated Fadlallah a Specially Designated Terrorist on January 23, 1995,
https://www.gpo.gov/fdsys/pkg/FR-1995-01-25/pdf/95-2035.pdf.
40        “Lebanon: Prospects for Islamic Fundamentalism [redacted],” A Research Paper.
41        Robin Wright, Sacred Rage: The Wrath of Militant Islam (New York: Touchstone, 2001), p. 95.
42        Carl Anthony Wege, “The Hizballah Security Apparatus,” Perspectives on Terrorism, Vol. II, Issue 7, April
2008.https://www.universiteitleiden.nl/binaries/content/assets/customsites/perspectives-on-terrorism/2008/issue-7/42-261-1-
pb.pdf.
43        “Lebanon: Prospects for Islamic Fundamentalism [redacted],” A Research Paper.
44        Daniel Byman, Deadly Connections: States that Sponsor Terrorism (New York: Cambridge University Press, 2005), p.
82.
45        Naim Qassem, Hizbullah: The Story from Within, p. 66.


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identified the organization’s ideological platform: “We view the Iranian regime as the vanguard
and new nucleus of the leading Islamic State in the world. We abide by the orders of one single
wise and just leadership, represented by ‘Waliyat el Faqih’ [rule of jurisprudent] and personified
by [Iranian Supreme Leader Ayatollah Ruhollah Musawi] Khomeini.” 46 Hezbollah has been Iran’s
proxy ever since, and it is estimated that Iran provides Hezbollah with as much as $700 million‫־‬$l
billion per year. 47 46F




        48.     The Party of God initially identified its main objectives on February 16, 1985, in
an open letter addressed “to all the Oppressed in Lebanon and the World.” First, the letter pledged
to expel all colonialist entities—the Americas, the French, and their allies—from Lebanon.
Second, it committed to bringing the Maronite Christian Phalangists to justice for all of the crimes
they committed against Lebanese Muslims and Christians and instituting clerical rule under
wilayat el faqih, or Guardianship of the Islamic Jurisprudent. Lastly, although it professes to permit
“all the sons of our people to determine their future and to choose in all the liberty the form of
government they desire,” the open letter encourages Lebanon to install an Islamic regime, for
“Only an Islamic regime can stop further tentative attempts of imperialistic infiltration into our
country.” Party officials also made sure to pledge their allegiance to Ayatollah Ruhollah Musawi
Khomeini, declare their distaste for the arrogant United States, and indicate their desire to
obliterate the “hated” Zionist “entity.” Moreover, they did not attempt to hide the militaristic aspect
of their organization. Hezbollah’s guiding document professed, “our military apparatus is not
separate from our overall social fabric. Each of us is a fighting soldier.” 48 At the core of the group’s
symbol is not a map of Lebanon, but a globe alongside a fist holding an AK-47 rifle.
        49.     According to the CIA, in the first few years following its founding, Hezbollah
“established what is virtually a radical Islamic canton in the Bekaa Valley, despite Syria’s military
presence there.” In areas under its control, the CIA reported in 1987, strict Islamic rule was put in
place. “Sale or transport of liquor are prohibited, women are forbidden from interacting with men
in public and must adhere to a strict dress code, civil crimes are punished according to the Koran,
and Western education and influences are prohibited.” 49 It was also clear from the start that
Hezbollah would be a force to be reckoned with. “In our judgment,” a CIA analyst wrote in 1984,
“even if Syria were to totally stifle the Hizballah, it would not succeed. Shia terrorists, in Beirut at
least, would maintain sufficient capabilities to pose a continuing threat to Syrian interests as well
as Israeli and Western interests.” 50
        50.   Lebanon’s devastating 15-year civil war hardened divisions between the various
sectarian communities that comprise Lebanese society. Against this backdrop, the 1982 Israeli
invasion and subsequent occupation of southern Lebanon created the space in which Iranian
diplomats and agents were able to help fashion Hezbollah from a motley crew of Shia militias and
groups. The 1980s witnessed a turning point as militants targeted not only fellow Lebanese but


46        PX625 As cited in Center for Special Studies, Intelligence and Terrorism Information Center special information bulletin,
“Hezbollah,” June 2003, https://www.terrorism-info.org.il/Data/pdf/PDF_simuchin_349_2.pdf
47        Dan Williams, “Top Israeli general sees increased Iran spending on foreign wars,” Reuters, January 2, 2018,
https://www.reuters.com/article/us-iran-rallies-israel/top-israeli-general-sees-increased-iran-spending-on-foreign-wars-
idUSKBN1ER0Q9.
48        “An Open Letter: The Hizballah Program,” Jerusalem Quarterly, No. 48, Fall 1988, available online at
http://www.ict.org.il/Articles/tabid/66/Articlsid/4/Default.aspx.
49        “Lebanon: Prospects for Islamic Fundamentalism,” A Research Paper.
50        PX924 “Terrorism Review,” Directorate of Intelligence, Central Intelligence Agency, November 1 , 1984, Approved for
Release June 1999, available online at https://www.cia.gov/readingroom/docs/DOC_0000256832.pdf


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also the international forces dispatched as peacekeepers to provide the war-torn country a measure
of security. Over time, Hezbollah and Iran’s interests in driving foreign forces out of Lebanon
would initially lead to attacks targeting Western interests in Lebanon and then expand to include
attacks on Western interests abroad. “The radical Shia groups in Lebanon - funded, supplied, and
trained by Iran - are dedicated to bringing about an Islamic revolution in Lebanon,” the CIA would
report in January 1986.
        51.    Over a nine-month period in 1985, the CIA calculated, Iran’s Lebanese proxy
groups, including Hezbollah, were responsible for at least 24 international terrorist incidents, eight
of which targeted French and American targets. 51 As Iran sought to dissuade countries from arming
and supporting Iraq in the ongoing and costly Iran-Iraq war (1980-1988), American and French
targets were popular targets for Hezbollah and other Iranian surrogate groups. Heeding Iran’s call
to perpetrate attacks beyond Lebanon’s borders, Hezbollah found itself involved in plots
throughout the Middle East. By February 1985, the CIA warned that “Iranian-sponsored terrorism”
presented the greatest threat to U.S. personnel and facilities in the region. 52 Inevitably, some
Hezbollah operatives sent to carry out attacks in places like Kuwait were caught, leading others to
plot bombings, hijackings, and other attacks in places as diverse as Germany and the Central
African Republic (then Zaire) in an effort to secure the release of jailed comrades.
        52.     In Lebanon, three spectacular attacks targeting U.S. interests executed over an 18-
month period came to define the tenor of Hezbollah’s relationship with the United States for years
to come. On April 18, 1983, a suicide bombing at the U.S. Embassy in Beirut killed 63, including
17 Americans. Six months later, on October 23, two separate suicide attacks targeted the U.S.
Marine and French army barracks, both compounds under the aegis of the Beirut-based
Multinational Force sent to Lebanon as peace-keepers to oversee the evacuation of the Palestine
Liberation Organization (PLO) from Beirut. 53 Those attacks, which left 241 Americans and 58
French dead, were followed less than a year later by the September 20, 1984, bombing of the U.S.
embassy annex, killing 24. The U.S. government had little doubt about who was behind the attack,
even before crime scene analysis and sensitive source reporting began to flow in. Writing just days
after the second embassy bombing, the CIA noted that “an overwhelming body of circumstantial
evidence points to the Hizb Allah, operating with Iranian support under the cover name of Islamic
Jihad.” Several times in the year following the 1984 Hezbollah bombing, the CIA noted,
anonymous telephone callers in Beirut warned that Hezbollah’s Islamic Jihad Organization (IJO,
the group’s terrorist wing) planned to continue attacking U.S interests. In the wake of the bombing,
two callers claimed responsibility for the attack in the name of the IJO. Moreover, the CIA noted
that the method of attack “strongly implicated the Hizb Allah,” which by then had a record of
deploying their trademark suicide vehicle-bombs. And, the CIA added at the time, “Shia
fundamentalists are the only organized terrorists in Lebanon likely to willingly sacrifice their lives
in such an attack.” 54
         53.       Since 1982, Hezbollah has built an extensive global network with operational


51       PX902 “Iranian Support for Terrorism in 1985,” Terrorism Review, Directorate of Intelligence, Central Intelligence
Agency, January 13, 1986, Approved for Release June 1999.https://www.cia.gov/readingroom/docs/DOC_0000258615.pdf.pdf
52       PX915 “Middle East Terrorism: The Threat and Possible US Responses,” Directorate of Intelligence, Central Intelligence
Agency, February 15, 1985, Approved for Release June 1999. https://www.cia.gov/readingroom/docs/DOC_0000256571.pdf .
53       Hala Jaber, Hezbollah: Born with a Vengeance, (London: Fourth Estate, 1997), 77.
54       PX905 “Lebanon: The Hizb Allah,” Directorate of Intelligence, Central Intelligence Agency, September 27, 1984,
Approved for Release June 1999. https://www.cia.gov/readingroom/docs/DOC_0000256558.pdf .


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capabilities to attack western interests beyond the Middle East. This network relies on operatives
and supporters mainly from Lebanese Shia diaspora communities around the world. Throughout
the 1980s, Hezbollah targeted western interests within Lebanon, including bombing embassies and
military barracks, kidnapping westerners, and hijacking aircrafts. By the 1990s, operatives
expanded their reach across the globe. Hezbollah operatives were involved in attacks as far afield
as the Arabian Gulf, Europe, Africa, and Southeast Asia. 55 Attacks like the bombings of the Israeli
Embassy and the AMIA Jewish Community Center in Buenos Aries, in 1992 and 1994
respectively, highlight Hezbollah’s capability to mobilize operatives far from home. U.S.
intelligence reports from the era indicate that Hezbollah cells operated in Europe, Africa, South
America, and North America. 56 Indeed, by some estimates Hezbollah’s foreign network—
spanning a spectrum from fully trained militants and operatives to committed supporters—may
include as many as 15,000 operatives around the world in places as diverse as the United States
and Canada; Argentina, Paraguay, Brazil, and elsewhere in South America; Belgium, Britain,
France, Germany, Spain, Switzerland, Sweden and other European countries; Southeast Asian
countries including Indonesia, Malaysia, the Philippines, and Singapore; and across much of
Africa and the Middle East. 57
        54.     Since its founding, Hezbollah has developed a sophisticated organizational and
leadership structure which commands its civilian, political, social, military and terrorist functions.
The overall governing authority, the Majlis al-Shura (Consultative Council), wields all decision-
making power and directs several subordinate functional councils. Each functional council
oversees the normal operations of key areas and reports directly to the Shura Council which,
according to Hezbollah Deputy Secretary General Qassem, is “in charge of drawing the overall
vision and policies, overseeing the general strategies for the Party’s function, and taking political
decisions.” 58 U.S. assessments echo Qassem’s description: “Hezbollah has a unified leadership
structure that oversees the organization’s complementary, partially compartmentalized elements,”
according to a Congressional Research Service report. 59 In May 2018, the United States and the
Gulf Cooperation Council’s terrorist financing and targeting center (TFTC) jointly designated
Hezbollah Shura Council members, describing the council as Hezbollah’s “supreme decision-
making body responsible for religious, military and strategic matters” which “asserts control over
administrative, planning, and policy-making authorities.” 60
        55.    The Secretary General, currently Hassan Nasrallah, presides over the Shura Council
and functions as the group’s leader under the authority of the Guardianship of the Islamic
Jurisprudent, Iran’s Supreme Leader Ayatollah Ali Khamenei. Five administrative bodies,
organized around thematic responsibilities, run Hezbollah’s political, military (Jihad),




55        Matthew Levitt, Hezbollah: The Global Footprint of Lebanon’s Party of God (Washington D.C.: Georgetown University
Press, 2013) pp. 49, 117, 181, 246.
56        PX603       “Backgrounder     on     Hezbollah,”      Council     on     Foreign     Relations,    accessible      at
https://www.cfr.org/backgrounder/what-hezbollah.
57        PX681 Martin Rudner, “Hizbullah: An Organizational and Operation Profile,” International Journal of Intelligence and
Counterintelligence, February 2010.
58        Naim Qassem, Hizbullah: The Story from Within, p. 64.
59        PX276 Casey L. Addis and Christopher M. Blanchard, “Hezbollah: Background and Issues for Congress,” Congressional
Research Service, January 3, 2011.
60        PX38 “Treasury and the Terrorist Financing Targeting Center Partner Together to Sanction Hizballah’s Senior
Leadership,” U.S. Department of the Treasury, May 16, 2018, https://home.treasury.gov/news/press-releases/sm0387.


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parliamentary, executive, and judicial activities. 61 The Shura Council purposefully and proactively
considers all elements of the group’s activities, including its political and military wings, as part
of one holistic entity. In the words of Naim Qassem:

         If the military wing were separated from the political wing, this would have
         repercussions, and it would reflect on the political scene. But Hezbollah has one
         single leadership, and its name is the Decision-Making Shura Council. It manages
         the political activity, the Jihad activity, the cultural and the social
         activities...Hezbollah’s Secretary General is the head of the Shura Council and also
         the head of the Jihad Council, and this means that we have one leadership, with one
         administration. 62
        56.    Originally, the Shura Council established seven committees dealing with political,
military, financial, judicial, ideological, informational, and social affairs in each of Hezbollah’s
three main operational regions: Beirut, the Bekaa Valley, and southern Lebanon. 63 A restructuring
period in 1989 led to a several changes, including the creation of Secretary General and Deputy
Secretary General positions and a decrease of leadership council members. Later, Hezbollah
established the five “council assemblies,” namely the Executive Council, Jihad Council, Political
Council, Parliamentary Council, and Judicial Council. 64
        57.     The Executive Council manages the organization’s daily operations and oversees
all cultural, educational, social, and political affairs. 65 The Political Council administers
Hezbollah’s external relations, oversees the group’s relations with the other political forces in
Lebanon and organizes public information and propaganda efforts. 66 Under the Political Council,
a series of subcommittees organize public information and propaganda efforts. For example, the
Recruitment and Propaganda organ runs Hezbollah’s radio stations and television station, al-
Manar. 67 The Political Council continuously works on “fostering relationships with the various
political power and parties” in Lebanon, according to Qassem, while the Jihad Council coordinates
“resistance activity.” 68 The Jihad Council, Qassem explains, “comprises those in charge of
resistance activity, be that in terms of oversight, recruitment, training, equipment, security, or any
other resistance-related endeavors.” 69
       58.    In May 2018, the U.S. Treasury Department and members of the Terrorist
Financing Targeting Center (TFTC) jointly sanctioned Hezbollah’s senior leadership. The TFTC


61         Casey L. Addis and Christopher M. Blanchard, “Hezbollah: Background and Issues for Congress”; PX 500 New Zealand
Police, “Statement of Case to Designate Lebanese Hizbollah’s Military Wing,” October 11, 2012,
http://www.police.govt.nz/sites/default/files/hizbollah-paper.pdf; Naim Qassem, Hizbullah: The Story from Within, pp. 63-64.
62         Naim Qassem, interview with al-Mustaqbal, December 31, 2000, as cited in Center for Special Studies, Intelligence and
Terrorism Information Center special information bulletin, “Hezbollah,” June 2003. http://www.terrorism-
info.org.il/malam_multimedia/English/eng_n/html/hezhollah.htm.
63         Marius Deeb, “Shia Movement in Lebanon: Their Foundation, Ideology, Social Basis, and links with Iran and Syria,”
Third World Quarterly, April 1988, 10, no. 2, pp. 683-698.
64         Naim Qassem, Hizbullah: The Story from Within, p. 63.
65         PX694 Robert Rabil, “Hezbollah: Lebanon’s Power Broker,” The Journal of International Security Affairs, Fall 2008,
pp. 48-49.
66         Marius Deeb, “Shia Movement in Lebanon: Their Foundation, Ideology, Social Basis, and links with Iran and Syria,” pp.
683-698.
67         A. Nizar Hamzeh, “Lebanon’s Hizbullah: from Islamic Revolution to Parliamentary Accommodation,” Third World
Quarterly, June 1993, 14, no 2.
68         Naim Qassem, Hizbullah: The Story from Within, p. 63.
69         Naim Qassem, Hizbullah: The Story from Within, p. 63.


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is co-chaired by the United States and Saudi Arabia and includes the Kingdom of Bahrain, the
State of Kuwait, the Sultanate of Oman, the State of Qatar, and the United Arab Emirates (UAE). 70
The joint press statement announcing this action describes Hezbollah’s organizational structure
this way:

         The Shura Council is Hizballah’s supreme decision-making body responsible for
         religious, military, and strategic matters and asserts control over administrative,
         planning, and policy-making authorities. In the event of a deadlock in the Shura
         Council, the Supreme Leader of Iran casts the deciding vote. There are five
         subordinate councils of the Shura Council: (1) the Executive Council, which
         oversees the daily activities of Hizballah; (2) the Parliamentary Council, which
         selects Hizballah’s nominees for parliamentary elections and ensures that the
         parliamentary representatives carry out the Shura Council’s decisions and policies;
         (3) the Political Council, which manages relationships with Lebanon’s political
         parties; (4) the Jihad Council, which oversees all of Hizballah’s military and
         security operations, deliberates on fighting strategy and tactics, and assesses threats
         to the organization; and (5) the Judicial Council, which organizes judicial
         representatives who work with Hizballah on conflict resolution and ensures
         compliance with their law. 71
        59.     The Jihad Council is responsible not only for Hezbollah’s formal militia activity
(the Islamic Resistance), but also its covert activity—at home and abroad—under the auspices of
the Islamic Jihad Organization. To accomplish its mission, the Jihad Council is divided into several
smaller units in charge of protecting the leadership, carrying out internal and external surveillance,
and overseas operations. Special Security Apparatus is further broken down into three sub-groups,
central, preventive, and overseas security apparatuses. In 2000, a dedicated Counter-intelligence
branch was reportedly founded as well. 72
        60.    Under this structure, Hezbollah’s militia, terrorist wing, and security organ all
report to the Jihad Council. 73 Unlike its sister councils, the Jihad Council enjoys strategic
ambiguity, such that neither the majority of its officials nor Hezbollah’s elected parliamentary
members are aware of the details of the party’s covert military and terrorist activities. Decisions
about such activities are made by Hezbollah’s most senior leadership. According to the U.S.
government, while these activities are “executed” by the leadership of the Islamic Resistance and
the Islamic Jihad Organization, they are “overseen” by Hezbollah Secretary General Hassan
Nasrallah. 74 Indeed, the U.S. intelligence community sees Hezbollah as “a multifaceted,
disciplined organization that combines political, social, paramilitary, and terrorist elements” in




70        “Treasury and the Terrorist Financing Targeting Center Partner Together to Sanction Hizballah’s Senior Leadership,”
U.S. Treasury Department, May 16, 2018, https://home.treasury.gov/news/press-releases/sm0387
71        Ibid.
72        “Hezbollah: Rebel Without a Cause?” Middle East Briefing, International Crisis Group, July 30, 2003, p. 3; Robert G.
Rabil, “Hezbollah: Lebanon’s Power Broker,” The Journal of International Security Affairs, No. 15, Fall 2008,
http://www.securityaffairs.org/issues/2008/l5/rabil.php; Magnus Ranstrop, “Hezbollah Training Camps in Lebanon,” p. 251.
73        Robert Rabil, “Hezbollah: Lebanon’s Power Broker.”
74        PX41 “Treasury Designates Hizballah Leadership,” U.S. Department of the Treasury, September 13, 2012.
https://home.treasury.gov/news/press-releases/tg1709


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which decisions “to resort to arms or terrorist tactics is carefully calibrated.” 75
        61.        Based on the above information, Lebanese Hezbollah’s organization chart looks
like this:




        62.     Until he was assassinated in February 2008, Imad Mughniyeh was Hezbollah’s “top
militant commander” of the Islamic Jihad Organization and reportedly led the Jihad Council
himself. 76 By some accounts, he held a seat on the Consultative Council as well, which would be
typical for the party’s standing military commander. 77 According to Hezbollah Deputy Secretary
General Naim Qassem, “a limited circle of individuals was aware of resistance operations. Only
those directly involved with planning and execution within the tactics set by the military command



75        PX313 Dennis C. Blair, Director of National Intelligence, Testimony before the Senate Select Committee on Intelligence,
February 12, 2009. https://www.intelligence.senate.gov/hearings/open-hearing-current-and-projected-national-security-threats-
united-states#
76        PX60 Mughniyeh was designated a Specially Designated Global Terrorist on October 12, 2001,.
https://home.treasury.gov/policy-issues/financial-sanctions/recent-actions/20011012 He was previously designated a Specially
Designated Terrorist on January 23, 1995, https://www.gpo.gov/fdsys/pkg/FR-1995-01-25/pdf/95-2035.pdf; Robert G. Rabil,
“Hezbollah: Lebanon’s Power Broker.”
77        “Hezbollah: Rebel Without a Cause?” p. 3.


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formed part of this circle.” 78
       63.     U.S. officials have also long acknowledged the capabilities of Hezbollah’s terrorist
network, not only for the attacks it has carried out abroad targeting U.S. interests such as the
bombings of the U.S. marine barracks and embassy in Lebanon in the 1980s and the bombing of
the Khobar Towers in Saudi Arabia in 1996, but also because of Hezbollah’s active presence in
the United States. 79
       64.      One reason Hezbollah is so capable is the extensive support the group receives from
Iran and its national institutions in the form of financial assistance, weapons, training, intelligence,
and more. Beyond the group’s intimate ties to the IRGC Qods Force, Hezbollah also enjoys
extensive support from Iran’s intelligence service, the Ministry of Intelligence and Security
(MOIS). According to a report published by the Federal Research Division of the Library of
Congress, “MOIS conducts liaison with other foreign intelligence agencies as well as with
organizations such as Lebanese Hezbollah that protect and promote the Islamic Republic’s foreign
agenda.” 80
        65.      Argentinean prosecutors detailed the various roles the MOIS played in supporting
and facilitating the July 1994 Hezbollah suicide truck bombing that blew up the AMIA Jewish
community center in Buenos Aires. Indeed, prosecutors collected evidence from a former MOIS
operative who defected from Iran. At least seven Iranian officials traveled to Buenos Aires for
short visits in June 1994, in the weeks leading up to the bombing, including Iranian ambassador to
Uruguay and suspected MOIS operative Mohammad Ali Sarmadi-Rad, who had made a similarly
suspicious trip to Argentina in the lead-up to the 1992 embassy bombing. 81
       66.     According to the Library of Congress report, “MOIS provided logistics,
communication among the operatives, as well as documents needed for the operations” for the
AMIA and other Iranian operations abroad. 82 The IRGC Qods Force takes lead in such operations,
but “MOIS provides logistical support and handles the communications aspect of operations
involving Quds Force operatives and foreign organizations that work with the Quds Force, such
as Hezbollah.” 83
        67.   Iran typically deploys MOIS and other agents under diplomatic cover, including
when supporting Hezbollah missions, as was the case in the 1994 AMIA bombing. “To counter
threats from Israel, Iran provides Hezbollah with logistical and material support and uses
Hezbollah as a proxy in Iran’s intelligence operations,” the Library of Congress report explains.
“Such support is usually delivered under Iranian diplomatic auspices.” 84 Such activities go back

78        Naim Qassem, Hizbullah: The Story from Within, pp. 69-70.
79        PX61 The United States designated Hezbollah a Specially Designated Terrorist on January 23, 1995,
https://home.treasury.gov/system/files/126/12947.pdf a Foreign Terrorist Organization on October 8, 1997,
https://www.state.gov/j/ct/rls/other/des/123085.htm; and a Specially Designated Global Terrorist on October 31, 2001,
https://home.treasury.gov/policy-issues/financial-sanctions/recent-actions/20011102
80        “Iran’s Ministry of Intelligence and Security: A Profile,” Library of Congress, December 2012, 4,
https://www.iranwatch.org/sites/default/files/us-congress-libraryofcongressreport-1212.pdf
81        PX507 Buenos Aires, Argentina Judicial Branch, AMIA Indictment, Office of the National Federal Court No. 17,
Criminal and Correctional Matters No. 9, Case No. 1156, March 5, 2003
82        “Iran’s Ministry of Intelligence and Security: A Profile,” Library of Congress, December 2012, 4,
https://www.iranwatch.org/sites/default/files/us-congress-libraryofcongressreport-1212.pdf
83        PX275 “Iran’s Ministry of Intelligence and Security: A Profile,” Library of Congress, December 2012, 4,
https://www.iranwatch.org/sites/default/files/us-congress-libraryofcongressreport-1212.pdf
84        PX275 “Iran’s Ministry of Intelligence and Security: A Profile,” Library of Congress, December 2012, 4,
https://www.iranwatch.org/sites/default/files/us-congress-libraryofcongressreport-1212.pdf


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to the years immediately after the Iranian revolution. Immediately following the founding of the
Islamic Republic, the Iranian leadership embarked on an assassination campaign targeting
individuals deemed to be working against the regime’s interests. Between 1979 and 1994, the CIA
reported, Iran “murdered Iranian defectors and dissidents in West Germany, the United Kingdom,
Switzerland, and Turkey.” 85 Overall, more than sixty individuals were targeted in assassination
attempts. 86 In many cases Hezbollah members functioned as the logistics experts or gunmen in
these plots.
        68.    According to a 2019 Defense Intelligence Agency (DIA) report, “MOIS collection
and influence operations beyond Iran’s borders are typically embassy- and consulate-based under
official, commercial, academic, or nongovernmental organization cover. The ministry liaises with
other foreign intelligence agencies, as well as organizations such as Hizballah that protect and
promote Iran’s foreign agenda.” 87
       69.     In February 2012, the U.S. Treasury Department designated the MOIS for both its
abuse of human rights and its support for terrorist groups, including Hezbollah, Hamas, and al
Qaeda. “MOIS provides financial, material, or technological support for, or financial or other
services to Hizballah, a terrorist organization designated under E.O. 13224,” the designation states,
adding that “MOIS has participated in multiple joint projects with Hizballah in computer
hacking.” 88
       70.      In 2019, the European Union designated an element of the MOIS and two MOIS
operatives for their roles in assassination plots in Europe. 89 Later that same year, the Acting
Director of the U.S. National Counterterrorism Center, Russell Travers, testified “Iran, through the
IRGC-QF and other malign elements like the Ministry of Intelligence and Security (MOIS)
maintains links to terrorist operatives and networks in Europe, Asia, and Africa that could be called
upon to target US or allied personnel.” 90
        71.   A study by the Center for a New American Security (CNAS) concluded:
“Hezbollah has become a global organization operating on every continent, drawing on the
Lebanese diaspora. It works closely with the MOIS on foreign intelligence collection, often against
Israel. The MOIS supports Hezbollah, in turn, by providing sensitive communication equipment
and other material support.” 91
         72.       Iranian funding for Hezbollah is delivered through a variety of mechanisms,


85        PX938 “Iranian Support for Terrorism in 1987,” Terrorism Review, Central Intelligence Agency, February 25, 1988, p.
13, https://web.archive.org/web/20170128053035/https:/www.cia.gov/library/readingroom/docs/DOC_0000258644.pdf
86        Thomas Sanction et al., “The Tehran Connection,” Time, March 21, 1994.
87        PX260 “Iran Military Power: Ensuring Regime Survival and Securing Regional Dominance,” Defense Intelligence
Agency,                                                      August                                                    2019,
https://www.dia.mil/Portals/110/Images/News/Military_Powers_Publications/Iran_Military_Power_LR.pdf
88        PX 68 “Treasury Designates Iranian Ministry of Intelligence and Security for Human Rights Abuses and Support for
Terrorism,” U.S. Department of the Treasury, February 16, 2012, https://home.treasury.gov/news/press-releases/tg1424
89         Jacob Gronholt-Pedersen, Robin Emmott, Anthony Deutsch, “In Shift, EU Sanctions Iran over Planned Europe
Attacks,” Reuters, January 8, 2019, https://www.reuters.com/article/us-iran-sanctions/in-shift-eu-sanctions-iran-over-
planned-europe-attacks-idUSKCN1P20UA
90        PX363 Russell Travers, “Global Terrorism: Threats to the Homeland,” written testimony for hearing before the House
Committee on Homeland Security, October 30, 2019, 6, https://www.dni.gov/files/documents/Newsroom/Testimonies/2019-10-
30_ODNI-NCTC_Travers_SFR_for_HCHS_Hrg_on_Global_Terrorism_-_Threats_to_Homeland.pdf.
91        PX698 Scott Modell and David Asher, “Pushback: Countering the Iran Action Network,” Center for New American
Security, September 2013, 12, https://s3.amazonaws.com/files.cnas.org/documents/CNAS_Pushback_ModellAsher_0.pdf.


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including through key Iranian banks like the Iranian Central Bank (Bank Merkazi) and Bank Melli.
        73.    The U.S. Treasury Department designated Bank Melli in 2007. At the time, it noted
that the bank “provides banking services to the IRGC and the Qods Force. Entities owned or
controlled by the IRGC or the Qods Force use Bank Melli for a variety of financial services. From
2002 to 2006, Bank Melli was used to send at least $100 million to the Qods Force. When handling
financial transactions on behalf of the IRGC, Bank Melli has employed deceptive banking
practices to obscure its involvement from the international banking system. For example, Bank
Melli has requested that its name be removed from financial transactions.” 92
       74.       In November 2018, the U.S. Treasury Department re-imposed sanctions on Bank
Melli for its financial support of Iran’s Qods Force and Iranian proxy groups:

          Bank Melli is being designated pursuant to E.O. 13224 for assisting in, sponsoring,
          or providing financial, material, or technological support for, or financial or other
          services to or in support of, the IRGC-QF, which was previously designated
          pursuant to E.O. 13224 on October 25, 2007. As of 2018, the equivalent of billions
          of dollars in funds have flowed through IRGC-QF controlled accounts at Bank
          Melli. Bank Melli has acted as a conduit for payments to the IRGC-QF. The IRGC-
          QF has used Bank Melli to dispense funds to Iraqi Shia militant groups, and Bank
          Melli’s presence in Iraq was part of this scheme. Since the mid-2000s, Bank Melli
          increasingly provided services to Iranian military-related entities as they became
          further involved in all aspects of the Iranian economy. Bank Melli has enabled the
          IRGC and its affiliates to move funds inside and outside of Iran. The IRGC was
          designated pursuant to E.O. 13224 on October 13, 2017. 93
        75.    Such activities are not new. Just four months before the 1994 Hezbollah bombing
of the AMIA Jewish community center in Bueno Aires, a total of $150,812 was deposited into a
new bank account belonging to Iranian operative Mohsen Rabbani. Rabbani withdrew a total of
$94,000 from this account in the period leading up to the July 18 bombing, and another $45,588
was withdrawn within two months following the attack. These funds arrived through international
bank transfers, at least three of which were sent from Iran’s Bank Melli through Union de Bancos
Suizos. 94
       76.      Bank Merkazi, Iran’s central bank, and several of the bank’s senior officials, have
also been tied to terrorist financing involving Hezbollah. In 2018, the U.S. Treasury Department
revealed that “Valiollah Seif, Iran’s Central Bank Governor, along with the assistant director of
the Central Bank’s International Department, conspired with the Qods Force to conceal the
movement of millions of dollars in multiple currencies through the international financial system,
including through Iraqi banks. Seif used his influence and credentials as the head of Iran’s Central
Bank to conceal the true nature of transactions that were destined for the Qods Force and its proxy,
Hizballah.” 95


92      “Fact Sheet: Designation of Iranian Entities and Individuals for Proliferation Activities and Support for Terrorism,” U.S.
Department of the Treasury, October 25, 2007, https://home.treasury.gov/news/press-releases/hp644
93      “U.S. Government Fully Re-Imposes Sanctions on the Iranian Regime as Part of Unprecedented U.S. Economic Pressure
Campaign,” U.S. Department of the Treasury, November 5, 2018, https://home.treasury.gov/news/press-releases/sm541
94      Matthew Levitt, Hezbollah: Lebanon’s Party of God (Washington, D.C.: Georgetown University Press, 2013), 89.
95      PX117 Sigal Mandelker, “Under Secretary Sigal Mandelker Speech before the Foundation for the Defense of
Democracies,” June 5, 2018, https://home.treasury.gov/news/press-releases/sm0406.


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        77.    At the time of the Valiollah Seif’s designation for supporting terrorism, the U.S.
Treasury Department stated, “Iran’s Central Bank Governor covertly funneled millions of dollars
on behalf of the IRGC-QF through Iraq-based al-Bilad Islamic Bank to enrich and support the
violent and radical agenda of Hizballah.” 96 At the same time, the Treasury Department also
designated Ali Tarzali, the assistant director of the International Department at the Central Bank
of Iran. “Tarzali has worked with Hizballah and proposed that the terrorist group send funds
through Iraq-based al-Bilad Islamic Bank,” the Treasury press release explained. 97
        78.     The following year, the U.S. Treasury Department designated Bank Merkazi itself,
noting that “Iran’s Central Bank has provided billions of dollars to the Islamic Revolutionary
Guards Corps (IRGC), its Qods Force (IRGC-QF) and its terrorist proxy, Hizballah.” 98 The press
released added, “During 2018 and early 2019, the CBI facilitated the transfer of several billion of
U.S. dollars and euros to the IRGC-QF and hundreds of millions to MODAFL [Iran’s Ministry of
Defense and Armed Forces Logistics] from the NDF [National Development Fund]. Additionally,
millions were to be transferred to the Houthis. CBI has also coordinated with the IRGC-QF to
transfer funds to Hizballah.” 99

F. Hezbollah’s Role as an Iranian Proxy in Iraq
        79.    Hezbollah’s activities in Iraq since the 2003 U.S. invasion are a function of the
group’s close alliance with Iran in general and the IRGC-QF in particular. Iran’s strategy in Iraq—
and Hezbollah’s role in that strategy as Iran’s primary militant proxy group—is a logical extension
of Iran’s covert activities in Iraq and the region throughout the 1980s and 1990s.
        80.      In the years following the Islamic Revolution of 1979, the Tehran regime sponsored
terrorist acts both to export the revolution and to further its national interests. 100 Iran gave special
focus to its own backyard, where Shia minorities lived under Sunni monarchies that not only
oppressed Iran’s co-religionists but also stood in the way of the new regime’s regional ambitions.
        81.    Throughout the Iran-Iraq War (1980-1988), Iraq was a primary target of Iranian-
sponsored terrorist groups. To this end, the CIA noted in 1986, “Iran trains and finances several
Iraqi dissident groups, such as the Dawa Party, that are dedicated to overthrowing President
Saddam Husayn.” 101
         82.    Hezbollah and Iraqi Dawa operatives joined together again in a brazen attempt to
assassinate the Kuwaiti emir in 1985. That attack was aimed at securing the release of the Kuwait
17—a group of 17 Shia militants, including members of Hezbollah and Iraqi Dawa, who were
involved in a series of bombings in Kuwait in December 1983—who by then had been sentenced
for the 1983 bombings. The attack on the emir’s motorcade occurred just days after Hezbollah’s
IJO had sent three letters to Beirut newspapers with pictures of kidnapped Westerners held in an
effort to get Western governments to press Kuwait to release the Kuwait 17. In response to a U.S.
public statement rejecting negotiations with the kidnappers, an anonymous caller to a French news

96       PX118 “Treasury Targets Iran’s Central Bank Governor and an Iraqi Bank Moving Millions of Dollars for IRGC-Qods
Force,” U.S. Treasury Department, May 15, 2018, https://home.treasury.gov/news/press-releases/sm0385
97       Ibid.
98       PX48 “Treasury Sanctions Iran’s Central Bank and National Development Fund,” U.S. Department of the Treasury,
September 20, 2019, https://home.treasury.gov/news/press-releases/sm780
99       Ibid.
100      PX25 See designation of Iran as a State Sponsor of Terrorism. https://www.state.gov./j/ct/list/c14151.htm.
101      U.S. CIA, “Iranian Support for Terrorism in 1985.”


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agency warned that “the U.S. Government should await the largest military operation it has ever
known” and threatened attacks on Kuwaiti diplomats worldwide. A week later, a car filled with
explosives rammed the emir’s motorcade. 102 The emir suffered minor injuries, but three others
perished in the explosion.
        83.     Iranian sponsorship of terrorism picked up pace as the Iran-Iraq War came to a
close and U.S.-Iran tensions increased. “No longer drained by fighting Iraq,” former White House
counterterrorism director Richard Clarke wrote, “[Iranian] aid to Hezbollah increased. 103 Iranian
support to its proxies in the Gulf increased as well.
        84.     Iraqi Shia extremists feature prominently in Iran’s arsenal of regional proxies.
Some of the most proactive Iraqi Shia extremists to work with Iran in the post-2003 period began
as Iranian proxies some twenty years earlier. Consider, for example, Jamal Jafar Muhammad Ali,
better known as Abu Mahdi al-Muhandis, one of the Iraqi Dawa Party terrorists who partnered
with Hezbollah to carry out the 1983 embassy bombings in Kuwait and the 1985 assassination
attempt on the Kuwaiti emir. Convicted in absentia for his role in those attacks, Muhandis went
on to lead the Badr Corps, the militant wing of the Supreme Council for Islamic Revolution in Iraq
(SCIRI). The Badr Corps not only fought alongside Iranian forces in the Iran-Iraq War, it also
engaged in acts of sabotage and terrorism targeting the Hussein Regime. As head of the Badr
Corps, Muhandis worked directly with the IRGC-QF and other militant Iraqi Shia targeting the
Hussein Regime. 104
        85.    According to Iraqi documents captured by coalition forces, Muhandis’s chief of
staff in the Badr Corps was Hadi al-Ameri, who would go on to head the Badr Organization (as
the Badr Corps was later renamed in an attempt to rebrand the longtime militia as a political party)
and serve as an Iraqi parliamentarian after Saddam Hussein’s overthrow. At some point in the
1990s Muhandis was succeeded by Mustafa al-Sheibani 105 as commander of the Badr Corps. 106
Muhandis, who now also had Iranian citizenship, became an adviser to the commander of the
IRGC-QF, Gen. Qasem Soleimani. 107 At one point, Muhandis and Sheibani lived in the same
IRGC compound. And all three, Muhandis, Sheibani, and Ameri, went on to become key Shia
militant leaders in the post-2003 invasion period. “Today,” a 2008 report published by the
Combating Terrorism Center at West Point concluded, “some of Iraq’s most wanted Shi’a
insurgents share Badr Corps lineage with Iraqi politicians operating openly in Baghdad.” 108
        86.    Lastly, Iraqi Shia militant groups like the Dawa Party and Badr Corps have long
histories of cooperation, training, and cross-fertilization with Hezbollah. As noted before, Dawa
operatives engaged in joint terrorist operations with Hezbollah. In fact, links between Hezbollah
and the Dawa Party run deep. The Dawa Party in Lebanon, one of the precursor elements to what
became Hezbollah, was imported from Iraq in 1969 by followers of Iraqi cleric Mohammad Baqr
al-Sadr. Hezbollah has long-standing ties to the Badr Corps as well. According to seized Iraqi

102       PX938 U.S. CIA, “Iranian Support for Terrorism in 1987.”
103       Richard Clarke, Against All Enemies (New York: Free Press, 2004), p. 103.
104       International Crisis Group, “Shiite Politics in Iraq: Role of the Supreme Council” Middle East Report no. 70, November
15, 2007; Joseph Felter and Brian Fishman, “Iranian Strategy in Iraq: Politics and ‘Other Means,’” p. 24.
105       The United States designated al-Sheibani under Executive Order 13438 on January 9, 2008, for “threatening the peace
and stability of Iraq and the Government of Iraq.” https://home.treasury.gov/news/press-releases/hp759.
106       Felter and Fishman, “Iranian Strategy in Iraq,” p. 24.
107       Qasem Soleimani was designated a Specially Designated Global Terrorist on October 11, 2011.
https://home.treasury.gov/news/press-releases/tg1320.
108       Felter and Fishman, “Iranian Strategy in Iraq,” p. 24.


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intelligence documents, the Badr Corps employed a modus operandi—common among Iranian-
sponsored groups—of establishing clandestine offices in businesses, hospitals, and
nongovernmental organizations in Iraq. One undated Iraqi intelligence report explained that among
the many functions of these fronts was to help “secure and support the Badr Corps, and the different
groups belonging to the al-Qods Force, such as the movement of Hezbollah.” 109

G. Hezbollah’s Relationships with Special Groups in Iraq

The Ramazan Corps: Qods Force Department 9000

2006: First Concrete U.S. Intelligence Determination of Active Iranian Support for
Terrorism in Iraq
        87.   As noted above, the IRGC-QF regional command in Iraq was known as the
Ramazan Corps or IRGC-QF Department 9000. By the mid-1990s, the Ramazan Corps operated
three camps along the Iraqi border to support its activities—but a direct link between IRGC-QF
Department 9000 and violent attacks directed at coalition forces in Iraq after 2003 was slow to
emerge.
        88.     Sometime in 2006, at the height of sectarian violence then engulfing Iraq, IRGC-
QF Gen. Soleimani traveled secretly to Baghdad. Only after he returned safely to Iran did U.S.
intelligence and military forces discover he had been right in their backyard. 110 Washington was
furious. Ever since the April 2005 election, Iranian-sponsored Shia militants had intensified attacks
targeting coalition forces in Iraq. Now, Soleimani’s confidence in his political and military proxies
in Iraq was apparently so great that he felt secure paying a house call to Baghdad. Correspondingly
the IRGC-QF seemed to be riding high, deploying proxy groups in Iraq capable of striking at
coalition forces with impunity and basking in Hezbollah’s self-declared victory against the Israel
Defense Forces in the July 2006 war.
        89.    That same summer, the White House began a process of reviewing its policy toward
Iranian meddling in Iraq. Over the course of 2006, coalition forces detained dozens of suspected
Iranian operatives in a “catch and release” program intended to signal to Iran the coalition’s
awareness of Tehran’s aggressive activities in Iraq. DNA samples collected surreptitiously from
the Iranian detainees were added to a database before they were released after three or four days
in custody. According to U.S. intelligence, as many as 150 Iranian intelligence and IRGC
operatives were deployed to Iraq at a time. 111
        90.     “There were no costs for the Iranians,” a senior administration official commented,
explaining the reason for the policy review. The resulting presidential directive, or “finding,” was
signed by President Bush in November 2006 and authorized U.S. forces to kill or capture Iranian
operatives in Iraq. Coined Counter Iranian Influence, the initiative included measures to roll back
Iranian successes in five different theaters from Lebanon to Afghanistan and isolate the regime in
Tehran. In Lebanon, for example, the White House authorized the intelligence community to
engage in broadened operations targeting Hezbollah’s engagement in a spectrum of activities

109       Felter and Fishman, “Iranian Strategy in Iraq,” p. 22.
110       PX680 Martin Chulov, “Qassem Suleimani: The Iranian General ‘Secretly Running’ Iraq,” Guardian (London), July 28,
2011. https://www.theguardian.com/world/2011/jul/28/qassem-suleimani-iran-iraq-influence.
111       Dafna Linzer, “Troops Authorized to Kill Iranian Operatives in Iraq,” Washington Post, January 26, 2007.
http://www.washingtonpost.com/wp-dyn/content/article/2007/01/25/AR2007012502199.html.


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called the Blue Game Matrix. 112

First Coalition Measures Against the IRGC
        91.      In Iraq, the program to counter Iranian influence quickly bore fruit. The evening of
December 19, 2006, a U.S. military patrol stopped an official Iranian embassy vehicle in Baghdad
and arrested three Iranians with diplomatic credentials and one Iraqi, presumably their driver. Two
of the men were held for two days, the other two for four days. 113 The more significant arrests,
however, came just a few hours later in a predawn raid of the Baghdad compound of Abdul Aziz
al-Hakim, head of the SCIRI. U.S. Special Forces detained ten men in this second raid, including
two Iranians carrying diplomatic passports—passports later determined to have been issued under
false identities. Neither of the Iranians, traveling in Iraq under aliases with false documents, was a
diplomat in the traditional sense. In fact, they were important IRGC officials on a covert mission
to Iraq. One, Mohsen Chizari, was the IRGC-QF’s third highest ranking officer. The Iranians
quickly realized that U.S. forces were holding one of Gen. Soleimani’s most senior deputies. 114
         92.     The evidence amounted to a “smoking gun,” in one American official’s description.
“We found plans for attacks, phone numbers affiliated with Sunni bad guys, a lot of things that
filled in the blanks on what these guys are up to.” 115 The evidence the military collected in the raid
included maps, detailed weapons lists, reports of weapons shipped into Iraq, organization charts,
telephone records, computers, and “other sensitive intelligence information.” 116 According to U.S.
officials, some of this intelligence “dealt explicitly with force-protection issues, including attacks
on MNF-I [Multi-National Force-Iraq] forces.” 117 In other words, the Iranians possessed
intelligence about weapons being smuggled into Iraq from Iran and about attacks on the Multi-
National Force-Iraq by Tehran’s proxy militias in Iraq.
        93.     Aside from Mohsen Chizari’s high rank within the IRGC-QF, his capture was
significant for underscoring a reality long known by the coalition, but only through extremely
sensitive intelligence: Iran was training Iraqi Shia militias to attack coalition forces and stoke
sectarian tensions in Iraq. Further, this raid and others like it led U.S. officials to refer to “a super-
secret group called Department 9000,” a part of the IRGC-QF that provided guidance and support
to Iraqi insurgents and coordinated meetings between them and the IRGC. 118 In other words, the
Ramazan Corps had been exposed.
        94.    Chizari’s arrest clearly unnerved Iran. Over the next few days, an Iraqi official
noted, the Iranian ambassador to Iraq desperately ran “around from office to office,” in an effort



112       PX696 Sabrina Tavernise, “U.S. Says Captured Iranians Can Be Linked to Attacks,” The New York Times, December
27, 2006. http://www.nytimes.com/2006/12/27/world/middleeast/27iranians.html.
113       Sabrina Tavernise, “U.S. Says Captured Iranians Can Be Linked to Attacks”; James Glanz and Sabrina Tavernise, “U.S.
Is Holding Iranians Seized in Raids in Iraq,” The New York Times, December 25, 2006.
http://www.nytimes.com/2006/12/25/world/middleeast/25iraq.html.
114       Sudarsan Raghavan and Robin Wright, “Iraq Expels 2 Iranians Detained by U.S.,” Washington Post, December 30, 2006.
http://www.washingtonpost.com/wp-dyn/content/article/2006/12/29/AR2006122901510.html.
115       PX637 Eli Lake, “Iran’s Secret Plan for Mayhem,” New York Sun, January 3, 2007.
https://www.nysun.com/foreign/irans-secret-plan-for-mayhem/46032.
116       Sudarsan Raghavan and Robin Wright, “Iraq Expels 2 Iranians Detained by U.S.”
117       Sabrina Tavernise, “U.S. Says Captured Iranians Can Be Linked to Attacks.”
118       Newsweek Staff, “Tehran’s Secret ‘Department 9000,’” Newsweek, June 4, 2007. http://www.newsweek.com/tehrans-
secret-department-9000-101905.


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to secure Chizari’s release. 119 Iraqi leaders were also upset. The Iranians had reportedly come to
Iraq at the invitation of President Jaial Talabani, leader of a prominent Iraqi Kurdish group. Under
intense pressure from the Iraqis, the U.S. military transferred the Iranian detainees to Iraqi custody.
Days later they were “expelled” home to Iran, much to the frustration and dismay of U.S.
officials. 120
        95.     A few days later, on January 11, 2007, former CIA director R. James Woolsey Jr.
and former undersecretary of state Thomas Pickering appeared before the U.S. House Foreign
Affairs Committee to testify on “The Next Steps in the Iran Crisis.” Just the day before, President
Bush had given a national address, noting, “Iran is providing material support for attacks on
American troops.” 121 Then, just a few hours before the hearing, U.S. troops arrested six more
Iranians in an Iranian diplomatic office in Irbil in Kurdish-controlled northern Iraq. One individual
was quickly released, but the other five were determined to be IRGC members, not diplomats.
Publicly, the Iranian liaison office in Irbil processed papers for Iraqis attempting to travel to Iran.
But intelligence indicated it doubled as an IRGC-QF base of operations. As U.S. Special Forces
entered, they found the Iranians frantically flushing documents down a toilet. Perhaps trying to
pass themselves off as something other than Iranian IRGC-QF officers, the Iranians had recently
shaved their heads. Soldiers carted away still more documents and computers for analysis, just as
they had a few days earlier in Baghdad. 122 Mining data on seized cell phones indicated the officers
were in direct contact with a wide array of insurgent groups. Analysts found in the seized materials
and devices evidence tying the Iranian officers to military operations carried out not only by Shia
cleric Moqtada al‫־‬Sadr’s Mahdi Army (Jaish al-Islam) in places like Kirkuk but also by the al-
Qaeda-affiliated Ansar al-Sunna group targeting Iraqi Kurds. 123           12F




IRGC Deployment of EFPs
        96.     A much clearer picture of Iran’s policy of inserting “managed chaos” into Iraq was
quickly emerging. While Iran insisted the five detained men held diplomatic immunity and
demanded their release, the military held onto the five IRGC-QF operatives until May 2009. The
Baghdad and Irbil raids came like a one-two punch, forcing the Iranians to reconsider the wisdom
of putting their own people on the line in Iraq. According to one American military commander,
with the Baghdad and Irbil raids the Iranians “realized we were coming after them. The Iranians
didn’t like doing much dirty work or getting their hands dirty. A lot of them would prefer the Arabs
to do the dying.” 124
       97.   To that end Tehran prioritized sending sophisticated weapons often manufactured
in Iran—especially explosively formed penetrators (EFPs)—to militants in Iraq. The uptick in


119       Glanz and Tavernise, “U.S. Is Detaining Iranians,” The New York Times, December 25, 2006.
http://query.nytimes.com/gst/fullpage.html?res=9B0DEFDD1E31F936A15751C1A9609C8B63&pagewanted=all.
120       Sabrina Tavernise and James Glanz, “U.S. and Iraq Dispute Role of Iranians but Free Them,” The New York Times,
December 30, 2006; Raghavan and Wright, “Iraq Expels 2 Iranians.”
121       PX611 “Text of President Bush’s Speech on Troop Levels,” NPR, January 10, 2007.
https://www.npr.org/templates/story/story.php?storyId=6803354.
122       PX663 James Glanz, “U.S. Says Arms Link Iranians to Iraqi Shiites”; James Glanz, “G.I.’s in Iraq Raid Iranians’
Offices,” The New York Times, January 12, 2007.
http://www.nytimes.com/2007/01/12/world/middleeast/12raid.html?mtrref=www.google.com&gwh=6DD96E0EFCE626BC3F32
9E60DE0C1176&gwt=pay.
123       Eli Lake, “U.S. Deadlocked on Whether to Free Iranian Terror Suspects,” New York Sun, January 19, 2007.
https://www.nysun.com/foreign/us-deadlocked-on-whether-to-free-iranian-terror/47015.
124       Mark Urban, Task Force Black, p. 209.


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attacks led U.S. officials to decide the time had come to expose the breadth and lethality of Iranian
arms smuggled to Iraqi Shia militias.
        98.     A press briefing was prepared for Sunday, February 11, 2007, in Baghdad’s Green
Zone. Laid out on the table were EFP launchers and their shaped metal charges, mortar shells,
rocket-propelled grenades, and the false identification cards found on two of the IRGC-QF
officials captured in the Irbil raid a month earlier. According to U.S. officials, serial numbers on
some of the grenades indicated they were manufactured in Iran in 2006. 125 The centerpiece of the
weapons spread was the EFP, a deceptively simple-looking cylinder with a copper liner, launched
with such force that it could penetrate the armor of a tank or up-armored Humvee. The briefing
was more than just a show-and-tell, however. Though unable to share the intelligence underpinning
the charge, the military and intelligence briefers insisted the IRGC-QF was responsible for the
flow of arms to Shia militia groups. “We have been able to determine that this material, especially
on the EFP level, is coming from the IRGC-Qods Force,” the intelligence analyst stated. In reality,
they report directly to the “supreme leader,” a reference to Ayatollah Alj Khamenei. 126 The
direction for this arming and smuggling operation, the analyst added, was “coming from the
highest levels of the Iranian government.” 127
        99.     In September 2007, U.S. forces in Iraqi Kurdistan arrested Mahmoud Farhadi, a
“very senior member of the Qods Force.” Posing as an Iranian trade representative, Farhadi’s
actual mission involved facilitating the transport of weapons into Iraq, according to a U.S. military
spokesman. In particular he oversaw the smuggling of “weapons, people and money” across the
border from Iran. “Multiple sources implicate Farhadi in providing weapon[s] to Iraqi criminal
elements and surrogate[s] of Iran. We also know that for more than a decade he was involved in
Iranian intelligence operation[s] in Iraq.” 128 Officials were not surprised. In August 2004, for
example, IRGC-QF Brig. Gen. Ahmed Foruzandeh drove a cache of explosives and other materials
specifically designated for use in suicide bombings across the border into Iraq, according to U.S.
government information. In another case, he supplied a Shia militia with a specific target to hit. 129
        100. The capture of senior IRGC-QF officials, and the public airing of evidence
demonstrating Iranian agents were arming and training Iraqi Shia extremists, embarrassed Tehran
and appears to have accelerated Iran’s efforts to put an Arab face on this mission. Using Hezbollah
offered multiple advantages, not least the shared language of Hezbollah operatives and Iraqi
militants, Arabic. Farsi-speaking Iranian trainers could not communicate with their trainees as
effectively, aside from the perception by some Iraqis that their Iranian trainers were aloof and
patronizing. Reliable polling data later revealed that Iranian intervention in Iraq faced “substantial
popular resentment even among Iraqi Shiites, who are wrongly presumed to share Iran’s interests




125        James Glanz, “U.S. Says Arms Link Iranians to Iraqi Shiites,” The New York Times, February 12, 2007.
http://www.nytimes.com/2007/02/12/world/middleeast/12weapons.html.
126        James Glanz, “U.S. Says Arms Link Iranians to Iraqi Shiites”; Tim Susman and Borzou Daragahi, “The Conflict in Iraq:
Accusations of Interference; U.S. Makes Case That Iran Arms Flow into Iraq,” Los Angeles Times, February 12, 2007.
127        James Glanz, “U.S. Says Arms Link Iranians to Iraqi Shiites.”
128        Multi-National Forces-Iraq, Maj. Gen. Kevin Bergner and Brig. Gen. Michael Walsh, press conference, October 3, 2007.
Iraqi intelligence documents seized by coalition forces indicate Farhadi actually led the Ramazan Corps’ Nasr Command, not Zafr
Command. See Felter and Fishman, “Iranian Strategy in Iraq,” p. 49, n. 71.
129        PX67 U.S. Department of the Treasury, “Treasury Designates Individuals, Entity Fueling Iraqi Insurgency,” press
release, January 9, 2008. https://home.treasury.gov/news/press-releases/hp759.


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due to their common sectarian background.” 130
         101. Hezbollah’s use of Iranian-manufactured EFPs in Lebanon, before and during the
July 2006 war, positioned Hezbollah operatives with in-the-field experience as ideal candidates to
train Iraqi Shia in deploying this particular weapon. 131 A number of Iraqi Shia militants reportedly
observed and trained alongside Hezbollah militants in Lebanon during the 2006 war, according to
U.S. intelligence. 132 Having seen Hezbollah in action, they were well situated to seek training from
their Lebanese compatriots in the use of EFPs and other weapons and tactics.
        102. The advantages of enlisting Hezbollah operatives as middlemen soon spurred
action. But multinational forces would appreciate the full scope of this shift only when they
arrested Ali Musa Daqduq al-Musawi, 133 a senior Hezbollah official, along with key leaders of the
Special Groups, in a Basra raid on March 20, 2007.
         103. In early 2008, IRGC-QF General Qasem Soleimani sent General Petraeus, the
commander of coalition forces in Iraq, a message making it clear that he (Soleimani) was point-
man for Iranian policy and activities in Iraq. Conveyed by a senior Iraqi leader, the message arrived
just as Iraqi and coalition forces initiated Operation Charge of the Knights, an effort targeting Iraqi
Shia militias in Baghdad and Basra. The message itself read: “Dear General Petraeus, you should
know that I, Qassem Suleimani, control the policy for Iran with respect to Iraq, Lebanon, Gaza,
and Afghanistan. And indeed, the ambassador in Baghdad is a Quds Force member. The individual
who’s going to replace him is a Quds Force member.” 134 The message should have come as no
great surprise, coming from a man aggressive in the belief that “offense is the best defense.” 135
Indeed, the crux of the message was no surprise at all. Several months earlier, in October 2007,
Petraeus had confirmed to the press “absolute assurance” that several Iranians detained by coalition
forces were IRGC members. “The Qods Force controls the policy for Iraq; there should be no
confusion about that either,” he added noting, “The ambassador is a Qods Force member.” 136 In
fact by the time Petraeus made these comments, coalition forces had already arrested senior IRGC-
QF officials on at least three occasions.

Iran’s Supply of Additional Weapons to Shia Militant Groups in Iraq
      104. Beyond EFP’s, Iran provided Shia militants in Iraq with a wide array of weapons.
“Using Iranian-provided weapons,” the DIA concluded, Shia militia groups in Iraq “were

130        David Pollack and Ahmed Ali, “Iran Gets Negative Reviews in Iraq, Even from Shiites,” Policy Watch 1653, Washington
Institute for Near East Policy (Washington, DC), May 4, 2010.
http://www.washingtoninstitute.org/policy-analysis/view/iran-gets-negative-reviews-in-iraq-even-from-shiites.
131        PX670 Kimberly Kagan, “Iran’s Proxy War against the United States and the Iraqi Government,” Institute for the Study
of         War       and         Weekly        Standard,         May         2006-August        20,       2007,        p.     3.
http://www.understandingwar.org/sites/default/files/reports/IraqReport06.pdf.
132        PX684 Michael R. Gordon and Dexter Filkins, “Hezbollah Said to Help Shiite Army in Iraq,” The New York Times,
November 28, 2006.
http://www.nytimes.com/2006/11/28/world/middleeast/28military.html?mtrref=www.google.com&gwh=61FE99F4EAFE51A0A
EAEE2F87D07580C&gwt=pay.
133        The United States designated Daqduq a Specially Designated Global Terrorist on November 19, 2012.
https://home.treasury.gov/news/press-releases/tg1775.
134        PX634 Dexter Filkens, “The Shadow Commander,” The New Yorker, September 20, 2013.
https://www.newyorker.com/magazine/2013/09/30/the-shadow-commander; see also PX651 Institute for the Study of War,
“Interview and Moderated Q&A with General David Petraeus,” Washington D.C., January 22, 2010, pp. 40-41.
135        PX612 Ali Alfoneh, “Iran’s Most Dangerous General,” Middle Eastern Outlook, no. 4, American Enterprise Institute,
July 13, 2011. https://www.aei.org/research-products/report/irans-most-dangerous-general/.
136        Paul Von Zielbauer, “U.S. Calls Iranian Official Part of Elite Force,” The New York Times, October 8, 2007.


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responsible for at least 603 personnel killed in Iraq between 2003 and 2011.” 137
       105. Over the years, Iranian transfers to state and nonstate actors have included:
communications equipment; small arms—such as assault rifles, sniper rifles, machine guns,
mortars, and rocket-propelled grenades (RPGs)—and ammunition; ATGMs; MANPADS; artillery
systems, including MRLs and battlefield rockets and launchers; armored vehicles; FAC;
equipment for unmanned explosives boats; ASCMs; SAMs; UAVs, including ISR and attack
platforms; ground-attack aircraft; and C/SRBMs and associated technology. 138
       106. Iran provides such weapons to a wide array of actors. However, according to the
DIA, “Iran’s biggest customers include Syria, Hizballah in Lebanon, and Iraqi Shia militias, but
Iran has also provided weapons to the Huthis in Yemen, Palestinian groups, and the Taliban in
Afghanistan.” 139
        107. Upon capturing Mohsen Chizari, the third-ranking official in the Qods Force, at the
Baghdad compound of Abd al-Aziz al-Hakim on December 29, 2006, U.S. forces discovered
“detailed weapons lists, documents pertaining to shipments of weapons into Iraq, organizational
charts, telephone records and maps, among other sensitive intelligence information.” 140
        108. In a 2007 briefing, Major General Fil, commander of Coalition Forces in Baghdad,
explained that most of the rocket and mortar attacks targeting Baghdad’s International Zone
originated from Sadr City or its environs, and most of the rockets and mortars were recently made
Iranian weapons. According to Fil, “[M]uch of the indirect fire that we receive, especially that
which is pointed at the International Zone, the Green Zone, is in fact Iranian. And when we check
the tail fins of the mortars, when we find the rockets—and frequently we’re able to find them
preemptively, before they actually launch… there’s no doubt that they’re coming out of Iran.” 141
        109. In 2012, the Small Arms Survey found that out of the weapons recovered from arms
caches in Iraq in 2008 and 2009, including more than 30,000 small arms, light weapons, and rounds
of light weapons ammunition and more than 500,000 rounds of small-caliber ammunition, 29
percent were of Iranian origin. 142
        110. Reliable sources point to a long list of weapons Iran provide to Shia militants in
Iraq, including:
              a. The State Department’s annual report on international terrorism for 2009 noted that
                 Iran’s “Qods Force continued to supply Iraqi militants with Iranian-produced
                 advanced rockets, sniper rifles, automatic weapons, and mortars that have killed



137       “Iran Military Power: Ensuring Regime Survival and Securing Regional Dominance,” Defense Intelligence Agency,
August 2019, 9, https://www.dia.mil/Portals/110/Images/News/Military_Powers_Publications/Iran_Military_Power_LR.pdf
138       Ibid., 90
139       Ibid., 90
140       Sudarsan Raghavan and Robin Wright, “Iraq Expels 2 Iranians Detained by U.S. American Defense Official Calls
Release           ‘Obviously         Troubling’,”          Washington           Post,         December          30,        2006,
https://www.washingtonpost.com/archive/politics/2006/12/30/iraq-expels-2-iranians-detained-by-us-span-
classbankheadamerican-defense-official-calls-release-obviously-troublingspan/f9f56a51-bd96-418f-9267-e8d63d7d80b8/
141       Kimberly Kagan, “Iran’s Proxy War against the United States and the Iraqi Government,” Institute for the Study of War,
2006, 20, www.jstor.org/stable/resrep19539.
142       “Surveying the Battlefield: Illicit Arms in Afghanistan, Iraq, and Somalia,” in Small Arms Survey 2012: Moving Targets
(Geneva,     Switzerland:    Small      Arms     Survey,    2012),      317,   http://www.smallarmssurvey.org/fileadmin/docs/A-
Yearbook/2012/eng/Small-Arms-Survey-2012-Chapter-10-EN.pdf.


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                   Iraqi and Coalition Forces, as well as civilians.” 143
              b. The Institute for the Study of War reports: “Iran has provided its Iraqi proxies with
                 advanced weapons, including light and heavy mortars, 107-mm and 240-mm
                 rockets, advanced large-caliber sniper rifles, and explosively-formed penetrators
                 (EFPs), capable of penetrating tank armor.” 144
              c. The ISW report adds: “weapons smuggled from Iran to Iraq in 2007 included: 81
                 mm mortars (the remainder of the region uses 82 mm mortars); repainted 107 mm
                 rockets imported into Iran from China and marked for sale in the open markets;
                 RPG-7; 60 mm canisters filled with Iranian-manufactured mortar rounds; and 240
                 mm rockets. In addition, earlier in 2007, American troops discovered over 100
                 Austrian made Steyr HS50 caliber sniper rifles in Iraq. These high-powered sniper
                 rifles, which fire Iranian rounds, ‘can pierce all body armor from up to a mile and
                 penetrate armored Humvee troop carriers.’” 145
              d. In a February 2007 briefing highlighting Iranian provision of EFP’s to Iraqi Shia
                 militants, U.S. forces also displayed a handful of mortar shells and rocket-propelled
                 grenades that the military officials said were made in Iran. 146
              e. According to a 2010 DIA report, “Iran continues to provide money, weapons and
                 training to select Iraqi Shia militants and terrorists despite pledges by senior Iranian
                 officials to stop such support. The weapons include: Explosively Formed
                 Penetrators (EFPs) with radio-controlled, remote arming and passive infrared
                 detonators; Improvised Explosive Devices (lED); Anti -aircraft weapons; mortars;
                 107- and 122-millimeter rockets; rocket-propelled grenades and launchers;
                 explosives; small arms.” 147
              f. Iraq expert Michael Knights reported in 2010 that “although local sourcing of
                 rockets is undertaken whenever possible, most rocket artillery rounds in Iraq are
                 too degraded to function properly. This has led Iran to smuggle large numbers of
                 107mm Hesab and 122mm Grad rockets into Iraq, as well as some larger 240mm
                 Fajr rockets. 148
              g. Knights further reported that “evidence from arms caches suggests that Iranian-
                 backed groups that stockpile EFP components and other Iranian signature weapons
                 (240mm rockets, for instance) also maintain stocks of silenced pistols and under-
                 vehicle magnetic IEDs (“sticky bombs”). On August 1, 2010, for example, a
                 weapons cache found near Basra included 76 rockets, 15 tons of TNT, a significant

143        PX205 “Country Reports on Terrorism, 2009,” U.S. State Department, August 2010, p. 193, https://2009-
2017.state.gov/documents/organization/141114.pdf
144        Kimberly Kagan, “Iran’s Proxy War against the United States and the Iraqi Government,” Institute for the Study of War,
2006, 2, www.jstor.org/stable/resrep19539.
145        Kimberly Kagan, “Iran’s Proxy War against the United States and the Iraqi Government,” Institute for the Study of War,
2006, 17, www.jstor.org/stable/resrep19539.
146 PX620 Associated Press, “U.S.:Top Iran officials ordering bombs to Iraq,” NBC News, February 11, 2007,

http://www.nbcnews.com/id/17097658/ns/world_news-mideast_n_africa/t/us-top-iran-officials-ordering-bombs-
iraq/#.X0feKvhKhE9.
147        PX928 “Unclassified Report on Military Power of Iran,” U.S. Department of Defense, March 2010, 2,
https://fas.org/man/eprint/dod_iran_2010.pdf.
148         Michael Knights, “The Evolution of Iran’s Special Groups in Iraq,” CTC Sentinel, vol 3., no.11-12 (November 2010),
14-15, https://ctc.usma.edu/the-evolution-of-irans-special-groups-in-iraq/


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                  amount of bomb-making materiel, as well as 41 magnets for making under-vehicle
                  IEDs and silenced weapons. 149
              h. A Congressional Research Service report notes that “in August 2007, Gen.
                 Raymond Odierno, then the second in command (later overall commander in Iraq),
                 said that Iran had supplied the Shiite militias with 122-millimeter mortars that are
                 used to fire on the Green Zone in Baghdad.” 150
              i. The CRS report also notes that “on August 28, 2008, the Washington Times
                 reported that pro-Sadr militias were now also using “Improvised Rocket Assisted
                 Munitions”—a “flying bomb” carrying 100 pounds of explosives, propelled by
                 Iranian-supplied 107 mm rockets.” 151

Unit 3800: Hezbollah’s Support Mission in Iraq
        111. “Generally,” U.S. military intelligence assessed in 2010, the IRGC-QF “directs and
supports groups actually executing attacks, thereby maintaining plausible deniability within the
international community.” 152 This assessment proved as true in Iraq as it long had been in Lebanon.
In Lebanon the IRGC helped create Hezbollah. In Iraq the IRGC did much the same for Iraqi Shia
militias, sometimes on their own but often using Hezbollah to provide training and operational
supervision on its behalf.
        112. A variety of militant Shia groups in Iraq have benefited from Iranian and Hezbollah
training and support, with the nature and extent of that support changing over time as these groups
themselves evolved. Some groups supported by Iran, like SCIRI and the Dawa Party, focused
primarily on establishing political influence in Iraq. And although Iran has supported both militant
and political activities in Iraq, depending on its needs and assessments at a given time, its
fundamental long-term goal has been establishing political influence in the country. Therefore, at
times, Iran appears to have temporarily curtailed support for militant activities by some of its
proxies when violence might undermine its political goals in Iraq, such as in the period before the
January 2005 elections. 153
         113. But even as it supported political allies like SCIRI and Muqtada al-Sadr in Iraq,
Iran also backed the Badr Corps and Mahdi Army, the groups’ respective military wings. When
the renamed Badr Organization entered politics, Iran encouraged extremist militants to splinter off
and form their own militant groups, echoing Iran’s encouragement of Shia radicals years before to
split from the Amal Party in Lebanon to form Hezbollah. 154 Both Mustafa al-Sheibani and Abu
Mahdi al-Muhandis purportedly broke with Badr and founded terrorist groups that played central




149        Ibid., 15
150        PX281 Kenneth Katzman, “Iran-Iraq Relations,” Congressional Research Service, August 13, 2010, 2,
https://fas.org/sgp/crs/mideast/RS22323.pdf.
151        Ibid.
152        PX371 U.S. Congress, Senate Committee on Armed Services, Iran’s Military Power: Hearing before the Committee on
Armed Services, 111th Cong., 2d sess., April 14, 2010, Statement of Lt. Gen. Ronald L. Burgess Jr.
153        Felter and Fishman, “Iranian Strategy in Iraq,” p. 37.
154        Michael Eisenstadt, Michael Knights, and Ahmed Ali, “Iran’s Influence in Iraq: Countering Tehran’s Whole-of-
Government Approach,” Policy Focus 111, Washington Institute for Near East Policy (Washington, DC), April 2011.
https://www.washingtoninstitute.org/policy-analysis/irans-influence-iraq-countering-tehrans-whole-government-approach.


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roles in Iran’s proxy networks. 155 In 2005 when al-Sadr turned similarly to politics, some of the
most radical members of his Mahdi Army, like Qais al-Khazali, who created Asaib Ahl al-Haq
(AAH) (League of the Righteous), also known as the Khazali Network, broke away to form splinter
groups of their own too.
        114. Two years later, as discussed below, when British special forces arrested Ali Musa
Daqduq, the senior Hezbollah commander, along with Qais al-Khazali and his brother Laith, they
found a document detailing a layered Iranian strategy to develop three distinct but overlapping
categories of proxy groups. Iran wanted its proxies to vary in size and mission, with larger groups
focusing on building grassroots support through political and social movements and using violence
only intermittently as a means to secure political influence. Smaller groups would make more
reliable militant proxies, focused as they were on securing social influence through violence alone.
Still smaller, more radical groups would receive more sophisticated training and weapons. 156 Iran
stuck to this strategy, and in 2007, when even AAH began engaging in Iraqi politics, formed yet
another Special Group, Kata’ib Hezbollah (Hezbollah Brigades), 157 which received the most
sophisticated training and sensitive equipment. An Iraqi group with reported ties to longtime Dawa
operative and IRGC-QF adviser Abu Mahdi al-Muhandis, the Hezbollah Brigades was
operationally distinct from Lebanese Hezbollah but its ties with its Lebanese namesake became
even more evident over time. 158 Mirroring the creation of Unit 1800, a unit dedicated to supporting
Palestinian terrorist groups and targeting Israel, Hezbollah created Unit 3800, a unit dedicated to
supporting Iraqi Shia terrorist groups targeting multinational forces in Iraq.
        115. The unit, established by Hezbollah leader Hassan Nasrallah 159 at Iran’s request,
trained and advised Iraqi militant groups. Almost immediately following the U.S. invasion of Iraq,
reports emerged indicating Hezbollah operatives were reaching out to re-establish ties to Iraqi Shia
groups. A July 29, 2003, U.S. intelligence report citing Israeli military intelligence stated that
Hezbollah “military activists” were trying to make contact with Muqtada al-Sadr and his Mahdi
Army. By late August they had succeeded, according to a report prepared by a U.S. military
analyst. Based on information from a source with “direct access to the reported information,” the
report claimed Hezbollah had assembled a team of thirty to forty operatives in Najaf “in support
of Moqtada Sadr’s Shia paramilitary group.” Hezbollah was both recruiting and training new
members of the Mahdi Army, the report added. 160
       116. More reports documenting Hezbollah’s then-still-small presence followed,
including one citing multiple sources that said Hezbollah was “buying rocket-propelled grenades


155        PX66 / 67 U.S. Department of the Treasury, “Treasury Designates Individuals, Entity Fueling Iraqi Insurgency,” January
9, 2008, https://home.treasury.gov/news/press-releases/hp759U.S. Department of the Treasury, “Treasury Designates Individual,
Entity Posing Threat to Stability in Iraq,” July 2, 2009, https://home.treasury.gov/news/press-releases/tg195.
156        Felter and Fishman, “Iranian Strategy in Iraq,” p. 27.
157        PX27 The United States designated Kata’ib Hezbollah a Foreign Terrorist Organization and a Specially Designated
Global Terrorist on June 24, 2009. https://2009-2017.state.gov/r/pa/prs/ps/2009/july/125582.htm.
158        PX66 U.S. Department of the Treasury, “Treasury Designates Individual, Entity Posing Threat to Stability in Iraq”;
Michael Knights, “The Evolution of Iran’s Special Groups in Iraq,” CTC Sentinel 3, no. 11-12 (November 2010): pp. 12-16,
https://ctc.usma.edu/the-evolution-of-irans-special-groups-in-iraq/ ;Rafid Fadhil Ali, “Iraq’s Kata’ib Hezbollah Seek Greater
Popularity through Threats to Kuwaiti Port Development,” Terrorism Monitor 9, no. 33 (August 19, 2011), Jamestown Foundation,
https://jamestown.org/program/iraqs-kataib-hezbollah-seek-greater-popularity-through-threats-to-kuwaiti-port-development.
159        PX20 The United States designated Nasrallah a Specially Designated Terrorist on January 23, 1995,
https://www.gpo.gov/fdsys/pkg/FR-1995-01-25/pdf/95-2035.pdf; and a Specially Designated Global Terrorist on May 16, 2018,
https://home.treasury.gov/policy-issues/financial-sanctions/recent-actions/20180516.
160        Edward Pound, “Special Report: The Iran Connection,” U.S. News & World Report, November 14, 2004.


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... antitank missiles” and other weapons for the Mahdi Army. Hezbollah’s relationship with al-
Sadr and his militia were not seen as ad hoc ties between individual Hezbollah and Mahdi Army
members but as decisions made at the top of the respective organizations. A U.S. Army report
noted that “reporting also confirms the relationship between ... Sadr and Hassan Nasrallah.”
According to unconfirmed information, the report added, a senior adviser to Nasrallah delivered
funds to al-Sadr. 161 The connection rings true, given that “al-Sadr sought to model his organization
on Lebanese Hezbollah, combining a political party with an armed militia and an organization
providing social services.” 162
       117. The American and Israeli intelligence services were not the only ones investigating
Iran and Hezbollah’s support to Shia militant groups at the time. In fact, one of the most prolific
sources was also one of the most controversial: the Mujahedin-e Khalq (MEK), the Iranian exile
group deeply and sometimes violently committed to the overthrow of the regime in Tehran. While
the MEK has a track record of collecting critical intelligence later proven to be surprisingly
accurate, it remained a US-designated terrorist group until September 2012 (it had already been
removed from the European Union and British lists).” 163
        118. The gist of the MEK’s reporting on Hezbollah in Iraq would be corroborated by
other sources. According to the MEK, some 800 Hezbollah operatives were on the ground in Iraq
by January 2004, including assassination teams. 164 According to other MEK reports, nearly 100
Hezbollah members—including both “agents and clerics”—infiltrated postwar Iraq at Iran’s
behest. Following its established modus operandi in Lebanon, Hezbollah reportedly established
charitable organizations in Iraq “to create a favorable environment for recruiting.” 165 As early as
October 2003, Israeli intelligence also warned their American counterparts that according to their
information Hezbollah—at Iran’s instruction—intended to help set up a “resistance movement,”
likely in the group’s own image, that could conduct mass casualty attacks. 166
        119. “Hezbollah has moved to establish a presence inside Iraq,” one administration
official said, “but it isn’t clear from the intelligence reports what their intent is.” 167 It was clear,
however, that they were traveling through Syria and crossing the long and porous Syrian-Iraqi
border to gain entry to Iraq. In November 2003, Israel’s defense minister, Shaul Mofaz, went
public with information that a wide range of insurgents—from Sunnis affiliated with al-Qaeda to
Shia tied to Hezbollah—were crossing Syria to fight coalition forces in Iraq.” 168 A few months
later, American officials came to the same conclusion, noting that the Syrian regime was believed
to be knowingly allowing their passage through Syrian territory, supporting an Iranian initiative to

161       Edward Pound, “Special Report: The Iran Connection.”
162       PX679 Marisa Cochrane, “The Fragmentation of the Sadrist Movement,” Iraq Report 12 (January 2009), Institute for
the Study of War.
163       Joby Warrick, “U.S. Officials to Remove Iranian Group from Terror List, Officials Say,” Washington Post, September
21, 2012; Scott Peterson, “Iranian Group’s Big-Money Push to Get off US Terrorist List,” Christian Science Monitor, August 8,
2011, https://www.csmonitor.com/World/Middle-East/2011/0808/Iranian-group-s-big-money-push-to-get-off-US-terrorist-list;
Bahman Kalbasi, “Iran Exile Group MEK Seeks US Terror De-Listing,” BBC Persian, September 24, 2001.
164       Joby Warrick, “U.S. Officials to Remove Iranian Group from Terror List, Officials Say”; Scott Peterson, “Iranian Group’s
Big-Money Push to Get off US Terrorist List,” Christian Science Monitor; Bahman Kalbasi, “Iran Exile Group MEK Seeks US
Terror De-Listing.”
165       Raymond Tanter, “Iran’s Threat to Coalition Forces in Iraq,” PolicyWatch 827, Washington Institute for Near East Policy
(Washington, DC), January 15, 2004.
166       Edward Pound, “Special Report: The Iran Connection.”
167       James Risen, “A Region Inflamed: The Hand of Tehran; Hezbollah, in Iraq, Refrains from Attacks on Americans,” The
New York Times, November 24, 2003.
168       “Israeli Warns of Terrorist Training,” Washington Times, November 14, 2003.


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inject battle-hardened foreign fighters into Iraq. 169
       120. By early 2005, the presence of Hezbollah operatives in Iraq became an open secret
when Iraqi interior minister Falah al-Naquib announced the arrest of 18 Lebanese Hezbollah
members on terrorism charges. 170 That summer U.S. military officials noted that Abu Mustafa al-
Sheibani, the former Badr Corps commander, headed a network of Iraqi Shia insurgents created
by the IRGC-QF. In August 2005, a Time magazine article reported that Sheibani had been
smuggling in a “new breed” of IEDs across the border into Iraq as early as January 2005. 171
However, based on an Iraqi intelligence report dated July 11, 2001, Sheibani and the Badr Corps
may have been using EFPs in Iraq as early as 2001. 172 The report described a shipment of Iranian
weapons that were delivered to Badr Corps members in Diyala, Salah al-Din, and Baghdad
governorates. The weapons included 107mm and 122mm rockets, as well as “conically shaped
bombs filled with TNT, weighing 5-6 kg and using a locally made metal base.” 173 The description
of these bombs was notably similar to the description of the “new breed” of IEDs that were
imported from Iran into Iraq in early 2005. 174
        121. A Sheibani network device reportedly killed three British soldiers in Iraq in July
2005 and was responsible for at least 37 bombing attacks in the first half of 2005 alone. According
to U.S. officials, Sheibani’s network of some 280 operatives was believed to train in Lebanon, in
Baghdad’s Sadr City, and, in an apparently veiled reference to Iran, “in another country.” 175
       122. In London, British Prime Minister Tony Blair cited evidence linking Iran and
Hezbollah to recent bombings in which British soldiers were killed in Iraq by a new type of
explosive device. “The particular nature of those devices lead us either to Iranian elements or to
Hezbollah, because they are similar to the devices used by Hezbollah, that is funded and supported
by Iran,” he noted. 176 Suddenly, Iran and Hezbollah’s training and weapons smuggling programs
had become a priority issue for coalition forces. Still, two more years passed before coalition forces
learned that sometime in 2005 “senior Lebanese Hezbollah leadership” directed an experienced
Hezbollah commander “to go to Iran and work with the Qods Force to train Iraqi extremists.” 177
Hezbollah was about to accelerate its Unit 3800 mission in Iraq, with deadly consequences.
        123. Until this point Hezbollah’s ties were primarily with Muqtada al-Sadr’s Mahdi
Army, for which Hezbollah provided expertise and training. But the formation of a new Iraqi
government in April 2005 brought Iran’s Shia allies, SCIRI and the Dawa Party, into key
leadership positions. Already in 2004 splits had begun to develop within the Mahdi Army,
providing Iran and Hezbollah with a variety of new splinter groups—at this point more akin to
neighborhood gangs than full-fledged militias—with which they could partner. For some of these
splinter groups, al-Sadr’s decision to align his movement with SCIRI and the Dawa Party under

169      PX689 Nathan Guttman, “U.S. Sources Claim Hezbollah Sending Combatants to Iraq,” Haaretz (Tel Aviv), June 20,
2004.
170        Agence France Presse, “Lebanese Hezbollah Members Detained in Iraq: Minister,” February 9, 2005.
171        Michael Ware, “Inside Iran’s Secret War for Iraq,” Time Magazine, August 15, 2005.
http://content.time.com/time/magazine/article/0,9171,1093747,00.html.
172        PX903 “Iraqi Intelligence Documents 4,” Harmony Document ISGQ-2003-00037289, Combating Terrorism Center,
https://ctc.usma.edu/harmony-program/iraqi-intelligence-documents-4-original-language-2/
173        PX903 “Iraqi Intelligence Documents 4,” Harmony Document ISGQ-2003-00037289.
174        Michael Ware, “Inside Iran’s Secret War for Iraq.”
175        Michael Ware, “Inside Iran’s Secret War in Iraq.”
176        “UK-Iraq Relations,” Joint News Conference with Prime Minister Tony Blair and President Jalal Talabani, CSPAN,
London, October 6, 2005.
177        Multi-National Forces-Iraq, Maj. Gen. Kevin Bergner and Brig. Gen. Michael Walsh, press conference, October 3, 2007.


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the United Iraqi Alliance (UIA) umbrella for the upcoming General Assembly election in
December 2005 was a step too far. Though al-Sadr’s political bloc gained control of key
government ministries and therefore provided new sources of income and patronage, some Mahdi
Army fighters fiercely opposed the movement’s turn to politics. 178
        124. Meanwhile Iran saw in the Mahdi Army splinter groups—later known as the
Special Groups—an opportunity to reproduce the successful Hezbollah model from Lebanon, but
with an eye toward the unique political and social realities in Iraq. 179 Beyond wanting to maintain
plausible deniability for attacks in Iraq, Iranian leaders viewed Iraqi Shia groups as a mechanism
through which they could influence Iraqi politics without arousing fears among Iraqi Shia and
Sunnis alike that Iran, a longtime enemy of Iraq, still held animus and hostile intentions toward
the new Iraqi government. Since direct Iranian support for Shia militants aroused concerns among
Iraqis about Iran’s long-term intentions, Lebanese (Arab) Hezbollah made an attractive proxy for
Iranian support to Shia Iraqi militants. Some 100 Shia militants traveled to Lebanon in December
2005 for military training. “They didn’t teach us anything about suicide bombings, they showed
us real tactics and taught our snipers,” one trainee commented. 180
        125. In early 2006, reports emerged that Imad Mughniyeh himself was seen in Iraq, in
the southern city of Basra, organizing Mahdi Army fighters’ travel to Iran for military training. By
April he had reportedly returned to Lebanon, where his skills were needed planning the July 2006
kidnapping of Israeli soldiers that led to Hezbollah’s war with Israel later that month. By some
accounts this visit was not Mughniyeh’s first in Iraq. One of the many variations of Mughniyeh’s
biography, this one promoted by Iranian military leaders, has him completing three months of
basic training in Iran in the early 1980s and then traveling “with other Lebanese young men to the
Iranian front and [taking] part in several daring operations behind Iraqi lines.” 181
        126. By 2006, American intelligence sources, as well as information gleaned from
interviews with detainees in Iraq, revealed without a doubt that Hezbollah was training members
of the Mahdi Army. A small number of Hezbollah trainers visited Iraq, according to a senior
American intelligence official, but large-scale training for 1,000 to 2,000 Mahdi Army fighters
took place in Lebanon. A midlevel Mahdi Army commander corroborated the U.S. intelligence in
summer 2006, when he conceded that some 300 Mahdi Army fighters were sent to Lebanon,
apparently to fight alongside Hezbollah during the July 2006 war. “They are the best-trained
fighters in the Mahdi Army,” he added. 182 Meanwhile, back in Baghdad, hundreds of armed Shi’a
militants marched in support of Hezbollah during the war with Israel. Heading into weekly Friday
prayers, they chanted, “Here we are, ready for your orders, oh Muqtada and Nasrallah----Woe to
you, Israel! We will strike you!” 183
       127. The fact that the Iraqi trainees traveled to Lebanon through Syria, U.S. officials
added, suggested that at least some Syrian officials were complicit in the training program.
Moreover, Syrian officials reportedly attended meetings together with IRGC-QF chief Qasem

178      Marisa Cochrane, “The Fragmentation of the Sadrist Movement.”
179      Michael Knights, “The Evolution of Iran’s Special Groups in Iraq”; PX617 Andrew Exum, “Comparing and Contrasting
Hizballah and Iraq’s Militias,” PolicyWatch 1197, Washington Institute for Near East Policy (Washington, DC), February 14,
2007.
180      Nizar Latif and Phil Sands, “Mehdi Fighters ‘Trained by Hizbollah in Lebanon,’” Independent (London), August 20,
2007.
181      Alireza Nourizadeh, “Imad Mughniyeh: Hezbollah’s Phantom Killed,” Al Sharq al Awsat, February 15, 2008.
182      Michael R. Gordon and Dexter Filkins, “Hezbollah Said to Help Shiite Army in Iraq.”
183      “Hezbollah-Israeli Fight Stirs Shiite-Sunni Issues,” Seattle Times, July 22, 2006.


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Soleimani and Hezbollah’s Imad Mughniyeh to coordinate means of turning up the heat on U.S.
forces in Iraq. 184 Several months after Mughniyeh’s assassination, a senior Mahdi Army
commander in Baghdad—speaking anonymously because of the sensitivity of what he was about
to reveal—said that Mughniyeh had, in fact, supervised Hezbollah operations in Iraq. 185
        128. In Washington, despite a consensus on the destructive role Iran was playing in Iraq
in late 2006, debates still raged within the U.S. intelligence community over whether Hezbollah
was really on the ground in Iraq and whether the group was training Iraqi militias in Iran, Lebanon,
or both. Testifying before Congress in November 2006, then-CIA director Gen. Michael Hayden
stated, “I’ll admit personally that I have come late to this conclusion, but I have all the zeal of a
convert as to the ill effect that the Iranians are having on the situation in Iraq.” 186
        129. In early 2007, Iran’s political allies in the Iraqi government actually issued a
diplomatic demarche demanding Tehran scale back its support for the Iraqi Shia militias, which
by then were posing a tremendous security risk in the country. Iraqi officials were being killed in
internecine Shia violence, possibly the result of Iran’s apparent decision to intensify Shia militia
activity after Hezbollah’s self-declared victory in its war against Israel. Speaking in January 2007,
Hezbollah chief Hassan Nasrallah told his group’s satellite television station, al-Manar, that “the
American occupation poses a danger to the Iraqi people and to the region.” He was crystal clear
on his means of rectifying the situation: “We support the option of a comprehensive Iraqi
resistance, with all its aspects, especially the military aspect. We believe that the solution in Iraq
begins with adopting the option of armed resistance—jihad against the occupation forces.” 187
Some in the IRGC-QF “sought to replicate [Hezbollah’s self-perceived] victory [against Israel] in
Iraq, opening the floodgates” and providing advanced EFPs and other weapons to a range of Shia
factions. 188 By mid-2007, al-Sadr was no longer coy about his organization’s ties to Hezbollah.
“We have formal links with Hezbollah, we do exchange ideas and discuss the situation facing
Shiites in both countries.... We copy Hezbollah in the way they fight and their tactics, we teach
each other and we are getting better through this.” 189
        130. In seeking to lead from behind and put an Arab face on its efforts, the Islamic
Republic sent a Hezbollah master trainer—Ali Musa Daqduq—to Iran to coordinate the training
program and make periodic visits to Iraq. This use of the Hezbollah leader Daqduq assuaged any
Iraqi unease about working under seemingly aloof and disdainful Iranian operatives. 190 Whereas
Daqduq had been informed back in 2005 that he would be traveling to Iran to work with the IRGC-
QF to train Iraqi extremists, he only went to Tehran in May 2006, accompanied by the Hezbollah
official in charge of Unit 3800 activities in Iraq, Yusef Hashim. In Tehran, Daqduq and Hashim
met with the commander and deputy commander of IRGC-QF special external operations, who
informed them of plans to monitor and report on progress in Iraq. In the year before British Special
Forces captured Daqduq in Basra in late 2007, he made four trips to Iraq. He reported back to the


133       Michael R. Gordon and Dexter Filkins, “Hezbollah Said to Help Shiite Army in Iraq.”
185       Hamza Hendawi and Qassim Abdul-Zahra, “Hezbollah Said to Train Shiite Militiamen in Iraq,” Associated Press, July
1, 2008
186       Michael R. Gordon and Dexter Filkins, “Hezbollah Said to Help Shiite Army in Iraq.”
187       Niles Lathem, “House of Jihad,” New York Post, February 5, 2007.
188       Michael Knights, “The Evolution of Iran’s Special Groups in Iraq.”
189       Nizar Latif and Phil Sands, “Mehdi Fighters ‘Trained by Hizbollah in Lebanon,’” Independent (London), August 20,
2007.
190     Iraqi Shia resented and distrusted their Iranian sponsors and trainers. Hezbollah compensated for Iran’s shortcomings.
See Harmony document IR 012, cited in Felter and Fishman, “Iranian Strategy in Iraq.”


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IRGC-QF on the Special Groups’ use of mortars and rockets, their manufacture and use of
improvised explosive devices (IEDs), and kidnapping operations. His overall instructions were
simple: “He was tasked to organize the Special Groups in ways that mirrored how Hezbollah was
organized in Lebanon.” 191

Promised Day Brigades
        131. In the mid-2000s, some hardline Iraqi Shia militants closely aligned with Iran broke
away from the Sadr movement and created new groups focused on carrying out attacks in
coordination with Iran’s IRGC and Qods Force. U.S.-led coalition forces captioned these hardline
militant groups as “Special Groups.” One of these Special Groups, the Promised Day Brigades
(Liwa al-Youm al-Mawud) was created in 2008 as an offshoot of Muqtada Sadr’s JAM. U.S. and
Iraqi offensives in the spring and summer of 2008 took their toll on JAM. 192 Already in the spring
of 2008, Sadr dispatched delegations to meet with spiritual advisors in Iraq and Iran to discuss the
possibility of disbanding JAM. 193 In November 2008, al-Sadr created the Promised Day Brigade
(PDB) to serve, in the words of a National Defense University study, “as his personal militia”
which would be allowed to continue fighting U.S. and Iraqi troops even after JAM was disbanded
as a militia. 194 In December 2008, a U.S. report documented the arrest of several suspected JAM
militants and the seizure of a weapons cache where U.S. soldiers also found dairies explaining
“why detainee joined JAM and how they traffic materials from Iran.” 195
        132. Stanford University’s “Mapping Militant Organizations” projects explains that the
Promised Day Brigades is one of several Iran-aligned Special Groups. The Promised Day Brigades
“is one of the most prominent of these small, foreign militias, along with Asaib al-Haq (AAH) and
Kataib Hezbollah (KH). The PDB is the successor organization to Shiite cleric Moqtada al-Sadr’s
Mahdi Army that disbanded during 2007-2008 fighting.” 196 Critically, Sadr made clear that his
new militant group, the Promised Day Brigades, would avoid the problems JAM suffered as a
decentralized militia by having a clear chain of command and strict discipline. 197 In practice,
however, Promised Day Brigades members sometimes collaborated with members of other Special
Groups, in particular Kataib Hezbollah and Asa’aib al-Ahl Haq to attack on U.S. forces. 198
       133. The Promised Day Brigades, led by longtime Sadr friend Shaykh Kazim al-Issawi,
became “one of the most effective and dangerous Shia organizations fighting Coalition forces in
Iraq during the period between 2007 and 2011.” 199 A study by the UK think tank Chatham House


191        PX 665 Jim Garamone, “Iran Arming, Training, Directing Terror Groups in Iraq, U.S. Official Says,” American Forces
Press                           Service,                          July                          2,                       2007.
https://www.army.mil/article/3890/iran_arming_training_directing_terror_groups_in_iraq_u_s_official_says.
192        Bill Roggio, “Mahdi Army Decimated During Recent Fighting,” Long War Journal, June 26, 2008,
https://www.longwarjournal.org/archives/2008/06/mahdi_army_decimated.php
193        Lulu Garcia-Navarro, “Sadr Considering Breakup of Mahdi Army Militia,” NPR, April 7, 2008,
https://www.npr.org/templates/story/story.php?storyId=89435765
194        PX692 Phil Williams and Dan Bisbee, “Jaish al-Mahdi in Iraq,” PRISM: The Journal of Complex Operations, National
Defense University, May 24, 2016, https://cco.ndu.edu/News/Article/780108/chapter-2-jaish-al-mahdi-in-iraq/
195        PX686 Michael R. Gordon and Andrew W. Lehren, “Leaked Reports Detail Iran’s Aid for Iraqi Militias,” New York
Times, October 22, 2010, https://www.nytimes.com/2010/10/23/world/middleeast/23iran.html
196        “Promised Day Brigades,” Mapping Militant Organizations, Stanford University, Last update August 27, 2012,
https://web.stanford.edu/group/mappingmilitants/cgi-bin/groups/view/249#cite15
197        PX609 “Jaysh al-Mahdi,” Institute for the Study of War, http://www.understandingwar.org/jaysh-al-mahdi
198        Michael Knights, “The Evolution of Iran’s Special Groups in Iraq,” CTC Sentinel, November 2010,
https://ctc.usma.edu/the-evolution-of-irans-special-groups-in-iraq/
199        Nicholas A. Heras, “Shia Popular Mobilization Units in a Post-Islamic State Iraq: A Look at Peace Brigade Commander


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explains Iran’s control and sway over the Special Group militias, including the Promised Day
Brigades:

         The IRGC leader, Qassim Soleimani, understood how to navigate between the
         competing networks to take advantage of their weak horizontal ties. He designed a
         military structure that interfaced effectively with smaller units across the Sadrist
         network. According to [Special Group leader Qais al-]Khazali, by this stage, Sadrist
         paramilitaries were receiving around $2 million per month from Iranian sources,
         totaling $24 million per year (not including extensive training and other materiel).
         Internal conflict was at times managed through Soleimani’s mediation. 200
       134. According to a RAND Corporation study, “Iran provided the Promised Day
Brigade with significant amounts of funding and training through 2011.” 201 Iran and Sadr have not
always seen eye to eye, but Iran funds the Promised Day Brigades to maintain a measure of
influence over the group. Still, Sadr “is more than willing to accept funding and material support
from the IRGC-QF.” 202 According to the Stanford University Militant Mapping Project, this
support runs into the hundreds of millions of dollars:

         The PDB allegedly receives hundreds of millions of dollars in financial assistance
         from the government of Iran. However, Iran contributes far less to the PDB than it
         does to other Shiite militias. Al-Sadr has intentionally limited Tehran's control over
         the force, primarily for political reasons. Still, Iranian money and weapons continue
         to flow to al-Sadr and the PDB because of a mutual animosity towards the U.S. and
         its policies. 203
         135. The Promised Day Brigades’ ties to Iran run deep. In late 2009, U.S. forces captured
a Promised Day Brigades commander “allegedly tied to PDB leaders operating from safe havens
in Iran.” 204 In its annual report on global terrorism for 2010, the State Department noted that “Iran
continued to fund, train, and provide weapons and ammunition to Shia extremist groups that
carried out attacks against Iraqi and U.S. forces. Although attacks by these groups have decreased,
their Iranian-supported networks continued to operate throughout Iraq’s southern provinces.” The
State Department report reported that Iraqi Security Forces “also carried out operations throughout
southern Iraq and in Baghdad against extremists trained and equipped by Iran, including the
Promised Day Brigade and Kata’ib Hezbollah (Brigades of the Party of God).” 205 The following
year, the U.S. ambassador in Iraq and U.S. military commanders there both pointed to the Promised
Day Brigades, along with other Special Groups, as the groups responsible for a particularly brutal


Shaykh Kazim al-Issawi,” Militant Leadership Monitor, Jamestown Foundation, May 2, 2017, https://jamestown.org/brief/shia-
popular-mobilization-units-post-islamic-state-iraq-look-peace-brigade-commander-shaykh-kazim-al-issawi/
200       Renad Mansour, “Networks of Power: The Popular Mobilization Forces and the State in Iraq,” Chatham House, February
2021, https://www.chathamhouse.org/sites/default/files/2021-02/2021-02-25-networks-of-power-mansour.pdf
201       Richard R. Brennan, Jr., Charles P. Ries, Larry Hanauer, Ben Connable, Terrence K. Kelly, Michael J. McNerney,
Stephanie Young, Jason Campbell, K. Scott McMahon, “Ending the U.S. War in Iraq,” RAND Corporation, 2013,
https://www.rand.org/pubs/research_reports/RR232.html
202       Ibid.
203       “Promised Day Brigades,” Mapping Militant Organizations, Stanford University, Last update August 27, 2012,
https://web.stanford.edu/group/mappingmilitants/cgi-bin/groups/view/249#cite15
204       Bill Roggio, “Iraqi Troops Capture Mahdi Army Military Leader,” Long War Journal, December 9, 2009,
https://www.longwarjournal.org/archives/2009/12/iraqi_troops_capture_1.php
205       PX206 “Country Reports on Terrorism, 2010,” U.S. Department of State, 2011, P 84-85, https://2009-
2017.state.gov/documents/organization/170479.pdf


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series of attacks targeting U.S forces. 206

H. Hezbollah’s Training Program for Iraqi Insurgents
       136. So it was that Hezbollah, at Iran’s behest, helped develop a sophisticated training
program for Shia militants from Iraq. Some training occurred in Iraq, reportedly at the Deir and
Kutaiban Camps east of Basra near the Iranian border. According to statements from detained
Special Groups members, Hezbollah trainers numbered no more than ten at a time. Trainers,
including Daqduq, always kept a low profile and never stayed in Iraq for very long, moving back
and forth across the Iranian border. 207
        137. In Iran, Hezbollah and IRGC-QF instructors ran a well-organized training program
in which Daqduq was directly involved. 208 The outsourcing of training to Hezbollah spoke
volumes for Iran’s regard for the group’s professionalism as terrorist trainers. The use of Hezbollah
also averted Iraqi militants’ complaints about the religious indoctrination included in the Iranian
training programs, which were generally uninspiring and taught by sheikhs who did not speak
Arabic well. 209
        138. According to documents seized by coalition forces, a formal selection process for
prospective trainees considered the needs identified by Special Groups leaders but also set minimal
qualifications for admittance. Candidates had to be able to read and write, for example, but Special
Groups leaders also sought open-minded, strong, mature, and responsible people who
demonstrated acumen for organizational skills and were “not a problem.” 210 The IRGC-QF and its
Hezbollah instructors trained 20 to 60 Iraqis at a time, in sessions generally lasting 20 days. 211
        139. Iraqi militants selected to train in Iran traveled to camps well inside the country
through several well-organized ratlines, a mirror image of those moving weapons into Iraq.
According to the statements of Iraqi detainees, Amara, a city in southeastern Iraq, served as a hub
for the movement of militants into Iran. Iraqi militants flocked to Mahdi Army and Special Groups
safe houses in Amara from the predominantly Shia areas where they were recruited. One Special
Groups militant described the process, as summarized in a U.S. intelligence report:

         When the training travel was ready, [redacted] would call the SG (Special Group)
         areas and have the trainees travel to Amara. The trainees would usually travel by
         taxi, a seven to eight passenger vehicle, to the Baghdad garage in Amara. Once in
         Amara, the trainees would contact [redacted] and inform him of their arrival.
         [Redacted] would arrange to have someone, usually [redacted][,] meet the trainees
         and take them to an Amara SG safe house. [Redacted] would meet the trainees at
         the safe house where he would provide each 100 USD, brief them on their travel
         and what to be aware of, and verify their passports. The trainees would then wait at
         the safe house until [redacted] told them it was time to depart for Iran. The trainees
         would again use taxis, usually seven to eight person vehicles, in their travel to the

206      PX636 Ed O’Keefe and Joby Warrick, “Weapons Prove Iranian Role in Iraq, U.S. Says.” The Washington Post, July 5,
2001,                                https://www.washingtonpost.com/world/war-zones/weapons-prove-iranian-role-in-iraq-us-
says/2011/07/05/gHQAUnkmzH_story.html
207      Hamza Hendawi and Qassim Abdul-Zahra, “Hezbollah Said to Train Shiite Militiamen in Iraq.”
208      Jim Garamone, “Iran Arming, Training, Directing Terror Groups in Iraq, U.S. Official Says.”
209      Harmony document IR 011, cited in Felter and Fishman, “Iranian Strategy in Iraq.”
210      Felter and Fishman, “Iranian Strategy in Iraq.”
211      Jim Garamone, “Iran Arming, Training, Directing Terror Groups in Iraq, U.S. Official Says.”


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        Iranian and Iraqi border. 212
        140. Some trainees reported crossing the border legally, others illegally. Either way,
once across they met Iranian guides who escorted them to safe houses and hotels in the nearby
Iranian border towns of Ahvez and Kermanshah. From there, the IRGC-QF arranged for the
trainees to catch flights to Tehran. Once in Iran’s capital, Special Groups members stayed in
apartments on the city’s outskirts, where preliminary training took place indoors. Trainees also
described riding a bus two or three hours away from Tehran to “military style training complexes
manned by uniformed Iranian soldiers.” 213
         141. Despite the pledges of senior Iranian leaders to cease such support, Defense
Intelligence Agency director Gen. Ronald Burgess told Congress in 2010, “Iran continues to
provide money, weapons and training to select Iraqi Shia militants and terrorists.” In Iran, Gen.
Burgess added, “the Qods Force or Lebanese Hezbollah-led training includes: small arms,
reconnaissance, small unit tactics, and communications.” The training that the IRGC-QF and
Hezbollah provided shed significant light on the kinds of operations Iran sought to see proliferate
in Iraq. In particular, the focus was on providing elite trainees the “training, tactics and technology”
to conduct assassinations and kidnappings and handle IEDs and EFPs. Other training focused on
intelligence and sniper operations. 214
        142. The 20-day basic training course experienced by most trainees covered paramilitary
skills and basic weapons training, including training with mortars, IEDs, and small arms. Among
graduates, a smaller number were selected for a more intense, advanced paramilitary course that
stressed advanced operations and tactics. Trainees in this course were expected to take on
leadership roles, and the topics therefore included logistics and support, weapons employment,
explosives engineering, tactics, and information operations. 215
        143. For an even more select group, the IRGC-QF and Hezbollah offered two additional
programs: a master trainer program and an elite Special Forces course. Given the cost, logistical
barriers, and other risks associated with covertly bringing Iraqis to Iran for training, instituting a
“train the trainer” component to the IRGC-QF/Hezbollah program made sense. Far more trainees
could be reached if Iraqi instructors could offer training courses in Iraq. As one Special Groups
recruiter told a trainee selected for a third round of training in Iran, this time for the master trainer
course, “I want to send you over there because you’re an educated guy, so we’ll send you to Iran
… You’re gonna have some experiences and with this experience you’re gonna pass it to your
friends.” 216 Iran did not want its fingerprints all over the training program, a detained Iraqi militant
later explained, seeking instead to develop an independent Iraqi training program that could not be
traced back to the Islamic Republic. 217
        144. Over the course of 2006-2007, several Special Groups members noted in their
debriefings, 16 operatives made several trips to Iran to take the master trainer course. Four
specialized in EFPs; four in mortars and rockets; four in conventional weapons; and four in tactical
and guerrilla warfare such as booby traps, kidnappings, and attacks on coalition bases and


212     Harmony document IR 007, cited in Felter and Fishman, “Iranian Strategy in Iraq.”
213     Felter and Fishman, “Iranian Strategy in Iraq.”
214     Jim Garamone, “Iran Arming, Training, Directing Terror Groups in Iraq, U.S. Official Says.”
215     Harmony document IR00I, in Felter and Fishman, “Iranian Strategy in Iraq.”
216     Quote from MNF-I debriefing, cited in Felter and Fishman, “Iranian Strategy in Iraq.”
217     Harmony document IR002, cited in Felter and Fishman, “Iranian Strategy in Iraq.”


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convoys. 218 In April 2008, a U.S. senator asked General Petraeus if it would be fair to say that
Iranian-backed Special Groups in Iraq were responsible for killing hundreds of American soldiers
and thousands of Iraqi soldiers and civilians. “It certainly is,” Petraeus answered. 219
        145. As for the Special Forces training, that seems to have been tailored to specific
trainees or specific needs. Some detained militants described a 30-day course that included
swimming, diving, fitness, and driving. Others described a 12-day course focused on tactics and
use of the Iranian-produced Strella antiaircraft missile, courses on advanced sniper skills, and even
the unenviable though critical courses in administration and management. Interestingly, some of
these courses were offered in Lebanon as well as Iran. 220
         146. Some Iraqi Shia traveled through Iran en route to Syria and then Lebanon, where
they were trained by Hezbollah experts. These trainees made their way to Tehran using the same
facilitation networks as those remaining in Iran for training, but then caught flights to Syria and
traveled overland from Damascus International Airport to and across the Lebanese border.
Excerpts from a U.S. intelligence report, which paraphrases a detained Iraqi militant’s description
of his travel to a training camp in Lebanon, document the operational security involved in
transporting the Iraqi Shia militants from the Damascus airport to Lebanon. Upon his arrival in
Damascus on a commercial flight from Iran, the detainee and his fellow Iraqi trainees were met
halfway down the jetway by an unidentified male who collected their tickets and baggage tags.
They were led away from the passenger terminal to the airport operations area, where they boarded
a bus. After driving through farmland, the trainees were instructed to board different vehicles
operated by Lebanese drivers. 221
        147. Some of the Iraqi trainees appear to have been selected for additional training in
Lebanon after completing some training in Iran. In other cases, possibly those of more experienced
fighters, candidates went straight to Lebanon without first training in Iran. Hezbollah and IRGC
instructors both reportedly concurred that the paramilitary training Hezbollah provided in Lebanon
was superior to the training provided in Iran. 222 Whereas most Iraqi trainees appear to have
attended a three- to four-week course focused on management of paramilitary activities, others
attended courses on management of personnel and project planning and still others on advanced
intelligence training, with an emphasis on collecting intelligence on coalition forces in Iraq.
Meanwhile, even as Hezbollah trained Iraqi militants in Lebanon on behalf of the IRGC-QF, the
IRGC-QF continued to operate training camps of its own in Lebanon, where, the head of the
Defense Intelligence Agency testified, it trains Hezbollah operatives “and other fighters.” 223
        148. Wherever they trained, Iraqi militants could never have been as lethally effective
as they were without the $750,000 to $3 million a month in funding and arms they received from
Iran. “Without this support,” U.S. military authorities concluded, “these special groups would be
hard pressed to conduct their operations in Iraq.” 224 Asked the source of the 107-millimeter rockets

218      Harmony documents IR009, IR016, IR013, and IR011, cited in Felter and Fishman, “Iranian Strategy in Iraq.”
219      U.S. Congress, Senate Committee on Armed Services, The Situation in Iraq and Progress by the Government of Iraq in
Meeting Benchmarks and Achieving Reconciliation: Hearing before the Committee on Armed Services, 110th Cong., 2d sess., April
8-10, 2008, Statements of Gen. David H. Petraeus and Ambassador Ryan Crocker.
220      Harmony documents IR004, IR014, IR020, IR002, IR016, cited in Feller and Fishman, “Iranian Strategy in Iraq.”
221      Harmony document IR014, cited in Felter and Fishman, “Iranian Strategy in Iraq.”
222      Harmony documents IR001, IR005, cited in footnote 61 in Felter and Fishman, “Iranian Strategy in Iraq,” p. 64.
223      PX371 U.S. Congress, Senate Committee on Armed Services, Iran’s Military Power: Hearing before the Committee on
Armed Services, 111th Cong., 2d sess., April 14, 2010, Statement of Lt. Gen. Ronald L. Burgess Jr.
224      Jim Garamone, “Iran Arming, Training, Directing Terror Groups in Iraq, U.S. Official Says.”


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Shia insurgents were firing on the Green Zone in Baghdad, General Petraeus replied succinctly,
“They come from Iran.” By early 2008, 107-millimeter rockets were turning up in seized weapons
caches, with 45 found in one cache alone, which also included several thousand pounds of
explosives, all from Iran. Included among detainees who explained the Special Groups’ process to
officials were IRGC-QF operatives and Special Groups leaders and financiers. 225 Speaking in
summer 2008, Iraqi president Jalal Talabani acknowledged that “there have been several
occasions” when Hezbollah operatives or people who “claim to belong to Hezbollah” were
detained in Iraq. Aside from Ali Musa Daqduq, Iraqi military sources noted the April 2008 arrest
of a Hezbollah operative identified only as Faris. 226
        149. As a result of Iran and Hezbollah’s training program, the Special Groups quickly
became one of the most pressing security challenges in Iraq. “Unchecked,” General Petraeus told
the Senate Armed Services Committee in April 2008, “the special groups pose the greatest long-
term threat to the viability of a democratic Iraq.” 227 Over time Hezbollah provided the Iraqi
insurgents “with the training, tactics and technology to conduct kidnappings, small unit tactical
operations, and employ sophisticated improvised explosive devices (IEDs), incorporating lessons
learned from operations in Southern Lebanon,” according to an April 2010 Pentagon report. 228 In
Iraq, Shia militants were now far better trained in the specialized capabilities needed to carry out
daring kidnapping and assassination attacks targeting coalition forces. It would not take long
before Hezbollah operatives would begin directing Iraqi militants in the execution of exactly such
operations.
        150. Hezbollah’s presence and activities in Iraq were a cornerstone of Iran’s strategy for
training Arabic-speaking Iraqi militants, coopting Iraq’s Arab politicians, and muscling in on
Iraq’s economy. As Persian Shia, Iranians themselves were often not as well-placed as their
Lebanese Hezbollah partners to take on these roles. Hezbollah also gave Iran a measure of
reasonable deniability for its actions in Iraq, and drew upon Hezbollah’s extensive training and
experience fighting Israeli forces. Hezbollah also helped Iran perfect the art of deploying
improvised explosive devices (IED’s) and explosive formed penetrators (EFPs), a knowledge-set
Iran was keen to draw upon.

I.    Hezbollah-Directed Attacks Targeting Coalition Forces
        151. A 2009 report on Hezbollah’s IJO (also known as the External Services
Organization, or ESO) by the Australian attorney general is particularly interesting because of its
conclusion that Hezbollah’s activities in Iraq went much further than simply training Iraqi Shia
militants tied to Iran: “Hizballah has established an insurgent capability in Iraq, engaging in
assassinations, kidnappings and bombings. The Hizballah units have been set up with the
encouragement and resources of Iran’s Revolutionary Guards al Qods Brigades. Hizballah has also
established a special training cell known as Unit 3800 (previously known as Unit 2800)


225      U.S. Congress, Senate Committee on Armed Services, The Situation in Iraq and Progress by the Government of Iraq in
Meeting Benchmarks and Achieving Reconciliation: Hearing before the Committee on Armed Services, 110th Cong., 2d sess., April
8-10, 2008, Statements of Gen. David H Petraeus and Ambassador Ryan Crocker.
226      Hamza Hendawi and Qassim Abdul-Zahra, “Hezbollah Said to Train Shiite Militiamen in Iraq.”
227      U.S. Congress, Senate Committee on Armed Services, The Situation in Iraq and Progress by the Government of Iraq in
Meeting Benchmarks and Achieving Reconciliation: Hearing before the Committee on Armed Services,
110th Cong., 2d sess., April 8-10, 2008, Statements of Gen. David H. Petraeus and Ambassador Ryan Crocker.
228      Unclassified Report on Military Power of Iran, Congressionally Directed Action, April 2010, 3.


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specifically to train Shia fighters prior to action in Iraq.” 229 The Australian report provides no
details regarding the assassinations, kidnappings, and bombings it attributes to Hezbollah in Iraq.
But the U.S. military also uncovered evidence, albeit limited, suggesting Hezbollah may have run
operations of its own in Iraq. A U.S. intelligence report includes the assessment of an Iraqi militant
who believed one of his Hezbollah trainers in Iran seemed to have previously been involved in
covert activities in Iraq. Paraphrasing the Iraqi militant’s statement, the intelligence report relayed
the detainee’s information:

         [Redacted] is the Lebanese Hezbollah trainer in charge of the training camp
         [Detainee] attended in Iran. . . . [Detainee] thinks [redacted] has operated in Iraq
         because [redacted] always used to talk about how Iraqi food is not good and how
         the Iraqis do not have good water. [Redacted] would drop hints like this to let the
         trainees know that [redacted] has worked in Iraq. [Redacted] was one of the more
         respectful of the LH [Lebanese Hezbollah] trainers, and appeared to demonstrate
         some knowledge of Iraqi culture. [Redacted] would say things about Iraq in a way
         that let the trainees know that [redacted] has been to Iraq before. There are two
         kinds of LH, the kind you see on television, and the secret underground kind. All
         the trainers in Iran were the secret LH. If [redacted] was in Iraq it would not be for
         a trip, [redacted] would only go to do secret LH work. [Redacted] spoke Iraqi
         dialect very well but it was still apparent that [redacted] was Lebanese. 230
        152. Nor were the Australians and Americans alone in their concern over Hezbollah
operational activities in Iraq targeting their soldiers. British forces had a particular interest in
Hezbollah activity in Iraq, beyond the fact that the area of southern Iraq under their control, and
the city of Basra in particular, was a hotbed of Iraqi Shia extremist activity and a ratline for travel
to training camps in Iran and Lebanon. In particular, while British officials first viewed the
evidence skeptically, they ultimately concluded that “British soldiers were being killed by Shia
special groups at a depressing and, it appeared, rising rate.” 231 Then, on May 29, 2007, Hezbollah-
trained Iraqi militants kidnapped five British citizens in a brazen attack on the Iraqi Ministry of
Finance.
        153. The operation began just before noon that Monday, when a convoy of SUVs of the
type used by the Iraqi government pulled into the compound. In a flash, gunmen wearing Iraqi
police uniforms abducted the five British civilians from the ministry—a technology consultant and
his civilian security guards—without firing a shot. 232 The assault utilized the precise type of
training Hezbollah had already been providing Iraqi Shia militants, so accusations of Hezbollah’s
supervision of the attack by two Iraqi parliamentarians came as little surprise. 233 In time, evidence
emerged strongly indicating that the hostages were quickly secreted across the border into Iran,
where they were held in IRGC-QF facilities, and the four civilian security guards subsequently
executed. 234


229      PX505 Australian Government, Attorney General’s Department, “Hizballah External Security Organisation,” May 16,
2009.
230        Harmony document IR005, cited in Felter and Fishman, “Iranian Strategy in Iraq.”
231        Mark Urban, Task Force Black, p. 214.
232        Damien Cave, “Gunmen in Police Uniforms Kidnap 5 British Civilians,” The New York Times, May 30, 2007. In an
interesting twist, the finance minister at the time was himself a senior SCIRI official and a former Badr Corps commander.
233        Duncan Gardham, “Hizbollah ‘Planned Kidnap of British Workers in Iraq,’” Telegraph (London), July 2, 2008.
234        Mona Mahmoud, Maggie O’Kane, Guy Grandjean, “Revealed: Hand of Iran Behind Britons’ Baghdad Kidnapping,”


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        154. Peter Moore, the British technology consultant, was reportedly targeted—
according to a yearlong investigation by the Guardian newspaper—because he was installing
software specifically engineered to track the billions of dollars in international aid and oil revenue
flowing through Iraqi government coffers. The investigation determined that a vast amount of
international aid was being diverted to Iran’s militant proxies in Iraq, prompting the operatives to
kidnap Moore before the software installation was complete. According to a former IRGC
member, IRGC-QF operatives participated in the raid itself. 235 “This was not a conventional
kidnapping,” an individual involved in the early investigation into the attack commented. “We
were dealing with people who were obviously killers.” The British embassy received a package
with five fingers with a note saying the fingers belonged to the five British hostages, DNA testing
proved the claim untrue, but the case clearly wore on British decision makers. 236 Ultimately Moore
was released after 946 days in captivity in exchange for Qais Khazali, the Shia militant leader who
was detained in the same raid as Hezbollah’s Ali Musa Daqduq.
        155. In July 2008, the British government extended its proscription of Hezbollah’s ESO
(IJO) to include “the military wing of Hezbollah in its entirety, including the Jihad Council and all
units reporting to it including the Hizballah External Security Organisation [ESO].” The
explanatory memorandum to the proscription order, which underpins the action, stressed
Hezbollah’s “provision of training and logistical and financial support to terrorist groups in Iraq
and Palestine.” Prime Minister Gordon Brown emphasized that the broadened proscription order
was issued “solely on the grounds of new evidence of its involvement in terrorism in Iraq and the
occupied Palestinian territories.” 237 Some of that evidence, it appears, centered on operations
directed and supported by Hezbollah targeting British forces and civilians in Iraq, as in the May
2007 attack on the Iraqi Finance Ministry.
        156. Hezbollah had long ago been designated as a terrorist group by the United States, 238
but in October 2007 the Treasury Department designated the IRGC-QF a terrorist group as well.239
Aside from the IRGC-QF’s support to Palestinian terrorist groups and the Taliban, Treasury noted
that the group “provides lethal support in the form of weapons, training, funding, and guidance to
select groups of Iraqi Shi’a militants who target and kill Coalition and Iraqi forces and innocent
Iraqi civilians.” The May 2007 Finance Ministry attack likely ranks among the events that
contributed to the decision to designate the IRGC-QF. But that event did not occur in isolation. It
followed the no-less-daring and bold January 20, 2007, attack on the Provincial Joint Coordination
Center in Karbala and the March 20, 2007, British Special Forces raid that led to the arrest of
Hezbollah operative Ali Musa Daqduq, who directed the attack—along with the Khazali brothers,
who led it—in Basra.



Guardian (London), December 30, 2009.
235       Mona Mahmoud, Maggie O’Kane, Guy Grandjean, “Revealed: Hand of Iran Behind Britons’ Baghdad Kidnapping.”
236       Deborah Haynes, “Peter Moore Went for a Job–And Ended up as a Hostage for 946 Days,” Times (London), December
30, 2009.
237       PX519 Stephen Jones, “The UK Government’s Decision to Proscribe the Military Wing of Hezbollah,” Standard Note
SN/IA/4791 , International Affairs and Defence Section, House of Commons Library, July 10, 2008; PX504 Alexander Home,
“The Terrorism Act 2000: Proscribed Organisations,” Standard Note SN/HA/00815, Home Affairs Section, House of Commons
Library, December 7, 2011.
238       PX23 Foreign Terrorist Organizations, Bureau of Counterterrorism, U.S. Department of State.
https://www.state.gov/j/ct/rls/other/des/123085.htm.
239       Designation of Iranian Entities and Individuals for Proliferation and Support for Terrorism, U.S. Department of the
Treasury, October 25, 2007. https://home.treasury.gov/news/press-releases/hp644.


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J.   The January 20, 2007 Karbala Attack
        157. In the early evening of January 20, 2007, American military officers and their Iraqi
counterparts met at the Provincial Joint Coordination Center (“PJCC”) in Karbala, about 30 miles
south of Baghdad, to coordinate security for the upcoming celebrations of the Shia holiday of
Ashura. 240 It was just after nightfall when a convoy of approximately eight black GMC Suburban
trucks—the preferred vehicles of U.S. government contractors—made their way through the two
southern checkpoints approaching the PJCC. The trucks carried about a dozen English-speaking
men dressed in U.S. military-style fatigues, carrying American-type weapons and fake identity
cards. At the checkpoints, Iraqi Police assumed the convoy was just another U.S. security team. 241
It was not.
        158. The assailants, trained to carry out “terrorist-style kidnappings” by Iran’s IRGC-
QF and Hezbollah, knew exactly where American soldiers would be situated on the compound and
headed directly there. After they entered the compound, the assailants conducted a coordinated
attack on the PJCC’s main building, barracks, and rear gate, while others set off explosives
throughout the compound, damaging three U.S. military Humvees. 242 One soldier was killed and
three wounded as the assailants attempted to storm the Communications room in the main building.
Simultaneously, the assailants stormed the Officers’ Room adjacent to the Communications
room. 243 After grabbing two soldiers and an unclassified U.S. military computer from the Officers’
Room, the assailants captured two more soldiers, and fled the compound. 244 The convoy drove
east, crossing into Babil province, where it was stopped by an Iraqi Police checkpoint. Realizing
that their escape route was compromised, the assailants detoured onto a back road, prompting the
Iraqi Police to pursue the fleeing convoy. The assailants abandoned five SUVs on a backroad near
the town of Mahawil and fled. 245 Not far behind, Iraqi Police caught up with the abandoned
vehicles, where they also found uniforms, boots, radios, a rifle, and the four abducted U.S. soldiers,
only one of them still alive. Two of the soldiers were found in the back of one of the SUVs,
handcuffed and shot dead. A third soldier was found dead on the ground, also shot. Nearby, the
fourth soldier, who had been shot in the head but was alive, was rushed to the hospital but died on
the way there. 246
       159. Just days after the attack, Lt. Col. Scott Bleichwehl, spokesman for Multi-National
Division-Baghdad, said, ‘The precision of the attack, the equipment used and the possible use of
explosives to destroy the military vehicles in the compound suggests that the attack was well
rehearsed prior to execution,” 247 Bleichwehl’s suspicions were confirmed two months later when
Hezbollah senior operative Ali Musa Daqduq and Qais al-Khazali, leader of one of the radical Shia
“Special Groups” that broke away from Muqtada al-Sadr’s Mahdi Army, were captured in
southern Iraq on March 20. 248 Documents captured with al-Khazali showed that the Qods Force


240      U.S. Army Report titled “15-6 Investigation – Attack at the Karbala PJCC – 20 January 2007,” revised February 27,
2007, Findings, p. 3, Ex. B.
241      Id., Findings, p. 1.
242      Id., Findings, p. 5.
243      Id., Findings, pp. 6-7.
244      Id., Findings, p. 7.
245      Id., Findings, pp. 2-3.
246      Id., Findings, pp. 9-10, Exs. A and Q.
247      Steven R. Hurst and Qassim Abdul-Zahra, “Four Troops Abducted, Killed in Iraq Attack.”
248      “U.S. Accuses Hezbollah of Aiding Iran in Iraq,” The New York Times, July 2, 2007; Associated Press, “US Alleges Iran
using Lebanese Hezbollah as ‘Proxy’ in Iraq,” Haaretz (Tel Aviv), January 2, 2007.


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had gathered detailed information on “soldiers’ activities, shift changes and defenses” at the U.S.
base in Karbala, “and this information was shared with the attackers.” 249 One document seized in
the raid in particular caught the attention of U.S. analysts: a 22-page memorandum that “detailed
the planning, preparation, approval process and conduct of the [Karbala] operation,” among
others. 250 Shortly thereafter, the trade magazine Aviation Week & Space Technology reported, U.S.
spy satellites spotted a training center in Iran complete with a mockup of the Karbala PJCC. “The
U.S. believes the discovery indicates Iran was heavily involved in the attack, which relied on a
fake motorcade to gain entrance to the compound. The duplicate layout in Iran allowed attackers
to practice procedures to use at the Iraqi compound, the Defense Department believes.” 251
        160. Indeed, in a March 2007 assessment General Petraeus noted Iran’s hands-on
support to Iraqi Shia extremists, including provision of training for 100 JAM members in Iran who
were then infiltrated back into Iraq for the purpose of targeting Sunnis and attacking a forward
operating base (FOB) in south Baghdad. According to Petraeus, “the five page Qais Khazali sworn
statement, made last week and marked with his fingerprints, is an unequivocal indictment of
Iranian interference. His statement, along with those of his brother and other detainees, provides
incontrovertible evidence that Iran is arming, funding, training, equipping, and advising Shi’a
extremists operating in Iraq.” Petraeus continued, “As Qais asserted, without Iranian funding, JAM
special groups would not be able to function.” 252
       161. Regarding training camps in Iran, Petraeus wrote: “We also received reports this
week of 100 JAM members who had been trained in Iran and have infiltrated back into Iraq, with
the goal of targeting Sunnis and attacking one of the FOBs in south Baghdad. The reports indicate
they received training in sniper operations, explosives, small unit tactics, ambushes, and IED
emplacement.” 253
        162. In time U.S. forces learned that the attack on the Karbala PJCC was commanded
by Sheikh Azhar al-Dulaymi, a Sunni convert to Shia Islam and wanted Iraqi militant tied to Qais
al-Khazali. Al-Dulaymi, the military learned, was trained by Hezbollah operatives near the city of
Qom, Iran, where he learned how to execute military-style, precision kidnappings. The goal was
to kidnap U.S. or British military personnel and take the captives to the Shia stronghold of Sadr
City in Baghdad. 254 Although a tactical success, the Karbala operation was a strategic failure, given
that the goal had been to kidnap, not kill, American soldiers. And in the aftermath of the attack,
coalition forces exposed the extent to which Iranian and Hezbollah agents were involved in
training, equipping, organizing, and in some cases directing Shia militants in Iraq.

K. The Capture of Qais Khazali and Ali Musa Daqduq al-Musawi
        163. In the world of counterinsurgency special operations, the material seized in each
raid feeds the intelligence machine, which churns out further leads and targets. Not only are
suspects detained and questioned, but everything from documents, cell phones, and computers to


249       “U.S. Accuses Hezbollah of Aiding Iran in Iraq,” The New York Times, July 2, 2007.
250       PX374 U.S. Department of Defense, Office of the Assistant Secretary of Defense, “News Briefing with Gen. Petraeus
from the Pentagon,” April 26, 2007.
251       Bill Roggio, “U.S. Finds Karbala PJCC Mockup Inside Iran,” Long War Journal, June 9, 2007.
252       PX942 MNF-I CDR Weekly SECDEF Updates_296 to 313.pdf, document provided by Plaintiffs.
253       PX942 MNF-1 CDR Weekly SECDEF Updates_296 to 313.pdf, document provided by Plaintiffs.
254       Rowan Scarborough, “Iraqi Insurgent Linked to Iran”; James Glanz et al., “The War Logs: Secret Dispatches from the
War in Iraq,” The New York Times.


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receipts, scraps of paper, and other “pocket litter” are seized and culled for actionable intelligence.
It was just such a cycle of executing raids, processing intelligence, and executing more raids that
led British Special Forces to raid a location in Basra, Iraq, looking for the Khazali brothers. This
plus “a lot of exploitation of human intelligence in southern Iraq over a period of eighteen months”
enabled British forces to track militants’ movement along key ratlines and pinpoint key locations
along the way. When specific information surfaced about the Khazalis’ whereabouts, an operation
was quickly crafted to raid their location on the night of March 20, 2007. 255
        164. Members of the British Special Air Service (SAS) G Squadron stormed the Basra
house where intelligence indicated Laith Khazali was located, and they arrested the two
brothers. 256 To the SAS commandos’ surprise, they also encountered a middle-aged man who
appeared to be deaf and mute. The man’s ability to uphold the cover story for several weeks
indicates the professionalism of his counterintelligence and resistance-to-interrogation (R2I)
training. But ultimately, faced with evidence seized at the time of his arrest—including false
identification and documents linking him to Hezbollah—the middle-aged man admitted to being
a Lebanese national and senior Hezbollah operative by the name of Ali Musa Daqduq al-
Musawi. 257
        165. “Someone with a Lebanese background is going to speak with a very specific
Lebanese dialect,” a U.S. military spokesman noted, explaining why Daqduq pretended to be a
deaf mute in an effort to conceal his affiliation with Hezbollah. 258 A central element of R2I training
typically involves teaching operatives that while everyone ultimately breaks down and provides
information under interrogation, the ability to resist providing this information for the first few
days is critical, allowing accomplices time to escape, cover their tracks, and regroup. Daqduq
lasted several weeks before he disclosed his true identity to coalition forces, but the trove of
materials confiscated at his arrest had already led analysts from the Basra raid back to Hezbollah
and the IRGC-QF and straight to a string of attacks targeting British and U.S. forces, including the
attack on the Karbala PJCC.
        166. In early July 2007, Multi-National Forces-Iraq (MNF-I) held a press conference to
announce, among other things, the capture two and a half months earlier of the Khazali brothers
and Ali Musa Daqduq. Aided by PowerPoint slides, the military spokesman described Daqduq as
the commander of a Hezbollah special operations unit who “led Hezbollah operations in large
areas of Lebanon” and had been a “Lebanese Hizballah senior leader since 1983.” 259 As one of the
early members of Hezbollah, founded following the 1982 Israeli invasion of Lebanon, Daqduq, a
member of the Musawi clan, would have had an inside track to Hezbollah’s Special Security
Apparatus, of which the IJO would become a key component. By 2007 Daqduq had served in
several high-level positions, including a stint as the coordinator of Hezbollah chief Hassan
Nasrallah’s security detail. According to several reports, material seized at Daqduq’s arrest led
authorities down a trail that ended at the front door of Imad Mughniyeh, who would be assassinated
seven months after Daqduq’s capture. Although never confirmed, Daqduq may have been a

255       Mark Urban, Task Force Black, p. 224.
256       Mark Urban, Task Force Black, p. 222.
257       PX964 Jim Garamone, “Iran Arming, Training, Directing Terror Groups in Iraq, U.S. Official Says”;
U.S. Military Commission Charge Sheet for Ali Musa Daduq al Musawi, ISN Number 311933, January 3, 2012; Mark Urban, Task
Force Black, pp. 224-225.
258       Jim Garamone, “Iran Arming, Training, Directing Terror Groups in Iraq, U.S. Official Says.”
259       PX300 “Ali Musa Daqduq: False Identification Documents,” slides accompanying press briefing with Brig. Gen. Kevin
Bergner.


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member of Mughniyeh’s inner circle. 260
       167. When Daqduq was captured in Iraq, he held multiple false identity cards but
purported—while still pretending to be deaf and mute—to be an Iraqi named Hamad Mohamed
Jabarah Alami. In some of his false IDs, he appeared wearing a black robe and turban, in others an
open-collar dress shirt. His various ID cards featured his photograph and identified him as an
employee of different Iraqi government agencies, including one for the Council of Ministers and
another for the Ministry of Agriculture. 261 Daqduq, however, was neither an Iraqi citizen nor an
employee of the Iraqi government. Instead “he was in Iraq working as a surrogate for Iranian
Revolutionary Guard Corps Qods Force operatives involved with special groups.” 262
        168. Most damning for Daqduq and the Khazali brothers was the collection of detailed
documents in Daqduq’s possession at the time they were captured. Daqduq, the documents
revealed, was personally involved in violent operations in Iraq. For example, in his personal diary
Daqduq recorded his involvement in a plot to kidnap a British soldier. “The operation is to infiltrate
two brothers to the base to detain a British soldier in the first brigade from the bathrooms by
drugging him,” Daqduq wrote. 263 Daqduq noted meeting with Special Groups operatives who
described the attack, which failed when Iraqi soldiers intervened. This was not the only attack
targeting British forces in which he was involved—other documents refer to attacks on British
bases at the Basra Palace and the Shatt al-Arab Hotel. 264
        169. In another entry Daqduq recorded meeting with Special Groups operatives who
were involved in attacks targeting fellow Iraqis as well as coalition forces in Diyala province with
IED bombings and small arms fire. He wrote about IED bombings in the first person, suggesting
he was either personally involved in the attacks on the ground or, at a minimum, saw himself as
integral to the plot: “Met with the brothers[,] the observers of Diyalah province and I listened
regarding the operations.... We conducted eight explosive charge operations on both sides.” 265
        170. The documents in Daqduq’s possession discussed a variety of attacks targeting
coalition and Iraqi forces, including IED attacks, kidnapping plots, attacks on helicopters, and
small arms assaults. As a master trainer, Daqduq played a hands-on role in preparing Special
Groups operatives to execute attacks. A training manual he carried included very specific, tactical
tips for successful operations. When conducting a rocket attack against a coalition convoy, for
example, militants should (1) “Launch two rockets at the target and the third one for insurance”;
(2) “Shoot the first and second vehicle”; (3) “Each vehicle shoots two rockets (four rockets for
every vehicle)”; (4) “Secure the place using the weapon and shoot visible soldiers”; and (5) “Shoot
single shots and don’t shoot on automatic.” 266
       171. But what most grabbed the attention of senior coalition leadership was an “in-depth
planning and lessons learned document” about the attack on the Karbala PJCC. The document laid

260      Jim Garamone, “Iran Arming, Training, Directing Terror Groups in Iraq, U.S. Official Says.”
261      “Ali Musa Daqduq: False Identification Documents.”
262      Jim Garamone, “Iran Arming, Training, Directing Terror Groups in Iraq, U.S. Official Says.”
263      “Ali Musa Daqduq: Translated Excerpt from Personal Journal,” slides accompanying press briefing with Brig. Gen.
Kevin Bergner.
264      Mark Urban, Task Force Black, p. 225; “Attacks on “Palace” in Basrah,” slides accompanying press briefing with Brig.
Gen. Kevin Bergner.
265      “Ali Musa Daqduq: Translated Excerpt from Personal Journal,” slides accompanying press briefing with Brig. Gen.
Kevin Bergner.
266      “Ali Musa Daqduq: Translated Excerpt from Training Manual He Carried,” slides accompanying press briefing with
Brig. Gen. Kevin Bergner.


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bare the extensive preoperational surveillance, logistical preparation, and tactical drills that were
carried out prior to the attack. Later, Brig. Gen. Bergner noted, both Daqduq and Khazali would
concede “that senior leadership within the Qods Force knew of and supported planning for the
eventual Karbala attack.” 267 According to Bergner, Daqduq contended that “the Iraqi special
groups could not have conducted this complex operation without the support and direction of the
Qods Force.” It was now clear that Qais Khazali had authorized the Karbala operation and Azhar
al-Dulaymi led the assault team. 268 “Dulaymi reportedly obtained his training from Hezbollah
operatives near Qum, Iran, who were under the supervision of Iranian Islamic Revolutionary Guard
Corps Quds Force (IRGC-QF) officers in July 2006,” according to a U.S. government report. After
the Karbala attack, crime scene investigators found Dulaymi’s fingerprints on the getaway car. 269
The role of senior IRGC-QF officials in planning and approving the attack was exposed as well.
In September 2008, the U.S. Treasury Department targeted IRGC-QF deputy commander Abdul
Reza Shahlai for planning Special Groups attacks targeting coalition forces, including the Karbala
attack. 270
        172. In late 2011, as U.S. forces prepared to leave Iraq and detainees under U.S. custody
were turned over to Iraqi authorities, reports emerged that Daqduq—still being held by U.S.
authorities in Iraq as an enemy combatant—stood accused of “organizing” or “masterminding” the
Karbala attack. 271 Indications also suggested a concrete Hezbollah role. For one thing, the Treasury
action targeting IRGC-QF General Shahlai seemed to suggest that his role in the Karbala attack
went through Hezbollah. “As of May 2007,” Treasury noted, “Shahlai served as the final approving
and coordinating authority for all Iran-based Lebanese Hezbollah training for JAM [Jaish al-
Mahdi, or Mahdi Army] special groups to fight coalition forces in Iraq.” In summer 2006, Treasury
added, Shahlai “instructed a senior Lebanese Hezbollah official to coordinate anti-aircraft rocket
training for JAM special groups.” 272 Daqduq, we know from documents seized in his possession,
specialized in just such training. 273 When indicted by the U.S. Office of Military Commissions,
Daqduq was charged of a variety of crimes, including: murder in violation of the law of war,
intentionally causing serious bodily injury, terrorism, material support for terrorism, spying,
attempted murder, attempted hostage taking, and more. 274
        173. Then, in February 2012, the U.S. government went public with news that the
previous month the Obama administration had approved the filing of military commission charges
against Daqduq, who was still in Iraqi custody. The eight-page charge sheet, issued secretly just
days after Daqduq was turned over to Iraqi authorities, provided the basis for his possible
extradition to the United States. According to press reports, Daqduq confessed under interrogation



267      Jim Garamone, “Iran Arming, Training, Directing Terror Groups in Iraq, U.S. Official Says.”
268      Jim Garamone, “Iran Arming, Training, Directing Terror Groups in Iraq, U.S. Official says.”
269      Michael R. Gordon and Andrew W. Lehren, “Leaked Reports Detail Iran’s Aid for Iraqi Militants,” The New York Times,
October 22, 2010. http://www.nytimes.com/2010/10/23/world/middleeast/23iran.html.
270      PX42 U.S. Department of the Treasury, “Treasury Designates Individuals and Entities Fueling Violence in Iraq,”
September 16, 2008.
271      Carrie Johnson, “As Iraq Hostilities End, Fate of Combatant Unclear,” NPR, November 15, 2011; David B. Rivkin Jr.
and Charles D. Stimson, “Obama and the Hezbollah Terrorist,” The Wall Street Journal, December 7, 2011.
272      PX42 U.S. Department of the Treasury, “Treasury Designates Individuals and Entities Fueling Violence in Iraq,”
September 16, 2008.
273      “Ali Musa Daqduq: Documents Found in His Possession,” slides accompanying press briefing with Brig. Gen. Kevin
Bergner.
274      PX939 Military Charge Sheet for Ali Musa Daqduq, provided by Plaintiffs.


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to his role in the Karbala attack. 275 The military charge sheet accused Daqduq of murder, terrorism,
and spying, among other charges, all related to his role in the attack. Not only did it accuse Daqduq
of authoring the planning document for the operation and of maintaining— in both Iraq and Iran—
a video clip of a U.S. soldier kidnapped by insurgents and held by Khazali’s group and another of
various ambush and rocket attacks, it also accused Daqduq of the murders of the five U.S. soldiers
in the attack and the wounding of several more. 276 Whether the charge sheet meant that Daqduq
pulled the trigger or orchestrated the attack was left unsaid. Either way, U.S. authorities maintain
he played a hands-on role in the murder of five American soldiers. In the words of one former CIA
officer, Daqduq is “the worst of the worst. He has American blood on his hands. If released, he’ll
go back to shedding more of it.” 277 In May 2012, an Iraqi court dismissed the terrorism and false
document charges against Daqduq. Six months later, Iraqi authorities freed him and transferred
him to Lebanon. 278
        174. But that was just the picture of one individual. The broader picture, which is all
about Iran, implied a still more disturbing reality in the view of senior military and political
officials. A U.S. military spokesman put it this way: “What we’ve learned from Ali Musa Daqduq,
Qais Khazali and other special groups members in our custody expands our understanding of how
Iranian Revolutionary Guards Corps Qods Force operatives are training, funding and arming the
Iraqi special groups. It shows how Iranian operatives are using Lebanese surrogates to create
Hezbollah-like capabilities and it paints a picture of the level of effort in funding and arming
extremist groups in Iraq.” 279
       175. More disconcerting still, Iran’s increasing willingness to target U.S. interests did
not end at the Iraqi border. In October 2011, both General Shahlai and IRGC-QF commander
Qasem Soleimani were targeted by the Treasury Department once more for their roles in an IRGC-
QF plot to assassinate the Saudi ambassador to Washington, D.C. 280

L. Conclusion
        176. It is my professional opinion based on my professional experience and expertise
that the Iraqi Shia militias, including JAM, and so-called Special Groups like AAH, Kata’ib
Hezbollah and Promised Day Brigades, 281 were provided active guidance, training, intelligence,
and financial and material support by Iran through its IRGC and its proxy Lebanese Hezbollah.
Incidents like the attack on the Karbala PJCC in 2007 were directed by the IRGC and Lebanese
Hezbollah, and thousands of attacks on U.S. and coalition forces were launched between 2004 and
2011 by Iraqi Shia militias with the IRGC’s and Lebanese Hezbollah’s active logistical support.




275      Charlie Savage, “Prisoner in Iraq Tied to Hezbollah Faces U.S. Military Charges,” The New York Times, February 23,
2012.
276        US Military Commission Charge Sheet for Ali Musa Daduq al Musawi, ISN Number 311933, January 3, 2012.
277        Laura Jakes, “Hezbollah Commander Could Be Transferred in Days,” Associated Press, July 20, 2011.
278        PX40 U.S. Department of the Treasury, “Treasury Designates Hizballah Commander Responsible for American Deaths
in Iraq,” November 19, 2012; Thomas Joscelyn and Bill Roggio, “Iraq Frees Hezbollah Commander who Helped Mold Shia Terror
Groups,” Long War Journal, November 16, 2012.
279        Jim Garamone, “Iran Arming, Training, Directing Terror Groups in Iraq, U.S. Official Says.”
280        PX47 U.S. Department of the Treasury, “Treasury Sanctions Five Individuals Tied to Iranian Plot to Assassinate the
Saudi Arabian Ambassador to the United States,” October 11, 2011.
281        After the Mahdi Army nominally disbanded in 2007, it resurfaced as the Promised Day Brigades.


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 EXHIBIT A




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                                            Matthew Levitt, Ph.D.
                      1111 19th Street, NW, suite 500, Washington, DC 20036 * mlevitt@washingtoninstitute.org

Experience:

       The Washington Institute for Near East Policy                                                     Washington, DC
       Fromer-Wexler Fellow
       Director of the Reinhard Program on Counterterrorism & Intelligence                               2007- Present
       • Write, lecture and consult on terrorism, intelligence, the Middle East and U.S. policy

       Georgetown University’s Edmund A. Walsh School of Foreign Service                                 Washington, DC
       Adjunct Professor, Center for Security Studies                                                    Fall 2017
       • Co-teach graduate course entitled “Combating Terrorist Financing”

       Combating Terrorism Center, U.S. Military Academy at West Point
       Instructor, External Education Program                                                             May 2008 – 2013
       • Teach a variety of counterterrorism courses for CTC’s external education program

      Johns Hopkins University, Paul H. Nitze School of Advanced International Studies (SAIS)
      Professorial Lecturer in International Relations – Strategic Studies               Washington, DC
      • Teach graduate course entitled “Combating the Funding of Transnational Threats”  2007 - 2012
      • Teach graduate course entitled “Terrorism: Concepts and Problems”                2004 – 2005

       U.S. Department of State, Special Envoy for Middle East Regional Security                     Washington, DC
       Counterterrorism Advisor (part time, Temporary Government Employee)                           Feb 2008 – April 2009
       • Advise Special Envoy General (ret) James Jones and staff on counterterrorism and intelligence issues
       • Contribute to team’s assessment of Palestinian/Israeli security sector and help draft final report

      U.S. Department of the Treasury                                                           Washington, DC
      Deputy Assistant Secretary for Intelligence and Analysis                                  2005- 2007
      • Senior Executive Service (SES) manager within Terrorism and Financial Intelligence branch
      • Deputy Chief of the Office of Intelligence and Analysis, one of the 16 US intelligence agencies

       The Washington Institute for Near East Policy                                            Washington, DC
       Senior Fellow and Director of Terrorism Studies                                          2001- 2005
       • Direct Terrorism Studies Program; write, lecture and consult on terrorism, the Middle East and U.S. policy

      Johns Hopkins University, Zanvyl Krieger School of Arts and Sciences
      Lecturer                                                                                            Washington, DC
      • Taught graduate course on “Contemporary Terrorism and the American Response”                      Summer 2005

       Federal Bureau of Investigation, International Terrorism Intelligence Unit                        Washington, DC
       Intelligence Research Specialist                                                                  1998 - 2001
       • Provided tactical and strategic analysis in support of FBI counterterrorism operations

       The Washington Institute for Near East Policy                                             Washington, DC
       Soref Fellow                                                                              1998
       • Analyst focused on the Middle East peace process, terrorism and Palestinian politics and society

       The Program on Negotiation at Harvard Law School                                        Cambridge, MA
       Graduate Research Fellow                                                                1997-1998
       • Doctoral fellowship to pursue field research in the Middle East and commence writing of doctoral thesis

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Additional Affiliations:

       •Member, RESOLVE Network Research Advisory Council (March 2019-March 2021)
       • Advisory Board member, Royal United Services Institute for Defence and Security Studies, Centre for Financial
          Crime and Security Studies (August 2017-present)
       • Member, Board of Advisors, Foundation for Defense of Democracies, Center on Economic and Financial Power
          (formerly Center on Sanctions and Illicit Finance) (2015 -present)
       •Contributor, The Hill (2014-present)
       •Contributor, al Hurra (2017-present)
       • Academic Advisory Board Member, Emirati Center for Strategic Studies and Research (ECSSR), Jan 2015-Jan
       2017
       •Associate Fellow, The Henry Jackson Society (2016-2017)
       •Senior Fellow, Homeland Security Policy Institute, The George Washington University (2009-2015)
       •Member, The Council on Foreign Relations (2011-present; Term Member 2005-2010)
       •Associate Fellow, Combating Terrorism Center (CTC) at U.S. Military Academy at West Point (2007-2012)
       •Member, Association for the Study of the Middle East and Africa (ASMEA)
       •Advisory Board Member, Institute for Counter-terrorism (ICT), Israel
       •Advisory Board Member, ICT Working Paper Series, Institute for Counter-terrorism (ICT), Israel
       •Advisory Council Member, International Centre for Political Violence & Terrorism Research (ICPVTR), Singapore
       • Member, Middle East Strategy at Harvard (MESH), John M. Olin Institute for Strategic Studies at Harvard
         University
       • Member, Working Group on “Containing a Nuclear Iran,” Saban Center at the Brookings Institution (2010-2011)
       • Member, Counterterrorism and Intelligence Task Force, Homeland Security Policy Institute, The George
         Washington University (2011)
       • Member, Advisory Committee for production of the Council on Foreign Relations Special Report “Yemen:
         Meeting the Challenge” (2011)
       • Member, Crisis in Middle East Task Force, Saban Center at the Brookings Institution (2008)
       • Member, Council on Foreign Relations Task Force on Terrorist Financing (2005)

Education:
        Tufts University, The Fletcher School of Law and Diplomacy                               Medford, MA
        • Ph.D. in International Relations (Terrorism and Conflict Resolution)                   May 2005
          ~ Passed Ph.D. Oral Exam with Distinction
        • Master of Arts in Law and Diplomacy (M.A.L.D.)                                         May 1995
          ~ Concentrations: Negotiation and Conflict Resolution, International Security Studies, the Middle East
        Yeshiva University                                                                       New York, NY
        • BA cum laude in Political Science                                                      June 1992

Selected Honors/Awards:

    • U.S. Embassy Expert Speaker Grant, U.S. Embassy Berlin, May 2019
    • Certificate of Appreciation, United States Secret Service, 2015
    • Certificate of Recognition, U.S. Departments of Justice and State and the International Institute for Justice and the Rule of
      Law, October 2015
    • U.S. Marine Corps Forces Cyber Command, Letter of Appreciation, April 3, 2013
    •U.S. Department of Justice, Federal Bureau of Investigation, Certificate of Appreciation, March 22, 2103
    •U.S. Department of State “Counter-Terrorism Policy” Speaker Grant (lectures in Germany), January 2010
    •Ministry of Interior, Kingdom of Bahrain, Award Certificate, February 25, 2009


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    •Hamas: Politics, Charity and Terrorism in the Service of Jihad selected as a 2007 Top Seller in Politics and Law as
      compiled by YBP Library Service
    •Hamas: Politics, Charity and Terrorism in the Service of Jihad selected as a 2007 AAUP University Press Book for
      Public and Secondary School Libraries
    •Exceptional Service Award, U.S. Department of the Treasury, January 2007
    •Certificate of Appreciation, United States Central Command Directorate of Intelligence, February 2006
    • Selected by CNN as one of “The 2005 New Guard: Washington’s Next Generation of Newsmakers,” April 2005
    • European Union Visitors Program (EUVP) 2005
    • Certificate of Commendation, U.S. Attorney Office, District of Idaho, Department of Justice, December 2004
    • Visiting Scholar, The Paul H. Nitze School of Advanced International Studies (SAIS), Johns Hopkins University,
      March 2003
    • U.S. Department of State Speaker and Specialist Grant (lectures in Austria), January 2003
    • U.S. Department of State Speaker and Specialist Grant (lectures in Lithuania), April 2002
    • Letter of Commendation from Deputy Assistant Director (3), Federal Bureau of Investigation, July 2000, August
        2000, July 2001
    • Time Off Award (2), Federal Bureau of Investigation, April 2000, April 2001
    • Performance Awards (2), Federal Bureau of Investigation, December 1999, November 2000
    • Special Act or Service Award, Federal Bureau of Investigation, September 1999
    • Graduate Research Fellow, The Program On Negotiation at Harvard Law School, 1997-1998
    • International Security Studies Fellow, International Security Studies Ph.D. Dissertation Fellowship, The Fletcher
      School of Law and Diplomacy, 1996-1997

Court Testimony:
      • Qualified as an expert witness and provided expert testimony in several U.S. federal court criminal proceedings,
        including US v. Mohamed Yousef Hammoud, et al (Western District of North Carolina, June 2002); US v. Fowad
        Assed (Eastern District of New York, March 2003); US v. Fawaz Damrah (Northern District of Ohio, June 2004);
        US v Mohammed Ali Hassan Al Moayad (Eastern District of New York, February 2005); US v Sami Amin Al
        Arian et al (Middle District of Florida, 2005); US v Mousa Abu Marzook et al (Northern District of Illinois,
        Eastern Division, November 2006); US v Holy Land Foundation for Relief and Development et al (Northern
        District of Texas, Dallas Division, July 2007); US v Muhamed Mubayyid et al (District of Massachusetts,
        December 2007); US v Holy Land Foundation for Relief and Development et al (Northern District of Texas,
        Dallas Division, September 2008 retrial); Soussi v. Napolitano et al (Eastern District of California, August 2009);
        US v Mahmoud Reza Banki (Southern District of New York, May 2010); US v Defreitas et al (Eastern District of
        New York, July 2010); US v Vaghari (Eastern District of Pennsylvania, February 2011); Atalla v. USCIS et al
        (District of Arizona, April 2011); US v Ibrahim (Eastern District of New York, May 2011); US v Allouche
        (Western District of Texas, February 2015); US v Tsarnaev, District of Massachusetts, March 2015); US v Abdul
        Khabir Wahid (District of Arizona, February 2019); US v Kourani (Southern District of New York, May 2019)

       • Testified as expert witness in foreign terrorism cases: Denmark v Al Aqsa Foundation et al (Copenhagen City
         Court, Courts of Law of the Kingdom of Denmark, December 2007); CBSP v. S. Samuels (Court of Appeals,
         Paris, France, 2008); Denmark v “Fighters + Lovers,” (Copenhagen City Court, Courts of Law of the Kingdom of
         Denmark, September 2008); HMA v Nasserdine Menni (Scottish High Court of Judiciary, Glasgow, June 12,
         2012); HMA v Yousef Badri (Scottish High Court of Judiciary, Glasgow, September 2015)

       • Served as expert witness in several terrorism-related Immigration Court proceedings in the United States and
        Canada.

       • Served as expert witness in several U.S. civil terrorism cases, including Stanley Boim et al v. Quranic Literacy
         Institute et al (Northern District of Illinois, Eastern Division, December 2004); Gates v. Syria (United States
         District Court for the District of Columbia, January 2008); Amduso v Sudan (United States District Court for the
         District of Columbia, October 2010); Wultz et al v Islamic Republic of Iran et al (United States District Court for

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          the District of Columbia, February 2012); Wyatt v Syria (United States District Court for the District of Columbia,
          August 2012); Linde et al v. Arab Bank (Eastern District of New York, August 2014); Fraenkel v. Iran (United
          States District Court for the District of Columbia, December 2016); Fritz v Iran (United States District Court for
          the District of Columbia, April 2018); Hirshfeld v Iran (United States District Court for the District of Columbia,
          April 2018); Force v Iran (United States District Court for the District of Columbia, October 2018); Karcher v Iran
          (United States District Court for the District of Columbia, December 2018); Sotloff et al v Syria (United States
          District Court for the District of Columbia, June 2020); Henkin v Iran (United States District Court for the District
          of Columbia, January 2021);

      • Provided expert reports in criminal and civil terrorism cases, in U.S. and foreign jurisdictions, related to terrorism,
        weapons proliferation, and Iran sanctions violation cases.

Publications:

Books:

         • Hezbollah: The Global Footprint of Lebanon's 'Party of God’ (Georgetown University Press/Hurst Publishers,
           2013)

           ~Available in Spanish as Hezbola: Las huellas en el mundo del parido de dios (Buenos Aires: Hojas del Sur,
           2015)
         
         • Negotiating under Fire: Preserving Peace Talks in the Face of Terror Attacks (Lanham, MD: Rowman &
           Littlefield, 2008)

         • Hamas: Politics, Charity and Terrorism in the Service of Jihad, (New Haven: Yale University Press, 2006)

          ~ Available in Spanish as Hamas: Politica, Beneficencia Y Terrorismo Al Servicio De La Yihad (Barcelona:
            Belacqva, 2007)

          ~ Available in Polish as Hamas: Polityka, dobroczynność i terroryzm w służbie dżihadu (Krakow: Jagiellonian
           University Press, 2008)

         • The Impact of Acute Security Crises on the Process of Ongoing Negotiations: Lessons from the Palestinian-
           Israeli Peace Process, 1993-1996 (Ph.D. dissertation, The Fletcher School of Law & Diplomacy at Tufts
           University, 2005)

         • Targeting Terror: US Policy toward Middle Eastern Terrorist Groups and State Sponsors in the War on Terror
           (Washington, DC: The Washington Institute for Near East Policy, 2002)


Monographs:

         • “Hezbollah’s Criminal and Terrorist Operations in Europe,” AJC, September 2, 2018, available online at
            https://www.washingtoninstitute.org/policy-analysis/view/hezbollahs-criminal-and-terrorist-operations-in-
            europe

         • “Hezbollah’s International Presence and Operations,” AJC, August 31, 2018, available online at
            https://www.washingtoninstitute.org/policy-analysis/view/hezbollahs-international-presence-and-operations

         • Neither Remaining Nor Expanding: The Decline of the Islamic State, editor, Policy Focus 155 (Washington,
           D.C.: July 2018)

         • Toward a New U.S. Policy in Syria: Ground Zero for Countering Iran and Deterring an Islamic State Revival,

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  contributor (Washington, D.C.: The Washington Institute for Near East Policy, July 2018)

• Defeating Ideologically Inspired Violent Extremism: A Strategy to Build Strong Communities and Protect the
  U.S. Homeland. Report of a Bipartisan Washington Institute Study Group, Transition 2017 Policy for the Trump
  Administration (Washington, D.C.: The Washington Institute for Near East Policy, March 2017)

• Reinforcing the Role of Sanctions in Restraining Iran, with Katherine Bauer and Patrick Clawson, Policy Note 38
  (Washington, D.C.: The Washington Institute for Near East Policy, February 2017)

• The Rise of ISIL: Counterterrorism Lectures 2016, editor, Policy Focus 148 (Washington, D.C.: The Washington
  Institute for Near East Policy, August 2016)

• A History of Hezbollah Activities in the Arabian Gulf Region, Occasional Paper Series #87 (Abu Dhabi: The
  Emirates Center for Strategic Studies and Research, 2016)

• From the Boston Marathon to the Islamic State: Countering Violent Extremism, editor, Policy Focus 139
  (Washington, D.C.: The Washington Institute for Near East Policy, April 2015)

• Hizballah and the Qods Force in Iran’s Shadow War with the West, Policy Focus 123 (Washington, D.C.: The
  Washington Institute for Near East Policy, January 2013)

• Finding a Balance: U.S. Security Interests and the Arab Awakening, editor, (Washington, D.C.: The Washington
  Institute for Near East Policy, May 2012)

• Obama’s National Security Vision: Confronting Transnational Threats with Global Cooperation, editor
  (Washington, DC: The Washington Institute for Near East Policy, October 2010)

• Fighting the Ideological Battle: The Missing Link in U.S. Strategy to Counter Violent Extremism, co-author with
  J. Scott Carpenter, Steven Simon and Juan Zarate (Washington, DC: The Washington Institute for Near East
  Policy, July 2010)

• Continuity and Change: Reshaping the Fight against Terrorism, co-edited with Michael Jacobson (Washington,
  DC: The Washington Institute for Near East Policy, April 2010)

• Deterred but Determined: Salafi-Jihadi Groups in the Palestinian Arena, co-authored with Yoram Cohen and
  Becca Wasser, (Washington, DC: The Washington Institute for Near East Policy, January 2010)

• Combating the Financing of Transnational Threats, co-authored with Michael Jacobson, Emirates Lecture Series
  #76 (Abu Dhabi: The Emirates Center for Strategic Studies and Research, 2009)

• Rewriting the Narrative: An Integrated Strategy for Counterradicalization. Report of the Task Force on
  Confronting the Ideology of Radical Extremism, co-convener and co-author with Michael Jacobson and J. Scott
  Carpenter (Washington, DC: The Washington Institute for Near East Policy, March 2009)

• Countering Transnational Threats: Terrorism, Narco-Trafficking, and WMD Proliferation, co-edited with
  Michael Jacobson (Washington, DC: The Washington Institute for Near East Policy, February 2009)

• The Money Trail: Finding, Following and Freezing Terrorist Finances, co-authored with Michael Jacobson
  (Washington, DC: The Washington Institute for Near East Policy, October 2008)

• Terrorist Threat and U.S. Response: A Changing Landscape, co-edited with Michael Jacobson (Washington, DC:
  The Washington Institute for Near East Policy, September 2008)


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Chapters:

       • “U.S. Financial Interdiction Policies: Results and Intents of the Current U.S. Administration,” in Targeting the
         De-Materialized ‘Caliphate’: Extremism, Radicalisation, and Illegal Trafficking (Rome: NATO Defence College
         Foundation, 2019)

       • “Introduction: Beyond Syria and Iraq,” in Katherine Bauer, Ed., Beyond Syria and Iraq: Examining Islamic State
         Provinces (Washington Institute for Near East Policy, 2016)

       • “Hezbollah’s Criminal Networks: Useful Idiots, Henchmen, and Organized Criminal Facilitators,” in Hilary
         Matfess and Michael Miklaucic, eds., Beyond Convergence: World Without Order (Washington, DC: National
         Defense University, 2016)

       • “Anti-Semitism in the Public and Private Discourse of Hezbollah,” with Kelsey Segawa, in Charles Asher Small,
         editor, “The ISGAP Papers: Antisemitism in Comparative Perspective, vol. 2 (New York: Institute for the Study
         of Global Antisemitism and Policy, 2016)

       • “Hamas’s Not-So-Secret Weapon,” in Clueless in Gaza (New York: Foreign Affairs, 2014)

       • “The Syrian War, Israel, and Hezbollah’s Ideological Crisis,” in Patrick Clawson, Ed., No Good Outcome: How
           Israel Could be Drawn into the Syrian Conflict, Policy Focus 131, The Washington Institute for Near East
           Policy, November 2013

       • “Stemming the Flow of Terrorist Financing: Practical and Conceptual Challenges,” in Naveen Beekarry, Ed.,
           Combating Money Laundering and Terrorism Finance: Past and Current Challenges (Edward Elger
           Publishing, 2013)

       • “Hizballah’s Canadian Procurement Network,” in Terror in the Peaceable Kingdom: Understanding and
           Addressing Violent Extremism in Canada, Daveed Gartenstein-Ross and Senator Linda Frum, Editors
           (Washington, DC: FDD Press, 2012)

       • “Hezbollah,” in Ilan Berman, Chief Editor, World Almanac of Islamism 2011 (Lanham, MD: Rowman &
           Littlefield, 2011)

       • “Financial Sanctions,” in Robin Wright, Editor, The Iran Primer: Power, Politics, and U.S. Policy (Washington,
           DC: U.S. Institute of Peace Press, 2010)

       • “The Evolving Threat of International Terrorism and Government Response,” in Boaz Ganor and Eitan Azani,
           Eds., The Global Impact of Terrorism 2008 (The International Institute for Counter-Terrorism, 2010)

       • “Threat Finance and Counterradicalization,” in Ronald R. Luman, Editor, 2009 Unrestricted Warfare
           Symposium: Proceedings on Integrating Action for Attacks Involving: Terrorism, Resources, Economics and
           Cyberspace (Laurel, Maryland: The Johns Hopkins University Applied Physics Laboratory, 2009)

   •    “Disrupting Adversary Networks,” in Ronald R. Luman, Editor, 2008 Unrestricted Warfare Symposium:
       Proceedings on Integrating Strategy, Analysis, and Technology in Support of the U.S. War on Terrorism Campaign
       (Laurel, Maryland: The Johns Hopkins University Applied Physics Laboratory, 2008)

   •    “Investigacion Y Persecution: Entrevista a Matthew Levitt,” in La Lucha Contra el Terrorismo y Sus Limites
       (Madrid, Spain: Adhara Publicaciones, 2006)

   •   “Hizballah Finances: Funding the Party of God,” in Terrorism Financing and State Responses in Comparative

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       Perspective (Stanford CA: Stanford University Press, 2006), available online at
       http://www.washingtoninstitute.org/templateC06.php?CID=772

   •   “How is the U.S. Targeted Killing of Qassem Soleimani Likely to Affect Hezbollah’s International Activities and
       Operations?” in Battered Survivor: Hezbollah at Home and Abroad, Edited by Bilal Y. Saab, Roundtable Report,
       Middle East Institute, February 2020

   •   “Hamas Social Welfare: In the Service of Terror,” in James JF Forest, editor, The Making of a Terrorist:
       Recruitment, Training, and Root Causes (New York: Praeger Publishers, 2005)

   •   “Hizballah’s Global Reach,” in Boaz Ganor, Editor, Post Modern Terrorism: Trends, Scenarios and Future Threats
       (Herzliya, Israel: The International Policy Institute for Counter-Terrorism, Herliya Project Publishing House, Ltd.,
       2005)

   •   "Iran and Syria: State Sponsorship in the Age of Terror Networks," in Confronting Terrorism Financing (Lanham,
       MD: University Press of America - American Foreign Policy Council, 2004)

   •   Several contributions to Peacewatch/Policywatch Anthology 2003: A Year of Victory and Challenge (Washington,
       DC: The Washington Institute for Near East Policy, 2004)

   •   “International Military Intervention and the Impact of Terrorism,” in Robert B. Satloff, Ed., International Military
       Intervention: A Detour on the Road to Israeli-Palestinian Peace (Washington D.C.: The Washington Institute for
       Near East Policy, 2003)

   •   Winning the Peace in the Middle East: A Bipartisan Blueprint for Postwar U.S. Policy, coauthored with Patrick
       Clawson and David Makovsky and edited by Dennis Ross and Robert Satloff (Washington, DC: The Washington
       Institute for Near East Policy, 2003)

   •   Several contributions to Peacewatch/Policywatch Anthology 2002: America and the Middle East – Expanding
       Threat, Broadening Response (Washington, DC: The Washington Institute for Near East Policy, 2003)

   •   "Iranian State Sponsorship of Terrorism," The Encyclopedia of World Terrorism, 1996-2002, (Armonk, NY: Sharpe
       Reference, 2002), 379-382

   •   Several contributions to Peacewatch/Policywatch Anthology 2001: A Year of Terror (Washington, DC: The
       Washington Institute for Near East Policy, 2002), p. 174, 186, 423

   •   Several contributions to Peacewatch/Policywatch Anthology 1998: Inching Toward Peace, Inching Toward War
       (Washington, DC: The Washington Institute for Near East Policy, 1999), p. 78, 112


Select Testimony/Lectures:

   •   “Recent Trends in Terrorism and Counterterrorism: National Practices in Countering Violent Extremism,”
       presentation to Counter-Terrorism Committee Executive Directorate (CTED), United Nations, November 16, 2017,
       available online at https://www.washingtoninstitute.org/policy-analysis/view/recent-trends-in-terrorism-and-
       counter-terrorism-national-practices-in-coun

   •   “Low Cost, High Impact: Combatting the Financing of Lone-Wolf and Small-Scale Terrorist Attacks,” testimony
       before the House Financial Services Committee on September 6, 2017

   •   “Assessing the U.S.-Qatar Relationship,” testimony before the House Foreign Affairs Committee on July 26, 2017

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•   “Attacking Hezbollah’s Financial Network: Policy Options,” testimony before the House Foreign Affairs
    Committee on June 8, 2017

•   “Terrorist Abuse of Charity in the Age of the Islamic State and the Syria War,” testimony before Senate of Canada,
    National Security and Defence Committee on February 13, 2017

•   “The Islamic State, Extremism, and the Spread of Transnational Terrorism,” testimony before the Senate
    Committee on Foreign relations on April 12, 2016

•   “Hezbollah’s Growing Threat Against U.S. National Security Interests in the Middle East,” testimony before the
    House Foreign Affairs Subcommittee on the Middle East and North Africa on March 22, 2016
•   “Major Beneficiaries of the Iran Deal: IRGC and Hezbollah,” testimony before the House Foreign Affairs
    Subcommittee on the Middle East and North Africa on September 17, 2015

•   “The Implications of Sanctions Relief Under the Iran Agreement,” testimony before the Senate Committee on
    Banking, Housing, and Urban Affairs on August 5, 2015

•   “Status Report on Countering Terrorist Financing,” testimony before the Canadian House of Commons Standing
    Committee on Finance and the Standing Senate Committee on National Security and Defence, May 11, 2015

•   “New Battlefields/Old Laws: The Next Steps in Counterterrorism, Adapting to an Evolving and Expanding
    Battlefield,” Workshop panel at World Summit on Counter-Terrorism, Herzliya, Israel, September 10, 2014

•   “Iran’s Involvement in Local, Regional, and Global Terrorism,” Workshop panel at World Summit on Counter-
    Terrorism, Herzliya, Israel, September 10, 2014

•   “Syria Spillover: The Growing Threat of Terrorism and Sectarianism in the Middle East,” testimony before the
    Senate Foreign Relations Committee, March 6, 2014

•   “Iran’s Support for Terrorism Worldwide,” Testimony before the House Committee on Foreign Affairs
    Subcommittee on Terrorism, Nonproliferation, and Trade, Subcommittee on the Middle East and North Africa,
    March 4, 2014

•   “Examining the State Department’s Report on Iranian Presence in the Western Hemisphere Nineteen Years after the
    AMIA Attack,” Testimony before the House Committee on Foreign Affairs, Subcommittee on the Middle East and
    North Africa and Subcommittee on the Western Hemisphere, Washington DC, August 1, 2013

• “Threat to the Homeland: Iran’s Extending Influence in the Western Hemisphere,” Written Testimony before the
   House Committee on Homeland Security, Subcommittee on Oversight and Management Efficiency, Washington
   DC, July 9, 2013
• “Hearing on the Blacklisting of Hezbollah by the European Union,” Testimony before the Foreign Affairs
   Committee, European Parliament, Brussels, Belgium, July 9, 2013
• “Threat to the Homeland: Iran's Extending Influence in the Western Hemisphere,” written testimony before the
   House Committee on Homeland Security, Subcommittee on Oversight and Management Efficiency, July 9, 2013
• “Iranian Support for Terrorism and Violations of Human Rights,” Testimony before the Standing Committee on
   Foreign Affairs and International Development, International Human Rights Subcommittee, House of Commons,
   Parliament of Canada, May 30, 2013
• “Understanding the Hezbollah and Iranian Attack Strategy: Plots from Bulgaria to Washington, DC,” The
   Washington Institute for Near East Policy, New York City, April 30, 2013



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•   “Hezbollah: The Global Footprint of Lebanon’s Party of God,” U.S. Military Academy at West Point, West Point,
    NY, April 29, 2013

•   “Hezbollah: The Global Footprint of Lebanon’s Party of God,” Alexander Hamilton Center for Political Economy,
    New York University, New York City, April 25, 2013

•   “Hezbollah: The Global Footprint of Lebanon’s Party of God,” Terrorist Screening Center, Virginia, April 24, 2013

•   “Hezbollah and the Qods Force in Iran’s Shadow War with the West,” University of Maryland Hillel, April 20,
    2013

•   “Implications of Recent Developments in the Middle East,” Lecture for J.P. Morgan Investor Seminar, Washington
    DC, April 19, 2013

•   “Contending with Hezbollah Financing,” panelist, Center for a New American Security (CNAS), Washington DC,
    April 17, 2013

•   “Combating Terrorism: Protecting our Communities,” panelist, conference on “European Union and United States
    Law Enforcement Co-operation Making it Safer for Citizens: A global Approach,” An EU Rendez-Vous Event,
    Organized by the Delegation of the European Union to the United States and Europol, Washington, DC, April 16,
    2013

•   “Hezbollah: The Global Footprint of Lebanon’s Party of God,” Terrorism, Transnational Crime, and Corruption
    Center (TraCCC), George Mason University, April 12, 2013

•   “Hezbollah: The Global Footprint of Lebanon’s Party of God,” 4/5th Special Forces Group (Airborne), Fort
    Campbell, Kentucky, April 10, 2013

•   “Hezbollah and the Qods Force in Iran’s Shadow War with the West,” US Marine Corps Forces Cyber Command,
    Fort Meade, Maryland, April 5, 2013

•   “Hezbollah: The Global Footprint of Lebanon’s Party of God,” Inter-University Center for Terrorism Studies,
    Potomac Institute, Arlington, VA, April 4, 2013

•   “What Europe Should Do About Hezbollah,” American Council on Germany and American Friends of Bucerius,
    New York City, April 3, 2013

•   “Hezbollah: The Global Footprint of Lebanon’s Party of God,” DI Speaker Series, Directorate of Intelligence and
    Senior Intelligence Officer Council, Federal Bureau of Investigation, Washington DC, March 22, 2013

•   “Hezbollah’s Strategic Shift: A Global Terrorist Threat,” Testimony before the House Foreign Affairs
    subcommittee on Terrorism, Proliferation and Trade, March 20, 2013

•   “Hezbollah—A Threat for Europe?” The American Academy in Berlin Hans Arnold Center, Germany, March 18,
    2013

•   “Iran’s Nuclear Program: News Paths out of the Deadlock?” Expert Discussion co-sponsored by AJC Berlin and
    the Heinrich Boll Stiftung, Berlin, Germany, March 18, 2013

•   “Hezbollah—A Threat for Europe?” AJC Transatlantic Roundtable, JAC Berlin Ramer Institute, Germany, March
    18, 2013


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•   “Europe’s Hezbollah Problem,” American University of Rome, Italy, March 13, 2013

•   “Closing the Ranks on Iran: The United States, Israel, and Europe,” panel at a conference on “Iran’s Nuclear
    Program: New Paths out of the Deadlock?” Heinrich Boll Stifung and American Jewish Committee, Berlin,
    Germany, March 18, 2013

•   “Hezbollah and the Qods Force in Iran’s Shadow War with the West,” La Societa Italiana per l’Organizzazione
    Internazionale, in collaboration with the American Jewish Committee, Rome, Italy, March 13, 2013

•   “Terror from Tehran: Iran as a Global Threat,” forum lecture, AIPAC Policy Conference, Washington, DC, March
    3, 2012

•   “Inside Hezbollah: A Close Look at a Top Terrorist Organization,” Scholar-in-Residence lecture, AIPAC Policy
    Conference, Washington, DC, March 3, 2012

•   “Europe’s Hezbollah Dilemma: What’s Next?” Foundation for Defense of Democracies, Congressional Meeting
    Room South, Capitol Hill, March 1, 2013

•   “Hezbollah and the Qods Force in Iran’s Shadow War with the West,” George Washington University’s Homeland
    Security Policy Institute, February 14, 2013

•   “Europe’s Hezbollah Problem,” The Washington Institute for Near East Policy, February 8, 2013

•   “The Fatah-Hamas Reconciliation: Threatening Peace Prospects,” Testimony before the US House of
    Representatives, Committee on Foreign Relations, Subcommittee on the Middle East and South Asia, February 5,
    2013

•   “Hezbollah and the Qods Force in Iran’s Shadow War with the West,” Maryland State Antiterrorism Advisory
    Council (ATAC), Howard County, Maryland, January 30, 2013

•   “Hezbollah and Iran,” Lectures for the FBI Fly Team, Northern Virginia, January 11, 2013

•   “From Beirut to the Blue Ridge: Hezbollah’s Reach into North America,” Anti-Defamation League Advanced
    Training School, Extremist and Terrorist Threats Course, Washington DC, December 3, 2012

•   “Hezbollah in Southeast Asia,” Asymmetric Operations Working Group, Hybrid Threat Networks in the Asia
    Pacific Rim, Honolulu, HI, November 28, 2012

•   “Hezbollah: The Global Footprint of Lebanon’s Party of God,” Bureau of Intelligence and Research, U.S.
    Department of State, Washington, DC, November 19, 2012

•   “Is Hezbollah a Threat to the U.S. and Canada?” Lecture at a workshop on “Understanding Hezbollah’s Impact on
    the Security of Canada and the United States,” held jointly by Canadian Security Intelligence Service and Public
    Safety Canada, Ottawa, Canada, November 13, 2012

•   “Hezbollah, the Qods Force, and Iran’s Shadow War Against the West,” UK House of Commons, Henry Jackson
    Society, London, UK, November 7, 2012

•   “Why Hezbollah is Europe’s Problem Too,” A Berlin Middle East Talk by Scholars for Peace in the Middle East
    and the Mideast Freedom Forum Berlin, Berlin, Germany, November 6, 2012


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•   “Why Hezbollah in Europe’s Problem Too,” Concordia Press Club, Stop The Bomb, Vienna, Austria, November 5,
    2012

•   “Crime without Punishment? Stopping Hezbollah’s Terrorist and Criminal Activities, Friedrich-Naumann-Stiftung
    für die Freiheit and Transatlantic Institute, Belgium, Brussels, October 24, 2012

•   “Hezbollah, Qods Force, and the Shadow War against the West,” U.S. Special Operations Command, Tampa, FL,
    October 11, 2012

•   “AQ finance,” conference entitled, Financial Intelligence (FININT) Support to Counterintelligence, The US
    Army 902d Military Intelligence (MI) Group (Gp), Ft. Meade, MD, September 19, 2012

•   “Hezbollah in the Hot Seat: Fallout from the Syrian Insurgency and Criminal Investigations,” Workshop on
    Lebanon and Syria, 12th Annual Global Counterterrorism Conference, Institute for Counter-Terrorism, Herzliya,
    Israel, September 12, 20112

•   “The Changing Political Topography of Shia Militancy in the Gulf and Beyond,” Workshop on Sunni-Shia
    Tensions in Iraq and the Gulf, 12th Annual Global Counterterrorism Conference, Institute for Counter-Terrorism,
    Herzliya, Israel, September 12, 20112

•   “Is al-Qaeda Central Still Relevant?” Moderator and panelist, Washington Institute Policy Forum, September 4,
    2012, Washington DC

•   “Hezbollah and Iran,” Lecture for FBI Counterterrorism Investigation and Operations (CTIOPS) course, Manassas,
    VA., August 15, 2012

•   “Israeli-Palestinian Conflict,” Lecture for FBI Counterterrorism Investigation and Operations (CTIOPS) course,
    Manassas, VA., August 15, 2012

•   “Hezbollah’s Global Footprint,” Lecture for Department of the Treasury, Treasury Executive Institute, Washington
    DC, June 28, 2012
    
•   “Combating Terror Financing,” Lecture for Scottish Police and UK Security Service, Glasgow, Scotland, June 12,
    2012

•   “The Middle East in the Arab Awakening,” Lecture for J.P. Morgan Investor Conference, Washington DC, April
    20, 2012

•   “Hezbollah’s Global Footprint,” Lecture for Tennessee State Office of Homeland Security, Nashville, TN, April 9,
    2012
    
•   “Party of Fraud: Hizballah’s Criminal Enterprises,” Policy Forum panelist, The Washington Institute for Near East
    Policy, Washington DC, March 20, 2012

•   “Iran, Hizballah and the Threat to the Homeland,” Testimony before the House Committee on Homeland Security,
    Washington DC, March 21, 2012
    


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•   “Combating the Financing of Transnational Threats,” Week long course taught for the Counter-Terrorism Studies
    Program, Executive Certificate Program at the Interdisciplinary Center (IDC), Herzliya, Israel, February 14-17,
    2012
    
•   “Iranian Terror Co-Chair of Roundtable Expert Meeting on “Rehabilitation and Reintegration of Violent Extremist
    Offender: Good Practices & Lessons Learned,” co-sponsored by the International Centre for Counter-Terrorism –
    The Hague (ICCT) and the UN Interregional Crime and Justice Research Institute (UNICRI), The Hague,
    December 6-7, 2011

•   “Iranian Terror Operations on American Soil,” Testimony before a joint hearing of the House Homeland Security
    Subcommittee on Counterterrorism and Intelligence and Subcommittee on Oversight, Investigations, and
    Management, Washington DC, October 26, 2011

•   "September Reflections: Where We Stand Countering Terrorism and Pursuing Peace,” New York University
    SHARP Lecture Series, New York City, September 20, 2011

•   “Countering Terror Finance a Decade after 9/11,” Workshop presentation at the 11th Annual Global
    Counterterrorism Conference, Institute for Counter-Terrorism, Herzliya, Israel, September 13, 2011

•   “Hamas and Hezbollah as Hybrid Terrorist Organizations,” Workshop presentation at the 11th Annual Global
    Counterterrorism Conference, Institute for Counter-Terrorism, Herzliya, Israel, September 13, 2011

•   “Missing the Forest for the Trees: A Call for Strategic Counterterrorism Ten Years after 9/11,” Plenary Keynote
    Lecture at the 11th Annual Global Counterterrorism Conference, Institute for Counter-Terrorism, Herzliya, Israel,
    September 12, 2011

•   "Hamas Financing,” Mid-Atlantic Regional Intelligence Group (MARIG), Federal Bureau of Investigation,
    Washington, DC, August 3, 2011

•   "Terrorism in and from the Middle East,” Security Policy Course on the Middle East, Royal Danish Defence
    College, Denmark, June 22, 2011

•   "Leveraging Financial Intelligence to Combat Transnational Threats,” Program on Terrorism and Security Studies,
    George C. Marshall European Center for Security Studies, Garmsich, Germany, July 13, 2011

•   "Drivers of Homegrown Terrorism,” panelist, at “Leading Thinkers” conference on “Terrorism in Canada: Threats,
    Vulnerabilities, and Strategies,” Foundation for Defense of Democracies, Ottawa, Canada, June 12-13, 2011

•   “Upstream Prevention and Downstream Disengagement, Rehabilitation and Reintegration,” United Nations
    Interregional Crime and Justice Research Institute (UNICRI), Center on Polici9es to Counter the Appeal of
    Terrorism, Chairman of three afternoon panels on upstream prevention, Lucca, Italy, May 24-26, 2001

•   “Combating Terror Financing,” Comprehensive Security Response to Terrorism Course, Asia-Pacific Center for
    Security Studies (APCSS), Honolulu, Hawaii, March 16, 2011

•   “Responding to Radicalization and Violent Extremism,” panel moderator, “At the Crossroads of Violent Extremism
    and Foreign Directed Domestic Threats: Homeland Implications,” conference cosponsored by the Department of
    Homeland Security, Federal Bureau of Investigation and hosted by the Office of the Director of National

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    Intelligence, Washington, DC, February 17, 2001

•   “Combating Violent Extremism: The Counterradicalization Debate in 2011,” panel participant, The Washington
    Institute for Near East Policy, January 5, 2011

•   “The Unifying Narrative in Domestic Radicalization,” Panel chair at Colloquium on “Countering the Narrative: The
    Role of Ideology in the Radicalization Process,” The Washington Institute for Near East Policy, Washington, DC,
    November 19, 2010

•   Roundtable discussion on Counterterrorism, Lowy Institute, Sydney, Australia, November 9, 2010

•   “Challenges and Opportunities in Financial Intelligence,” Australian Transaction Reports and Analysis Center
    (AUSTRAC), Intelligence Branch, Sydney, Australia, November 8, 2010

•   Roundtable discussion on Counterterrorism, Menzies Research Center, Sydney, Australia, November 8, 2010

•   “International Terrorism Today: What we Need to Know,” Australian Institute of International Affairs (AIIA),
    Melbourne, Australia, November 4, 2010

•   Roundtable discussion on Counterterrorism and Counterproliferation at Office of National Assessments, Canberra,
    Australia, November 2, 2010

•   “Combating Terror Finance,” lecture at the Australian Federal Police (AFP) Advanced Counter Terrorism
    Investigations Program, Canberra, Australia, November 2, 2010

•   “Glocalization of the Global Jihad,” panel chair at Counterterrorim Colloquium on “Unconventional Warfare:
    Lessons for U.S. and Israeli Policy,” The Washington Institute for Near East Policy, Washington, DC, October 29,
    2010

•   “What Policymakers can Learn from Palestinian Social Media,” Discussant, Foundation for Defense of
    Democracies, Washington DC, October 19, 2010

•   “Terrorism Networks” breakout panel at by-invitation-only conference on “Cutting the Fuse: Moving Beyond the
    War on Terror,” New America Foundation and The University of Chicago, Washington DC, October 13, 2010

•   “Combating Terror Financing,” Comprehensive Security Response to Terrorism Course 10-1, Asia-Pacific Center
    for Security Studies (APCSS), Honolulu, Hawaii, July 28 2010

•   “Disrupting the Flow of Funds to Terrorist Groups and their Supporters: How The Justice Against Sponsors of
    Terrorism Act Could Help,” written testimony submitted to the Senate Committee on the Judiciary, Subcommittee
    on Crime and Drugs, Hearing entitled “Evaluating The Justice Against Sponsors of Terrorism Act, S. 2930,” July
    14, 2010
•   “The Changing Face of Jihadi Terror: Lessons from the Near Miss in Times Square,” panel with Juan Zarate and
    Dan Freedman, Washington Institute Lafer Symposium, New York City, June 14, 2010

•   “Hezbollah and Hamas South of the Border: Terrorist Networks in Latin America,” lecture at event on “Terrorists,
    Drug Traffickers and Gangs in Latin America: Undermining Democracy,” The Hudson Institute, Washington, DC,
    Jun3 9, 2010

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•   “Combining Broad and Targeted Sanctions, Informal and Formal Sanctions,” Washington Institute Colloquium
    “One Year After June 12: The Iranian Nuclear Impasse,” Washington DC, June 3, 2010

•   “Combating Terror Finance,” Baltimore Joint Terrorism Task Force, Baltimore, MD, June 1, 2010

•   “Anti-Money Laundering: Blocking Terrorist Financing and Its Impact on Lawful Charities,” testimony before the
    House of Representatives Committee on Financial Services Subcommittee on Oversight and Investigations, May
    26, 2010

•   “Challenges for U.S. Policy in the War on Terror,” ADL National Leadership Conference, Washington DC, May 3,
    2010

•   “Rewriting the Narrative: An Integrated Approach for Counterradicalization,” Los Angeles Joint Regional
    Intelligence Center, Los Angeles, CA, May 11, 2010

•   “Combating Terrorist Financing,” Los Angeles Joint Regional Intelligence Center, Los Angeles, CA, May 11, 2010

•   “Rewriting the Narrative: An Integrated Approach for Counterradicalization,” National Security Management
    Course, National Security Studies Program, Maxwell School of Citizenship and Public Affairs, Syracuse
    University, April 29, 2010

•   “Iran’s Economic Health and the Impact of Sanctions,” panelist at Carnegie Endowment for International Peace,
    Washington, D.C., April 27, 2010

•   “A Strategic Approach to Counter-Radicalisation,” Henry Jackson Society and Legatum Institute, London, UK,
    April 15, 2010

•   “Combating Terrorist Financing,” Counterterror Expo 2010,” London, UK, April 15, 2010

•   “Contending with Transnational Threats,” Counterterror Expo 2010,” London, UK, April 15, 2010

•   “Counter Threat Finance Intelligence: What It Can and Cannot Do for Mission Success in Afghanistan,” lecture at a
    DOD/USDI-sponsored “Symposium on Counter-Threat Finance Intelligence and Why It Is Critical to Mission
    Success in Afghanistan,” The Pentagon, Arlington, VA, February 1, 2010

•   “The Obama Administration and Counterterrorism: A New Approach?” Parlor meeting lecture and discussion
    hosted by U.S. Consul General to Dusseldorf, Dusseldorf, Germany, January 27, 2010

•   “Combating Terrorist Financing,” Bundeskriminalamt (BKA), Meckenheim, Germany, January 27, 2010

•   “The Obama Administration and Counterterrorism: A New Approach?” German Landeskriminalamt (LKA)
    Nordrhein-Westfalen, Dusseldorf, Germany, January 26, 2010

•   “Finding and Following Terrorist Financial Networks - Challenges faced by Financial Intelligence Units,” Financial
    Transactions and Reports Analysis Centre of Canada (FINTRAC), Ottawa, Canada, January 12, 2010



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•   “Hizballah Financing and Resourcing,” Financial Transactions and Reports Analysis Centre of Canada
    (FINTRAC), Ottawa, Canada, January 12, 2010

•   “Finding and Following Terrorist Financial Networks - Challenges faced by the Intelligence Community,”
    Canadian Security Intelligence Service (CSIS), Ottawa, Canada, January 12, 2010

•   “Terrorism, Crime and the Narco-Terror Connection,” Canadian Security Intelligence Service (CSIS), Ottawa,
    Canada, January 12, 2010

•   “Al Qaeda in the West Bank and Gaza: One Year After Cast Lead” The Washington Institute for Near East Policy,
    Washington DC, January 11, 2010

•   “Combating the Financing of Transnational Threats,” Seminar organized by Booz Allen Hamilton, December 16,
    2009

•   “The Threat of Islamist Terrorism: Have We Become Complacent?” The Heritage Foundation, Washington DC,
    December 14, 2009

•   “The Financing of Terrorist Organizations,” American Institute for Contemporary German Studies (AICGS)
    workshop, Potsdam, Germany, December 7, 2009

•   “Can Sanctions Work Against Iran?” Indiana University, Bloomington, Indiana, November 30, 2009

•   “Contending with Iran’s Proxies,” University of Maryland, November 18, 2009

•   “Multilateral Issues in Combating Terror Finance,” Comments to US-EU Troika meeting, US State Department,
    Washington DC, November 17, 2009

•   “The Muslim Brotherhood,” and “Hamas,” and “Global Jihadist Movements,” New Agent Training Lectures at FBI
    Academy, Quantico, VA, November 12, 2009

•   “Hizballah,” lecture at conference on “Israel’s Counterterrorism Challenges and Implications for the United States,”
    Center for Peace and Security Studies, Edmund A. Walsh School of Foreign Service, Georgetown University (co-
    sponsored by NCTC), Washington DC, September 23, 2009

•   “Terrorist Financing: A Look Inside,” panel lecture organized by the ABA Section of International Law
    International Anti-Money Laundering Committee and the Association of Certified Anti-Money Laundering
    Specialists, Washington DC, September 23, 2009

•   “Contending “FININT 101: Introduction to Financial Intelligence,” Seminar organized by Booz Allen Hamilton,
    September 21, 2009

•   “Contending with Iran’s State Sponsorship of Terrorism in the Context of its Nuclear Program,” World Summit on
    Counter-Terrorism: Terrorism’s Global Impact, International Institute for Counter-Terrorism (ICT) 9th Annual
    International Conference, Herzliya, Israel, September 7, 2009

•   “Minimizing Potential Threats from Iran: Assessing Economic Sanctions and Other U.S. Policy Options,”
    Testimony before Senate Committee on Banking, Housing and Urban Affairs, U.S. Senate, July 30, 2009

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•   “Disrupting Adversary Networks: Combating Terror Finance,” George C Marshal Center, Garmisch, Germany, July
    16, 2009

•   “Minimizing Potential Threats from Iran: Assessing Economic Sanctions and Other U.S. Policy Options,”
    Testimony before Senate Committee on Banking, Housing and Urban Affairs, U.S. Senate, July 30, 2009

•   “Contending with Iran’s State Sponsorship of Terrorism in the Context of its Nuclear Program,” World Summit on
    Counter-Terrorism: Terrorism’s Global Impact, International Institute for Counter-Terrorism (ICT) 9th Annual
    International Conference, Herzliya, Israel, September 7, 2009

•   “FININT 101: Introduction to Financial Intelligence,” Seminar organized by Booz Allen Hamilton, September 21,
    2009

•   “Terrorist Financing: A Look Inside,” panel lecture organized by the ABA Section of International Law
    International Anti-Money Laundering Committee and the Association of Certified Anti-Money Laundering
    Specialists, Washington DC, September 23, 2009

•   “Hizballah,” lecture at conference on “Israel’s Counterterrorism Challenges and Implications for the United States,”
    Center for Peace and Security Studies, Edmund A. Walsh School of Foreign Service, Georgetown University (co-
    sponsored by NCTC), Washington DC, September 23, 2009

•   “Foreign Fighters and their Economic Impact: A Case Study of Syria and al Qaeda in Iraq (AQI),” Foreign Policy
    Research Institute conference, Washington DC, July 14, 2009

•   “Rewriting the Narrative: An Integrated Strategy for Counterradicalization,” HSPI Policy and Research Forum,
    Homeland Security Policy Institute, George Washington University, Washington DC, June 4, 2009

•   “Rewriting the Narrative: An Integrated Strategy for Counterradicalization,” Luncheon Briefing at the Transatlantic
    Institute, Brussels, Belgium, April 2, 2009

•   “Rewriting the Narrative: An Integrated Strategy for Counterradicalization,” Danish Institute for International
    Studies (DIIS), Copenhagen, Denmark, April 1, 2009

•   “The Money Trail: Finding, Following and Freezing Terrorism Finances,” with Michael Jacobson, Bi-partisan
    Anti-Terrorism Caucus Briefing, Cannon House Office Building, March 12, 2009

•   “Terror Finance: The Imperative of Interagency Synergy,” testimony before the House Committee on Armed
    Services Subcommittee on Terrorism and Unconventional Threats and Capabilities, March 11, 2009, available
    online at http://www.washingtoninstitute.org/templateC07.php?CID=449

•   “Internationalizing the Financial Flight against Terror Finance,” lecture at the George C. Marshall Center,
    Garmisch, Germany, March 4, 2009

•   “Dealing with Hamas: Future Pathways for Britain,” lecture at the Quilliam Foundation, London, March 3, 2009

•   “Fixing Fissures: What Role for the United States in the World – the Case of the Middle East,” lecture for Young
    Professionals in Foreign Policy (London), co-sponsored by the U.S. Embassy London, March 2, 2009

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•   “Scaling Back the ‘Long War’? How Obama will Combat Terrorism,” lecture at the International Institute for
    Strategic Studies, London, March 2, 2009

•   “Reforming U.S. Counter-Terrorism Assistance Programs,” Hill briefing sponsored by the Potomac Institute for
    Policy Studies, Rayburn House Office Building, February 12, 2009

•   “The Money Trail: Finding, Following and Freezing Terrorism Finances,” with Michael Jacobson, National
    Counterterrorism Center Lunch and Learn Distinguished Speakers Series, January 26, 2009

•   “What Next in Gaza?” Congressional Staff Briefing for the Democratic Israel Working Group, Rayburn House
    Office Building, Washington, DC, January 16, 2009
    
•   “Negotiating Under Fire,” Center for Peace and Security Studies, School of Foreign Service, Georgetown
    University, Washington, DC, January 15, 2009

•   “The Money Trail: Finding, Following and Freezing Terrorist Finances,” Woodrow Wilson International Center for
    Scholars, Council on Global Terrorism, Washington, DC, January 13, 2009

•   “Crime-Terror Nexus: Illicit Networks, Terrorism, Insurgency and WMD Proliferation,” National Defense
    University’s Near East/South Asia Center, Washington, D.C., December 5, 2008

•   “Combating the Ideology of Radical Jihadism,” The Washington Institute for Near East Policy, Los Angeles,
    November 25, 2008

•   “The Money Trail: Finding, Freezing and Following Terrorist Financing,” with Michael Jacobson, The Washington
    Institute for Near East Policy, November 17, 2008

•   “Iran, Hamas and the Palestinians,” panel at conference on ‘Iran, Hezbollah and Hamas: Tehran’s War against the
    West by Proxy?” Hudson Institute, Washington, D.C., November 19, 2008

•   “Negotiating Under Fire,” The Program on Negotiation at Harvard Law School, Cambridge, MA, November 12,
    2008

•   “The Money Trail: Finding, Freezing and Following Terrorist Financing,” The International Security Studies
    Program at Tufts University’s Fletcher School of Law and Diplomacy, Medford, MA, November 13, 2008

•   “The Utility of Targeted Financial Measures to Deal with Iran,” Brandeis University’s Crown Center for Middle
    East Studies, Waltham, MA, November 13, 2008

•   “The Money Trail: Finding, Freezing and Following Terrorist Financing,” with Michael Jacobson, The Washington
    Institute for Near East Policy, November 17, 2008

•   “Iran, Hamas and the Palestinians,” panel at conference on ‘Iran, Hezbollah and Hamas: Tehran’s War against the
    West by Proxy?” Hudson Institute, Washington, D.C., November 19, 2008

•   “Combating the Ideology of Radical Jihadism,” The Washington Institute for Near East Policy, Los Angeles,


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    November 25, 2008

•   “Crime-Terror Nexus: Illicit Networks, Terrorism, Insurgency and WMD Proliferation,” National Defense
    University’s Near East/South Asia Center, Washington, D.C., December 5, 2008
    
•   “Opportunities for the Next Administration: Targeting Terrorist Finances,” Homeland Security Policy Institute at
    The George Washington University, October 7, 2008
    
•   “The Evolving Threat of International Terrorism and the U.S. Government Response,” Plenary Address at the
    World Summit on Counter-Terrorism: Terrorism’s Global Impact, The International Institute for Counter-
    Terrorism, Herzliya, Israel, September 9, 2008

•   “The Terrorism-Crime Nexus,” lecture at The Combating Terrorism Center at West Point, U.S. Military Academy,
    April 24, 2008
    
•   "Iran and the United States: Outlook for the Next Decade?" Rayburn House Office Building, co-sponsored by the
    Counterterrorism Foundation; the Inter-University Center for Terrorism Studies, the International Center for
    Terrorism Studies at the Potomac Institute for Policy Studies, and the Inter-University Center for Legal Studies at
    the International Law Institute, Washington DC, April 15, 2002
    
•   2008 Unrestricted Warfare Symposium on Integrating Strategy, Analysis, and Technology in Support of the U.S.
    War on Terrorism Campaign, roundtable on “Disrupting Adversary Networks,” Johns Hopkins University, Applied
    Physics Laboratory, Laurel, Maryland, March 10-11, 2008
    
•   “Practical and Conceptual Challenges to Counter the Financing of Terrorism,” NYPD Financial Intelligence
    Workshop, New York, March 6, 2008
    
•   “Targeted Financial Measures to Protect National Security,” Treasury Legal Division annual conference, U.S. Mint,
    Washington, DC, February 29, 2008
    
•   Panel on “Perspectives on the Long War,” Marine Corps Command and Staff College, Quantico, Virginia, February
    26, 2008
    
•   “The “Israel, the Palestinian Territories, and the Peace Process: Domestic, Regional and International
    Perspectives,” A Workshop Sponsored by the U.S. intelligence community, CENTRA Technology, Inc., Arlington,
    Virginia, February 6, 2008
    
•   “The Future of Palestinian Terrorism,” A Workshop Sponsored by the U.S. intelligence community, CENTRA
    Technology, Inc., Arlington, Virginia, January 8-9, 2008
    
•   “National Finance and Global Security: Status Check on the Effort to Combat Terror Financing,” Carnegie
    Council, New York City, November 29, 2007

•   “Combating Terror Financing,” 2nd Annual Anti-Money Laundering & Counter-Terrorist Financing Forum, New
    York City, November 28, 2007

•   “Hamas: Politics, Charity and Terrorism in the Service of Jihad,” American Council on Germany, New York City,

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    November 27, 2007

•   “Combating Terror Financing,” Department of Justice Executive Law Enforcement Summit, Lake Tahoe,
    California, November 5, 2007

•   Moderator, “Homegrown Radicalism in the United States,” The Washington Institute for Near East Policy's annual
    Weinberg Founder's Conference, October 19-21, 2007, Leesburg, Virginia.

•   “Combating the Financing of Transnational Threats,” Anti-Terrorism Caucus, U.S. House of Representatives,
    Washington, D.C., October 23, 2007

•   Moderate session with Under Secretary of the Treasury Stuart Levey on “Iran Sanctions: Where We are and Where
    We are Going,” Radio Free Europe / Radio Liberty, Washington DC, October 16, 2007

•   Chair panel on “Security in the West Bank” at a conference entitled “Whither the Palestinians? Politics and Policy
    at a Time of Crisis,” The Washington Institute for Near East Policy, July 30, 2007

•   “Adding Hezbollah to the EU Terrorism List,” written testimony before the Committee on Foreign Affairs,
    Subcommittee on Europe, United States House of Representatives, June 20, 2007, available online at
    http://www.washingtoninstitute.org/templateC14.php?CID=352

•   Speaker on panel on “The Levant, Maghreb and Sub-Saharan Africa,” International Terrorism and Intelligence
    2007 (ITI 2007) Conference, hosted by the University of St. Andrews Centre for the Study of Terrorism and
    Political, Washington DC, June 13, 2007

•   “Understanding the Threat: Contemporary Terrorism and the American Response,” Anti Defamation League (ADL)
    Advanced Training School, June 11, 2007, Washington, D.C.

•   “Terror Financing: New Trends and Developments,” Training Day on Counterterrorism, German Ministry of
    Foreign Affairs, Berlin, German, June 7, 2007

•   “Internationalizing the Financial Fight against Terrorism,” George C. Marshall European Center for Security
    Studies in Garmisch, Germany, June 6, 2007

•   Panelist at session on “Policy Options” at a workshop on “Confronting the Iranian Threat: The Way Forward.
    What We Know and what to Do.” Foundation for Defense of Democracies, Freeport, Bahamas, May 30 – June 1,
    2007

•   “Financial Tools to Combat the Evolving Terrorist Threat,” with Michael Jacobson, Soref Symposium, The
    Washington Institute for Near East Policy, Washington, DC, May 10, 2007

•   “State Sponsorship of Terrorism in the Age of Binladenism,” National Security Management Course, Maxwell
    School of Citizenship and Public Affairs, Syracuse University, May 8, 2007

•   “Confronting the Iranian Threat,” Anti-Defamation League Leadership Conference, Washington DC, April 30,
    2007

•   “Power of the Purse: Combating Terror Finance,” seminar sponsored by Eden Intelligence at the Royal College of


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    Defense Studies, Seaford House, Belford Square, London, England, April 26, 2007

•   “Hamas: Politics, Charity and Jihad,” Chatham House, Middle East Programme Roundtable Meeting, London,
    England, April 25, 2007, audio of lecture available online at

•   “Can Sanctions and Financial Restrictions Avoid a Showdown with Iran?” Transatlantic Institute Roundtable
    Discussion at the Residence Palace, Brussels, Belgium, April 24, 2007

•   “Hamas: Politics, Charity and Terrorism in the Service of Jihad,” Transatlantic Institute Roundtable Discussion,
    Brussels, Belgium, April 23, 2007

•   “Pulling Tehran's Purse Stings: Leveraging Sanctions and Market Forces to Alter Iranian Behavior,” testimony
    before the House of Representatives Committee on Foreign Affairs Subcommittee on Terrorism, Nonproliferation
    and Trade and Subcommittee on the Middle East and Central Asia, March 15, 2007, available online at
    http://www.washingtoninstitute.org/templateC07.php?CID=333

•   “Teaching Terror: How Hamas Radicalizes Palestinian Society,” comments for a panel discussion on the topic of
    environments that enable terrorism at a conference titled, "The Roots of Terror: Understanding the Evolving Threat
    of Global Terrorism," sponsored by Women in International Security and the U.S. Army War College, February 12,
    2007, available online at http://www.washingtoninstitute.org/templateC07.php?CID=331

•   “Follow the Money: Challenges and Opportunities in the Campaign to Combat Terrorism Financing,” Policy Forum
    at The Washington Institute for Near East Policy, February 23, 2007, available online at
    http://www.washingtoninstitute.org/templateC05.php?CID=2576

•   “Iran’s Pretensions and a Turbulent Middle East,” lecture at a conference on “US-Iran Relations: Collision, Stand-
    Off, or Convergence?” sponsored by The New America Foundation and The National Iranian American Council,
    Washington, DC, February 14, 2007

•   “Understanding the Terrorist Threat,” Presentation via VTC for the George C. Marshall European Center for
    Security Studies in Garmisch, Germany, February 6, 2007

•   “Advantages and Limits to Evidence-Based Analysis,” commentary on a panel on “Future Directions: How Can We
    Determine Which Analytic Practices Work? Can Analytic Practices Become Evidence-Based?” at a conference
    sponsored by the Office of the Director of National Intelligence (ODNI) on Improving Intelligence Analysis,
    Chantilly, Virginia, January 10, 2007

•   “Hezbollah Fundraising through Criminal Enterprises,” Testimony before the Committee on Governmental Affairs,
    United States Senate, May 25, 2005, available online at
    http://www.washingtoninstitute.org/templateC07.php?CID=238

•   “Islamic Extremism in Europe – Beyond al-Qaeda: Hamas and Hezbollah in Europe,” Testimony before the
    Committee on International Relations, Subcommittee on Europe and Emerging Threats, United States House of
    Representatives, April 27, 2005, available online at http://www.washingtoninstitute.org/templateC07.php?CID=234

•   “Iranian State Sponsorship of Terror: Threatening U.S. Security, Global Stability, and Regional Peace," Testimony
    before the Committee on International Relations, Subcommittee on the Middle East and Central Asia Subcommittee
    on International Terrorism and Nonproliferation, United States House of Representatives, February 16, 2005,

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    available online at http://www.washingtoninstitute.org/templateC07.php?CID=228

•   “Charitable Organizations and Terrorist Financing: A War on Terror Status-Check," Paper presented at the
    workshop "The Dimensions of Terrorist Financing," University of Pittsburgh, March 19, 2004, available online at
    http://www.washingtoninstitute.org/templateC07.php?CID=104

•   “Terrorism in West Africa, Post 9/11,” A rapporteur's summary of remarks to a workshop on "Oil, Terrorism, and
    More: The Growing Strategic Significance of West Africa" organized by the CNA Corporation's Center for
    Strategic Studies, March 1, 2004, available online at
    http://www.washingtoninstitute.org/templateC07.php?CID=101

•   "Hezbollah: A Case Study of Global Reach" Remarks to a conference on "Post-Modern Terrorism: Trends,
    Scenarios, and Future Threats,” International Policy Institute for Counter-Terrorism, Herzliya, Israel, September 8,
    2003, available online at http://www.washingtoninstitute.org/templateC07.php?CID=132

•   “Untangling the Terror Web: The Need for a Strategic Understanding of the Crossover Between International
    Terrorist Groups to Successfully Prosecute the War on Terror," Testimony before the Committee on Banking,
    Housing, and Urban Affairs, United States Senate, October 22, 2003, available online at
    http://www.washingtoninstitute.org/templateC07.php?CID=15

•   Chaired panel discussion on “The Matrix of International Terrorism: The Global Jihadist Threat” at a conference
    entitled “Between Hope and Challenge: The Bush Administration and the Middle East, 2003,” The Washington
    Institute for Near East Policy, Lansdowne, Virginia, September 19-21, 2003.

•   “Subversion From Within: Saudi Funding of Islamic Extremist Groups Undermining US Interests and the War on
    Terror from within the United States,” Testimony before the Subcommittee on Terrorism, Technology and
    Homeland Security, Judiciary Committee, U.S. Senate, September 10, 2003, available online at
    http://www.washingtoninstitute.org/templateC07.php?CID=13

•   “Combating Terrorist Financing: Where the War on Terror Intersects the ‘Road Map’,” Jerusalem Issue Brief
    (Jerusalem Center for Public Affairs), August 14, 2003, available online at
    http://www.washingtoninstitute.org/templateC06.php?CID=481

•   “Fighting Illegal Transfers Through Alternative Means of Money Transfer,” Remarks to a Conference on “The
    Economic War on Terrorism: Money Laundering and Terrorist Financing” Garmisch, Germany, George C.
    Marshall European Center for Security Studies in cooperation with U.S. Department of the Treasury, U.S. Federal
    Bureau of Investigation, US Department of Justice, July 21-25, 2003, available online at
    http://www.washingtoninstitute.org/templateC07.php?CID=11

•   “Developing Global Mechanisms to Combat Terror: Stemming the Flow of Terrorist Financing,” Remarks to a
    Conference on “Global Terrorism: If This is World War III, How Do We Win?” Sponsored by the Strategic
    Dialogue Center, Netanya College, Israel, New York City, April 6, 2003, available online at
    http://www.washingtoninstitute.org/templateC07.php?CID=134

•   "Culture and the Practice of Deception: Discussant Comments," Colloquium on Foreign Strategic Denial and
    Deception, The Cantril Group, May 15, 2003


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   •   “The Causes of the 9/ll Attacks and the Scope of the Threat,” Address to the 19th World Media Conference:
       “Media’s Role in Peace and Conflict: Covering the Consequences of 9/11,” Plenary Session I, “The Causes of the
       9/11 Attacks and the Scope of the Threat” Washington, D.C., September 27, 2002, available online at
       http://www.wmassociation.com/reports/spkers/levitt.html

   •   "Syrian Sponsorship of Global Terrorism: The Need for Accountability," Testimony on the Syrian Accountability
       Act before the Subcommittee on the Middle East and South Asia, Committee on International Relations, United
       States House of Representatives, September 18, 2002, available online at
       http://www.washingtoninstitute.org/templateC07.php?CID=14

   •   "Charitable and Humanitarian Organizations in the Network of International Terrorist Financing," Testimony
       before the Subcommittee on International Trade and Finance, Committee on Banking, Housing, and Urban Affairs,
       United States Senate (August 1, 2002), available online at
       http://www.washingtoninstitute.org/templateC07.php?CID=138

Journal/Magazine Articles:

   •    “‘Fighters without Borders’: Forecasting New Trends in Iran Threat Network Foreign Operations Tradecraft,”
       CTC Sentinel, February 27, 2020, https://www.washingtoninstitute.org/policy-analysis/view/fighters-without-
       borders-forecasting-new-trends-in-iran-threat-network-fore

   •    “Hezbollah’s Procurement Channels: Leveraging Criminal Networks and Partnering with Iran,” CTC Sentinel,
       March 2019, https://www.washingtoninstitute.org/policy-analysis/view/hezbollahs-procurement-channels-
       leveraging-criminal-networks-and-partnering

   •    “Iran's Deadly Diplomats,” CTC Sentinel, Vol 11, Issue 7, August 2018, available online at
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   My Twitter feed is @Levitt_Matt




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            Expert Report & Declaration

        PETER MEDVEDEV PIATETSKY
Estate of Christopher Brook Fishbeck, et al. v. The
          Islamic Republic of Iran, et al.
           Case No. 1:18-cv-02248-CRC




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        I, Peter Medvedev Piatetsky, declare pursuant to 28 U.S.C. § 1746 subject to penalties of

perjury, as follows:

    A. Professional Background

        1.      My qualifications as an expert on terrorist financing and methods employed by

the Islamic Republic of Iran (“Iran”) to finance terrorism through the Islamic Revolutionary

Guard Corps (“IRGC”), the Islamic Revolutionary Guards Quds Force (“IRGC-QF”), its proxy

Hezbollah and other terrorist groups are based on a combination of professional experience,

professional training, and academic education.

        2.      I am a United States citizen, residing in New York City. I hold a Master of

Professional Studies in Persian from the University of Maryland, College Park (UMD College

Park). UMD College Park is one of the preeminent graduate programs focusing on Iran in the

United States, renowned for classes held entirely in Farsi, and an interdisciplinary curriculum

that includes course work in international economics, international relations, policy, and regional

studies. I hold a Bachelor of Arts (Cum Laude) from Boston University with a double major in

International Relations and History and a minor in Russian and Eastern European studies. As an

undergraduate, I also completed a semester abroad at Moscow State Institute of International

Relations (MGIMO), widely considered to be Russia’s best university for international relations

and one if it's best overall.

        3.      Prior to completing graduate school, I held multiple internships that contributed to

my professional experience, including two assignments at the Department of State, one in

Washington, D.C. where I was the Turkmenistan Desk Officer (summer 2009), and another in

Vienna, Austria (summer 2010) where I supported the U.S. Mission to the Organisation for

Economic Co-operation and Development. In these roles I supported officials including the

Secretary of State and prepared research and memoranda used in international negotiations. My


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other internships included being a research assistant and writer for The New York Times while at

their Moscow Bureau (spring 2008); for the Woodrow Wilson Center (September 2009 -

September 2010), and Tehran Bureau (summer 2010). In these roles I supported Pulitzer Prize

winning journalists, helped break international news stories, wrote articles and conducted

research in multiple languages. The New York Times is a global newspaper of record; the

Woodrow Wilson center, chartered by Congress in 1968, is a non-partisan policy forum for

tackling global issues, supported by experts that include former Ambassadors, Special Envoys

and leaders from the private sector and academia globally; Tehran Bureau is an independent

news organization offering original reporting, comment and analysis on Iran and the Iranian

diaspora.

       4.      In 2011, I went to Afghanistan as a civilian contractor, spending a total of

fourteen months supporting the U.S. war effort. I spent five months in Kabul at the International

Security Assistance Force (ISAF) headquarters, working as an intelligence analyst and

conducting war fighter-relevant all source research and analysis, with a focus on ISAF supply

lines, insurgent and terrorist supply lines, and identifying threats of the highest magnitude to

ISAF. I was then transferred to Forward Operating Base (FOB) Salerno in Khowst, by the

Pakistani border. At FOB Salerno, I supported 3rd Group Special Forces, ODB 3320, updating

war fighters to key developments in their area of operations. I wrote over 200 daily intelligence

reports and analysis products, conducted over 250 intelligence briefings, and supported military

operations that led to the neutralization of insurgent threats and clearing of weapons caches.

       5.      In 2012, I joined the U.S. Treasury Department, working as a sanctions

investigations contractor at the Office of Foreign Assets Control. In that role, I drafted sanctions

packages for over 150 targets involved with Iran’s nuclear program, including IRGC officers and




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companies. I was also tasked to figure out how to sanction Iranian aircraft, an entirely new

challenge as OFAC had never sanctioned any aircraft before. I determined the best way to add

aircraft to U.S. sanctions lists and organized and chaired an interagency group that worked on

Iranian airline sanctions. I wrote Iran-focused guidance for aviation exporters, especially as it

pertained to Iranian Transactions and Sanctions Regulations, the Commerce Control List and

Executive Order Nos. 13382 and 13224. Based on my work, I provided leads to the Federal

Bureau of Investigation relating to criminal violations related to U.S. sanctions and export

controls. Finally, I worked with other parts of the U.S. Treasury to analyze congressional

sanctions proposals for impact on U.S. policy, foreign partners, and financial institutions.

       6.      In late 2013, I moved to Treasury’s Office of Intelligence and Analysis, becoming

the lead Analyst on Europe, Russia, and the former Soviet Union. In that role, I wrote

Presidential Daily Briefs (PDB) and Economic Intelligence Briefs (high level intelligence

products that are provided to the President and the Cabinet), receiving a monetary award for

exemplary work during Russia’s invasion of Ukraine in 2014. My assignment was to inform the

President and Treasury Secretary on Russia’s funding of separatists and hidden oligarch assets,

and my briefings were instrumental in structuring U.S. sanctions against Russia, regarding

oligarchs, Russia/Crimea, human rights abuse, and Russian organized crime. Additionally, I

investigated and worked with international partners to close or penalize financial institutions

involved in significant money laundering in Russia, Ukraine, Latvia, and Moldova. I supported

senior policy maker travel, negotiations, and private sector engagements. I led the office’s Russia

and Eastern Europe focused engagement with law enforcement, congressional staff, private

sector, think tanks, and foreign law enforcement and security services.




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       7.      In late 2015, I moved to Treasury’s Office of Terrorist Financing and Financial

Crimes becoming the policy advisor for Iran. In this role, I drafted and proposed detailed Iran

sanctions and engagement options to White House and Treasury leadership; wrote speeches,

press releases and talking points on Iran for the Treasury Secretary and other senior Treasury

officials; participated in high level multilateral meetings with the government of Iran at the

Financial Action Task Force and engaged C-suite leadership of companies doing business in

Iran, discussing their approaches to risk, due diligence and compliance data. I was promoted to

Senior Policy Advisor and given the additional portfolios of Lebanon, Israel, and Palestine,

which gave me a full view of Iranian financing of terror, from the IRGC in Tehran to Hizballah

in Lebanon and Iraq, and Hamas in Gaza. I advised White House and Treasury officials on

Hizballah and Hamas sanctions and legislation and met with foreign counterparts to discuss the

how to provide humanitarian assistance to civilians in Gaza without empowering Hamas. This

included reviews of World Bank and International Monetary Fund loans, with the goal of

ensuring risk mitigation was in place to prevent financial support to terrorist actors through steps

that included implementing effective due diligence procedures, know your customer assessments

and watchlist screening. Finally, I was appointed as the U.S. representative to the Financial

Action Task Force for the mutual evaluation of Bahrain. In this role, I assessed Bahraini

government regulations on terrorist financing and sanctions, and how Bahrain’s banks

implemented these regulations through screening, monitoring, and reporting. This involved

meeting with financial services executives and compliance leaders, government ministers and

leadership of the Central Bank of Bahrain, compiling interview information with data gathered

by the FATF team and drafting conclusions that were presented at an international plenary

session of the Financial Action Task Force.




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       8.      In 2018, I moved to New York City to work at the New York City Agency of

Woori Bank, one of Korea’s largest banks. I was Compliance Supervisor for the U.S., with

purview for all financial crimes related operations at the bank across its two agencies in New

York and Los Angeles, as well as the 19 locations that are part of its subsidiary, Woori America

Bank. In this role, I advised Head Office (Seoul, Korea) on trade, banking and credit matters

related to Iran and North Korea. I worked to ensure that the bank’s U.S. operations met

regulatory requirements, that deficiencies were identified and remediated, and that the bank

responded appropriately to all regulatory demands and investigations. The regulators that I

interacted with on a daily basis included the Federal Reserve Bank of New York, Federal

Reserve Bank of San Francisco, the New York Department of Financial Services (NYDFS) and

the California Department of Financial Protection and Innovation. I participated in and

supervised daily compliance operations, including sanctions screening and transaction

monitoring, resolved highly complex queries elevated by staff and trained staff in both the U.S.

and Korea on sanctions, trade finance red flags, suspicious activity report filings and risk

assessments. I also led the bank’s efforts to replace compliance technology systems, ensuring

that compliance data and requirements were accurately used and implemented across core

banking and payments systems.

       9.      Simultaneously, I obtained a position at American University as an adjunct

professor. In this role, I designed, wrote, and taught the university’s first ever course on financial

crime compliance. The master’s level class is titled “Sanctions, Terrorist Financing, and

Financial Crimes” and teaches high performing students the national security, financial and

humanitarian impacts of financial crimes and how governments, the private sector, and the

general public combat finance crime. The areas taught included Iran’s financing of terrorism,




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how terrorist groups finance themselves, how they store and spend money, and the finances of

Hizballah, Hamas and Iraq-based militia and terrorist groups. For the class’ capstone, students

prepared, and I edited and finalized an in-depth research project that was provided to a large

multinational bank to assist them in combatting a financial crime challenge they were facing. To

design and write a master’s level course on sanctions, terrorist financing and financial crime, I

devoted significant time to the study of Hamas, Hizballah, al Qaeda, the Islamic State, Iraq-based

militia and terrorist groups and their precursor organizations. As part of this study, I spoke to

other experts, academics, private sector compliance professionals and government officials to

further my knowledge on these topics.

       10.     In September 2019, I incorporated Castellum.AI with a co-founder. Castellum.AI

is a regulatory technology startup that automates compliance screening, directly enabling users

of all sizes to fight terrorist financing. Castellum. AI’s mission is to organize the world’s

compliance data and make it universally accessible and useful. We automate compliance

screening for individuals and organizations, and enable deep dive research into global

compliance data. Sanctions lists, export control regulations, law enforcement notices and other

crucial compliance data is publicly available, but not in one place, one language and one data

architecture. To solve this problem, Castellum.AI is building the world’s largest compliance

database, with the aim of putting global risk analysis at the fingertips of every person with an

internet connection. Our platform is powered by automated data ingestion, underpinned by

proprietary architecture, and made easily accessible through powerful search capabilities. As a

result of my work at Castellum.AI, I have been cited and our data has been used to break news

and provide analysis regarding terrorist financing and sanctions by the Wall Street Journal,

Harvard’s Belfer Center, the Atlantic Council, The Economic Times, the Organized Crime and




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Corruption Reporting Project, and other organizations, listed on our website. 1 I also attend

academic and professional lectures, industry conferences, and read newspaper, books, policy and

academic journals on sanctions, terrorist financing and financial crime to ensure that my

knowledge of the area constantly remains up to date.

       11.     I am being compensated by Plaintiffs in these cases at an hourly rate of $300. I

have no professional and personal relationship with any party to this action.

    B. Nature of This Declaration

       12.     I have reviewed the Amended Complaint filed by the Plaintiffs in the case, Estate

of Christopher Brook Fishbeck, et al. v. The Islamic Republic of Iran, et al., Case No.: 1:18-cv-

02248-CRC. I have been asked by counsel for the Plaintiffs in this case to provide my expert

opinion on the role of Defendants The Islamic Republic of Iran (“Iran”), the Islamic

Revolutionary Guard Corp (“IRGC”), the Iranian Ministry of Intelligence and Security (MOIS),

Bank Markazi Jomhouri Islami Iran (“Bank Markazi” or “CBI”), Bank Melli Iran (“Bank Melli”

or “BMI”) , and the National Iranian Oil Company (“NIOC”) in providing material support to the

IRGC-QF, Hizballah, Ansar al Islam, the Al Qaida Network, Abu Musab Zarqawi and the Rise

of Al Qaida in Iraq (AQI), the Badr Corps/Badr Organization, Kataib Hizballah (KH), Jaysch al

Mahdi (JAM) & The Promised Day Brigades (PBD), and Asaib Ahl Al Haq (AAH) from 2003-

2011 (the “relevant period”), which used Defendants’ support to commit acts of international

terrorism in Iraq that resulted in deaths and injuries, including those alleged by the Plaintiffs. 2




1
 Castellum.AI | Featured In | 8 October 2021 | https://www.castellum.ai/
2
  There are multiple accepted ways to spell the names of these organizations, for example,
Hizballah and Hezbollah, and Al Qaida or Al Qa’ida. This document will retain the spellings
used in this paragraph but retain source spelling when quoting directly.


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       13.     Although my knowledge of Iran’s financing of terrorism includes information

reviewed during my government service, my expert opinion, as stated in this declaration, is

based solely on public source information.

       14.     My opinions, set forth below, result from my extensive study of Iran as outlined

herein, including my professional research over the past decade.

       15.     In forming my expert opinions, I rely heavily on official U.S. government reports

and designations of entities establishing their connections to terrorism under various executive

orders. 3 Statements by U.S. government officials, like the ones discussed below, are reliable and

are widely used by scholars and policymakers. The U.S. Treasury Department has created a large

structure to investigate terror financing headed by the Under Secretary for Terrorism and

Financial Intelligence along with two assistant secretaries, each with substantial staff, and two

other large bureaucracies (the Financial Crimes Enforcement Network (“FinCEN”) and the

Office of Foreign Assets Control (“OFAC”), which enforce sanctions).

       16.     This report includes information from U.S. Treasury designations, which warrants

noting the rigor of the United States government’s designation process and regime. The

designation of a person or entity as a specially designated terrorist entity, for example, by either

the U.S. Department of the Treasury or Department of State, is based on a significant body of all

source information—classified and open source—that the person or entity supports terrorism.




3
 There are several terror-related designation authorities. For instance, the Secretary of State can
designate entities as Foreign Terrorist Organizations (“FTOs”) pursuant to the Antiterrorism and
Effective Death Penalty Act of 1996 (“AEDPA”). The Treasury Department may also freeze
entities’ and individuals’ U.S. assets under a separate designation regime as a Specially
Designated Global Terrorist (“SDGT”) because of support for or association with an FTO.
PX400 See Exec. Order 13224, 66 Fed. Reg. 49,079 (Sept. 23, 2001), amended in part by PX401
Exec. Order 13372, 70 Fed. Reg. 8,499 (Feb. 16, 2005) and PX402 Exec. Order 13886, 84 Fed.
Reg. 48041 (Sept. 12, 2019). See also 31 C.F.R. 594.201.


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        17.     Specifically, to be considered for designation under counterterrorism authorities, a

proposed target must either be: owned or controlled by designated persons or entities; acting for

or on behalf of designated persons or entities; assisting or sponsoring designated persons or acts

of terrorism; providing financial, material or technological support for designated persons or acts

of terrorism; providing financial or other services to or in support of designated persons or acts

of terrorism; or otherwise associated with designated persons (this last category of “associated

with” is undefined, and therefore generally not used).

        18.     Similar criteria apply for designation under proliferation, human rights abuse, and

other conduct-based sanctions programs. Such designations are the product of a robust U.S.

interagency process that considers timeliness and strength of the evidence, and considers

diplomatic concerns and the impact on intelligence or other government equities, among other

factors, including the availability of alternative options to disrupt illicit activity

        19.     The evidentiary record produced to support a designation then undergoes several

rounds of review by lawyers representing various U.S. departments, both for legal sufficiency

and litigation risk. Given the appropriately intense rigor involved in this process, many more

entities are considered for designation than those that are ultimately designated.

        20.     Likewise, because of multiple demands and limited resources, entities are usually

designated under one authority; just because an entity is designated under one authority does not

mean they would not have been able to meet sufficiency under additional authorities.

        21.     Although some designated entities have been delisted, no legal challenges to

SDGT designations have been entirely successful.

        22.     Some of the U.S. government sanctions referenced or relied upon herein occurred

after the terrorist conduct and terrorist financing at issue during the relevant time period of this




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matter. This is not an exclusionary factor in my analysis as sanctions can only come after the

illicit conduct and when evidence to sufficiently justify the sanction is obtained. Sanctions reflect

the fact that enough incontrovertible evidence has been gathered that the entire U.S. government

agrees that an individual or organization are involved in terrorist activity or terrorist financing.

Additionally, while a minority of entities mentioned in this document are not sanctioned, despite

terrorist activity that resulted in the injury and death of U.S. soldiers and civilians, this does not

preclude that they will be designated in the future. A good example of this Asa’ib Ahl Al-Haq

(AAH). The U.S. Department of State designated it as a foreign terrorist organization on January

10, 2020, and Treasury designated it as Specially Designated Global Terrorist (SDGT), with both

press releases stating the group operates for and at the behest of Iran. 4, 5 While the designation

occurred in 2020, according to the Department of State, AAH claimed responsibility for more

than 6,000 attacks against U.S. and Coalition forces since 2006, including operations that

resulted in the deaths of U.S. soldiers. 6 Additionally, the two brothers that lead this terrorist

organization, Qays and Laith al-Khazali, were designated by the Treasury Department on

December 6, 2019 for their involvement in serious human rights abuses in Iraq. Thus, a

designation by the U.S. government confirms past conduct, and the lack of a designation does

not mean that a designation is not currently in progress.

       23.     I also reviewed records produced by several third-party banks in this action.

These records constituted data extracted from transaction messages used to effectuate U.S.




4
   PX22 U.S. State Department | 29 October 2021 | Foreign Terrorist Organizations |
https://www.state.gov/foreign-terrorist-organizations/
5
    U.S. Treasury Department | 26 March 2020 | SDGT Designations |
https://home.treasury.gov/news/press-releases/sm957
6
   PX22 U.S. State Department | 29 October 2021 | Foreign Terrorist Organizations |
https://www.state.gov/foreign-terrorist-organizations/


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dollar-Denominated transfers between various parties. The bank data is analyzed later in this

declaration and shows conduct by the Defendants related to terrorist financing.

          24.   Finally, I reviewed publicly available records from the Defendants, including

annual reports, websites, statements and releases to the press releases, and other publications.

          25.   My opinions set forth below are based upon my education, research, and

experience as well as my review and analysis of documents and sources typically relied upon by

experts in my field. Such documents and sources include but are not limited to my review and

analysis of relevant documents, including U.S. government reports, designations and their

accompanying press releases, and banking and financial transaction data obtained in this matter

through discovery. I hold these opinions to a professional degree of certainty, and if asked to

testify in this matter, would offer testimony consistent with the contents of this Declaration and

Report.

    C. The IRGC

          26.   The IRGC was established in the immediate wake of the 1979 Iranian revolution,

and it defines itself as an instrument of the Supreme Leader, to whom IRGC cadres pledge their

loyalty. As the “custodian of the revolution,” the IRGC is responsible for defending Iran against

internal and external threats. Among its other tasks, the IRGC is dedicated to the spread of

fundamentalist Islamist principles throughout the world, and the establishments of

fundamentalist Islamist governments in nations other than Iran.

          27.   The IRGC-Qods Force (“IRGC-QF”), one of the five branches of the IRGC, was

established not long after, during the Iran-Iraq war. Generally, the IRGC-QF is responsible for

foreign operations and support to Iranian proxies abroad to liberate Muslim lands. 7


7
 PX626 Center for Strategic and International Studies | 11 March 2019 | War by Proxy: Iran’s
Growing Footprint in the Middle East | https://www.csis.org/war-by-proxy


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       28.     The foreign operations it supports include foreign insurgents and terrorists such as

those targeting U.S. forces and U.S.-backed governments in Afghanistan and Iraq. Specifically,

IRGC-QF was the main Iranian organization supporting and directing those in Iraq attacking

Americans after the 2003 U.S. invasion. IRGC-QF is the principal Iranian organization working

with the Lebanese Hezbollah organization’s armed elements, which carry out terrorist operations

worldwide, engage in military operations in Syria in support of the Assad regime’s battle against

insurgents, and prepare for battle against Israel.

       29.     The IRGC-QF was intimately involved in the establishment of Hezbollah, the

Lebanese militant group and international terrorist actor. Hezbollah’s early spiritual leaders were

heavily influenced by revolutionary events in Iran and the ideology of Iran’s Ayatollah Ruhollah

Khomeini, and its recruits received training from the IRGC at camps established in Lebanon’s

Bekaa Valley starting in the early 1980s. 8

       30.     Over time, Hezbollah expanded its involvement in and with groups outside of

Lebanon, working in close coordination with Iran. In 2014, General Amir Ali Hajizade, head of

the IRGC Aerospace Force, explained that “the IRGC and Hezbollah are a single apparatus

joined together.” 9 Hezbollah itself identifies as a movement transcending its Lebanese origins. A

Hezbollah commander told the Financial Times in 2015: “We shouldn’t be called Party of God.




8
  Naim Qassem, Hizbullah: The Story from Within (London: Saqi Press, 2005), 14,17, 20, 66-88.
See also New Zealand Police, “STATEMENT OF CASE TO DESIGNATE LEBANESE
HIZBOLLAH’S MILITARY WING, AL-MUQAWAMA AL-ISLAMIYYA (‘THE ISLAMIC
RESISTANCE’), AS A TERRORIST ENTITY” (Oct. 11, 2010) available at http://www.police.
govt.nz/sites/default/files/hizbollah-paper.pdf
9
  PX209 U.S. Department of State Bureau of Counterterrorism, “Country Reports on Terrorism
2014,” at 286 (June 2015), available at https://www.state.gov/j/ct/rls/crt/2014/239410.htm


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We’re not a party now, we’re international. We’re in Syria, we’re in Palestine, we’re in Iraq and

we’re in Yemen.” 10

       31.     In October 2007, Treasury designated the IRGC-QF as an SDGT for its role in

spreading terrorism throughout the region, including in Iraq:

               The Qods Force has had a long history of supporting Hizballah’s
               military, paramilitary, and terrorist activities, providing it with
               guidance, funding, weapons, intelligence, and logistical support. The
               Qods Force operates training camps for Hizballah in Lebanon’s Bekaa
               Valley and has reportedly trained more than 3,000 Hizballah fighters
               at IRGC training facilities in Iran. The Qods Force provides roughly
               $100 to $200 million 11 in funding a year to Hizballah and has assisted
               Hizballah in rearming in violation of UN Security Council Resolution
               1701

               ....

                In addition, the Qods Force provides lethal support in the form of
               weapons, training, funding, and guidance to select groups of Iraqi
               Shi’a militants who target and kill Coalition and Iraqi forces and
               innocent Iraqi civilians. 12

       32.     In 2017, Congress codified the Treasury Department’s findings in the


10
   Erika Solomon, “Lebanon’s Hizbollah and Yemen’s Houthis Open up on Links,” Financial
Times (May 8, 2015), available athttps://www.ft.com/content/e1e6f750-f49b-11e4-9a58-
00144feab7de .
11
   PX114 More recent estimates put annual Iranian funding to Hezbollah at even higher levels.
According to a statement by U.S. State Department Counterterrorism Coordinator Nathan Sales
in January 2018, Iran gives Hezbollah about $700 million a year. See Nathan Sales, “Remarks at
the Institute for National Security Studies in Tel Aviv Annual Conference,” U.S. Department of
State, January 31, 2018, available athttps://2017-2021.state.gov/remarks-at-the-institute-for-
national-security-studies-in-tel-aviv-annual-conference/index.html. Indeed, in a June 2016
speech Hassan Nasrallah said that Hezbollah got everything it needs from Iran. “We are open
about the fact that Hezbollah’s budget, its income, its expenses, everything it eats and drinks, its
weapons and rockets, come from the Islamic Republic of Iran,” the Secretary General claimed.
PX676 See Majid Rafizadeh, “In First, Hezbollah Confirms All Financial Support Comes from
Iran,”        Al        Arabiya        English       (June        25,       2016),        available
athttps://english.alarabiya.net/features/2016/06/25/In-first-Hezbollah-s-Nasrallah-confirms-all-
financial-support-comes-from-Iran.
12
   PX36 Press Release, U.S. Dep’t of the Treasury, Fact Sheet: Designation of Iranian Entities
and Individuals for Proliferation Activities and Support for Terrorism (Oct. 25, 2007), available
athttps://home.treasury.gov/news/press-releases/hp644 .


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Countering America’s Adversaries Through Sanctions Act (CAATSA), Pub. L.

115-44, § 105(a), 131 Stat. 886, 892 (2017):

                The [IRGC-QF] is the primary arm of the Government of Iran for
                executing its policy of supporting terrorist and insurgent groups. The
                IRGC-QF provides material, logistical assistance, training, and
                financial support to militants and terrorist operatives throughout the
                Middle East and South Asia and was designated for the imposition of
                sanctions . . . in October 2007 for its support of terrorism.

        33.     As part of the same Act, Congress also extended these findings to the IRGC itself:

                The IRGC, not just the IRGC-QF, is responsible for implementing
                Iran's international program of destabilizing activities, support for acts
                of international terrorism, and ballistic missile program.

        34.     On April 15, 2019, the IRGC (including the IRGC-QF) was designated as an

FTO. The State Department’s Fact Sheet on the designation noted that the IRGC is not only used

by Iran to support terrorism, but that the IRGC has been directly involved in terrorist plotting and

that its “support for terrorism is foundational and institutional.” 13

        35.     The IRGC controls a significant portion of the Iranian economy. In announcing a

series of designations in October 2007 (including the IRGC-QF and Bank Melli, the latter under

Executive Order 13382 for proliferation of weapons of mass destruction), then-Secretary of the

Treasury, Henry Paulson, noted that “[t]he IRGC is so deeply entrenched in Iran’s economy and

commercial enterprises, it is increasingly likely that, if you are doing business with Iran, you are

doing business with the IRGC,” which was responsible for “proliferation activities and . . . for

providing material support to the Taliban and other terrorist organizations.” 14




13
   PX21 See Press Release, U.S. Dep’t State, “Designation of the Islamic Revolutionary Guard
Corps” (Apr. 8, 2019), available at https://2017-2021.state.gov/designation-of-the-islamic-
revolutionary-guard-corps/index.html
14
   PX73 Press Release, Dep’t of the Treasury, Statement by Secretary Paulson on Iran
Designations (Oct. 25, 2007), available athttps://home.treasury.gov/news/press-releases/hp645 .


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        36.    For instance, the Defense Intelligence Agency (DIA) reported that the IRGC

“runs numerous private companies—most notably the wide-ranging [Khatam al-Anbiya] (“seal

of the prophets”) Construction Headquarters—and exploits its far-reaching political and social

influence to raise additional revenue. The IRGC and IRGC-QF can also gain extra income

through smuggling and other illicit activities in the region.” 15

        37.    As of 2007, when Khatam al-Anbiya was added to U.S. sanctions lists as a

subsidiary of the IRGC, it been awarded contracts worth at least $7 billion dollars by Iranian

state agencies and the state-owned National Iranian Oil Company.16 Many of these contracts

involved construction and restoration projects in Iraq related to shrines and oil sector

infrastructure, providing the IRGC with necessary avenues for its illicit support of terrorist

groups there. 17

     D. The Financial Action Task Force and Iran’s Financial Sector

        38.    The Financial Action Task Force (“FATF”) is the global money laundering and

terrorist financing watchdog. It was established in July 1989 by a Group of Seven (G-7) Summit

in Paris, initially to examine and develop measures to combat money laundering.




15
   PX260 Defense Intelligence Agency Report, “Iran Military Power” (2019), at 19, available at
https://www.dia.mil/Portals/110/Images/News/Military_Powers_Publications/Iran_Military_Pow
er_LR.pdf
16
   Press Release, U.S. Dep’t of the Treasury, Fact Sheet: Designation of Iranian Entities and
Individuals for Proliferation Activities and Support for Terrorism (Oct. 25, 2007), available at
https://home.treasury.gov/news/press-releases/hp644
17
   See e.g., Foundation for Defense of Democracies | Long War Journal | 23 September 2016 |
Qods         Force       front       group      develops        shrine      in      Iraq       |
https://www.longwarjournal.org/archives/2016/09/qods-force-front-group-develops-shrine-in-
iraq.php. See also "Meeting of the Headquarters for the Restoration of Holy Shrines head with
officials of this Headquarters in ministries and organizations", official website of the
Headquarters for the Restoration of Holy Shrines, June 17, 2013, http://fa.atabat.org/print-
1016.html; and "Why did IRGC Spent Trillion of Tumans at Holy Zahra shrine [of Najaf]?",
Iranwire.com, September 27, 2016, https://iranwire.com/fa/features/18567.


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        39.     FATF is the inter-governmental body that sets international standards for anti-

money laundering and combating the financing of terrorism (“AML/CFT”), conducts so-called

“mutual” evaluations of countries against these standards, and publicly identifies jurisdictions

that fail to address deficiencies in those areas.

        40.     Originally focused on AML, FATF in October 2001 expanded its mandate to

incorporate efforts to combat terrorist financing, in addition to money laundering. 18

        41.     Specifically, FATF’s Special Recommendation VII stated that countries should

take measures to require financial institutions to include accurate and meaningful originator

information on funds transfers and related payment messages. 19

        42.     FATF further stated that member countries should closely monitor any funds

transfers that did not contain complete originator information.

        43.     Since 2008, FATF has maintained two separate lists of jurisdictions with strategic

        AML/CFT deficiencies: (1) a so-called “black” list for high-risk jurisdictions where

member states are recommended to apply countermeasures to protect the international financial

system from AML/CFT risks posed by these jurisdictions and (2) a so-called “grey” list, reserved

for countries that have worked with FATF on developing an action plan to address their

deficiencies and who have made a high-level political commitment to complete the plan.



18
    See FATF, “History of the FATF,” available at https://www.fatf-gafi.org/about/
historyofthefatf/. The “originator” is the party seeking to send funds; the “beneficiary” is the
intended recipient.
19
   PX514 The official version of FATF recommendations applicable between 2001 and 2011 is
available at https://www.fatf-gafi.org/media/fatf/documents/reports/FATF%20Standards%20-
%20IX%20Special%20Recommendations%20and%20IN%20rc.pdf PX512 In 2012, the FATF
updated and revised its recommendations, resulting in a re-numbering of the recommendations.
Currently, FATF recommendation 16 relating to wire transfers continues to advise countries to
ensure that “financial institutions include required and accurate originator information, and
required beneficiary information, on wire transfers and related messages, and that the
information remains with the wire transfer or related message throughout the payment chain.”


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       44.     Iran has been on FATF’s “black” list since it was introduced in 2008. 20 During

the period relevant to these cases, Iran was never compliant with FATF’s international standards.

       45.     In 2010, FATF publicly expressed concern regarding “Iran’s failure to

meaningfully address the ongoing and substantial deficiencies in its anti-money laundering and

combating the financing of terrorism (AML/CFT) regime. The FATF remains particularly

concerned about Iran’s failure to address the risk of terrorist financing and the serious threat this

poses to the integrity of the international financial system. The FATF urges Iran to immediately

and meaningfully address its AML/CFT deficiencies, by criminalizing terrorist financing and

effectively implementing suspicious transaction reporting (STR) requirements.” 21

       46.     Despite Iran’s announced commitment in June 2016 to an action plan with the

FATF to address its AML/CFT deficiencies, the Iranian regime failed to complete most of its

action plan. In October 2019, FATF called on its members to “require increased supervisory

examination for branches and subsidiaries of financial institutions based in Iran; introduce

enhanced relevant reporting mechanisms or systematic reporting of financial transactions; and

require increased external audit requirements for financial groups with respect to any of their

branches and subsidiaries located in Iran.” 22




The updated version of the recommendations is available at: https://www.fatf-
gafi.org/media/fatf/documents/recommendations/pdfs/FATF%20Recommendations%202012.pdf
20
   In June 2016, FATF temporarily suspended countermeasures for twelve months in order to
monitor Iran’s progress in implementing the Action Plan. In return, Iran pledged to improve
controls to help counter the financing of terrorism and other illicit financial conduct rampant
within the Iranian financial system.
21
    PX510 FATF Public Statement - February 2010, available at http://www.fatf-
gafi.org/countries/d-i/ecuador/documents/fatfpublicstatement-february2010.html
22
    PX511 FATF Public Statement (February 21, 2020), available at http://www.fatf-
gafi.org/publications/high-risk-and-other-monitored-jurisdictions/documents/call-for-action-
february-2020.html.


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       47.     In February 2020, the FATF reinstated full countermeasures on Iran, citing

specifically “Iran’s failure to enact the Palermo and Terrorist Financing Conventions in line with

the FATF Standards. 23

       48.     A significant obstacle was Iran’s exemption of “liberation organizations” from

counter-terrorist financing provisions – which in practical terms means exemptions for terrorist

groups such as Hezbollah, Iraqi Shia militias and Hamas, among others. For example, Iranian

legislation ratifying the UN Convention on the Suppression of the Financing of Terrorism noted

that Iran’s recognition of “the struggles of peoples against colonial domination and foreign

occupation” does not allow it to recognize the convention’s “written framework of terrorism.”

Likewise, a sister bill containing amendments to Iran’s CFT law noted that terrorist designations

will only be issued in line with Article 154 of the Iranian constitution, which supports “the

struggles of the oppressed for their rights against oppressors anywhere in the world.” 24

       49.     Although the FATF only requires that countries implement UN-level sanctions,

which do not list Iranian-sponsored groups such as Hamas and Hezbollah, similar CFT

exemptions have not been acceptable to the FATF in the past. 25

       50.     Significantly, on October 11, 2018, FinCEN issued an Advisory on the Iranian

Regime’s Illicit and Malign Activities and Attempts to Exploit the Financial System which

warned financial institutions the Iranian regime uses “covert means” to access the financial



23
   FATF         Public Statement          (February      21,    2020), available at http://www.fatf-
gafi.org/publications/high-risk-and-other-monitored-jurisdictions/documents/call-for-action-
february-2020.html.
24
   Iran | Majles | http://cabinetoffice.ir/files/fa/news/1396/8/30/11809_266.pdf%20
25
   Katherine Bauer, Iran Faces Challenges in Implementing Its FATF Action Plan, Washington
Institute (Oct. 26, 2016), available at https://www.washingtoninstitute.org/policy-
analysis/view/iran-faces-challenges-in-implementing-its-fatf-action-plan. PX709 See also
remarks by Treasury Assistant Secretary for Terrorism Financing Daniel L. Glaser at The
Washington Institute for Near East Policy (October 21, 2016), available at


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system “to further its malign activities” including “misusing banks and exchange houses,

operating procurement networks that utilize front or shell companies, exploiting commercial

shipping, and masking illicit transactions using senior officials, including those at the Central

Bank of Iran (CBI)…. Often, these efforts serve to fund the regime’s nefarious activities,

including providing funds to the Islamic Revolutionary Guard Corps (IRGC) and its Islamic

Revolutionary Guard Corps-Qods Force (IRGC-QF), as well to Lebanese Hizballah, Hamas, and

other terrorist groups.”

   E. Iran’s Terror Apparatus Derives Funding from Iranian Oil and Natural Gas

       51.     Iran spends hundreds of millions of dollars a year on terrorism. The Country

Reports on Terrorism 2018 characterize Iran as “the world’s worst state sponsor of terrorism”

and states that Iran has spent nearly $1 billion dollars annually to “support terrorist groups that

serve as its proxies and expand its malign influence across the globe.” 26

       52.     During the period being examined in this case, 27 oil and gas revenues played

strategic roles in the structure of the Iranian economy. This structure is designed purposefully to

facilitate Iran’s support for groups that commit terrorism.

       53.     Iran holds an estimated 10% of the world’s total proven oil reserves and was for

many years the second largest producer (after Saudi Arabia) within the Organization of

Petroleum Exporting Countries. 28


https://www.washingtoninstitute.org/policy-analysis/evolution-terrorism-financing-disrupting-
islamic-state
26
   PX210 U.S. State Dep’t, Country Reports on Terrorism, 2018 Report, at 9, available at
https://www.state.gov/reports/country-reports-on-terrorism-2018/.
27
   Since the reimplementation of sanctions on Iran following the U.S. withdrawal from the 2016
Iran nuclear deal, Iran’s oil exports have fallen precipitously, declining close to 80% between
May 2019 and May 2020. Whereas oil revenues constituted 65-70% of total government
revenues during the 2000s (decade), they only made up roughly 9% of Iran’s budget for 2020/1,
down from 29% for 2019/20. See Henry Rome, “Iran’s Crisis Budget,” The Iran Primer (updated
Apr. 2, 2020) available at https://iranprimer.usip.org/blog/2019/dec/16/irans-crisis-budget.


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       54.     Iran’s economy has historically relied heavily on crude oil export revenues,

representing about 90% of total export earnings and, on average, 60% of government revenues in

annual budgets. 29

       55.     These export revenues 30 (which are priced in U.S. dollars) 31 are thus central to

Iran’s Economy.

       56.     The dollar-denomination of these transactions requires Iran to create transaction

methods to mask the flow of funds from international regulatory agencies and its own citizens,

but also allows Iran to fund terrorism using the most widely accepted global currency, while also

providing Iran the plausible deniability that comes with not using Iranian Rials.

       57.     In 2000, the Iranian government began saving some of its oil revenues in an oil

stabilization fund (“OSF”).

       58.     During the relevant period, oil and gas production generated tens of billions of

dollars in government revenue each year, 32 but not all of it was officially reported, making it

available for nefarious purposes. For instance, an Iranian government audit in 2009 found that



28
   Mohammad Reza Farzanegan and Gunther Markwardt, The effects of oil price shocks on the
Iranian economy, Dresden Discussion Paper in Economics No. 15/08, at 2, available at https://
www.econstor.eu/bitstream/10419/36478/1/590264257.pdf
29
   Mohammad Reza Farzanegan and Gunther Markwardt, The effects of oil price shocks on the
Iranian economy, Dresden Discussion Paper in Economics No. 15/08, at 2, available at
https://www.econstor.eu/bitstream/10419/36478/1/590264257.pdf
30
    U.S. Dep’t of Energy, Analysis: Iran, available at https://www.eia.gov/beta/international/
analysis.cfm?iso=IRN
31
   See Lan Cao, Currency Wars and the Erosion of Dollar Hegemony, 38 Mich. J. Int’l L. 57, 67-
8 (2016) (“Any country that buys Gulf oil must pay in dollars – hence the term petrodollars.”).
32
   Patrick Clawson, Iran’s Motives and Strategies: The Role of the Economy (May 17, 2006)
(writing, in 2006, that “[o]il and gas exports have shot up from $23 billion in 2002-03 to $55
billion this year, driven entirely by higher prices …. The oil exports have swelled government
coffers allowing an explosion of off-budget spending that has sent economic growth shooting up
to an average of 6.2 percent a year (discounting for inflation) from 2002-03 to this year.”),
available     at     https://www.washingtoninstitute.org/policy-analysis/view/irans-motives-and-
strategies-the-role-of-the-economy.


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more than one billion dollars in oil revenue from the previous year was missing from the state

coffers. 33

        59.    NIOC, which is entitled under Iranian law to retain 14.5% of the oil revenues it

generates, likewise provides little transparency concerning the use of these funds. Some of this

revenue was likely directly controlled by the IRGC itself. 34

        60.    For example, during the Ahmadinejad administration (2005-2013), the Iranian

regime granted billions of dollars in no-bid contracts to Khatam Al-Anbiya (controlled by the

IRGC) that were funded out of the OSF. 35

        61.    The Iranian regime also offered a subsidy of free (or significantly discounted)

gasoline to the IRGC and its Basij Militia. In turn, the IRGC has generated billions of U.S.

dollars of additional revenue from exporting portions of its gasoline subsidy. 36

        62.    In short, historically, Iran’s export earnings and most of its government revenues

derive from oil and natural gas sales in U.S. dollars 37 and those sales, in turn, help fuel the

IRGC’s support for international terrorism.



33
   “Iran looking for missing oil revenue,” UPI (Nov. 20, 2009), available at
https://www.upi.com/Business_News/Energy-Industry/2009/11/20/Iran-looking-for-missing-oil-
revenue/UPI-97311258729114/.
34
   See Mark Gregory, Expanding Business Empire of Iran’s Revolutionary Guards, BBC News
(Jul. 26, 2010), available at http://www.bbc.com/news/world-middle-east-10743580.
35
   Amir Naghshineh-Pour, A Review and Analysis of Iran’s Current Economic Status, Munich
Personal RePEc Archive (Oct. 15, 2008), at 2, available at https://mpra.ub.uni-
muenchen.de/13313/1/MPRA_paper_13313.pdf.
36
   Frederic Wehrey, Jerrold D. Green, Brian Nichiporuk, Alireza Nader, Lydia Hansell, Rasool
Nafisi and S. R. Bohandy, The Rise of the Pasdaran: Assessing the Domestic Roles of Iran’s
Islamic Revolutionary Guards Corps, at 65, available at https://www.rand.org/
content/dam/rand/pubs/monographs/2008/RAND_MG821.pdf (visited March 11, 2020)
(“Facilities such as the Martyr Rajai Port Complex in Hormuzgan province are reportedly used to
export state subsidized gasoline outside the country. The IRGC is estimated to yield a 200–300
percent profit on such illegal sales.”).
37
   See United States v. Atilla, No. 15 Cr. 867 (RMB), 2018 WL 791348, at *11 (S.D.N.Y. Feb. 7,
2018) (quoting testimony that “the Iranian economy is primarily petroleum based. The petroleum


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        63.     In 1995, Under Secretary of State Peter Tarnoff testified before the Senate that “a

straight-line links Iran’s oil income and its ability to sponsor terrorism, build weapons of mass

destruction, and acquire sophisticated armaments.” 38

        64.     In 1996, Congress directly linked Iran’s revenues from its export sales of crude oil

to the regime’s ability to materially support international terrorism, acquire nuclear weapons and

develop ballistic missile delivery systems:

                The Congress declares that it is the policy of the United States to deny
                Iran the ability to support acts of international terrorism and to fund
                the development and acquisition of weapons of mass destruction and
                the means to deliver them by limiting the development of Iran’s ability
                to explore for, extract, refine, or transport by pipeline petroleum
                resources of Iran. 39

        65.     More recently, as Iran has found it harder to generate and access hard currency

under resumed U.S. financial and energy sanctions, the IRGC has increasingly resorted to using

oil shipments as a means of value transfer to continue support to its terrorist proxies. For

example, on September 4, 2019, OFAC acted against a large shipping network that is directed by

and financially supports the IRGC-QF, noting that “the IRGC-QF has moved oil worth hundreds

of millions of dollars or more through this network for the benefit of the brutal Assad regime,

Hizballah, and other illicit actors.”




industry is predominantly U.S. dollar based. For the Iranian economy to function, it, therefore,
must conduct a lot of its business in U.S. dollars.”).
38
   PX407 See Iran Oil Sanctions Act of 1996, HR Rep 104-523, pt 1, 104th Cong, 2d Sess.
(1996), available at https://www.congress.gov/congressional-report/104th-congress/house-
report/523/1
39
   PX406 Iran and Libya Sanctions Act of 1996, Pub. L. No. 104-172, § 3, 110 Stat. 1541 (June
18, 1996).


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        66.      Then-Under Secretary for Terrorism and Financial Intelligence, Sigal Mandelker

confirmed that “Iran’s exportation of oil directly funds acts of terrorism by Iranian proxies.” 40

     F. Central Bank of Iran (a/k/a/ Bank Markazi Jomhouri Islami)

        67.      Bank Markazi Jomhouri Islami also known as The Central Bank of Iran (“Bank

Markazi” or “CBI”) was established in 1960. As stated in the Monetary and Banking Law of Iran

(“MBLI”), it is formally responsible for the design and implementation of the monetary and

credit policies with due regard to the general economic policy of the country.

        68.      On September 20, 2019, the U.S. department of the Treasury sanctioned the CBI

for providing billions of dollars to the IRGC, IRGC-QF and its terrorist proxy, Hezbollah, noting

that “OFAC is designating the CBI today for having materially assisted, sponsored, or provided

financial, material, or technological support for, or goods or services to, the IRGC-QF and

Hizballah.” 41

        69.      Senior CBI officials have played a critical role in enabling illicit networks, using

their official capacity to procure hard currency and conduct transactions for the benefit of the

IRGC-QF and Hezbollah. 42


40
   PX63 Press Release, Dep’t of Treasury, Treasury Designates Vast Iranian Petroleum Shipping
Network That Supports IRGC-QF and Terror Proxies (Sept. 4, 2019), available at https://home.
treasury.gov/news/press-releases/sm767
41
   PX48 Press Release, Dep’t of Treasury, Treasury Sanctions Iran’s Central Bank and National
Development Fund (Sept. 20, 2019), available at https://home.treasury.gov/news/press-
releases/sm780. As discussed further below, on May 15, 2018, OFAC designated the CBI’s then-
Governor Valiollah Seif, and the Assistant Director of the International Department Ali Tarzali,
for facilitating financial transfers for the IRGC-QF and Hizballah. A few months later, in
November 2018, OFAC designated the CBI’s International Department Director Rasul Sajjad,
and the CBI’s International Department Director, Hossein Yaghoobi, for conducting financial
transactions for the IRGC-QF.
42
   PX118 Press Release, Dep’t of Treasury, Treasury Targets Iran’s Central Bank Governor and
an Iraqi Bank Moving Millions of Dollars for IRGC-Qods Force (May 15, 2018), available at
https://home.treasury.gov/news/press-releases/sm0385. PX134 See also Press Release, Dep’t of
Treasury, Treasury Targets Key Hizballah Financing Network and Iranian Conduit (May 17,
2018), available at https://home.treasury.gov/news/press-releases/sm0388.


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       70.     According to FinCEN, “IRGC-QF front companies are known to retrieve funds—

some of which are generated by the sale of Iranian oil—in various currencies from foreign bank

accounts held by the CBI and then transfer the funds back to Iran.” 43

       71.     Tellingly, FinCEN has also reported that the CBI and CBI officials have routed

transactions to personal accounts and those individuals and entities unaffiliated with the CBI or

the Iranian government have withdrawn funds from such accounts. 44

       72.     While the 2019 designation noted that since at least 2016, “the IRGC-QF has

received the vast majority of its foreign currency from the CBI and senior CBI officials have

worked directly with the IRGC-QF to facilitate CBI’s financial support to the IRGC-QF,” the

CBI’s role as a conduit for the IRGC’s terror financing dates back more than two decades.

       73.     For example, at a Press Roundtable in Germany on July 12, 2007, then-U.S.

Under Secretary of the Treasury for Terrorism and Financial Intelligence, Stuart A. Levey,

explained:

               The [Iranian] regime does use its banks to pursue not only its
               proliferation ambitions but also its funding of terrorism … we in the
               United States have taken action against Bank Saderat for its role in
               funneling money from the Central Bank of Iran to terrorist
               organizations [including] Hezbollah … Iran not only uses its banks for
               that purpose, but also its banks engage in deceptive practices in order
               to engage in that business. 45

       74.     A few months later, when the Treasury Department formally designated the

Iranian, state-run Bank Saderat, it noted that:


43
   PX101 FinCEN Advisory, Advisory on the Iranian Regime’s Illicit and Malign Activities and
Attempts to Exploit the Financial System (Oct. 11, 2018), available at https://www.fincen.gov/
sites/default/files/advisory/2018-10-12/Iran%20Advisory%20FINAL%20508.pdf.
44
   PX101 FinCEN Advisory, Advisory on the Iranian Regime’s Illicit and Malign Activities and
Attempts to Exploit the Financial System (Oct. 11, 2018), available at https://www.fincen.gov/
sites/default/files/advisory/2018-10-12/Iran%20Advisory%20FINAL%20508.pdf.
45
   PX303 See 7/12/07 Press Roundtable with Under Secretary of the Treasury Stuart A. Levey,
available at http://germany.usembassy.gov/levey-roundtable.html.


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               For example, from 2001 to 2006, Bank Saderat transferred $50 million
               from the Central Bank of Iran through its subsidiary in London to its
               branch in Beirut for the benefit of Hizballah fronts in Lebanon that
               support acts of violence. 46

       75.     In fact, the total amount of terrorist financing routed through Bank Saderat is

likely much higher. In 2006, Treasury reported that “Bank Saderat facilitates Iran’s transfer of

hundreds of millions of dollars to Hezbollah and other terrorist organizations each year.” 47

       76.     As FinCEN stated in a public guidance document:

               Through state-owned banks, the Government of Iran disguises its
               involvement in proliferation and terrorism activities through an array
               of deceptive practices specifically designed to evade detection. The
               Central Bank of Iran and Iranian commercial banks have requested
               that their names be removed from global transactions in order to make
               it more difficult for intermediary financial institutions to determine the
               true parties in the transaction. 48

       77.     Iran used these deceptive practices in order to pursue its funding of terrorism.

Specifically, Bank Markazi approached non-Iranian banks to develop these deceptive techniques.

CBI ‘approached Standard Chartered Bank (SCB) to act as its recipient bank for U.S. dollar

proceeds from daily oil sales made by the National Iranian Oil Company. SCB accepted, as it

“viewed this engagement as ‘very prestigious’ because ‘in essence, SCB would be acting as

Treasurer to the CBI”) (Exhibit A, ¶ 22). These deceptive practices included stripping

information indicating Iranian entities out of payment order messages.

       78.     In testimony before the House Committee on Foreign Affairs Subcommittee on


46
   See Press Release, Dep’t of the Treasury, Fact Sheet: Designation of Iranian Entities and
Individuals for Proliferation Activities and Support for Terrorism (Oct. 25, 2007), available
athttps://home.treasury.gov/news/press-releases/hp644 .
47
   See Borzou Daragahi, “The Roots of Hezbollah’s Clout Lie in Iran,” L.A. Times (Sept. 10,
2006) (emphasis added), available at https://www.latimes.com/archives/la-xpm-2006-sep-10-fg-
lebiran10-story.html.
48
   PX116 U.S. Treasury | 20 March 2008 | Financial Crimes Enforcement Network Guidance to
Financial Institutions on the Continuing Money Laundering Threat Involving Illicit Iranian
Activity | https://www.fincen.gov/resources/advisories/fincen-advisory-fin-2008-a002


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the Middle East and South Asia and Subcommittee on Terrorism, Nonproliferation and Trade on

April 17, 2008, then Deputy Assistant Secretary of Treasury for Terrorism Financing and

Financial Crimes Daniel Glaser confirmed that:

                Iran uses its global financial ties to pursue both the threat of terrorism
                and a nuclear program through an array of deceptive practices
                specifically designed to avoid suspicion and evade detection from the
                international financial community. [One] method Iranian banks use to
                evade controls is to ask other financial institutions to remove their
                names when processing transactions through the international financial
                system.... This practice is even used by the Central Bank of Iran to
                facilitate transactions for sanctioned Iranian banks. 49

        79.     On November 21, 2011, the U.S. Department of the Treasury issued a finding that

identified the Islamic Republic of Iran as a jurisdiction of primary money laundering concern

under Section 311 of the U.S.A PATRIOT Act (Section 311) based on Iran’s support for

terrorism; pursuit of weapons of mass destruction (WMD); reliance on state-owned or controlled

agencies to facilitate WMD proliferation; and the illicit and deceptive financial activities that

Iranian financial institutions – including the Central Bank of Iran – and other state-controlled

entities engage in to facilitate Iran’s illicit conduct and evade sanctions. 50

        80.     In response to the Treasury’s finding under Section 311 of the PATRIOT Act,

Congress passed a series of provisions concerning CBI which were included in the National

Defense Authorization Act for FY2012 (“NDAA FY2012”), now codified as 22 U.S.C. § 8513,

as follows:

                (a)     Findings

                Congress makes the following findings:

49
   PX302 See 4/17/08 Testimony of Daniel Glaser before Subcommittee on the Middle East and
South Asia and the Subcommittee on Terrorism, Nonproliferation and Trade, available at
http://www.iranwatch.org/sites/default/files/glaser-prepared-041708.pdf (emphasis added).
50
   PX29 See Press Release, Dep’t of Treasury, Fact Sheet: New Sanctions on Iran (Nov. 21,
2011), available at https://home.treasury.gov/news/press-releases/tg1367 (all emphasis in this
paragraph added).


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(1)     On November 21, 2011, the Secretary of the Treasury issued a
finding under section 5318A of title 31 that identified Iran as a
jurisdiction of primary money laundering concern.

(2)    In that finding, the Financial Crimes Enforcement Network of
the Department of the Treasury wrote, “The Central Bank of Iran,
which regulates Iranian banks, has assisted designated Iranian banks
by transferring billions of dollars to these banks in 2011. In mid-2011,
the CBI transferred several billion dollars to designated banks,
including

Saderat, Mellat, EDBI and Melli, through a variety of payment
schemes.

In making these transfers, the CBI attempted to evade sanctions by
minimizing the direct involvement of large international banks with
both CBI and designated Iranian banks.

(3)    On November 22, 2011, the Under Secretary of the Treasury
for Terrorism and Financial Intelligence, David Cohen, wrote,
“Treasury is calling out the entire Iranian banking sector, including the
Central Bank of Iran, as posing terrorist financing, proliferation
financing, and money laundering risks for the global financial system.”

(b)    Designation of financial sector of Iran as of primary money
laundering concern

The financial sector of Iran, including the Central Bank of Iran, is
designated as a primary money laundering concern for purposes of
section 5318A of title 31 because of the threat to government and
financial institutions resulting from the illicit activities of the
Government of Iran, including its pursuit of nuclear weapons, support
for international terrorism, and efforts to deceive responsible financial
institutions and evade sanctions.

(c)    Freezing of assets of Iranian financial institutions

The President shall, pursuant to the International Emergency
Economic Powers Act (50 U.S.C. 1701 et seq.), block and prohibit all
transactions in all property and interests in property of an Iranian
financial institution if such property and interests in property are in the
United States, come within the United States, or are or come within the
possession or control of a United States person.

(d)    Imposition of sanctions with respect to the Central Bank of Iran
and other Iranian financial institutions

(1)    In general


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                Except as specifically provided in this subsection, beginning on the
               date that is 60 days after December 31, 2011, the President—

               (A)     shall prohibit the opening, and prohibit or impose strict
               conditions on the maintaining, in the United States of a correspondent
               account or a payable-through account by a foreign financial institution
               that the President determines has knowingly conducted or facilitated
               any significant financial transaction with the Central Bank of Iran or
               another Iranian financial institution designated by the Secretary of the
               Treasury for the imposition of sanctions pursuant to the International
               Emergency Economic Powers Act (50 U.S.C. 1701 et seq.); and

               (B)    may impose sanctions pursuant to the International Emergency
               Economic Powers Act (50 U.S.C. 1701 et seq.) with respect to the
               Central Bank of Iran.

       81.     Pursuant to the NDAA of FY2012, Executive Order 13599, issued February 6,

2012, implemented blocking sanctions on the Government of Iran, including the CBI:

               In light of the deceptive practices of the Central Bank of Iran and other
               Iranian banks to conceal transactions of sanctioned parties, the
               deficiencies in Iran’s anti-money laundering regime and the
               weaknesses in its implementation, and the continuing and
               unacceptable risk posed to the international financial system by Iran’s
               activities. 51

       82.     While the NDAA FY2012 contains certain specified exemptions (e.g., for

agricultural goods) and permits presidential waivers in very limited circumstances (in the

interests of U.S. national security), these exemptions in no way impact the underlying finding

that CBI is involved in financing terrorism.

       83.     In fact, in 2019, the U.S. Government updated and finalized the proposed rule

related to its 2011 finding of Iran as a “Jurisdiction of Primary Money Laundering Concern,” in

which FinCEN reiterated that Iran has “developed covert methods for accessing the international

financial system and pursuing its malign activities,” including by “masking illicit transactions


51
   PX403 Executive Order 13599 of February 5, 2012, “Blocking Property of the Government of
Iran        and         Iranian         Financial      Institutions,”     available      at
https://home.treasury.gov/system/files/126/iran_eo_02062012.pdf.


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using senior officials, including those at the Central Bank of Iran,” which “efforts often serve to

fund the Islamic Revolutionary Guard Corps (IRGC), its Islamic Revolutionary Guard Corps

Qods Force (IRGC-QF), Lebanese Hizballah … terrorist groups.” 52

       84.     Concurrent with these reiterated findings, the CBI was designated in 2019 under

Executive Order 13224 for having “provided billions of dollars to the Islamic Revolutionary

Guards Corps (IRGC), its Qods Force (IRGC-QF) and its terrorist proxy, Hizballah.” 53 As

described above, however, the CBI has already been sanctioned for a decade.

       85.     The Treasury Department also designated four of CBI’s executive employees that

conducted financial transfers for the IRGC-QF and Hizballah. In its May 15, 2018, designation

of the CBI’s former governor as an SDGT, the Treasury Department reported:




52
   PX235 FinCEN, Imposition of Fifth Special Measure Against the Islamic Republic of Iran as a
Jurisdiction of Primary Money Laundering Concern (Nov. 4, 2019), 84 Fed. Reg. 59302, 59304,
available at https://www.federalregister.gov/documents/2019/11/04/2019-23697/imposition-of-
fifth-special-measure-against-the-islamic-republic-of-iran-as-a-jurisdiction-of
53
    Press Release, Dep’t of Treasury, Treasury Sanctions Iran’s Central Bank and National
Development Fund (Sept. 20, 2019), available at https://home.treasury.gov/news/press-
releases/sm780.


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               Iran’s Central Bank Governor covertly funneled millions of dollars on
               behalf of the IRGC-QF through Iraq-based al-Bilad Islamic Bank to
               enrich and support the violent and radical agenda of Hizballah. It is
               appalling, but not surprising, that Iran’s senior-most banking official
               would conspire with the IRGC-QF to facilitate funding of terror
               groups like Hizballah, and it undermines any credibility he could claim
               in protecting the integrity of the institution as a central bank
               governor,” said Treasury Secretary Steven T. Mnuchin. [...] OFAC is
               designating Valiollah Seif, Iran’s Central Bank Governor, for
               assisting, sponsoring, or providing financial, material, or technological
               support for, or financial or other services to or in support of, the
               IRGC- QF. Seif has conspired with the IRGC-QF to move millions of
               dollars through the international financial system in a variety of
               foreign currencies to allow the IRGC-QF to fund its activities abroad.
               Seif has also supported the transfer of IRGC-QF-associated funds to
               al-Bilad Islamic Bank, an Iraq-based bank which is also being
               designated today. 54

       86.     In the same designation, the Treasury Department also designated Ali Tarzali, the

assistant director of the International Department at the CBI “for assisting, sponsoring, or

providing financial, material, or technological support for, or financial or other services to or in

support of, the IRGC-QF,” emphasizing that “Tarzali has worked with Hizballah and proposed

that the terrorist group send funds through Iraq-based al-Bilad Islamic Bank.” 55

       87.     An “extensive currency exchange network” in Iran and the United Arab Emirates

“that has procured and transferred millions in U.S. dollar-denominated bulk cash to [...] IRGC-

QF [...] to fund its malign activities and regional proxy groups” was also designated in 2018,

accompanied by a Treasury announcement that emphasized how “Iran’s Central Bank was




54
   PX118 Press Release, Dep’t of Treasury, Treasury Targets Iran’s Central Bank Governor and
an Iraqi Bank Moving Millions of Dollars for IRGC-Qods Force (May 15, 2018), available at
https://home.treasury.gov/news/press-releases/sm0385.
55
   In November 2018, Treasury designated the CBI’s International Department Director Rasul
Sajjad, and the CBI’s International Department Director, Hossein Yaghoobi, for conducting
financial transactions for the IRGC-QF. Press Release, Dep’t of Treasury, Treasury Sanctions
Iran’s Central Bank and National Development Fund (Sept. 20, 2019), available at
https://home.treasury.gov/news/press-releases/sm780.


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complicit in the IRGC-QF’s scheme and actively supported this network’s currency conversion

and enabled its access to funds that it held in its foreign bank accounts.” 56

        88.    During the same time period, Bank Markazi also maintained a Eurodollar credit

facility at Standard Chartered Bank’s branch in Dubai, UAE, which it used to assist Iran in

illegally acquiring technology and components on behalf of MODAFL.

        89.    Considering the above information, it is my expert opinion that Iran has used CBI

for many years, including the entire relevant period, to transfer funds to support terrorism,

principally to the IRGC-QF and Hezbollah.

     G. Bank Melli Iran

        90.    Bank Melli Iran (“BMI”) is Iran’s largest commercial bank. One indication of its

great weight in the Iranian economy is that in its 2014/15 financial report in English, the Bank

reported that it had issued 36,272,018 bank cards – in a country with a population of 85

million. 57

        91.    It also reported 56,576 employees, 3,165 branches, and 6,480 ATMs. 58 CBI lists

Bank Melli Iran as a “commercial government owned bank.” 59

        92.    In Weinstein v. Islamic Republic of Iran, 624 F.Supp.2d 272, 274 (E.D.N.Y.

2009), the court stated, “Melli concedes that the Property is a ‘blocked asset’ under the

[Terrorism Risk Insurance Act] and that Bank Melli is an ‘agency or instrumentality’ of Iran.”




56
   PX135 Press Release, Dep’t of Treasury, United States and United Arab Emirates Disrupt
Large Scale Currency Exchange Network Transferring Millions of Dollars to the IRGC-QF (May
10, 2018), available at https://home.treasury.gov/news/press-releases/sm0383.
57
   PX805
http://bmi.ir/Fa/uploadedFiles/FinanceReportFiles/2016_1_20/b464c254b3%20b754ca6cf7.pdf.
58
   PX805
http://bmi.ir/Fa/uploadedFiles/FinanceReportFiles/2016_1_20/b464c254b3%20b754ca6cf7.pdf.
59
   http://www.cbi.ir/simplelist/3088.aspx, accessed February 14, 2016.


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       93.     Bank Melli Iran was founded in 1928 as Iran’s first domestically owned

commercial bank. 60 Its very name means “National Bank of Iran.” Until 1959 (shortly before

CBI was established), Bank Melli Iran was in effect the country’s central bank; among other

duties, it was responsible for emitting the country’s currency. Bank Melli Iran, however, remains

central to the government’s banking needs. According to its website, “[c]ompared to other

commercial banks in the country a greater volume of the foreign exchange operations,

government banking services and a sizeable share of project and trade financing are handled and

managed by Bank Melli Iran, making it the largest provider of finance for the country’s 5-year

development plans.” 61 As this statement makes clear, Bank Melli Iran is the largest provider of

banking services to the Iranian government. 62

       94.     Bank Melli Iran is particularly active in international transactions. According to

the 2014/15 annual report, “[d]ue to its prominent position in the country’s banking system and

because of benefiting [sic] from its extensive and powerful international network; BMI [Bank

Melli Iran] bears the responsibility of a major part of the country’s foreign currency


60
   See http://bmi.ir/En/BMIHistory.aspx?smnuid=10011.
61
   See http://bmi.ir/En/BMIHistory.aspx?smnuid=10011.
62
   During the relevant time period, Iran also used Bank Melli to funnel material support through
Iran’s Defense Industries Organization (DIO) that, in turn, was provided to terror groups
operating in Iraq. Weapons and munitions manufactured by the DIO, an Iranian government-
owned defense manufacturer, comprised a significant portion of the material used by those
targeting and attacking U.S. forces in Iraq. This was extensively documented by the U.S.-led
forces in Iraq, whose findings can be found in a 2008 study released by the U.S. Military
Academy at West Point’s Center for Countering Terrorism. The study includes a “compilation
and assessment of caches recovered by Coalition and Iraqi Security Forces containing suspected
Iranian weapons and munitions,” including arms that Iran “openly markets” on the Defense
Industries Organization’s website. In fact, “[t]his site even offers to allow purchases of lethal
munitions by credit card! Significantly, many of the photos of Iranian munitions such as mortar
rounds and rockets provided on this open site closely match photos of munitions recovered in
Iraq.” (See Joseph Felter and Brian Fishman, “Iranian Strategy in Iraq: Politics and ‘Other
Means,’” available at https://ctc.usma.edu/wp-content/uploads/2010/06/Iranian-Strategy-in-
Iraq.pdf)



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transactions.” 63 These operations are closely supervised by CBI, as described on the Bank Melli

Iran website, which states, “[t]he branches of Bank Melli Iran dealing in foreign exchange

transactions will be ready to address the requirements of both exporters and importers in line

with the country’s foreign exchange policies and on the basis of the guidelines issued by Central

Bank of the Islamic Republic of Iran.” 64

         95.    Bank Melli Iran has several overseas affiliates. As its 2014/15 annual report

describes, “[t]he first overseas branch of BMI was established in Hamburg, Germany, in 1965.

From then, BMI has fortified its international presence by rapidly expanding its foreign network.

According to its 2014/5 annual report, BMI had 20 units in foreign countries including branches

and subsidiaries (independent bank) in England, Germany, France, Russia, United Arab

Emirates, Hong Kong, Afghanistan, Azerbaijan, Oman, Iraq, and Bahrain.”

      H. Bank Melli’s Provision of Material Support to the IRGC

         96.    Bank Melli was first designated by the Treasury Department in 2007 under

Executive Order 13382 which related to proliferation activities for providing banking services to

entities involved in Iran's nuclear and ballistic missile programs. However, the Treasury

Department also noted in its 2007 press release that Melli provides banking services to the IRGC

and the IRGC-QF:




63
     See http://bmi.ir/En/BMIHistory.aspx?smnuid=10011.
64
     See http://bmi.ir/En/BMIHistory.aspx?smnuid=10011.


                                                                                              33


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               Bank Melli also provides banking services to the IRGC and the Qods
               Force. Entities owned or controlled by the IRGC or the Qods Force
               use Bank Melli for a variety of financial services. From 2002 to 2006,
               Bank Melli was used to send at least $100 million to the Qods Force.
               When handling financial transactions on behalf of the IRGC, Bank
               Melli has employed deceptive banking practices to obscure its
               involvement from the international banking system. For example,
               Bank Melli has requested that its name be removed from financial
               transactions. 65

       97.     The connection to IRGC-QF is notable as IRGC-QF is central to Iran’s support

for terrorism. Further, in a separate fact sheet on preventative measures against Iran, the Treasury

Department stated:

               “Iran Uses its Banks to Finance Terrorism. In a number of cases, Iran
               has used its state-owned banks to channel funds to terrorist
               organizations…Iran’s Bank Melli, which has been designated by the
               United States under E.O. 13382 for proliferation-related activities, was
               used to transfer at least $100 million to the IRGC-Qods Force between
               2002 and 2006.” 66

Bank Melli also obfuscated the involvement of other Iranian entities in financial transactions

including the IRGC:

               Following the designation of Bank Sepah under UNSCR 1747, Bank
               Melli took precautions not to identify Bank Sepah in transactions.
               Bank Melli also has employed similar deceptive practices to obscure
               its involvement from the international banking system when handling
               financial transactions on behalf of the IRGC. 67

       98.     In 2018, Treasury designated Bank Melli pursuant to E.O. 13224 “for assisting in,

sponsoring, or providing financial, material, or technological support for, or financial or other


65
   See Press Release, U.S. Dep’t of the Treasury, Fact Sheet: Designation of Iranian Entities and
Individuals for Proliferation Activities and Support for Terrorism (Oct. 25, 2007), available at
https://home.treasury.gov/news/press-releases/hp644
66
   PX122 Press Release, Dep’t of the Treasury, Fact Sheet: Treasury Strengthens Preventative
Measures Against Iran (Nov. 6, 2008), available at https://home.treasury.gov/news/press-
releases/hp1258
67
   PX122 Press Release, Dep’t of the Treasury, Fact Sheet: Treasury Strengthens Preventative
Measures Against Iran (Nov. 6, 2008), available at https://home.treasury.gov/news/press-
releases/hp1258


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services to or in support of, the IRGC-QF,” announcing that “[a]s of 2018, the equivalent of

billions of dollars in funds have flowed through IRGC-QF controlled accounts at Bank Melli,”

“Bank Melli has acted as a conduit for payments to the IRGC-QF,” and “[t]he IRGC-QF has

used Bank Melli to dispense funds to Iraqi Shia militant groups,” adding that “Bank Melli’s

presence in Iraq was part of this scheme.” Treasury specifically announced that “[s]ince the mid-

2000s, Bank Melli increasingly provided services to Iranian military-related entities as they

became further involved in all aspects of the Iranian economy.” 68

         99.     In my expert opinion, during the relevant time period, Bank Melli provided

banking services that provided significant funding to the IRGC-QF to support terrorist

activities. 69

     I. National Iranian Oil Company

         100.    NIOC is responsible for “exploration, drilling, production, research and

development, refining, distribution and export of oil, gas, petroleum products.” 70 It also performs

state policy functions:

                 “NIOC, in accordance with Article 44 of the Constitution, gives
                 authority to different sectors, while supervising oil industry activities.
                 The company has taken major steps toward establishing business
                 enterprises, funded financial resources for development, helped to
                 update technologies for exploration, drilling and production with
                 reliance on the knowledge of Iranian experts.” 71


68
   PX51 Press Release, Dep’t of Treasury, U.S. Government Fully Re-Imposes Sanctions on the
Iranian Regime as Part of Unprecedented U.S. Economic Pressure Campaign (November 5,
2018), available at https://home.treasury.gov/news/press-releases/sm541.
69
   In fact, the State Department has previously found that Bank Melli (and Bank Markazi)
provided crucial banking services to the IRGC-QF.
70
    PX810 NIOC, Introduction to National Iranian Oil Company, at PDF page 7, available at
https://www.nioc.ir/portal/file/?175586/catalog-nioc-EN.pdf. PX262 See also U.S. Dep’t of
Energy, Analysis: Iran, available at https://www.eia.gov/beta/international/analysis.cfm?iso=IRN
(“The state-owned National Iranian Oil Company is responsible for all upstream oil and natural
gas projects.”).
71
   Introduction to National Iranian Oil Company, supra at n.61, at PDF page 7.


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       101.    According to its website, “it is estimated that the company holds 156.53 billion

barrels of liquid hydrocarbons and 33.79 trillion cubic meters of natural gas,” 72 making it the

second largest oil company in the world, after Saudi Arabia’s Aramco. 73

       102.    NIOC is entirely owned by the government of Iran. Iran’s Petroleum Minister

Bijan Zanganeh is Chairman of NIOC’s Board; his predecessors as minister also held that

position with NIOC while in office. As the U.S. Treasury Department put the matter in a

September 24, 2012, press release: “NIOC, which is owned by the Government of Iran through

the Ministry of Petroleum, is responsible for the exploration, production, refining, and export of

oil and petroleum products in Iran.” 74

       103.    NIOC generates billions of dollars in revenue each year for the Iranian

government. Depending on changes in the price of oil, revenue from NIOC has historically,

including in the relevant period been between one-third and two-thirds of the Iranian

government’s total revenue (this is in addition to the sums NIOC pays in taxes). 75

       104.    NIOC, as a part of its “General Terms and Conditions,” has required purchasers

of Iranian crude oil to obtain letters of credit from multinational banks. 76 A number of these

banks, as shown have been willing to enable unlawful economic sanctions evasion activities.


72
   Mohammad Soltanieh, et al., A review of global gas flaring and venting and impact on the
environment: Case study of Iran, Int’l J. Greenhouse Gas Ctrl, vol. 49, 489, 500 (Mar. 30, 2016)
available at http://cpm.nioc.ir/Monthly_OilReport/EnergyConsumption_EvaluationOfProject/A_
review_of_global_gas_flaring_and_venting_and_impact_on_the_environment.pdf.
73
   PX233 Fed. Trade Comm., Gasoline Price Changes and the Petroleum Industry: An Update
(Sept. 2011), available at https://www.ftc.gov/sites/default/files/documents/reports/federal-
trade-commission-bureau-economics-gasoline-price-changes-and-petroleum-industry-
update/federal-trade-commission-bureau-economics-gasoline-price-changes-and-petroleum-
industry.pdf
74
   PX125 Press Release, Dep’t of Treasury, Treasury Submits Report To Congress On NIOC
And NITC (Sept. 24, 2012), available at https://home.treasury.gov/news/press-releases/tg1718
75
   See supra at n.22.
76
    PX802 See Section 3 of Defendant NIOC–Tehran’s General Terms and Conditions for
purchasing crude oil, available athttps://www.nioc-intl.ir/EN/CrudeGTC.aspx .


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        105.   To move these revenues undetected, CBI and NIOC worked together to subvert

U.S. banking laws by illegally structuring transactions and removing information to avoid

scrutiny in the United States.

        106.   NIOC structures many of its oil sales in deliberately non-transparent ways that

obscure the ultimate beneficiary accounts to which its revenues flow. For example, the methods

described in Section K below demonstrate (1) the symbiotic relationship between the CBI and

NIOC, (2) the opacity of the means by which NIOC received payment for oil sales during the

relevant period and (3) the considerable efforts undertaken to enlist non-Iranian banks in helping

NIOC (unlawfully) obscure the flow of funds through the U.S. financial system.

     J. Role of Defendants in Financing Attacks on Plaintiffs

        107.   The Treasury Department reported to Congress on September 24, 2012, that

“NIOC is an agent or affiliate of the IRGC.” 77 The Treasury’s finding was pursuant to section

104(c)(2)(E)(i) of the Comprehensive Iran Sanctions, Accountability, and Divestment Act of

2010 (“CISADA”) and section 312 of the Iran Threat Reduction and Syria Human Rights Act of

2012 (“ITRSHRA”). ITHSHRA Section 312 reads in part:

               (a) SENSE OF CONGRESS. —It is the sense of Congress that the
               National Iranian Oil Company and the National Iranian Tanker
               Company are not only owned and controlled by the Government of
               Iran but that those companies provide significant support to Iran’s
               Revolutionary Guard Corps and its affiliates. 78

        108.   On December 13, 2012, NIOC was further designated under Executive Order

13382 for its role in assisting the IRGC with the proliferation of weapons of mass destruction. As

explained in the fact sheet issued by the Treasury Department on that day:



77
  PX124 Letter from Adam J. Szubin, OFAC Director, to Congress, dated September 24, 2012,
available at https://www.treasury.gov/resource-center/sanctions/Programs/Documents/report_to_
congress_09242012.pdf.


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               NIOC is being designated for providing, or attempting to provide,
               financial, material, or other support for and services in support of the
               IRGC. Under the current Iranian regime, the IRGC’s influence has
               grown within NIOC and Iran’s overall energy sector. As the IRGC has
               become increasingly influential in Iran’s energy sector, IRGC’s
               construction and development wing, Khatam Al-Anbia, has obtained
               billions of dollars’ worth of contracts from NIOC, often without
               participating in a competitive bidding process. 79

       109.    As explained above in sections above, the vast sums NIOC generates in oil sales

and taxes has historically and during the relevant period been the principal source of revenue for

the Iranian government, which has been used to provide material support to terrorist groups.

       110.    On January 23, 2020, Treasury reaffirmed that NIOC “helps to finance Iran’s

[IRGC-QF] and its terrorist proxies,” and designated four international petrochemical and

petroleum companies that “have collectively transferred the equivalent of hundreds of millions of

dollars’ worth of exports from the National Iranian Oil Company (NIOC), an entity instrumental

in Iran’s petroleum and petrochemical industries, which helps to finance Iran’s Islamic

Revolutionary Guard Corps-Qods Force (IRGC-QF) and its terrorist proxies.” 80

       111.    A month later, Treasury designated five additional United Arab Emirates-based

companies for having “purchased hundreds of thousands of metric tons of petroleum products

from [] NIOC []. Treasury again stressed that “Iran’s petroleum and petrochemical industries are

major sources of revenue for the Iranian regime, which has used these funds to support the




78
   PX408 Iran Threat Reduction and Syria Human Rights Act of 2012, Pub. Law No. 112-158
(Aug.10, 2012), available at https://home.treasury.gov/system/files/126/hr_1905_pl_112_158.pdf
79
   PX72 Fact Sheet, Dep’t of Treasury, Sanctions on Iranian Government and Affiliates (Nov. 8,
2012), available athttps://home.treasury.gov/news/press-releases/tg1760 . See also
http://www.iranwatch.org/iranian-entities/national- iranian-oil-company.
80
   PX133 Press Release, Dep’t of Treasury, Treasury Targets International Network Supporting
Iran’s Petrochemical and Petroleum Industries (Jan. 23, 2020), available at
https://home.treasury.gov/news/press-releases/sm885 (emphasis added).


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Islamic Revolutionary Guard Corps-Qods Force’s (IRGC-QF) malign activities throughout the

Middle East, including the support of terrorist groups.” 81

       112.    Treasury also designated a worldwide Iranian petroleum shipping Network

originating with NIOC for “financially support[ing] [the IRGC-QF] and its terror proxy

Hizballah” in a “vast oil-for-terror shipping network.” 82 It found that the shipping network “is

directed by [the IRGC-QF] and its terrorist proxy Hizballah,” and declared “that those

purchasing Iranian oil are directly supporting Iran’s militant and terrorist arm, [the IRGC-

QF].” 83 Notably, according to the Treasury, the network was overseen by Senior IRGC-QF

official and former Iranian Minister of Petroleum (2011-2013) Rostam Qasemi. 84

       113.    In designating a Chinese company, Zhuhai Zhenrong Company Limited

(“Zhenrong”), for purchasing hundreds of millions of dollars in oil from NIOC, Secretary of

State Mike Pompeo explained the designation was intended to “deny the [Iranian] regime critical


81
   PX132 Press Release, Dep’t of Treasury, Treasury Targets Companies Facilitating Iran’s
Petroleum Sales (March 19, 2020), available at https://home.treasury.gov/news/press-
releases/sm949. Treasury also designated Iran’s largest petrochemical holding group, Persian
Gulf Petrochemical Industries Company (“PGPIC”), for providing financial support to U.S.-
designated Khatam al-Anbya Construction Headquarters, the engineering conglomerate of the
IRGC, along with its vast network of 39 subsidiary petrochemical companies and foreign-based
sales agents. PX76 Press Release, Dep’t of Treasury, Treasury Sanctions Iran’s Largest
Petrochemical Holding Group and Vast Network of Subsidiaries and Sales Agents (June 7,
2019), available at https://home.treasury.gov/news/press-releases/sm703.
82
   Treasury Press Release, Treasury Designates Vast Iranian Petroleum Shipping Network That
Supports      IRGC-QF        and    Terror   Proxies    (Sept.     4,  2019),   available    at
https://home.treasury.gov/news/press-releases/sm767
83
   Treasury Press Release, Treasury Designates Vast Iranian Petroleum Shipping Network That
Supports      IRGC-QF        and    Terror   Proxies    (Sept.     4,  2019),   available    at
https://home.treasury.gov/news/press-releases/sm767
84
   Prior to serving as Minister of Petroleum (and Chairman of NIOC), Qasemi was Commander
of the IRGC construction affiliate Khatam al Anibya, which further underscores the relationship
between various IRGC affiliates and NIOC. Qasemi was first designated E.O. 13382 for his role
with Khatam al Anbiya in 2010 and under E.O. 13224 in September 2019, along with the
broader petroleum-shipping network that he oversaw. PX126 See “Treasury Targets Iran’s
Islamic      Revolutionary       Guard     Corps”    (Feb.     10,    2010),   available     at
https://home.treasury.gov/news/press-releases/tg539


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income to fund terror around the world, engage in foreign conflicts, and advance its ballistic

missile development.” 85

     K. Mechanisms Used by CBI, Bank Melli and NIOC to Access Laundered Funds
        Through the International Financial System

        114.    These defendants played crucial roles in moving billions of dollars through the

international financial system for the benefit of the IRGC and other elements of Iran’s terror

apparatus. Defendants’ roles centered around manipulation of the U.S. and global financial

system. The vast majority of U.S. dollar-denominated funds transfers effected abroad must

ultimately clear across the books of the U.S. Federal Reserve Bank of New York (“FRB-NY”),

providing the United States with a key opportunity to monitor these transfers for misuse,

including terror financing. 86

        115.    Before being cut off from direct access to the U.S. financial system in 2008, a

limited exception, called the U-turn exemption, allowed Iranian banks to “clear” U.S. dollar-

denominated transactions through U.S. banks as long as third-country banks were the originator

and beneficiary of the cross border electronic funds transfer. Iran required such dollar clearing

services because its primary source of revenue, crude oil exports, are generally priced in dollars,

and because U.S. dollars underpin much of the global economy. 87


85
   PX28 Press Release, U.S. Dep’t of State, The United States to Impose Sanctions on Chinese
Firm Zhuhai Zhenrong Company Limited for Purchasing Oil from Iran (July 22, 2019), available
at      https://2017-2021.state.gov/the-united-states-to-impose-sanctions-on-chinese-firm-zhuhai-
zhenrong-company-limited-for-purchasing-oil-from-iran/index.html(visited on January 20,
2020).
86
   CHIPS [see infra at n. 79] estimates that it handles 95 percent of all U.S. dollar payments
moving between countries.” PX232 Fed. Reserve Bank of N.Y., “About the New York Fed:
CHIPS,” available at https://www.newyorkfed.org/aboutthefed/fedpoint/fed36.html.
87
   According to the International Monetary Fund (“IMF”), over 61 percent of all foreign bank
reserves are denominated in U.S. dollars. See Currency Composition of Official Foreign
Exchange Reserves (“COFER”), International Monetary Fund (2019), available at
https://data.imf.org/?sk=E6A5F467-C14B-4AA8-9F6D-5A09EC4E62A4 (visited January 15,
2020).


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       116.    Only a limited number of banks, all of which must be physically located in the

United Sates, are capable of directly processing cross-border U.S. dollar-denominated

transactions through a private funds transfer processing system called CHIPS (“Clearing House

Interbank Payments System”); 88 all other financial institutions must hold accounts with those

banks called “correspondent” or “interbank” accounts. 89 Smaller foreign banks or foreign banks

otherwise unable to hold an account in the United States may hold a correspondent with another

foreign bank that itself holds a correspondent account with a New York bank capable of

processing cross-border funds transfers.

       117.    CHIPS collects and offsets (“clears”) transactions that participating Banks submit

for themselves and for correspondent account holders. The remaining balances are “settled” by

transferring those balances across the CHIPS participants’ accounts at the FRB-NY. Thus, a

transfer of funds from a foreign originator to a foreign beneficiary may pass through several

banks before completion (e.g., (1) originator’s bank, (2) that bank’s correspondent bank in New

York, (3) beneficiary bank’s correspondent bank in New York, (4) beneficiary’s bank). During

the relevant period, Iranian banks, long since banned from holding correspondent accounts in the

U.S., held correspondent accounts with foreign banks that themselves clear and settle U.S.



88
   “The Clearing House Interbank Payments System (CHIPS) is an electronic payments system
that transfers funds and settles transactions in U.S. dollars. CHIPS enables banks to transfer and
settle international payments more quickly by replacing official bank checks with electronic
bookkeeping entries. As of January 2002, CHIPS had 59 members, including large U.S. banks
and U.S. branches of foreign banks.” Id. PX123 See also U.S. Dep’t of the Treasury, Financial
Crimes Enforcement Network, Feasibility of a Cross-Border Electronic Funds Transfer
Reporting System Under the Bank Secrecy Act (Oct. 2006), App. D, at 62, available at
https://www.fincen.gov/ sites/default/files/shared/CBFTFS_Complete.pdf (“Access to the CHIPS
payment system is conditional upon a financial institution’s U.S. presence. In other words, the
financial institutions using CHIPS must operate a U.S. branch or office for the use of the
system.”).
89
   See United States v. Union Bank, 487 F3d 8, 15 (1st Cir. 2007) (“Interbank accounts, also
known as correspondent accounts, are used by foreign banks to offer services to their customers


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dollar-denominated transactions, either through the New York branches of foreign banks or U.S.

banks.

         118.   To monitor these transactions, banks operating in the United States are required to

screen transaction messages against blacklists promulgated by OFAC, usually using compliance

software. Transactions involving a blacklisted or blocked party cannot be processed unless

certain conditions are met (for example, OFAC issues licenses for Iranian transactions involving

medical supplies and other humanitarian items).

         119.   The message types of three major financial messaging services relevant here are:

            •   “SWIFT” messages, designed and operated by the Society for Worldwide
                Interbank Financial Telecommunication, a global private messaging network;

            •   “CHIPS” messages; and

            •   “Fedwire” messages, designed and operated by the Federal Reserve System’s
                Fedwire Funds Service, for transferring “central bank” money.

         120.   For decades, transactions with Iranian banks and entities linked to the Iranian

government were also heavily restricted. As mentioned above, an exemption for so-called “U-

turn” transactions permitted U.S. banks to process certain U.S. dollar-denominated transactions

for Iran’s benefit allowing, for example, NIOC to continue selling Iranian crude oil denominated

in U.S. dollars. Such transactions were only allowable where payments were initiated offshore by

a non-Iranian, non-U.S. financial institution and only passed through the U.S. financial system en

route to another offshore, non-Iranian, non-U.S. financial institution—hence the term “U-turn.”

         121.   The Defendants here, with the cooperation of several Western financial

institutions, exploited the U-Turn exemption so thoroughly that Treasury revoked it altogether in

2008. Treasury revoked the exemption explicitly to prevent “the significant terrorist financing



in jurisdictions where the banks have no physical presence, and otherwise to facilitate


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and proliferation risks posed by Iran,” concluding that “Iran’s access to the international

financial system enables the Iranian regime to facilitate its support for terrorism and

proliferation.” 90 Significantly, the revocation attempted to “close the last general entry point for

Iran to the U.S. financial system.” 91 Yet, Defendants, through complicit western banks, were

able to continue accessing the U.S. financial system through the means described below.

       122.    Both before and after OFAC’s revocation of the U-Turn exemption, Iran and its

co-Defendants were resorting to illegal methods for blinding non-complicit correspondent banks

in New York, and U.S. and state regulators, from identifying Iranian parties to cross-border

electronic funds transactions—constituting many of the “deceptive practices” repeatedly

identified by Treasury as central to Iran’s terror financing. See supra at ¶¶ 73-79, 93-96. The

deceptive practices include:

           •   Removing or altering identifying information in the SWIFT messages—typically
               Message Type (“MT”) 103 funds transfer messages 92—that CBI, Bank Melli, and
               other Iranian banks acting in concert with them sent through U.S. correspondent
               banks (commonly referred to as “stripping”);

           •   Converting SWIFT payment messages through U.S. banks from ones that
               disclosed Iranian parties to the transactions into ones that did not (called “cover
               payments”), typically using MT-202 “bank to bank” transfer messages; and




transactions involving such jurisdictions”).
90
   See Press Release, U.S. Dep’t of the Treasury, “Fact Sheet: Treasury Strengthens Preventive
Measures Against Iran” (Nov. 6, 2008), available at https://home.treasury.gov/news/press-
releases/hp1258
91
   See Press Release, U.S. Dep’t of the Treasury, “Fact Sheet: Treasury Strengthens Preventive
Measures Against Iran” (Nov. 6, 2008), available at https://home.treasury.gov/news/press-
releases/hp1258
92
   According to SWIFT, an MT-103 message “is used to convey a funds transfer instruction in
which the ordering customer or the beneficiary customer, or both, are non-financial institutions
from the perspective of the Sender.” PX216 See “Message Reference Guide, Category 1–
Customer Payments and Cheques” at 190, SWIFT SCRL (July 19, 2019), available at
https://www2.swift.com/knowledgecentre/rest/v1/publications/us1m_20190719/2.0/us1m_20190
719.pdf.


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            •    Altering or otherwise facilitating Iranian-financed letters of credit to evade
                 compliance with OFAC, the State Department’s U.S. Munitions List (“USML”)
                 of defense-related export-controlled items, the Bureau of Industry and Security’s
                 Commerce Control List (“CCL”) of dual-use export controlled items, and Denied
                 Persons List (“DPL”) of export denied entities.

        123.     These methods were uncovered and identified during several U.S. federal and

state investigations into financial institutions operating in the United States who were found to

have been actively assisting Defendants in laundering funds clandestinely through U.S. financial

institutions. The subjects of these investigations, including some of the largest global banks like

BNP Paribas, HSBC, Standard Chartered Bank (“SCB”), and Credit Suisse, admitted to

significant wrongdoing in a series of deferred prosecution agreements (“DPAs”), agreeing to

forfeit, in total, billions of dollars in fines.

        124.     The August 6, 2012, deferred prosecution agreement between SCB and The New

York Department of Financial Services (“SCB DPA”) is attached here as Exhibit A.93

        125.     As the SCB enforcement action shows, the CBI “approached SCB to act as its

recipient bank for U.S. dollar proceeds from daily oil sales made by the National Iranian Oil

Company.” Exhibit A, ¶ 22. SCB accepted, as it “viewed this engagement as ‘very prestigious’

because ‘in essence, SCB would be acting as Treasurer to the CBI.......” Id.

        126.     As part of CBI’s agreement with SCB, SCB instructed its staff that “our payment

instructions [for Iranian Clients] should not identify the client or the purpose of the payment.” Id.

¶ 24. Further, “SCB’s Iranian Clients”—including CBI and Bank Melli— “insisted that ‘no other



93
   The U.S. Senate also investigated HSBC for this conduct, issuing a 339-page report on
HSBC’s practices in manipulating the U-turn exemption on behalf of CBI and Bank Melli, two
of its clients. PX257 See Senate Perm. Subcomm. on Investigations, “U.S. Vulnerabilities to
Money Laundering, Drugs, and Terrorist Financing: HSBC Case History” (July 17, 2012),
available          at          https://www.hsgac.senate.gov/imo/media/doc/PSI%20REPORT-
HSBC%20CASE%20HISTORY%20(9.6).pdf (pages 123-24 identify CBI and Bank Melli as
HSBC customers) (“HSBC Senate Report”).


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banks processed their payments with full disclosure, and it was not industry practice to do so.’”

Id. ¶ 25.

        127.   The Defendants worked out complex schemes with third-country financial

institutions to transfer U.S. dollar-denominated funds through the United States without

detection. See id. ¶ 27 (“SCB instead conspired with Iranian Clients to transmit misinformation

to the New York branch by removing and otherwise misrepresenting wire transfer data that could

identify Iranian parties.”). SCB “instructed” CBI to transmit MT-202s with SCB’s “business

identifier code” (“BIC” or SWIFT “address”) rather than CBI’s, so that “the payments going to

NY do not appear to NY to have come from an Iranian Bank.” Id. (emphasis original to the

DPA). 94

        128.   As a result, “wire stripping was ‘the process for effecting Bank Markazi’s

payment instructions.’” Id. ¶ 29.

        129.   The purpose of the manipulated transactions was clear, according to NY-DFS—in

addition to financing its WMD program, “[t]he US also suspected that Iran was using its banks to

finance terrorist groups, including Hezbollah … and engaging in deceptive conduct to hide its

involvement in various other prohibited transactions, such as assisting OFAC-sanctioned

weapons dealers.” Id. ¶ 17. NY-DFS concluded that “[i]n short, SCB operated as a rogue

institution.” Id. ¶ 7. Around the same time, Bank Melli in London approached HSBC with a

similar proposal to the one the CBI broached with SCB. In a letter drafted in April 2001, an

HSBC Bank plc Business Development Manager explained to Bank Melli how to send payments



94
   SCB also accomplished this subterfuge by: (a) inserting special characters (such as “.”) in
electronic message fields used to identify transacting parties; (b) inserting phrases such as “NO
NAME GIVEN” or “NOT STATED” in lieu of requested information that would identify Iranian
Clients; and (c) employing a system known as SCB’s “repair procedure,” whereby SCB overseas
employees screened payment messages – before they were communicated to its New York


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to HSBC Bank plc in a manner that would allow HSBC Bank plc to process its payments

successfully through its U.S. subsidiary, HSBC Bank USA, N.A.:

               The key is to always populate field 52 ... this means that the outgoing
               payment instruction from HSBC will not quote "Bank Melli" as sender
               -just HSBC London and whatever is in field 52. This then negates the
               need to quote "DO NOT MENTION OUR NAME IN NEW YORK"
               in field 72 [emphasis in original]. 95

       130.    The scope of Iran’s money laundering scheme was massive, and the amount of

U.S. dollar-denominated funds the Defendants were able to access and transfer surreptitiously,

enabling the diversion of funds in U.S. dollars to the IRGC, Hizballah and other Iranian-

sponsored terrorist groups was significant.

       131.    SCB admitted that, between only 2001 and 2007, it illegally processed

approximately 59,000 transactions through its New York branch for Iranian customers, totaling

approximately $250 billion. Exhibit A at 1 & ¶¶ 1, 18. HSBC admitted to processing nearly $20

billion in transfers during the same period, the vast majority of which were for Iran. See HSBC

Senate Report at 6, 14. Other banks moved similarly large amounts.

       132.    Iran’s money laundering scheme also helped the regime acquire items restricted

for their military applications and use in terrorism. For example, Bank Melli facilitated such

transactions detailed in an internal audit report SCB commissioned from Promontory (the

“Promontory Report”), excerpts of which are annexed hereto as Exhibit B. For instance, Bank

Melli facilitated (with SCB’s assistance) the purchase of restricted components of hydraulic




branch – in order to ascertain if any messages contained information that identified Iranian
Clients. Id.
95
    PX409 Settlement Agreement, Dep’t of Treasury (Dec. 11, 2012), ¶ 4, available at
https://home.treasury.gov/system/files/126/121211_HSBC_posting.pdf


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presses of the type used to create explosively formed penetrators (“EFPs”) – a signature Iranian

weapon used against Coalition Forces in Iraq. Exhibit B at 77.96

        133.    In another example, Bank Melli facilitated the illegal purchase of a restricted

General Electric aircraft engine for a subsidiary of Iran’s Mahan Air, an SDGT designated for

flying IRGC and Hezbollah weapons and personnel, including into Iraq. 97 The transaction was

structured to omit Bank Melli’s role in financing the letter of credit from the component of the

transactions processed in the United States.

        134.    The Promontory Report describes the transaction, Exhibit B at pages 29, 30, 65,

66, 67, 68, 69, 71, and set forth the following chart to illustrate the transaction, id. at page 69:



96
   As stated in Exhibit B at page 77, the pumps were likely those that “require a license for re-
export to Iran under ECCN [the Export Control Classification Number in the CCL] 2B999.j.”
The license requirement is for “anti-terrorism purposes”: pursuant to 15 C.F.R. § 742.8, “a
license is required for anti-terrorism purposes to export or reexport to Iran any item for which
AT [anti-terrorism] column 1 or AT column 2 is indicated in the Country Chart column of the
applicable ECCN,” and for ECCN 2B999, the “Country Chart” reads: “AT applies to entire
entry,” 15 C.F.R. § Pt. 774, Supp. 1, Cat. 2. Making EFPs requires “hydraulic presses,” and “a
minimum of a 10-ton press is required.” PX111 Spc. Josh Lecappelain, Dep’t of Defense, Birth
of an explosively formed penetrators; death of innocent civilians (Sept. 25, 2008), available at
https://www.dvidshub.net/news/24119/birth-explosively-formed-penetrators-death-innocent-
civilians.
97
   “Mahan Air’s close coordination with the IRGC-QF … reveals yet another facet of the IRGC’s
extensive infiltration of Iran’s commercial sector to facilitate its support for terrorism;” “Mahan
Air also facilitated the covert travel of suspected IRGC-QF officers into and out of Iraq;”
“Mahan Air has transported personnel, weapons and goods on behalf of Hizballah and omitted
from Mahan Air cargo manifests secret weapons shipments bound for Hizballah.” Press Release,
Dep’t of Treasury, Treasury Designates Iranian Commercial Airline Linked to Iran’s Support for
Terrorism (Oct. 12, 2011), available athttps://home.treasury.gov/news/press-releases/tg1322 .
See also FinCEN, Advisory on the Iranian Regime’s Illicit and Malign Activities and Attempts to
Exploit      the      Financial      System,      October       11,      2018,       available    at
https://www.fincen.gov/sites/default/files/advisory/2018-10-
11/Iran%20Advisory%20FINAL%20508.pdf(“For many years, the Iranian commercial airline
Mahan Air has transferred weapons, funds, and people on behalf of the IRGC-QF and provided
support to the Syrian Assad regime and Lebanese Hizballah. In 2011, OFAC designated Mahan
Air for providing financial, material, and technological support to the IRGC-QF. To evade
sanctions, Mahan Air front companies have negotiated sales contracts and obtained U.S. parts
and services for Mahan Air’s aircraft in violation of U.S. sanctions.”).


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       135.    First, on August 15, 2004, Bank Melli–Dubai issued a letter of credit on behalf of

Mahan Air’s subsidiary for the benefit of Aeronautical & Security FZE (“A&S–Dubai”),

headquartered in Dubai, United Arab Emirates. A&S–Dubai acted as a front for Mahan Airlines

to acquire the restricted engine from General Electric.

       136.    Second, A&S–Dubai presented documents supporting the sale to SCB–Dubai,

which forwarded them to Bank Melli–Dubai for acceptance and payment.

       137.    Third, Bank Melli–Dubai accepted the documents and, on (or just before)

September 9, 2004, sent a payment message directly to Credit Suisse–Zurich, where it held a

Eurodollar correspondent account. Credit Suisse–Zurich debited Bank Melli–Dubai’s account

and sent an MT–103 credit request directly to SCB–Dubai and sent a corresponding MT–202

cover payment to Bank of New York Mellon in New York; the MT-202 would have only




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identified Credit Suisse-Zurich and SCB-Dubai, while dropping Bank Melli out of the

information going through New York. 98

       138.   Fourth, following from above, Bank of New York debited $697,247 USD from

Credit Suisse–Zurich’s correspondent account and sent a debit message worth $697,247 USD to

CHIPS–New York for the benefit of SCB–New York.

       139.   Fifth, CHIPS–New York debited $697,247 USD from Bank of New York’s

CHIPS account, credited a corresponding amount to SCB-NY’s CHIPS account, and sent SCB–

NY a corresponding credit message.

       140.   Sixth, SCB–New York then credited SCB–Dubai’s correspondent account with

$697,247 USD and sent an MT–910 credit message (confirming the transfer) to SCB–Dubai;

because SCB–Dubai had the MT–103 from Credit Suisse-Zurich, it knew to credit $697,247

USD into A&S–Dubai’s Eurodollar account.

       141.   Seventh, on September 9, 2004, A&S–Dubai initiated a payment worth $420,000

U.S. dollars to Aerowings International FZCO (“Aerowings–Dubai”) for the aircraft engine,

presumably pocketing the remaining $277,247 USD as its fee for its role in the illegal scheme.

       142.   Finally, Aerowings–Dubai shipped the General Electric aircraft engine from a

storage facility in Luxembourg directly to Mahan Air–Tehran in Tehran, Iran.

       143.   Put simply, the CBI, NIOC, and Bank Melli were significant players in Iran’s

efforts to disguise its involvement in proliferation and terrorism activities through an array of



98
   The chart in Exhibit B at page 17 shows this transaction without listing message types. That
Credit Suisse sent an MT-202 cover payment through New York, rather than an MT-103 (which
would have identified Bank Melli-Dubai) is confirmed by the Promontory Report, id. at 20,
which stated that that only “MT202 messages were reviewed” in its analysis of SCB transactions
for Iran processed through New York. Further, Credit Suisse's DPA states “Credit Suisse used
cover payment messages [i.e., MT-202s] about 95% of the time for outgoing customer payments
that involved Iran,” while “removing ... identifying information from Iranian payment messages


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deceptive practices specifically designed to evade detection. 99 The illicit flow of funds detailed

above could not have been effectuated without the guidance and complicity of the Defendants in

this case.

    L. How Terrorist Organizations Operating in Iraq Were Financed and Supported by
       the Defendants

        1. Islamic Revolutionary Guards Corps-Qods Force

        144.   The most crucial link in Iran’s fomentation of violence in Iraq, through training,

financing, and provision of weapons to a plethora of militias and terrorist organizations, is the

Islamic Revolutionary Guards Corps-Qods Force (IRGC-QF). In 2007, Treasury designated the

IRGC-QF as a terrorist organization, and press releases from the Treasury and State Departments

stated that:




sent to U.S. correspondent banks.” PX404 Factual Statement to Credit Suisse’s DPA, ¶¶ 20-21,
available at https://www.justice.gov/file/978881/download.
99
   US Treasury | 6 November 2008 | Fact Sheet: Treasury Strengthens Preventive Measures
Against Iran https://home.treasury.gov/news/press-releases/hp1258


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              The Qods Force, a branch of the Islamic Revolutionary Guard Corps
              (IRGC; aka Iranian Revolutionary Guard Corps), provides material
              support to the Taliban, Lebanese Hizballah, Hamas, Palestinian
              Islamic Jihad, and the Popular Front for the Liberation of Palestine-
              General Command (PFLP-GC). The Qods Force is the Iranian
              regime's primary instrument for providing lethal support to the
              Taliban. The Qods Force provides weapons and financial support to
              the Taliban to support anti-U.S. and anti-Coalition activity in
              Afghanistan. Since at least 2006, Iran has arranged frequent shipments
              of small arms and associated ammunition, rocket propelled grenades,
              mortar rounds, 107mm rockets, plastic explosives, and probably man-
              portable defense systems to the Taliban. [...] The Qods Force has had a
              long history of supporting Hizballah's military, paramilitary, and
              terrorist activities, providing it with guidance, funding, weapons,
              intelligence, and logistical support. The Qods Force operates training
              camps for Hizballah in Lebanon's Bekaa Valley and has reportedly
              trained more than 3,000 Hizballah fighters at IRGC training facilities
              in Iran. The Qods Force provides roughly $100 to $200 million in
              funding a year to Hizballah and has assisted Hizballah in rearming in
              violation of UN Security Council Resolution 1701. In addition, the
              Qods Force provides lethal support in the form of weapons, training,
              funding, and guidance to select groups of Iraqi Shi'a militants who
              target and kill Coalition and Iraqi forces and innocent Iraqi
              civilians. 100, 101

       145.   The IRGC-QF is Iran’s primary mechanism to influence Iraq. According to a

West Point Combatting Terrorism Center analysis:

              The IRGC‐QF funds political parties, funnels money and weapons to
              anti‐coalition militias, and provides Iraq significant economic aid.
              Consistent with Iran’s practice in both Lebanon and Iraq for the past
              25 years, Iran supports a variety of organizations, often backing
              factions on multiple sides of a dispute. 102

       146.   Of the eight terrorist and militia groups examined in detail below, the IRGC-QF is

confirmed to have worked in close cooperation with six of them (Hizballah, Kata’ib Hizballah,



100
    U.S. Treasury Department | 25 October 2007 | Fact Sheet: Designation of Iranian Entities and
Individuals     for    Proliferation   Activities    and     Support      for     Terrorism     |
https://home.treasury.gov/news/press-releases/hp644
101
    U.S. State Department | 25 October 2007 | Designation of Iranian Entities and Individuals for
Proliferation     Activities     and     Support      for     Terrorism       I     https://2001-
2009.state.gov/r/pa/prs/ps/2007/oct/94193.htm


                                                                                              51


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Asa’ib Ah Al Haq, The Promised Day Brigades, The Badr Organization and Al Qaida) and

supported, less directly, the other two, (Al Qaida in Iraq, Ansar Al Islam).

       147.    The IRGC‐QF program to finance, arm and train Iraqi militants is extensive and

according to Iraqis that received IRGC-QF training, focused on killing U.S. soldiers and

civilians. 103 According to a translated quote from one Iraqi who received this training:

               Iran does not care about the fight between Shi’a and al‐Qaeda. Iran
               just wants to force CF (Coalition Forces) out of Iraq because Iran is
               afraid CF will use Iraq as a base for an attack in the future. Iran is
               training people to fight CF, not Al‐Qaeda. 104

This trainee’s analysis is quite accurate, especially since during the relevant period, Iran was not

targeting, but harboring Al Qaida in Iran.

       148.    The IRGC‐QF’s methods to support, arm, finance and train Iraq-based terrorists

and militants range from the subtle (allowing them to clandestinely stay in Iran), overt (IRGC-

QF advisors on the ground in Iraq and Iranian weaponry), to the covert (smuggling trainees to

Iran and Lebanon for training). But there is also a covert financial aspect to the IRGC-QF’s

operations, which was revealed publicly when the U.S. Treasury sanctioned:

               20 [twenty] Iran- and Iraq-based front companies, senior officials, and
               business associates that provide support to or act for or on behalf of
               the Islamic Revolutionary Guards Corps-Qods Force (IRGC-QF) in
               addition to transferring lethal aid to Iranian-backed terrorist militias in
               Iraq such as Kata’ib Hizballah (KH) and Asa’ib Ahl al-Haq (AAH).
               Among other malign activities, these entities and individuals
               perpetrated or supported: smuggling through the Iraqi port of Umm
               Qasr; money laundering through Iraqi front companies; selling Iranian
               oil to the Syrian regime; smuggling weapons to Iraq and Yemen;
               promoting propaganda efforts in Iraq on behalf of the IRGC-QF and
               its terrorist militias; intimidating Iraqi politicians; and using funds and

102
    PX212 West Point Combatting Terrorism Center | 13 October 2008 | Iranian Strategy in Iraq |
https://ctc.usma.edu/iranian-strategy-in-iraq-politics-and-other-means/
103
    For instance, Iran, through the IRGC (And MOIS) at times offered monetary rewards for the
killing of U.S. civilians/soldiers.
104
    PX212 West Point Combatting Terrorism Center | 13 October 2008 | Iranian Strategy in Iraq |
https://ctc.usma.edu/iranian-strategy-in-iraq-politics-and-other-means/


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                  public donations made to an ostensibly religious institution to
                  supplement IRGC-QF budgets. The terrorist militias supported by the
                  Iranian regime such as KH and AAH have continued to engage in
                  attacks on U.S. and Coalition forces in Iraq. 105

        149.      Among those designated is The Reconstruction Organization of the Holy Shrines

in Iraq (ROHSI). ROHSI is ostensibly a religious organization, but its leadership included the

late General Qasem Soleimani, it is controlled by the IRGC-QF, and it transferred millions of

dollars to the Iraq-based Bahjat al Kawthar Company for Construction and Trading Ltd, also

known as Kosar Company, another Iraq-based entity under the IRGC-QF’s control. Kosar

Company, in turn was a hub for Iranian intelligence activities in Iraq, including for the shipment

of ammunition and weapons to the terrorist and militia groups described below. Treasury

additionally alleged that IRGC-QF officials likely embezzled public donations to ROHSI that

were meant for maintaining shrines, and instead directed the money to financing terrorist

operations. 106

        150.      Although the IRGC-QF is not a defendant in this case, the IRGC (its parent

organization) is. The IRGC was sanctioned by the Treasury Department in 2017 for its provision

of resources, money, finances, and arms to the IRGC-QF. In its press release, Treasury stated

that:

                  The IRGC was designated today for the activities it undertakes to
                  assist in, sponsor, or provide financial, material, or technological
                  support for, or financial or other services to or in support of, the
                  IRGC-QF. The IRGC, which is the parent organization of the IRGC-
                  QF, was previously designated pursuant to E.O. 13382 on October 25,
                  2007, in connection with its support to Iran’s ballistic missile and
                  nuclear programs, and pursuant to E.O. 13553 on June 9, 2011, and
105
    PX46 U.S. Treasury Department | 26 March 2020 | Treasury Designates Vast Network of
IRGC-QF Officials and Front Companies in Iraq, Iran | https://home.treasury.gov/news/press-
releases/sm957
106
    PX46 U.S. Treasury Department | 26 March 2020 | Treasury Designates Vast Network of
IRGC-QF Officials and Front Companies in Iraq, Iran | https://home.treasury.gov/news/press-
releases/sm957


                                                                                               53


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               E.O. 13606 on April 23, 2012, in connection with Iran’s human rights
               abuses. The IRGC has provided material support to the IRGC-QF,
               including by providing training, personnel, and military equipment [...]
               The IRGC used both IRGC bases and civilian airports in Iran to
               transfer military equipment to Iraq and Syria for the IRGC-QF. 107

        151.   As this section shows, the IRGC-QF is crucial to Iran’s support for terrorism in

Iraq and it is directly responsible for the deaths and injuries of U.S. soldiers and civilians.

Without the IRGC-QF’s expertise, many of the terrorist and militia groups described below

would either not have been able to function well, or would literally not have existed, as they

were formed by the IRGC-QF. On January 2, 2020, a U.S. drone fired a missile, killing IRGC-

QF Commander, Qasem Soleimani, along with the leader of Kata’ib Hizballah, one of the groups

described below. In a press release regarding the assassination, the Department of Defense said

that:

               General Soleimani and his Quds Force were responsible for the deaths
               of hundreds of American and coalition service members and the
               wounding of thousands more. He had orchestrated attacks on coalition
               bases in Iraq over the last several months – including the attack on
               December 27th – culminating in the death and wounding of additional
               American and Iraqi personnel. General Soleimani also approved the
               attacks on the U.S. Embassy in Baghdad that took place this week. 108




107
    PX34 U.S. Treasury Department | 13 October 2017 | Treasury Designates the IRGC under
Terrorism Authority and Targets IRGC and Military Supporters under Counter-Proliferation
Authority
https://home.treasury.gov/news/press-releases/sm0177
108
    PX113 U.S. Department of Defense | 2 January 2020 | Statement by the Department of
Defense | | https://www.defense.gov/News/Releases/Release/Article/2049534/statement-by-the-
department-of-defense/


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        2. Hizballah

        152.    The U.S. Department of State designated Hizballah as a foreign terrorist

organization on October 8, 1997, and the U.S. Treasury designated it a specially designated

global terrorist on October 31, 2001. 109, 110

        153.    In a public facing document, the U.S. National Counter Terrorism Center

(NCTC), part of the Office of the Director of National Intelligence (ODNI), details some of

Hizballah’s terrorist history, including how despite being Lebanon-based, Hizballah has for

almost forty years targeted U.S. citizens globally.

                Formed in 1982 in response to the Israeli invasion of Lebanon,
                Hizballah (the “Party of God”), a Lebanon-based Shia terrorist group,
                advocates Shia empowerment globally. Hizballah has been involved in
                numerous anti-U.S. terrorist attacks, including the suicide truck
                bombings of the U.S. Embassy in Beirut in April 1983, the U.S.
                Marine barracks in Beirut in October 1983, and the U.S. Embassy
                annex in Beirut in September 1984, as well as the hijacking of TWA
                847 in 1985 and the Khobar Towers attack in Saudi Arabia in 1996
                [...]

                In July 2011 the UN Special Tribunal for Lebanon (STL) indicted four
                Hizballah members—including a senior Hizballah official—for the
                assassination of former Lebanese Prime Minister Rafiq al-Hariri, who
                was killed by a car-bomb in Beirut on 14 February 2005.

                 [Since 2008...] the group has engaged in its most aggressive terrorist
                campaign targeting Israeli interests outside the Middle East since the
                1990s. In July 2012, Hizballah detonated a bomb on a bus in Burgas,
                Bulgaria, killing five Israeli tourists and a Bulgarian.

                Several other plots have been disrupted, including the 2014 arrests of
                operatives in Peru and Thailand and the 2015 discovery of an
                explosives cache and identification of an operative in Cyprus.




109
     U.S. State Department | 29 October 2021 | Foreign Terrorist Organizations |
https://www.state.gov/foreign-terrorist-organizations/
110
     PX56 U.S. Treasury Department | 2 November 2001 | SDGT Designations |
https://home.treasury.gov/policy-issues/financial-sanctions/recent-actions/20011102


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              Hizballah was supporting Bashar al-Asad’s regime by sending fighters
              to Syria, including Iraqi Shia militias. The group also supports
              Palestinian rejectionist groups in their struggle against Israel and
              provides training for Iraqi Shia militants attacking Western interests in
              Iraq. The European Union designated Hizballah’s military wing as a
              terrorist organization on 22 July 2013, following the March conviction
              that year of a Hizballah member in Cyprus, the July 2012 bus bombing
              in Bulgaria, and the group’s intervention in Syria. 111

       154.   As shown by the ODNI summary, Hizballah is an almost four-decade old terrorist

organization, with an official “military” wing and a history of planning and carrying out attacks

in North America, South America, Africa, Europe, and Asia.

       155.   This is not a case of terroristic opportunism, but part of Hizballah’s mission. Its

manifesto clarifies that its operations, especially those targeting the United States, are not

confined by domestic borders:

              The American threat is not local or restricted to a particular region,
              and as such, confrontation of such a threat must be international as
              well. 112

       156.   Hizballah owes its very existence to support and training it received from

Defendant IRGC:

              A group of Shiites influenced by the theocratic government in Iran—
              the region’s major Shiite government, which came to power in 1979—
              took up arms against the Israeli occupation. Seeing an opportunity to
              expand its influence in Arab states, Iran and its Islamic Revolutionary
              Guard Corps (IRGC) provided funds and training to the budding
              militia, which adopted the name Hezbollah, meaning “The Party of
              God.




111
    PX254 Office of the Director of National Intelligence - National Counter Terrorism Center |
29 October 2021| Hizballah Background | https://www.dni.gov/nctc/groups/hizballah.html
112
     Council on Foreign Relations | What is Hezbollah | 29 October 2021 |
https://www.cfr.org/backgrounder/what-hezbollah


                                                                                              56


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               It earned a reputation for extremist militancy due to its frequent
               clashes with rival Shiite militias, such as the Amal Movement, and
               attacks on foreign targets, including the 1983 suicide bombing of
               barracks housing U.S. and French troops in Beirut, in which more than
               three hundred people died. Hezbollah became a vital asset to Iran,
               bridging Shiite Arab-Persian divides as Tehran established proxies
               throughout the Middle East. 113

        157.   The relationship between Hizballah and its Iranian backers is not subject to

conjecture, but rather an open fact, often spoken about by both the Iranian Defendants as well as

Hizballah.

        158.   In a June 2016 speech, Hizballah’s leader, Hassan Nassrallah said “We are open

about the fact that Hezbollah’s budget, its income, its expenses, everything it eats and drinks, its

weapons and rockets, come from the Islamic Republic of Iran [...] As long as Iran has money, we

have money.” 114

        159.   Similarly, Iranian officials openly speak about Hizballah as their proxy. Also in

June 2016, IRGC Deputy Commander Hossein Salami said, “In Lebanon alone, over 100,000

missiles are ready to be launched [...] these missiles will pierce through space and will strike at

the heart of the Zionist regime [...] they are just waiting for the command so that when the trigger

is pulled the accursed black dot will be wiped off the map.” 115 The missiles would be launched

by Hizballah, but the command as Deputy Commander Hossein Salami says, would come from

Iran.




113
     Council on Foreign Relations | What is Hezbollah | 29 October 2021 |
https://www.cfr.org/backgrounder/what-hezbollah
114
    Al Arabiya News | 25 June 2016 | In first, Hezbollah confirms all financial support comes
from Iran | https://english.alarabiya.net/features/2016/06/25/In-first-Hezbollah-s-Nasrallah-
confirms-all-financial-support-comes-from-Iran
115
    The Middle East Media Research Institute | IRGC Deputy Commander Salami on Qods Day |
30 June 2016 | https://www.memri.org/tv/irgc-deputy-commander-salami-qods-day-over-
100000-missiles-lebanon-alone-are-ready-strike-heart


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        160.   Ascertaining exactly how much funding Iran has provided to Hizballah is difficult

for several reasons. As noted in sections above, the Defendants are very skilled at sanctions

evasion and money laundering, and terrorist organizations generally do not keep audited

financial records. Still, experts have over the years put forward several estimates regarding the

amount of money provided by the Defendants to Hizballah.

        161.   In 2004, Western diplomats and political analysts in Beirut estimated that

Hizballah received $200 million a year from Iran. 116 Cargo planes deliver sophisticated

weaponry, from rockets to small arms, to Hezbollah in regular flights to Damascus from Tehran.

Iran also sends money to Hizballah through charities, with the funds supposedly used for “health

care, education and the support of war widows,” according to Mohammad Raad, a Hizballah

politician and member of Lebanon’s parliament for Hizballah’s “Loyalty to the Resistance”

Bloc. 117

        162.   In a 2010 congressional hearing PX365, Ambassador Jeffrey D. Feltman,

Assistant Secretary of State for Near Eastern Affairs, and Ambassador Daniel Benjamin,

Coordinator for Counterterrorism, wrote in a joint statement that “In 2008 alone, Iran provided

hundreds of millions of dollars to Hezbollah and trained thousands of Hezbollah fighters at

camps in Iran.” 118



116
    Washington Post | 20 December 2004 | Lebanese Wary of a Rising Hizballah |
https://www.washingtonpost.com/archive/politics/2004/12/20/lebanese-wary-of-a-rising-
hezbollah/a09fad05-e608-4b58-97da-fcb0971bcda3/
117
    Washington Post | 20 December 2004 | Lebanese Wary of a Rising Hizballah |
https://www.washingtonpost.com/archive/politics/2004/12/20/lebanese-wary-of-a-rising-
hezbollah/a09fad05-e608-4b58-97da-fcb0971bcda3/
118
    Congress | 8 June 2010 | ASSESSING THE STRENGTH OF HEZBOLLAH | HEARING
BEFORE THE SUBCOMMITTEE ON NEAR EASTERN AND SOUTH AND CENTRAL
ASIAN AFFAIRS OF THE COMMITTEE ON FOREIGN RELATIONS UNITED STATES
SENATE ONE HUNDRED ELEVENTH CONGRESS SECOND SESSION |
https://www.govinfo.gov/content/pkg/CHRG-111shrg62141/html/CHRG-111shrg62141.htm


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       163.    More recently, in a 2018 speech Treasury Under Secretary for Terrorism and

Financial Intelligence, Sigal Mandelker, said that “Iran provides upwards of $700 million a year

to Hizballah [...] Iran has also used deception to obtain hard currency for the IRGC-Qods Force

(Qods Force) and front companies to conceal its procurement of parts for airlines ferrying Iranian

terrorists to the battlefront in Syria. These efforts, often directed by senior level Iranian officials,

constitute a deliberate pattern to deceive and exploit legitimate businesses, financial institutions,

and governments.” 119

       164.    Hizballah’s operations in Iraq are both paramilitary and financial. While the

military aspect is covered in a separate expert declaration, it is important to note that support for

Hizballah’s operations in Iraq comes from the very top of the organization. Speaking to press in

2014, the organization’s leader Hassan Nassrallah said that “We are ready to sacrifice martyrs in

Iraq five times more than what we sacrificed in Syria, in order to protect shrines.” 120

       165.    Hizballah’s operations in Iraq came at the request of the sanctioned IRGC-QF and

began in 2003, when according to former senior U.S. Treasury official Matthew Levitt:

       Beginning in 2003, Iran's Qods Force requested Hezbollah's services to help
       increase Tehran's influence in Iraq. To this end, Hezbollah created Unit 3800,
       whose sole purpose was to support Iraqi Shiite militant groups targeting
       multinational forces there. According to U.S. intelligence, Unit 3800 sent a
       small number of personnel to Iraq to train hundreds of fighters in-country,
       while others were brought to Lebanon for more advanced training. Hezbollah
       also provided funds and weapons to Iraqi militias, but its most dangerous
       contribution was in the realm of special operations. According to a 2010
       Pentagon report, the group gave these militias "the training, tactics and
       technology to conduct kidnappings [and] small unit tactical operations," and
       to "employ sophisticated improvised explosive devices (IEDs), incorporating
       lessons learned from operations in Southern Lebanon." The most prominent
       example of how this training helped the militias was probably the January 20,
119
    PX117 U.S. Department of Treasury Press Releases | 5 June 2018 | Under Secretary Sigal
Mandelker Speech before the Foundation for the Defense of Democracies
https://home.treasury.gov/news/press-releases/sm0406
120
    Wall Street Journal | 17 June 2014 | Shiite Militias Decamping From Syria to Fight in Iraq |
https://www.wsj.com/articles/shiite-militias-decamping-from-syria-to-fight-in-iraq-1403051977


                                                                                                     59


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       2007, attack on the Joint Coordination Center in Karbala, which resulted in
       the deaths of four American soldiers. That well-executed operation was
       thoroughly planned with the help of the Qods Force and Hezbollah, as
       determined later through the capture of one of Hezbollah's best trainers in
       Iraq, Ali Musa Daqduq. Daqduq was heavily involved in training tactical units
       of Iraqi Shiites and even took part in some of the operations they conducted.
       He was also responsible for planning other operations such as the aborted
       kidnapping of a British soldier and gave specific instructions to those he
       trained about the use of IEDs. Moreover, while operating in Iraq, he dealt
       directly with the Qods Force on certain occasions -- further evidence of the
       high level of coordination between Hezbollah and the Iranians on Iraq. 121

       166.   Focusing on the financial, in 2015 Treasury imposed sanctions on Hizballah

operatives and front companies operating in Iraq and Lebanon:

              Adham Tabaja, his company Al-Inmaa Group for Tourism Works, and
              its subsidiaries Tabaja is a Hizballah member and majority owner of
              the Lebanon-based real estate development and construction firm Al-
              Inmaa Group for Tourism Works. The company’s subsidiaries include
              Al-Inmaa Engineering and Contracting, which operates in Lebanon
              and Iraq, as well as Lebanon-based Al-Inmaa for Entertainment and
              Leisure Projects. Tabaja maintains direct ties to senior Hizballah
              organizational elements, including the terrorist group’s operational
              component [...]

              Tabaja has used the Iraqi branches of Al-Inmaa Engineering and
              Contracting to obtain oil and construction development projects in Iraq
              that provide both financial support and organizational infrastructure to
              Hizballah. Tabaja and his companies have also sought to secure
              lucrative business contracts in the Green Zone areas of Baghdad, Iraq.




121
   PX711 Washington Institute | 25 June 2014 | Hezbollah in Iraq: A Little Help Can Go a Long
Way | https://www.washingtoninstitute.org/policy-analysis/hezbollah-iraq-little-help-can-go-
long-way


                                                                                          60


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               Tabaja has worked with Hizballah officials, including E.O. 13224-
               designated Hizballah political official Shaykh Muhammad
               Kawtharani, for these projects. Kassem Hejeij is a Lebanese
               businessman that maintains direct ties to Hizballah organizational
               elements. In addition to his support to Adham Tabaja and his affiliated
               companies in Iraq, Hejeij has helped open bank accounts for Hizballah
               in Lebanon and provided credit to Hizballah procurement companies.
               Hejeij has also invested in infrastructure that Hizballah uses in both
               Lebanon and Iraq. Husayn Ali Faour and Car Care Center Faour is a
               member of Hizballah’s Islamic Jihad, the unit responsible for carrying
               out the group’s overseas terrorist activities. Faour has also managed
               the Lebanon-based Car Care Center, a front company used to supply
               Hizballah’s vehicle needs. More recently, Faour has worked with
               Tabaja to secure and manage construction, oil, and other projects in
               Iraq for Al-Inmaa Engineering and Contracting. 122

       167.    In 2016, a global law enforcement operation led by the U.S. Drug Enforcement

Agency and U.S. Customs and Border patrol, with cooperation from authorities in France,

Germany, Italy, Belgium, and EUROPOL, led to the arrest of:

               [T]op leaders of the European cell of this Lebanese Hizballah External
               Security Organization BAC last week. The most significant arrest was
               of the U.S.-designated SDGT [terrorist] Mohamad Noureddine, a
               Lebanese money launderer who has worked directly with Hizballah’s
               financial apparatus to transfer Hizballah funds via his Lebanon-based
               company Trade Point International S.A.R.L. and maintained direct ties
               to Hizballah commercial and terrorist elements in both Lebanon and
               Iraq. 123

       168.    In May 2018, the U.S. Treasury sanctioned banking officials in Iran and Iraq who

were working directly with Hizballah to move funds to Hizballah from Iran, to Iraq, through

Iraqi financial institutions. These designations included:




122
    PX52 U.S. Treasury Press Releases | 10 June 2015 | Treasury Sanctions Hizballah Front
Companies and Facilitators in Lebanon And Iraq | https://home.treasury.gov/news/press-
releases/jl0069
123
    PX136 U.S. Drug Enforcement Agency Press Release | 1 February 2016 | DEA And
European Authorities Uncover Massive Hizballah Drug And Money Laundering Scheme |
https://www.dea.gov/press-releases/2016/02/01/dea-and-european-authorities-uncover-massive-
hizballah-drug-and-money


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               “Ali Tarzali, the assistant director of the International Department at
               the Central Bank of Iran, for assisting, sponsoring, or providing
               financial, material, or technological support for, or financial or other
               services to or in support of, the IRGC-QF. Tarzali has worked with
               Hizballah and proposed that the terrorist group send funds through
               Iraq-based al-Bilad Islamic Bank. [...] OFAC is designating Aras
               Habib, the Chairman and Chief Executive of Al-Bilad Islamic Bank,
               for assisting, sponsoring, or providing financial, material, or
               technological support for, or financial or other services to or in support
               of, the IRGC-QF. Aras Habib enabled the IRGC-QF’s exploitation of
               Iraq’s banking sector to move funds from Tehran to Hizballah,
               jeopardizing the integrity of the Iraqi financial system. Habib, who has
               a history of serving as a conduit for financial disbursements from the
               IRGC-QF to Iranian-backed Iraqi groups, has also helped provide
               IRGC-QF financial support to Lebanese Hizballah. 124

       169.    In March 2020, the U.S. Treasury sanctioned Al Khamael Maritime Services

(AKMS), an Iraq-based company operating out of Umm Qasr port in which the IRGC-QF has a

financial interest. Treasury notes that the “IRGC-QF leveraged Shiite militia group contacts to

evade Iraqi government inspection protocol at Umm Qasr port and has charged foreign

companies and vessels fees for services at its terminal at the port.” One of these Shiite militia

groups is Hizballah. Alongside AKMS, Treasury designated Sayyed Reza Musavifar, who:

               …is responsible for the accounts and finances of AKMS, has worked
               with the IRGC-QF to transfer money to terrorist militias, including KH
               and Lebanese Hizballah. 125

       170.    As this section shows, Hizballah is an Iranian proxy, whose terrorist operations in

Iraq were directed, supported, and financed by the Defendants, and other sanctioned Iranian

entities, including high level Iranian officials, over the course of over a decade, including during

the period relevant to this Declaration.


124
    U.S. Treasury Press Releases | 15 May 2018 | Treasury Targets Iran’s Central Bank Governor
and an Iraqi Bank Moving Millions of Dollars for IRGC-Qods Force |
https://home.treasury.gov/news/press-releases/sm0385
125
    U.S. Treasury Press Releases | 26 March 2020 | Treasury Designates Vast Network of IRGC-
QF Officials and Front Companies in Iraq, Iran https://home.treasury.gov/news/press-
releases/sm957


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       3. The “Special Groups”

       171.    The next three sections (a, b, and c) will cover what the U.S. government has

termed the “Special Groups,” Shia militias in Iraq that were financed, armed, trained and

supported by the government of Iran. They are Kata’ib Hizballah, Asaib Ahl al-Haq, Jaysch al

Mahdi, and the Promised Day Brigades.

       172.    According to a 2019 U.S. Department of Defense (DoD) study, the Special

Groups were responsible for the deaths of 603 U.S. troops in Iraq, and countless more injuries.

This means that about one in six American combat fatalities in Iraq are attributable to Iran.

               During Operation Iraqi Freedom, DoD assessed that at least 603 U.S.
               personnel deaths in Iraq were the result of Iran-backed militants,”
               Navy Cmdr. Sean Robertson, a Pentagon spokesman, said in an email.
               “These casualties were the result of explosively formed penetrators
               (EFP), other improvised explosive devices (IED), improvised rocket-
               assisted munitions (IRAM), rockets, mortars, rocket-propelled
               grenades (RPG), small-arms, sniper, and other attacks in Iraq,"
               Robertson said. 126

       173.    In a 2011 briefing, U.S. Army Brig. Gen. Kevin J. Bergner, spokesman for Multi-

National Force-Iraq, held a press conference, speaking about the Special Groups:

               These Special Groups are militia extremists, funded, trained and armed
               by external sources…specifically by Iranian Revolutionary Guards
               Corps Quds Force operatives. 127

       174.    Gen. Bergner noted that many of the group’s members have played key roles in

the planning and execution of bombings, kidnappings, extortion, sectarian murders, illegal arms

trafficking and other attacks against Iraqi citizens, police, army, and Coalition forces. Bergner


126
    PX688 Military Times | 4 April 2019 | Iran killed more U.S. troops in Iraq than previously
known, Pentagon says |https://www.militarytimes.com/news/your-military/2019/04/04/iran-
killed-more-us-troops-in-iraq-than-previously-known-pentagon-says/
127
    PX255 Official Website of the United States Forces - Iraq | 17 July 2011 | MNF-I spokesman
details          secret          cell         involvement             in         Iraq         |
https://web.archive.org/web/20110717175619/http://www.usf-
iraq.com/?option=com_content&task=view&id=12653&Itemid=128


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said that the goal of the Quds Force is to develop the Iraqi Special Groups into a network similar

to the Lebanese Hezbollah:

                “In addition to training, the Quds force also supplies the Special
                Groups with weapons and funding of 750,000 to three million U.S.
                dollars a month. Without this support, these Special Groups would be
                hard pressed to conduct their operations in Iraq.” 128

        175.    With the context of how much death was wrought at Iran’s behest by these

Special Groups, sections a, b, and c, will describe the financing, arms, training, and direction

they received from the defendants.

            a. Kata’ib Hizballah

        176.    The U.S. Department of State designated Kata’ib Hizballah (KH) as a Foreign

terrorist organization on July 2, 2009, and the U.S. Treasury designated it a specially designated

global terrorist on the same day. 129, 130

        177.    Not only does KH share part of its name with its Lebanese counterpart, but its

funding, training and directives also come from Iran and specifically, from one of the defendants

in this case, the IRGC. With Hizballah in Lebanon, the IRGC built a playbook for financing,

training, and branding a terrorist group, and with KH they worked directly from their established

practices. In its sanctions press release regarding KH, the U.S. Treasury also sanctioned:

                Iran-based individual Abu Mahdi al-Muhandis [...] Al-Muhandis and
                Kata'ib Hizballah have committed, directed, supported, or posed a
                significant risk of committing acts of violence against Coalition and
                Iraqi Security Forces [...] Abu Mahdi al-Muhandis is an advisor to
                Qasem Soleimani, the commander of Iran's Qods Force, the arm of the
                Islamic Revolutionary Guard Corps (IRGC) responsible for providing

128
    Official Website of the United States Forces - Iraq | 17 July 2011 | MNF-I spokesman details
secret cell involvement in Iraq | https://web.archive.org/web/20110717175619/http://www.usf-
iraq.com/?option=com_content&task=view&id=12653&Itemid=128
129
     U.S. State Department | 29 October 2021 | Foreign Terrorist Organizations |
https://www.state.gov/foreign-terrorist-organizations/
130
     PX66 U.S. Treasury Department | 2 July 2009 | | SDGT Designations |
https://home.treasury.gov/news/press-releases/tg195


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                 material support to Lebanon-based Hizballah, Hamas, Palestinian
                 Islamic Jihad, and the Popular Front for the Liberation of Palestine –
                 General Command. Further, the IRGC-Qods Force provides lethal
                 support to Kata'ib Hizballah and other Iraqi Shia militia groups who
                 target and kill Coalition and Iraqi Security Forces. The IRGC-Qods
                 Force was named a Specially Designated Global Terrorist by the
                 Treasury Department on October 25, 2007. 131

        178.     KH did not so much bear Iran’s fingerprints as it was simply and openly an Iran-

directed organization. Expert testimony submitted to the U.S. congress during a 2013 hearing

states that:

                 Considered one of the more elite Iraq, "Special Groups" created by
                 Iran's Islamic Revolutionary Guard Corps and Lebanese Hizballah,
                 Kata'ib Hizballah is one of the most openly pro-Iranian organizations
                 in Iraq. The group made a name for itself through the use of
                 Improvised Explosive Devices (IEDs), particularly the deadly
                 Explosively Formed Penetrator (EFP) against U.S. and Coalition
                 forces. 132

        179.     According to West Point’s Combatting Terrorism Center:

                 Kataib Hizb Allah (KH) was formed in early 2007 as a vehicle through
                 which the IRGC Qods Force could deploy its most experienced
                 operators and its most sensitive equipment [...] The life history of al-
                 Muhandis describes the arc of Iranian support for Iraqi Shi`a proxies,
                 with al-Muhandis starting as an exiled member of the outlawed Da`wa
                 Party, working with the IRGC Qods Force to undertake terrorist
                 operations against the Kuwaiti royal family and the U.S. and French
                 embassies in Kuwait in the early 1980s. Al-Muhandis then joined the
                 Badr movement while living in Iran in 1985, rising to become one of
                 the Iraqi deputy commanders of Badr by 2001. He is a strategist with
                 extensive experience dealing directly with the most senior Iraqi
                 politicians; indeed, al-Muhandis was, until the March 2010 elections,
                 an elected member of parliament, albeit spending most of his time in
                 Iran. Under al-Muhandis, KH has developed as a compact movement

131
   U.S. Treasury Press Release | 25 October 2007 | Fact Sheet: Designation of Iranian Entities
and Individuals for Proliferation Activities and Support for Terrorism |
https://home.treasury.gov/news/press-releases/hp644
132
   PX411 U.S. Congress | 20 November 2013 | HEARING BEFORE THE SUBCOMMITTEE
ON TERRORISM, NONPROLIFERATION, AND TRADE OF THE COMMITTEE ON
FOREIGN AFFAIRS HOU.S.E OF REPRESENTATIVES ONE HUNDRED THIRTEENTH
CONGRESS        |   https://www.govinfo.gov/content/pkg/CHRG-113hhrg85643/pdf/CHRG-
113hhrg85643.pdf


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                 of less than 400 personnel that is firmly under IRGC Qods Force
                 control and maintains relatively good operational security. 133

        180.     Some terrorist groups, such as Al Qaida, work to hide their Iranian ties, but KH

operates with Iranian support overtly and its leader, though born in Iraq, is an Iranian patriot.

Muhandis lived in Iran for much of his life, held Iranian citizenship, in a 2017 interview aired on

Iranian television pledged allegiance to Iran’s Supreme Leader Ali Khamenei. He recommended

that when he dies, he be buried in Behesht-e Zahra cemetery in Tehran, not in Iraq. 134

        181.     Although he ended up being buried in Iraq, he received multiple funeral

processions in Iran, after dying in a U.S. missile strike in 2020, together with Iranian mentor,

U.S.-sanctioned IRGC-QF General Qasem Soleimani. 135

        182.     Exact financial numbers related to Iran’s funding of KH are unknown, in an

interview with a Middle Eastern, Michael Pregent, adjunct fellow at the Hudson Institute, and a

former U.S. military intelligence officer estimated that KH received about $50 million annually

from Iran. 136

        183.     In addition to cash, Hezbollah Unit 3800 (Hezbollah’s unit dedicated to training

Iraqi militant groups) and the IRGC have provided KH with extensive training at bases in Iraq,

Iran, and Lebanon according to Stanford University’s Mapping Militant Organizations project.137


133
    PX251 West Point Combatting Terrorism Center | November 2010 | The Evolution of Iran’s
Special Groups in Iraq https://ctc.usma.edu/the-evolution-of-irans-special-groups-in-iraq/
134
    Middle East Institute | 5 April 2017 | Top Iraqi Militia Leader: Fighting for Iran under
Soleimani's leadership Is “Blessing from God” https://www.mei.edu/publications/top-iraqi-
militia-leader-fighting-iran-under-soleimanis-leadership-blessing-god
135
    Reuters | 7 January 2020 | Thousands mourn Iran-backed paramilitary linchpin in southern
Iraq       https://www.reuters.com/article/us-iraq-security-funeral/thousands-mourn-iran-backed-
paramilitary-linchpin-in-southern-iraq-idUSKBN1Z61KC
136
    The National | 30 April 2018 | Qatar ransom cash boosts Iran-backed 'terrorist' group ahead of
Iraq elections | https://www.thenationalnews.com/world/mena/qatar-ransom-cash-boosts-iran-
backed-terrorist-group-ahead-of-iraq-elections-1.726240
137
    Stanford University | Mapping Militant Organizations. “Kata’ib Hezbollah..” Last modified
September 2020. https://cisac.fsi.stanford.edu/mappingmilitants/profiles/kataib-hezbollah


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This training involved instruction in small arms, constructing and planting improvised explosive

devices (IEDs), coordinating, and carrying out rocket attacks, and guerrilla warfare tactics.

Among the munitions supplied by Iran to KH are Improvised Rocket Assisted Munitions

(IRAMs) that became a signature of KH attacks on U.S. forces in Iraq.

        184.        As this section shows, KH, an organization that purposefully killed and maimed

American citizens, is not simply an Iranian proxy, it was created, funded, organized, and trained

by the Iranian defendants, and its leader since its inception through 2020 was an Iranian citizen

who pledged loyalty to Iran.

             b. Asa’ib Ahl Al-Haq

        185.        The U.S. Department of State designated Asa’ib Ahl Al-Haq (AAH) as a foreign

terrorist organization on January 10, 2020, and Treasury designated it as Specially Designated

Global Terrorist (SDGT), with both press releases stating the group operates for and at the behest

of Iran. 138, 139

        186.        According to the Department of State, AAH is an Iran-backed, militant

organization that claimed responsibility for more than 6,000 attacks against U.S. and Coalition

forces since 2006, including operations that resulted in the deaths of U.S. soldiers. 140 It is led by

two brothers, Qays and Laith al-Khazali, who were designated by the Treasury Department on

December 6, 2019 for their involvement in serious human rights abuses in Iraq, including for

ordering militia members to fire into crowds of unarmed protestors.




138
     U.S. State Department | 29 October 2021 | Foreign Terrorist Organizations |
https://www.state.gov/foreign-terrorist-organizations/
139
      U.S. Treasury Department | 26 March 2020 | SDGT Designations |
https://home.treasury.gov/news/press-releases/sm957
140
     U.S. State Department | 29 October 2021 | Foreign Terrorist Organizations |
https://www.state.gov/foreign-terrorist-organizations/


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       187.   In a Department of State press release, then Secretary of State Mike Pompeo

emphasized that the group takes direction from Iran:

              AAH and its leaders are violent proxies of the Islamic Republic of Iran
              [...] Acting on behalf of their masters in Tehran, they use violence and
              terror to further the Iranian regime’s efforts to undermine Iraqi
              sovereignty. 141

       188.   The press release also notes that AAH is funded and trained by the Iranian

defendants:

              AAH is extensively funded and trained by Iran’s Islamic
              Revolutionary Guard Corps (IRGC) Quds Force, an entity that was
              part of the IRGC designation as an FTO in April 2019.

       189.   One of the group’s now designated leaders (Qais al-Khazali), was detained and

interrogated by U.S. forces in 2007. During these interrogations, detailed in a now declassified

report, he described Iran’s influence over AAH, Iran’s training of AAH fighters and Iran’s

financing and furnishing of materiel to AAH:




141
   PX79 U.S. State Department | 3 January 2020 | State Department Terrorist Designations of
Asa’ib Ahl al-Haq and Its Leaders, Qays and Laith al-Khazali | https://2017-2021.state.gov/state-
department-terrorist-designations-of-asaib-ahl-al-haq-and-its-leaders-qays-and-laith-al-
khazali/index.html


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                Mr. Khazali said the training was carried out by Iran’s Islamic
                Revolutionary Guard Corps at three bases near Tehran, including the
                Imam Khomeini base, which Mr. Khazali said he had visited. “There
                are Iranians and Lebanese Hezbollah conducting the training at these
                bases,” the report said, based on interrogation. “The Iranians are
                experts in full scale warfare while the Lebanese are experts in urban or
                guerrilla warfare.” Iranian officers didn’t dictate which specific targets
                should be attacked in Iraq but suggested that the Iraqi Shiite militias
                focus attacks on British in the Basra area and American troops
                elsewhere “to force a withdrawal,” the report said. Mr. Khazali also
                discussed how the Iranians supplied the militias with what the
                Pentagon calls explosively formed penetrators, or EFPs, a particularly
                lethal type of explosive device that killed or wounded hundreds of
                American troops. “Detainee said that anyone can receive EFP training
                and Iran does not care who gets it,” a report said. “This is because of
                the availability and low cost of EFPs.” 142

        190.    Khazali also visited Iran on multiple occasions, seeking funding, training, and

armaments for his fighters, and met with Qassem Soleimani. 143

        191.    According to Iraqi intelligence officials, “AAH receives between $1.5-$2 million

a month from the Iranian government.” The bulk of this money is sent the IRGC-QF, which also

helps train and equip AAH fighters. New recruits to AAH are often sent to Hizballah training

camps in Lebanon or to Iran, for a two-week training course before joining their “unit.” Iran also

provides a bereavement payment of up to $5,000 for the families of killed AAH fighters and will

often pay for the fighter’s burial. 144

        192.    A December 2012 report from the Washington DC-based Institute for the Study

of War, also noted that AAH fighters received training from Hizballah operatives, who as

established earlier in this declaration, operate on behalf of the Iranian Defendants:




142
    American Enterprise Institute | November 2021 The Qayis al-Khazali Papers | Tactical
Interrogation Reports #1 through #70 | https://www.aei.org/the-qayis-al-khazali-papers/
143
    Wall Street Journal | 30 August 2018 | Declassified Interrogation Reports Show How Much
Iran Shaped Iraq War | https://www.wsj.com/articles/declassified-interrogation-reports-show-
how-much-iran-shaped-iraq-war-1535621245


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               The Lebanese Hezbollah operative Ali Mussa Daqduq, who was
               detained by coalition forces in 2007 and released from Iraqi custody in
               November 2012, provided organized training to AAH fighters. He
               reported to Youssef Hashim, the head of Lebanese Hezbollah Special
               Operations; the latter reported to Abdul Reza Shahlai (AKA Hajji
               Yussef), the director of Iranian Qods Force External Operations [...]
               All reported to Qassem Soleimani, the head of the Islamic
               Revolutionary Guard Qods-Force (IRGC-QF). 145, 146

       193.    AAH is not only funded by Iran, and its forces trained by Iran, but it is also

ideologically aligned with Iran, perhaps even more than it is with the idea of an independent Iraq.

According to Stanford’s Center for International Security and Cooperation:

               AAH is a Shiite organization that promotes the ideals of the Iranian
               Revolution, most notably the wilayat al-faqih (guardianship of the
               jurists). This is the complete implementation of political Islam under a
               faqih, or Islamic jurist, who has guardianship over God’s people.
               Ayatollah Khomeini was the first to put this theory into practice when
               he established the Iranian theocracy and established the Grand
               Ayatollah in the image of the theoretical faqih. As such, AAH is often
               called a Khomeinist organization and continues to look to Iran’s
               current Grand Ayatollah, Ayatollah Khamenei, for political and
               spiritual guidance. 147

       194.    As this section shows, AAH, which claimed responsibility for over 6,000 attacks

against U.S. and coalition forces, was heavily influenced by, ideologically aligned and

potentially subservient to, funded, trained, and provided with arms by the Iranian Defendants.




144
    The Guardian | 12 March 2014 | Controlled by Iran, the deadly militia recruiting Iraq's men to
die in Syria | https://www.theguardian.com/world/2014/mar/12/iraq-battle-dead-valley-peace-
syria
145
    Wall Street Journal | 30 August 2018 | Declassified Interrogation Reports Show How Much
Iran Shaped Iraq War | https://www.wsj.com/articles/declassified-interrogation-reports-show-
how-much-iran-shaped-iraq-war-1535621245
146
    American Enterprise Institute | November 2021 The Qayis al-Khazali Papers
 | Tactical Interrogation Reports #1 through #70 | https://www.aei.org/the-qayis-al-khazali-
papers/
147
    PX704 Stanford University Center for International Security and Cooperation | 22 November
2021 | Asa'ib Ahl al-Haq| https://cisac.fsi.stanford.edu/mappingmilitants/profiles/asaib-ahl-al-
haq#highlight_text_7975


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              c. Jaysch al Mahdi and The Promised Day Brigades

        195.     That Jaysch al Mahdi (JAM) and later Promised Day Brigades (PDB) have, as of

the writing of this Declaration, ceased to attack U.S. soldiers and civilians, does not change the

fact that during the time period relevant to this declaration, they were actively engaged in the

planning and execution of attacks against U.S. soldiers and civilians that resulted in American

deaths. 148

        196.     Initially named Jaysh al-Mahdi (JAM), the Shiite militia was founded in 2003, led

by Iraqi cleric Muqtada al-Sadr, and was one of the most dangerous armed groups in Iraq from

2003 through early 2008. In March 2008, Iraqi Security forces, together with U.S. and coalition

forces launched a major offensive against JAM, significantly weakening it and killing many of

its fighters. After being significantly weakened, Muqtada al-Sadr signed a 2008 ceasefire

agreement with Iraqi, U.S. and coalition forces and refocused JAM to provide social services to

Iraqi Shiites. In 2010, al-Sadr refocused JAM efforts towards Iraqi parliamentary elections. 149

        197.     Despite this reorganization, al-Sadr did not disband his militia, instead, he

announced that he would keep a small, highly trained, group of fighters who would exclusively

attack U.S. forces. This new unit was named the Promised Day Brigade (PDB). 150

        198.     The PDB did attack U.S. forces, and on one occasion even published a video

showing a PDB sniper shooting and killing a U.S. soldier. 151


148
    Stanford Center for International Security and Cooperation | 23 November 2021 | Mahdi
Army | Major Attacks | https://cisac.fsi.stanford.edu/mappingmilitants/profiles/mahdi-
army#:~:text=April%204%2C%202004%3A%20The,Amerli%20(unknown%20casualties%20).
%5Bxvi%5D
149
    PX703 Stanford Center for International Security and Cooperation | 23 November 2021 |
Mahdi Army | https://cisac.fsi.stanford.edu/mappingmilitants/profiles/mahdi-army
150
    PX703 Stanford Center for International Security and Cooperation | 23 November 2021 |
Mahdi Army | https://cisac.fsi.stanford.edu/mappingmilitants/profiles/mahdi-army
151
    Stanford Center for International Security and Cooperation | 23 November 2021 | Mahdi
Army | Major Attacks | https://cisac.fsi.stanford.edu/mappingmilitants/profiles/mahdi-


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            199.   The leader of both JAM and PDB, al-Sadr, has had longstanding ties to Iran

which included financing, armaments, training, shelter and political support for him and his

fighters. During the height of the insurgency when JAM was regularly attacking U.S., Iraqi and

coalition forces, the group was receiving millions of dollars and an assortment of weaponry from

Iran. 152

            200.   One of AAH’s leaders, Qais al-Khazali, whose group is described in the

preceding section (both AAH and al-Khazali are sanctioned by the U.S.), began his career

working with al-Sadr. Al-Khazali and al-Sadr’s representatives frequently traveled to Iran,

including as early as 2003, to meet with Iranian government officials. During their visits, they

met with senior Iranian government officials, including from the IRGC-QF and its leaders, U.S.-

sanctioned Qassem Soleimani. Al-Sadr facilitated the al-Khazali Iran connection. Al-Sadr was

worried about being seen as too close to Iran and sought to use al-Khazali as a conduit for

Iranian support. In 2003, Iranian support for al-Sadr was mostly financial, consisting of $750,000

to $1,000,000 per month, but sometimes rising $2,000,000 to $3,000,000 per month. In 2004,

IRGC-QF Deputy Commander Hajji Yussif offered to train JAM fighters so that they would be

“more capable of fighting the occupiers.” Al-Sadr agreed but asked al-Khazali to select

individuals who would travel to Iran for training and identify regional commanders for what

would become known as the Special Groups. 153




army#:~:text=April%204%2C%202004%3A%20The,Amerli%20(unknown%20casualties%20).
%5Bxvi%5D
152
    CNN | 28 September 2006 | Military official: Iranian millions funding insurgency |
http://www.cnn.com/2006/WORLD/meast/09/28/iraq.iran/
153
   PX274 West Point Combatting Terrorism Center | January 2019 | Iranian Resources and Shi`a
Militant Cohesion: Insights from the Khazali Papers | https://ctc.usma.edu/iranian-resources-
shia-militant-cohesion-insights-khazali-papers/


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            201.   Despite seeking to publicly distance himself from Iran, in 2007, ahead of a major

military operation, al-Sadr fled to Iran for safety, and received ready shelter. Speaking about this

during a press conference, U.S. Major General William B. Caldwell said, “I believe that he went

to Iran for a strategic session” with the Revolutionary Guard “and Iran's other proxies in Iraq to

determine actually how they will undermine America's plans.” 154

            202.   At the time of writing of this declaration, the Promised Day Brigades Have been

rebranded again, as the Peace Brigades, and al-Sadr has taken a much more nuanced political

position, staking out Iraqi nationalism and even publicly urging Iran to limit its influence in

Iraq. 155

            203.   This does not change that during the period relevant to this declaration, Iran

provided financing, armaments, training, shelter, and political support to Moqtada al-Sadr and

his two groups, JAM and PDB, with the explicit goal that they kill U.S. soldiers and civilians.

            4. The Badr Corps/Badr Organization

            204.   The Badr Organization (TBO or Corps) is TBO is a Shiite political party and

militia that is oldest proxy that Iran has in Iraq. TBO was formed in 1983, by the IRGC, to

support its efforts against Saddam Hussein. 156 It was the military wing of the Supreme Council

for the Islamic Revolution in Iraq (SCIRI), an Iraqi Shiite political party that aimed to overthrow

Saddam Hussein’s regime. Formed by the IRGC, TBO members fought alongside the IRGC




154
     Washington Post | Armed Iraqis Wary of Security Plan | 15 February 2007 |
https://www.washingtonpost.com/wp-
dyn/content/article/2007/02/14/AR2007021400450.html?nav=hcmodule
155
    New York Times | 16 October 2021 | After Iraqi Election, a Shiite Leader Emerges as an
Unlikely U.S. Ally | https://www.nytimes.com/2021/10/16/world/middleeast/iraq-sadr-
election.html
156
     PX710 Washington Institute | Profile: Badr Organization | 2 September 2021 |
https://www.washingtoninstitute.org/policy-analysis/profile-badr-organization


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during the Iran-Iraq War (1980-1988). From its inception until the U.S. invasion of Iraq, TBO

operated out of Iran, where it received shelter, training, weapons, and financing. 157

       205.    After the U.S. invasion of Iraq, TBO leadership and fighters quickly asserted

themselves in Iraq, with some of their fighters carrying rifles that said “Property of the Iranian

Revolutionary Guards Corps.” 158

       206.    An Iraqi intelligence study by Saddam’s intelligence service regarding TBO,

though it cannot be fully verified or trusted, provided multiple points showing significant Iranian

funding and arming of the group. Parts of the Iraqi intelligence document stated that:

               An annual budget is allocated to the Corps by the General Command
               of the Iranian Armed Forces in the limits of (20 millions) Dollars for
               the purchase of weapons, salaries, foodstuffs, vehicles and
               equipment. 159

       207.     Saddam’s intelligence service further noted that TBO members are given

additional benefits, including an ID which would allow “them to travel in the Iranian cities and

register their children in the Iranian schools.”

       208.    Concrete numbers for Iran’s financing of the Badr organization do not exist in the

unclassified space, but what is clear is that TBO is Iran-formed, Iran-trained, Iran-armed, and

Iran-financed. During the relevant period, TBO had approximately 10,000 fighters, meaning that

Iran would have needed to provide significant sums to equip and train them. 160


157
      Counter Extremism Project | 23 November 2021 | Badr Organization |
https://www.counterextremism.com/threat/badr-organization
158
    PX622 Atlantic Council | 16 August 2018 | Badr Brigade: Among Most Consequential
Outcomes of the Iran-Iraq War | https://www.atlanticcouncil.org/blogs/iransource/badr-brigade-
among-most-consequential-outcomes-of-the-iran-iraq-war-2/
159
    PX273 West Point Combatting Terrorism Center | 2005 | Iraqi Intelligence Study about the
Badr Corps | https://ctc.usma.edu/wp-content/uploads/2013/09/Iraqi-Intelligence-Study-about-
the-Badr-Corps-Translation.pdf
160
    Stanford Center for International Security and Cooperation | 24 November 2021 | The Badr
Organization     |     https://cisac.fsi.stanford.edu/mappingmilitants/profiles/badr-organization-
reconstruction-and-development#highlight_text_14815


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        209.     TBO’s activities were enabled and supported by the Iranian Defendants, and in

particular by the IRGC and IRGC-QF. Speaking in a 2015 interview, TBO leader Hadi al-Amiri

said about U.S.-sanctioned IRGC-QF General Qasem Soleimani, “He advises us. He offers us

information, we respect him very much.” Amiri also added that Lebanon’s Hezbollah has also

provided the Badr Organization with important lessons learned from fighting Israel and Sunni

jihadists in Lebanon and Syria. 161 In a 2013 interview, al-Amiri said, “I love Qassem

Suleimani!” pounding the table. “He is my dearest friend.” 162 During the relevant period, al-

Amiri ordered attacks on up to 2,000 Sunnis in Iraq, and his preferred method of murder was to

apply a power drill to a victim’s skull. Separately, a U.S. federal indictment has linked al-Amiri

to a 1996 attack in Saudi Arabia that killed 19 U.S. Air Force servicemen. 163

        210.     In 2012, TBO split from its parent organization, SCIRI, which had changed its

name to the Islamic Supreme Council of Iraq (ISCRI). The name change was because ISCRI

wanted to focus primarily on Iraq and distance itself from Iranian influence, a direction which al-

Amri disagreed with and rejected. In a 2015 interview, al-Amiri said that Iran’s Supreme Leader,

Ayatollah Ali Khamenei, “Is the leader not only for Iranians but the Islamic nation. I believe so

and I take pride in it.” 164

        211.     Thus, the leader of this Iran-armed and funded organization, pledged loyalty to

Iran, took intelligence, advice, and orders from Iran, worked with and fought for the IRGC-QF,

had a history of killing U.S. soldiers, had a penchant for murder and torture, and used the



161
     Bloomberg | 3 February 2015 | Iran's Militias Are Taking Over Iraq's Army |
https://www.bloomberg.com/opinion/articles/2015-02-03/exclusive-iran-s-militias-are-taking-
over-iraq-s-army
162
     PX634 The New Yorker | 23 September 2013 | The Shadow Commander |
https://www.newyorker.com/magazine/2013/09/30/the-shadow-commander
163
      Countering Extremism Project | 24 November 2021 | Hadi al-Amiri |
https://www.counterextremism.com/extremists/hadi-al-amiri


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resources put at his disposal by Iran to significantly increase bloodshed in Iraq and kill U.S.

soldiers during the period relevant for this Declaration.

       5. Al Qaida

       212.    The U.S. Department of State designated Al Qaida as a foreign terrorist

organization on October 8, 1999, and the U.S. Treasury designated it a specially designated

global terrorist on September 23, 2001. 165, 166

       213.    In a public facing document, the U.S. National Counter Terrorism Center

(NCTC), part of the Office of the Director of National Intelligence (ODNI), details some of Al

Qaida’s terrorist history, including how murdering U.S. persons is a core part of, if not the core

of Al Qaida’s mission:

               Usama Bin Ladin formed al-Qa‘ida in 1988 with Arabs who fought in
               Afghanistan against the Soviet Union, and declared its goal as the
               establishment of a pan-Islamic caliphate throughout the Muslim world.
               Toward this end, al-Qa‘ida seeks to unite Muslims to fight the West,
               especially the United States, as a means of overthrowing Muslim
               regimes al-Qa‘ida deems “apostate,” expelling Western influence from
               Muslim countries, and defeating Israel. Al-Qa‘ida issued a statement
               in February 1998 under the banner of “the World Islamic Front for
               Jihad Against the Jews and Crusaders” saying it was the duty of all
               Muslims to kill U.S. citizens—civilian and military—and their allies
               everywhere.




164
      Countering Extremism Project | 24 November 2021 | Hadi al-Amiri |
https://www.counterextremism.com/extremists/hadi-al-amiri
165
     U.S. State Department | 29 October 2021 | Foreign Terrorist Organizations |
https://www.state.gov/foreign-terrorist-organizations/
166
     PX78 U.S. State Department | 23 September 2001 | SDGT Designations |
https://www.state.gov/executive-order-13224/https://home.treasury.gov/policy-issues/financial-
sanctions/recent-actions/20011102


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              The group merged with the Egyptian Islamic Jihad (al-Jihad) in June
              2001. On 11 September 2001, 19 al-Qa‘ida suicide attackers hijacked
              and crashed four U.S. commercial jets—two into the World Trade
              Center in New York City, one into the Pentagon near Washington,
              D.C., and a fourth into a field in Shanksville, Pennsylvania—leaving
              nearly 3,000 people dead. Al-Qa‘ida also directed the 12 October 2000
              attack on the U.S.S Cole in the port of Aden, Yemen, which killed 17
              U.S. sailors and injured another 39, and conducted the bombings in
              August 1998 of the U.S. embassies in Nairobi, Kenya, and Dar es
              Salaam, Tanzania, killing 224 people and injuring more than 5,000.

              Since 2002, al-Qa‘ida and affiliated groups have conducted attacks
              worldwide, including in Europe, North Africa, South Asia, Southeast
              Asia, and the Middle East. In 2005, Ayman al-Zawahiri, then Bin
              Ladin’s deputy, publicly claimed al-Qa‘ida’s involvement in the 7 July
              2005 bus bombings in the United Kingdom. In 2006, British security
              services foiled an al-Qa‘ida plot to detonate explosives on up to 10
              transatlantic flights originating from London’s Heathrow airport. 167

       214.   Al Qaida is a covert, Sunni terrorist group and Iran a Shiite theocracy and state

sponsor of terrorism. They never had and will never have the ideological closeness that Iran and

Hizballah have, and their relationship has at times been difficult, with Al Qaida kidnapping

Iranian officials and Iranian officials arresting Al Qaida members, but as far as creating a

productive working relationship between two groups that openly espouse mass-murder and

commit terrorist acts, they have succeeded.

       215.   Their mutually beneficial working relationship goes back almost three Decades,

and begins in early 1990s Sudan, according to declassified Central Intelligence Agency (CIA)

documents. During this time, Iranian, Al Qaida and Sudanese operatives met repeatedly in

Sudan, and discussed forming a “tripartite front against their common enemies” and decided to




167
   PX253 Office of the Director of National Intelligence - National Counter Terrorism Center |
29 October 2021| Al Qaida Background | https://www.dni.gov/nctc/groups/al_qaida.html


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“collaborate, politically and militarily … to confront Israel and the United States … [and]

undermine Arab regimes which supported Israel and the United States.” 168

       216.    According to the 9/11 Commission Report, not long after this tripartite agreement

“senior al Qaeda operatives and trainers traveled to Iran to receive training in explosives. In the

fall of 1993, another such delegation went to the Bekaa Valley in Lebanon for further training in

explosives as well as in intelligence and security. Bin Ladin reportedly showed particular interest

in learning how to use truck bombs such as the one that had killed 241 U.S. Marines in Lebanon

in 1983.The relationship between al Qaeda and Iran demonstrated that Sunni-Shia divisions did

not necessarily pose an insurmountable barrier to cooperation in terrorist operations.” 169

       217.    In the wake of the 2011 Abbottabad raid during which U.S. Special Forces killed

Osama Bin Laden, they also brought back a large volume of the Al Qaida leader’s files. One of

the files, declassified by the CIA in 2017, contains an internal Al Qaida assessment of the

terrorist group’s relationship with Iran, saying that Iran offered:

               Saudi brothers [...] everything they needed [...] money, arms [...]
               training in Hezbollah camps in Lebanon, in exchange for striking
               American interests in Saudi Arabia and the Gulf. 170

       218.    The document says that Defendant the Iranian Ministry of Intelligence and

Security (MOIS), facilitated the travel of Al Qaida operatives with visas, while sheltering others.




168
    PX218 National Security Archive | 1997 01 31 | “Terrorism Establishment of a Tripartite
Agreement Among Usama Bin Ladin, Iran, and the NIF,” Central Intelligence Agency
Intelligence Report | https://www.documentcloud.org/documents/368918-1997-01-31-terrorism-
establishment-of-a.html
169
    PX282 9/11 Commission | The Foundation of the New Terrorism | Page 61 | https://www.9-
11commission.gov/report/911Report.pdf
170
    Foundation for Defense of Democracies | 1 November 2017 | Analysis: CIA releases massive
trove of Osama bin Laden’s files | https://www.longwarjournal.org/archives/2017/11/analysis-
cia-releases-massive-trove-of-osama-bin-ladens-files.php


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The assessment’s author says that Al Qaida is not at war with Iran and some of their “interests

intersect,” especially when it comes to being an “enemy of America.” 171

       219.    The 9/11 Commission Report states that Iran was not involved in the planning of,

and did not know of the impending 9/11 attacks, however, it allowed transit to, from and through

its territory for known Al Qaida members, and the report also notes that “Al Qaeda members

received advice and training from Hezballah.” 172

       220.    The assistance to Al Qaida was approved by Iranian leadership and operationally

provided by either MOIS or by Iran’s IRGC. In its designation of the IRGC as a terrorist

organization on April 8, 2019, the Department of State notes that:

               The IRGC continues to provide financial and other material support,
               training, technology transfer, advanced conventional weapons,
               guidance, or direction to a broad range of terrorist organizations [...]
               Iran continues to allow Al Qaeda (AQ) operatives to reside in Iran,
               where they have been able to move money and fighters to South Asia
               and Syria. 173

       221.    In 2011 and 2012, Treasury issued sanctions against Al Qaida funding and

support networks in Iran. In the 2011 designations, Treasury states that:

               Iran is a critical transit point for funding to support al-Qa’ida’s
               activities in Afghanistan and Pakistan. This network serves as the core
               pipeline through which al-Qa’ida moves money, facilitators and
               operatives from across the Middle East to South Asia, including to
               Atiyah Abd al-Rahman, a key al-Qa’ida leader based in Pakistan, also
               designated today. 174


171
    Foundation for Defense of Democracies | 1 November 2017 | Analysis: CIA releases massive
trove of Osama bin Laden’s files | https://www.longwarjournal.org/archives/2017/11/analysis-
cia-releases-massive-trove-of-osama-bin-ladens-files.php
172
     PX282 9/11 Commission | The Attack Looms | Page 240 | https://www.9-
11commission.gov/report/911Report.pdf
173
    Department of State | 8 April 2019 | Designation of the Islamic Revolutionary Guard Corps |
https://2017-2021.state.gov/designation-of-the-islamic-revolutionary-guard-corps/index.html
174
    PX130 Department of the Treasury | 28 July 2011 | Treasury Targets Key Al-Qa’ida Funding
and      Support     Network       Using      Iran    as      a    Critical    Transit    Point
https://home.treasury.gov/news/press-releases/tg1261


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       222.    Speaking regarding these sanctions, then Under Secretary for Terrorism and

Financial Intelligence David S. Cohen said that:

               Iran is the leading state sponsor of terrorism in the world today. By
               exposing Iran’s secret deal with al-Qa’ida allowing it to funnel funds
               and operatives through its territory, we are illuminating yet another
               aspect of Iran’s unmatched support for terrorism. 175

       223.    In its 2012 designations, the U.S. Treasury sanctioned:

               [A] key member of an al-Qa’ida network operating in Iran and led by
               Iran-based al-Qa’ida facilitator [The action] underscores that Iran
               continues to allow al-Qa’ida to operate a core pipeline that moves al-
               Qa’ida money and fighters through Iran to support al-Qa’ida activities
               in South Asia. This network also sends funding and fighters to
               Syria. 176

       224.    The Treasury press release also notes that one of the designees, Al-Harbi:

               [I]s an Iran-based al-Qa’ida facilitator [...] al-Harbi facilitates the
               travel of extremists to Afghanistan or Iraq via Iran on behalf of al-
               Qa’ida, and is believed to have sought funds to support al-Qa’ida
               attacks.

       225.    One of the other terrorists named in the press release is Al-Fadhli, who the U.S.

Treasury stated:

               [I]s a veteran al-Qa’ida operative who has been active within the
               terrorist network for years. Treasury previously designated al-Fadhli
               pursuant to E.O. 13224 in February 2005 for providing financial and
               material support to the al-Zarqawi Network and al-Qa’ida. At that
               time, al-Fadhli was considered an al-Qa’ida leader in the Gulf and
               provided support to Iraq-based fighters for attacks against U.S. and
               multinational forces. 177




175
    PX130 Department of the Treasury | 28 July 2011 | Treasury Targets Key Al-Qa’ida Funding
and      Support     Network      Using      Iran    as    a     Critical   Transit    Point
https://home.treasury.gov/news/press-releases/tg1261
176
    PX127 Department of the Treasury | 18 October 2012 | Treasury Further Exposes Iran-Based
Al-Qa'ida Network https://home.treasury.gov/news/press-releases/tg1741
177
    Department of the Treasury | 18 October 2012 | Treasury Further Exposes Iran-Based Al-
Qa'ida Network https://home.treasury.gov/news/press-releases/tg1741


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        226.   Significant additional material exists regarding the relationship between Iran and

Al Qaida, up to present day, however for the purposes of this Declaration, the above establishes

that during the relevant period, Iran and Al Qaida had a working relationship, that included Iran

providing funds, training, safe passage and sanctuary to Al Qaida, including to Al Qaida fighters

en route to Iraq.

        6. Al Qaida in Iraq

        227.   Al Qaida protégé and long-time collaborator, Jordanian Abu Musab al-Zarqawi,

built a powerful network of foreign fighters and Sunni militants in Iraq. His group, Ansar al-

Islam (discussed further below), was designated as a “Foreign Terrorist Organization” by the

Department of State on March 22nd 2004. 178 In October of the same year, Department of State

sanctioned the Monotheism and Jihad Group, (a successor to Ansar al-Islam) as a Foreign

Terrorist Organization. 179 Later the same month, Zarqawi changed his organization's name to “Al

Qaeda Jihad Organization in the Land of Two Rivers (Mesopotamia - Iraq)” commonly known

as Al Qaida in Iraq. The Foreign Terrorist Organization designation was also applied to the new

name.

        228.   This was not pure branding, Zarqawi had worked with Al Qaida previously,

including in Afghanistan before and throughout the U.S. mission there that began in 2001. 180 He

met with Al Qaida leaders on many occasions, received funding, training and operational

directions from Al Qaida, and built a close relationship with Saif al-Adel, a top Al Qaida military

commander.




178
     U.S. State Department | 29 October 2021 | Foreign Terrorist Organizations |
https://www.state.gov/foreign-terrorist-organizations/
179
    PX228 Congressional Research Service | 15 August 2008 | Al Qaeda in Iraq: Assessment and
Outside Links https://sgp.fas.org/crs/terror/RL32217.pdf


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       229.   To take the name of Al Qaida in Iraq, Zarqawi received advance approval from Al

Qaida leader Osama Bin Laden. According to a translation of terrorist media:

       On October 17, 2004, Abu Musab al-Zarqawi and his Tawhid wal-Jihad
       organization issued an online statement pledging allegiance to al-Qaeda and
       its commander, Sheikh Osama bin Laden. Al-Qaeda reprinted and
       acknowledged the statement, responding favorably to the new development in
       their online magazine Mu'askar al-Battar. The newly-affiliated group is
       known as Tanzim Qai'dat al-Jihad fi Bilad al-Rafidayn (al-Qaeda in Iraq), and
       has already claimed responsibility for numerous attacks, including the
       December 13 bombing at an entrance to Baghdad's Green Zone. The bay'ah
       (oath of allegiance) has been deemed authentic by U.S. military and
       intelligence analysts, and was further reaffirmed by al-Qaeda's public
       acknowledgement [...] Osama bin Laden and his lieutenant Ayman al-
       Zawahiri have endorsed and praised Zarqawi and the Iraqi insurgency in the
       past, and Zarqawi has been happy to acknowledge these remarks, while
       carefully maintaining his subordinate role in the greater mission and
       demonstrating his willingness to show loyalty. Many conclusions can be
       drawn from the text: firstly, Zarqawi's oath challenges past perceptions of
       rivalry between his organization and al-Qaeda in Afghanistan. Secondly, it
       demonstrates his desire to establish himself as a key player in al-Qaeda's
       mission in Iraq. Finally, the text serves as a recruiting statement for the Iraqi
       insurgency, through the endorsement of al-Qaeda leadership. 181
       230. In a January 10, 2007, major speech announcing the U.S. troop surge President

George W Bush highlighted the prominent threat played by Al Qaida in Iraq:

              Al Qaeda is still active in Iraq. Its home base is Anbar Province. Al
              Qaeda has helped make Anbar the most violent area of Iraq outside the
              capital. A captured al Qaeda document describes the terrorists’ plan to
              infiltrate and seize control of the province. This would bring al Qaeda
              closer to its goals of taking down Iraq’s democracy, building a radical
              Islamic empire, and launching new attacks on the United States at
              home and abroad.

       231.   In a July 24, 2007, speech, President Bush said:



180
     The Atlantic | July 2006 | The Short, Violent Life of Abu Musab al Zarqawi |
https://www.theatlantic.com/magazine/archive/2006/07/the-short-violent-life-of-abu-musab-al-
zarqawi/304983/
181
    The Jamestown Foundation | 17 October 2004 | ZARQAWI'S PLEDGE OF ALLEGIANCE
TO       AL-QAEDA:        FROM       MU'ASKER         AL-BATTAR,           ISSUE      21     |
https://web.archive.org/web/20070930180847/http://www.jamestown.org/publications_details.ph
p?volume_id=400&issue_id=3179&article_id=2369020


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                Our troops are [...] opposing ruthless enemies, and no enemy is more
                ruthless in Iraq than al Qaeda. They send suicide bombers into
                crowded markets; they behead innocent captives and they murder
                American troops. They want to bring down Iraq’s democracy so they
                can use that nation as a terrorist safe haven for attacks against our
                country.

        232.    Iran did not participate directly in the operations or management of Al Qaida in

Iraq like it did with JAM and the Special Groups. Nor did it nurture its formation and evolution

like it did with AQI’s umbrella organization, Al Qaida. Zarqawi’s anti-Shia views, extreme even

for a mass-murdering terrorist, made Iran’s alignment with the group’s anti-American activities

necessarily covert.

        233.    However, Iran’s cooperation with, support for, and provision of sanctuary to Al

Qaida’s core leadership greatly assisted the group’s terrorist operations in Iraq. Had Iran taken a

zero-tolerance approach to Al Qaida and made arrests of its members a permanent strategy as

opposed to a tool for obtaining negotiating chits, Iran could have made operations for the group

much more difficult. Instead, Al Qaida’s franchise in Iraq became one of the greatest threats to

U.S. lives in Iraq.

        7. Ansar Al Islam

        234.    The Treasury designated Ansar Al-Islam (AAI or AI) as a specially Designated

Global terrorist on February 20, 2003, and the U.S. Department of State designated Ansar Al

Islam as a foreign terrorist organization on March 22, 2004. 182, 183

        235.    In its press release regarding the designation of the Sunni terrorist group, The

Treasury Department stated that AAI is:


182
    PX39 U.S. Treasury Department | 20 February 2003 | Treasury Department Statement
Regarding the Designation of Ansar al-Islam |          https://home.treasury.gov/news/press-
releases/js48
183
     U.S. State Department | 29 October 2021 | Foreign Terrorist Organizations |
https://www.state.gov/foreign-terrorist-organizations/


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               [A] terrorist group operating in northeastern Iraq with close links to
               and support from al-Qaida. Al-Qaida and Usama bin Laden
               participated in the formation and funding of Ansar al-Islam, and AI
               has provided safe haven to al-Qaida in northeastern Iraq. AIs
               predecessor, Jund al-Islam, was formed in September 2001. AI came
               into being with the blessing of bin Laden after its leaders visited al-
               Qaida in Afghanistan in 2000 and 2001. Bin Laden provided AI with
               an estimated $300,000 to $600,000 in seed money. AI has
               acknowledged that it contracted Islamic figures abroad before
               declaring jihad in northeastern Iraq. Ansar al-Islam has received
               training and logistical assistance from al-Qaida. Groups of AI’s
               Kurdish members have traveled to Afghanistan to train with al-Qaida,
               while AI’s foreign members are believed to be al-Qaida-trained
               veterans of conflicts in Afghanistan and Chechnya.” 184

        236.   AAI’s activity was focused primarily in Northern Iraq targeting Iraqi and Kurdish

forces, however, it fully shared Al Qaida’s zeal in killing Americans, and did so on many

occasions, including sending a suicide bomber into a U.S. military dining hall in Northern Iraq in

2004. 185

        237.   There is no publicly available information showing direct hand-in-glove

operational support by the Iranian defendants to AAI as there is with Hizballah or the Badr

Organization. However, for AAI, safe haven was arguably more important, and like with Al

Qaida, Iran was aware of AAI’s activities and purposefully did not intervene (when it easily

could have) in the group’s activities because Iran wanted AAI to inflict harm to U.S. soldiers and

citizens, and therefore provided AAI with operational freedom, and sanctuary in Iran. While for

some groups, safe haven in Iran might be less important or desirable than money or weapons, for

AAI, there were few other places to go. As a terrorist group allied with Al Qaida, most of the

world and Middle Eastern governments were already hostile to AAI.


184
     PX39 U.S. Treasury Department | 20 February 2003 | Treasury Department Statement
Regarding the Designation of Ansar al-Islam | https://home.treasury.gov/news/press-releases/js48
185
     PX702 Stanford Center For International Security and Cooperation | 24 November 2021 |
Ansar                                            Al                                        Islam
| https://cisac.fsi.stanford.edu/mappingmilitants/profiles/ansar-al-islam#text_block_12174


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       238.    But while some terrorist groups have found safe haven if they did not conduct

attacks on the territory of their patron (Taliban in Qatar, Hamas in Egypt), or were able to exploit

instability to carve out territory (Al Qaida in Yemen, Hizballah in Lebanon), most of the

governments in the Middle East did not want anything to do with AAI because its members

almost exclusively come from the Kurdish ethnic group. Kurds are one of the largest ethnic

groups in the Middle East that do not have their own country. Multiple other Kurdish terrorist

groups exist that are focused not on radical Islam, but on Kurdish independence, making them a

threat to countries with large Kurdish populations, especially Armenia Azerbaijan, Iraq, Syria,

Turkey and sometimes, Iran.

       239.    The Kurdish desire for independence has been weaponized by different countries

against each other for almost fifty years now. Facing continued repression in almost all of the

countries where they are present, Kurds began to rebel in Iran, Iraq, Syria, and Turkey. In 1975,

Iraqi Kurds rebelled against Baathist rule, and were supported by the U.S. and Iran (the ruled by

the Shah). Five years later during the Iran-Iraq war, Iran armed Iraqi Kurds to fight against

Saddam Hussein, while Saddam Hussein and the U.S. armed Iranian Kurds to fight against the

new Islamic Republic. 186 In Syria and Turkey, the governments continually cracked down Kurds

leading to repeated uprisings and anti-government attacks by Kurdish groups. In 2004 Iranian

Kurds founded The Party for a Free Life in Kurdistan (PJAK), a guerrilla group that claimed to

have three thousand fighters, and which signed a cease-fire with Iran in 2011 following years of

fighting. 187 Although Iran nominally opposes the Kurdistan’s Workers Party (PKK), a Turkey-

based Kurdish terrorist group focused on Kurdish liberation, it has also supported the PKK


186
    Council on Foreign Relations | 24 November 2021 | The Kurds’ Quest for Independence |
https://www.cfr.org/timeline/kurds-quest-independence
187
    Council on Foreign Relations | 24 November 2021 | The Kurds’ Quest for Independence |
https://www.cfr.org/timeline/kurds-quest-independence


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whenever it has been at odds with Turkey, and has let this dynamic wax and wane for over two

decades. 188 Additionally, the U.S. government has been financing, arming and training various

Kurdish groups since 1991, initially against Saddam Hussein in Iraq, then against Bashar Al

Asad in Syria, and then against ISIS in Iraq. 189

       240.    This purpose of the above paragraphs is to demonstrate that within the Middle

East, almost all governments viewed Kurdish groups with significant suspicion, and that the safe

haven that Iran provided to AAI was something the group would have been hard-pressed to find

anywhere else in the region.

       241.    While Iran providing safe haven to the AAI is counter intuitive, as AAI is a Sunni

terrorist group that targets Shiites, and has Kurdish fighters, the Iranian Defendants have shown

that they are comfortable working with terrorist groups as long as they have leverage and believe

they can direct terrorists to act in Iran’s interests, such as in the Iran- Al Qaida relationship

described above.

       242.    With the above context, below is a description of the support provided by Iran to

AAI. After the U.S. invasion of Iraq in 2003, coalition forces supported by the Kurdistan

Regional Government (KRG), launched an offensive against AAI, leading to the death or capture

of many AAI members, with those remaining fleeing to Iran. AAI continued to operate from Iran

under the command of Abu Abdullah al-Shafi, and was temporarily renamed Ansar al-Sunna,

though it went back to AAI in 2007. 190


188
    Washington Institute | 1 January 2003 | Iran's Continued Challenge to the Secular Middle East
|         https://www.washingtoninstitute.org/policy-analysis/tactical-terrorism-irans-continued-
challenge-secular-middle-east
189
    Council on Foreign Relations | 24 November 2021 | The Kurds’ Quest for Independence
https://www.cfr.org/timeline/kurds-quest-independence
190
    Stanford Center for International Security and Cooperation | Ansar Al Islam | 24 November
2021               |              https://cisac.fsi.stanford.edu/mappingmilitants/profiles/ansar-al-
islam#highlight_text_12145


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        243.    While Iran has publicly denied any links to AAI, an expert on militant Islam

Stated that Iran harbors the fighters within its borders and providing a route for foreign fighters

to enter Iraq and join AAI’s ranks: “It’s very clear that there are fighters streaming in over the

Iranian border tied to this group.” 191

        244.    Human Rights Watch, while investigation human rights abuses in Northern Iraq

published research on Ansar al-Islam, and stated that:

                [T]he location of the group's bases very close to the Iranian border,
                taken together with credible reports of the return of some Ansar al-
                Islam fighters to Iraqi Kurdistan through Iran, suggest that these
                fighters have received at least limited support from some Iranian
                sources. Villagers living under Ansar al-Islam control, and mainstream
                Islamists who have visited those areas, reported to Human Rights
                Watch that Iranian agents had been present on occasion. However, the
                exact nature of relations between the two sides is unclear: PUK
                [Patriotic Union of Kurdistan] and other sources acknowledged that
                Iran had played a mediating role aimed at ending the clashes between
                PUK and Ansar al-Islam forces. 192

        245.    The Jamestown Foundation, a think tank with longstanding expertise on terrorism

translated local newspapers that wrote about ties between Iran and AAI:




191
    PX668 Council on Foreign Relations | 5 November 2008 | Ansar al-Islam (Iraq,
Islamists/Kurdish Separatists), Ansar al-Sunnah | https://www.cfr.org/backgrounder/ansar-al-
islam-iraq-islamistskurdish-separatists-ansar-al-sunnah
192
    Human Rights Watch | 24 November 2021 | Ansar al-Islam in Iraqi Kurdistan |
https://www.hrw.org/legacy/backgrounder/mena/ansarbk020503.htm


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                One of Kurdistan’s weekly independent papers, Hawlati, issued a
                series of reports on the matter. In a July 2004 article, Hawlati wrote
                that that “Italaat,” the Iranian Secret Service, and al-Qaeda elements
                are training Ansar al-Islam along the eastern border of Kurdistan
                (Hawlati, July 2004). The Hawlati report posits that Iran is supporting
                Ansar al-Islam elements against the Iraqi Kurdish parties in order to
                separate Iraqi and Iranian Kurds and stave off any potential
                cooperation. In more recent news coverage, an anonymous Kurdish
                source said, “In fact, there is an organized campaign to recruit young
                Iranian Kurds in ideological and military training courses during
                which the recruit is paid a salary…Along with these training courses,
                the recruit goes through other military activities most of which are of a
                terrorist nature. These courses are held in Iranian camps spread in
                various regions of Iran” (Elaph, April 27). 193

         246.   Iran is not known to have directly controlled AAI like it did with its Iraqi Shiite

allies, but like with Al Qaida in Iraq, it was aware of the group’s activity, and provided it with

safe haven on its territory. Had Iran taken a zero-tolerance approach to AAI and made arrests of

its members a permanent strategy, as opposed to using the group as a tool to destabilize Iraq and

kill U.S. soldiers and civilians, it could have potentially eradicated the terrorist group entirely.

Instead, AAI regrouped on Iranian territory and continued to kill people in Iraq, including

Americans, during the relevant period.

      M. Iranian Agents That Assisted Defendants in Financing Terrorism in Iraq

         1. National Iranian Oil Company

         247.   As noted above, NIOC is responsible for, among other duties, generating energy

revenue for the government of Iran and creating and operating companies. 194,195 NIOC is entirely


193
     PX673 The Jamestown Foundation | 7 June 2007 | The Hidden Hand of Iran in the
Resurgence of Ansar al-Islam | https://jamestown.org/program/the-hidden-hand-of-iran-in-the-
resurgence-of-ansar-al-islam/
194
    Introduction to National Iranian Oil Company, supra at n.61, at PDF page 7.
195
    PX810 NIOC, Introduction to National Iranian Oil Company, at PDF page 7, available at
https://www.nioc.ir/portal/file/?175586/catalog-nioc-EN.pdf. See also U.S. Dep’t of Energy,
Analysis: Iran, available at https://www.eia.gov/beta/international/analysis.cfm?iso= IRN (“The
state-owned National Iranian Oil Company is responsible for all upstream oil and natural gas
projects.”).


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owned and controlled by the Government of Iran, and generates billions of dollars in revenue

annually for the Iranian government, funding between one and two thirds of the Iranian

government’s total revenue. 196,197

        248.       NIOC deliberately structures many of its oil sales in an opaque manner to avoid

international sanctions. In a report to Congress in September 2021, the Treasury Department

stated that “NIOC is an agent or affiliate of the IRGC.” 198 The Treasury’s finding was pursuant

to the Iran Threat Reduction and Syria Human Rights Act of 2012, where Section 312 reads “It is

the sense of Congress that the National Iranian Oil Company and the National Iranian Tanker

Company are not only owned and controlled by the Government of Iran but that those companies

provide significant support to Iran’s Revolutionary Guard Corps and its affiliates. 199

        249.       NIOC was sanctioned by the U.S. Treasury Department in November 2008 for

being controlled by the government of Iran, 200 in November 2012 it was further sanctioned

Executive Order 13382 for assisting the IRGC with the proliferation of weapons of mass

destruction. 201




196
    See supra at n.22.
197
    Press Release, Dep’t of Treasury, Treasury Submits Report To Congress On NIOC And NITC
(Sept. 24, 2012), available at https://home.treasury.gov/news/press-releases/tg1718
198
     Letter from Adam J. Szubin, OFAC Director, to Congress, dated September 24, 2012,
available at https://www.treasury.gov/resource-center/sanctions/Programs/Documents/report_to_
congress_09242012.pdf.
199
    Iran Threat Reduction and Syria Human Rights Act of 2012, Pub. Law No. 112-158 (Aug.10,
2012), available at https://home.treasury.gov/system/files/126/hr_1905_pl_112_158.pdf
200
    PX57 U.S. Treasury Department | 26 November 2008 | OFAC Identifies Entities Owned or
Controlled by the Government of Iran | https://home.treasury.gov/news/press-releases/hp1299
201
     Fact Sheet, Dep’t of Treasury, Sanctions on Iranian Government and Affiliates (Nov. 8,
2012), available at     https://home.treasury.gov/news/press-releases/tg1760See also
         http://www.iranwatch.org/iranian-entities/national- iranian-oil-company.


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        250.     In January 2020, Treasury publicly tied NIOC’s work to terrorism, noting that

NIOC “helps to finance Iran’s [IRGC-QF] and its terrorist proxies,” and designated four

international petrochemical and petroleum companies that “have collectively transferred the

equivalent of hundreds of millions of dollars’ worth of exports from the National Iranian Oil

Company (NIOC), an entity instrumental in Iran’s petroleum and petrochemical industries,

which helps to finance Iran’s Islamic Revolutionary Guard Corps-Qods Force (IRGC-QF) and its

terrorist proxies.” 202

        251.     A month later, Treasury designated five additional United Arab Emirates-based

companies for having “purchased hundreds of thousands of metric tons of petroleum products

from NIOC. Treasury again stressed that “Iran’s petroleum and petrochemical industries are

major sources of revenue for the Iranian regime, which has used these funds to support the

Islamic Revolutionary Guard Corps-Qods Force’s (IRGC-QF) malign activities throughout the

Middle East, including the support of terrorist groups.” 203

        252.     Treasury also designated a worldwide Iranian petroleum shipping Network

originating with NIOC for “financially support[ing] [the IRGC-QF] and its terror proxy




202
    Press Release, Dep’t of Treasury, Treasury Targets International Network Supporting Iran’s
Petrochemical      and    Petroleum      Industries    (Jan.   23,    2020),     available   at
https://home.treasury.gov/news/press-releases/sm885 (emphasis added).
203
    Press Release, Dep’t of Treasury, Treasury Targets Companies Facilitating Iran’s Petroleum
Sales (March 19, 2020), available at https://home.treasury.gov/news/press-releases/sm949.
Treasury also designated Iran’s largest petrochemical holding group, Persian Gulf Petrochemical
Industries Company (“PGPIC”), for providing financial support to U.S.-designated Khatam al-
Anbya Construction Headquarters, the engineering conglomerate of the IRGC, along with its
vast network of 39 subsidiary petrochemical companies and foreign-based sales agents. Press
Release, Dep’t of Treasury, Treasury Sanctions Iran’s Largest Petrochemical Holding Group and
Vast Network of Subsidiaries and Sales Agents (June 7, 2019), available at
https://home.treasury.gov/news/press-releases/sm703.


                                                                                            90


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Hizballah” in a “vast oil-for-terror shipping network.” 204 It found that the shipping network “is

directed by [the IRGC-QF] and its terrorist proxy Hizballah,” and declared “that those

purchasing Iranian oil are directly supporting Iran’s militant and terrorist arm, [the IRGC-

QF].” 205 Notably, according to the Treasury, the network was overseen by Senior IRGC-QF

official and former Iranian Minister of Petroleum (2011-2013) Rostam Qasemi. 206

       253.    In designating a Chinese company, Zhuhai Zhenrong Company Limited

(“Zhenrong”), for purchasing hundreds of millions of dollars in oil from NIOC, Secretary of

State Mike Pompeo explained the designation was intended to “deny the [Iranian] regime critical

income to fund terror around the world, engage in foreign conflicts, and advance its ballistic

missile development.” 207

       2. Islamic Republic of Iran Shipping Lines (IRISL)

       254.    The U.S. Department of Treasury designated the Islamic Republic of Iran

Shipping Lines (IRISL) in September 2008 for providing logistical services to Iran's Ministry of



204
    Treasury Press Release, Treasury Designates Vast Iranian Petroleum Shipping Network That
Supports      IRGC-QF      and      Terror   Proxies    (Sept.    4,   2019),    available   at
https://home.treasury.gov/news/press-releases/sm767
205
    Treasury Press Release, Treasury Designates Vast Iranian Petroleum Shipping Network That
Supports      IRGC-QF      and      Terror   Proxies    (Sept.    4,   2019),    available   at
https://home.treasury.gov/news/press-releases/sm767
206
    Prior to serving as Minister of Petroleum (and Chairman of NIOC), Qasemi was Commander
of the IRGC construction affiliate Khatam al Anibya, which further underscores the relationship
between various IRGC affiliates and NIOC. Qasemi was first designated E.O. 13382 for his role
with Khatam al Anbiya in 2010 and under E.O. 13224 in September 2019, along with the
broader petroleum-shipping network that he oversaw. See “Treasury Targets Iran’s Islamic
Revolutionary Guard Corps” (Feb. 10, 2010), available at https://home.treasury.gov/news/press-
releases/tg539
207
    Press Release, U.S. Dep’t of State, The United States to Impose Sanctions on Chinese Firm
Zhuhai Zhenrong Company Limited for Purchasing Oil from Iran (July 22, 2019), available at
https://2017-2021.state.gov/the-united-states-to-impose-sanctions-on-chinese-firm-zhuhai-
zhenrong-company-limited-for-purchasing-oil-from-
iran/index.html#:~:text=Today%2C%20the%20United%20States%20is,Iran%2C%20contrary%
20to%20U.S.%20sanctions. (visited on January 20, 2020).


                                                                                               91


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Defense and Armed Forces Logistics (MODAFL). In its public statement on the designation,

Treasury noted that IRISL:

               [F]alsifies documents and uses deceptive schemes to shroud its
               involvement in illicit commerce […] IRISL's actions are part of a
               broader pattern of deception and fabrication that Iran uses to advance
               its nuclear and missile programs […] IRISL also facilitates shipments
               of military-related cargo destined for MODAFL and its subordinate
               entities, including organizations that have been designated by the
               United States pursuant to E.O. 13382 and listed by United Nations
               Security Council Resolutions 1737 and 1747. In order to ensure the
               successful delivery of military-related goods, IRISL has deliberately
               misled maritime authorities through the use of deception techniques.
               These techniques were adopted to conceal the true nature of shipments
               ultimately destined for MODAFL. 208

        255.   Although IRISL is not yet designated under terrorism authorities, the U.S.

government issued an advisory in October 2018 noting that the Iranian government is “exploiting

commercial shipping” to “serve to fund the regime’s nefarious activities, including providing

funds to the Islamic Revolutionary Guard Corps (IRGC) and its Islamic Revolutionary Guard

Corps-Qods Force (IRGC-QF), as well to Lebanese Hizballah, Hamas, and other terrorist

groups.” 209

        256.   IRISL works with NIOC, and in a September 2019 action, the U.S. Treasury

sanctioned a large shipping network that is directed by and financially supports the IRGC-QF,

noting that “the IRGC-QF has moved oil worth hundreds of millions of dollars or more through

this network for the benefit of the brutal Assad regime, Hizballah, and other illicit actors.” The

U.S. Treasury states the IRGC-QF sells NIOC crude oil and condensate, and that “the IRGC-QF


208
    PX53 U.S. Treasury Department | 10 September 2008 | Major Iranian Shipping Company
Designated for Proliferation Activity | https://www.treasury.gov/press-center/press-
releases/Pages/hp1130.aspx
209
    Financial Crimes Enforcement Network | 11 October 2018 | Advisory on the Iranian
Regime’s Illicit and Malign Activities and Attempts to Exploit the Financial System |
https://www.fincen.gov/sites/default/files/advisory/2018-10-
11/Iran%20Advisory%20FINAL%20508.pdf


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relies on persons embedded within the shipping industry to keep this oil moving by ensuring that

vessel insurance and registration are in order, among other things” and that some of the vessels

used for this operation are ones in which “the Islamic Republic of Iran Shipping Lines (IRISL)

has an interest. 210

        257.     IRISL’s website is difficult to access, potentially due to Iranian efforts to hide

information about IRISL’s operations to evade sanctions. At the time that this declaration was

being written (fall 2021) it was not accessible from either a U.S. internet connection, a U.A.E.

internet connection or an India internet connection. The author was not able to connect from an

Iran-based internet address. However, an archived portion of IRISL’s website from February

2008 shows that IRISL operates in Basrah, Iraq. 211 The only deep-water port in Iraq is Umm

Qasr Port in Basrah, and in March 2020, the U.S. Treasury sanctioned Al Khamael Maritime

Services (AKMS), an Iraq-based company operating out of Umm Qasr port for working with the

IRGC-QF. Treasury notes that the “IRGC-QF leveraged Shiite militia group contacts to evade

Iraqi government inspection protocol at Umm Qasr port and has charged foreign companies and

vessels fees for services at its terminal at the port.” Alongside AKMS, Treasury designated

Sayyed Reza Musavifar, who “is responsible for the accounts and finances of AKMS, has

worked with the IRGC-QF to transfer money to terrorist militias, including KH and Lebanese

Hizballah.” 212 Thus, while this Declaration cannot presently provide direct evidence of IRGC-


210
    U.S. Treasury Department | 4 September 2019 | Treasury Designates Vast Iranian Petroleum
Shipping      Network      That      Supports    IRGC-QF       and     Terror    Proxies    |
https://home.treasury.gov/news/press-releases/sm767
211
    PX808 Internet Archive WaybackMachine | 21 February 2008 | IRISL Company Information
|
https://web.archive.org/web/20080221001228/http://www.irisl.net/CustomerServices/AgencyE.a
sp?vMenuID=25
212
    U.S. Treasury Press Releases | 26 March 2020 | Treasury Designates Vast Network of IRGC-
QF Officials and Front Companies in Iraq, Iran https://home.treasury.gov/news/press-
releases/sm957


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QF members loading and unloading crates of weapons from an IRISL freighter, the IRGC-QF’s

use of the Umm Qasr Port, IRISL’s known support to the IRGC, and covert Iranian shipping

activities make it a certainty that the company was supporting the defendants’ operations in Iraq.

        3. Mahan Air

        258.    While the above section notes that no known footage exists or IRGC-QF fighters

on IRISL freighters, this footage does shockingly exist for Mahan Air, thanks to fighters with a

less disciplined sense of secrecy. The airline was sanctioned by the U.S. Treasury in October

2011 under terrorism authorities “for providing financial, material and technological support to

the Islamic Revolutionary Guard Corps-Qods Force (IRGC-QF).” 213

        259.    Images released by the Department of State in 2019 show Mahan Air transporting

IRGC-QF fighters, and also IRGC-QF commander, General Qasem Soleimani, who as noted in

sections above, was instrumental in organizing, arming, and financing terrorist groups and

militias in Iraq that killed U.S. soldiers and civilians. 214




213
    PX43 U.S. Treasury | 12 October 2011 | Treasury Designates Iranian Commercial Airline
Linked to Iran's Support for Terrorism | https://home.treasury.gov/news/press-releases/tg1322
214
    PX263 U.S. Department of State | 24 January 2019 | Iran’s Material Support for Terrorism |
https://2017-2021.state.gov/irans-material-support-for-terrorism/index.html


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       260.   Mahan Air is the airline of choice for the IRGC-QF and had routine flights to Iraq

during the relevant period. Then Under Secretary for Terrorism and Financial Intelligence David

S. Cohen said of Mahan Air’s designation in 2011:


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                  Mahan Air’s close coordination with the IRGC-QF – secretly ferrying
                  operatives, weapons and funds on its flights – reveals yet another facet
                  of the IRGC’s extensive infiltration of Iran’s commercial sector to
                  facilitate its support for terrorism […] Mahan Air provided travel
                  services to IRGC-QF personnel flown to and from Iran and Syria for
                  military training. Mahan Air also facilitated the covert travel of
                  suspected IRGC-QF officers into and out of Iraq by bypassing normal
                  security procedures and not including information on flight manifests
                  to eliminate records of the IRGC-QF travel. Mahan Air crews have
                  facilitated IRGC-QF arms shipments. Funds were also transferred via
                  Mahan Air for the procurement of controlled goods by the IRGC-
                  QF. 215

       261.       Mahan Air has also worked directly with Iran’s proxies, and according to the U.S.

Treasury “provides transportation services to Hizballah, a Lebanon-based designated Foreign

Terrorist Organization. Mahan Air has transported personnel, weapons, and goods on behalf of

Hizballah and omitted from Mahan Air cargo manifests secret weapons shipments bound for

Hizballah.” 216

       4. Khatam al-Anbiya Construction Company & The Headquarters for the
          Restoration of Holy Shrines

       262.       The U.S. Treasury sanctioned Khatam al-Anbiya in October 2007 for being an

IRGC-controlled company, noting that “In 2006, Khatam al-Anbiya secured deals worth at least

$7 billion in the oil, gas, and transportation sectors, among others.” 217

       263.       In 2010, Treasury added more sanctions related to Khatam al-Anbiya, noting that:




215
    U.S. Treasury | 12 October 2011 | Treasury Designates Iranian Commercial Airline Linked to
Iran's Support for Terrorism | https://home.treasury.gov/news/press-releases/tg1322
216
    U.S. Treasury | 12 October 2011 | Treasury Designates Iranian Commercial Airline Linked to
Iran's Support for Terrorism | https://home.treasury.gov/news/press-releases/tg1322
217
    U.S. Treasury | 25 October 2007 | Fact Sheet: Designation of Iranian Entities and Individuals
for Proliferation Activities and Support for Terrorism | https://home.treasury.gov/news/press-
releases/hp644


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                “Khatam al-Anbiya Construction Headquarters, the engineering arm of
                the IRGC that serves to help the IRGC generate income and fund its
                operations. Khatam al-Anbiya is owned or controlled by the IRGC and
                is involved in the construction of streets, highways, tunnels, water
                conveyance projects, agricultural restoration projects, and
                pipelines.” 218

         264.   The head of the Khatam al-Anbiya announced at a meeting with Iran’s supreme

leader on September 2016 that the organization will undertake two large new construction

projects in Iraq, to rebuild Shiite shrines, in partnership with the Headquarters for the Restoration

of Holy Shrines (also known as Reconstruction Organization of the Holy Shrines in Iraq or

ROHSI). ROHSI has over 200 projects in Iraq, with spending across shrine complexes and other

facilities. In 2016, it announced plans to build further projects valued at approximately $1.6

billion. 219

         265.   ROHSI does not hide its links to the IRGC-QF according to an interview a

ROHSI official gave to Iranian press. In addition to Qasem Soleimani sitting on group’s board of

trustees, the supreme leader’s representative to the IRGC-QF is also on the board. 220

         266.   In March 2020, the U.S. Treasury sanctioned a network of Iranian and Iraq-based

front companies, including ROHSI. Ostensibly a religious organization, its leadership included

the late General Qasem Soleimani, it is controlled by the IRGC-QF, and it transferred millions of

dollars to the Iraq-based Bahjat al Kawthar Company for Construction and Trading Ltd, also


218
    U.S. Treasury | 10 February 2010 | Treasury Targets Iran's Islamic Revolutionary Guard
Corps | https://home.treasury.gov/news/press-releases?title=&publication-start-date=2010-02-
10&publication-end-date=2010-02-10
219
    Foundation for Defense of Democracies | Long War Journal | 23 September 2016 | Qods
Force        front        group         develops        shrine        in        Iraq       |
https://www.longwarjournal.org/archives/2016/09/qods-force-front-group-develops-shrine-in-
iraq.php
220
    Foundation for Defense of Democracies | Long War Journal | 23 September 2016 | Qods
Force        front        group         develops        shrine        in        Iraq       |
https://www.longwarjournal.org/archives/2016/09/qods-force-front-group-develops-shrine-in-
iraq.php


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known as Kosar Company, another Iraq-based entity under the IRGC-QF’s control. Kosar

Company, in turn was a hub for Iranian intelligence activities in Iraq, including for the shipment

of ammunition and weapons to Iranian-backed terrorist and militia groups. 221




 (Former IRGC-QF Hassan Pelarak inaugurating the initial phases of project to expand the Hazrat Zahra
                         shrine in Najaf, Iraq, September 20, 2016.) 222


      N. Review & Analysis of Confidential Sampling of U.S. Bank Transaction Data
         Relevant to This Case and Produced to Plaintiffs in Discovery

         267.   As shown in the above sections, the Defendants’ use of state-owned entities to

support designated terrorist organizations was conducted on a massive scale requiring hundreds

of millions of dollars over many years. Defendants’ extraterritorial use of multiple international


221
    U.S. Treasury Department | 26 March 2020 | Treasury Designates Vast Network of IRGC-QF
Officials and Front Companies in Iraq, Iran | https://home.treasury.gov/news/press-
releases/sm957
222
    Foundation for Defense of Democracies | Long War Journal | 23 September 2016 | Qods
Force         front       group         develops         shrine       in        Iraq       |
https://www.longwarjournal.org/archives/2016/09/qods-force-front-group-develops-shrine-in-
iraq.php


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terrorist organisations, each in turn with varying needs and degrees of access to conventional

financial services, necessarily required Defendants to covertly use multiple methods of providing

funds and material to these organizations, or to illicitly finance Iran’s own efforts to support the

groups with training, travel, safe haven, and munitions. Iran’s terrorism finance was and is

global, with payments being sent across every continent except Antarctica. For a global terrorist

financing operation of the scale orchestrated by the Defendants, using the U.S. Dollar is

necessary. Iranian Rials are prone to inflation and not accepted outside of the country, and global

trade and finance operates on dollar-denominated transactions. This means that to support its

operations in Iraq and elsewhere, Iran needed to move money using dollars, and it did so by

illegally structuring transactions and removing information to avoid scrutiny in the United States,

thereby subverting U.S. intelligence efforts and violating U.S. banking laws.

       268.    As part of my review of this case, I have been provided samples of primary source

data produced by financial institutions involved in transactions with the Defendants. The

transactional data provides additional evidence showing that Iran and its co-Defendants did use

the international financial system during the relevant period, in a method that in some instances

hid their involvement, and in others, hid the true purpose of the transactions. The data sampling

provided is from the following financial institutions:




                                                                                                 99


                                                                                             PX3
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       269.    It must be noted that this data only reflects what was provided by these six

financial institutions as a result of subpoenas limited by scope and self-reported sampling, so the

materials should be considered a “tip of the iceberg,” not exhaustive. Still, even within this very

limited set of data, there is a significant amount of information within it that further strengthens

my opinions provided in this Declaration by showing that Iran used illegal and deceptive

practices to send and receive money globally during the relevant period.



               According to information provided by




       the Defendants were recipients or originators of               transactions through



       271.    As mentioned above, Bank Melli sought to obfuscate transactions through

Western banks, including                    In approximately fifty (50) of the SWIFT transaction

records, Bank Melli specifically requested that the cooperating bank not mention Bank Melli or

Iranian names in the subsequent SWIFT requests sent to New York branches to process the USD

transaction.

               For example,




               Similar variations are used across SWIFT messages.




                                                                                                100


                                                                                             PX3
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               The fifty (50) records in which Bank Melli requested cooperating banks remove

its name from further SWIFT messages directed to U.S. banks totaled

       275.    In December 2016, Intesa Sanpaolo was fined USD 235 million by the New York

Department of Financial Services (DFS) for purposefully obfuscating client names from

transaction messages between                     Notably, the DFS stated           specially trained

certain employees to handle transactions involving Iran to obfuscate the money-processing

activities so they could not be readily flagged as transactions tied to a sanctioned entity.” This

specifically aligns with aforementioned SWIFT messages that request Bank Melli or Iran be

excluded from subsequent SWIFT messages directed through New York. 223

       276.    Transaction data provided by                    under subpoena additionally shows

the bank processed a payment of

      The transaction was processed through the correspondent accounts at

New York branch and sent to Bank Melli’s corresponded account with

      It is important to note that even small transactions can be significant in terrorist financing.

The 9/11 attacks, which are the most devastating attacks on U.S. soil, cost between $400,000 and

$500,000 to orchestrate according to the 9/11 Commission and many of the transactions sent by

the hijackers were in the hundreds and low thousands. 224




223
    PX104 New York Department of Financial Services | 15 December 2016 | DFS FINES
INTESA SANPAOLO $235 MILLION FOR REPEATED VIOLATIONS OF ANTI-MONEY
LAUNDERING                                         LAWS                                   |
https://www.dfs.ny.gov/reports_and_publications/press_releases/pr1612151
224
    PX282 9/11 Commission | The Foundation of the New Terrorism | Page 143 | https://www.9-
11commission.gov/report/911Report.pdf


                                                                                                 101


                                                                                              PX3
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         277.                     was later subject to civil penalties levied by OFAC in June 2013

in response to its relationship with        . OFAC identified

      Government of Iran-controlled entity subject to Iran regulations and indicated that between



                                          in apparent violation of the [Iranian Transactions

Regulation].” 225

         278.   Separately,

                                  where Bank Markazi Jomhouri Islami (CBI) was listed as the

beneficiary. Of these payments,



         279.

                                                                                    . As previously

noted, this company was designated by the U.S. in July 2019 for its acquisition of Iranian oil. 226

                Eighteen (18) SWIFT payment messages within the relevant timeframe list CBI

as the beneficiary and additionally list NIOC in the remittance information field (MT 103, Field

70), indicating that the national oil company was the ultimate beneficiary. The eighteen (18)

identified transactions totaled



         281.   According to records provided by




225
    PX120 U.S. Treasury | 28 June 2013 | ENFORCEMENT INFORMATION FOR June 28,
2013, | https://home.treasury.gov/system/files/126/20130628_intesa.pdf
226
    U.S. Department of State | 22 July 2019 | The United States To Impose Sanctions on Chinese
Firm Zhuhai Zhenrong Company Limited for Purchasing Oil From Iran | https://2017-
2021.state.gov/the-united-states-to-impose-sanctions-on-chinese-firm-zhuhai-zhenrong-
company-limited-for-purchasing-oil-from-iran/index.html


                                                                                                 102


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                   the Defendants were recipients or originators

                                        New York branch.

       282.      Bank Melli originated a total of

                                            The majority of transactions list other banks as

beneficiaries, including the following transactions involving defendants Bank Melli and CB as

beneficiaries:




       283.      The remaining sixteen (16) Bank Melli transactions list other banks as

beneficiaries. The transactions were characterized as bank transfer transactions, indicating they

were MT202 SWIFT Messages. As previously mentioned, MT202 SWIFT messages have been

used to eliminate mention of Iranian parties and obfuscate the originator or recipient. The

transactions include:




                                                                                             103


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             Seven (7) additional transactions relate to payment for oil sales by Defendant

NIOC. The transactions,




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           285.     Bank Saderat’s branch in Saida, Lebanon is additionally listed as the beneficiary

   bank on a transaction from



286.       The National Iranian Tanker Company (NITC) was the beneficiary of a transfer from




                                    Notably, NITC was later designated by OFAC on 12 July 2012

   for its involvement enabling Iran WMD development and “deceptive efforts to use front

   companies to sell and move [Iran’s] oil.” As noted above, obfuscated oil sales and the transfer of

   proceeds have been established as the means through which IRGC and IRGC-QF fund

   terrorism. 227, 228

           287.                      has been subject to criminal investigations and civil penalties as

   a result of its facilitation of payments on behalf of Defendants.

                                                       with the New York Department of Financial

   Services for sanctions violations involving Iran-, Sudan, and Cuba, and Libya-related

   transactions. The bank facilitated payments on behalf of the Iranian government or related

   entities by “stripping” details mentioning the Iranian client’s name from SWIFT messages

   passed through                                           processing USD payments. On the same

   day,                                                                             with OFAC over

   sanctions violations pertaining to Iran, Cuba, and Sudan. The bank was also subject to


   227
       PX55 U.S. Treasury | 12 July 2012 | United States Increases Sanctions Against The
   Government Of Iran And Its Proliferation Networks | https://home.treasury.gov/news/press-
   releases/tg1634
   228
       PX54 U.S. Treasury | 12 July 2012 | Non-proliferation Designations; Non-proliferation
   Designation Removals; Iran Designations | https://home.treasury.gov/policy-issues/financial-
   sanctions/recent-actions/20120712


                                                                                                   105


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investigation and reached settlements with the U.S. Attorney’s Office for the Southern District of

New York, the Federal Reserve System, U.S. Department of Justice, and New York Department

of Financial Services. 229, 230



        288.                                                  Bank Melli was either a sender or

recipient listed in               which passed through or attempted to pass through



                                                                                           These

records affirm standard practices obfuscate payments using relationships with international banks

which process payments on Bank Melli’s behalf.

        289.    The transaction records indicate that Bank Melli’s payments included SWIFT

MT103 messages (sent from originating bank to the recipient’s bank), SWIFT MT202 messages

(sent from the originating bank to correspondent banks which process transactions between

smaller banks), SWIFT MT910 messages (confirmation of credit messages sent to the recipient

account owner), or internal transaction review logs. OFAC designated Bank Melli for its

involvement in WMD proliferation on 25 October 2007. Except for two transactions (dated 1

November 2007 and 14 November 2007), each of the following transactions occurred after Bank

Melli was subject to U.S. sanctions.




229
    PX119 U.S. Treasury | 19 November 2018 | ENFORCEMENT INFORMATION FOR
NOVEMBER 19, 2018, | https://home.treasury.gov/system/files/126/20181119_socgen_web.pdf
230
    PX105 New York Department of Financial Services | 19 November 2018 | DFS FINES
SOCIÉTÉ GÉNÉRALE SA AND ITS NEW YORK BRANCH $420 MILLION FOR
VIOLATIONS OF LAWS GOVERNING ECONOMIC SANCTIONS AND VIOLATIONS OF
NEW YORK ANTI-MONEY LAUNDERING AND RECORDKEEPING LAWS |
https://www.dfs.ny.gov/reports_and_publications/press_releases/1811191


                                                                                              106


                                                                                           PX3
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291.   Five (5) transactions with Bank Melli as the sender include:




                                                                      107


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       292.      In addition to the aforementioned transactions to or from Bank Melli,




       293.      According to transaction data




                       defendants were the originators or recipients of financial transactions

passing through the bank during the relevant period.

       294.                                  the Central Bank of Iran was listed as the final

beneficiary of




                                                        shortly before its designation by OFAC,

Bank Melli was




                                                                                            108

                                                                                         PX3
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                                  shortly before its designation by OFAC, Bank Saderat

was listed as the final beneficiary




       According to records




                                                                                   109

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              Bank Saderat was listed as the beneficiary bank




                                 originated, processed, or received payments from Defendants

       during the relevant period, including from Bank Melli and Central Bank of Iran.




231
    U.S. Treasury | 15 May 2018 | Treasury Targets Iran’s Central Bank Governor and an Iraqi
Bank Moving Millions of Dollars for IRGC-Qods Force | https://home.treasury.gov/news/press-
releases/sm0385


                                                                                         110


                                                                                      PX3
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       302.   This bank data is compelling evidence because despite it being limited in size and

scope, and deliberately vague due to misdirection and subterfuge by the Defendants, it proves



                                                                                            111


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that the Defendants were using the U.S. and international financial system during the relevant

time period to move money (USD) for the purpose of terrorist financing, and that the Defendants

knowingly and purposefully sought to obfuscate their involvement in these transactions.

Defendants purposeful use of deceptive messaging practices designed to obscure the

beneficiaries and/or purpose of the transactions indicates that the funds were intended for illicit

purposes, specifically, the financing, supporting and arming of terrorists who had one

overarching and shared goal: to kill Americans in Iraq.

   O. CONCLUSION

       303.    My opinions in this matter are based on my professional experience and materials

and sources generally relied upon by experts in my field, including the detailed findings of the

U.S. government, government and regulatory investigations, media reports, and primary

financial institution source data. After review of these materials, I have concluded that the

Defendants - the Islamic Republic of Iran, the Islamic Revolutionary Guard Corp, the Iranian

Ministry of Intelligence and Security, Bank Markazi Jomhouri Islami Iran, Bank Melli Iran, and

the National Iranian Oil Company purposefully used deceptive trade and finance practices to

illicitly circumvent U.S. banking laws and counterterrorism financing regulations. The

Defendants did so in order to finance their established network of agents and proxies used by

them to sponsor acts of terrorism. The Defendants’ access to and use of the international

financial system permitted them to knowingly provide material support to The Islamic

Revolutionary Guard Corps-Qods Force, Hizbollah, Kata’ib Hizballah, Asa’ib Ah al Haq, Jaysch

al Mahdi and The Promised Day Brigades, The Badr Corps/Badr Organization, the Al Qaida

Network, Abu Musab Zarqawi and Al Qa’ida in Iraq, and Ansar al Islam during the relevant

period. These groups in turn used this support from the Defendants to commit attacks against




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                Previous Testimony

                Have not yet testified in court or deposition.




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NEW YORK STATE DEPARTMENT
OF FINANCIAL SERVICES


 In the Matter of

 STANDARD CHARTERED BANK,
 NEW YORK BRANCH,
 New York, New York


                       ORDER PURSUANT TO BANKING LAW § 39

       Pursuant to the statutory powers vested in him by the People of the State of New York,

Benjamin M. Lawsky, Superintendent of the New York State Department of Financial Services

(the “Department” or “DFS”) caused an investigation to be made of Standard Chartered Bank

(“SCB”), a wholly owned subsidiary of Standard Chartered plc (“SC”), for apparent grave

violations of law and regulation. The Department’s extensive investigation included the review

of more than 30,000 pages of documents, including internal SCB e-mails that describe willful

and egregious violations of law.

       For almost ten years, SCB schemed with the Government of Iran and hid from regulators

roughly 60,000 secret transactions, involving at least $250 billion, and reaping SCB hundreds of

millions of dollars in fees. SCB’s actions left the U.S. financial system vulnerable to terrorists,

weapons dealers, drug kingpins and corrupt regimes, and deprived law enforcement investigators

of crucial information used to track all manner of criminal activity.1




1
  The Department’s initial focus is on SCB’s apparent systematic misconduct on behalf of Iranian
Clients. However, the Department’s review has uncovered evidence with respect to what are apparently
similar SCB schemes to conduct business with other U.S. sanctioned countries, such as Libya, Myanmar
and Sudan. Investigation of these additional matters is ongoing.




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       Having determined that good cause exists, the Superintendent has directed SCB to: (1)

appear and explain apparent violations of law; (2) demonstrate why SCB’s license to operate in

the State of New York should not be revoked; (3) demonstrate why SCB’s U.S. dollar clearing

operations should not be suspended pending a formal license revocation hearing; and (4) submit

to and pay for an independent, on-premises monitor of the Department’s selection to ensure

compliance with rules governing the international transfer of funds.


       As demonstrated below, the evidence presently before the Department indicates that:


                               PRELIMINARY STATEMENT

      1.       For nearly a decade, SCB programmatically engaged in deceptive and fraudulent

misconduct in order to move at least $250 billion through its New York branch on behalf of

client Iranian financial institutions (“Iranian Clients”) that were subject to U.S. economic

sanctions, and then covered up its transgressions. These institutions included no less than the

Central Bank of Iran/Markazi (“CBI/Markazi”), as well as Bank Saderat and Bank Melli, both of

which are also Iranian State-owned institutions.

      2.       In its evident zeal to make hundreds of millions of dollars at almost any cost, SCB

undertook a course of conduct that included:

                           falsifying business records;

                           offering false instruments for filing;

                           failing to maintain accurate books and records of all transactions
                           effected and all actions taken on behalf of SCB;

                           obstructing governmental administration;

                           failing to report misconduct to the Department in a timely manner;


                                                   2




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                             evading Federal sanctions; and

                             numerous other violations of law that, as with the above, have an
                             impact upon the safety and soundness of SCB’s New York branch
                             and the Department’s confidence in SCB’s character, credibility and
                             fitness as a financial institution licensed to conduct business under the
                             laws of this State.


       3.       From January 2001 through 2007, SCB conspired with its Iranian Clients to route

nearly 60,000 different U.S. dollar payments through SCB’s New York branch after first

stripping information from wire transfer messages used to identify sanctioned countries,

individuals and entities (“wire stripping”).2

       4.       Specifically, SCB ensured the anonymity of Iranian U.S. dollar clearing activities

through SCB’s New York branch by falsifying SWIFT wire payment directions.3 When SCB

employees determined that it was necessary to “repair” unadulterated payment directives, 4 they

did so by stripping the message of unwanted data, replacing it with false entries or by returning

the payment message to the Iranian Client for wire stripping and resubmission. Thus, SCB

developed various ploys that were all designed to generate a new payment message for the New

York branch that was devoid of any reference to Iranian Clients.



2
  According to SCB’s independent consultant, this figure represents about 30,000 messages that
were sent to SCB’s New York branch by SCB’s London office, mainly on behalf of state-owned
Iranian banks, and approximately 30,000 messages from SCB’s branch in Dubai, United Arab
Emirates, to SCB’s New York branch on behalf of Iranian-owned banks, corporations and other
unknown entities.
3
  U.S. dollar clearing is the process by which U.S. dollar-denominated transactions are satisfied between
counterparties through a U.S. bank. The Society of Worldwide Interbank Financial Telecommunications
(“SWIFT”) is a vehicle through which banks exchange wire transfer messages.
4
 Under SCB’s “repair procedure” overseas employees screened payment messages – before they were
communicated to its New York branch – in order to ascertain if any messages contained information that
identified Iranian Clients.
                                                  3




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      5.       SCB utilized such schemes to cloak the dollar clearing activities of Iranian Clients

and thereby shield those transactions from regulatory scrutiny. During the relevant period, the

U.S. Office of Foreign Assets Control (“OFAC”) required U.S. financial institutions to filter all

dollar clearing transactions so as to identify those involving sanctioned entities, and then to

freeze suspect transactions pending investigation. This system could (a) significantly delay

transaction processing; (b) require that OFAC be advised of information surrounding a

transaction; and (c) ultimately result in the rejection of a transaction. SCB therefore wire-

stripped to ensure the automatic and unobstructed clearance of Iranian transactions in New York.

      6.       SCB intentionally withheld material information from New York and Federal

regulators in its effort to service Iranian Clients. SCB carefully planned its deception and was

apparently aided by its consultant Deloitte & Touche, LLP (“D&T”), which intentionally omitted

critical information in its “independent report” to regulators. This ongoing misconduct was

especially egregious because – during a key period between 2004 and 2007 – SCB’s New York

branch was subject to a formal supervisory action by the Department and the Federal Reserve

Bank of New York (“FRBNY”) for other regulatory compliance failures involving the Bank

Secrecy Act (BSA”), anti-money laundering policies and procedures (“AML”), and OFAC

regulations.

      7.       In short, SCB operated as a rogue institution. By 2006, even the New York

branch was acutely concerned about the bank’s Iran dollar-clearing program. In October 2006,

SCB’s CEO for the Americas sent a panicked message to the Group Executive Director in

London. “Firstly,” he wrote, “we believe [the Iranian business] needs urgent reviewing at the

Group level to evaluate if its returns and strategic benefits are . . . still commensurate with the

potential to cause very serious or even catastrophic reputational damage to the Group.” His plea

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to the home office continued: “[s]econdly, there is equally importantly potential of risk of

subjecting management in US and London (e.g. you and I) and elsewhere to personal

reputational damages and/or serious criminal liability.”5 (emphasis added)

       8.       Lest there be any doubt, SCB’s obvious contempt for U.S. banking regulations

was succinctly and unambiguously communicated by SCB’s Group Executive Director in

response. As quoted by an SCB New York branch officer, the Group Director caustically

replied: “You f---ing Americans. Who are you to tell us, the rest of the world, that we’re not

going to deal with Iranians.”6

                                    FACTUAL BACKGROUND

                              SCB’s Business, Organization, and Assets

       9.       Headquartered in London, England, and with over 1,700 offices in 70 markets

globally, SC is a leading international banking institution. Through its subsidiary SCB, SC offers

a wide range of banking products and services to its personal, business and wholesale banking

clients worldwide.      SCB clients include some of the largest corporations and financial

institutions in the world.7




5
 Memorandum entitled Business with Iran – USA Perspective by SCB’s CEO, Americas to SCB’s Group
Executive Director for Risk, its Group Head of Compliance and its Group Head of Public Affairs dated
October 5, 2006, SCB INT 0005759-5762.
6
 Note of Interview with SCB’s Head of Cash Management Services (2002-2005), Head of Compliance
(2005-2007) at the New York branch, SCB INT 0004733-4734.
7
  According to SCB, its success as a bank is due in part because it is “trusted worldwide for upholding
high standards of corporate governance.” SCB prides itself for having a “distinctive culture and values
[that] act as a moral compass.” It boasts “openness” as one of its “core values” and claims to aspire to be
“trustworthy.” It also markets itself to clients and the investing public as “always trying to do the right
thing.” http://www.standardchartered.com

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      10.      SC’s 2011 Annual Statement states that it generated $17.6 billion in income and

roughly $5 billion in profits – greater than at any other time in SC’s 150-year history. SCB’s

New York branch U.S. dollar clearing operation adds substantially to that revenue.

      11.      In 1976, SCB’s New York office was licensed by the then-New York State

Banking Department8 to operate as a foreign bank branch. It primarily conducts a U.S. dollar

clearing business, which clears approximately $190 billion per day for its international clients. It

also engages in corporate lending, project and structured finance, trade finance, cash

management, foreign exchange trading, and wire transfer services. As of March 31, 2012,

SCB’s New York branch held $40.8 billion in total assets.



                          Iranian Sanctions and U-Turn Transactions

       12.     Through OFAC, the U.S. Government administers and enforces a sanctions

regime against those who attempt to use the U.S. financial system in contravention of U.S.

foreign policy and those foreign countries, entities, and individuals who may present a threat to

national security. OFAC imposes these sanctions in an effort to prevent U.S. dollars from being

used to finance terrorist organizations, proliferators of weapons of mass destruction, drug

traffickers and other hostile enterprises.     Foreign governments currently subject to OFAC

sanctions include Iran, North Korea and the Sudan.




8
 In 2011, the State Banking and Insurance Department’s were merged to create the Department of
Financial Services.

                                                  6




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       13.      Financial transactions with Iran have been subject to U.S. economic sanctions

since 1979. These measures were strengthened by Executive Orders in 1995, which set strict

requirements for U.S. banks to follow in clearing U.S. dollar transactions with Iran.9

       14.      Until November 2008, OFAC rules had permitted, under limited circumstances

and with close regulatory supervision, U.S. financial institutions to process certain transactions

for Iranian banks, individuals, and other entities.        Pursuant to federal regulations, such

transactions were permissible in some circumstances provided that they were initiated offshore

by non-Iranian foreign banks and only passed through the U.S. financial system on the way to

other non-Iranian foreign banks. 31 CFR 560.516. Such transactions are commonly referred to

as “U-Turns.”

       15.      OFAC imposed exceedingly stringent standards on U.S. banks involved in U.S.

dollar clearing U-Turns. For example, OFAC regulations required that “[b]efore a United States

depository institution initiates a payment on behalf of any customer, or credits a transfer to the

account on its books of the ultimate beneficiary, the United States depository institution must

determine that the underlying transaction is not prohibited by this part.” 31 CFR 560.516 (c)

(emphasis added). The obligation to determine that a U-Turn complied with U.S. law thus fell

squarely on U.S. banks. In satisfying this obligation, U.S. clearing banks relied heavily on the

accuracy and completeness of wire transfer messages they received from correspondent banks

and overseas branches. When such information was properly provided to clearing banks it

became available to law enforcement agencies to use in tracking suspicious conduct.

       16.      In instances where an Iranian-related wire transfer instruction did not provide

sufficient information to determine that a U-Turn was permissible under federal law, OFAC
9
   Under the International Emergency Economic Powers Act, Title 50, United States Code Section 1705,
it is a crime willfully to evade, or attempt to evade OFAC sanctions.
                                                       7




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required that the assets be frozen until such information was provided to the U.S. bank or the

U.S. bank rejected the transaction. If an Iranian transaction was not a permissible U-Turn, a U.S.

bank could release the funds only if OFAC granted a special license.

       17.     By 2008 it was clear that this system of wire transfer checks had been abused, and

that U.S. foreign policy and national security could be compromised by permitting U-Turns to

continue. In November 2008, the U.S. Treasury Department revoked authorization for "U-Turn"

transactions because it suspected Iran of using its banks – including the CBI/Markazi, Bank

Saderat and Bank Melli – to finance its nuclear weapons and missile programs. The U.S. also

suspected that Iran was using its banks to finance terrorist groups, including Hezbollah, Hamas

and the Palestinian Islamic Jihad, and engaging in deceptive conduct to hide its involvement in

various other prohibited transactions, such as assisting OFAC-sanctioned weapons dealers.



                               SCB’s Deceptive Business Plan

       18.     For at least 9 years, from early in 2001 through 2010, SCB concealed from New

York and U.S. regulators roughly sixty thousand U-Turns for Iranian Clients. These U.S. dollar

transactions originated and terminated in European banks in the United Kingdom and the Middle

East, and were cleared through SCB’s New York branch.           They amounted to at least $250

billion in the aggregate, and generated hundreds of millions of dollars in fees for SCB.

       19.     SCB’s success in U.S. dollar clearing for Iranian Clients stems from the

documented willingness of its most senior management to deceive regulators and violate U.S.

law. Worse yet, SCB apparently adopted this strategy with full knowledge of the risks involved.

       20.     As early as 1995, soon after President Clinton issued two Executive Orders

announcing U.S. economic sanctions against Iran, SCB’s General Counsel embraced a

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framework for regulatory evasion. He strategized with SCB’s regulatory compliance staff by

advising that “if SCB London were to ignore OFACs regulations AND SCB NY were not

involved in any way & (2) had no knowledge of SCB Londons [sic] activities & (3) could not be

said to be in a position to control SCB London, then IF OFAC discovered SCBLondons [sic]

breach, there is nothing they could do against SCB London, or more importantly against

SCBNY.” He also instructed that a memorandum containing this plan was “highly confidential

& MUST NOT be sent to the US.”10 (emphasis in original)

       21.     Years later, another SCB executive closely weighed the costs and benefits of

concealing the identities of Iranian Clients. He observed that “the current process under which

some SWIFT messages are manually ‘repaired’ to remove reference to Iran could (despite

accepted SWIFT protocols) be perceived by OFAC as a measure to conceal the Iranian

connection from SCB NY, and therefore evade their controls for filtering Iran-related payments.

Unless transactions are repaired they face delays caused by investigations in the U.S. banking

system, subjecting SCB to interest claims.” He described SCB’s repair procedures as a “process

to check that a payment is, prima facie, an acceptable U-turn transaction (i.e. offshore to

offshore),” and fully acknowledged that “they do not provide assurance that it does not relate to




10
   Email from SCB’s General Counsel to SCB’s Group Compliance Manager dated June 1, 1995, SCB-
00038523 (emphasis in original). SCB’s General Counsel added that “when dealing with OFAC countries
that are not on the UK’s list SCB London should use another US Dollar clearer in NY. It should not in
any event use SCB NY.” In fairly mercenary terms, he recommended that “SCB should use eg [National
Westminister Bank] who in processing the transactions would breach OFAC regulations & would expose
themselves to a penalty.”

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a prohibited transaction, and therefore SCB NY is exposed to the risk of a breach of sanctions.”11

(emphasis added).

            22.   In early 2001, CBI/Markazi, a state-owned OFAC-sanctioned institution,

approached SCB to act as its recipient bank for U.S. dollar proceeds from daily oil sales made by

the National Iranian Oil Company. SCB viewed this engagement as “very prestigious” because

“in essence, SCB would be acting as Treasurer to the CBI . . . .”12

            23.   A critical component of the deal between SCB and CBI/Markazi was the timing

of $500 million in daily U.S. dollar payments. A senior manager of SCB’s Iranian business

noted that “the most important aspect to CBI/Markazi of this relationship with SCB” was SCB’s

“willingness to pay away funds in advance of receipts (intraday of up to USD 200m).” He

stressed that providing rapid U.S. dollar payments for CBI/Markazi “could lead to increased

business activity with [other Iranian] banks.”13

            24.   In March 2001, SCB’s Group Legal Advisor counseled several of SCB’s officers

that, “our payment instructions [for Iranian Clients] should not identify the client or the purpose

of the payment.”14



11
   Memorandum entitled Project Gazelle, by SCB’s Group Head of Compliance and Regulatory Risk and
its CEO, United Arab Emirates, to SCB’s Group Executive Director for Risk and its Group Head of
Global Markets dated December 1, 2005, SCB INT 0017483.
12
  Email from SCB’s Head of Inbound Sales, Institutional Banking, to SCB’s Head of Group Market
Risk, and SCB’s Group Head of Institutional Banking and Global Head of Business Segment, and its
Head of Funds Management dated February 19, 2001, SCB INT 0005352.
13
     Id.
14
  Email from SCB’s Group Legal Advisor to its Product Manager, Corporate & Institutional Banking and
its General Counsel dated March 23, 2001, SCB INT 0005368; forwarded to SCB’s Group Head of Audit,
its Head of Institutional Banking & Global Head of Business Segment, and its Head of Inbound Sales,
Institutional Banking, SCB INT 0005367.

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       25.     Indeed, Iranian Clients apparently pressured SCB by warning that disclosure of

their identities to U.S. banks would cause unacceptable delays in clearing funds.          SCB well

understood that “given that these are large wholesale sums they are worried by any delay.”15

SCB’s Iranian Clients were concerned “not only [with] what delays would be caused by [SCB’s

New York branch], but also what delays could be caused by any other U.S. institution through

which the payment was routed.” SCB’s Iranian Clients insisted that “no other banks processed

their payments with full disclosure and it was not industry practice to do so.”16

       26.     SCB sought outside legal advice regarding its U-Turn policy and was apparently

instructed that compliance with U.S. law required a process by which its New York branch

received “foreknowledge of such authorized [U-Turn] payments” so as to “otherwise ascertain

that the payments are authorized.” SCB was advised that its New York branch needed to “assure

itself that it is making permissible payments.”17

       27.     Rather than institute any such procedure, SCB instead conspired with Iranian

Clients to transmit misinformation to the New York branch by removing and otherwise

misrepresenting wire transfer data that could identify Iranian parties. For example, regarding

necessary wire transfer documentation, SCB instructed CBI/Markazi to “send in their MT



15
 Email from SCB’s Head of Transactional Banking Solutions, UK/Europe Corporate & Institutional
Banking to SCB’s outside U.S. legal counsel, SCB’s New York branch Head of Legal & Compliance,
Americas and Head of Legal for Corporate & Institutional Banking and SCB’s Product Manager,
Corporate & Institutional Banking dated October 3, 2003, SCB INT 0020023.
16
  Note of Interview with SCB’s Head of Transactional Banking Solutions, UK/Europe Corporate &
Institutional Banking, SCB INT 0001338-1340.
17
  Legal Memorandum from SCB’s U.S. outside legal counsel entitled OFAC Regulations-Iranian
Payments/Standard Chartered London/New York to SCB’s Group Legal Advisor and Head of
Compliance, Americas dated May 15, 2001 - referencing also an earlier guidance from the same outside
counsel on March 21, 2001 - SCB INT 0001131.

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202’s18 with a [SCB London’s business identifier code] as this is what we required them to do in

the initial set up of the account. Therefore, the payments going to NY do not appear to NY to

have come from an Iranian Bank.”19 (emphasis added). SCB also accomplished this subterfuge

by: (a) inserting special characters (such as “.”) in electronic message fields used to identify

transacting parties; (b) inserting phrases such as “NO NAME GIVEN” or “NOT STATED” in

lieu of requested information that would identify Iranian Clients; and (c) employing a system

known as SCB’s “repair procedure,” whereby SCB overseas employees screened payment

messages – before they were communicated to its New York branch – in order to ascertain if any

messages contained information that identified Iranian Clients.

        28.     SCB understood that simply omitting Iranian Client information on SWIFT MT

202 payment messages going to New York was insufficient because the electronic payment

system would automatically fill in blank data fields, identifying the Iranian Client.

Consequently, in order to disguise the transactions effectively and thereby avoid regulatory

scrutiny, SCB made false and misleading entries in SWIFT “field 52,” a data field that would

identify the Iranian party.

        29.     Documents show that SCB’s attorney in charge of BSA/AML compliance knew

that wire stripping was “the process for effecting Bank Markazi’s payment instructions.” He was

18
  Two common SWIFT payment messages were used for U-Turn transactions:                                   the
“MT-103” and the “MT-202.” In a given U.S. dollar clearing transaction, the MT-103 identified all
parties involved in the transaction, as funds flowed from the initial remitter, through correspondent banks,
to the ultimate beneficiary’s bank account. MT-202s are merely bank-to-bank credit transfers, however,
and consequently lacked the detailed transaction party information contained in MT-103s.
19
  Email from SCB’s Manager, Cash Management Services, London to SCB’s Product Manager,
Corporate & Institutional Banking and its Head of Cash Management Services, UK dated October 15,
2003, SCB INT 0001471; forwarded to SCB’s Head of Transactional Banking Solutions, UK/Europe
Corporate & Institutional Banking and SCB’s Head of Legal & Compliance, Americas and Head of Legal
for Corporate & Institutional Banking, SCB INT 0001469.

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specifically told that “field 52 (ordering institution) is quoted by Bank Markazi in their MT202

as [SCB London]” or SCB would manually “repair” or “over-type field 52 as [SCB London].”

He understood that these actions would leave “no reference to Bank Markazi,” and would

thereby “send[] incorrect information.”20

          30.    Senior SCB management memorialized many of these procedures in formal

operating manuals.      One such manual entitled, “Quality Operating Procedure Iranian Bank

Processing,” directed SCB London employees to “repair payment[s] by making appropriate

changes” to transacting party codes. It provided step-by-step wire stripping instructions for any

payment messages containing information that would identify Iranian Clients. An example

directive read: “[e]nsure that if the field 52 of the payment is blank or displayes [sic] any

SWIFT code that it is overtyped at the repair stage to a ‘.’ This will change the outgoing field

52 on the MT103 to a field 52D of ‘.’ Or, in the case of a ‘normal’ MT202 instruction change

the field 52 on the outgoing MT202 to [SCB’s New York branch] to a ‘.’ (Note: if this is not

done then the Iranian Bank SWIFT code may appear – depending on routing – on the payment

message being sent to [the New York branch]).”21

          31.    An instruction on that manual’s cover stressed that “this procedure is a mandatory

requirement” and that “[a]mendment is not permitted without prior approval of the Head of Cash

Management Services UK Quality System.”22             SCB’s chief lawyer in charge of Legal &

Compliance for its Wholesale Bank division commented to other senior legal and compliance

20
  Note of Interview with SCB’s head of Legal and Compliance Wholesale Bank, UK/Europe, SCB INT
0003674.
21
  Manual entitled, Standard Chartered Bank, Cash Management Services, UK Quality Operating
Procedure, Iranian Bank Processing, SCB INT 0005722.
22
     Id. SCB INT 0005719.

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staff that the document, “read in isolation, is clearly . . . designed to hide, deliberately, the

Iranian connection of payments.”23

          32.    These masking procedures evolved to meet SCB’s growing volume demands.

When SCB anticipated that its business with Iranian Clients would grow too large for SCB

employees to “repair” manually the instructions for New York bound wire transfers, SCB

automated the process by building an electronic repair system with “specific repair queues,” for

each Iranian Client.24

          33.    And as SCB vigorously cultivated U.S. dollar clearing business from Iranian

Clients, the bank’s outside counsel continued to admonish SCB not to evade regulatory

requirements. In 2003, one of SCB’s outside legal counsel in the U.S. warned that the bank’s

system for executing U-Turns anonymously through the New York branch did “not comport with

the law or the spirit of OFAC rules, which lay out explicit details on how such transactions are to

be conducted.” She further instructed that “OFAC insists on full disclosure of all parties in

transactions to ensure that transactions meet the terms of the rule.”25

          34.    Prompted by this guidance, one SBC executive observed that, “historically, [for

Iranian U-Turns] we have not transparently declared the remitting/receiving entity details, and of

course this past practice makes it harder for internal and external parties to accept our views

23
  Email from SCB’s Group Head of Legal & Compliance, Wholesale Bank, forwarding the Quality
Operating Procedure to SCB’s Group Head of Compliance and Regulatory Risk, its Group Legal Advisor
and its Head of Financial Crime Risk Systems and Monitoring dated October 1, 2005, SCB INT 0005715-
5716.
24
     Note of Interview of SCB’s Manager, Cash Management Services, London, SCB INT 0001620-1621.
25
 Email from SCB’s U.S. outside counsel to SCB’s Head of Transactional Banking Solutions,
UK/Europe Corporate & Institutional Banking and SCB’s New York branch Head of Legal &
Compliance, Americas and Head of Legal for Corporate & Institutional Banking dated October 6, 2003,
SCB INT 0020020.

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now.”26 An executive SCB compliance attorney made the point more sharply, observing that

SCB’s London staff believed “that any payment that could conceivably give rise to an OFAC

problem should always be dealt with [in a way to avoid detection].”27

       35.     Beginning in 2003, other banks with significant Iran portfolios began exiting the

U-Turn business.      For instance, SCB’s business managers learned that Lloyds TSB London

were “withdrawing their services” with one of its Iranian client banks “primarily for reputational

risk reasons.”28   Rather than follow suit, and despite concerns regarding reputational risk and

OFAC sanctions, SCB positioned itself to take the abandoned market share.29

       36.     As described in a December 2005 internal memorandum written by SCB’s CEO

for the United Arab Emirates and the Group Head of Compliance and Regulatory Risk, entitled

“Project Gazelle, Report on Iranian Business – which was circulated among SCB’s key legal,

compliance, and Iranian Client business managers – SCB’s "short to medium term strategy [was]

to grow the wholesale business by growing our wallet share from existing relationships with




26
 Email from SCB’s Head of Transactional Banking Solutions, UK/Europe Corporate & Institutional
Banking to SCB’s Head of Institutional Banking and Global Head of Business Segment and its Group
Head of Compliance and Regulatory Risk and forwarding the email referenced, supra, on October 7,
2003, SCB INT 0020019.
27
  Email from SCB’s Legal Counsel and Head of Compliance, Wholesale Bank, UK/Europe to SCB’s
Head of Legal, Wholesale Bank and SCB’s Group Head of Legal & Compliance dated September 4,
2003, SCB INT 0005690.
28
 Email from SCB’s Head of Transactional Banking Solutions, UK/Europe Corporate & Institutional
Banking (via her assistant) to several of SCB’s wholesale bank business managers dated March 9, 2003,
SCB INT 0001419.
29
  Memorandum entitled, Summary of the Risks/Issues to be Addressed with Regard to Iranian Bank USD
Clearing that Require Management Direction from Middle East Senior Management Team,
accompanying the email, supra, and noting that additional Iranian business may “trigger an action” from
OFAC, “leaving SCB exposed, with potential reputational damage,” SCB INT 0001420.

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Financial Institutions and Iranian companies and establishing new relationships with Iranian

companies and [intermediaries] in oil and gas related businesses.”30

       37.     Consistent with its historical views, SCB apparently decided that regulatory

compliance would impede any such business expansion. Summarizing the bank’s linchpin

consideration, SCB’s chief legal and compliance officer for its wholesale banking business

explained that SCB wire stripped because “there would be a delay in the OFAC que [sic] if an

Iranian name was spotted by the OFAC filter in New York and the payment would get held up.”

Any such delay, he concluded, would be “a deal-breaker” in SCB’s efforts to develop new

business.31

       38.     To avoid such deal-breakers, SCB instituted a system of so-called “offshore

OFAC due diligence.” The entire concept was a sham. Any off-shore substitute for OFAC

compliance would have necessarily caused the exact delay threatened by OFAC compliance at

the New York branch. Under the law governing at the time, any legitimate due diligence was

premised on investigative delay. SCB undertook its off shore due diligence program, however,

specifically to escape OFAC’s watchful eye, not to be examined by it.

       39.     SCB’s overseas due diligence staff members were responsible for both SCB’s U-

Turn “repair procedures” and OFAC “compliance” – a paradoxical task to say the least. These

staff members did not know the elements of a lawful U-Turn transaction other than that the

payment “had to be offshore to offshore,” and they were not trained to determine whether the


30
   Memorandum entitled Project Gazelle, by SCB’s Group Head of Compliance and Regulatory Risk and
its CEO, United Arab Emirates to SCB’s Group Executive Director for Risk and its Group Head of
Global Markets dated December 1, 2005, dated December 1, 2005, SCB INT 0017481.
31
  Note of Interview with SCB’s Head of Legal & Compliance, Wholesale Bank, U.K./Europe, SCB INT
0003675.

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underlying transactions were valid according to the Iranian Trade Regulations.32 In fact, as late

as August, 2006, SCB’s operations staff still “resolve[d] ‘hits’ on sanctioned names directly with

the customer” – a method ill-designed to detect client misconduct.33 (emphasis added).

          40.    Yet senior SCB management knowingly embraced the bank’s fraudulent U-Turn

procedures. Their ongoing and deliberate actions are evidenced by:

                 A 2005 report in which senior SCB executives noted “the current process under
                 which some SWIFT messages are manually ‘repaired’ to remove reference to Iran
                 could . . . be perceived by OFAC as a measure to conceal the Iranian connections
                 from SCB NY, and therefore evade their controls for filtering Iranian related
                 payments.” The report additionally observes that if “a non-complying payment
                 were discovered, OFAC would undoubtedly ask to see control procedures, and
                 SCB’s use in certain instances of the repair process may result in heavier penalty
                 than might otherwise be applied, and significant criticism.”34

                 A 2005 e-mail from SCB’s Group Legal Counsel to senior compliance staff in the
                 U.K. communicating OFAC’s stated concern that “some banks may suppress
                 information” on SWIFT payment messages, and warning that bankers must take
                 OFAC sanctions “seriously” or risk penalties ranging from civil enforcement
                 actions to criminal prosecutions.35

                 A note to file describing a December 29, 2005 meeting attended by SCB’s
                 General Counsel, Head of Legal and Compliance, and outside UK counsel, at
                 which they considered whether the new CEO for the Americas – who was the
                 former CEO for the United Arab Emirates – was obligated to report to US
                 regulators any suspicions he may have had about SCB’s Iran business conducted
                 in Dubai and “whether his physical presence in the USA heightens the prospect of




32
     Note of Interview with Manager, Cash Management Services, London, SCB INT 0001628-1629.
33
     Memorandum entitled Sanctions Compliance Report dated August 3, 2006, SCB INT 0002051.
34
  Memorandum entitled Project Gazelle, by SCB’s Group Head of Compliance and Regulatory Risk and
its CEO, United Arab Emirates to SCB’s Group Executive Director for Risk and its Group Head of
Global Markets dated December 1, 2005, dated December 1, 2005, SCB INT 0017483.
35
 Memorandum entitled, OFAC meeting – 18 September 2005, by SCB’s Group Legal Counsel to SCB’s
Group Executive Director and senior SCB staff, SCB INT 0002985 – 0002987.

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              [him] becoming a more available witness of fact for SCB’s Iran Business.”36
              (emphasis added)

               A 2006 memorandum from SCB’s General Counsel advising SCB’s Audit and
              Risk Committee that “certain US$ clearing transactions handled in London were
              processed with the name of the Iranian Bank excluded or removed from the
              ‘remitter field’” despite the “requirement that due diligence in respect of ‘U-turn’
              payments should be undertaken by our office in New York.” SCB’s chief legal
              counsel strategized, much as he had in 1995, that “it is reasonable to undertake
              due diligence on behalf of New York outside the US” even though “we are
              potentially placing our SCB New York office and the Bank at risk if our due
              diligence procedures are not fully effective.”37


                      SCB Defrauds Safety and Soundness Examiners


       41.    By 2003, New York regulators had discovered other significant BSA/AML

violations at SCB’s New York branch, including deficiencies in its suspicious activity

monitoring and customer due diligence policies and procedures.          In October 2004, SCB

consented to a formal enforcement action and executed a written agreement with the Department

and FRBNY, which required SCB to adopt sound BSA/AML practices with respect to foreign

bank correspondent accounts (the “Written Agreement”). The Written Agreement also required

SCB to hire an independent consultant to conduct a retrospective transaction review for the

period of July 2002 through October 2004. The review was intended to identify suspicious

activity involving accounts or transactions at, by, or through SCB’s New York branch.

       42.    Besides imposing specific operational reforms, the Written Agreement created

negative “implications for [SCB’s] growth ambition and strategic freedom that [went] way


36
 Memorandum to summarize meeting on December 29, 2005, between SCB’s Head of Legal &
Compliance, its General Counsel, and its U.K. outside legal counsel, SCB INT 0017508.
37
 Memorandum entitled Iranian Business from SCB’s General Counsel to SCB’s Audit and Risk
Committee dated February 23, 2006, SCB INT 0017372.

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beyond just the US.” In consequence, SCB had every incentive “to exit the Written Agreement

in a timely fashion.” It stood as a significant obstacle to SCB’s growth and evolving business

strategies.38

        43.     SCB vowed to the regulators that it would comply with the Written Agreement.

        44.     To that end, SCB retained D&T to conduct the required independent review and

to report its findings to the regulators. In August and September 2005, D&T unlawfully gave

SCB confidential historical transaction review reports that it had prepared for two other major

foreign banking clients that were under investigation for OFAC violations and money laundering

activities. These reports contained detailed and highly confidential information concerning

foreign banks involved in illegal U.S. dollar clearing activities.39

        45.     Having improperly gleaned insights into the regulators’ concerns and strategies

for investigating U-Turn-related misconduct, SCB asked D&T to delete from its draft

“independent” report any reference to certain types of payments that could ultimately reveal

SCB’s Iranian U-Turn practices. In an email discussing D&T’s draft, a D&T partner admitted

that “we agreed” to SCB’s request because “this is too much and too politically sensitive for both

SCB and Deloitte. That is why I drafted the watered-down version.”40


38
  Memorandum entitled Business with Iran – USA Perspective by SCB’s CEO, Americas to SCB’s
Group Executive Director for Risk, its Group Head of Compliance and its Group Head of Public Affairs
dated October 5, 2006, SCB INT 005762.
39
  Email from Deloitte and Touche’s Global Leader of Anti-Money Laundering/Trade Sanctions Division
to SCB’s Project Manager for the Lookback Review, dated August 30, 2005, AUS_001_00000001-
00298. Email from Deloitte and Touche’s Global Leader of Anti-Money Laundering/Trade Sanctions
Division to SCB’s Project Manager for the Lookback Review, dated September 17, 2005,
MCM_001_00000001-1728.
40
  Email from Deloitte and Touche’s Global Leader of Anti-Money Laundering/Trade Sanctions Division
to SCB’s Head of Compliance, Project Manager for the Lookback Review, Compliance Officer and a
Manager from Deloitte and Touche dated October 8, 2005. SCBNYR00001915.

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       46.     In September 2005, SCB’s CEO of the Americas met with the Department’s

Deputy Superintendent for Foreign Banks to discuss, among other things, SCB’s Iranian

business. The Deputy Superintendent advised SCB to comply with all regulations pertaining to

Iranian transactions. In addition, the Deputy Superintendent warned SCB that other banks were

being investigated in connection with Iranian financial dealings. In response, SCB’s CEO

assured the Deputy Superintendent that the bank was compliant in all matters related to Iran.41

Thus, when given the specific opportunity to discuss with Department officials the propriety of

wire stripping, SCB instead lied to them.

       47.     As a result of high-profile enforcement actions at several prominent foreign

banks, New York regulators in 2006 began to focus on SCB Iranian U-Turns.

       48.     In September 2006, New York regulators requested from SCB statistics on Iranian

U-Turns, including the number and dollar volume of such transactions for a 12 month period.42

In response, SCB searched its records for 2005 and 2006, and uncovered 2,626 transactions

totaling over $16 billion.43 SCB’s Head of Compliance at the New York branch provided the

data to SCB’s CEO for the Americas, who in turn, sent it to the SCB Group Executive Director

in London. In his memorandum to the Executive Director, the CEO expressed concern that this

data would be the “wildcard entrant” in the ongoing review of U-Turns by regulators and could


41
  Email from SCB’s CEO, Americas to SCB Group Executive Director and Group Head of Compliance
dated September 14, 2005, SCB INT 0004623-4638.
42
 SCB’s Log of Documentation Requested for BSA/AML/OFAC Pre-Exam, dated September 28, 2006,
SCB INT 0004968; Note of Interview with SCB’s Head of Cash Management Services (2002-2005),
Head of Compliance (2005-2007) at the New York branch, SCB INT 0004725.
43
  Email from SCB’s Project Manager for the Lookback Review to SCB’s Head of Cash Management
Services (2002-2005) and Head of Compliance (2005-2007) at the New York branch , SCB’s Head of
Operations and Head of Cash Management Operations dated September 26, 2006, SCB INT 0002852.

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lead to “catastrophic reputational damage to the [bank].” 44 Based on direction from “the powers

that be,” SCB’s Head of Compliance in New York provided only four days of U-Turn data to

regulators.45

       49.      This evidence shows that members of SCB’s top management were involved in

yet another staggering cover up.

       50.      They achieved their goal.       Using D&T’s “watered-down” report and the

fraudulent data, SCB convinced the Department and FRBNY to lift the Written Agreement in

2007. In other words, SCB successfully misled New York regulators to believe that it had

corrected serious flaws in its BSA/AML program.

       51.      But the opposite was true. By forging business records over many years to

circumvent OFAC restrictions, SCB undermined all aspects of its BSA/AML program. Because

SCB regularly concealed the names of the high risk clients, it could not accurately track and

evaluate their risk levels. Nor could SCB effectively screen for suspicious activity and financial

transactions – monitoring that is essential to any institution’s BSA/AML program. Perhaps

worst of all, SCB’s actions prevented regulators from doing their job in detecting potential

threats to the U.S financial system and other national security breaches.

       52.      SCB’s pledge to implement adequate procedures for assessing customer risk and

suspicious activity was a critical component of the Written Agreement. Consequently, at the




44
  Memorandum entitled Business with Iran – USA Perspective by SCB’s CEO, Americas to SCB’s
Group Executive Director for Risk, its Group Head of Compliance and its Group Head od Public Affairs
dated October 5, 2006, SCB INT 0005759-5762.
45
 Note of Interview with SCB’s Head of Cash Management Services (2002-2005) and Head of
Compliance (2005-2007) at the New York branch, SCB INT 0004733-4734.

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very least, the Department would have kept the Written Agreement rigidly in place had SCB not

meticulously disguised its willful misconduct.

       53.     In early 2009, after being contacted by certain law enforcement authorities, SCB

conducted an internal investigation into its OFAC procedures. In May 2010, more than a year

after it had commenced its own investigation, and notwithstanding its obligation to notify the

Department of these matters promptly, SCB finally informed the Department of its review.

       54.     At a meeting in May 2010, SCB assured the Department that it would take

immediate corrective action. Notwithstanding that promise, the Department’s last regulatory

examination of the New York branch in 2011 identified continuing and significant BSA/AML

failures, including:

               An OFAC compliance system that lacked the ability to identify misspellings and
               variations of names on the OFAC sanctioned list.

               No documented evidence of investigation before release of funds for transactions
               with parties whose names matched the OFAC-sanctioned list.

               Outsourcing of the entire OFAC compliance process for the New York branch to
               Chennai, India, with no evidence of any oversight or communication between the
               Chennai and the New York offices.

                                      CONCLUSION

       Motivated by greed, SCB acted for at least ten years without any regard for the legal,

reputational, and national security consequences of its flagrantly deceptive actions. Led by its

most senior management, SCB designed and implemented an elaborate scheme by which to use

its New York branch as a front for prohibited dealings with Iran – dealings that indisputably

helped sustain a global threat to peace and stability. By definition, any banking institution that

engages in such conduct is unsafe and unsound.



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       The evidence uncovered by the Department indicates that SCB has committed regulatory

transgressions of the highest order, to wit:



                             APPARENT VIOLATIONS OF LAW

                                FIRST VIOLATION OF LAW
                (Failure to Maintain Accurate Books and Records NYBL §200-c )


       SCB failed to maintain or make available at its New York branch office true and accurate

books, accounts and records reflecting all transactions and actions, including but not limited to,

true and accurate books, accounts and records to reflect Iranian U-turn transactions, effected by

or on behalf of SCB and its New York branch.

                               SECOND VIOLATION OF LAW
                    (Obstructing Governmental Administration P.L. § 195.05)


       SCB obstructed governmental administration at its New York branch by intentionally

obstructing, impairing and compromising the Department’s administration of law, regulation and

supervisory authority and prevented examiners of the Department and of other US regulatory

agencies from performing their official functions by means of withholding, stripping and

distorting information to identify numerous transactions of its OFAC-sanctioned clients to evade

OFAC regulations.

                                THIRD VIOLATION OF LAW
                 (Failure to Report Crimes and Misconduct 3 N.Y.C.R.R.§ 300.1)


       SCB failed to submit a report to the Superintendent immediately upon the discovery of

fraud, dishonesty, making of false entries and omission of true entries, and other misconduct,



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whether or not a criminal offense, in which an SCB director, trustee, partner, officer, employee

or agent was involved.

                               FOURTH VIOLATION OF LAW
                     (Falsification of Books and Reports N.Y.B.L. § 672.1)


       SCB’s officers, directors, employees and agents made false entries in SCB’s books,

reports and statements and willfully omitted to make true entries of material particularly

pertaining to the US dollar clearing business of SCB at its New York branch with the intent to

deceive the Superintendent and examiners, supervisors and lawyers of the Department and

representatives of other US regulatory agencies who were lawfully appointed to examine SCB’s

condition and affairs at its New York branch.


                                  FIFTH VIOLATION OF LAW
                         (Offering False Instrument for Filing P.L. § 175.35)

       SCB offered written instruments to examiners of the Department and of other US

regulatory agencies, with the knowledge that such instruments contained false information, and

with the intent to defraud the Department and with the knowledge that it would be filed with,

registered or recorded in or otherwise become part of the records of the Department.


                                 SIXTH VIOLATION OF LAW
                            (Falsifying Business Records P.L. § 175.10)

       SCB falsified business records with the intent to defraud examiners and the intent to aid

and assist sanctioned countries to engage in US dollar clearing transactions in violation of 31

CFR 560.516.




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                              SEVENTH VIOLATION OF LAW
                      (Unauthorized Iranian Transactions 31 C.F.R. 560.516)

        SCB engaged in transactions within the United States without complying with the

requirements of 31 C.F.R. 560.516 in that SCB prevented its New York branch from determining

whether the underlying transactions were permissible under by 31 C.F.R. 560.516 before

effecting them.



NOW THEREFORE, the Superintendent directs that:


        WHEREAS, having considered the foregoing evidence of SCB's apparent fraudulent and

deceptive conduct toward the Department and other industry regulators; and



        WHEREAS, having considered additional and substantial evidence presently before the

Department of this egregious misconduct; and



        WHEREAS, apparent violations of law enabled SCB to evade strict regulatory

obligations established to ensure the safety and soundness of foreign banking institutions

licensed to operate in the State of New York, as well as to support the national security of the

United States; and



        WHEREAS, the Superintendent has determined that grounds exist for revocation of

SCB's license to operate in the State of New York and that interim measures must be taken to

protect the public interest,



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       IT IS NOW HEREBY ORDERED that, pursuant to Banking Law § 39(1), SCB shall

appear before the Superintendent or his designee on Wednesday, August 15, 2012, at 10:00 a.m.,

at the Department's offices located at One State Street Plaza, New York, NY 10004, to explain

these apparent violations of law and to demonstrate why SCB’s license to operate in the State of

New York should not be revoked; and



       IT IS HEREBY FURTHER ORDERED that, on August 15, 2012, SCB shall also

demonstrate why, pursuant to Banking Law § 40(2), SCB’s U.S. dollar clearing operations

should not be suspended pending a formal license revocation hearing; and



        IT IS HEREBY FURTHER ORDERED that, pursuant to Banking Law §§ 36(4) and

39(5), and Financial Services Law § 206(c), SCB shall immediately submit to and pay for an

independent, on-premises monitor of the Department’s selection, which will ensure that SCB’s

New York operations fully comply with all BSA/AML requirements. The monitor will also

review the accuracy of SCB’s books and records pertaining to the processing of wire payments

from New York to U.S. sanctioned foreign jurisdictions that are either direct or ultimate

beneficiaries of the transaction; and




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       IT IS HEREBY FURTHER ORDERED that, any assessment of monetary penalties

shall await a formal hearing to be scheduled upon further notice by the Superintendent.




By Order of the Superintendent, effective this 6th day of August, 2012.



New York, New York


By:
       Benjamin M. Lawsky,
       Superintendent of Financial Services




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   Expert Witness Report & Declaration
         on Shia Militant Groups

Estate of Christopher Brook Fishbeck, et al., v.
         Islamic Republic of Iran, et al.
               Dr. Daveed Gartenstein-Ross
            Chief Executive Officer, Valens Global
                       April 24, 2022




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                     Expert Witness Report & Declaration
                           on Shia Militant Groups

                 Estate of Christopher Brook Fishbeck, et al.,
                                      v.
                        Islamic Republic of Iran, et al.

                                Dr. Daveed Gartenstein-Ross
                             Chief Executive Officer, Valens Global
                                        April 24, 2022

I.      Scope of Engagement and Opinion

I have been retained by the plaintiffs to provide expert opinions on the Islamic Republic of Iran’s
historical use of violent non-state actors (VNSAs) as proxy forces, and to provide detailed historical
background on the origins and roles of Iranian-backed Shia and Sunni VNSAs in Iraq following the
2003 U.S. invasion. This declaration and report focuses on the emergence and evolution of Shia
militant groups (sometimes also referred to in this report as Shia militia groups) that were active in Iraq.

Relying on my background, education, training, and experience, as well as substantial evidence
commonly used by experts in the relevant fields, it is my expert opinion, to a reasonable degree of
professionally certainty, that:

     A. The Islamic Republic of Iran has an extensive history of using violent non-state actors
        (VNSAs) as proxy groups to advance its foreign policy goals. Among other things, Iran has
        used these groups to launch attacks against U.S. forces in Iraq while retaining plausible
        deniability regarding Iranian involvement.

     B. Following the 2003 U.S. invasion of Iraq, Iran provided substantial material support and
        resources to an array of Shia militant groups, including Badr Corps, Jaysh al-Mahdi, and Special
        Groups such as the Promised Day Brigade, Asa’ib Ahl al-Haq (AAH), and Kata’ib Hizballah.
        Iran’s support to these groups took the form of training; funding; weapons; safe haven; travel
        and transportation; provision of expert knowledge and assistance in tactics, techniques, and
        procedures; and assistance in attack planning.

     C. The best available evidence indicates that Shia militants needed Iranian support to obtain,
        assemble, and/or utilize certain weapons and munitions used by these groups in Iraq, including
        sophisticated explosively formed penetrators (EFPs) and improvised rocket assisted munitions
        (IRAMS). Shia militants also obtained Iranian support in obtaining and using rockets, mortars,
        improvised explosive devices, small arms, and other equipment and material vital to their
        operations.


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      D. Given the nature, duration, and magnitude of Iranian material support to these specific Shia
         militant groups, Iran’s assistance was essential to the formation, growth, and survival of these
         organizations, and significantly increased their capabilities. As such, certain attacks in Iraq
         committed by these groups from, at least, 2003 to 2011, bear a reasonable connection to Iran’s
         sponsorship and support.

The following sections of this report explain how I reached these conclusions. Section II overviews
my qualifications and methodology. In section III, I detail Iran’s efforts to cultivate VNSAs as proxy
groups prior to the 2003 U.S. invasion of Iraq. Section IV covers the emergence and evolution of
relevant Shia militias, many of which considered fighting against U.S. forces to be their raison d’être in
post-invasion Iraq. In Section V, I address Iranian material support for Shia militants in Iraq, including
the provision of EFPs. Finally, Section VI highlights my principal conclusions.

II.       Qualifications

This section describes my professional background, then discusses the methods I employ in analyzing
militant groups and violent non-state actors (VNSAs). The plaintiffs in this case have also asked me
to contribute a separate report focusing on Iran’s material support provided to Sunni militant
organizations operating in Iraq. Though the Qualifications section of both reports are substantially
similar, this section is designed to highlight my work on Shia militant groups in particular.

Professional Background
My professional life has been dedicated to understanding VNSAs’ role in the world and to helping
policymakers, government agencies, private companies, and others fashion innovative solutions to the
challenges that VNSAs pose. I am the Chief Executive Officer of Valens Global, a private commercial
firm, and hold appointments at think tanks in the United States and Europe. I am a Senior Advisor
on Asymmetric Warfare at the Foundation for Defense of Democracies (FDD), a nonpartisan policy
institute in Washington, D.C., with which I have been affiliated for 14 years.1 I am also an Associate
Fellow at the International Centre for Counter-Terrorism – The Hague (ICCT). I have authored
several studies for ICCT, some of which required international field research.2 Past positions I have
held include Senior Advisor to the Director of the U.S. Department of Homeland Security’s Office
for Community Partnerships (2016-17) and Fellow at Jigsaw, a tech incubator within Google with the
mission of exploring threats to open societies and building technology that inspires scalable solutions.
I led several major projects responding to violent extremists’ use of online platforms for Jigsaw.3


1 I served as FDD’s Vice President of Research (2007-10), then as a Senior Fellow (2010-18), and a Non-Resident Fellow

(2018-19). For a sense of the work I have undertaken for FDD, see the following books and studies that I authored for
the institute, or for which I served as a volume editor: Daveed Gartenstein-Ross & Samuel Hodgson, Skinheads, Saints, and
(National) Socialists: An Overview of the Transnational White Supremacist Extremist Movement (Washington, D.C.: FDD Press,
2021); Daveed Gartenstein-Ross et al., Evolving Terror: The Development of Jihadist Operations Targeting Western Interests in Africa
(Washington, D.C.: FDD Press, 2018); Daveed Gartenstein-Ross et al., Islamic State 2021: Possible Futures in North and West
Africa (Washington, D.C.: FDD Press, 2017); Daveed Gartenstein-Ross & Jonathan Schanzer eds., Allies, Adversaries and
Enemies: America’s Increasingly Complex Alliances (Washington, D.C.: FDD Press, 2014).
2 See Daveed Gartenstein-Ross et al., The Islamic State’s Global Propaganda Strategy (The Hague: ICCT – The Hague, 2016);

Daveed Gartenstein-Ross et al., Raising the Stakes: Ansar al-Sharia in Tunisia’s Shift to Jihad (The Hague: ICCT – The Hague,
2014); Daveed Gartenstein-Ross, Ansar al-Sharia Tunisia’s Long Game: Dawa, Hisba, and Jihad (The Hague: ICCT – The
Hague, 2013).
3 Much of the work I undertook for Jigsaw/Google remains confidential, but one project, known as the Redirect Method,

has been made public. See Andy Greenberg, “Google’s Clever Plan to Stop Aspiring ISIS Recruits,” Wired, September 7,
                                                                 3



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I have experience teaching, leading national-security simulations, and lecturing at the university level.
I have been named an Adjunct Instructor at Duke University from 2021-2023, teaching a course titled
“National Security Simulation – Great Power Competition, Non-State Actors & Human Rights.” I
have served as an Instructor for two courses at Carnegie Mellon University (CMU), in the spring 2021
and spring 2022 semesters, both which involved running complex simulations for CMU students.
From 2013-17, I held an appointment as an Adjunct Assistant Professor in Georgetown University’s
Security Studies Program, where I taught a graduate course on violent non-state actors. I also held an
appointment as a Lecturer at the Catholic University of America, where I taught a graduate course on
violent non-state actors and an undergraduate course on al-Qaeda and its affiliates. I have also taught
classes for, or held faculty appointments at, the University of Southern California (teaching for the
school’s Executive Program in Counterterrorism) and the University of Maryland (Faculty Research
Assistant in the Institute for Advanced Computer Studies, 2013-14).

I have been contracted to design and lead national-security simulations (also known as war games) for
several colleges and universities, including American University, the University of Calgary, Carleton
University, Georgetown University, Johns Hopkins University, Regent University, and Wake Forest
University. In addition to running these simulations for academic institutions, I have designed and led
them for government agencies (e.g., Canada’s Department of National Defence), multilateral
institutions (e.g., the Global Counterterrorism Forum), and think tanks (e.g., the Foundation for
Defense of Democracies).

I have also delivered presentations at or for a number of colleges, universities, and academic
conferences, including the American Political Science Association Annual Meeting, the Association
for the Study of the Middle East and Africa Annual Conference, Campbell University (Buies Creek,
N.C.), Campbellsville University (Campbellsville, Ky.), Columbus State University (Columbus, Ga.),
the George C. Marshall European Center for Security Studies (Garmisch, Germany), Georgia State
University (Atlanta, Ga.), Harvard Law School, High Point University (High Point, N.C.), the U.S.
Marine Corps Command and Staff College (Quantico, Va.), the National Defence College (Abu
Dhabi), the United States Naval Academy (Annapolis, Md.), the New York University School of Law,
O.P. Jindal Global University (Sonipat, India), Universität Tübingen (Tübingen, Germany), and
Uppsala University (Uppsala, Sweden).

I hold a Ph.D. and M.A. in World Politics from the Catholic University of America, a J.D., magna cum
laude, from the New York University School of Law, and a B.A. with Honors, magna cum laude, from
Wake Forest University. I also hold a 10,000 Small Businesses Certificate of Entrepreneurship, which I
received from a program sponsored by the Goldman Sachs Foundation (classes held at Babson
College, in Wellesley, Mass.).

As part of my topical research, which began in approximately 1995 during my undergraduate studies,
I have traveled overseas to conduct field research or do professional work in numerous countries,
including Bulgaria, Germany, Iraq, Israel, Jordan, Morocco, the Netherlands, Nigeria, Poland, Qatar,
Turkey, Tunisia, and the United Arab Emirates. I have reviewed thousands of open-source documents
about Shia and Sunni VNSAs in English, French, Italian, Spanish, and Arabic. I have served as a
consultant and expert on terrorism and national security issues for the U.S., Canadian, and Dutch

2016. Jigsaw maintains a website that explains the Redirect Method at https://redirectmethod.org/. I led Valens Global’s
efforts to map the counter-ISIS narrative space on YouTube for this project.
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governments, NATO, the European Union, the Global Counterterrorism Forum, and private
organizations. In the course of this work, I have been certified by governmental bodies as an expert
on terrorism and militant groups on numerous occasions, including for the following projects:

    ·    serving as a Subject-Matter Expert (SME) for U.S. Customs and Border Protection (2017-
         present). My work has included delivering open-source reports about VNSAs, including
         Iranian-backed VNSAs in the Middle East and North Africa (MENA) region; and delivering
         training and high-level briefings for officials and analysts.
    ·    leading Valens Global’s efforts to support the drafting, threat assessment, and crafting of
         priority actions for the U.S. Department of Homeland Security’s Strategic Framework for
         Countering Terrorism and Targeted Violence, which was released in September 2019 and has
         subsequently guided DHS’s approach to confronting terrorism. That document received
         widespread acclaim, with The New York Times editorializing that the document “focuses
         unapologetically on right-wing terrorism, particularly white supremacist extremism,” which
         constitutes “a shift that is both urgently needed and long overdue.”4
    ·    serving as a co-Principal Investigator for a three-year, $1.5 million project for the Office of
         Naval Research that used big data to analyze relationships among militants and anticipate
         where fractures are likely to occur in militant organizations.
    ·    serving as the Principal Investigator for ten different grant-funded research projects related to
         terrorism and VNSAs for the Mobilizing Insights in Defense and Security (MINDS) program
         funded by Canada’s Department of National Defence, as well as its predecessor program.
    ·    designing and delivering lectures on global terrorism for the U.S. Army Corps of Engineers’
         Individual Terrorism Awareness Course (INTAC), for which I have been one of the lead
         instructors since June 2016. This course included discussion of the threats posed by Iran-
         backed Shia VNSAs in the CENTCOM AOR.
    ·    lecturing for U.S. Army units about to deploy to countries like Afghanistan, Djibouti, Egypt
         (as part of the Multinational Force & Observers), Iraq, and Kuwait through the Naval
         Postgraduate School’s Center for Civil-Military Relations (CCMR), for which I have taught on
         over 70 occasions since 2009. Courses I have taught include substantive discussion of Shia
         militant groups and other militant actors that are both Sunni and Shia in orientation.
    ·    serving as a SME providing analysis to the U.S. Department of Defense’s Joint Improvised-
         Threat Defeat Organization (JIDO) four times.
    ·    serving as a SME for the Global Counterterrorism Forum (GCTF). In this capacity, I was the
         lead SME for the Counterterrorism Watchlisting Toolkit (October 2021), the Addendum to the GCTF
         New York Memorandum on Good Practices for Interdicting Terrorist Travel (September 2021), and the
         Berlin Memorandum on Good Practices for Countering Terrorist Use of Unmanned Aerial Systems.5 I also
         served as the lead SME for a project on racially and ethnically-motivated violent extremism.
    ·    serving as the Principal Investigator in 2016-17 for two VNSA-related projects for NATO. In
         the first, I authored a study proposing a new methodology for monitoring and evaluation
         (M&E) of counterterrorism capacity-building efforts. In the second, I played a lead role in
         designing a demo for software capable of tracking M&E of future counterterrorism capacity-
         building missions.

4 Alex Kingsbury (editorial board member), “Rethinking Counterterrorism,” The New York Times, September 23, 2019.
5 GCTF is an international forum consisting of 29 countries and the European Union that describes its mission as

“reducing the vulnerability of people worldwide to terrorism by preventing, combating, and prosecuting terrorist acts and
countering incitement and recruitment to terrorism.”
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     ·    organizing and facilitating a 2016 conference in Nigeria, as a European Union-appointed
          Strategic Communication Expert, helping civil society activists to understand militant groups’
          use of social media and to forge a strategic action plan for countering it.
     ·    serving as a SME for the U.S. Department of State’s Office of Anti-Terrorism Assistance,
          designing curriculum and leading instruction for the organization.
     ·    leading training for the U.S. Department of Justice’s Anti-Terrorism Advisory Council
          (ATAC) four times.

I have also been court-certified to testify as an expert witness or serve as a litigation consultant on
terrorism and militant groups in the following federal cases:

     ·    In Fritz v. Islamic Republic of Iran (D.D.C., 2018), the Court qualified me as an expert on “(1)
          violent non-state actors, including identifying and analyzing online content generated by
          violent non-state actors; (2) Iran’s use of proxy organizations in Iraq from the 1990s to 2012;
          and (3) Iraqi Shia militias in general and AAH in particular”).6 I have also been disclosed as an
          expert witness in another case currently before the District Court of the District of Columbia
          that pertains to certain Iran-backed Shia militant groups.7
     ·    On five occasions, I have been admitted as an expert witness on the Zarqawi organization,
          most recently in Fields v. Syrian Arab Republic (D.D.C., 2021).8 In United States v. Young (E.D.
          Va., 2017), the first criminal prosecution of a U.S. law enforcement officer for material support
          for ISIS, I served as an expert witness for the prosecution. The defense raised a Daubert
          challenge, and my expertise was affirmed by the District Court based on my background,
          “extensive academic credentials,” and “the fact that the United States government uses him
          for training in these areas.” The United States Court of Appeals for the Fourth Circuit affirmed
          the District Court’s decision on appeal, noting that the lower court “reached a reasonable
          decision in qualifying Dr. Gartenstein-Ross based on his extensive credentials and areas of
          expertise.”9 I also served as an expert witness on the Zarqawi organization in Sotloff v. Syrian
          Arab Republic (D.D.C., 2021), Doe v. Syrian Arab Republic (D.D.C., 2020), and Foley v. Syrian Arab
          Republic (D.D.C., 2017).10

6 Fritz v. Islamic Republic of Iran, 320 F. Supp.3d 48, 58 n.2 (D.D.C., 2018).
7 Neiberger v. Islamic Republic of Iran, No. 1:16-cv-02193-EGS-ZMF (D.D.C.).
8 Memorandum Opinion, Fields v. Syrian Arab Republic, CA 18-1437 (D.D.C., September 29, 2021), p. 2 (“Dr. Gartenstein-

Ross is the Chief Executive Officer of Valens Global, a private commercial firm focused on analyzing violent non-state
actors. Gartenstein Report at 1. He holds a Ph.D. and M.A. in World Politics from the Catholic University of America, as
well as a J.D. from the New York University School of Law. Id. at 2. He has a robust background in studying and publishing
articles on the Zarqawi organization and has been accepted as an expert on Syria’s support for ISIS in other federal courts.
See Foley v. Syrian Arab Republic, 249 F. Supp. 3d 186, 193 n.4 (D.D.C. 2017) (Kollar-Kotelly, J.); see also United States v. Young,
916 F.3d 368, 380 (4th Cir. 2019) (noting that the district court ‘reached a reasonable decision in qualifying Dr. Gartenstein-
Ross based on his extensive credentials and areas of expertise’). As such, I find that Dr. Gartenstein-Ross is qualified as
an expert in Syria’s relationship with and support of ISIS”).
9 United States v. Young, 916 F.3d 368, 380 (4th Cir. 2019).
10 See Memorandum Opinion, Sotloff v. Syrian Arab Republic, CA 16-725 (D.D.C., March 15, 2021), pp. 11-12 (“The first

expert, Dr. Daveed Gartenstein-Ross, is an anti-terrorism scholar and author who has worked, in various capacities, on
issues related to violent non-state actors for over a decade. Gartenstein-Ross Hr’g Tr. 13:1–12. He has testified as an expert
on terrorism and jihadist groups in many courts, including in this District. See, e.g., Foley v. Syrian Arab Republic, 249 F.
Supp. 3d 186 (D.D.C. 2017). The Court qualified him as an expert on violent non-state actors generally, ISIS’s evolution
from its predecessor organizations, and ISIS’s material supporters”); Doe v. Syrian Arab Republic, No. 18-CV-0066 (D.D.C.,
Sept. 10, 2020) (“The undersigned finds that Dr. Gartenstein-Ross is qualified as an expert in the areas of terrorism and
jihadist groups. He has been qualified in federal courts on six occasions in those fields. In addition, he has also testified in
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    ·    I have been admitted to serve as an expert witness on the Taliban in two separate cases: Selig
         v. Islamic Republic of Iran (D.D.C., 2021) and In the Matter of Abdul Qadir (Arlington, Va.
         Immigration Court, 2015).
    ·    In United States v. Abdul Kareem (D. Ariz., 2016), I served as a litigation consultant for the
         defense. The defendant was accused of conspiring to support a domestic ISIS attack in 2015.
    ·    I served as an expert witness on al-Qaeda’s activities and capabilities in Kenya in In the Matter
         of B.O. in Removal Proceedings (Boston Immigration Court, 2012).
    ·    I served as an expert witness on al-Shabaab (a Somalia-based al-Qaeda affiliate) and country
         conditions in Somalia in the following cases: In the Matter of A.D. (Memphis, Tenn.
         Immigration Court, 2012), In the Matter of A.A.W. (Bloomington, Minnesota Immigration
         Court, 2012), In the Matter of A.A.I. (Colorado Immigration Court, 2011), In the Matter of the
         Application for Withholding of A.A.M. (Boston Immigration Court, 2011), and In the Matter of the
         Application for Asylum of M.A.A. (N.J. Immigration Court, 2009).

In addition to the aforementioned work that required my certification as an expert, I have undertaken
a considerable amount of professional work related to Shia and other VNSAs for various clients. A
small sample of this work includes:

    ·    I served as a Subject Matter Consultant to the private security firm Corporate Risk
         International during a hostage negotiation with the Iraq-based militant group Asaib Ahl al-
         Haq (2008-09).
    ·    I have served as a consultant for the Anti-Defamation League, playing a lead role in producing
         reports on extremist groups and leading training for domestic law enforcement (2016-present).
    ·    I have produced country-specific and actor-specific analytic reports for three firms in the oil
         and gas industry—Check-Six, Equinor, and Tullow Oil—that needed to make investment
         decisions related to VNSAs, or to protect their facilities and personnel in various locations
         (2014-15).
    ·    I led training for analysts about Sunni militant groups in the Horn of Africa for the contractor
         BAE Systems (2011).

I have testified about my areas of core competency before the U.S. House and Senate more than a
dozen times, and before the European Parliament and Canadian House of Commons, including about
events in Iraq. Additionally, I am an author with specialized knowledge about Shia and other VNSAs.
I am the author or volume editor of twenty-seven books and monographs, and I have written
extensively on these topics in peer-reviewed academic publications and the mainstream press. This


five hearings directly related to ISIS before the U.S. House and Senate. He has taught related topics at Georgetown
University, Catholic University, University of Southern California, and University of Maryland. He received his Ph.D. and
M.A. in World Politics from Catholic University and a J.D. from New York University School of Law. As a result of his
work, Dr. Gartenstein-Ross has been certified by governmental organizations as an expert on terrorism and jihadist groups,
including the U.S. Customs and Border Protection and the U.S. Department of Defense’s Joint Improvised-Threat Defeat
Organization. He is presently the Chief Executive Officer of Valens Global, a firm focused on responses to violent non-
state actors, a Senior Advisor on Asymmetric Warfare at the Foundation for Defense of Democracies, and an Associate
Fellow at the International Centre for Counter-Terrorism. He also served as a Senior Advisor to the Director of the U.S.
Department of Homeland Security’s Office for Community Partnerships from 2016-2017.”); Foley v. Syrian Arab Republic,
249 F. Supp.3d 186 (D.D.C. 2017) (“Having considered the requirements set forth in Federal Rule of Evidence 702 for
the admission of expert testimony, the Court qualified Daveed Gartenstein-Ross as an expert in the evolution of the history
of terrorist organizations and their claims of responsibility for acts of terrorism.”).
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work is outlined in my Curriculum Vitae and also highlighted in the accompanying Sunni militant
group report that I have submitted to this Court.

Methodology
I employ a comparative analysis method for understanding VNSAs. The comparative analysis method
has been validated multiple times in written opinions by various U.S. courts.11 Comparative analysis
involves identifying relevant primary sources and scholarly literature, examining each source, and
comparing these materials to one another in order to better establish baseline facts for my analysis.
Here I will explain the framework I employ for understanding VNSAs, and the significance of the
method I employ to evaluate factual assertions.

The framework that I employ is designed to apply across a range of VNSAs. Some of my writings and
professional projects have classified various kinds of VNSAs and analyzed how they can be compared
and contrasted with one another.12 As I outline in my chapter “Violent Non-State Actors: Paradigmatic
Lessons Learned” in the 2014 volume National Security Management in Federal Structures, several common
factors should be analyzed across the range of VNSAs. These factors include:

   1)   leadership,
   2)   ideology,
   3)   group goals,
   4)   strategy,
   5)   organizational structure,
   6)   recruiting, and
   7)   financial support.13

The comparative analysis method allows me to compare information and conclusions among sets of
sources. Based on this method, I can make two determinations with a high degree of confidence: (1)
an accurate probabilistic determination of whether a given fact about a VNSA is true, and (2)
independent of whether that fact is true, I can make an accurate probabilistic determination about
whether members of that VNSA believe the fact at issue to be true.

My academic and professional work has further explored and defined the best practices for analyzing
and understanding each of these aspects of VNSAs. One best practice I employ is relying mainly on
primary-source information, including statements and social media postings by violent extremist
groups and their supporters, and the intercepted internal documents of these organizations. These are
documents commonly relied upon by experts. I cross-check all primary sources I read against other
primary-source information, against information about events on the ground in relevant theaters, and

11 See, e.g., United States v. Farhane, 634 F.3d 127, 159 (2d Cir. 2011) (upholding the permissibility of an expert’s testimony

in a case where the expert employed the comparative analysis method and noting that this methodology was “similar to
that employed by experts that have been permitted to testify in other cases involving terrorist organizations”); Order,
United States v. Hausa, 12 Cr. 0134, E.D.N.Y., February 10, 2017, p. 4.
12 Daveed Gartenstein-Ross & Jacob Zenn, “Terrorists, Insurgents, Something Else?: Clarifying and Classifying the

‘Generational Challenge,’ ” Lawfare, January 15, 2017.
13 Discussed in Daveed Gartenstein-Ross, “Violent Non-State Actors: Paradigmatic Lessons Learned,” in National Security

Management in Federal Structures: Perspectives from India and the United States (Kochi, India: Centre for Public Policy Research,
2014). My later scholarly work adds a critical eighth factor to consider as well: the method and efficacy of a group’s
organizational learning. See Daveed Gartenstein-Ross & Thomas Joscelyn, Enemies Near and Far: How Jihadist Groups
Strategize, Plot, and Learn (New York: Columbia University Press, forthcoming 2022).
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against relevant secondary-source literature that allows me to determine whether my conclusions are
consistent with those of other scholars and practitioners.

Though I generally rely on primary sources, many secondary sources also serve useful purposes. First,
secondary sources can provide useful historical information, adding rich context. Second, some
secondary sources do a strong job of synthesizing large amounts of information. Third, some
secondary sources contain the intrepid work of journalists who doggedly pursue leads and uncover
new, original information. All secondary sources deserve scrutiny, but for this report I was able to
cross-check all the secondary sources I utilized for claims that are material to my conclusions against
primary sources, other secondary sources, and on-the-ground events before deciding to rely on any
single secondary source, in addition to assessing the reputation and reliability of the author.

Another best practice I have adopted to complement the comparative analysis method is employing
a system of evaluating my own analytic conclusions adapted from Superforecasting, a book by Philip
Tetlock, who is an Annenberg University Professor at the University of Pennsylvania.14 Evaluating my
own conclusions critically enables me to further ensure the accuracy of my work.

Based on my knowledge, experience, training, and education, and based on a comprehensive review
of relevant primary and secondary source materials using the comparative analysis method, my expert
opinion on the issues laid out above follows.

III.     Iran’s Use of Violent Non-State Actors as Proxy Groups, 1979-2003

The Islamic Republic of Iran has frequently relied upon violent non-state actors (VNSAs) to serve as
its armed proxies. Iran has provided these groups with wide-ranging support and used them to attack
its perceived enemies, including the United States, while retaining a degree of plausible deniability as
to Iranian involvement. This section details the history of Iranian support to proxy groups prior to
the 2003 U.S. invasion of Iraq. It demonstrates that Iran’s use of proxy groups is a key instrument of
its foreign policy, and that there was precedent for Iran’s actions in Iraq following the 2003 U.S.
invasion.

Iran’s Early Efforts to Export its Revolution
Facing widespread opposition to his regime and suffering from
cancer, Shah Mohammad Reza Pahlavi, Iran’s longtime monarch and
a close U.S. ally, fled Iran on January 16, 1979. Though the shah
ceded power to the country’s prime minister, Shapour Bakhtiar, and
a regency council, his departure created a political vacuum. On
February 1, Ayatollah Ruhollah Khomeini, the shah’s most
influential political opponent, returned from his exile in France.
Khomeini, a Shia cleric, had first risen to prominence by leading
clerical opposition to the shah’s modernization plans in the early
1960s. His vocal opposition to the shah resulted in Khomeini’s
imprisonment and later his exile. During his years in exile, Khomeini
laid the intellectual foundations of the future Islamic Republic of
Iran. Upon his returning to Iran in 1979, Khomeini announced his
own prime minister, prompting a clash with Bakhtiar’s government.

14 Philip E. Tetlock & Dan Gardner, Superforecasting: The Art and Science of Prediction (New York: Random House, 2015).

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When the military declared its neutrality in this struggle, Bakhtiar fled the country, the remnants of
the shah’s regime crumbled, and Khomeini was able to bring his vision of an Islamic theocracy in Iran
to fruition.

A month after a national referendum that officially established the Islamic Republic of Iran on April
1, 1979, Khomeini issued a decree creating the Islamic Revolutionary Guard Corps (IRGC).15
Groups calling themselves the “guardians of the Islamic Revolution” had already been active
“throughout Iranian cities within days of Khomeini’s return.”16 This assortment of pro-Khomeini
militias that eventually unified to form the IRGC was instrumental in post-revolution Iran in fighting
loyalists of the ousted shah and cracking down on suspected counterrevolutionaries, leftist groups,
and ethnic separatists. The IRGC’s effectiveness in waging street violence against opponents helped
Khomeini’s government to consolidate control over the country.17

Instead of disbanding the IRGC after the Islamic Republic began to stabilize, Iranian leaders decided
to enshrine the group in the October 1979 constitution, entrusting it with the “role of protecting the
Revolution and its achievements.”18 The IRGC was designed to be distinct from the regular army
(Artesh in Farsi). While the Artesh defends Iran’s territorial integrity, the IRGC’s role is broader,
including defending Iran’s theocratic system, a distinction that has allowed IRGC to justify expansion
into non-military affairs and gain influence in political, economic, and sociocultural spheres.

In addition to this wide-ranging domestic role, the Iranian constitution gave the IRGC a global
responsibility and the ideological mission to strive “on the path of God and struggle on the path of
expanding the sovereignty of the law of God in the world.”19 Indeed, the fact that the word Iran does
not appear in the IRGC’s name is quite intentional. Iranian leaders wanted the Islamic revolutionary
guard to export their revolution, and thus employed the more universal term Islamic in its name to
denote solidarity with other Islamic liberation movements.20

Ayatollah Khomeini believed that the broader Middle East should follow Iran’s embrace of clerical
rule and rejection of the West. Khomeini presented himself as a leader of the Muslim world and called
on Islamists around the Middle East to rise up against their rulers.21 A declassified March 1980 CIA
assessment concluded that “Iranian leaders, including Ayatollah Khomeini and President Bani-Sadr,
are ideologically committed to aiding other Islamic revolutionaries. The Iranians see their revolution
as an example for other ‘oppressed’ peoples and believe that other organizational and ideological
techniques they developed to topple the Shah can be used by others.”22 The assessment cited a
February 20, 1980 speech by Khomeini in which Iran’s supreme leader declared: “O zealous Muslims
in various countries of the world, wake from your sleep of neglect and liberate Islam and Islamic

15 PX800, “Revolutionary Guards Corps Established in Iran,” Tehran Domestic Service (Farsi), May 5, 1979.
16 Afshon Ostovar, Vanguard of the Imam: Religion, Politics, and Iran’s Revolutionary Guards (New York: Oxford University Press,

2016), pp. 42–43.
17 Ali Alfoneh, Iran Unveiled: How the Revolutionary Guards Is Turning Theocracy into Military Dictatorship (Washington, D.C.:

American Enterprise Institute, 2013), pp. 6–8; Ostovar, Vanguard of the Imam, pp. 41, 57, 60–61.
18 PX804, Constitution of the Islamic Republic of Iran, article 150 (October 24, 1979).
19 Ibid., p. 5.
20 Nader Uskowi, Temperature Rising: Iran’s Revolutionary Guards and Wars in the Middle East (Lanham, MD: Rowman
& Littlefield, 2019), p. 1; Ostovar, Vanguard of the Imam, p. 102.
21 Elaine Sciolino, “Iran’s Durable Revolution,” Foreign Affairs (Spring 1983).
22 PX931, Central Intelligence Agency, National Foreign Assessment Center, “Iran: Exporting the Revolution,” March 10,

1980, p. 1, available at https://www.cia.gov/library/readingroom/docs/CIA-RDP81B00401R000500100001-8.pdf.
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countries from the clutches of the colonialists and those subservient to them.”23 Further, in an
international conference hosted by Iran in December 1982, Khomeini called on attendees to “prepare
the ground for the creation of Islamic Republics in all countries” and turn their mosques into “prayer,
political, cultural and military bases.”24

Iran made the IRGC the principal instrument for fulfilling Khomeini’s vision. At the end of the Iran-
Iraq War, the IRGC merged several military groups into the Quds Force (IRGC-QF), giving the
elite division its current name and formalizing its structure.25 Indeed, as early as 1979, Quds
Force predecessors had begun to support foreign militant groups and Shia dissidents.

Over time, Iran leveraged other parts of its government to support efforts to export the revolution.
In particular, Iran’s Ministry of Intelligence and Security (MOIS) began to play a role in these
operations after its creation in 1984.26 MOIS is responsible “for domestic security and intelligence,
foreign intelligence, monitoring Iranian expatriate communities, liaising with foreign intelligence
services, counterintelligence, and sanctioned lethal operations.”27 While Khomeini and his allies
focused on solidifying domestic power and fending off a military challenge from Iraq in the early years
following the revolution, proxy forces quickly became a central element of Iranian foreign policy.

Iran’s Embrace of Proxy Forces
Two events in the 1980s led Iran to view armed proxy forces as vital to achieving its foreign policy
goals. First, the Iran-Iraq War seared the costs of large-scale conventional warfare into the minds of
generations of Iranian leaders. Before the Iran-Iraq War broke out in September 1980, the IRGC had
little military experience, and was poorly trained and funded, disorganized, and undisciplined.28 During
the war, the IRGC gained military experience and a vast number of new recruits. One of the IRGC’s
most effective tactics in that conflict involved mass human wave assaults against
seemingly impenetrable defensive lines. Described as “kamikaze-style,” these assaults were effective
in overwhelming Iraqi forces but costly in terms of human life.29 There is a paucity of reliable casualty
estimates, though some estimates place the conflict’s death toll near one million.30 Iran lost hundreds
of thousands of soldiers, including many in the wave attacks and in chemical weapons attacks by Iraqi
leader Saddam Hussein’s forces. Iran suffered enormous losses of blood and treasure for what
amounted to a stalemate at the end of the war. According to veteran Middle East reporter Dexter
Filkins, one lesson that Iran’s leadership drew from the Iran-Iraq War was “the futility of fighting a
head-to-head confrontation.” Instead, they decided that “they had to build the capacity to wage


23 Ibid.
24 Sciolino, “Iran’s Durable Revolution.”
25 Uskowi, Temperature Rising, p. 42; PX214, “Al-Quds Forces Associated with the Guards of the Islamic Revolution,”

Iraqi intelligence study (ISGZ 2005-001122-19954), October 2000, translation by Combating Terrorism Center at West
Point, https://ctc.usma.edu/harmony-program/iraqi-intelligence-study-of-the-iranian-revolutionary-guard-corps-original
language-2/.
26 PX236, Guillermo Pinczuk & Theodore Plettner, Unconventional Warfare Case Study: The Relationship between Iran and

Lebanese Hezbollah (Fort Bragg, N.C.: U.S. Army Special Operations Command, 2017), p. 28,
https://www.soc.mil/ARIS/books/pdf/_ARIS_Iran-Hiz_Jan2017.pdf.
27 PX260, U.S. Defense Intelligence Agency, Iran Military Power (August 2019), p. 37,

https://www.dia.mil/Portals/27/Documents/News/Military%20Power%20Publications/Iran_Military_Power_LR.pdf.
28 Ali Alfoneh, “Eternal Rivals?: The Artesh and the IRGC,” Middle East Institute, November 15,

2011, https://www.mei.edu/publications/eternal-rivals-artesh-and-irgc.
29 Ostovar, Vanguard of the Imam, pp. 47–48, 63–64, 75, 85.
30 See PX634, Dexter Filkins, “The Shadow Commander,” The New Yorker, September 23, 2013.

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asymmetrical warfare—attacking stronger powers indirectly, outside of Iran.”31 Using the Quds Force
to conduct unconventional warfare, particularly by supporting proxy forces, seemed like an appealing
option to Iran’s leaders.

Second, Israel’s 1982 invasion of Lebanon to counter the Palestinian Liberation Organization (PLO)
provided Iran a chance to cultivate a powerful proxy force. Iran sent IRGC officers to mobilize
Lebanon’s sizeable Shia community in opposition to Israel.32 President Reagan dispatched U.S. forces
to Lebanon as part of a peacekeeping mission and in 1983, Hizballah, an emerging Shia militant
organization with close ties to Iran, attacked the U.S. Embassy in Beirut as well as American and
French military installations in the country. The attacks inflicted heavy casualties. The U.S. Embassy
bombing killed 17 Americans, and the October 1983 U.S. Marine barracks bombing in Beirut killed
241 American servicemembers. The subsequent withdrawal of Western troops in 1984, combined
with the horrors of the Iran-Iraq War, likely convinced Iranian leaders that they could use proxy forces
to effectively counter their opponents in the region and further Iran’s geopolitical aims without the
costs of conventional warfare.

The IRGC Hones Its Collaboration with Proxy Forces: Hizballah and the Badr Corps
Throughout the 1980s and 1990s, the IRGC developed a template for cultivating proxy forces in the
Middle East, then worked to apply that template elsewhere. While the IRGC was active in numerous
countries, the IRGC’s work with two organizations, Lebanese Hizballah and the Badr Corps,
demonstrates how Iran built the capacity to wage war against its enemies by proxy.33

Lebanese Hizballah. The history of Iran’s close partnership with Hizballah is instructive for three
reasons. First, Iran’s close partnership with Hizballah would serve as a model for the IRGC’s efforts
to cultivate Shia proxy groups across the Middle East, including in Iraq. Second, the Hizballah-Iran
partnership largely pioneered Iran’s use of proxy forces to conduct terrorist attacks against U.S. troops.
Third, Iran used Hizballah as an agent for providing support to Shia militias in Iraq following the 2003
U.S. invasion.

Iran’s relationship with Hizballah has endured since the Lebanese militant group’s founding. Indeed,
Iran played a role in the group’s founding, dispatching roughly 1,500 IRGC officers (even while mired
in the Iran-Iraq War) to help the budding militant organization.34 This force included military trainers,
fighters, and clerics. Through the IRGC, Iran trained, indoctrinated, and helped to run Hizballah.
Importantly, IRGC also provided Hizballah with “substantial funding,” according to a U.S. Army
Special Operations Command report.35 This funding allowed Hizballah to pay its fighters better than
most militias and provide Lebanon’s Shia community with a range of social services, including
education, healthcare, and generalized welfare. By 1984, the IRGC had “established six military centers
in the Bekaa Valley for training Hizbollah and Islamic Amal fighters.”36 Iran’s recently created MOIS
began providing training to Hizballah, and IRGC provided “operational advice” to Hizballah’s military
wing, including playing “a role planning and supervising” the 1983 attack on the U.S. Marine

31 Ibid.
32 PX236, Pinczuk & Plettner, Unconventional Warfare Case Study, pp. 28-29.
33 I sometimes refer to Hizballah as Lebanese Hizballah to clearly distinguish between that organization and Kata’ib

Hizballah, an Iraqi militant group that I discuss at length in subsequent sections.
34 PX236, Pinczuk & Plettner, Unconventional Warfare Case Study, p. 31.
35 Ibid., pp. 31-32.
36 Ibid., p. 32.

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barracks.37 Iran also reportedly ordered Hizballah to increase its efforts to kidnap foreign citizens,
after which the group kidnapped 51 foreign citizens in Lebanon between late 1982 and June 1986.38

Iran also began to use Hizballah to conduct terrorist attacks outside of Lebanon’s borders. MOIS
worked with Hizballah to conduct a bombing campaign in Paris in 1986.39 American officials have
also publicly alleged that Hizballah carried out two bombings in Argentina with Iran’s assistance: the
1994 bombing of a Jewish community center, the Asociacion Mutual Israelita Argentina (AMIA),
which killed 85 people, and the 1992 bombing of the Israeli embassy in Buenos Aires, which claimed
29 lives.40 Buttressing this claim, an investigation by Argentinian authorities found that a Hizballah
member carried out the AMIA bombing and that “the attack originated with the highest authorities
in the Iranian government.”41 Hizballah and MOIS also worked together on a failed truck bombing
that targeted the Israeli Embassy in Bangkok in 1994.42 These attacks, while far from an exhaustive
list of Hizballah’s terrorist operations across the globe, show that Iran used Hizballah to conduct
terrorist attacks against its enemies beyond Lebanon’s borders.

Iran’s role in Hizballah’s decision-making goes far beyond planning attacks. Two members of
Hizballah’s nine-member leadership council are Iranian, reportedly from Iran’s embassies in Beirut
and Damascus.43 Despite this, and by Iran’s design, operations linked to Hizballah can be disavowed
by Tehran if they prove costly or politically inconvenient.

The IRGC’s Qods Force also directly managed its relationship with Hizballah through an entity
labeled Department 2000. This department focused on providing Hizballah with sophisticated
weapons of Iranian origin, such as military-grade explosively formed penetrators (EFPs), anti-tank
guided missiles, and rockets such as the Fajr-5 and Zelzal-2.44

Hizballah, in turn, would eventually play an important role in assisting Shia militant groups in Iraq.
After the 2003 U.S. invasion, Hizballah established Unit 3800, which was designed to actively support
Iraq’s Shia militant groups that were fighting against U.S. and also multinational forces in Iraq.45 Unit
3800 helped train and advise the Shia militias that would come to be called the “Special Groups.”

The Badr Corps. Iran similarly cultivated a proxy force in Iraq during the Islamic Republic’s early years.
After Iraq invaded Iran in 1980, Iran tried to incite Iraq’s Shia population to overthrow Saddam
Hussein. Iran helped erect the Badr Corps (aka Badr Brigade), which was composed of Iraqi defectors,


37 Ibid., p. 94.
38 Ibid.
39 Ibid., p. 98.
40  PX357, Nathan Sales, U.S. State Department Coordinator for Counterterrorism, “Commemoration of the 25th
Anniversary of the Terrorist Bombing of the AMIA in Buenos Aires,” Remarks before the Foundation for the Defense
of Democracies and the Wilson Center, Washington, D.C., July 12, 2019.
41 PX515, Investigations Unit of the Office of the Attorney General of Argentina, Indictment, AMIA Case, 2006, p. 6,

http://albertonisman.org/wp-content/uploads/2015/03/2006-Nisman-indict-AMIA-full-ENG_.pdf.
42 PX236, Pinczuk & Plettner, Unconventional Warfare Case Study, p. 98.
43 Ibid., p. 69.
44 David Asher & Scott Modell, Pushback: Countering the Iran Action Network (Washington, DC: Center for a New American

Security, 2013), p. 11.
45 Matthew Levitt & Nadav Pollak, “Hezbollah in Iraq: A Little Help Can Go a Long Way,” Washington Institute for Near

East Policy, June 25, 2014, https://www.washingtoninstitute.org/policy-analysis/hezbollah-iraq-little-help-can-go-long-
way.
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Shia men, and even Iraqi prisoners of war who were forced into service.46 The group, which was
formed “under the same model of military discipline as Lebanese Hezbollah,” quickly became the
military wing of the Supreme Council for the Islamic Revolution in Iraq (SCIRI), a Shia political party
operating in Iran and working to export the Iranian revolution to Iraq.47

The Badr Corps fought alongside Iranian forces during the Iran-Iraq War but was largely ineffective.
Following the end of the war, Badr Corps forces returned to Iran, though the Islamic Republic would
periodically activate them in attempts to undermine Iraq’s government. For example, Badr forces
participated in a failed 1991 Shia uprising in southern Iraq.48 Iran also dispatched a few thousand Badr
fighters to Iraq in 1995 during the Kurdish Civil War, which pitted Iraqi Kurdish factions against one
another in the country’s autonomous north.49 The Quds Force also helped the Badr Corps establish
clandestine networks in Iraq in the 1990s that were “tasked with recruiting dissidents, disseminating
propaganda, conducting sabotage, and procuring weapons.”50 According to intelligence reports from
Saddam Hussein’s security services, the Badr Corps received around $20 million a year from the Quds
Force through at least 2001.51 Although SCIRI distanced itself from Iran in 2007, when it renamed
itself the Islamic Supreme Council of Iraq, the Badr Corps chose to preserve its ties with Iran, breaking
away from its parent organization by 2012. This decision by the Badr Corps likely enabled it to
continue receiving Iranian funding and support.52

Through Badr, Iran was able to develop a reliable, experienced proxy force ready to operate in Iraq
following the U.S. invasion. Badr Corps personnel acted as key conduits for funneling weapons to
Iranian agents and other proxies from 2004 to 2011. This was made possible in part by IRGC-trained
Badr members taking control of key positions in the Iraqi government and military “through its
electoral successes, paramilitary power, and patronage networks,” thus allowing it to become “deeply
embedded in the Iraqi state.”53 Notably, Badr members occupied positions in Iraq’s Ministry of
Transportation, Ministry of Interior, and the Federal Police force.54 The Badr Corps’ positions within
these Iraqi government offices also opened the door for Tehran to further influence Iraq’s political
system, shaping it in ways favorable to Iranian interests.55



46 PX622, Borzou Daragahi, “Badr Brigade: Among Most Consequential Outcomes of the Iran-Iraq War,” The Atlantic

Council, August 16, 2018, https://www.atlanticcouncil.org/blogs/iransource/badr-brigade-among-most-consequential-
outcomes-of-the-iran-iraq-war-2/.
47 Ibid.
48 Ibid.
49 Michael Gunter, “Turkey and Iran Face Off in Kurdistan,” Middle East Quarterly (March 1998), pp. 33-40.
50 PX212, Joseph Felter & Brian Fishman, Iranian Strategy in Iraq: Politics and “Other Means” (West Point, NY: Combating

Terrorism Center at West Point, 2008), p. 21.
51 Ibid., p. 21. While information from Saddam Hussein’s security services should be viewed with a skeptical eye, the

Baathists had a clear incentive to understand the true nature of the threat posed by the Badr Corps. As a result, this estimate
provides a relevant picture of Iran’s financial support to the Badr Corps.
52 Mapping Militant Organizations. “Badr Organization of Reconstruction and Development,” Stanford University, last

modified March 2019, https://cisac.fsi.stanford.edu/mappingmilitants/profiles/badr-organization-reconstruction-and-
development.
53 Michael Knights, Crispin Smith, & Hamdi Malik, “Profile: Badr Organization,” Washington Institute for Near East

Policy, September 2, 2021, www.washingtoninstitute.org/policy-analysis/profile-badr-organization.
54 “Chapter Four: Iraq,” in Iran’s Networks of Influence in the Middle East (International Institute for Strategic Studies,

November 2019), https://www.iiss.org/publications/strategic-dossiers/iran-dossier/iran-19-06-ch-4-iraq.
55       Susannah        George,        “Breaking       Badr,”        Foreign      Policy,    November          6,        2014,
https://foreignpolicy.com/2014/11/06/breaking-badr/.
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IV.         The Rise of Jaysh al-Mahdi and Associated Special Groups

In the wake of the 2003 U.S. invasion of Iraq, Iran provided substantial support to an array of Shia
militias. When the United States removed Iraq’s long-time dictator, Saddam Hussein, who relied on a
brutal security apparatus to control the country, a political vacuum was born. While the United States
established the Coalition Provisional Authority to help manage Iraq and erect a new post-Baathist
state, the U.S. sent far fewer troops to stabilize the country post-invasion than the U.S. Army’s
leadership recommended.56 At the same time, U.S. promises to democratize Iraq created an
opportunity for Iraq’s long-repressed Shias, who constituted the country’s largest ethno-religious
group, to gain power. Unsurprisingly, Shia militias began to fill the extant political and security
vacuum.

When the U.S. invaded Iraq, the Badr Corps returned to the country. Iran continued to provide
support to the Badr Corps, which was renamed the Badr Organization following its return to Iraq to
“deemphasize its military nature.”57 Despite the name change and the engagement of its political wing
(SCIRI) in electoral politics, the Badr Organization remained one of the most powerful Shia militias
in Iraq. During the U.S. war in Iraq, the group occasionally clashed with American forces.58

In addition to Iran’s continuing close ties to the Badr Organization, Iran supported a diverse array of
Shia militias following the U.S. invasion, including the Sadrists. Iran’s willingness to champion other
Shia militias largely reflects the Islamic Republic’s response to the Sadrist movement’s local popularity,
eventual fragmentation, and unreliability as an Iranian proxy. Given the group’s local base of support,
Iran tried to coopt the movement and its militia, Jaysh al-Mahdi (JAM), which translates to Army of
the Rightly Guided One. When it fractured due to political disagreements and its leader, Muqtada al-
Sadr, proved to be a less than reliable ally, Iran began to support breakaway factions. Thus,
understanding the Sadrist movement is pivotal to understanding Iraq’s Shia militias and, ultimately,
Iran’s proxy war in Iraq.

Background on the Sadrist Movement
Along with the Badr Organization, the Sadrist movement would lay much of the ideological and
organizational foundation for the Shia anti-American insurgency in Iraq. In examining the Sadrist
movement, a good starting point is Muqtada al-Sadr’s own definition. In Patrick Cockburn’s
sympathetic biography of Muqtada al-Sadr, he notes the response that Muqtada provided when he
was asked to define the movement:

            When he was asked in later years to define what was meant by the “Sadrist Movement,”
            he denied it was a political party. He said it was simply made up of people who
            followed the teachings of Mohammed Sadiq al-Sadr (known as “the Second Martyr”
            or Sadr II). He added that in a broader sense, the movement included anybody who
            honored the “Speaking Hawza” and followed the teachings of Ayatollah Baqir al-Sadr
            (“the First Martyr,” or Sadr I). Both wanted an Islamic society that would prepare the




56 Thom Shanker, “New Strategy Vindicates Ex-Army Chief Shinseki,” New York Times, January 12, 2007.
57 Garrett Nada & Mattisan Rowan, “Part 2: Pro-Iran Militias in Iraq,” Wilson Center, April 27, 2018.
58 Ibid.

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         way for the return of the Imam Mehdi, the redeemer who would end the rule of tyrants
         and establish justice in the world.59

                                                       This definition suggests that it is important
                                                       to understand the rule of Saddam Hussein.
                                                       In 1968, Saddam played a key role in a
                                                       Baathist coup. He was then appointed vice
                                                       president before formally rising to power as
                                                       Iraq’s president in 1979. A key challenge
                                                       Saddam confronted as Iraq’s leader was the
                                                       fact that “Iraq is split by social, ethnic,
                                                       religious, and socioeconomic fault lines:
                                                       Sunni versus Shi’ite, Arab versus Kurd,
                                                       tribal chief versus urban merchant, nomad
                                                       versus peasant.”60 Particularly perilous for
                                                       Saddam, a Sunni, was the fact that the Shia
constituted a majority, and Saddam repressed any people and movements that could unify the Shia
against him.61

It is in this context that the Sadrist movement was born. Ayatollah Baqir al-Sadr (b. 1935), Muqtada’s
father-in-law, was a leading member of Iraq’s Shia clergy, and the founder of the activist Islamic Dawa
Party. After the fall of Iraq’s monarchy in 1958, Baqir wrote two books outlining his view of Islam’s
role in society, one called Falsafatuna (Our Philosophy), and the second called Iqtisaduna (Our
Economics).62 These writings were meant to form the basis for “an Islamic counterattack on Western
capitalism and communism.”63 Another aspect of his counterattack was working with colleagues to
found and build up the Dawa Party in Iraq, which was dedicated to the establishment of an Islamic
state. As Aziz notes, to accomplish this, the Dawa Party would have to “indoctrinate revolutionaries,”
then “fight the corrupt regime” that ruled Iraq.64

The political repression that Baqir and his movement faced grew after the 1968 Baathist coup. Baathist
anxieties about the cleric further increased after Iran’s revolution, as Baqir openly supported the
revolution and Ayatollah Khomeini. In February 1979, Baqir announced a three-day holiday to
celebrate Khomeini’s rise to power.65 In this tumultuous context, Saddam arrested thousands of
people who were Baqir al-Sadr’s followers or Dawa Party members and executed two hundred.
Tensions further spiked in April 1980, when foreign minister Tariq Aziz was attacked during a visit to



59 PX811, Patrick Cockburn, Muqtada: Muqtada al-Sadr, the Shia Revival, and the Struggle for Iraq (New York: Scribner, 2008),

p. 114.
60 R. Stephen Humphreys, Between Memory and Desire: The Middle East in a Troubled Age (Los Angeles: University of California

Press, 1999), p. 78.
61 PX266, U.S. Department of State, Bureau of Democracy, Human Rights, and Labor, “Iraq: A Population Silenced,”

December 2002, https://2001-2009.state.gov/g/drl/rls/15996.htm.
62 For analysis of the significance of these works, see Talib M. Aziz, “The Role of Muhammad Baqir al-Sadr in Shi’a

Political Activism in Iraq from 1958 to 1980,” Occasional Paper, The Institute of Contemporary Islamic Thought, May 1,
1993.
63 PX811, Cockburn, Muqtada, p. 34.
64 Aziz, “The Role of Muhammad Baqir al-Sadr in Shi’a Political Activism.”
65 Ibid., p. 40.

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Mustansiriyya University. Baqir al-Sadr and his sister were arrested in the aftermath and both were
killed by Iraq’s security forces.

A new wave of the Sadrist movement emerged in the 1990s, led by Mohammed Sadiq al-Sadr (Sadr
II). The Sadrist reemergence was facilitated by Saddam himself. In the wake of his disastrous defeat
in the first Gulf War, Saddam launched the “Faith Campaign,” in which the dictator sought to burnish
his image by draping himself in the clothes of piousness. Parallel with his religious rebranding, Saddam
“conceived a plan to install his own candidate as head of the Shia religious hierarchy” after 93-year-
old Grand Ayatollah Abu al-Qasim al-Khoei died in August 1992.66 The regime came to believe that
Mohammed Sadiq al-Sadr was the “perfect” choice, because it viewed him as “weak and easily
controlled.”67

But the regime underestimated Sadr II. He proved to be an unruly and ultimately threatening figure
to Saddam. His Friday prayer sermons served as a powerful direct line to his followers. As his voice
gained popularity, Mohammed Sadiq al-Sadr took an increasingly vocal and antagonistic stance against
the regime’s policies, while being cautious not to be so overt in his opposition as to give Saddam a
pretext to kill him. But in February 1999, Mohammed Sadiq al-Sadr “called for the release of more
than one hundred clergy and students who had been arrested in the wake of the 1991 uprising,” a
demand that “electrified the tens of thousands who attended the mosque in Kufa.”68 A week later,
gunmen assassinated Sadr II as he was returning home from the mosque.

Though Saddam’s regime took Mohammed Sadiq’s life, it blamed both the Iranians and also an
American/Zionist conspiracy for the killing. Muqtada al-Sadr, Mohammed Sadiq’s youngest son, was
not present in the car when the lives of his father and two brothers were taken. Unlike some Saddam-
era dissidents, Muqtada never went into exile outside Iraq, remaining in the country until the dictator’s
fall. Intent on staying alive by appearing unthreatening to the regime, he “sent a letter formally
thanking the government” for its expressions of sympathy following his father’s death.69

                                                             Muqtada al-Sadr’s Rise
                                                             Muqtada al-Sadr led the Sadrist movement after his
                                                             father’s death and founded the Jaysh al-Mahdi
                                                             militia in June 2003. One factor that aided Muqtada
                                                             al-Sadr’s quest for survival is the fact that he lacked
                                                             his father’s religious literacy and authority. Muqtada
                                                             did not finish his seminary education before his
                                                             father’s death, and did not earn the title of mujtahid,
                                                             a senior religious scholar. Vali Nasr wrote that
                                                             Muqtada al-Sadr became known as “Mullah Atari”
                                                             during his time at seminary because “he was better
                                                             at playing video games than dealing with the
                                                             intricacies of Shia law and theology.”70 Patrick

66 PX811, Cockburn, Muqtada, p. 78.
67 Ibid., p. 88.
68 PX679, Marisa Cochrane, The Fragmentation of the Sadrist Movement (Washington, DC: Institute for the Study of War, 2009),

p. 10.
69 PX811, Cockburn, Muqtada, p. 110.
70 Vali Nasr, The Shia Revival: How Conflicts Within Islam Will Shape the Future (New York: Norton, 2006).

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Cockburn counters that such views of Muqtada are inaccurate, and may in fact be based on
disinformation encouraged by Muqtada himself, who “survived by persuading Saddam Hussein that
he was too simple-minded to be a threat.”71 Cockburn writes: “Stories of his incapacity may well have
been spread, and certainly not denied, by his own family in order to keep him alive.”72 Whether Nasr
or Cockburn is correct is beside the point: Whether or not perceptions of Muqtada al-Sadr’s incapacity
are accurate, they certainly were prevalent, and helped him to survive long enough to see the United
States topple Saddam’s regime.

But these perceptions, which lingered even after the fall of Saddam’s regime, did not stop the Sadrist
movement from resurfacing under Muqtada’s leadership after Saddam fell. The International Crisis
Group notes that the fact that Muqtada had stayed in Iraq strengthened him in comparison to
Ayatollah Kadhim al-Ha’iri, Mohammed Sadiq’s designated successor, who had “been based in Iran
since the early 1970s” and thus lacked “any independent Iraqi constituency.”73 In addition to his
relationship with Muqtada’s father, al-Ha’iri was known for having “strong links to the IRGC.”74 In
this way, the perceptions of Muqtada’s weakness paradoxically produced one of his strengths: He was
able to remain in Iraq because Saddam’s regime saw him as relatively unthreatening, and that in turn
gave him street credibility after Saddam fell. Additionally, the International Crisis Group notes that
Muqtada “turned out to be a leader of choice for Hawza dropouts—students who had interrupted
their studies, preferring street politics to pious education—and for whom his lack of education was
an asset that made them feel better about their own.”75

Muqtada was thus particularly well-positioned to exploit the power vacuum created by the U.S.
invasion of Iraq. Al-Ha’iri also ensured that Muqtada quickly became a political force in post-invasion
Iraq. Al-Ha’iri appointed Muqtada as his official representative in Iraq in April 2003. Al-Ha’iri
delegated an extraordinary amount of powers to Muqtada that would normally be reserved only for a
senior scholar, informing Iraqi Shia clerics that “Muqtada al-Sadr is our deputy and representative in
all fatwa affairs” and stating that “his position is my position.”

Al-Hai’iri also called on his followers to “fill the power vacuum in the administration of Iraqi cities.”76
Heeding this call, Sadrists opened offices, mosques, courts, and other institutions.77 Al-Ha’iri also
authorized Muqtada to collect Islamic taxes as practiced by the Shia. Known as khums, these taxes are
typically paid by Shia to local religious organizations. By authorizing Muqtada to receive these taxes,
al-Ha’iri introduced an important source of funding to Muqtada. Muqtada al-Sadr’s followers tried to
enforce the application of strict Islamic law in their strongholds through “intimidation or force.”78


71 PX811, Cockburn, Muqtada, p. 14.
72 Ibid.
73 International Crisis Group, Iraq’s Muqtada Al-Sadr: Spoiler or Stabiliser?, Report N° 55, July 11, 2006,
                                                                                                          p. 8.
74  PX212, Felter & Fishman, Iranian Strategy in Iraq, p. 29.
75 Ibid. In a paper authored for Boston University’s Institute for Iraqi Studies, scholar Abbas Kadhim defines the term

Hawza: “The term ‘Hawza’ is used generally in three ways: first, it is used loosely when speaking about the entire Shi‘a
clerical establishment; second, it is often used to refer to the clerical establishment in a given city—such as the Hawza of
Najaf (Iraq) and the Hawza of Qum (Iran); and third, it is used in a more precise way when referring to the educational
network that is supported by a certain Grand Ayatullah (called marja‘).” Abbas Kadhim, The Hawza Under Siege: A Study in
the Ba‘th Party Archive (Boston: Boston University Institute for Iraqi Studies, 2013), p. 57.
76 PX212, Felter & Fishman, Iranian Strategy in Iraq, p. 29.
77 PX679, Marisa Cochrane, The Fragmentation of the Sadrist Movement (Washington, D.C.: Institute for the Study of War,

2009), p. 12.
78 Ibid.

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Muqtada also began calling for “resistance” to Coalition forces. Over time, these calls transformed
into a campaign of violence against coalition forces and the Sadrists’ domestic political opponents.

The Formation of Jaysh al-Mahdi (JAM)
In the months immediately following the U.S. invasion, the Sadrists sought to assert their control in
some areas by force and tried to eliminate religious and political opposition within the Shia
community. For example, a Sadrist mob stabbed and shot Sheikh Abdel Majid al-Khoei, a prominent
Shia cleric with ties to the U.S.-led coalition, and “reportedly left him to die outside the house of
Muqtada al-Sadr.”79 Sadrists attacked the home of Grand Ayatollah Ali al-Sistani, a prominent Shia
cleric, and demanded that he leave Iraq. That attack ended when “nearby tribal leaders intervened and
compelled the men to stand down.”80

In June 2003, Muqtada al-Sadr named the Sadrists’ militia Jaysh al-Mahdi (Army of the Rightly
Guided One, or JAM). With JAM’s formation, Muqtada “sought to model his organization on
Lebanese Hezbollah, combining a political party with an armed militia and an organization providing
social services.”81

In 2004, Muqtada used the growing military element of his movement to confront coalition forces.
Sadrists engaged in two failed uprisings, which occurred principally in the holy Shia city of Najaf, in
April and August of 2004. The first uprising began on April 4, seemingly in response to the coalition’s
decision to shut down a Sadrist newspaper and arrest one of Muqtada’s top aides.82 The April uprising
included “a combination of Mahdi Army assaults on coalition posts, Iraqi government offices and
police stations, violent demonstrations and attacks on lines of communication.”83 This coordinated
effort by the Sadrists enabled the movement to seize control of several cities, such as Kufa and Kut,
in addition to parts of Najaf and Karbala. These gains would be short-lived. Muqtada al-Sadr’s militia
proved to be no match for the better trained, equipped, and supported coalition forces. In May 2004,
after suffering heavy battlefield losses, Muqtada agreed to a ceasefire.

Hostilities reignited in August 2004. Muqtada al-Sadr’s JAM forces again suffered heavy losses, but
the conflict became a stalemate when Muqtada and his fighters retreated to the Imam Ali Mosque.
This was a canny move, as “U.S. troops were unwilling to attack the mosque itself for fear of inciting
wider rebellion, and Iraqi commanders were worried that troops would desert en masse if ordered to
assault such a revered site.”84

Nonetheless, there was a great pressure on Muqtada to cut a deal. Some of this pressure came from
Muqtada’s Iranian backers, who did not want this armed conflict to disrupt upcoming elections where
they expected Iraq’s Shia to make significant gains. Thus, “Iranian diplomats arrived in Baghdad to
help negotiate a solution to the crisis, and Iran’s President Mohammad Khatami publicly criticized al-
Sadr’s uprising as a threat to Shi’a people and shrines in Najaf.”85 Iranian-backed Ayatollah Kadhim


79 Ibid., p. 13.
80 Ibid.
81 Ibid.
82 Jeffrey White & Ryan Philips, “Sadrist Revolt Provides Lessons for Counterinsurgency in Iraq,” Jane’s Intelligence Review,

August 2004, p. 23.
83 Ibid.
84 PX212, Felter & Fishman, Iranian Strategy in Iraq, p. 33.
85 Ibid.; see also John Burns et al., “Iranians in Iraq to Help in Talks on Rebel Cleric,” New York Times, April 15, 2004.

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al-Ha’iri publicly broke with Muqtada at this time, a move “clearly done with the consent and support
of the Iranian leaders.”86

A ceasefire was brokered by Grand Ayatollah Sistani. Under the truce, Najaf became a “demilitarized
zone,” which was seen by Muqtada’s followers as a defeat. As analyst Marisa Cochrane explains, “The
Sadrists had lost Najaf. In the immediate aftermath of their perceived defeat, Muqtada al-Sadr and
much of the Sadrist movement went into hiding for several months.”87 Some prominent JAM leaders,
as well as many rank-and-file fighters, disagreed with Muqtada’s decision to agree to the ceasefire.

Even after the organization experienced significant losses in 2004, JAM members continued targeting
Sunni civilians and other non-combatants.88 However, JAM’s failed uprisings fractured the Sadrist
movement and some militants frustrated with Muqtada formed rival organizations. Others created
more informal groups akin to violent gangs. The most significant group in the former category was
Qais al-Khazali’s Asa’ib Ahl al-Haq (League of the Righteous).

Asa’ib Ahl al-Haq’s Formation
Following the failed uprisings, Qais al-Khazali, Muqtada’s spokesman, broke ranks and formed a
separate militant group. Khazali had longstanding and deep ties to the Sadrist movement. A former
star pupil of Mohammed Sadiq al-Sadr (Sadr II), he was one of the young clerics who helped maintain
the Sadrist movement between 1999 and 2003 after Mohammed Sadiq’s assassination.89 When the
movement regained public prominence in 2003, Khazali became one of its leaders.

During the second wave of violence between JAM and Coalition forces in August 2004, a dispute
arose between Muqtada al-Sadr and Qais al-Khazali. Cochrane writes:

         During the battle, Khazali reportedly clashed with Sadr over strategy and issued his
         own orders to militia fighters without Muqtada’s approval. When the fighting ended
         in September 2004, he returned to Sadr City and continued to direct his group in
         attacks against Coalition Forces. In October, Qais Khazali along with Abd al-Hadi al-
         Darraji and two other senior Sadrist leaders were ignoring the ceasefire agreement and
         weapons buyback program that Muqtada al-Sadr brokered with the Iraqi government.
         Khazali appeared to have control over a segment of those who formerly fought
         alongside Muqtada and JAM and to have attracted other senior leaders of the
         movement to him, and away from Muqtada.90

The differences between Qais al-Khazali and Muqtada al-Sadr seemingly extended beyond military
strategy and included the direction of the movement as a whole, resulting from “conflicting values.”91

86 Nazila Fathi, “Ex-Mentor of Rebel Iraqi Cleric Breaks from His Protégé,” New York Times, September 5, 2004.
87 PX679, Cochrane, The Fragmentation of the Sadrist Movement, p. 14.
88 See, for example, “Dozens Killed in Baghdad Attacks,” BBC News, July 9, 2006.
89 Anthony Shadid, Night Draws Near: Iraq’s People in the Shadow of America’s War (New York: Henry Holt and Co., 2005), p.

172; PX212, Felter & Fishman, Iranian Strategy in Iraq, p. 34.
90 PX677, Marisa Cochrane, “Asaib Ahl al-Haq and the Khazali Special Groups Network,” Institute for the Study of War

Backgrounder #38, January 13, 2008, p. 2.
91 According to a Multi-National Force – Iraq paper from April 2007, Qais al-Khazali’s brother, Laith, said in a debriefing

following his capture that the differences between Qais al-Khazali and Muqtada “resulted from conflicting values.” PX950,
Multi-National Force – Iraq Combined Intelligence Operations Center Information Paper 314, “Summary of Debriefings
of Qays Khazali and Associates – Part One,” April 8, 2007.
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Qais al-Khazali reportedly “believed Sadrists should focus on religion and the Hawza should remain
separate from government politics, while Sadr used his position to politicize both religion and the
Hawza.”92

Qais al-Khazali and his followers thus formed Asa’ib Ahl al-Haq (League of the Righteous, or AAH).
In an interview he gave to the Saudi-owned magazine Al-Majalla in February 2010, deputy AAH leader
Akram al-Kabi validated that the second Najaf uprising served as the genesis for AAH’s independent
emergence. Kabi provided a first-hand account of the group’s birth, noting that AAH

            was founded after the end of Najaf battle in 2004. This was due to several reasons,
            including occupation forces violating Iraq’s security, pursuing their arrogance, looting
            the country’s wealth, and controlling the political situation. At the same time, Muqtada
            al-Sadr decided to halt military operations, though a large number of field commanders
            joined the resistance hoping that it would continue.

            Thus, we have worked on arranging our ranks independently, and we tried hard to
            change the method of resistance, based on our experiences in battles against the
            occupation in 2004. During those battles, I and Sheikh Qais Khazuali were general
            supervisors on the army of Imam Mahdi—May God hasten his glad advent—during
            their resistance to the occupation at the time. I was leading the battle in Najaf, and
            Sheikh Qais Khazuali was leading the battle directly in Baghdad. We commissioned
            fellow Mujahedeen to do the same in the other provinces…Our new approach was to
            work in guerrilla-style as a strategic principle, which is very different from the way the
            battle was run previously regarding the tactical and security aspects and methods of
            combat in general.93

AAH’s formation did not immediately result in a publicly announced split from Muqtada and JAM by
Khazali and his faction. But it is clear that Khazali and his followers began to operate autonomously
after 2004.94

Though AAH nominally remained part of the Sadrist movement, the group’s leaders—Qais al-
Khazali, Akram al-Kabi, Abd al-Hadi al-Darraji, and Mohammed al-Tabatabai—at times defied
Muqtada’s orders. In March 2005, Khazali and Muqtada al-Sadr apparently reconciled, albeit
temporarily, when al-Sadr named Qais al-Khazali and Akram al-Kabi as two of the four leaders who
would supervise the Office of the Martyr al-Sadr.95 But Muqtada’s growing involvement in Iraqi

92 Ibid.
93 “Terrorists or Liberators?,” Majalla, February 8, 2010, http://eng.majalla.com/2010/02/article5515565/terrorists-or-

liberators.
94 As is the case for many VNSAs, they were known by several different names early on, which created some confusion

about the group’s identity. Alternative names used to describe the group included Ahl al-Kahf (“People of the Cave”),
Asa’ib Ahl al-Haq, the Khazali Special Groups Network, the Khazali Network, and the Khazali Faction. During the group’s
early years, many analysts and officials used the term “Special Groups” to refer to AAH. However, the Special Groups
designation ultimately referred to several actors (as outlined in the succeeding sections), including militias distinct from
AAH. As such, when reviewing sources from this time, it can be difficult to determine when the term Special Groups was
referring to the broader range of Iran-backed Shia militias or referencing AAH. However, given that AAH was considered
one of the largest of the Special Groups, even in cases where the term Special Groups may be referring to the broader
range of actors, it is safe to assume that the reference encompasses AAH.
95 PX679, Cochrane, The Fragmentation of the Sadrist Movement, p. 18. The Office of the Martyr al-Sadr is the political/social

wing of the Sadrist movement.
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politics caused JAM to continue to fray, as it produced resentment within the organization.96 Some
JAM members became increasingly independent and defiant. But for AAH and other major splinter
groups, defiance of Muqtada did not translate into defiance of Iran. Indeed, Iran saw AAH’s break
with Muqtada as a significant opportunity. A declassified U.S. Army memorandum recounts that in
August 2006:

         Qayis [Khazali] led a delegation to Tehran to discuss the situation in Iraq and
         Iranian support for JAM. According to reporting, Ali Khomeini met with Qais
         and recruited him to lead a special group known as Asayb al-Haq, or the K2
         network. The K2 network would operate without the knowledge or authorization of
         MAS [Muqtada al-Sadr]. Qayis agreed. Iran was interested in working with Qayis
         because of his influence on MAS. Layth [Qais al-Khazali’s brother] served as a liaison
         between the secret network formed by Qayis and the Iranians. In this position, Layth
         traveled frequently between Iraq, Iran and Syria.97

AAH in turn received financial and other types of support from Iran through IRGC-QF, as well as
somewhat more indirectly through Hizballah. Illustrating the web of relationships, Ali Musa Daqduq,
a senior Hizballah operative, provided training to AAH fighters. In May 2006, Daqduq travelled to
Iran with Youssef Hashim, the head of Hizballah Special Operations. There, Daqduq and Hashim
received guidance from Abdul Reza Shahlai, IRGC-QF’s external operations director, as well as from
IRGC-QF’s commander Qasem Soleimani. These IRGC-QF leaders instructed Daqduq to travel in
and out of Iraq to lead training and report on progress made in arming and training Shia militant
groups “in mortars and rockets, manufacturing and employing IEDs, and kidnapping operations.”98
Daqduq because the chief advisor and IRGC-QF liaison for AAH leader Qais al-Khazali by June
2006.99

The Rise of Special Groups
The splintering of JAM and the emergence of groups like AAH accelerated further after open sectarian
violence took hold in Iraq. In February 2006, the Zarqawi organization, which is discussed at length
in the next section of this report, bombed the Askariya Mosque in Samarra, destroying its famous
golden dome. The mosque’s importance to the Shia community was underscored by Iraqi vice
president Adel Abdul Mahdi, who likened the attack to 9/11.100 Some observers believe this attack
dramatically reshaped the war, while others think that it was an indicator of already existing instability
rather than a trigger.101 Regardless, it is clear that the mosque attack did produce a ripple effect. Shia
reprisals against Sunnis were swift and largely indiscriminate. Further, the Sunnis struck back, often
with the Zarqawi organization, then known as al-Qaeda in Iraq (AQI), taking the lead. The fact that


96 Peter Beaumont, “Inside Baghdad: Last Battle of a Stricken City,” Guardian (London), September 17, 2006; “U.S.: Iraq

Failing to Tackle Death Squads,” Guardian (London), September 29, 2006.
97 PX934, Evidentiary Document, Report of Interrogation of Qais Khazali, August 13, 2007, at 324 (emphasis added).
98 Stephen Wicken & Kim Dudine, “Timeline: Ali Mussa Daqduq,” Institute for the Study of War, November 21, 2012,

https://www.understandingwar.org/backgrounder/timeline-ali-mussa-daqduq.
99 Ibid.
100 Ellen Knickmeyer & K. I. Ibrahim, “Bombing Shatters Mosque in Iraq,” Washington Post, February 23, 2006.
101 Taking the latter position is Thomas E. Ricks, The Gamble: General David Petraeus and the American Military Adventure in

Iraq, 2006–2008 (New York: Penguin Press, 2009), p. 33 (noting that “according to the United States military’s database
of ‘significant acts,’ violence had increased at a steady pace since March 2005 and would continue to increase at about the
same pace after the mosque bombing until peaking in June 2007”).
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AQI came to the fore of the Sunni insurgency during this period has been verified by former
insurgents.102

One of the most perceptive studies written about Iranian policy toward Iraq during this period, and
its sponsorship of Shia groups like JAM and AAH, is Joseph Felter and Brian Fishman’s 2008 report
Iranian Strategy in Iraq.103 In their report, Felter and Fishman explain that a new group of “loosely
organized” Shia militias called the “Death Squads” had surfaced, quickly becoming some of the “most
feared groups in Iraq.”104 Felter and Fishman explain that “some of these groups were simply groups
of young Shi’a participating in semi-organized violence against Sunnis. But some of the Death Squads
had evolved out of the JAM splinter groups that began leaving the formal Sadrist movement in mid-
2004.”105

These JAM splinter groups came to be known as “Special Group Criminals” (SGCs) by U.S.
commanders.106 There are two significant aspects to this designation. First, the term SGCs is indicative
of how the term Special Groups was employed by the U.S. government to describe splinter groups from
JAM during this period. Second, it may also indicate that AAH was involved in some of the grislier
aspects of the sectarian revenge killings that gripped Iraq. Indeed, Felter and Fishman write that “many
of the SGCs looked to Qais Khazali, al-Sadr’s former spokesman, for political guidance.”107

Though many SGCs indeed looked to Khazali, the U.S. government and analysts began referring to a
host of Shia militant groups backed by Iran as “Special Groups,” and many lacked AAH’s ties to the
Sadrist movement.108 This penchant for broadly describing Iran-backed Shia militias as “Special
Groups” likely reflected the evolving and fluid nature of the Shia insurgency, in which it was often
challenging to distinguish between an AAH operation and the operation of another Shia group. Chief
among these “Special Groups” without deep ties to Muqtada al-Sadr was Kata’ib Hizballah (The
Brigades of the Party of God).

Kata’ib Hizballah grew under the leadership of Abu Mahdi al-Muhandis (Jamal al-Ibrahimi), and
according to Michael Knights of the Washington Institute for Near East Policy think tank, the group
is “firmly under IRGC Qods Force control and maintains relatively good operational security.”109 After
working with the Quds Force to target the U.S. and French Embassies in Kuwait in the 1980s, al-

102 Ibid., p. 36.
103 PX212, Joseph Felter & Brian Fishman, Iranian Strategy in Iraq: Politics and “Other Means” (West Point, NY: Combating

Terrorism Center at West Point, 2008). At the time, Felter was an active-duty colonel and a national security affairs fellow
at Stanford University’s Hoover Institution, while Fishman served as the director of research at the Combating Terrorism
Center at West Point and an assistant professor in the U.S. Military Academy’s department of social sciences. The
Combating Terrorism Center at West Point is a research institute that provides training, research, and analysis to the
highest levels of government and academia. The institution serves as a nexus for academic and counterterrorism
practitioner collaboration, particularly through its peer-reviewed journal, CTC Sentinel, and its Harmony database, which is
an open-source collection of primary-source documents that provide an inside look at militant groups’ inner structural
dynamics.
104 Ibid., p. 43.
105 Ibid.
106 Ibid., p. 44.
107 Ibid.
108 PX250, Michael Knights, “Iran’s Expanding Militia Army in Iraq: The New Special Groups,” CTC Sentinel 12:7 (August

2019), https://ctc.usma.edu/irans-expanding-militia-army-iraq-new-special-groups/.
109 PX251, Michael Knights, “The Evolution of Iran’s Special Groups in Iraq,” CTC Sentinel 3:11 (November 2010),

https://ctc.usma.edu/the-evolution-of-irans-special-groups-in-iraq/.
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Muhandis joined the Badr Corps and fought against Saddam’s regime. By 2001, he had become one
of the deputy commanders of the group. Though Muhandis was elected to Iraq’s parliament in 2005,
within two years revelations about his role in the Kuwait embassy bombings led Muhandis to flee to
Iran.110 Muhandis formed Kata’ib Hizballah in early 2007, apparently after his escape to Iran.111 In
these early days of Kata’ib Hizballah, the group managed to use Lebanese Hizballah instructors “to
prepare this group and certain Jaysh al-Mahdi Special Groups for attacks against Coalition Forces in
Iraq.”112 According to Michael Knights, the group also became “a vehicle through which the IRGC
Qods Force could deploy its most experienced operators and its most sensitive equipment.”113 In
2009, the U.S. State Department designated Kata’ib Hizballah as a foreign terrorist organization.114
The State Department’s designation of Kata’ib Hizballah noted the following about the group’s use
of IEDs, rockets, and sniper attacks to target U.S.-led forces:

         The organization has been responsible for numerous violent terrorist attacks since
         2007, including improvised explosive device bombings, rocket propelled grenade
         attacks, and sniper operations. Kata’ib Hezbollah also targeted the International Zone
         in Baghdad in a November 29, 2008 rocket attack that killed two UN workers. In
         addition, KH has threatened the lives of Iraqi politicians and civilians that support the
         legitimate political process in Iraq. 115

Another of the Special Groups, the Sheibani Network, likewise rose to prominence under the
leadership of an ex-Badr commander, Abu Mustafa al-Sheibani. According to Qais al-Khazali, Iran
dispatched Sheibani to Iraq to forge an alliance with the Sadrists in the aftermath of the U.S. invasion.
Khazali stated that Sheibani “failed miserably in attracting interest from the Sadrists.”116 Nonetheless,
Sheibani later led his own pro-Iran militia in Iraq that launched extensive attacks against U.S. forces.
According to the U.S. Treasury Department when it sanctioned Sheibani in January 2008:

         Iran-based Abu Mustafa Al-Sheibani leads a network of Shia extremists that commit
         and provide logistical and material support for acts of violence that threaten the peace
         and stability of Iraq and the Government of Iraq. Al-Sheibani’s Iran-sponsored
         network was created to affect the Iraqi political process in Iran’s favor. The network’s
         first objective is to fight U.S. forces, attacking convoys and killing soldiers. Its second
         objective is to eliminate Iraqi politicians opposed to Iran’s influence. Elements of the
         IRGC were also sending funds and weapons to Al-Sheibani’s network.

         Al-Sheibani’s network—consisting of several hundred members—conducted IED
         attacks against Americans in the Baghdad region. As of March 2007, Al-Sheibani,
110 James Glanz & Marc Santora, “Iraqi Lawmaker Was Convicted in 1983 Bombings in Kuwait That Killed 5,” New York

Times, February 7, 2007.
111 PX365, Jeffrey Feltman & Daniel Benjamin, U.S. State Department Assistant Secretary for the Bureau of Near Eastern

Affairs and Counterterrorism Coordinator, “Assessing the Strength of Hizballah,” testimony before the U.S. Senate
Committee on Foreign Relations, June 8, 2010, https://www.foreign.senate.gov/imo/media/doc/060810%20Feltman-
Benjamin%20Testimony.pdf.
112 Ibid.
113 PX251, Knights, “The Evolution of Iran’s Special Groups in Iraq.”
114 PX22, U.S. Department of State, Bureau of Counterterrorism, “Foreign Terrorist Organizations,” accessed March 5,

2021, https://www.state.gov/foreign-terrorist-organizations/.
115 Ibid.
116 PX951, Multi-National Force – Iraq, Shi’a SDE, “Tactical Interrogation Report: Qais Hadi Said al-Khazali,” May 30,

2008, p. 3, https://www.aei.org/wp-content/uploads/2018/08/Enclosure-TAB-A-Documents-for-Release-49-66.pdf.
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         known to transport Katyusha rockets to be used for attacks against Coalition Forces,
         launched rockets against Americans and made videos of the attacks to get money from
         Iran. As of April 2007, a member of Al-Sheibani’s network supervised the transport
         of money and explosives from Iran for eventual arrival in Baghdad. In early May 2007,
         Al-Sheibani’s network assisted members of a Shia militia group by transporting them
         to Iran for training and providing them with weapons for their activities in Iraq.

         Additionally, Al-Sheibani commands several pro-Iranian insurgent groups in southern
         Iraq that work to destabilize Iraq and sabotage Coalition efforts. These groups use a
         variety of weapons, to include mortars, Katyusha rockets, and anti-tank landmines.
         Ordered by IRGC headquarters to create disorder, the task of these groups is to attack
         bases of Coalition Forces in southern Iraq, particularly British forces.117

During his interrogation by coalition forces after he was captured, Qais al-Khazali alleged that
Sheibani’s “resistance group belongs to” Ayatollah Khamenei and said that the members of Sheibani’s
network were “well-trained” and “specialize in attacks against CF [Coalition forces].”118

JAM Becomes Promised Day Brigade
As the Sadrist movement fractured, Muqtada al-Sadr became more deeply involved in electoral
politics. Muqtada’s movement became part of a political coalition with the Badr Organization, SCIRI,
and the Dawa Party. This coalition won the 2005 parliamentary elections in Iraq. As sectarian violence
raged in the wake of the Askariya bombing and many Sadrists joined the roving death squads,
Muqtada’s new role in Iraqi politics led him to distance himself from the violence, and he expelled 40
JAM commanders in October 2006. Felter and Fishman write that this move “was largely symbolic
because al-Sadr could not break those commanders’ ties to their cell members, or prevent them from
launching attacks independently,” but it nonetheless represented his “attempt to define what violence
should be attributed to him.”119 Summarizing the situation, Felter and Fishman write that “Al-Sadr
was walking a very fine line. Some viewed his political participation as a betrayal, but he was still at
odds with the established Shi’a political elite, who viewed his uneducated followers with disdain.”120
This context helps explain Muqtada’s decision in mid-2008 to disband JAM, only to create “a small,
secretive military arm to fight Coalition Forces in June” dubbed the Promised Day Brigade.121

V.       Iranian Material Support to Shia Militias in Iraq

The State Department’s Country Reports on Terrorism from 2006, 2007, 2008, and 2009—when the
attacks at issue in this case occurred—all concluded that “Iran remained the most active state sponsor
of terrorism.”122 Iranian support to Shia militias in Iraq featured prominently in those reports, and for

117 PX67, U.S. Treasury Department, press release, “Treasury Designates Individuals, Entity Fueling Iraqi Insurgency,”

January 9, 2008, https://www.treasury.gov/press-center/press-releases/pages/hp759.aspx.
118 PX951, Multi-National Force – Iraq, Shi’a SDE, “Tactical Interrogation Report: Qais Hadi Said al-Khazali,” May 30,

2008, p. 2, https://www.aei.org/wp-content/uploads/2018/08/Enclosure-TAB-A-Documents-for-Release-49-66.pdf.
119 PX212, Felter & Fishman, Iranian Strategy in Iraq, p. 44.
120 Ibid., p. 45.
121 Bill Roggio, “Iraqi Troops Capture Mahdi Army Military Leader,” Long War Journal, December 9, 2009,

https://www.longwarjournal.org/archives/2009/12/iraqi_troops_capture_1.php.
122    PX202, U.S. Department of State, Country Reports on Terrorism (2006), https://2009-
2017.state.gov/j/ct/rls/crt/2006/82736.htm; PX203, U.S. Department of State, Country Reports on Terrorism (2007),
https://2009-2017.state.gov/j/ct/rls/crt/2007/103711.htm; PX204, U.S. Department of State, Country Reports on Terrorism
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good reason. Iran provided substantial material support to Shia militia groups in Iraq, including JAM,
AAH, and the various Special Groups, in the form of weapons, training, financing, safe haven, and
assistance in planning attacks. Iran intended for this support to help kill and injure U.S. service
members and civil servants. By harming U.S. personnel, Iran aimed to further a series of foreign policy
objectives, including dissuading the U.S. from invading Iran, weakening U.S. forces in Iraq, and
allowing Iran to heavily influence Iraqi politics. This section details Iran’s support for a constellation
of anti-American Shia militia groups in Iraq.

Iran’s Proxy War against the U.S. in Iraq Takes Shape
Iranian support for Iraqi Shia militias against coalition forces began as early as 2003. Planning for this
support seemingly began in 2002, even before the U.S. invasion. One early detailed report on the
contours of Iranian support for insurgent factions was written by Australian journalist Michael Ware,
appearing in Time in August 2005, under the title “Inside Iran’s Secret War for Iraq.”123 The sources
for Ware’s report included “documents smuggled out of Iran and dozens of interviews with U.S.,
British and Iraqi intelligence officials, as well as an Iranian agent, armed dissidents and Iraqi militia
and political allies.” Ware’s reporting showed that Iranian plans to “penetrate” Iraq following the
American invasion dated to September 9, 2002, when Supreme Leader Ayatollah Ali Khamenei and
his war council decided to create a policy to prevent any dangers to Iran that might result from the
impending U.S. regime-change operation in Iraq.124

Consistent with Ware’s reporting, Washington Institute for Near East Policy scholar Michael Knights
notes, based on his analysis of primary source documents, that the Iraqi government’s pre-2003
intelligence reporting on Iran’s use of proxies concluded that “the IRGC Qods Force had already
anticipated the need to split its support between groups that would ‘work openly’ and others that
would ‘work secretly’ in a post-invasion Iraq.”125 Though intelligence produced by Saddam’s regime is
notoriously questionable, Knights assesses the report in question, “Study About the Disloyal Badr
Corps 9,” as “well-sourced and accurate in many respects,” including in anticipating Iran’s dual-tracked
strategy of public support for some organizations in post-Saddam Iraq (such as the Islamic Supreme
Council of Iraq, the Badr Organization, and the Dawa political party) while covertly backing others.126
This assessment from Saddam’s security apparatus also aligns with the public statements and actions
of high-level Iranian officials.

Indeed, Iran itself publicly broadcasted a strategy of targeting American personnel and interests in the
region in response to perceived threats. IRGC Brigadier General Mohammad Zolqadr publicly
warned: “If the Americans show madness and attack us, we will not defend ourselves only within our
borders.”127 Iran’s extensive support for Shia militia groups in Iraq was not a haphazard, post-invasion
response. It was planned and approved at the highest levels of the Iranian government.


(2008), https://2009-2017.state.gov/j/ct/rls/crt/2008/122436.htm; PX205, U.S. Department of State, Country Reports on
Terrorism (2009), https://2009-2017.state.gov/j/ct/rls/crt/2009/140889.htm.
123 Michael Ware, “Inside Iran’s Secret War for Iraq,” Time, August 15, 2005.
124 Ibid.
125 PX251, Michael Knights, “The Evolution of Iran’s Special Groups in Iraq,” CTC Sentinel 3:11-12, November 2010. The

Arabic-language report that Knights references was released by the Combating Terrorism Center at West Point, and can
be found at https://ctc.usma.edu/app/uploads/2013/10/ISGQ-2005-00038283-Original.pdf.
126 PX251, Knights, “The Evolution of Iran’s Special Groups in Iraq.”
127 Afshon Ostovar, Vanguard of the Imam: Religion, Politics, and Iran’s Revolutionary Guards (New York: Oxford University

Press, 2016), p. 171.
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As this plan came to fruition, it became clear that Iran’s covert support to Shia militia groups mirrored
its overt support to Shia political groups. Iran invested in and supported an array of allies in Iraq,
including proxy forces. As previously discussed, Iran was already supporting the Badr Corps prior to
the U.S. invasion. Though the Badr Corps was Iran’s primary Iraqi surrogate before the U.S. invasion,
Iran ramped up support for Muqtada al-Sadr and JAM after the war began. In the summer of 2003,
shortly before Muqtada announced JAM’s formation, he and three of his advisors visited Tehran.128
During the visit, Muqtada reportedly met with Supreme Leader Ayatollah Ali Khamenei, former
president Ali Akbar Hashemi Rafsanjani, and Ayatollah Mahmoud Hashemi Sharaoudi, as well as
other notable figures such as Brigadier General Murtada Reza’i, head of the IRGC’s intelligence
service, and Brigadier General Qasem Soleimani, who commanded the IRGC’s Quds Force, and
whose portfolio included Iraqi affairs.129 According to a former IRGC brigadier general who went by
the pseudonym “Haj Reza” when he spoke to the London-based Arabic-language daily newspaper Al-
Sharq al-Awsat in 2008, Iran began training large numbers of JAM fighters after this meeting in 2003.
Reza explains: “Iran received the al-Mahdi army personnel in the hundreds. They came to Iran in
groups, with each group consisting of 50-100 youths mostly from al-Najaf, al-Sadr City, and Basra,
through unmonitored areas on the border.”130

JAM proved to be a useful mechanism for disrupting the U.S.’s efforts in Iraq. But Iran was also wary
of Muqtada. His popular support coupled with his unpredictability made him a risky investment. Iran
thus sought to acquire other, more reliable Iraq-based allies. The emergence of Qais al-Khazali and
AAH as a force that could act independently of Muqtada provided Iran with another investment
opportunity. Khazali and AAH presented Iran “the ability to disrupt Iraq with fewer political
complications.”131 Iran thus began supporting AAH in 2004, in addition to Muqtada and JAM.132 AAH
quickly established itself as one of the largest and most capable of the Special Groups.

When the Badr Corps rebranded itself as the Badr Organization in 2003 and entered Iraqi politics,
“Iran encouraged extremists to splinter off and form their own militant groups,” mirroring tactics that
it would employ repeatedly in the Iraq theater.133 Two such Iranian-backed Badr offshoots were the
previously discussed Sheibani Network, led by Abu Mustafa al-Sheibani, and Kata’ib Hizballah, led by
Abu Mahdi al-Muhandis.

Iran’s Direct and Indirect Support for Shia Militant Groups
Iran’s support for JAM and the Special Groups took place both through direct arms of the Iranian
state like the Quds Force and MOIS, and also by non-state proxies like Lebanese Hizballah. But
whether direct or indirect, Iran was deeply involved in providing this material support. A highly
detailed U.S. Army report sets out the extent of this Quds Force activity in Iraq:

128 Michael R. Gordon & Bernard E. Trainor, The Endgame: The Inside Struggle for Iraq, From George W. Bush to Barack Obama

(New York: Pantheon Books, 2012), p. 101.
129 PX670, Kimberly Kagan, “Iran’s Proxy War Against the United States and the Iraqi Government,” Iraq Report, May

2006-August 20, 2007; PX614, Ali Nuri Zadah, “Iranian Source: Revolution Guard Trains 1,000 Muqtada al-Sadr
Supporters on Guerilla Warfare, Explosions [Arabic],” Al-Sharq al-Awsat (London), April 9, 2004.
130 PX613, Ali Nuri Zadah, “Former Iranian General Talks About Hizballah’s Training of Iraqis in Iran Camps [Arabic],”

Al-Sharq al-Awsat (London), May 8, 2008.
131 PX212, Felter & Fishman, Iranian Strategy in Iraq, p. 35.
132 PX963, U.S. Department of State, Bureau of Near Eastern Affairs, “Iraq Weekly Status Report,” July 4, 2007, slide 6,

https://2001-2009.state.gov/documents/organization/88160.pdf.
133 Matthew Levitt & Phillip Smyth, “Kataib al-Imam Ali: Portrait of an Iraqi Shiite Militant Group Fighting ISIS,”

Washington Institute for Near East Policy, January 5, 2015.
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         The Quds Force and its Iraqi surrogates were the primary instruments employed by
         the Iranian regime to wage a proxy war against the United States at minimal cost….
         The politically influential [Major General Qassem] Soleimani [who commanded
         IRGC-QF] reported directly to Iran’s supreme leader and oversaw a carefully
         organized and sustained cross-border operation. His subordinate Ramazan Corps
         managed the effort in Iraq, with three subcommands responsible for the northern,
         central, and southern sectors, respectively. Two to three regional offices operated out
         of each sector. Hundreds of agents were involved, not least Iranian ambassador to Iraq
         Hassan Kazemi Ghomi, who served as an undercover Quds Force officer. The
         consulate in Basrah functioned as a similar hub of covert activity for Soleimani.134

Bill Roggio of the Long War Journal provides additional detail on the Ramazan Corps:

         The Ramazan Corps is based out of the Ramazan Command Center in Tehran, but
         information obtained by The Long War Journal indicates significant elements have
         forward deployed to Mehran on the border [with Iraq] to coordinate activities.

         The Ramazan Corps is split into three separate commands – Nasr, Zafar, and Fajr….

         The Long War Journal confirmed this information with a spokesman at Multinational
         Forces Iraq, which was hesitant to provide additional information on the Ramazan
         Corps. “At this particular time MNF-I is only prepared to confirm the names of the
         three commands that are subordinate to Ramazan Corps and that [Mahmudi] Farhadi
         is the Commander of the Zafar Command,” said Lieutenant Commander Kevin S.
         Anderson.

         The Nasr Command is based in Marivan in the Iranian north and deals with operations
         in the Kurdish regions and portions of Diyala province [in Iraq]. The Zafar Command
         is based in Mehran in central Iran, and deals with operations in central Iraq, including
         Baghdad, Najaf, Karbala, Babil, Wasit, and portions of Diyala province.

         The Fajr Command is based in Ahvaz in the south, although information obtained
         by The Long War Journal indicated command elements have moved forward to bases in
         Khorramshahr and Shalamcheh to direct operations. The Fajr Command directs
         operations in Basrah, Dhi Qhar, Maysan, and Muthanna [in Iraq].

         Inside Iraq, the city of Amarah in Maysan province serves as a Qods Force / Ramazan
         Corps command and control center as well as one of the major distribution points for
         weapons in southern Iraq.135

While the Quds Force and Iranian intelligence had a heavy hand in Iran’s proxy war in Iraq, Iran also
made use of Lebanese Hizballah in the Iraq theater for several reasons. First, Hizballah has extensive
experience with guerilla, insurgent, and general paramilitary activities. Indeed, the instruction that

134 PX242, Joel Rayburn et al., The U.S. Army in the Iraq War: Volume 2 – Surge and Withdrawal (Carlisle, Pa.: U.S. Army War

College Press, 2019), p. 66.
135 Bill Roggio, “Iran’s Ramazan Corps and the Ratlines into Iraq,” Long War Journal, December 5, 2007.

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Hizballah provided to Iraqi insurgents included classroom-style lessons about past operations carried
out in Lebanon, along with other matters intimately related to Hizballah’s militant experience.136
Second, using Hizballah gave Iran some degree of deniability about the depth of its involvement in
insurgent activities. Third, Hizballah trainers helped to negotiate the tricky cultural divide between
Persian Iran and Arab Iraq. Basic differences, such as Iranians’ unfamiliarity with Arabic and their
perceived lack of respect for Iraqis, divided Iranians and Iraqis, and made Lebanese Hizballah more
palatable to many Iraqi insurgents.137

Iranian Provision of Weapons to Shia Militias
Iran’s efforts to arm Shia militias constituted perhaps Iran’s most lethal and most visible form of
support. Though Iran provided these militias with a range of weapons, Iran’s decision to supply them
with sophisticated explosives made the militias significantly more lethal. According to U.S.
government reports and press reports, Iran’s arming of these militias began soon after the U.S.
invasion and continued through the period when the attacks at issue occurred.

By 2004, U.S. intelligence reports showed that Iranian agents were responsible for smuggling
“weapons and ammunition across the border into Iraq,” then distributing “them ‘to individuals who
wanted to attack coalition forces.’”138 The U.S. government validated these claims at the highest levels.
In August 2005, U.S. Defense Secretary Donald Rumsfeld stated, “It is true that weapons clearly,
unambiguously, from Iran have been found in Iraq.”139 The British government also validated these
claims at the highest levels. In October 2005, British Prime Minister Tony Blair stated that both
“Iranian elements” and also Lebanese Hizballah (which was acting on Iran’s behalf) had supplied
explosives to JAM that were used to kill British soldiers.140

Michael Ware’s reporting in Time provides further details on this system. A British officer who spoke
to Ware explained that the Iranians made particular use of the porous southern border between Iran
and Iraq, where they would “use the legal check points to move personnel, and the weapons travel
through the marshes and areas to our north.”141 A detained insurgent further described this process
when interrogated by U.S. forces:


136   PX953, Redacted Intelligence Report 001, Spring 2007-Early 2008, https://ctc.westpoint.edu/wp-
content/uploads/2013/10/Redacted-Intelligence-Report-001-Summary.pdf. Another matter about which Hizballah
provided instruction was tradecraft and intelligence reconnaissance oriented specifically toward coalition forces. PX958,
Redacted        Intelligence     Report        020,      Spring       2007-Early      2008,     https://ctc.usma.edu/wp-
content/uploads/2013/10/Redacted-Intelligence-Report-020-Summary.pdf. Hizballah led weapons-specialization
instruction on improvised explosive devices. PX956, Redacted Intelligence Report 011, Spring 2007-Early 2008,
https://ctc.westpoint.edu/wp-content/uploads/2013/10/Redacted-Intelligence-Report-011-Summary.pdf.                   Other
weapons-specialization instruction focused on anti-tank missiles and sniper rifles. PX958, Redacted Intelligence Report
020, Spring 2007-Early 2008, https://ctc.usma.edu/wp-content/uploads/2013/10/Redacted-Intelligence-Report-020-
Summary.pdf.
137 See PX957, for example, Redacted Interrogation Report 012, Spring 2007-Early 2008, https://ctc.usma.edu/wp-

content/uploads/2013/10/Redacted-Intelligence-Report-012-Summary1.pdf. The detainee interviewed for this report
claimed: “Iraqi SG trainees do not like their Iranian trainers. The Iranians do not show the SG trainees any respect and
feel they are better than the SG trainees. The SG trainees like and respect the Lebanese Hizbollah trainers because the
Lebanese trainers speak Arabic and treat the SG trainees with respect. The Iranian trainers and the SG trainees did not
get along during the SG training.”
138 Pound, “The Iran Connection.”
139 Adam Brookes, “Iranian Weapons ‘Found in Iraq,’” BBC, August 9, 2005.
140 “Blair Warns Iran Over Iraq Bombs,” BBC, October 6, 2005.
141 Ware, “Inside Iran’s Secret War for Iraq.”

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         This area [marshes
         in the vicinity of
         Qalat Salih] is used
         heavily by small
         boats       carrying
         weapons from IR
         [Iran]. The boat
         handlers most likely
         use the same drivers
         each trip and make
         arrangements prior
         to leaving IR [Iran].
         Drugs            and
         contraband        are
         smuggled into IZ
         [Iraq] by the same
         routes…. The boats carrying weapons are covered with reeds and are easily hidden.
         The boats can be unloaded anywhere along the shoreline, and the weapons are placed
         in the beds of pickup trucks, which are then covered with bundles of reeds.142

Other detainee interrogation reports frequently referenced these marshy areas in southeastern Iraq
when explaining how weapons and other material assistance were moved from Iran into Iraq.

Sanctions designations by the U.S. Department of the Treasury pinpointed key individuals supporting
Iran’s efforts to arm Shia militants attacking Americans in Iraq. In 2008, the U.S. Department of the
Treasury imposed sanctions against several individuals connected to Iran who provided weapons to
Shia militias in Iraq. For example, it sanctioned Gen. Foruzandeh of the IRGC-QF, who provided
training for Iraqi militias focusing on “guerilla warfare, light arms, marksmanship, planting improvised
explosive devices, and firing anti-aircraft missiles,” and was known to transport weapons into Iraq for
suicide bombings.143

Notable weapons that Iran provided to Iraqi Shia militant groups included rockets, mortars, rocket
propelled grenades, and improvised explosive devices (IEDs). For instance, Shia militant groups, such
as JAM and the Special Groups, used 107mm and 240mm rockets provided by Iran that enabled their
fighters to conduct indirect fire attacks on Coalition and Iraqi bases.144 Iran also provided Shia militant
groups with improvised rocket-assisted munitions (IRAMs). The U.S. Department of Defense’s Joint
Improvised Explosive Device Defeat Organization (JIEDDO) has noted that the IRAM was “the

142 PX959, Redacted Interrogation Report 027, Spring 2007-Early 2008, https://ctc.usma.edu/wp-

content/uploads/2013/10/Redacted-Intelligence-Report-027-Summary.pdf.
143 PX67, U.S. Department of the Treasury, press release, “Treasury Designates Individuals, Entity Fueling Iraqi

Insurgency,” January 9, 2008, https://www.treasury.gov/press-center/press-releases/pages/hp759.aspx.
144 PX678, Marisa Cochrane, “Special Groups Regenerate,” Institute for Study of War, August 29, 2008, p. 4. One example

of an attack with these weapons occurred in March 2008, when JAM fighters carried out an indirect fire attack on
Baghdad’s Green Zone with these rockets to break down “Iraqi security forces positions throughout Baghdad.” David E.
Johnson, M. Wade Markel & Brian Shannon, The 2008 Battle of Sadr City: Reimagining Urban Combat (Santa Monica, CA: The
RAND Corporation, 2013), p. 1. The New York Times described this attack as “one of the fiercest and most sustained
attacks on the area in the last year.” Erica Goode, “13 Iraqis Killed by Shells Fired at the Green Zone,” The New York
Times, March 24, 2008.
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signature weapon used by Iranian-backed militias that operate with the aid of” the IRGC, and that the
IRAM was first used against U.S. forces around November 2007, primarily in Baghdad and other Shia-
dominated areas of southern Iraq.145 JIEDDO provided the following description of IRAMs:

        IRAM is a rocket-fired improvised explosive device made from a large metal canister
        — such as a propane gas tank — filled with explosives, scrap metal and ball bearings
        and propelled by rockets. It is essentially an airborne version of a roadside bomb — a
        flying IED. Historically, most IRAMs are propelled by 107 mm rockets and launched
        from fixed or mobile sites by remote control. It is typically launched in an arched
        trajectory, similar to the conventional mortar. IRAMs are designed to cause
        catastrophic damage and inflict mass casualties.146

These weapons were quite sophisticated. One particular weapon provided by Iran to Shia militias in
Iraq merits additional attention given its devastating impact on U.S. personnel in Iraq, including
numerous individuals killed or harmed in the attacks at issue in this case.

Iranian Provision of Explosively Formed Penetrators (EFPs)
Some press accounts differ with respect to precisely when Iran introduced the EFP to Iraq’s
battlefield.147 However, it is clear that at some point between 2004 and early 2005, “the Quds Force
began flooding Iraq with lethal roadside bombs that the Americans referred to as E.F.P.s.”148 Typically,
an EFP consists of a pipe or tube packed with explosives, a detonator, and a concave copper disk as
a cap.149 After the device is triggered, the copper disk forms a projectile, as shown below, that can
move over one thousand meters per second and penetrate armored vehicles.150




                                         (Source: New York Times)151

In 2013, Dexter Filkins described the EFPs’ origins and impact:



145 “JIEDO IED Profile: Improvised Rocket-Assisted Munitions (IRAM),” Joint Improvised Explosive Device Defeat

Organization (JIEDO), accessed April 14, 2022, https://admin.govexec.com/media/gbc/docs/pdfs_edit/jieddo_ied_tri-
fold_v3sm.pdf.
146 Ibid.
147   PX634, Cf. Dexter Filkins, “The Shadow Commander,” The New Yorker, September 23, 2013,
https://www.newyorker.com/magazine/2013/09/30/the-shadow-commander; Sean Naylor, Relentless Strike: The Secret
History of Joint Special Operations Command (New York: St. Martin’s Griffith, 2015), p. 297.
148 PX634, Filkins, “The Shadow Commander.”
149 Noah Shachtman, “Superbombs 101,” Wired, March 6, 2007, https://www.wired.com/2007/03/efp-101-the-sup/.
150 Ibid.
151 “Explosively Formed Penetrators,” The New York Times, March 27, 2007.

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         The E.F.P.s, which fire a molten copper slug able to penetrate armor, began to wreak
         havoc on American troops, accounting for nearly twenty per cent of combat deaths.
         E.F.P.s could be made only by skilled technicians, and they were often triggered by
         sophisticated motion sensors. “There was zero question where they were coming
         from,” General Stanley McChrystal, who at the time was the head of the Joint Special
         Operations Command, told me. “We knew where all the factories were in Iran. The
         E.F.P.s killed hundreds of Americans.”152

Gen. McChrystal’s assessment represented the consensus view of the U.S. government. The State
Department’s 2006 Country Reports on Terrorism noted that “Iranian government forces have been
responsible for at least some of the increasing lethality of anti-Coalition attacks by providing Shia
militants with the capability to build IEDs with explosively formed projectiles similar to those
developed by Iran and Lebanese Hizballah. The Iranian Revolutionary Guard was linked to armor-
piercing explosives that resulted in the deaths of Coalition Forces.”153

The State Department’s subsequent reports from 2007, 2008, and 2009—covering the period at
issue—reiterated this assessment.154 In a September 2007 report to Congress on the situation in Iraq,
Gen. David Petraeus—who was at the time the commander of Multi-National Force – Iraq—validated
this reporting about Iran’s extensive provision of support to Shia insurgents. Gen. Petraeus explained:

         In the past six months we have also targeted Shia militia extremists, capturing a
         number of senior leaders and fighters, as well as the deputy commander of Lebanese
         Hizballah Department 2800, the organization created to support the training, arming,
         funding, and, in some cases, direction of the militia extremists by the Iranian … Qods
         Force. These elements have assassinated and kidnapped Iraqi governmental leaders,
         killed and wounded our soldiers with advanced explosive devices provided by Iran,
         and indiscriminately rocketed civilians in the International Zone and elsewhere. It is
         increasingly apparent to both Coalition and Iraqi leaders that Iran, through the use of
         the Qods Force, seeks to turn the Iraqi Special Groups into a Hezbollah-like force to
         serve its interests and fight a proxy war against the Iraqi state and coalition forces in
         Iraq.155

In a press conference the following day, Gen. Petraeus provided his assessment that, without Iranian
support, the “sophistication of attacks” in Iraq would not have been possible. He further attributed
the presence of certain weapons in Iraq, particularly EFPs, to Iran, stating that “there’s no question
where they come from.”156



152 PX634, Filkins, “The Shadow Commander.”
153 PX202, U.S. Department of State, Country Reports on Terrorism (2006).
154   PX203, U.S. Department of State, Country Reports on Terrorism (2007), https://2009-
2017.state.gov/j/ct/rls/crt/2007/103711.htm; PX204, U.S. Department of State, Country Reports on Terrorism (2008),
https://2009-2017.state.gov/j/ct/rls/crt/2008/122436.htm; PX205, U.S. Department of State, Country Reports on Terrorism
(2009), https://2009-2017.state.gov/j/ct/rls/crt/2009/140889.htm.
155 PX347, Gen. David H. Petraeus, “Report to Congress on the Situation in Iraq,” testimony before Congress, September

12, 2007 (emphasis added).
156 PX358, Press Conference with General David Petraeus, Commander, Multi-National Force – Iraq, and Ryan Crocker,

U.S. Ambassador to Iraq, Washington, D.C., September 12, 2007.
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Iran developed a sophisticated transport network to supply these weapons to militants in Iraq.
According to a U.S. Army study of the Iraq war, “Amarah was a major crossroads from which EFPs
were funneled south to Basrah or north through Kut—another critical hub—and Numaniyah,
Suwayrah, and eventually Baghdad.”157 Another “ratline” transported EFPs from al-Amarah west to
Diwaniyah and then Najaf before reaching Karbala and finally Baghdad.158 Further north, smugglers
brought weapons into Iraq through the border between Mehran, Iran and Zurbatiya, Iraq.159 Khanaqin
in Diyala Province was another important northern smuggling point from which weapons were
transported south.160 Analyst Bill Roggio writes that weapons from Iran were first moved to hubs in
Badrah, Kut, al-Amarah, Qurnah, and Basra.161 From there, weapons were transported to Hillah,
Diwaniyah, Al Fajr, Samawah, and Nasiriyah.162

The impact of these activities was significant and highly lethal. Iran provided EFPs to Shia militias on
an industrial scale in addition to training militia members to build them. Numbers from the Brookings
Institution indicate that between December 2006 and November 2008, there were around 541 EFP
attacks against American troops.163 Dr. Michael Knights concluded in a report for the Washington
Institute for Near East Policy that from November 2005 to December 2011, “1,526 EFPs killed a
total of 196 U.S. troops.”164 Zooming beyond EFPs to all weapons provided by Iran, the U.S. Defense
Intelligence Agency concluded that, “using Iranian-provided weapons, these [Shia militia] groups were
responsible for at least 603 U.S. personnel killed in Iraq between 2003 and 2011.”165

These facts, coupled with relevant expert conclusions, led a court in this District to conclude in January
2021 that “Iran, through the IRGC and/or Hezbollah, furnished EFPs or the components thereof,
facilitated training of Shi’a militia groups, and supported their effective deployment of EFPs in the
Iraqi theater. And … these Iranian-backed EFPs were specifically designed to inflict maximum and
lethal damage to U.S. military vehicles and service members. Moreover, the record evidence also
demonstrates that Iranian expertise was necessary for the sophisticated manufacturing and
deployment of EFPs.”166 The court’s conclusion aligns with my own assessment of the available
evidence regarding Iranian support to Shia militias related to EFPs.

Though Iran also provided material support to the Zarqawi organization, the best available evidence
indicates that only Shia militias were provided support sufficient to produce and successfully deploy
the sophisticated version of EFPs consistently. The Washington Post noted that “EFPs were among the
most lethal weapons faced by U.S. forces before a troop withdrawal in 2011. The devices were

157 PX242, Joel D. Rayburn et al., The U.S. Army in the Iraq War: Volume 2 – Surge and Withdrawal (Carlisle, PA: U.S. Army

War College Press, 2019), p. 65.
158 Ibid.
159 PX643, Frederick W. Kagan, Kimberly Kagan & Danielle Pletka, Iranian Influence in the Levant, Iraq, and Afghanistan

(Washington, D.C.: American Enterprise Institute, 2008), p. 26.
160 PX242, Rayburn et al., The U.S. Army in the Iraq War: Volume 2, pp. 65-66.
161 Bill Roggio, “Iran’s Ramazan Corps and the Ratlines to Iraq,” Long War Journal, December 5, 2007.
162 Ibid.
163 Michael E. O’Hanlon & Jason H. Campbell, Iraq Index: Tracking Variables of Reconstruction and Security in Post-Saddam Iraq

(Washington, D.C.: The Brookings Institution, 2009), p. 26.
164 PX685, Michael Knights, “Iranian EFPs in the Gulf: An Emerging Strategic Risk,” Washington Institute for Near East

Policy, February 23, 2016, https://www.washingtoninstitute.org/policy-analysis/iranian-efps-gulf-emerging-strategic-risk.
165 PX260, U.S. Defense Intelligence Agency, Iran Military Power (August 2019), p. 9,

https://www.dia.mil/Portals/27/Documents/News/Military%20Power%20Publications/Iran_Military_Power_LR.pdf.
166 Memorandum Opinion, Karcher v. Islamic Republic of Iran, civil action no. 16-232 (CKK) (D.D.C., January 14, 2021),

https://casetext.com/case/karcher-v-islamic-republic-of-iran-2.
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considered a hallmark of the Iranian-backed Shiite militias battling the U.S. occupation after the
toppling of Saddam Hussein.”167 Jason Litowitz, an IED analyst for the U.S. Marine Corps Intelligence
Activity, wrote that, in contrast to Iran’s support to Sunni insurgents, “the state sponsorship provided
by the IRGC to the Iraqi Shia in both IED construction materials and training, showed a definable
difference in the sophistication and overall lethality of their IEDs.”168 Illustrating this difference, Sunni
insurgents, including the Zarqawi organization, eventually began making their own homemade
versions of the device. Reuters reported that, in 2007, the U.S. military discovered that Sunni
insurgents had begun making “crude home-made knock-offs of the Iranian EFPs.”169 American
officials attributed these new and cruder EFPs to “either al Qaeda in Iraq or the Islamic State in Iraq,
related networks of Sunni Islamist militants who have recently come under fire from a joint U.S.-Iraqi
counterinsurgency operation.”170 Army Gen. Mark Hertling, the U.S. commander in northern Iraq,
stressed these EFPs were “very poorly formed.… They’re locally made, certainly not imported.”171 As
is the case for all IEDs, EFPs can be understood as having “signatures”: the quality and sophistication
of the EFP, among other factors, can reveal the device’s origin. The Zarqawi organization’s EFP
operations lagged behind those of Shia militias, which benefited from Iranian material support in this
regard.

The increasing lethality of Shia militias bears a causal connection to the expert knowledge, training,
and assistance that Iran provided these groups in constructing and employing EFPs and other
sophisticated weapons. The U.S. State Department’s 2006 Country Reports on Terrorism highlighted Iran
and Hizballah’s provision of expert knowledge and assistance on EFPs and other lethal capabilities to
Shia militants. The report stated:

         Iran provided guidance and training to select Iraqi Shia political groups, and weapons
         and training to Shia militant groups to enable anti-Coalition attacks. Iranian
         government forces have been responsible for at least some of the increasing lethality
         of anti-Coalition attacks by providing Shia militants with the capability to build IEDs
         with explosively formed projectiles similar to those developed by Iran and Lebanese
         Hezbollah. The Iranian Revolutionary Guard was linked to armor-piercing explosives
         that resulted in the deaths of Coalition Forces. The Revolutionary Guard, along with
         Lebanese Hezbollah, implemented training programs for Iraqi militants in the
         construction and use of sophisticated IED technology. These individuals then passed
         on this training to additional militants in Iraq.172

Iranian material support in sharing expert knowledge of these destructive capabilities created a high
risk that it would spread like wildfire among militant groups. The initial beneficiaries were often
motivated to transfer what they had learned to other Iraqi insurgent groups in order to do further
damage to U.S. and Coalition efforts.


167 Kareem Fahim, “Lethal Roadside Bomb that Killed Scores of U.S. Troops Reappears in Iraq,” The Washington Post,

October 12, 2017.
168 PX240, Jason Litowitz, The Infernal Machine: The Use of Improvised Explosive Devices (IEDs) against U.S. Forces (Quantico,

VA: U.S. Marine Corps Command Staff and College, 2011), p. 18.
169 PX633, David Morgan, “Iraqi Sunni Insurgents Turn to Armor-Piercing Bombs,” Reuters, February 7, 2008.
170 Ibid.
171 Ibid.
172 PX202, Office of the Coordinator for Counterterrorism, U.S. Department of State, Country Reports on Terrorism – 2006,

April 30, 2007.
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Iranian Training of Iraqi Shia Militias
According to intelligence reports, open-source reporting, and official U.S. government statements, the
IRGC operated a robust training program for Iraqi Shia militias inside Iran’s borders. JAM, the Special
Groups, and the Badr Organization (which had long trained with Iranian forces) were beneficiaries of
this program.

In the aforementioned 2008 interview with Al-Sharq al-Awsat, former IRGC brigadier general “Haj
Reza” identified the location of four training camps in Iran that had been used to train Iraqi Shia
militants: in Ahvaz, Elam, Qom, and Tehran.173 His information is consistent with the U.S.
government’s conclusions. When U.S. Brigadier General Kevin Bergner held a press briefing on July
2, 2007, representing the official views of the U.S. Government as the spokesman for Multi-National
Force – Iraq, he stated that “Iraqi Special Groups are trained in one of three training camps inside
Iran” that “are operated by the Qods Force Department of External Special Operations.” In response
to questions from reporters, Bergner elaborated that the training camps “were not too far from
Tehran” and that attendees included members of JAM and other militias.174 The proximity of the
camps to Iran’s capital support the conclusion that this training was a matter of official Iranian state
policy.

Backed by the IRGC, Lebanese Hizballah also operated training camps in Lebanon and Iran to provide
rigorous operational training to Iraqi Shia groups. These Hizballah camps helped Shia militants build
skills in “weapons, bomb-making, intelligence, assassinations, and the [gamut] of skill sets.”175 In
November 2006, Gen. Michael Maples, then director of the Defense Intelligence Agency, stated the
Iranian government has “been a link to Lebanese Hezbollah and have helped facilitate Hezbollah
training inside of Iraq, but more importantly Jaysh al-Mahdi members going to Lebanon.”176

Gen. Bergner provided additional details about the nature of the training:

         In 2005, [Ali Mussa Daqduq al-Musawi, a prominent member of Lebanese Hizballah]
         was directed by senior Lebanese Hizballah leadership to go to Iran and work with the
         Quds Force to train Iraqi extremists. In May of 2006, he traveled to Tehran with … a
         fellow Lebanese Hizballah and head of their operations in Iraq. There they met with
         the commander and the deputy commander of the Iranian Quds Force special external
         operations. [Daqduq] was directed by Iranian Quds Force to make trips in and out of
         Iraq and report on the training and operations of the Iraqi Special Groups. In the year
         prior to his capture, Ali Musa Daqduq made four such trips to Iraq. He monitored and
         reported on the training and arming of Special Groups in mortars and rockets,
         manufacturing and employment of improvised explosive devices, and kidnapping
         operations. Most significantly, he was tasked to organize the Special Groups in ways
         that mirrored how Hizballah was organized in Lebanon. He also helped Quds Force
         in training Iraqis inside Iran. Quds Force, along with Hizballah instructors, train
         approximately 20 to 60 Iraqis at a time, sending them back to Iraq organized into these

173 PX613, Ali Nuri Zadah, “Former Iranian General Talks About Hizballah’s Training of Iraqis in Iran Camps [Arabic],”

Al-Sharq al-Awsat (London), May 8, 2008.
174 PX356, Multi-National Force – Iraq, “Press Briefing with Brig. Gen. Kevin Bergner,” July 2, 2007.
175 Michel R. Gordon & Dexter Filkins, “Some Mahdi Army Fighters Trained with Hezbollah,” The New York Times,

November 28, 2006.
176 Ibid.

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         Special Groups. They are being taught how to use EFPs, mortars, rockets, as well as
         intelligence, sniper and kidnapping operations. In addition to training, the Quds Force
         also supplies the Special Groups with weapons and funding of $750,000 to $3 million
         U.S. dollars a month. Without this support, these Special Groups would be hard
         pressed to conduct their operations in Iraq.177

The U.S. Department of State and Department of the Treasury have also confirmed that Iran provided
training to JAM and Special Groups. The State Department’s Country Reports on Terrorism from the
period when the attacks at issue occurred—2006 through 2009—consistently mentioned Iranian
training of Shia militias.178 For example, the 2007 report concludes that:

         Iranian authorities continued to provide lethal support, including weapons, training,
         funding, and guidance, to some Iraqi militant groups that target Coalition and Iraqi
         security forces and Iraqi civilians.… The Qods Force, in concert with Lebanese
         Hizballah, provided training outside Iraq for Iraqi militants in the construction and
         use of sophisticated IED technology and other advanced weaponry. These individuals
         then passed on this training to additional militants inside Iraq, a “train-the-trainer”
         program. In addition, the Qods Force and Hizballah have also provided training inside
         Iraq.179

Through its sanctions designations, the U.S. Department of the Treasury also identified elements of
the Iranian government providing training and some of the Shia militias receiving this training. While
sanctioning the IRGC-QF for supporting terrorism, Treasury concluded that “the Qods Force
provides lethal support in the form of weapons, training, funding, and guidance to select groups of
Iraqi Shi’a militants who target and kill Coalition and Iraqi forces and innocent Iraqi civilians.”180
Within the IRGC-QF, “Iran-based Ahmed Foruzandeh, a Brigadier General in the IRGC-QF, [is]
responsible for planning training courses in Iran for Iraqi militias, including Sayyid al-Shuhada and
Iraqi Hizballah [also known as Kata’ib Hizballah], to increase their ability to combat Coalition Forces.
The training includes courses in guerilla warfare, light arms, marksmanship, planting improvised
explosive devices (IEDs), and firing anti-aircraft missiles.”181

The Treasury Department also indicated that Lebanese Hizballah played a role in supporting Kata’ib
Hizballah, stating that “as of 2008, Kata’ib Hizballah was funded by the IRGC-Qods Force and
received weapons training and support from Lebanon-based Hizballah. In one instance, Hizballah

177 PX356, Gen. Kevin Bergner, press conference, July 2, 2007 (emphasis added).
178 PX202, U.S. Department of State, Country Reports on Terrorism (2006) (“Iran provided … weapons and training to Shia

militant groups to enable anti-Coalition attacks”); PX203, U.S. Department of State, Country Reports on Terrorism (2007);
PX204, U.S. Department of State, Country Reports on Terrorism (2008) (“Iranian authorities continued to provide lethal
support, including weapons, training, funding, and guidance, to Iraqi militant groups that targeted Coalition and Iraqi
forces and killed innocent Iraqi civilians…. The Qods Force, in concert with Lebanese Hizballah, provided training both
inside and outside of Iraq for Iraqi militants in the construction and use of sophisticated IED technology and other
advanced weaponry”); PX205, U.S. Department of State, Country Reports on Terrorism (2009) (reaching same conclusion as
the previous year’s report).
179 PX203, U.S. Department of State, Country Reports on Terrorism (2007).
180 PX36,U.S. Department of the Treasury, “Fact Sheet: Designation of Iranian Entities and Individuals for Proliferation

Activities and Support for Terrorism,” October 25, 2007, https://www.treasury.gov/press-center/press-
releases/Pages/hp644.aspx.
181 PX67, U.S. Department of the Treasury, press release, “Treasury Designates Individuals, Entity Fueling Iraqi

Insurgency,” January 9, 2008, https://www.treasury.gov/press-center/press-releases/pages/hp759.aspx.
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provided training—to include building and planting IEDs and training in coordinating small and
medium arms attacks, sniper attacks, mortar attacks, and rocket attacks—to Kata’ib Hizballah
members in Iran.”182

The U.S. Treasury Department’s designation of Lebanese Hizballah’s Ali Mussa Daqduq in 2012
further clarifies Iranian support for AAH. The designation explains that “in approximately 2005, Iran
asked Hizballah to form a group to train Iraqis to fight Coalition forces in Iraq. In response, Hassan
Nasrallah established a covert Hizballah unit to train and advise Iraqi militants in Jaysh al-Mahdi (JAM)
and JAM Special Groups, now known as Asa’ib Ahl al-Haq.”183 The referenced Hizballah unit would
have a significant impact on those Iraqi Shia militias. In November 2006, The New York Times reported
on U.S. officials’ conclusions that Lebanese Hizballah operatives had entered Iraq to train insurgents,
and that some Iraqi insurgents had even gone to Lebanon for training. One official told the newspaper
that “1,000 to 2,000 fighters from the Mahdi Army and other Shiite militias had been trained by
Hizballah in Lebanon.”184

Interrogation reports of interviews with captured Iraqi militants from 2007 to 2008 that were made
public through West Point’s Combating Terrorism Center further reveal systematic and organized
pre-training travel procedures into Iran. I have reviewed these documents and cite to Felter and
Fishman’s conclusions when I believe them to be accurate synopses. Felter and Fishman report that
“captured Iraqi militants in 2007 and 2008 recount taking numerous routes from their homes in Iraq
to Iran.… Iraqis bound for Iran often converge in Amara and stay at designated JAM and SGC [Special
Groups] safe houses where they are introduced to the other traveling militants and the guides will take
them across the border.”185

In one interrogation report, a militant described his experience crossing the border into Iran. He said
that the car he was riding “took him through a nearby Iranian Army checkpoint where it was waived
through by Iranian soldiers when they appeared to recognize the driver—no identity documents were
examined.”186 Once militants successfully entered Iran through an organized facilitation network, they
were inducted into a robust Iranian training program. Publicly available U.S. intelligence reports based
on interviews of detainees who went through this program provide insight into the depth of Iran’s
efforts. Iran’s program was both comprehensive and strategic, providing extensive support and
training at every level for the militant organizations that received assistance, from foot soldier to
leadership.

According to “Haj Reza” in his interview with Al-Sharq al-Awsat, at the outset of supporting proxy
forces against the U.S., Iran provided only “rudimentary instruction for JAM-style militants.” But by
2007, Iran was engaged in “high level training” of fighters associated with JAM and its splinter
groups.187 Based on the accounts provided by captured Iraqi militants, Felter and Fishman categorized

182 PX66, U.S. Department of the Treasury, press release, “Treasury Designates Individual, Entity Posing Threat to

Stability in Iraq,” July 2, 2009, https://www.treasury.gov/press-center/press-releases/Pages/tg195.aspx.
183 PX40, U.S. Department of the Treasury, “Treasury Designates Hizballah Commander Responsible for American

Deaths in Iraq,” November 19, 2012, https://www.treasury.gov/press-center/press-releases/Pages/tg1775.aspx.
184 PX684, Michael Gordon & Dexter Filkins, “Hezbollah Said to Help Shiite Army in Iraq,” New York Times, November

28, 2006, http://www.nytimes.com/2006/11/28/world/middleeast/28military.html.
185 PX212, Felter & Fishman, Iranian Strategy in Iraq, p. 57.
186  PX954, Redacted Interrogation Report 003, Spring 2007-Early 2008, https://ctc.westpoint.edu/wp-
content/uploads/2013/10/Redacted-Intelligence-Report-003-Summary.pdf.
187 PX613, Zadah, “Former Iranian General Talks About Hizballah’s Training of Iraqis.”

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Iran’s “extensive list of paramilitary training courses” into three broad categories: a basic paramilitary
skills and weapons course, an advanced paramilitary training course, and a master-trainer course. The
authors describe all three:

         Basic Paramilitary Skills and Weapons Course
         The basic weapons course is a basic training regimen that stresses weapons
         familiarization and employment for newly recruited militants. Iraqi militants that
         attended this training claim it lasts approximately 20 days and includes introductory
         training on mortars and IEDs in addition to firearms.

         Advanced Paramilitary Training Courses
         Iraqi militants returning to Iran for advanced training describe the topics covered in
         this training with reasonable consistency. The emphasis is on conducting advanced
         operations and tactics, and is more intensive than the basic military training
         class. These courses seem to be designed for individuals assuming leadership positions
         within Special Group Criminals. The training’s purpose appears to be in developing
         militant leaders’ capacity to plan and prepare for operations executed by graduates of
         the Basic/Conventional Weapons Training Course.… Veterans of this advanced
         paramilitary training appear equipped to integrate multiple basic individual skills of
         militants and to synchronize them in sophisticated operations with deadly effect.

         Master-trainer Course …
         The master-trainer course graduates expert cadres able to raise, train, and employ a
         larger force when they return to Iraq. These classes develop a self-sustaining capacity
         inside Iraq to produce effective fighters for Iranian-backed SGCs, while allowing Iran
         to avoid direct confrontation in Iraq and maintain plausible deniability for its
         actions. Participants in the master-trainer program have at least completed the basic
         weapons training course and are on return trips to Iran. Master-trainers are taught
         instructional techniques, required to give mock classes, and receive feedback from
         both their instructors and peers. The master-trainers specialize in one of four areas,
         where they receive specialty training:

           ●    Explosively Formed Penetrators [EFPs]
           ●    Projectile Weapons, e.g., mortars and rockets
           ●    Conventional Weapons
           ●    Tactics and Guerrilla Warfare

         Several captured SGC members described a 16-man cohort that attended the master-
         trainer program in Iran and made several trips in 2006 to late 2007 preparing for this
         role. Four trainees were allocated into each of the specialty areas.188

This program was structured to continuously develop and sharpen talent. Based on detainee reports,
such training was required for those who wished to obtain specialized positions within the Special
Groups. One militant reported that “if someone is a leader of one of the eight areas in Wasit then they
must have attended the Overall Leader Course in Iran. [REDACTED] has four leaders underneath

188 PX212, Felter & Fishman, Iranian Strategy in Iraq, p. 62.

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him that are leaders in the fields of Information, Tactics, Support and Engineers.… Each of these
specialty-leaders has attended a 45-60 day specialty-specific leadership course in Iran.”189 The detainee
interrogations are consistent with one another, as well as with contemporary and subsequent open-
source reporting and official U.S. government statements, in concluding that the instructors of these
training programs were members of the IRGC and Lebanese Hizballah.190

Such specialized training equipped the Special Groups and other Shia militias with more effective
capabilities. The highly deadly EFPs in particular stand out. Both Iran and Hizballah had expertise in
manufacturing and using these explosive devices, and this knowledge was transferred to Iraqi militias,
which then regularly employed EFPs on the battlefield.191 Other notable weapons included indirect-
fire rockets that could be used against U.S. military installations and other static targets, such as
Baghdad’s Green Zone. According to analyst Bill Roggio, the rockets used in these indirect fire attacks
were “the same rockets Hezbollah fired into northern Israel from Lebanon during the Israel-
Hezbollah war in the summer of 2006.”192

During his time as the commander of Multi-National Force – Iraq, Gen. David Petraeus corroborated
reports of Iranian training of JAM, and clarified that this training was having an “obvious operational
impact” on U.S. forces. Gen. Petraeus reported to U.S. Secretary of Defense Robert Gates:

        Iranian sponsorship of extremists has an obvious operational impact on our
        forces. Our troops had a fairly significant fight with JAM near Khalis (north of
        Baghdad) on Tuesday that JAM initiated, resulting in 19 of them being killed on the
        objective to our one wounded and two Iraqi Army KIAs. We also received reports this
        week of 100 JAM members who had been trained in Iran and have infiltrated back
        into Iraq, with the goal of targeting Sunnis and attacking one of our FOBs [forward
        operating bases] in South Baghdad. The reports indicated they received training in
        sniper operations, explosives, small unit tactics, ambushes, and IED emplacement.193

Safe Haven for Shia Militia Leaders and Fighters
In addition to training Shia militias in its territory, Iran also offered safe haven to the leaders and
fighters of many Shia militias. As the U.S. announced its plans for a surge of U.S. forces and arrested
a high-profile Sadrist cleric, “many of those who believed they had made a name for themselves feared
capture and fled Baghdad. Confirming this trend, reports reached MNF-I in late January [2007] that
the Iranian Embassy had issued some 200 special passports to Shi’a militia members. Sadr himself
secretly departed for Iran around this time.”194 Muqtada would not return until 2011.


189   PX955, Redacted Interrogation Report 005, Spring 2007-Early 2008, https://ctc.westpoint.edu/wp-
content/uploads/2013/10/Redacted-Intelligence-Report-005-Summary.pdf.
190 See PX953, for example, Redacted Intelligence Report 001, Spring 2007-Early 2008, https://ctc.westpoint.edu/wp-

content/uploads/2013/10/Redacted-Intelligence-Report-001-Summary.pdf, p. 2, which notes that “all instructors were
in uniform, the IRGC instructors wore different uniforms than the LH [Lebanese Hizballah] instructors.”
191 John Ismay, “The Most Lethal Weapon Americans Faced in Iraq,” The New York Times, October 18, 2013,

https://atwar.blogs.nytimes.com/2013/10/18/the-most-lethal-weapon-americans-faced-in-iraq/.
192 Bill Roggio, “Mahdi Rocket Teams Destroyed in Sadr City,” Long War Journal, June 3, 2007,

http://www.longwarjournal.org/archives/2007/06/mahdi_rocket_teams_d.php.
193 PX949, Multi-National Force – Iraq CDR Weekly SECDEF Updates from General David Petraeus, Commander of

MNF-I to U.S. Secretary of Defense Robert Gates, June 3-9, 2007, p. 305.
194 PX242, Rayburn et al., The U.S. Army in the Iraq War: Volume 2, p. 77.

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As previously mentioned, Abu Mahdi al-Muhandis, the leader of Kata’ib Hizballah, fled to Iran after
his role in the Kuwait Embassy bombings publicly surfaced. Abu Mustafa al-Sheibani also found safe
haven in Iran from early 2008 to mid-2010.195 Muqtada al-Sadr, al-Muhandis, and al-Sheibani were not
exceptional cases in this regard. Marisa Cochrane writes about further cases where Special Groups and
JAM leaders fled to Iran to escape U.S. offensives. She notes that during a U.S. push into Sadrist
strongholds in eastern Baghdad in 2008, “many JAM and Special Groups leaders also fled Baghdad
altogether. While top Special Groups leaders … fled to Iran, other mid-level JAM and Special Groups
commanders fled to Sadrist strongholds in southern Iraq.”196 As the U.S. turned its attention south to
those strongholds and prepared a military push into the southern Iraqi city of al-Amarah, “any Special
Groups and JAM leaders that remained in Maysan [Province] in the wake of the Baghdad and Basra
offensives fled to Iran before the operations commenced in Amarah.”197

From their perch in Iran, these Shia militia leaders were able to launch attacks against U.S. forces in
Iraq with little fear of being killed or captured. This safe haven likely emboldened these leaders to
conduct more aggressive attacks than if they were in Iraq and thus more vulnerable to coalition raids.
This safe haven also gave these leaders the ability to more closely coordinate with Iran.

Iran’s Financing of Shia Militias
Iran provided substantial financial support to an array of Shia militias in Iraq. This funding comprised
a significant portion of Iran’s broader funding to myriad violent non-state actors across the Middle
East, which likely exceeded $300 million annually from 2006-2009.198 Though observers have provided
inconsistent estimates regarding the amount of funding that Iran provided to Shia militias, including
to specific militant groups, these inconsistencies should not cast doubt on the overall conclusion that
Iran was providing such support. The inconsistency in these estimates is likely connecting to three
overarching factors. First, Iranian support for various Shia militias has fluctuated over time. Thus, two
estimates that were provided years apart from one another may be inconsistent with each other, yet
may be consistent with Iran’s funding levels at the time that the two estimates were made. Second, a
number of estimates of Iranian support, including some provided by U.S. government officials, were
based on extrapolations from incomplete data. Thus, even estimates provided in the same time period
may differ somewhat based on the snapshot of data available to the individual or entity crafting the
estimate. Third, there was an organizational fluidity among Shia militant groups. For example, AAH
could at one point be considered a part of JAM; there was a period in which one could dispute whether
the two could be considered part of a unified, coherent organization; and finally they emerged as
clearly distinct entities. Due to the resulting ambiguities concerning the JAM/AAH relationship,
estimates of the overall support that Iran provided to JAM may differ depending on whether AAH

195 Bill Roggio, “Iran Sends Another Dangerous Shia Terror Commander Back to Iraq,” Long War Journal, October 18,

2010.
196 PX678, Marisa Cochrane, Iraq Report: Special Groups Regenerate (Institute for the Study of War, September 2008), p. 18,

http://www.understandingwar.org/sites/default/files/reports/IraqReport11.pdf.
197 Ibid.
198 PX36, U.S. Department of the Treasury, “Fact Sheet: Designation of Iranian Entities and Individuals for Proliferation

Activities and Support for Terrorism,” October 25, 2007, https://www.treasury.gov/press-center/press-
releases/Pages/hp644.aspx; PX365, Testimony of Ambassador Jeffrey D. Feltman, Assistant Secretary of State for Near
Eastern Affairs, and Ambassador Daniel Benjamin, Coordinator for Counterterrorism, Senate Foreign Relations
Subcommittee on Near Eastern and South and Central Asian Affairs, June 8, 2010; PX641, Frederic Wehrey et al., Dangerous
but not Omnipotent: Exploring the Reach and Limitations of Iranian Power in the Middle East (Santa Monica, CA: RAND
Corporation, 2009); PX204, U.S. Department of State, Office of the Coordinator for Counterterrorism, “Country Reports
on Terrorism 2008,” April 30, 2009, https://2009-2017.state.gov/j/ct/rls/crt/2008/122436.htm.
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was considered to be a part of JAM by the individual or entity making the estimate. Despite some
inconsistencies in the estimates provided about overall levels of Iranian support for Shia militias in general, and for
certain specific Shia militias, the conclusion that Iran provided significant support is consistent across observers and over
time.

One early journalistic account revealing Iran’s funding for Shia militants in Iraq was “The Iran
Connection,” written by Edward T. Pound. Appearing in U.S. News & World Report in November
2004, Pound’s report was based primarily on a review of “classified intelligence reports covering the
period July 2003 through early 2004.”199 Pound described Iran as Muqtada al-Sadr’s “principal
supporter” and revealed that “months before the worst of the insurgency in southern Iraq began” in
April 2004, “U.S. intelligence officials tracked reported movements of Iranian money and arms to
forces loyal to Sadr.”200 Further, in a declassified August 2007 report, the U.S. Department of Defense
concluded that Qais al-Khazali, AAH’s leader, “has significant links to Iran” and that “this affiliation
was used to procure weapons and funding for use by JAM and special groups against” Coalition
forces.201 Accounts of Iranian funding have been verified by the recipients, including Qais al-
Khazali.202 According to a 2009 report from the RAND Corporation, Iran may have provided Sadr
with up to $80 million per month.203

The U.S. government also concluded that Iran was funding Shia militias intent on attacking Coalition
forces. According to Gen. Bergner in a mid-2007 press briefing, IRGC-QF was funneling between
$750,000 to $3 million to the Special Groups each month, including money and equipment.204 This
would mean that the IRGC-QF was funding the Special Groups at an annualized rate of $9 million to
$36 million. In testimony before Congress, Gen. Petraeus described the Special Groups as “funded,
trained, armed, and directed by Iran’s Qods Force, with help from Lebanese Hizballah.”205 A U.S.
Army history of America’s engagement in the Iraq war published in 2019 noted that in July 2003, Abu
Mustafa al-Sheibani, the founder and leader of the Sheibani Network Special Group, “received $40
million from the Iranians to organize a logistics network that would funnel weapons to Shi’a
militants.”206

American intelligence reports align with these conclusions. U.S. intelligence determined that the Iran-
based “Mustafa al Ya’qubi reportedly oversees the JAM financial distribution office.”207 A Combined
Intelligence Operations Center information paper produced in August 2007 further explains that
“Ya’qubi was responsible for disbursing funds to JAM and the Special Groups. The Special Groups
used this financing to conduct attacks against CF [coalition forces].”208 A declassified U.S. intelligence



199 Edward T. Pound, “The Iran Connection,” U.S. News & World Report, November 22, 2004.
200 Ibid.
201 Evidentiary Document, U.S. Department of Defense Magistrate Review of Qais Khazali, August 13, 2007, at 324.
202 PX227, Combined Intelligence Operations Center Information Paper, August 5, 2007, p. 317.
203 PX641, Wehrey et al., Dangerous but not Omnipotent: Exploring the Reach and Limitations of Iranian Power in the Middle East, p.

117.
204 PX356, Multi-National Force-Iraq, “Press Briefing with Brig. Gen. Kevin Bergner,” July 2, 2007.
205 PX346, Gen. David H. Petraeus, “Report to Congress on the Situation in Iraq,” testimony before Congress, April 8-9,

2008.
206 PX242, Joel D. Rayburn et al., The U.S. Army in the Iraq War: Volume 2 – Surge and Withdrawal (Carlisle, PA: U.S. Army

War College Press, January 2019), p. 65.
207 PX227, Combined Intelligence Operations Center Information Paper, August 5, 2007, p. 317, 319.
208 Ibid.

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report assessed the origins of these funds, noting that “OMS and JAM obtain their funding from a
variety of legal and illegal sources in addition to direct support from Iran.”209

The U.S. State Department concurred with these assessments. The State Department’s Country Reports
on Terrorism from 2007, 2008, and 2009 noted that “Iranian authorities continued to provide lethal
support, including weapons, training, funding, and guidance, to some Iraqi militant groups that target
Coalition and Iraqi security forces and Iraqi civilians.”210 Similarly, the U.S. Department of the
Treasury has concluded that IRGC-QF funds Shia militia groups in Iraq.211 The Department indicated
that Kata’ib Hizballah in particular was a recipient of Quds Force financing.212

The U.S. government concluded that Iran intended for these funds to enable attacks against U.S.
forces. The interagency Iraq Survey Group noted in November 2003 that “Iran had reportedly placed
a bounty on U.S. forces of U.S. $2,000 for each helicopter shot down, $1,000 for each tank destroyed,
and $500 for each U.S. military personnel killed.”213

It is clear that Iran’s substantial financial support for Shia militias in Iraq was specifically designed to
encourage and facilitate attacks on Coalition forces, such as those at issue in this case.

Iran’s Role in Planning Shia Militia Attacks
There is evidence that the Iranian government played a direct role in jointly planning and jointly
selecting targets, in coordination with Hizballah and Shia militants. One attack exemplifies this
dynamic. AAH conducted a raid on the Karbala Provincial Joint Coordination Center (PJCC) in
January 2007. The sophisticated raid killed five American soldiers. In the case Fritz v. Islamic Republic
of Iran, a court in this District accurately explained how the PJCC attackers were able to disguise
themselves as insiders, which made the attack uniquely effective:

         The assault on the PJCC began around 6 p.m. on January 20, 2007. Approximately
         seven vehicles approached from the south, driving up to the first of two gated
         checkpoints. They gave “the impression [that] they were ... a convoy that was coming
         from the [U.S.] embassy.” The attackers had outfitted themselves and their vehicles
         (predominantly black Chevrolet Suburban SUVs) to appear as though they were
         American soldiers or security contractors: the SUVs were rigged with false antennae
         on their front bumpers and carried placards directing others to stay back a hundred
         meters, and the attackers spoke English, wore U.S. Army Combat Uniforms, and had
         helmets and weapons resembling those of U.S. soldiers. Most of the vehicles then
         continued on to a second security gate, located due north of the first checkpoint.

         At both gates, the attackers pretended that they were Americans, and then “bullied
         their way past” the checkpoints by demanding — in English — that the Iraqi police
         turn over their weapons. One vehicle stayed behind at each gate. The passengers got

209 Ibid. (emphasis added).
210 PX203, U.S. Department of State, Country Reports on Terrorism (2007); PX204, U.S. Department of State, Country Reports

on Terrorism (2008); PX205, U.S. Department of State, Country Reports on Terrorism (2009).
211 PX67, U.S. Department of the Treasury, press release, “Treasury Designates Individuals, Entity Fueling Iraqi

Insurgency,” January 9, 2008, https://www.treasury.gov/press-center/press-releases/pages/hp759.aspx.
212 PX66, U.S. Department of the Treasury, press release, “Treasury Designates Individual, Entity Posing Threat to

Stability in Iraq,” July 2, 2009, https://www.treasury.gov/press-center/press-releases/Pages/tg195.aspx.
213 Quoted in Pound, “The Iran Connection.”

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          out, one militant held the Iraqi police at gunpoint at each checkpoint, and the
          remaining occupants fanned out to take positions from which they could fire on the
          PJCC building once the assault began. A third vehicle positioned itself between the
          two checkpoints. The remaining SUVs continued north toward the PJCC’s main
          building and entered the parking lot. An unknown number of militants disembarked
          and immediately subdued the Iraqi police stationed around the gated entrance to the
          courtyard.214

That operation displayed further sophisticated elements, including the attackers greeting their eventual
victims and walking “toward the PJCC as though they were arriving for a meeting.”215 After being able
to move into close proximity to their victims in this manner, the militants suddenly attacked.

I will omit further details of the Karbala PJCC assault, which is described at length in the Fritz
proceedings, but suffice to say that public statements from U.S. officials and U.S. government
documents point to extensive Iranian involvement in jointly planning the attack. Much of this
information stemmed from a March 20, 2007 raid by the U.K.’s Special Air Service and Navy SEALs
in Basra, Iraq that recovered a 22-page lessons-learned document showing AAH’s preparations for
the PJCC attack.216 The document revealed the Quds Force’s intimate role in joint preparations for
the attack, including provision of the uniforms, vehicles, and identification cards that allowed the
attackers to disguise their intentions until it was too late. As Gen. Bergner recounted, that document
showed that the Quds Force “had developed detailed information regarding [U.S.] soldiers’ activities,
shift changes and fences, and this information was shared with the attackers. [IRGC-QF] had
American-looking uniforms, vehicles and identification cards that enabled the attackers to more easily
penetrate the Provincial Joint Coordination Center and achieve surprise.”217

In a public press conference that he gave in July 2007 as the spokesman for Multi-National Force –
Iraq, Gen. Kevin Bergner explained that both senior Lebanese Hizballah operative Ali Mussa Daqduq
and AAH leader Qais al-Khazali told their American interrogators following their capture “that senior
leadership within the Qods Force knew of and supported planning for the eventual Karbala attack
that killed five coalition soldiers.”218 When asked outright if “the Quds Force directed and helped plan
[the] attack in Karbala,” Bergner answered affirmatively. “That is what we learned from Qais Khazali,”
he said. According to Gen. Bergner, Daqduq had reported “that the Iraqi Special Groups could not
have conducted the complex operation without the support and direction of the Quds Force.”219

Upon his capture, Daqduq was found to possess documents that further illustrated both Hizballah
and Iran’s involvement in supporting Shia militant groups. These documents detailed Daqduq’s
discussions with his Iraqi counterparts about tactics that could be employed to attack Iraqi and
coalition forces.220

214 Fritz v. Islamic Republic of Iran, 320 F.Supp.3d 48, 66 (D.D.C., 2018). As noted previously in this report, I served as an

expert witness in the Fritz case.
215 Ibid.
216 Sean Naylor, Relentless Strike: The Secret History of Joint Special Operations Command (New York: St. Martin’s Griffith, 2015),

p. 300.
217 PX356, Gen. Kevin Bergner, press conference, July 2, 2007
218 Ibid.
219 Ibid.
220 See Elizabeth O’Bagy & Stephen Wicken, “Fact Sheet: Ali Mussa Daqduq,” Institute for Study of War, May 14, 2012,

https://www.understandingwar.org/reference/fact-sheet-ali-mussa-daqduq#_edn9.
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In September 2008, the U.S. Treasury designated Abdul Reza Shahlai, the IRGC-QF deputy
commander who had jointly “planned the January 20, 2007 attack by JAM Special Groups against U.S.
soldiers stationed at the Provincial Joint Coordination Center in Karbala, Iraq.”221

Iran’s role in helping plan operations in Iraq extends beyond that particularly infamous attack.
Sanctions targeting IRGC-QF’s Gen. Ahmad Foruzandeh specify that “in addition to providing
financial and material support for attacks against Coalition Forces, Foruzandeh supplied a certain Shia
militia group with a target for execution. On July 25, 2005, Foruzandeh held a meeting with
representatives of Iraqi Hizballah and other Shia militia groups, calling upon them to continue
liquidating all enemies of the Islamic revolution.”222 Similarly, Gen. Petraeus condemned Iran for its
role in helping plan a major assault by the Special Groups on the Green Zone in Baghdad that occurred
in March 2008.223

Iranian Motives for Supporting These Groups
Iran provided lethal, material support to Shia militias in Iraq in order to further its interests. The U.S.
invasion of Iraq presented Iran with both an enormous threat and a valuable opportunity. By mid-
2003, Iran found its neighbors to the east and west largely under U.S. control. A U.S. Defense
Intelligence Agency report assessed that “the U.S. invasion of Iraq and Afghanistan in the early 2000s
and international scrutiny of Iran’s nuclear program raised Iran’s fears of encirclement and potential
Western attack.”224 Dexter Filkins writes that, following U.S. military operations in the region, Iranian
officials had “watched the regimes topple in Afghanistan and Iraq and were convinced that they were
next.”225 Karim Sadjadpour, a senior fellow at the Carnegie Endowment for International Peace,
similarly noted that he interviewed numerous Iranian officials in 2003 “as a Tehran-based analyst with
the International Crisis Group, and I vividly remember their fear that the U.S. might turn next to
Tehran.”226

Early on in the Iraq war, Iran appeared hesitant to openly and directly confront the United States, but
it was already working to back Shia proxies in Iraq even at that time. Over time, Iran engaged in an
increasingly lethal proxy war against U.S. forces in Iraq. Iran intended for this war to serve as a
deterrent. Afshon Ostovar, an associate professor of national security affairs at the Naval Postgraduate
School, notes that Iranian support for Shia militias became a crucial part of its deterrence strategy,
because through “demonstrating that U.S. forces were susceptible to Iranian-sponsored attacks, Iran
was able to use the threat of escalating violence in Iraq as a deterrent to an American attack against
Iran’s nuclear facilities.”227 Iran likely also concluded that a quagmire in Iraq with significant U.S.
casualties would dissuade the American public and policymakers from seriously considering a military
intervention to oust the regime in Tehran.


221 PX42, U.S. Department of the Treasury, “Treasury Designates Individuals and Entities Fueling Violence in Iraq,”

September 16, 2008, https://www.treasury.gov/press-center/press-releases/Pages/hp1141.aspx.
222  PX67, U.S. Department of the Treasury, press release, “Treasury Designates Individuals, Entity Fueling Iraqi
Insurgency,” January 9, 2008, https://www.treasury.gov/press-center/press-releases/pages/hp759.aspx.
223 PX678, Marisa Cochrane, “Special Groups Regenerate,” Institute for the Study of War, August 29, 2008, p. 10.
224 Ibid., p. 12.
225 PX634, Dexter Filkins, “The Shadow Commander,” The New Yorker, September 23, 2013.
226 Karim Sadjadpour, “The Sinister Genius of Qassem Soleimani,” The Wall Street Journal, January 10, 2020.
227 Afshon Ostovar, Vanguard of the Imam: Religion, Politics, and Iran’s Revolutionary Guards (New York: Oxford University

Press, 2016), p. 171.
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The use of proxy forces, in contrast to a conventional attack by Iranian forces, also gave Iran a degree
of plausible deniability, which would likely prevent the U.S. from directly retaliating against Iran. As a
result, Iran could minimize the human costs of this strategy, essentially by outsourcing them to Shia
militias.228

However, Iran’s embrace of Shia militias in Iraq was about more than deterrence. The U.S. invasion
also presented Iran with the opportunity to turn neighboring Iraq from a sworn enemy into an ally.
Under Saddam Hussein, Iraq fought a brutal war against Iran that claimed the lives of more than
200,000 Iranians. After Saddam’s fall, U.S. efforts to install a democratically elected government in
Baghdad were likely to empower Tehran’s co-religionists, given that Shia Muslims are Iraq’s largest
ethnoreligious group. Also, considering Iran’s longstanding ties to Shia groups that would participate
in Iraqi politics, such as SCIRI, Iran had the opportunity to significantly influence the new Iraqi
government.

The United States, however, was arguably the most important check on Iranian influence over Iraq’s
government. For that reason, a 2007 U.S. National Intelligence Estimate on Iraqi stability assessed
that “Iraq’s neighbors will continue to focus on improving their leverage in Iraq in anticipation of a
Coalition drawdown.… Over the next year Tehran, concerned about a Sunni reemergence in Iraq and
U.S. efforts to limit Iranian influence, will continue to provide funding, weaponry, and training to Iraqi
Shia militants.” By backing these militias, Iran likely assessed that it could also convince the U.S. to
withdraw from Iraq. If the U.S. left, Iran could more easily bend the Iraqi government to its will.
These militias could also help limit the influence of Iraq’s Sunni political actors. Overall, Iran’s desire
to ward off a U.S. invasion and turn Iraq into a close, subservient ally led to what the U.S. Army’s
history of the Iraq war described as “a regional strategy that sought to promote instability, maximize
American casualties, and steadily increase its control over Iraq’s Shi’a heartland while maintaining
plausible deniability.”229

VI.      Conclusion

Thus, relying on my background, education, training, and experience, as well as substantial evidence
commonly used by experts in relevant fields, it is my expert opinion that:

      A. The Islamic Republic of Iran has an extensive history of using violent non-state actors
         (VNSAs) as proxy groups to advance its foreign policy goals. Among other things, Iran has
         used these groups to launch attacks against U.S. forces in Iraq while retaining plausible
         deniability regarding Iranian involvement.

      B. Following the 2003 U.S. invasion of Iraq, Iran provided substantial material support and
         resources to an array of Shia militant groups, including Badr Corps, Jaysh al-Mahdi, and Special
         Groups such as the Promised Day Brigade, Asa’ib Ahl al-Haq (AAH), and Kata’ib Hizballah.
         Iran’s support to these groups took the form of training; funding; weapons; safe haven; travel
         and transportation; provision of expert knowledge and assistance in tactics, techniques, and
         procedures; and assistance in attack planning.



228 PX242, Rayburn et al., The U.S. Army in the Iraq War: Volume 2, p. 66.
229 PX242, Rayburn et al., The U.S. Army in the Iraq War: Volume 2, p. 66.

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   C. The best available evidence indicates that Shia militants needed Iranian support to obtain,
      assemble, and/or utilize certain weapons and munitions used by these groups in Iraq, including
      sophisticated explosively formed penetrators (EFPs) and improvised rocket assisted munitions
      (IRAMS). Shia militants also obtained Iranian support in obtaining and using rockets, mortars,
      improvised explosive devices, small arms, and other equipment and material vital to their
      operations.

   D. Given the nature, duration, and magnitude of Iranian material support to these specific Shia
      militant groups, Iran’s assistance was essential to the formation, growth, and survival of these
      organizations, and significantly increased their capabilities. As such, certain attacks in Iraq
      committed by these groups from, at least, 2003 to 2011, bear a reasonable connection to Iran’s
      sponsorship and support.

I hold the conclusions and opinions detailed in this declaration to a reasonable degree of professional
certainty, and declare the foregoing under the penalty of perjury:


_________________________________________
Daveed Gartenstein-Ross, Ph.D.




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                                         DAVEED GARTENSTEIN-ROSS
                                    daveed@valensglobal.com • 646-246-4179


Dr. Daveed Gartenstein-Ross is a scholar, practitioner, author, and entrepreneur who is the co-founder and chief
executive officer of Valens Global, a private firm that empowers clients as they navigate and address emergent
challenges rooted in security, technology, and a changing global society. In addition, he is a Senior Advisor on
Asymmetric Warfare at the Foundation for Defense of Democracies, a nonpartisan policy institute in Washington,
D.C., and an Associate Fellow at the International Centre for Counter-Terrorism – The Hague (ICCT). Past
positions he has held include Senior Advisor to the Director of the U.S. Department of Homeland Security’s Office
for Community Partnerships (2016-17) and Fellow at Jigsaw, a tech incubator within Google with the mission of
exploring threats to open societies and building technology that inspires scalable solutions. He has been described as
“a rising star in the counterterrorism community” by The International Herald Tribune.

In a career focused on understanding violent non-state actors’ (VNSAs) role in the world and to helping
policymakers, government agencies, private companies, and others fashion innovative solutions to the challenges
that VNSAs pose, Dr. Gartenstein-Ross has undertaken significant work specifically focused on Iraq-based Sunni
and Shia militant groups. In addition to spending time in Iraq during the height of the country’s civil war, he has
written extensively about both Sunni and Shia militant groups active in the Iraq-Syria theater; testified multiple times
before federal courts as an expert witness on these groups; advised private clients on security issues related to
moving personnel through Iraq during the apex of ISIS’s power; led training for U.S. military units preparing to
deploy to the Iraq-Syria theater; and worked on successful hostage negotiations with an Iraq-based Shia militant
group (Asaib Ahl al-Haq).

As a scholar, Dr. Gartenstein-Ross is the author or volume editor of over 30 books and monographs, with a book
on jihadist groups’ organizational learning processes forthcoming from Columbia University Press. Dr. Gartenstein-
Ross has testified on his areas of core competency before the U.S. House and Senate over a dozen times, as well as
before the Canadian House of Commons and the European Parliament. He holds a Ph.D. in world politics from the
Catholic University of America and a J.D. from the New York University School of Law.

EDUCATION
10,000 Small Businesses Certificate of Entrepreneurship, sponsored by the Goldman Sachs Foundation, classes held at
    Babson College, Wellesley, Mass., 2018.
Ph.D., World Politics, The Catholic University of America, Washington, D.C., 2014.
M.A., World Politics, The Catholic University of America, Washington, D.C., 2010.
J.D., magna cum laude, New York University School of Law, New York, N.Y., 2002.
B.A. with Honors, Communication, magna cum laude, Wake Forest University, Winston-Salem, N.C., 1998.

SELECTED PROFESSIONAL EXPERIENCE
Valens Global, Washington, D.C. Chief Executive Officer, 2014-present.
    • Valens is a private firm dedicated to understanding, predicting, and acting to empower clients to
        navigate and address emergent challenges rooted in security, technology, and a changing global
        society. Its applications of this core expertise include delivering training, threat assessments, and reports;
         designing campaigns in the counter-disinformation and counter-extremism space; leading war games and
         strategic simulations; and helping clients upgrade their physical security through a technique called crisis
         architecture.
    • Valens was named to Entrepreneur Magazine’s E360 list of the top small businesses in the United States in
         2018-19 (no list was released in 2020 due to the COVID-19 pandemic).
International Centre for Counter-Terrorism (ICCT) – The Hague, Netherlands. Associate Fellow, 2013-present.
    • I served as a visiting fellow in March-April 2013, during which I lived in The Hague and undertook a major
         research project on post-Arab Spring salafi jihadism in Tunisia. The project included field research in
         Tunisia and culminated in the study Ansar al-Sharia Tunisia’s Long Game: Dawa, Hisba, and Jihad (2013).



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Senior Advisor to the Director, Office for Community Partnerships, U.S. Department of Homeland Security,
     Washington, D.C., 2016-2017.
Jigsaw/Google, New York, N.Y. Fellow, 2016-2017.
     • Jigsaw is a tech incubator in Google that forecasts and confronts emerging threats. Per its website, Jigsaw
         “builds technology to tackle some of the toughest global security challenges facing the world today.” My
         fellowship was designed to help Jigsaw address the organization’s concern about violent extremist groups’
         use of the online space. Most of my work for Jigsaw remains confidential, though one project that has been
         made public is the Redirect Method for individuals who were searching for ISIS propaganda on YouTube.1
Georgetown University, Washington, D.C. Security Studies Program, Adjunct Assistant Professor, 2013-2017.
The Catholic University of America (M.A. program), Washington, D.C. Lecturer, 2012, 2015.
Foundation for Defense of Democracies (FDD), Washington, D.C. Senior Advisor on Asymmetric Warfare, 2019-
     present; Non-Resident Fellow, 2018-19; Senior Fellow, 2010-18; Vice President of Research, 2007-10.

LEGISLATIVE TESTIMONY
“Dollars Against Democracy: Domestic Terrorist Financing in the Aftermath of Insurrection,” U.S. House
     Committee on Financial Services, Subcommittee on National Security, International Development, and
     Monetary Policy, February 25, 2021.
“Exchange of Views on the Continuing Global Threat from Daesh and its Affiliates,” testimony before the
     European Parliament, Subcommittee on Security and Defense, October 28, 2020.
“ISIS Post Caliphate: Threat Implications for America and the West,” testimony before the House Committee on
     Homeland Security, May 23, 2018.
“Radicalization in the U.S. and the Rise of Terrorism,” U.S. House Subcommittee on National Security and the
     Subcommittee on Government Operations of the Committee on Oversight and Government Reform,
     September 14, 2016.
“Terror in Europe: Safeguarding U.S. Citizens at Home and Abroad,” U.S. Senate Committee on Homeland
     Security and Governmental Affairs, April 5, 2016.
“Boko Haram: The Islamic Insurgency in West Africa,” U.S. House Committee on Foreign Affairs, Subcommittee
     on Terrorism, Nonproliferation, and Trade, February 24, 2016.
“The Paris Attacks: A Strategic Shift by ISIS?,” U.S. House Committee on Foreign Affairs Subcommittee on
     Terrorism, Nonproliferation, and Trade, December 2, 2015.
“The Impact of ISIS on the Homeland and Refugee Resettlement,” U.S. Senate Committee on Homeland Security
     and Governmental Affairs, November 19, 2015.
“Radicalization: Social Media and the Rise of Terrorism,” U.S. House Committee on Oversight and Government
     Reform, Subcommittee on National Security, October 28, 2015.
“Admitting Syrian Refugees: The Intelligence Void and the Escalating Homeland Security Threat,” U.S. House
     Committee on Homeland Security, Subcommittee on Counterterrorism and Intelligence, June 24, 2015.
“Jihad 2.0: Social Media in the Next Evolution of Terrorist Recruitment,” U.S. Senate Foreign Relations Committee,
     May 7, 2015.
“The Islamic State’s Strengths and Vulnerabilities,” House of Commons Standing Committee on Foreign Affairs
     and International Development (Canada), February 5, 2015.
“Successes and Failures of the U.S. and NATO Intervention in Libya,” House Committee on Oversight and
     Government Reform, May 1, 2014.
“Syria Spillover: The Growing Threat of Terrorism and Sectarianism in the Middle East,” U.S. Senate Foreign
     Relations Committee, March 6, 2014.
“State of al-Qaeda, Its Affiliates, and Associated Groups,” U.S. House Armed Services Committee, February 4,
     2014.
“The Terrorist Threat in North Africa: Before and After Benghazi,” Joint U.S. House Subcommittee Hearing of
     Subcommittee on Terrorism, Nonproliferation and Trade, and Subcommittee on the Middle East and North
     Africa, July 10, 2013.
“Islamic Extremism in American Prisons,” Georgia State Legislature (U.S.), September 11, 2007.


1 See coverage of this project in Andy Greenberg, “Google’s Clever Plan to Stop Aspiring ISIS Recruits,” Wired, September 7, 2016,
https://www.wired.com/2016/09/googles-clever-plan-stop-aspiring-isis-recruits/. I led Valens Global’s efforts to map the counter-extremist
narrative space on YouTube for this project.

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“Prison Radicalization: Are Terrorist Cells Forming in U.S. Cell Blocks?,” U.S. Senate Homeland Security and
    Governmental Affairs Committee, September 19, 2006.

EXPERT GROUPS
United Nations Counter-Terrorism Centre (UNCCT), Expert Group Meeting, “The Malicious Use of Artificial
    Intelligence for Terrorist Purposes,” webinar, February 9, 2021.
Global Counterterrorism Forum (GCTF), virtual consultation, “GCTF Strategic Vision for the Next Decade,”
    December 4, 2020.

EXPERT WITNESS
Selig v. Islamic Republic of Iran (District of D.C., 2021). Expert witness for plaintiffs in case centered on Iranian
     support for the Taliban and Haqqani Network.
Fields v. Syria Arab Republic (District of D.C., 2021). Expert witness for plaintiffs in case centered on Syrian support
     for the militant group ISIS.
Sotloff v. Syrian Arab Republic (District of D.C., 2021). Expert witness for plaintiffs in case centered on Syrian support
     for the militant group ISIS.
Doe v. Syrian Arab Republic, CA 1:18-cv-00066-KBJ-GMH (District of D.C., 2020). Expert witness for plaintiffs in
     case centered on Syrian support for the militant group ISIS.
Fritz v. Islamic Republic of Iran, CA 15-456 (District of D.C., 2018). Expert witness for plaintiffs in case centered on
     Iranian support for the militant group Asaib Ahl al-Haq (AAH). Defendant found liable.
United States v. Young, Case No. 1:16-cr-00265-LMB (E.D. Va., 2017). Expert witness for prosecution in the first
     criminal trial of an American law enforcement officer for material support for terrorism. Defendant convicted.
Foley v. Syrian Arab Republic, CA 11-699 (District of D.C., 2016). Expert witness for plaintiffs, testifying about the
     Zarqawi network’s culpability in the deaths of three Americans. Defendant found liable.
United States v. Abdul Kareem (District of Arizona, 2016). Litigation consultant for the defense.
In the Matter of Abdul Qadir (Arlington, Va. Immigration Court, 2015). Expert witness on the Taliban in Afghanistan.
In the Matter of A.D. (Memphis, Tenn. Immigration Court, 2012). Expert witness on al-Shabaab and country
     conditions in Somalia.
In the Matter of B.O. in Removal Proceedings (Boston Immigration Court, 2012). Expert witness on al-Qaeda’s activities
     and capabilities in Kenya.
In the Matter of A.A.W. (Bloomington, Minnesota Immigration Court, 2012). Expert witness on al-Shabaab and
     country conditions in Somalia.
In the Matter of A.A.I. (Colorado Immigration Court, 2011). Expert witness on al-Shabaab and country conditions in
     Somalia.
In the Matter of the Application for Withholding of A.A.M. (Boston Immigration Court, 2011). Expert witness on al-
     Shabaab and country conditions in Somalia.
In the Matter of the Application for Asylum of M.A.A. (N.J. Immigration Court, 2009). Expert witness on al-Shabaab and
     country conditions in Somalia.

SELECTED TRAINING PROGRAMS (Instructor)
“Jihadist Propaganda and the Rise of ISIS,” Foreign Service Institute, U.S. Department of State, January 28, 2022.
“ISIS Case Study,” Foreign Service Institute, U.S. Department of State, November 17, 2021. Designed and delivered
    interactive module on ISIS’s use of disinformation about Derna during its Libya campaign.
“The Transnational White Supremacist Extremist Threat,” PayPal, November 8, 2021.
“The Transnational White Supremacist Extremist Threat,” Wells Fargo, September 23, 2021.
“Jihadist Propaganda and the Rise of ISIS,” Foreign Service Institute, U.S. Department of State, June 11, 2021.
“Jihadist Propaganda and the Rise of ISIS,” Foreign Service Institute, U.S. Department of State, March 19, 2021.
“Jihadist Propaganda and the Rise of ISIS,” Foreign Service Institute, U.S. Department of State, October 2, 2020.
“Jihadist Propaganda and the Rise of ISIS,” Foreign Service Institute, U.S. Department of State, June 12, 2020.
“The Transnational White Supremacist Extremist Threat,” U.S. Customs & Border Protection, Buffalo and Boston
    Field Offices (delivered via Microsoft TEAMS), May 5, 2020.
“Armed Rebel Groups and Violent Extremist Groups in the Levant,” 158th Military Engagement Team, Phoenix,
    Ariz., March 2-3, 2019.


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“Security Situation and Armed Rebel Groups & Violent Extremist Groups in the Levant,” 184th Expeditionary
     Sustainment Command, Camp Shelby, Mississippi, October 29, 2018.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Montross, Va., September 9, 2018.
“The Spread of ISIS to the Greater Levant,” 158th Military Engagement Team, Phoenix, Ariz., August 21, 2018.
“The World and I: How Global Events Can Shape the Threats You Confront Locally,” Anti-Defamation League,
     Advanced Training School, Washington, D.C., June 19, 2018.
 “The World and I: How Global Events Can Shape the Threats You Confront Locally,” Anti-Defamation League,
     Advanced Training School, Washington, D.C., December 5, 2017.
“Online Radicalization: Analysis of Social Media & Networks,” Bulgarian Ministry of Interior & Ministry of
     Defense, Sofia, Bulgaria, September 5-8, 2017.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., August 21, 2017.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., July 10, 2017.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., June 26, 2017.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., June 12, 2017.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., May 15, 2017.
“Illegal Weapons Traffic & Usage,” U.S. Customs & Border Protection, Washington, DC, May 2, 2017.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., April 24, 2017.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., March 6, 2017.
“The Islamic State’s European Networks,” U.S. Customs & Border Protection, Washington, DC, February 15, 2017.
“Implications of Refugee Resettlement in Canada,” U.S. Customs & Border Protection, Washington, DC, January
     11, 2017.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., November 14, 2016.
“The Global Migration Crisis,” U.S. Customs & Border Protection, Washington, DC, November 8, 2016.
U.S. Army Central Command, Shaw Air Force Base, Sumter, South Carolina, August 31, 2016.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., August 22, 2016.
Maryland Army National Guard, 29th Infantry Division, El Paso, Tex., August 9, 2016.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., July 11, 2016.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., June 20, 2016.
3-197th Field Artillery Regiment, Fort Bliss, Tex., March 20, 2016.
3-197th Field Artillery Regiment, Fort Bliss, Tex., February 19, 2015.
4th Brigade Combat Team, 1st Armored Division, Fort Bliss, Tex., October 30, 2014.
4th Squadron, 3rd Cavalry Regiment, Fort Hood, Tex., March 25, 2014.
3rd Sustainment Command (Expeditionary), Fort Knox, Ky., March 12, 2014.
32nd Infantry Brigade Combat Team, Fort McCoy, Wis., February 11, 2014.
3rd Medical Command, Fort Hood, Tex., January 18, 2014.
3-238 General Support Aviation Battalion, Fort Hood, Tex., January 8, 2014.
42nd Combat Aviation Brigade, Fort Hood, Tex., October 29, 2013.
19th Engineering Battalion, Fort Knox, Ky., October 1-2, 2013.
2nd Brigade Combat Team, 4th Infantry Division, Fort Carson, Colo., August 6, 2013.
Afghanistan/Pakistan Hands, Washington, D.C., August 4, 2013.
6th Squadron, 9th Cavalry, Fort Hood, Tex., July 24, 2013.
Afghanistan/Pakistan Hands, Washington, D.C., June 22, 2013.
55th Sustainment Brigade, Fort Hood, Tex., June 17, 2013.
2nd Brigade, 1st Cavalry Division, Fort Hood, Tex., February 20-21, 2013.
1st Stryker Brigade Combat Team, 25th Infantry Division, Fort Wainwright, Alaska, February 5-6, 2013.
Afghanistan/Pakistan Hands, Washington, D.C., December 2, 2012.
Polish Army Special Forces, Krakow, Poland, Nov. 13-15, 2012.
Counter Threat Training (mirror image course for U.S. military), Salt Lake City, Utah, Nov. 4-9, 2012.
Afghanistan/Pakistan Hands, Washington, D.C., Oct. 20, 2012.
4th Brigade Combat Team, 10th Mountain Division, Fort Polk, La., Oct. 9-10, 2012.
Afghanistan/Pakistan Hands, Washington, D.C., Sept. 16, 2012.
38th Sustainment Brigade, North Fort Hood, Tex., Sept. 12-13, 2012.
1st Brigade Combat Team, 3rd Infantry Division, Fort Stewart, Ga., Aug. 22-24, 2012.
136th Maneuver Enhancement Brigade, Fort Hood, Tex., Aug. 17-19, 2012.

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311th Sustainment Command (Expeditionary), Los Angeles, Calif., Aug. 3-5, 2012.
53rd Civil Support Team, Indiana National Guard, Indianapolis, Ind., July 24, 2012.
Croatian Military Academy, Zagreb, Croatia, June 19, 2012.
63rd Signal Battalion, Fort Gordon, Ga., June 5, 2012.
Oregon National Guard, Salem, Ore., May 22, 2012.
Afghanistan/Pakistan Hands, Washington, D.C., Apr. 21, 2012.
Afghanistan/Pakistan Hands, Washington, D.C., Feb. 25, 2012.
5-19th Agribusiness Development Team, Edinburgh, Ind., Feb. 9, 2012.
Afghanistan/Pakistan Hands, Washington, D.C., Jan. 21, 2012.
Provincial Reconstruction Teams, Camp Atterbury, Ind., Jan. 5, 2012.
BAE Systems, McLean, Va., Dec. 1, 2011.
25th Combat Aviation Brigade, Schofield Barracks, Hawaii, Nov. 15, 2011.
Afghanistan/Pakistan Hands, Washington, D.C., Oct. 15, 2011.
4th Infantry Brigade Combat Team, 1st Infantry Division, Fort Riley, Kans., Oct. 12-13, 2011.
411th Engineer Brigade, New Windsor, N.Y., Sept. 23, 2011.
76th Brigade Combat Team, Monterey, Calif., Sept. 21-22, 2011.
Afghanistan/Pakistan Hands, Washington, D.C., Sept. 10, 2011.
3rd Brigade Combat Team, 1st Armored Division, Fort Bliss, Tex., Aug. 18, 2011.
364th Expeditionary Sustainment Command, Fort Bliss, Tex., Aug. 15, 2011.
Afghanistan/Pakistan Hands, Washington, D.C., Aug. 13, 2011.
Agricultural Development Teams of Kansas, Minnesota and Mississippi (combined), Salina, Kan., July 22, 2011.
116th Infantry Brigade Combat Team, Camp Shelby, Miss., July 5, 2011.
3rd Squadron, 124th Cavalry, Texas Army National Guard, Dallas, Tex., June 22, 2011.
Afghanistan/Pakistan Hands, Washington, D.C., May 21-22, 2011.
37th Infantry Brigade Combat Team, Columbus, Ohio, May 20, 2011.
Texas Agricultural Development Team, Austin, Tex., May 17, 2011.
29th Combat Aviation Brigade, Monterey, Calif., May 11, 2011.
I Corps, Fort Lewis, Wash., May 3, 2011.
4th Expeditionary Sustainment Command, San Antonio, Tex., Apr. 26, 2011.
Afghanistan/Pakistan Hands, Washington, D.C., Apr. 2-3, 2011.
I Corps, Fort Lewis, Wash., Mar. 21-22, 2011.
26th Maneuver Enhancement Brigade, Fort Hood, Tex., Mar. 12-13, 2011.
648th Maneuver Enhancement Brigade, Fort Stewart, Ga., Mar. 10, 2011.
Afghanistan/Pakistan Hands, Washington, D.C., Feb. 5, 2011.
36th Infantry Division, 1st Cavalry, Fort Hood, Tex., Jan. 20, 2011.
1st Cavalry Division, Fort Hood, Tex., Jan. 11, 2011.
172nd Brigade Combat Team, Grafenwoehr (Germany), Dec. 16, 2010.
Afghanistan/Pakistan Hands, Washington, D.C., Nov. 13, 2010.
45th Infantry Brigade Combat Team, Monterey, Calif., Nov. 10, 2010.
Afghanistan/Pakistan Hands, Washington, D.C., Oct. 16, 2010.
2nd Brigade Combat Team, 4th Infantry Division, Oct. 12-13, 2010.
197th Fires Brigade, Fort McCoy, Wis., Oct. 7, 2010.
650th Regional Support Group, North Fort Hood, Tex., July 22, 2010.
Afghanistan/Pakistan Hands, Washington, D.C., July 17, 2010.
184th Sustainment Command (Expeditionary), Camp Shelby, Miss., July 6, 2010.
177th Armored Brigade, Camp Shelby, Miss., June 24, 2010.
Anti-Money Laundering Association, Rockville, Md., May 14, 2010.
Oregon National Guard, Warrenton, Ore., Apr. 11-12, 2010.
Anti-Money Laundering Association, Winter Park, Fla., Sept. 23, 2009.
U.S. Army Central Command, Atlanta, Ga., July 15, 2009.
Southern District of Indiana Anti-Terrorism Advisory Council, Indianapolis, Ind., Apr. 13, 2009.
Northern District of Ohio Anti-Terrorism Advisory Council, Cleveland, Ohio, Mar. 23, 2009.
Northern District of Alabama Anti-Terrorism Advisory Council, Huntsville and Birmingham, Ala., Mar. 16-17,
    2009.

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U.S. Department of State Office of Anti-Terrorism Assistance, lecture for senior Qatari officials, Dunn Loring, Va.,
    Feb. 10, 2009.
LECC Anti-Terrorism Training for South Carolina Law Enforcement, Columbia, S.C., June 5, 2008.
Suffolk County Sheriff’s Office, Suffolk County, N.Y., May 2007.
Suffolk County Sheriff’s Office, Suffolk County, N.Y., June 2006.

TEACHING EXPERIENCE
Adjunct Instructor, Duke University, 2021-23. Course taught: National Security Simulation – Great Power Competition, Non-
    State Actors & Human Rights.
Instructor, Carnegie Mellon University, 2021-22. Led two separate simulation-based courses (spring 2021 and spring
    2022).
Adjunct Assistant Professor, Security Studies Program (M.A. program), Georgetown University, Washington, D.C.,
    2013-17. Course taught: Violent Non-State Actors.
University of Southern California, Executive Program in Counter-Terrorism, Los Angeles, Calif., 2013-17. Course
    taught: Al-Qaeda and Its Affiliates.
Adjunct Faculty Member, The Takshashila Institution, Bangalore, India, 2014. Course taught: Violent Non-State Actors.
Lecturer, The Catholic University of America (graduate), Washington, D.C., 2015. Course taught: Violent Non-State
    Actors.
Lecturer, The Catholic University of America (upper-level undergraduate), Washington, D.C., 2012. Course taught: Al-
    Qaeda and Its Affiliates.
Instructor, Leader Development and Education for Sustained Peace (LDESP) program, Naval Postgraduate School,
    2009-present (seminars). Courses taught, by region:
    • Middle East and North Africa. Regional Security Re-Alignment and Drivers of Instability in the Levant;
         Geography of Kuwait; Gulf States: Political, Economic, and Social Trends; The Arab Awakening and Its
         Implications for Stability; Non-State Actors in the Levant.
    • Horn of Africa. History of the Horn of Africa; Drivers of Instability and Radicalization in Northeast and East
         Africa.
    • Afghanistan-Pakistan. History of Afghanistan; Competing Interests of Afghanistan and Its Neighbors;
         Afghanistan-Pakistan Relations.

WAR GAMES & SIMULATIONS
University of Calgary, August 2022. Contracted to lead a war game focusing on disinformation for the university’s
    summer institute.
Carleton University (Ottawa, Canada), August 2022. Contracted to lead a war game, “Acceleration,” for the
    university’s summer institute.
Regent University, Summer 2022. Contracted to lead a war game, “Sleeping Giants,” as a five-week exercise
    undertaken by a for-credit class.
Wake Forest University, Spring 2022. Led a war game, “Sleeping Giants,” as a five-week exercise undertaken by a
    for-credit class in the Communication department.
Johns Hopkins University, Spring 2022. Led an extracurricular war game, “This Side of Paradise,” simulating great
    power competition in Africa.
Johns Hopkins University, Fall 2021. Led a war game, “Exodus,” simulating competition between and among state
    and non-state actors in Afghanistan following the U.S. withdrawal.
Duke University, Fall 2021. Led a course centered around a single, multi-week war game: National Security Simulation
    – Great Power Competition, Non-State Actors & Human Rights.
Canadian Department of Defence, 2021. Principal Investigator for Deepfakes, Climate Change, Flying Cars & Quantum
    Drones: Conditional Forecasting for Canadian Defense, using scenario planning to conceptualize Canadian defence
    needs with respect to numerous evolving challenges.
Johns Hopkins University and Canadian Department of National Defence (co-sponsored), Spring 2021. Led a war
    game, “Utopia or Oblivion,” demonstrating how war games can contribute to the practice of futurism.
Carnegie Mellon University, Spring 2021. Led a multi-day war game, “Acceleration,” as a standalone micro-course.
American University, Spring 2021. Led a multi-week war game, “Acceleration,” as part of the curriculum for two
    classes (Dr. Bacon’s Counterterrorism and Intelligence Analysis courses).


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Global Counterterrorism Forum, Spring 2021. Led a tabletop exercise simulating the creation and iteration of a
    terrorist watchlist in a fictional country known as Atlantis.
Johns Hopkins University, Fall 2020. Led a war game, “Acceleration,” focusing on how the COVID pandemic
    exacerbates fault lines within and among civilizations.
Duke University, Fall 2020. Led a war game, “Acceleration,” focusing on how the COVID pandemic exacerbates
    fault lines within and among civilizations.
Canadian Department of National Defence, 2020-21. Led a project involving the use of war games to anticipate the
    strategic consequences of the COVID-19 pandemic.
Security Studies Program (M.A. program), Georgetown University, Spring 2020. Led a war game, “Sleeping
    Giants,” focusing on the use of sub-state proxies in the U.S.-China competition.
Foundation for Defense of Democracies, January 2020. Led a tabletop exercise focusing on the strategic
    implications of the investment relationship between the People’s Republic of China and Israel.
Johns Hopkins University, Fall 2019. Led a war game, “Sleeping Giants,” focusing on the use of sub-state proxies
    in the U.S.-China competition.
Johns Hopkins University, Fall 2018. Led a war game simulating the regional and global response to the climate-
    induced collapse of the Pakistani state.
Johns Hopkins University, Fall 2017. Led a war game simulating the regional and global response to a major terrorist
    plot targeting Central Europe.
Security Studies Program (M.A. program), Georgetown University, Washington, D.C., 2013-17. Taught a course
    (Violent Non-State Actors) that regularly incorporated war games as part of the curriculum.
Canadian Department of National Defence, 2016. Principal Investigator for grant using scenario planning to
    conceptualize ISIS’s possible futures in North and West Africa.
Johns Hopkins University, Fall 2016. Led a post-9/11 war game, in which teams positioned themselves to respond
    to al-Qaeda’s attacks against America.
Johns Hopkins University, Fall 2015. Led a post-9/11 war game, in which teams positioned themselves to respond
    to al-Qaeda’s attacks against America.

SELECTED CLIENT WORK
Naval Postgraduate School (NPS). 2009-present. Work as a Subject Matter Expert lecturing for military units
     deploying to critical regions for NPS’s LDESP program.
Foundation for Defense of Democracies (FDD). 2015-present. I lead Valens’s efforts to enhance FDD’s security
     posture. Projects I have led include background checks into new employees, a review of the office’s security
     architecture and procedures, and a personal security review of one of the think tank’s executives.
Global Counterterrorism Forum (GCTF). 2018-present. Lead Subject Matter Expert on the Counterterrorism
     Watchlisting Toolkit (October 2021), the Addendum to the GCTF New York Memorandum on Good Practices for
     Interdicting Terrorist Travel (September 2021), and the Berlin Memorandum on Good Practices for Countering Terrorist Use
     of Unmanned Aerial Systems. I also served as the lead SME for a project on racially and ethnically-motivated
     violent extremism.
Jigsaw/Google. 2015-17. Lead regular research projects for Jigsaw/Google helping the organization understand
     trends in violent extremism and harassment in the online space, and how they can be countered.
NATO. 2016-17. Led study for NATO proposing a new methodology for monitoring and evaluation (M&E) of
     counterterrorism efforts; and designed a software platform to house monitoring and evaluation of future
     counterterrorism security assistance missions.
Global Engagement Center, 2017. I led a project analyzing the audience impact of counter-narratives to extremist
     content on YouTube. My team automatically extracted 53 variables about relevant videos and accompanying
     comments. The extracted data was augmented with additional information, including algorithmic language
     detection, translation, and sentiment scoring to provide a granular look at various metrics and trends.
European Union Technical Assistance to Nigeria’s evolving Security challenges (EUTANS). 2016. Served as a
     Subject Matter Expert in Strategic Communication. Organized, presented at and facilitated a conference in
     Abuja where civil society activists were introduced to Boko Haram’s use of social media, grappled with their role
     in responding to online extremism, and produced a Strategic Action Plan.
Check-6. 2014-2016. Led threat analysis for this oil and gas firm, helping them make vital decisions about whether
     to let their employees travel through certain dangerous or unstable countries.


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Tullow Oil. 2015. Led team conducting an assessment of the likely impact of al-Shabaab’s insurgency in Somalia on
    a possible pipeline investment in the Horn of Africa.
Joint Improvised-Threat Defeat Organization (JIDO). 2014-2015. Worked on four projects: projecting the future (to
    2024) of a variety of violent non-state actors; building scenarios in which the Syria conflict could spill into
    Jordan; analyzing the offensive that the Islamic State (ISIS) undertook in Iraq; and analyzing the Libyan civil
    war.
Ministry of Foreign Affairs, The Netherlands. 2014-2015. Headed major project advising EU policymakers on
    options for addressing the crisis in North Africa.
U.S. Department of State, Office of Anti-Terrorism Assistance. 2007-2010. Subject Matter Expert designing and
    leading training for three separate projects (Mitigating Prison Inmate Radicalization course; and modules on
    Trends in Terrorism, and Terrorism: Overview, Motives, and Methodologies).
Corporate Risk International. 2008-09. Subject matter consultant on Iraqi insurgent group Asa’ib Ahl al-Haq for live
    hostage negotiation.

BOOKS AND MONOGRAPHS
Enemies, Near and Far, forthcoming 2022 from Columbia University Press.
Crypto-Fascists: Cryptocurrency Usage by Domestic Extremists (with V. Koduvayur and S. Hodgson), FDD Press, 2022.
DHS @ 20: Navigating a Changing Security Environment, New America Foundation, August 2021.
Skinheads, Saints, and (National) Socialists: An Overview of the Transnational White Supremacist Movement, FDD Press, 2021.
Behind the Black Bloc: An Overview of Militant Anarchism and Anti-Fascism, FDD Press, 2021.
“Like a Drop of Cyanide”: A Strategic Framework for Addressing Hateful Conduct and Radicalization in the Canadian Armed
     Forces, report for Canada’s Department of National Defence, September 2020.
Through the Adversary’s Eyes: A Review of the Pro-Kremlin, Anti-CAF, Anti-NATO Digital Information Ecosystem, report for
     Canada’s Department of National Defence, August 2020.
How to Master the Strategic Environment of Sub-State Threats Through Applied Artificial Intelligence (with E. Chace-Donahue
     and S. Carvin), report for Canada’s Department of National Defence, January 2020.
Virtual Plotters. Drones. Weaponized AI?: Violent Non-State Actors as Deadly Early Adopters, report for Canada’s
     Department of National Defence, July 2019.
Evolving Terror: The Development of Jihadist Operations Targeting Western Interests in Africa (with J. Zenn, S. Sheafer & S.
     Bejdic), Foundation for Defense of Democracies, 2018.
Islamic State 2021: Possible Futures in North and West Africa, Foundation for Defense of Democracies, 2017.
The Islamic State’s Global Propaganda Strategy (with N. Barr and B. Moreng), ICCT—The Hague, 2016.
Islamic State vs. al-Qaeda: Strategic Dimensions of a Patricidal Conflict (with J. Fritz, B. Moreng and N. Barr), New America
     Foundation, 2015.
The Winner’s Messaging Strategy of the Islamic State: Technically Excellent, Vulnerable to Disruption (with N. Barr), Wikistrat,
     2015.
The Crisis in North Africa: Implications for Europe and Options for EU Policymakers (with N. Barr, G. Willcoxon, and N.
     Basuni), Netherlands Institute of International Relations Clingendael, 2015.
Dignity and Dawn: Libya’s Escalating Civil War (with N. Barr), ICCT—The Hague, 2015.
Ansar Bayt al-Maqdis’s Oath of Allegiance to the Islamic State, Wikistrat, 2015.
China’s Post-2014 Role in Afghanistan, Washington, DC: FDD Press, 2014.
Ed. (with J. Schanzer), Allies, Adversaries and Enemies: America’s Increasingly Complex Alliances, Washington, DC: FDD
     Press, 2014.
Raising the Stakes: Ansar al-Sharia in Tunisia’s Shift to Jihad (with B. Moreng and K. Soucy), ICCT–The Hague, 2014.
Ansar al-Sharia Tunisia’s Long Game: Dawa, Hisba, and Jihad, ICCT—The Hague, 2013.
The Tactical and Strategic Use of Small Arms by Terrorists and Terrorist Groups (Washington, DC: FDD Press, 2012).
Ed. (with L. Frum), Terror in the Peaceable Kingdom: Understanding and Addressing Violent Extremism in Canada
     (Washington, DC: FDD Press, 2012).
Bin Laden’s Legacy (New York: John Wiley & Sons, 2011).
Ed. (with C. May), The Afghanistan-Pakistan Theater: Militant Islam, Security and Stability (Washington: FDD Press,
     2010).
Terrorism in the West 2008: A Guide to Terrorism Events and Landmark Cases (Washington, DC: FDD Press, 2009).
Homegrown Terrorists in the U.S. and U.K.: An Empirical Examination of the Radicalization Process (Washington, DC: FDD
     Press, 2009).

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Abu Yahya al-Libi: Profile of an Ideologue (Washington, DC: FDD Press, 2008).
Ed. (with C. May), From Energy Crisis to Energy Security: A Reader (Washington, DC: FDD Press, 2008).
Firefighters’ Developing Role in Counterterrorism (New York: Manhattan Institute, 2008).
The Convergence of Crime and Terror, New York: Manhattan Institute, 2007.
My Year Inside Radical Islam, New York: Tarcher/Penguin, 2007.

SELECTED BOOK CHAPTERS
“Jihadism in the Post-Arab Spring Maghreb,” in S. King & A. Magraoui eds., The Lure of Authoritarianism: The Maghreb
    After the Arab Spring, Indiana University Press, 2019.
“Midterm Assessment: Sunni Jihadism,” in J. Hannah ed., Midterm Assessment: The Trump Administration’s Foreign and
    National Security Policies, FDD Press 2019.
“The United States’ Post-9/11 Fight Against al-Qa’ida and the Islamic State: A Losing Effort in Search of a
    Change,” in David W. Lesch & Mark L. Haas eds., The Middle East and the United States: History, Politics and
    Ideologies 6th ed., Routledge 2018.
“Violent Non-State Actor Proxies in the Pakistan-Afghanistan Relationship,” in A. Pande ed., Handbook on
    Contemporary Pakistan, Routledge 2017.
“MENA Countries’ Responses to the Foreign Fighter Phenomenon,” in A. de Guttry et al. eds., Foreign Fighters
    Under International Law and Beyond (The Hague: T.M.C. Asser Press, 2016).
“The Evolution of Post-Ben Ali Tunisian Jihadism,” in A. Celso & R. Nalbandov eds., The Crisis of the African State
    (Quantico, Va.: Marine Corps University Press, 2016).
“The Genesis, Rise, and Uncertain Future of al-Qaeda,” in R. Law ed., The Routledge History of Terrorism, forthcoming
    Routledge, 2015.
“Violent Non-State Actors in the Afghanistan-Pakistan Relationship,” in C. Fair & S. Watson eds., Pakistan’s
    Challenges, University of Pennsylvania Press, 2015.
“Violent Non-State Actors: Paradigmatic Lessons Learned,” in National Security Management in Federal Structures:
    Perspectives from India and the United States (Kochi, India: Centre for Public Policy Research, 2014).
“The Future of Preventive Detention Under International Law,” in Sam Muller ed., The Law of the Future and the
    Future of Law (Hague Institute for the Internationalisation of Law, 2012).
“The Legacy of Osama bin Laden’s Strategy,” in David Kamien ed., The McGraw-Hill Homeland Security Handbook
    (New York: McGraw-Hill, 2012).
“Abducting Islam” (with K. Dabruzzi), in R. Rogan & F. Lanceley, eds., Contemporary Theory, Research and Practice of
    Crisis/Hostage Negotiation (Hampton Press, 2010).

ACADEMIC AND TECHNICAL PUBLICATIONS
“Understanding Shifting Triadic Relationships in the Al-Qaeda/ISIS Faction Ecosystem” (with V.S. Subrahmanian
    et al.), IEEE Transactions on Computational Social Systems, September 23, 2020.
“When Jihadist Factions Split: A Data-Driven Network Analysis” (with S. Hodgson, D. Bellutta, C. Pulice & V.S.
    Subrahmanian), Studies in Conflict & Terrorism (2019).
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    Canadian Armed Forces,” MINDS Virtual Expert Briefing, Canadian Department of National Defence,
    December 2, 2020.
“Preventing White Supremacist Violent Extremism,” Duke University (webinar), September 11, 2020.
“Maritime Security and Terrorist Travel: A Global Overview,” keynote presentation, Virtual Consultation on the
    Implications of Terrorist Travel in the Maritime Domain, Global Counterterrorism Forum, July 21, 2020.

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“How Terrorist Organizations and Violent Extremists are Operating in the Fog of COVID-19,” Foundation for
     Defense of Democracies webinar, June 23, 2020.
“Update on Terrorism—Expectations for 2020 and Beyond,” Infonex Canadian BCP and Emergency Management
     2020 Conference, Ottawa, January 28, 2020.
“Violent Non-State Actors as Deadly Early Adopters,” Canadian Department of National Defence, Ottawa,
     September 18, 2019.
 “Future Global Trends and Asymmetric Warfare,” keynote speech, Changing Nature of Conflicts Workshop, Near
     East South Asia Center for Strategic Studies, National Defense University, Casablanca, Morocco, June 18, 2019.
“CT Challenges: What’s Going Well, What’s Not Going Well,” Beyond Christchurch and the Caliphate: Terrorism’s
     Futures, conference hosted by the Australian Government & Australian National University, Canberra,
     Australia, June 5, 2019.
“Current and Emerging Technologies,” keynote speech, 2019 Sovereign Challenge Program Annual Conference,
     U.S. Special Operations Command, Pittsburgh, Pa., May 1, 2019.
“The Violent Non-State Actor Technology Adoption Curve,” T2 Conference on Technology and the Future of
     Terror, sponsored by Georgia State University and Sam Nunn School at Georgia Tech, Atlanta, Ga., April 11,
     2019.
“Artificial Intelligence and Asymmetric Warfare,” Near East South Asia Center for Strategic Studies, National
     Defense University, Washington, D.C., February 7, 2019.
“The Current Threat to Civil Aviation,” keynote address, Airport IT & Security 2018 conference, Amsterdam, Dec.
     4, 2018.
“#Extremism: Social Media, Recruitment, Radicalization and Counternarratives,” Partnering in Practice: Preventing
     Social Polarizations conference, Edmonton, Alberta, December 1, 2018.
“The Past, Present and Future of al-Qaeda,” Campbell University, Buies Creek, N.C., September 20, 2018.
“Islamic State’s Virtual Planners Model,” The Jamestown Foundation, Washington, D.C., June 6, 2018.
Panelist on Academic Panel, Defense Combating Terrorism Intelligence Conference, Reston, Va., May 15, 2018.
“Artificial Intelligence and Asymmetric Warfare,” presentation at NESA-AFRICOM Senior Leaders Dialogue,
     Tunis, Tunisia, May 2, 2018.
“Technology Tsunami,” U.S. Army Special Operations Command (USASOC) Young Lions Program, Fort Bragg,
     N.C., February 7, 2018.
“Evolving Terror: The Development of Jihadist Operations Targeting Western Interests in Africa,” Defence
     Engagement Program, Canadian Department of National Defence, Ottawa, Jan. 29, 2018.
“The World and I: How Global Events Can Shape the Threats You Confront Locally,” keynote speech, Counter
     Terrorism Symposium, Miami International Airport Auditorium, Miami, Fla., Jan. 23, 2018.
“The World and I: How Global Events Can Shape the Threats You Confront Locally,” Anti-Defamation League
     Advanced Training School, Washington, D.C., December 5, 2017.
“Islamic Extremist Propaganda,” Institute of World Politics, Washington, D.C., November 28, 2017.
“Countering Radicalization: What Can Be Done?,” Enriching the Middle East’s Economic Future conference,
     sponsored by UCLA Center for Middle East Development, Doha, November 13, 2017.
“Combating Online Radicalization” (panelist), Foundation for Defense of Democracies, Washington, D.C.,
     November 9, 2017.
“Technology Tsunami,” U.S. Army Special Operations Command (USASOC) Young Lions Program, Fort Bragg,
     N.C., October 26, 2017.
“The Evolving Jihadist Ideology and Its Implications for the Intentions of al-Qaeda Core and al-Qaeda in Syria,”
     workshop presentation, Canadian Security Intelligence Service, Ottawa, October 3, 2017.
“Assessing the Next Steps of Foreign Fighters in Iraq/Syria,” workshop presentation, hosted by CENTRA
     Technologies, Arlington, Va., September 28, 2017.
“Information Tools to Support Counterterrorism Capacity-Building Collaboration,” workshop presentation, NATO
     Center of Excellence – Defense Against Terrorism, Ankara, Turkey, September 21, 2017.
“Sixteen Years After 9/11: Assessing the Terrorist Threat” (panel), New America Foundation, Washington, D.C.,
     September 11, 2017.
“The Jihadist Landscape in South Asia,” Near East South Asia Center, National Defense University, Washington,
     D.C., August 14, 2017.
 “Change or Continuity Since 2014: ISIS in Global Context,” The Evolving Terrorist Threat conference, The
     RAND Corporation, Arlington, Va., June 27, 2017.

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“Future of the Salafi Jihadist Movement” (presenter), The Ideology of Salafi Jihadism, CENTRA Technologies,
    conference hosted for the U.S. intelligence community, McLean, Va., June 6, 2017.
“Organizational Adaptation” (panelist), Anticipating Adaptation and Innovation in Terrorist External Attack
    Planning, CENTRA Technologies, conference hosted for the U.S. intelligence community, Arlington, Va., May
    22, 2017.
“Terrorism in 2020” (panel), Department of Defense Combating Terrorism Intelligence Conference, Reston, Va.,
    May 9, 2017.
“Countering Violent Extremism,” presenter and panelist, Homeland Security Training Institute, College of DuPage,
    Glen Ellyn, Ill., March 29, 2017.
“After the Islamic State: Consequences and Beneficiaries,” panelist, Foundation for Defense of Democracies,
    Washington, D.C., March 7, 2017.
“Counterterrorism/Extremism and the Internet Challenge,” respondent, Quad-Plus Dialogue, hosted at the
    Heritage Foundation, Washington, DC, March 1, 2017.
“A Deep Dive on al-Qaeda’s Syrian Branch,” Al-Qaeda in 2017 Workshop, Washington Institute for Near East
    Policy, Washington, DC, March 1, 2017.
“Terrorism in Conflict Zones: Syria in Comparison,” CENTRA Technologies, conference for U.S. intelligence
    community, Arlington, Va., February 23, 2017.
“The Jihadist Landscape in South Asia,” Near East South Asia Center, National Defense University, Washington,
    D.C., February 6, 2017.
“What Next? Regional Trends and Threats,” Conference on What the New Administration Needs to Know About
    Terrorism & Counterterrorism, Georgetown University Center for Security Studies and St Andrews University
    Handa Centre for the Study of Terrorism and Political Violence, Washington, D.C., January 26, 2017.
“How Does it All End?” workshop, panelist, National Counterterrorism Center (NCTC), McLean, Va., January 12-
    13, 2017.
“The Jihadi Threat: ISIS, al-Qaeda and Beyond,” panel, U.S. Institute of Peace, Washington, D.C., December 12,
    2016.
“The Islamic State’s Virtual Planners: A New Method of Terrorist Attack for the Social Media Age,” Anti-
    Defamation League Advanced Training School, Washington, D.C., Dec. 6, 2016.
Keynote speech, After ISIL: Stability and Spillover, sponsored by U.S. Army Special Operations Command and the
    Laboratory for Unconventional Conflict & Simulation (LUCAS), Duke University, Durham, N.C., Dec. 2, 2016.
“The Growing Challenge,” keynote address, Social Media Narratives and Extremism Workshop, sponsored by the
    Near East South Asia Center, National Defense University, Casablanca, Morocco, August 16-17, 2016.
“The Future of Violent Extremism,” Executive Program in Counter-Terrorism, CREATE center, University of
    Southern California, Los Angeles, August 3, 2016.
“The Jihadist Landscape in South Asia,” Near East South Asia Center, National Defense University, Washington,
    DC, July 14, 2016.
“As the Rest of the World Gets Online: Implications for Militant Groups, Stability, and Social Change,” keynote
    speech, Transportation Security Administration (TSA) Intel Talk series, Arlington, Va., July 13, 2016.
“Degree of Local and Popular Support for the Islamic State Provinces,” Beyond Syria and Iraq conference,
    Washington Institute for Near East Policy, Washington, D.C., June 9, 2016.
“Transnational Terrorism, Foreign Fighters and Youth Radicalization,” Developing Strategies to Address
    Contemporary Security Challenges on Europe’s Southern Flank, George C. Marshall European Center for
    Security Studies, Garmisch, Germany, May 10, 2016.
“Cyber Technology Roles and Trends in Radicalization,” keynote presentation, U.S. Army Special Operations
    Command Commander’s Conference, West Point, N.Y., May 4, 2016.
“Jihadism: Can It Be Defeated?,” Foundation for Defense of Democracies, Washington Forum, Washington, DC,
    April 13, 2016.
“Global Cyber-Vulnerabilities: Threats, Challenges, and Opportunities,” Foundation for Defense of Democracies,
    Washington, DC, March 9, 2016.
“The Competition between the Islamic State and al-Qaeda,” The New Global Reality: Challenges and Risks to
    Regional Stability international conference, Kazakhstan Institute for Strategic Studies, Astana, Kazakhstan,
    March 2, 2016.
“The Three I’s: Iran, Iraq, ISIS,” Near East South Asia Center, National Defense University, Arlington, Va.,
    February 22, 2016.

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“Intellectual Frameworks for Counter-Messaging,” U.S. Special Operations Command Central (SOCCENT),
    January 26, 2016.
Col. Richard R. Hallock Lecture Series, Columbus State University, Columbus, Ga., October 12, 2015.
“The Competition between the Islamic State and al-Qaeda: Implications for Regional States and the Future of the
    Jihadist Movement,” NATO Advanced Research Workshop, Brussels, October 6, 2015.
“The Nexus Between Crime and Terror,” Counter-Threat Finance Working Group, U.S. Special Operations
    Command (SOCOM), Tampa, Fla., September 22, 2015.
“ISIS: The New Caliphate?” Near East South Asia Center, National Defense University, Washington, DC,
    September 21, 2015.
“Lone Wolves and Loose Networks,” International Institute for Counter-Terrorism, World Summit on Counter-
    Terrorism, Herzliya, Israel, September 9, 2015.
“The ‘Islamic State’: The Future of Global Jihad?,” International Institute for Counter-Terrorism, World Summit on
    Counter-Terrorism, Herzliya, Israel, September 8, 2015.
“Al-Qaeda and Its Affiliates,” National Center for Risk and Economic Analysis of Terrorism Events (CREATE),
    Executive Program in Counterterrorism, University of Southern California, Los Angeles, August 19, 2015.
“The Middle East: Now and Next,” The Chautauqua Institution, Chautauqua, N.Y., August 17, 2015.
“The Chaotic Future of the Middle East,” Near Futures for the Near East: A Government-Academic Dialogue,
    Minerva Research Initiative/Defense Intelligence Agency, Alexandria, Va., August 5, 2015.
“The Competition between the Islamic State and al-Qaeda,” Center for American Progress, Washington, DC, May
    6, 2015.
“Mapping the Global Islamist Insurgency,” Heritage Foundation, Washington, DC, May 5, 2015.
“ISIS: Burning, Beheading and Mass Executions,” Sun Valley Global Affairs Forum, Sun Valley, ID, April 23, 2015.
“Are We Still Fighting a War on Terrorism?”, Washington Forum, Foundation for Defense of Democracies,
    Washington, DC, April 15, 2015.
“Libya’s Escalating Civil War,” Royal United Services Institute, London, 13 March 2015.
“Libya’s Escalating Civil War,” International Centre for Counter-Terrorism—The Hague, March 12, 2015.
“On Tribalism, Jihadists, and Lone Wolf Political Violence,” panel, Understanding the Extremist Threat workshop,
    Institute for National Strategic Studies, Washington, DC, March 11, 2015.
“Terrorism in Canada,” Infonex Canadian Emergency Management Conference, Ottawa, January 20, 2015.
“The Islamic State: A New Genre of Foe for a New Media Age,” Brandeis University, Waltham, Mass., Nov. 13,
    2014.
“Successes and Failures of the U.S. and NATO Intervention in Libya,” Association for the Study of the Middle East
    and Africa Annual Conference, Arlington, Va., Nov. 1, 2014.
 “The ISIL Campaign in Anbar,” National Defense University, Washington, D.C., October 20, 2014.
“Pakistan: Protests and Policy,” Foundation for Defense of Democracies, Washington, D.C., September 19, 2014.
“Terrorism and the United Arab Emirates,” National Defense College, Abu Dhabi, September 14, 2014.
“Competition vs. Cooperation in Global Jihad,” International Institute for Counter-Terrorism, World Summit on
    Counter-Terrorism, Herzliya, Israel, Sept. 11, 2014.
“Using a Political Science Ph.D. in DC: Skills and Training for Non-Traditional Opportunities” (panel), American
    Political Science Association Annual Meeting, Toronto, August 28, 2014.
“Keeping Our Friends Close and Our Frenemies Closer?” Foundation for Defense of Democracies, Washington,
    D.C., July 11, 2014.
“Tunisia and Ansar al-Sharia: Foreign Fighters and the Evolution of a Jihadist Group,” Combating Terrorism
    Working Group, Brussels, April 24, 2014.
“Loss of Distance and the Public Intellectual: Twitter’s Impact on How We Interact and Think,” Wake Forest
    University Argumentation Conference, Winston-Salem, N.C., April 12, 2014.
“The Prospects of Governance in Somalia,” Georgetown University, Washington, D.C., Mar. 5, 2014.
“Ansar al-Sharia’s War with Tunisia,” International Centre for Counter-Terrorism—The Hague, The Hague,
    Netherlands, Feb. 20, 2014.
“Understanding Al-Qaeda and its Affiliates: A Global Threat or JV Squad?” Foundation for Defense of
    Democracies, Washington, D.C., Feb. 5, 2014.
“Social Media: Game Changer or Tool for Regime Exploitation?” Foundation for Defense of Democracies,
    Washington, D.C., Dec. 11, 2013.


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“Violent Non-State Actors: Strategies and Tactics in Addressing the Problem,” Centre for Public Policy Research,
     Kochi, India, Dec. 6, 2013.
“Afghanistan After the United States Drawdown,” Takshashila Institution, Bangalore, India, Dec. 5, 2013.
“Afghanistan After the United States Drawdown,” O.P. Jindal Global University, Sonipat, India, Dec. 4, 2013.
“Who Calls the Shots? Syria, Russia, Hezbollah” (discussant), Association for the Study of the Middle East and
     Africa Annual Conference, Arlington, Va., Nov. 23, 2013.
“Ansar al-Sharia Tunisia’s Long Game: Dawa, Hisba, and Jihad,” Association for the Study of the Middle East and
     Africa Annual Conference, Arlington, Va., Nov. 22, 2013.
“Afghanistan After the U.S. Withdrawal,” Takshashila Institution, Graduate Certificate in Public Policy program
     (webinar), Nov. 16, 2013.
Panel: “The Challenge of Violent Non-State Actors and the Academy,” Wake Forest University, Winston-Salem,
     N.C., Oct. 10, 2013.
Panel: “Africa’s Youth in the Age of Extremism,” National Committee on American Foreign Policy, New York
     City, Sept. 26, 2013.
Panel: “Homegrown Terrorism, Local Initiative, and ‘Lone Wolves,’” International Institute for Counter-Terrorism,
     World Summit on Counter-Terrorism, Herzliya, Israel, Sept. 11, 2013.
Panel: “From A to Z: Al-Qaeda Central and Its Affiliates,” International Institute for Counter-Terrorism, World
     Summit on Counter-Terrorism, Herzliya, Israel, Sept. 10, 2013.
“Ansar al-Sharia Tunisia: Dawa, Hisba, and Jihad,” International Centre for Counter-Terrorism—The Hague,
     Brussels, Belgium, Apr. 19, 2013.
“Policy Under Fire: How Should the U.S. Handle the Non-Criminal Detention of Violent Non-State Actors?”
     Foundation for Defense of Democracies, Washington, D.C., Feb. 22, 2013.
“Dispatches from Mali,” discussion sponsored by Foreign Policy and the Pulitzer Center on Crisis Reporting,
     Washington, D.C., Jan. 30, 2013.
“Why Are Consensus Views So Often Wrong in Regional Security Studies?,” Cultural Knowledge Consortium
     Speaker Series, online conference, Nov. 30, 2012.
“Why Are Consensus Views So Often Wrong in Regional Security Studies?,” United States Naval Academy Africa
     Forum, Annapolis, Md., Oct. 17, 2012.
“Why Are Consensus Views So Often Wrong in Regional Security Studies?,” Association for the Study of the
     Middle East and Africa Annual Conference, Arlington, Va., Oct. 12, 2012.
“Lone Wolf Islamic Terrorism: Abdulhakim Mujahid Muhammad (Carlos Bledsoe) Case Study,” Lone Wolf and
     Autonomous Cell Terrorism, conference at Uppsala University, Uppsala, Sweden, Sept. 25, 2012.
“Tactics to Undermine Terrorist Organizations,” University of Maryland at College Park, Washington, D.C., Sept.
     10, 2012.
“The Arab Spring, Organizational Resiliency, and a New Operating Environment: Al Qaeda’s Outlook 2012,”
     Defense Intelligence Agency Speaker Series, Washington, D.C., July 31, 2012.
“Combating Olympic Terrorism: National and International Lessons,” Potomac Institute for Policy Studies,
     Arlington, Va., July 25, 2012.
“Bin Laden’s Legacy: Strategy and the Global Fight Against al Qaeda,” Association for Intelligence Officers,
     Kennebunk, Maine, May 19, 2012.
“The Arab Awakening and the Future of al Qaeda,” Woodrow Wilson International Center for Scholars,
     Washington, D.C., May 10, 2012.
“Homegrown Threats and Radicalization,” 7th Annual Homeland Security Law Institute, American Bar Association,
     Washington, D.C., Mar. 22, 2012.
“Somalia: America’s Forgotten Battleground,” World Affairs Council of Greater Richmond, Richmond, Va., Feb.
     28, 2012.
“Islamist Radicalization,” U.S. Marine Corps Command and Staff College, Quantico, Va., Feb. 22, 2012.
“Al-Qaeda After bin Laden,” School of Advanced International Studies, Johns Hopkins University, Washington,
     D.C., Feb. 21, 2012.
“Bin Laden’s Legacy,” Pakistan Afghanistan Federation Forum, The Pentagon, Arlington, Va., Jan. 20, 2012.
“Foreign Fighter and Radicalization Threats,” Foreign Policy Research Institute, Washington, D.C., Dec. 6, 2011.
“Ungoverned Spaces: The Struggle for Somalia,” Foundation for Defense of Democracies, Washington, D.C., Dec.
     2, 2011.


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“Bin Laden’s Legacy: U.S. Mistakes in the War on Terror,” Cleveland Council on World Affairs, Cleveland, Ohio,
     Nov. 22, 2011.
“Homegrown Terrorism: The Domestic Threat,” Jewish Institute for National Security Affairs, Washington, D.C.,
     Nov. 8, 2011.
“Why al Qaeda is Winning,” Association for the Study of the Middle East and Africa Annual Conference, Arlington,
     Va., Nov. 5, 2011.
“The Bin Laden Aftermath,” World Affairs Council of Greater Richmond, Richmond, Va., Oct. 27, 2011.
“Bin Laden’s Troubled Legacy,” New America Foundation, Washington, D.C., Oct. 18, 2011.
“Bin Laden’s Legacy: U.S. Strategy and the ‘War on Terrorism,’” High Point University, High Point, N.C., Oct. 7,
     2011.
“9/11/01—Ten Years Later,” Campbellsville University, Campbellsville, Ky., Sept. 12, 2011.
“The Future of Terrorism: Combating the Next Wave,” Heritage Foundation, Washington, D.C., Sept. 8, 2011.
“Are We Safer?” (debate with Peter Bergen), National Consortium for the Study of Terrorism and Responses to
     Terrorism, University of Maryland, Washington, D.C., Sept. 1, 2011.
“Bin Laden’s Legacy” (Distinguished Speaker Series), National Center for Risk and Economic Analysis of Terrorism
     Events (CREATE), University of Southern California, Los Angeles, Aug. 4, 2011.
“Terrorist Use of the Internet,” National Counterterrorism Center, Conference on al Qaeda and the Global Threat,
     Warrenton, Va., July 28, 2011.
“Terrorism in Canada,” Foundation for Defense of Democracies, Ottawa, June 12-13, 2011.
“Ideas, Identity, and Terror” (keynote speech), The Impact of Identity Politics on Violent Extremism: Regional
     Perspectives, Global Futures Forum, Monterey, Calif., Apr. 7, 2011.
“Homegrown Terrorists and Lone Wolves,” Government Security Conference and Expo, Washington, D.C., Mar.
     29, 2011.
“Countering Terrorist Narratives,” Council on Foreign Relations, Washington, D.C., Feb. 11, 2011.
“Domestic Intelligence: New Powers, New Risks,” Brennan Center for Justice (New York University School of
     Law), Washington, D.C., Jan. 18, 2011.
“Countering Youth Radicalization,” Preventing Youth Radicalization Conference, Ottawa Police Service, Ottawa,
     Dec. 7, 2010.
“Islamic Radicalization to 2025,” Special Operations Command Europe (SOCEUR), Component Commander’s
     Conference, Garmisch, Germany, Nov. 16, 2010.
“The Economic Strategy of Jihad,” Association for the Study of the Middle East and Africa Annual Conference,
     Arlington, Va., Nov. 6, 2010.
“The al Qaeda Plot in Europe: Testing Transatlantic Security Cooperation,” Foundation for Defense of
     Democracies, Washington, D.C., Oct. 15, 2010.
“Somalia Case Study,” The Foreign Fighter Problem Conference, Foreign Policy Research Institute, Washington,
     D.C., Sept. 27, 2010.
“Americans in al Qaeda,” International Institute for Counter-Terrorism, World Summit on Counter-Terrorism,
     Herzliya, Israel, Sept. 15, 2010.
“The Danger of ‘Homegrown’ Terrorism in the U.S.A.,” Universität Tübingen, Tübingen, Germany, Sept. 9, 2010.
“Academic Perspectives on al-Shabaab,” Inter-Agency Task Force’s Counter-Radicalization Branch, U.S. Special
     Operations Command (SOCOM), Washington, D.C., June 2010.
“The Future of Anti-Money Laundering Efforts,” John Jay College of Criminal Justice, New York City, June 9,
     2010.
“Al Qaeda and the Dynamics of Local: Somalia Case Study,” National Defense University, Washington, D.C., April
     21, 2010.
“The War Against al Qaeda in Somalia,” American Enterprise Institute, Washington, D.C., Apr. 19, 2010.
“Terrorist De-Radicalization Programs,” Heritage Foundation, Washington, D.C., Mar. 26, 2010.
“Islam and the West,” American Political Science Association Annual Meeting, Toronto, September 2009.
“Pakistan’s Military and Religious Extremism,” Foundation for Defense of Democracies, Freeport (The Bahamas),
     June 11, 2009.
“PKK Challenges Ahead,” Assembly of Turkish American Associations Convention, Arlington, Va., May 16, 2008.
“Radicalization in the West,” Manhattan Institute, New York City, Apr. 8, 2008.
“Assessing the Surge,” Cato Institute, Washington, D.C., Sept. 20, 2007.


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“Homegrown Terrorists and Converts,” L.A.P.D. Joint Regional Intelligence Conference, Los Angeles, April 12,
   2007.

GRANTS
Principal Investigator for Getting Past No: Employing Simulations as a Tool to Foster Multi-Stakeholder Negotiations and
    Planning for Climate Change, awarded by the Canadian Department of National Defence’s MINDS program
    (awarded 2022; $49,649.32).
Principal Investigator for Sleeping Giants: A Simulated Study of Modern Great Power Competition, awarded by the Canadian
    Department of National Defence’s MINDS program (awarded 2021; $49,951.75).
Principal Investigator for Blind Sided: Reframing Use of Emerging Technologies in the Grey Zone Environment Through
    Application of Evolutionary Theory, awarded by the Canadian Department of National Defence’s MINDS program
    (awarded 2021; $49,564.64).
Principal Investigator for Deepfakes, Climate Change, Flying Cars & Quantum Drones: Conditional Forecasting for Canadian
    Defense, awarded by the Canadian Department of National Defence’s MINDS program (awarded 2021; $49,040).
Principal Investigator for grant awarded by the Canadian Department of National Defence to create a strategic
    framework for countering hateful conduct and radicalization in the Canadian Armed Forces (awarded 2020;
    $49,676.22 Canadian).
Principal Investigator for grant awarded by the Canadian Department of National Defence to anticipate the strategic
    consequences of the COVID-19 pandemic (awarded 2020; $9,847.50 Canadian).
Principal Investigator for grant awarded by the Canadian Department of National Defence to create a strategic
    framework for countering disinformation designed to thwart or discredit Canadian forces deployed abroad
    (awarded 2019; $49,916.62 Canadian).
Principal Investigator for grant awarded by the Canadian Department of National Defence to study how artificial
    intelligence can predict future patterns of violent non-state actor activity (awarded 2019; $49,860.20 Canadian).
Principal Investigator for grant awarded by the Canadian Department of National Defence to study violent non-
    state adoption of new technologies (awarded 2019; $49,916.40 Canadian).
Co-Principal Investigator for grant awarded by the Canadian Department of National Defence to study jihadist
    operations in Africa targeting Western interests (awarded 2017; $24,983.48 Canadian).
Principal Investigator for grant awarded by the Canadian Department of National Defence to study ISIS’s possible
    futures in North and West Africa (awarded 2016; $24,269.79 Canadian).
Principal Investigator for Smith Richardson Foundation to fund the book Fighting the Far Enemy (awarded 2016;
    $108,350).
Co-Principal Investigator for Office of Naval Research Grant N00014-16-1-2918, using a big-data approach to
    anticipate where fractures may occur in jihadist militant organizations (awarded 2016; three years, $1.5 million).
The Achelis & Bodman Foundation ($50,000), Lynde and Harry Bradley Foundation ($40,000) and Kathryn W.
    Davis Foundation ($5,000) provided grants to fund my study on terrorist radicalization, which was published as
    Homegrown Terrorists in the U.S. and U.K. (2008).

HONORS AND AWARDS
Civil Society Fellowship, partnership of the Aspen Institute the Anti-Defamation League, Class of 2020.
Safe Communities Institute Fellow, University of Southern California, 2016-present.
Distinguished Alumni Award, American Debate Association, 2015.
Senior Fellow. Homeland Security Policy Institute, George Washington University. 2010-2015.
Leader Development for Education and Sustained Peace Support Excellence Award (Naval Postgraduate School).
    2009.

LANGUAGES
English: native fluency.
Italian: advanced reading; intermediate speaking and writing.
Spanish: advanced reading; intermediate speaking and writing.
French: intermediate reading, basic speaking and writing.
Arabic: basic reading and speaking.



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   Expert Witness Declaration & Report
        on Sunni Militant Groups

Estate of Christopher Brook Fishbeck, et al., v.
         Islamic Republic of Iran, et al.
               Dr. Daveed Gartenstein-Ross
            Chief Executive Officer, Valens Global
                       April 24, 2022




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                      Expert Witness Declaration & Report
                           on Sunni Militant Groups

                         Christopher Brook Fishbeck, et al.,
                                         v.
                           Islamic Republic of Iran, et al.

                                 Dr. Daveed Gartenstein-Ross
                              Chief Executive Officer, Valens Global
                                         April 24, 2022

I.       Scope of Engagement and Opinion

I have been retained by the plaintiffs to provide expert opinions on the Islamic Republic of Iran’s
historical use of violent non-state actors (VNSAs) as proxy forces; the emergence and evolution of
Shia and Sunni VNSAs in Iraq following the 2003 U.S. invasion; the emergence and evolution of al-
Qaeda in Iraq (which I refer to as the Zarqawi organization throughout this report); Iran’s material
support to Shia and Sunni VNSAs in Iraq, including the Zarqawi organization and Ansar al-
Islam/Ansar al-Sunnah.

Relying on my background, education, training and experience, as well as substantial evidence
commonly used by experts in the relevant fields, it is my expert opinion, to a reasonable degree of
professionally certainty, that:

     A. The Islamic Republic of Iran has an extensive history of using VNSAs as proxy groups to
        advance its foreign policy goals. Among other things, Iran has used these groups to launch
        attacks against U.S. forces in Iraq while retaining a degree of plausible deniability. While Iran
        has provided substantial support to Shia proxy groups throughout the Middle East, the Islamic
        Republic has also backed Sunni militant groups, including al-Qaeda, the Zarqawi organization
        (aka al-Qaeda in Iraq), and Ansar al-Islam/Ansar al-Sunnah, when such support aligned with
        Iran’s state interests.

     B. Iran provided substantial support to al-Qaeda, the Zarqawi organization, and Ansar al-
        Islam/Ansar al-Sunnah, in the form of training, financial support, weapons, safe haven, lodging,
        travel and transportation, and expert knowledge and assistance in tactics, techniques,
        procedures, and attack planning.

     C. The best available evidence indicates that Sunni militants needed Iranian support to establish
        safe havens, routes of communication, and travel and supply routes. Iranian support was also
        causally connected to these groups’ ability to obtain, assemble, and/or utilize the weapons and
        munitions that they employed in Iraq, including rockets, mortars, improvised explosive devices,
        small arms, and other equipment and materiel vital to their operations.


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      D. Given the nature and extent of Iranian material support to al-Qaeda, the Zarqawi organization,
         and Ansar al-Islam/Ansar al-Sunnah, Iran’s assistance was critical to the survival and growth
         of these militant organizations, and significantly increased their capabilities. As such, certain
         attacks in Iraq committed by these groups from at least 2003 to 2011 bear a reasonable
         connection to Iran’s sponsorship and support.

The following sections of this report explain how I reached these conclusions. Section II overviews
my qualifications and methodology. In section III, I provide a history of the Zarqawi organization in
its various iterations throughout the Iraq War. Section IV covers the emergence and evolution of
Ansar al-Islam/Ansar al-Sunnah, as well as the support Iran provided to the group. Section V turns
to Iranian support for al-Qaeda and the Zarqawi Organization. Finally, Section VII highlights my
principal conclusions.

II.       Qualifications

This section describes my professional background, then turns to a discussion of the methods I
employ in analyzing jihadist groups and other violent non-state actors (VNSAs).1 The plaintiffs in this
case have also asked me to contribute a separate report/declaration focusing on Iran’s material support
provided to Shia militant organizations operating in Iraq. Though the Qualifications section of both
reports/declarations are substantially similar, this section is designed to highlight my work on Sunni
militant groups, in particular my background, publications, and other experience relevant to the
Zarqawi organization (al-Qaeda in Iraq and its successors) and other Sunni militant groups like Ansar
al-Islam/Ansar al-Sunnah.

Professional Background
My professional life has been dedicated to understanding the role of VNSAs in the world, and to
helping policymakers, U.S. government agencies, private companies, and other clients fashion
innovative solutions to the growing challenges that VNSAs pose. I am the chief executive officer of
Valens Global, a private firm focused on understanding VNSAs and fashioning appropriate solutions
to the challenges they pose. In this capacity, I have led a number of major client projects that will be
detailed throughout this section. I also hold appointments at think tanks in the United States and
Europe. I am a senior advisor on asymmetric warfare at the Foundation for Defense of Democracies
(FDD), a nonpartisan policy institute in Washington, D.C. with which I have been affiliated for over
a decade.2 I am also an associate fellow at the International Centre for Counter-Terrorism – The Hague
(ICCT). I have authored several studies for ICCT, some of which required international field research.3

1 I use the term jihadist because it is an organic term, the way that those within the movement refer to themselves. However,

the Arabic word jihad, which translates to struggle, is a well-established Islamic religious concept with many connotations.
Most Muslims interpret the term in significantly different ways than do the self-proclaimed jihadists. For many Muslims,
jihad is a peaceful inner struggle to live in accordance with Islam. But Islamist militant organizations that refer to
themselves as jihadist groups emphasize the physical warfare aspect of jihad, broadly interpreting when such warfare is
justified.
2 I previously served as FDD’s Vice President of Research (2007-10), then as a Senior Fellow (2010-18) and a Non-

Resident Fellow (2018-19). For a sense of the work I have done for FDD, see the following books and studies that I
authored for the institute, or for which I served as a volume editor: Daveed Gartenstein-Ross et al., Evolving Terror: The
Development of Jihadist Operations Targeting Western Interests in Africa (Washington, D.C.: FDD Press, 2018); Daveed
Gartenstein-Ross et al., Islamic State 2021: Possible Futures in North and West Africa (Washington, D.C.: FDD Press, 2017);
Daveed Gartenstein-Ross & Jonathan Schanzer eds., Allies, Adversaries and Enemies: America’s Increasingly Complex Alliances
(Washington, D.C.: FDD Press, 2014).
3 See Daveed Gartenstein-Ross et al., The Islamic State’s Global Propaganda Strategy (The Hague: ICCT – The Hague, 2016);


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I have also served as a fellow at Google’s tech incubator Jigsaw, for which I led several major research
projects responding to violent extremists’ use of online platforms associated with the company.4

I have experience teaching and lecturing at the university level. I am currently an adjunct instructor at
Duke University and an instructor at Carnegie Mellon University. From 2013-17, I held an
appointment as an adjunct assistant professor in Georgetown University’s security studies program,
where I taught a graduate course on violent non-state actors. I also held an appointment as a lecturer
at the Catholic University of America, where I taught a graduate course on violent non-state actors
and an undergraduate course on al-Qaeda and its affiliates. I have also taught classes for, or held
faculty appointments at, the University of Southern California (teaching from 2013-17 for the school’s
Executive Program in Counter-Terrorism) and the University of Maryland (Faculty Research Assistant
in the Institute for Advanced Computer Studies, 2013-14).

I have designed and led national-security simulations (also known as war games) for numerous colleges
and universities, including American University, Georgetown University, and Johns Hopkins
University. In addition, I have designed and led simulations for government agencies (e.g., Canada’s
Department of National Defence), multilateral institutions (e.g., the Global Counterterrorism Forum),
and think tanks (e.g., the Foundation for Defense of Democracies).

I have also delivered presentations at colleges, universities, and academic conferences, including the
American Political Science Association Annual Meeting, the Association for the Study of the Middle
East and Africa Annual Conference, Columbus State University (Columbus, Ga.), the George C.
Marshall European Center for Security Studies (Garmisch, Germany), Georgia State University
(Atlanta, Ga.), High Point University (High Point, N.C.), the National Defence College (Abu Dhabi),
the New York University School of Law, O.P. Jindal Global University (Sonipat, India), the U.S.
Marine Corps Command and Staff College (Quantico, Va.), the United States Naval Academy
(Annapolis, Md.), Universität Tübingen (Tübingen, Germany), the University of South Florida, and
Uppsala University (Uppsala, Sweden).

I hold a Ph.D. and M.A. in World Politics from the Catholic University of America; a J.D., magna cum
laude, from the New York University School of Law; and a B.A. with Honors in Communication,
magna cum laude, from Wake Forest University. I also hold a 10,000 Small Businesses Certificate of
Entrepreneurship, which I received from a program sponsored by the Goldman Sachs Foundation
(classes held at Babson College, in Wellesley, Mass.).

As part of my research beginning around 1995, I have traveled overseas to conduct field research or
do professional work in numerous countries relevant to understanding transnational jihadism,
including Bulgaria, Germany, Iraq, Israel, Jordan, Morocco, the Netherlands, Nigeria, Poland, Qatar,
Turkey, Tunisia, and the United Arab Emirates. I have reviewed tens of thousands of open-source

Daveed Gartenstein-Ross & Nathaniel Barr, Dignity and Dawn: Libya’s Escalating Civil War (The Hague: ICCT – The Hague,
2015); Daveed Gartenstein-Ross et al., Raising the Stakes: Ansar al-Sharia in Tunisia’s Shift to Jihad (The Hague: ICCT – The
Hague, 2014); Daveed Gartenstein-Ross, Ansar al-Sharia Tunisia’s Long Game: Dawa, Hisba, and Jihad (The Hague: ICCT –
The Hague, 2013).
4 Much of the work I undertook for Jigsaw/Google remains confidential, but one project, known as the Redirect Method,

has been made public. See Andy Greenberg, “Google’s Clever Plan to Stop Aspiring ISIS Recruits,” Wired, September 7,
2016, https://www.wired.com/2016/09/googles-clever-plan-stop-aspiring-isis-recruits/. The website Jigsaw created to
explain the Redirect Method can be found at https://redirectmethod.org/. I led Valens Global’s efforts to map the
counter-extremist narrative space on YouTube for this project.

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documents about the jihadist movement in English, French, Spanish, and Arabic. I have served as a
consultant and expert on terrorism and national security issues for the U.S., Canadian, and Dutch
governments, the European Union, NATO, the Global Counterterrorism Forum, and private
organizations. In the course of this work, I have been certified by governmental bodies as an expert
on terrorism and jihadist groups on numerous occasions, including for the following projects:

    •    serving as a Subject-Matter Expert (SME) for U.S. Customs and Border Protection (2017-
         present). My work has included delivering open-source strategic reports about sub-state
         violence, including on the activities of al-Qaeda and developments in Iraq; and delivering
         training and high-level briefings.
    •    leading Valens Global’s efforts to support the drafting, threat assessment, and crafting of
         priority actions for the U.S. Department of Homeland Security’s (DHS) Strategic Framework for
         Countering Terrorism and Targeted Violence, which was released in September 2019 and has
         subsequently guided DHS’s approach to confronting terrorism. That document received
         widespread acclaim, with The New York Times editorializing that the document “focuses
         unapologetically on right-wing terrorism, particularly white supremacist extremism,” which
         constitutes “a shift that is both urgently needed and long overdue.”5
    •    serving as a co-Principal Investigator for a three-year, $1.5 million project for the Office of
         Naval Research using big data to analyze relationships among militants and anticipate where
         fractures are likely to occur in militant organizations. The Zarqawi organization was among
         the groups examined.
    •    serving as the Principal Investigator for ten different grant-funded research projects related to
         terrorism and VNSAs for the Mobilizing Insights in Defense and Security (MINDS) program
         funded by Canada’s Department of National Defence.
    •    designing and delivering lectures on global terrorism for the U.S. Army Corps of Engineers’
         Individual Terrorism Awareness Course (INTAC), for which I served as a lead instructor from
         2016 through 2020.
    •    lecturing for U.S. Army units about to deploy to countries like Afghanistan, Djibouti, Egypt
         (as part of the Multinational Force & Observers), Iraq, and Kuwait through the Naval
         Postgraduate School’s Center for Civil-Military Relations (CCMR), for which I have taught on
         over 70 occasions since 2009.
    •    serving as a SME providing analysis to the U.S. Department of Defense’s Joint Improvised-
         Threat Defeat Organization (JIDO) on four occasions.
    •    serving as a SME for the Global Counterterrorism Forum (GCTF).6 I was the lead SME for
         1) the GCTF Exploratory Dialogues on Racially or Ethnically Motivated Violent Extremism (REMVE);
         2) the Counterterrorism Watchlisting Toolkit (October 2021), 3) the Addendum to the GCTF New
         York Memorandum on Good Practices for Interdicting Terrorist Travel (September 2021), and 4) the
         Berlin Memorandum on Good Practices for Countering Terrorist Use of Unmanned Aerial Systems. I am
         currently serving as the lead SME for an ongoing GCTF project on racially and ethnically-
         motivated violent extremism.
    •    serving as the Principal Investigator (2016-17) for two projects for NATO. In the first, I
         authored a study proposing a new methodology for monitoring and evaluation (M&E) of

5 Alex Kingsbury (editorial board member), “Rethinking Counterterrorism,” The New York Times, September 23, 2019.
6 GCTF is an international forum consisting of 29 countries and the European Union whose mission is “reducing the

vulnerability of people worldwide to terrorism by preventing, combating, and prosecuting terrorist acts and countering
incitement and recruitment to terrorism.”

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         counterterrorism capacity-building efforts. In the second, I played a lead role in designing a
         software demo capable of tracking M&E of counterterrorism capacity-building missions.
    •    Organizing, facilitating, and presenting at a 2016 conference in Nigeria, as a European Union-
         appointed Strategic Communication Expert, helping civil society activists understand militant
         groups’ use of social media and forge a strategic action plan for countering it.
    •    serving as a SME for the U.S. Department of State’s Office of Anti-Terrorism Assistance,
         designing curriculum and leading instruction for the organization.
    •    leading training for the U.S. Department of Justice’s Anti-Terrorism Advisory Council
         (ATAC) four times.

I have also been court-certified to testify as an expert witness or serve as a litigation consultant on
terrorism and jihadist groups in the following federal cases:

    •    On five occasions, I have been admitted as an expert witness on the Zarqawi organization,
         most recently in Fields v. Syrian Arab Republic (D.D.C., 2021).7 In United States v. Young (E.D.
         Va., 2017), the first criminal prosecution of a U.S. law enforcement officer for material support
         for ISIS, I served as an expert witness for the prosecution. The defense raised a Daubert
         challenge and my expertise was affirmed by the District Court based on my background,
         “extensive academic credentials,” and “the fact that the United States government uses him
         for training in these areas.” The United States Court of Appeals for the Fourth Circuit affirmed
         the District Court on appeal, noting that the lower court “reached a reasonable decision in
         qualifying Dr. Gartenstein-Ross based on his extensive credentials and areas of expertise.”8 I
         also served as an expert witness on the Zarqawi organization in Sotloff v. Syrian Arab Republic
         (D.D.C., 2021), Doe v. Syrian Arab Republic (D.D.C., 2020), and Foley v. Syrian Arab Republic
         (D.D.C., 2017).9 I have also been disclosed as an expert witness in another case currently

7 Memorandum Opinion, Fields v. Syrian Arab Republic, CA 18-1437 (D.D.C., September 29, 2021), p. 2 (“Dr. Gartenstein-

Ross is the Chief Executive Officer of Valens Global, a private commercial firm focused on analyzing violent non-state
actors. Gartenstein Report at 1. He holds a Ph.D. and M.A. in World Politics from the Catholic University of America, as
well as a J.D. from the New York University School of Law. Id. at 2. He has a robust background in studying and publishing
articles on the Zarqawi organization and has been accepted as an expert on Syria’s support for ISIS in other federal
courts…. As such, I find that Dr. Gartenstein-Ross is qualified as an expert in Syria’s relationship with and support of
ISIS”).
8 United States v. Young, 916 F.3d 368, 380 (4th Cir. 2019).
9 See Memorandum Opinion, Sotloff v. Syrian Arab Republic, CA 16-725 (D.D.C., March 15, 2021), pp. 11-12 (“The first

expert, Dr. Daveed Gartenstein-Ross, is an anti-terrorism scholar and author who has worked, in various capacities, on
issues related to violent non-state actors for over a decade. Gartenstein-Ross Hr’g Tr. 13:1–12. He has testified as an expert
on terrorism and jihadist groups in many courts, including in this District…. The Court qualified him as an expert on
violent non-state actors generally, ISIS’s evolution from its predecessor organizations, and ISIS’s material supporters”);
Doe v. Syrian Arab Republic, No. 18-CV-0066 (D.D.C., Sept. 10, 2020) (“The undersigned finds that Dr. Gartenstein-Ross
is qualified as an expert in the areas of terrorism and jihadist groups. He has been qualified in federal courts on six occasions
in those fields. In addition, he has also testified in five hearings directly related to ISIS before the U.S. House and Senate.
He has taught related topics at Georgetown University, Catholic University, University of Southern California, and
University of Maryland. He received his Ph.D. and M.A. in World Politics from Catholic University and a J.D. from New
York School of Law. As a result of his work, Dr. Gartenstein-Ross has been certified by governmental organizations as
an expert on terrorism and jihadist groups, including the U.S. Customs and Border Protection and the U.S. Department
of Defense’s Joint Improvised-Threat Defeat Organization. He is presently the Chief Executive Officer of Valens Global,
a firm focused on responses to violent non-state actors, a Senior Advisor on Asymmetric Warfare at the Foundation for
Defense of Democracies, and an Associate Fellow at the International Centre for Counter-Terrorism. He also served as a
Senior Advisor to the Director of the U.S. Department of Homeland Security’s Office for Community Partnerships from
2016-2017”); Foley v. Syrian Arab Republic, 249 F. Supp.3d 186, 193 n.4 (D.D.C. 2017) (“Having considered the requirements

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         before the District Court of the District of Columbia that pertains to the Zarqawi organization
         and certain Shia militant groups.10
    •    In Fritz v. Islamic Republic of Iran (D.D.C., 2018), I served as an expert witness on the Iraqi Shia
         militant group Asaib Ahl al-Haq.11
    •    I have been admitted to serve as an expert witness on the Taliban in two separate cases: Selig
         v. Islamic Republic of Iran (D.D.C., 2021) and In the Matter of Abdul Qadir (Arlington, Va.
         Immigration Court, 2015).12
    •    In United States v. Abdul Kareem (D. Ariz., 2016), I served as a litigation consultant for the
         defense. The defendant was accused of conspiring to support an ISIS attack in the United
         States in 2015.
    •    I served as an expert witness on al-Qaeda’s activities and capabilities in Kenya in the case In
         the Matter of B.O. in Removal Proceedings (Boston Immigration Court, 2012).
    •    I served as an expert witness on al-Shabaab (a Somalia-based al-Qaeda affiliate) in the
         following cases: In the Matter of A.A.W. (Bloomington, Minnesota Immigration Court, 2021),
         In the Matter of A.D. (Memphis, Tenn. Immigration Court, 2012), In the Matter of A.A.I.
         (Colorado Immigration Court, 2011), In the Matter of the Application for Withholding of A.A.M.
         (Boston Immigration Court, 2011), and In the Matter of the Application for Asylum of M.A.A. (N.J.
         Immigration Court, 2009).

In addition to the aforementioned work that required certification as an expert, I have undertaken
other professional work related to VNSAs and jihadism for various clients:

    •    I oversaw the creation of numerous reports for the consulting firm Global Traveler, including
         reports examining terrorism and extremism in Brunei Darussalam and Nigeria (2021).
    •    I have served as a consultant for the Anti-Defamation League, producing reports on extremist
         groups and leading training for domestic law enforcement (2016-present).
    •    I have produced country-specific and actor-specific analytic reports for three firms in the oil
         and gas industry—Check-Six, Equinor, and Tullow Oil—that needed to make investment
         decisions related to VNSAs or to protect their facilities and personnel (2014-15).
    •    I led training for analysts about Sunni militant groups in the Horn of Africa for BAE Systems
         (2011).
    •    I served as a Subject Matter Consultant to the private security firm Corporate Risk
         International during hostage negotiations with the Iraq-based militant group Asaib Ahl al-Haq
         (2008-09).


set forth in Federal Rule of Evidence 702 for the admission of expert testimony, the Court qualified Daveed Gartenstein-
Ross as an expert in the evolution of the history of terrorist organizations and their claims of responsibility for acts of
terrorism”).
10 Neiberger v. Islamic Republic of Iran, No. 1:16-cv-02193-EGS-ZMF (D.D.C.).
11 Fritz v. Islamic Republic of Iran, 320 F. Supp.3d 48, 58 n.2 (D.D.C., 2018) (“Many of the Court’s findings in this section

are derived from the testimony and expert reports of Dr. Matthew Levitt and Dr. Daveed Gartenstein-Ross. Having
considered the requirements of Federal Rule of Evidence 702, the Court qualified … Dr. Gartenstein-Ross as an expert
on (1) violent non-state actors, including identifying and analyzing online content generated by violent non-state actors;
(2) Iran’s use of proxy organizations in Iraq from the 1990s to 2012; and (3) Iraqi Shia militias in general and AAH in
particular”).
12 See Selig v. Islamic Republic of Iran, case no. 1:19-cv-02889-TNM (D.D.C., November 22, 2021), memorandum opinion at

3 n. 1 (“The Court has reviewed the qualifications of Plaintiffs’ experts and is satisfied that each is qualified to offer the
opinions discussed below. See Gartenstein-Ross Rep. at 2–9 (listing qualifications)”).

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I have testified about my areas of core competency before the U.S. House and Senate more than a
dozen times, as well as before the United Nations, European Parliament, and Canadian House of
Commons. Additionally, I am an author with specialized knowledge about al-Qaeda, the Zarqawi
organization, Ansar al-Islam/Ansar al-Sunnah, and Iraq-based Shia militant groups. I am the author
or volume editor of thirty-one books and monographs, and I have written extensively on these topics
in peer-reviewed academic publications and the mainstream press. This work is outlined in my
curriculum vitae, but some selections that pertain to the key issues in this case include:

Books and Monographs
   • My book Enemies Near and Far: How Jihadist Groups Strategize, Plot and Learn, has been approved
       for publication by Columbia University Press (acceptance required peer review; forthcoming
       2022).
   • Islamic State 2021: Possible Futures in North and West Africa (with J. Zenn and N. Barr), Foundation
       for Defense of Democracies, 2017.
   • The Islamic State’s Global Propaganda Strategy (with N. Barr and B. Moreng), ICCT—The Hague,
       2016.
   • The War between the Islamic State and al-Qaeda: Strategic Dimensions of a Patricidal Conflict (with J.
       Fritz, B. Moreng and N. Barr), New America Foundation, 2015.
   • Bin Laden’s Legacy (New York: John Wiley & Sons, 2011).

Book Chapters
   • “Jihadism in the Post-Arab Spring Maghreb,” in S. King & A. Magraoui eds., The Lure of
      Authoritarianism: The Maghreb After the Arab Spring, Indiana University Press, 2019.
   • “The United States’ Post-9/11 Fight Against al-Qa’ida and the Islamic State: A Losing Effort
      in Search of a Change,” in David W. Lesch & Mark L. Haas eds., The Middle East and the United
      States: History, Politics and Ideologies 6th ed., Routledge 2018.
   • “The Genesis, Rise, and Uncertain Future of al-Qaeda,” in R. Law ed., The Routledge History of
      Terrorism (Routledge, 2015).
   • “The Legacy of Osama bin Laden’s Strategy,” in David Kamien ed., The McGraw-Hill Homeland
      Security Handbook (New York: McGraw-Hill, 2012).

Academic and Technical Publications
   • “Understanding Shifting Triadic Relationships in the Al-Qaeda/ISIS Faction Ecosystem”
      (with V.S. Subrahmanian et al.), IEEE Transactions on Computational Social Systems, September
      23, 2020.
   • “When Jihadist Factions Split: A Data-Driven Network Analysis” (with S. Hodgson et al.),
      Studies in Conflict & Terrorism, 2019.
   • “Fluidity of the Fringes: Prior Extremist Involvement as a Radicalization Pathway” (with M.
      Blackman), Studies in Conflict & Terrorism, 2019.
   • “How al-Qaeda Works: The Jihadist Group’s Evolving Organizational Design” (with N. Barr),
      Current Trends in Islamist Ideology, May 30, 2018.
   • “We Squeezed the Balloon: As ISIL Collapses, Jihadism Remains in a Growth Phase,”
      symposium contribution, Texas National Security Review, March 20, 2018.
   • “How al-Qaeda Survived the Islamic State Challenge,” Current Trends in Islamist Ideology, August
      30, 2016.
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   •    “The Role of Iraqi Tribes after the Islamic State’s Ascendance” (with S. Jensen), Military Review,
        July-August 2015.
   •    “Lone Wolf Islamic Terrorism: Abdulhakim Mujahid Muhammad (Carlos Bledsoe) Case
        Study,” Terrorism & Political Violence 26:110-28 (2014).

Selected Commentary, Op-Eds, and Policy Analysis
    • “The Evolution and Escalation of the Islamic State Threat to Mozambique” (with E. Chace-
        Donahue and C. Clarke), Foreign Policy Research Institute, April 13, 2021.
    • “The Threat of Jihadist Terrorism in Germany” (with E. Chace-Donahue & C. Clarke),
        International Centre for Counter-Terrorism – The Hague, May 22, 2020.
    • “The Enduring Legacy of French and Belgian Islamic State Foreign Fighters” (with C. Clarke
        & E. Chace-Donahue), Foreign Policy Research Institute, February 5, 2020.
    • “What Do Asia’s Returning Isis Fighters Do Next?: You’re About to Find Out” (with C.
        Clarke), South China Morning Post, February 2, 2020.
    • “How to Win Friends and Wage Jihad: Understanding al Qaeda’s Pragmatism” (with V.
        Koduvayur), Foreign Affairs, July 1, 2019.
    • “The Emigrant Sisters Return: The Growing Role of the Islamic State’s Women” (with V.
        Hagerty and L. Macnair), War on the Rocks, April 2, 2018.
    • “ISIL’s Virtual Planners: A Critical Terrorist Innovation,” War on the Rocks, January 4, 2017.
    • “Bloody Ramadan: How the Islamic State Coordinated a Global Terrorist Campaign,” War on
        the Rocks, July 20, 2016.
    • “Sunni Tribes Need Arms and Support to Fight ISIS,” New York Times, June 1, 2015.

I have also spoken at events and conferences across the globe, including delivering keynote speeches
about VNSAs at U.S. Special Operations Command’s Sovereign Challenge Program Annual
Conference (Pittsburgh, Pa., May 2019), the Airport IT & Security 2018 conference in Amsterdam
(December 2018), the Counter Terrorism Symposium at the Miami International Airport (January
2018), the “After ISIL” conference sponsored by U.S. Army Special Operations Command and Duke
University’s Laboratory for Unconventional Conflict & Simulation (December 2016), the Social Media
Narratives and Extremism Workshop (sponsored by the Near East South Asia Center, National
Defense University, in Casablanca, August 2016), U.S. Army Special Operations Command
Commander’s Conference (May 2016), the University of Southern California’s National Center for
Risk and Economic Analysis of Terrorism Events (September 2011), and the Global Futures Forum
(April 2011). Relevant presentations and conference papers that I have delivered include:

   ● “Preventing Misuse of Cyberspace and New Technologies: Developing Ideas, Skills, and
     Toolkits for Practitioners,” Second United Nations High-Level Conference on Counter-
     Terrorism, June 28, 2021.
   ● “Maritime Security and Terrorist Travel: A Global Overview,” keynote presentation, Virtual
     Consultation on the Implications of Terrorist Travel in the Maritime Domain, Global
     Counterterrorism Forum, July 21, 2020.
   ● “How Terrorist Organizations and Violent Extremists Are Operating in the Fog of COVID-
     19,” Foundation for Defense of Democracies webinar, June 23, 2020.
   ● “Update on Terrorism—Expectations for 2020 and Beyond,” Infonex Canadian BCP and
     Emergency Management 2020 Conference, Ottawa, January 28, 2020.


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    ● “Future Global Trends and Asymmetric Warfare,” keynote speech, Changing Nature of
      Conflicts Workshop, Near East South Asia Center for Strategic Studies, National Defense
      University, Casablanca, Morocco, June 18, 2019.
    ● “CT Challenges: What’s Going Well, What’s Not Going Well,” Beyond Christchurch and the
      Caliphate: Terrorism’s Futures, conference hosted by the Australian Government & Australian
      National University, Canberra, Australia, June 5, 2019.
    ● “Countering Radicalization: What Can Be Done?,” Enriching the Middle East’s Economic
      Future conference, sponsored by UCLA Center for Middle East Development, Doha, Qatar,
      November 13, 2017.
    ● “Sixteen Years After 9/11: Assessing the Terrorist Threat” (panel), New America Foundation,
      Washington, D.C., September 11, 2017.
    ● “Change or Continuity Since 2014: ISIS in Global Context,” The Evolving Terrorist Threat
      conference, The RAND Corporation, Arlington, Va., June 27, 2017.
    ● “Terrorism in 2020” (panel), Department of Defense Combating Terrorism Intelligence
      Conference, Reston, Va., May 9, 2017.
    ● “The Jihadi Threat: ISIS, al-Qaeda and Beyond,” panel, U.S. Institute of Peace, Washington,
      D.C., December 12, 2016.
    • “The Competition between the Islamic State and al-Qaeda,” Kazakhstan Institute for Strategic
      Studies, Astana, Kazakhstan, March 2, 2016.
    • “The Competition between the Islamic State and al-Qaeda: Implications for Regional States
      and the Future of the Jihadist Movement,” NATO Advanced Research Workshop, Brussels,
      October 6, 2015.
    • “Al-Qaeda and Its Affiliates,” National Center for Risk and Economic Analysis of Terrorism
      Events (CREATE), Executive Program in Counterterrorism, University of Southern
      California, Los Angeles, August 19, 2015.
    • “The ISIS Campaign in Anbar,” National Defense University, Washington, D.C., October 20,
      2014.
    • “The Arab Awakening and the Future of al-Qaeda,” Woodrow Wilson International Center
      for Scholars, Washington, D.C., May 10, 2012.
    • “Al-Qaeda After bin Laden,” School of Advanced International Studies, Johns Hopkins
      University, Washington, D.C., February 21, 2012.

Methodology
I employ a comparative analysis method for understanding VNSAs. The comparative analysis method
has been validated multiple times in written opinions by U.S. courts.13 Comparative analysis involves
identifying relevant primary sources and scholarly literature, examining each source, and comparing
these materials to one another to better establish baseline facts. Here I will explain the framework I
employ for understanding VNSAs and the significance of the method I employ to evaluate relevant
factual claims.



13 See, e.g., United States v. Farhane, 634 F.3d 127, 159 (2d Cir. 2011) (upholding the permissibility of an expert’s testimony

where the expert employed the comparative analysis method and noting that this methodology was “similar to that
employed by experts that have been permitted to testify in other cases involving terrorist organizations”); Order, United
States v. Hausa, 12 Cr. 0134, E.D.N.Y., February 10, 2017, p. 4. In all cases where courts certified me as an expert, they
affirmed the validity of the comparative analysis methodology that I employ.

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The framework I use to understand VNSAs is designed to apply across a range of actors. Some of my
writings and professional projects have classified various kinds of VNSAs and analyzed how they can
be compared and contrasted with one another.14 As I outline in my chapter “Violent Non-State Actors:
Paradigmatic Lessons Learned” in the 2014 volume National Security Management in Federal Structures,
several common factors should be analyzed across the full range of VNSAs. These factors include:

    1)   leadership,
    2)   ideology,
    3)   group goals,
    4)   strategy,
    5)   organizational structure,
    6)   recruiting,
    7)   and financial support.15

The comparative analysis method allows me to compare information and conclusions across sets of
sources. Based on this method, I can make two determinations with a high degree of confidence: (1)
an accurate probabilistic determination of whether a given fact about a VNSA is true, and (2)
independent of whether that fact is true, I can make a probabilistic determination about whether
members within a VNSA believe the fact at issue to be true.

My academic and professional work has further explored and defined the best practices for analyzing
and understanding each of these aspects of VNSAs. One best practice I employ is relying mainly on
primary-source information, including statements and social media postings by violent extremist
groups and their supporters, and the intercepted internal documents of these organizations (e.g.,
intercepted by the U.S. or other governments). These are documents commonly relied upon by
experts. I cross-check all primary sources I read against other primary-source information, against
information about events on the ground in relevant theaters, and against relevant secondary-source
literature that allows me to determine whether my conclusions are consistent with those of other
scholars and practitioners.

Though I generally rely on primary sources, many secondary sources serve useful purposes. First,
secondary sources can provide useful historical information, adding rich context. Second, some
secondary sources do a strong job of synthesizing large amounts of information. Third, some
secondary sources contain the intrepid work of journalists who doggedly pursue leads and uncover
new, original information. All secondary sources deserve scrutiny, but for this report I was able to
cross-check all the secondary sources I utilized for claims that are material to my conclusions against
primary sources, other secondary sources, and on-the-ground events before deciding to rely on any
single secondary source, in addition to assessing the reputation and reliability of the author.

Another best practice I have adopted to complement the comparative analysis method is employing
a system of evaluating my own analytic conclusions adapted from Superforecasting, a book by Philip

14 See Daveed Gartenstein-Ross & Jacob Zenn, “Terrorists, Insurgents, Something Else?: Clarifying and Classifying the

‘Generational Challenge,’” Lawfare, January 15, 2017.
15 Discussed in Daveed Gartenstein-Ross, “Violent Non-State Actors: Paradigmatic Lessons Learned,” in National Security

Management in Federal Structures: Perspectives from India and the United States (Kochi, India: Centre for Public Policy Research,
2014). My later scholarly work adds a critical eighth factor to consider as well: the method and efficacy of a group’s
organizational learning. Daveed Gartenstein-Ross & Thomas Joscelyn, Enemies, Near and Far: How Jihadist Groups Strategize,
Plot, and Learn (New York: Columbia University Press, forthcoming 2022).

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Tetlock, who is an Annenberg University Professor at the University of Pennsylvania.16 Evaluating my
own conclusions critically enables me to further ensure the accuracy of my work.

Based on my knowledge, experience, training, and education, and based on a comprehensive review
of relevant primary and secondary source materials using the comparative analysis method, my expert
opinion on the issues laid out above follows.

III.     The Zarqawi Organization/al-Qaeda in Iraq

On March 20, 2003, the United States invaded Iraq. As U.S. and coalition forces’ involvement in Iraq
continued, the militant group al-Qaeda came to view the U.S. presence in the country as a chance to
attack Americans and to bog the U.S. down. One of the major groups active during the Iraq war,
which publicly allied itself with al-Qaeda in 2004, is “the Zarqawi organization,” which has undergone
several name changes since its emergence in the early 1990s. Since its founding in 1993, the Zarqawi
organization has been known by the following names:

 Name employed                                                                     Years used
 Bayat al-Imam                                                                     c. 1993-1999
 Jund al-Sham                                                                      c. 1999-2004
 Jamaat al-Tawhid wal-Jihad                                                        2004
 Tanzim Qa’idat al-Jihad fi Bilad al-Rafidayn (al-Qaeda in Iraq or                 2004-2006
 AQI)
 Majlis Shura al-Mujahedin fi-l-Iraq (Mujahedin Shura Council)                     2006
 Islamic State of Iraq (ISI)                                                       2006 – April 2013
 Islamic State of Iraq and al-Sham (ISIS)                                          April 2013 – June 2014
 Islamic State                                                                     June 2014 – present

This section describes Abu Musab al-Zarqawi, the Zarqawi organization’s founding father, then details
the group’s evolution through its current incarnation. It demonstrates that there was organizational
continuity through the time of the organization’s rebranding as the Islamic State of Iraq. In other
words, despite the group’s name changes and organizational evolution, at no point should the name
changes be understood as signaling that the Zarqawi organization had become a truly new organization
with discontinuity from what came before.

A Short Biography of Abu Musab al-Zarqawi
Ahmed Fadil al-Nazal al-Khalayleh, better known as Abu Musab al-Zarqawi, attained international
notoriety for his brutality and success as a militant leader. Zarqawi and his network were responsible
for some of the worst atrocities committed in Iraq during the height of the country’s civil war. This
made Zarqawi one of the world’s most wanted men, with the U.S. government offering the same
reward amount for Zarqawi as it did for Osama bin Laden.17 He was directly responsible for a wave
of assassinations, hostage takings, and beheadings.

Zarqawi was born in 1966 in the Jabal Alabiad area of Zarqa, Jordan, to a poor, conservative family

16 Philip E. Tetlock & Dan Gardner, Superforecasting: The Art and Science of Prediction (New York: Random House, 2015).
17 PX100, Federal Bureau of Investigation, press release, “FBI Updates Most Wanted Terrorists and Seeking
Information—War on Terrorism Lists,” February 24, 2006; “U.S. Raises Zarqawi Reward to $25m,” CNN, July 1, 2004,
http://www.cnn.com/2004/WORLD/meast/07/01/iraq.zarqawi.reward/.

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belonging to the Bani Hassan tribe.18 Known as a
thug in his early life, he spent time in the streets rather
than in school, and as a youth generally did not attend
religious services. In a well-regarded biographical
account of Zarqawi, Mary Anne Weaver describes
the interviews she conducted in Jordan with people
who knew him during this period: “Everyone I spoke
with readily acknowledged that as a teenager al-
Zarqawi had been a bully and a thug, a bootlegger and
a heavy drinker, and even, allegedly, a pimp in Zarqa’s
underworld. He was disruptive, constantly involved
in brawls. When he was fifteen (according to his
police record, about which I had been briefed in
Amman), he participated in a robbery of a relative’s home, during which the relative was killed. Two
years later, a year shy of graduation, he had dropped out of school. Then, in 1989, at the age of twenty-
three, he traveled to Afghanistan.”19

Prior to traveling to Afghanistan, Zarqawi underwent a religious awakening at the al-Falah mosque in
Zarqa. Scholar Brian Fishman notes that Zarqawi’s mother first enrolled him in religious classes, “no
doubt hoping to keep him out of a life of crime.”20 Following his turn toward piety, Zarqawi went to
Afghanistan hoping to fight the Soviet Union, which invaded in December 1979. Though Zarqawi
arrived too late to fight the Soviets, he joined the transnational jihadist movement in Afghanistan.

Al-Qaeda leader Osama bin Laden was in Afghanistan while Zarqawi was there, and Zarqawi trained
for combat in al-Qaeda’s Sada camp, which bin Laden ran.21 While there, Zarqawi also met fellow
Jordanian Abu Muhammad al-Maqdisi (born Isam Muhammad Tahir al-Barqawi). Maqdisi was (and
remains) a renowned Salafist cleric who became Zarqawi’s ideological mentor. Zarqawi also built
relationships with other jihadists in Afghanistan that allowed him to form the Zarqawi organization.

Bayat al-Imam/Jund al-Sham
While in Afghanistan, Zarqawi and Maqdisi established their own militant Islamist group. Composed
of around a dozen men, it was known by police and reporters as Bayat al-Imam (Allegiance to the
Imam). But members of the group reportedly rejected that name, referring to their organization as
Tawhid wa-l-Jihad (Monotheism and Jihad, or TwJ).22 The group’s primary goal was to overthrow
Jordan’s monarchy and replace it with an Islamic government, a goal consistent with al-Qaeda’s
ambition to replace Middle Eastern governments with Islamist regimes.

Bayat al-Imam/TwJ naturally attracted Jordanian authorities’ attention. Zarqawi and Maqdisi returned
to Jordan in 1993 and authorities arrested them the following year. Prior to their arrest, their group
“tried several ill-fated attacks” and was finally apprehended “after members attacked a Jordanian



18 Fouad Hussein, Al-Zarqawi: The Second Generation of al-Qaeda (London, 2005, translated from Arabic), p. 7.
19 Mary Anne Weaver, “The Short, Violent Life of Abu Musab Al-Zarqawi,” The Atlantic, July/August 2006.
20 Brian Fishman, The Master Plan: ISIS, al-Qaeda, and the Jihadi Strategy for Final Victory Kindle ed. (New Haven, CT: Yale

University Press, 2016), loc. 207 of 8220.
21 Weaver, “The Short, Violent Life of Abu Musab Al-Zarqawi.”
22 Didier Francois, “Top Billing,” Libération (Paris; original in French), June 13, 2005.


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border crossing with Israel, likely in an effort to torpedo the ongoing peace negotiations.”23 Both men
were convicted on terrorism charges and sentenced to 15 years in prison.24

Zarqawi’s years in Jordanian prison were pivotal to his career as a militant. One journalist who met
Zarqawi in prison in September 1996 recalled that Zarqawi’s organization was “amongst the strongest
and most influential” associations in the prison.25 Zarqawi had a strong leadership style, and “was able
to control everyone and organize all the details of relations within the group.”26 Eventually Zarqawi
eclipsed the more accommodation-minded Maqdisi and became the prison group’s emir.27

Bayat al-Imam/TwJ maintained links to militants beyond the prison walls, in places like Zarqa, Irbid,
and Salt.28 Prisoners’ family members routinely smuggled out religious tracts written by Maqdisi.
Prominent London-based Salafi jihadist cleric Abu Qatada al-Filistini in turn published writings by
Bayat al-Imam members in his magazine Al-Minhaj, thus allowing other jihadists across the globe,
including Saif al-Adl—a senior al-Qaeda leader who will be discussed in more detail later in this
report—to stay abreast of the activities of their “brothers” in Jordan’s prisons. Adl recalled following
Al-Minhaj closely during this period: “We read the brother Abu Muhammad al-Maqdisi’s letters as well
as Abu Musab’s. We also read the transcripts of what they said in court. Our brother Abu Qatada al-
Filistini would always tell us that we have good brothers operating in Jordan and that they have a
promising future ahead of them.”29

In 1999, King Abdullah II declared a general amnesty for Jordanian prisoners, and Zarqawi and
Maqdisi were released. Zarqawi promptly returned to South Asia. He was briefly arrested in
Hayatabad, Pakistan for overstaying a residence permit, after which he left Pakistan for Afghanistan.30

Two weeks after his arrival in Kandahar, Zarqawi met with Saif al-Adl, who was then al-Qaeda’s
security chief.31 Adl played an important role in facilitating al-Qaeda’s partnership with Zarqawi,
though there is some dispute among jihadist leaders about how central he was.32 According to Adl,
bin Laden and Ayman al-Zawahiri were initially reluctant to associate with Zarqawi. Bin Laden found
Zarqawi’s boisterous and brazen nature off-putting, and there were stark strategic differences between
Zarqawi and al-Qaeda’s top leaders.33 But Adl said that he counseled al-Qaeda’s leadership to work



23 Fishman, The Master Plan, loc. 257.
24 George Michael, “The Legend and Legacy of Abu Musab Al-Zarqawi,” Defence Studies 7:3 (2007), p. 340.
25 Al-Sharq al-Awsat, March 8, 2004.
26 Ibid.
27 Joby Warrick, Black Flags: The Rise of ISIS (New York: Knopf Doubleday, 2015), p. 26; Hazim al-Amin, “Al-Zarqawi’s

Followers in Jordan Visit Their Shaykhs in Jail and Wait for the Chance to Join Abu Musab in Iraq,” Al-Hayah (London;
original in Arabic), December 14, 2004.
28 Weaver, “The Short, Violent Life.”
29 Hussein, Al-Zarqawi; see also Weaver, “The Short, Violent Life” (noting that Maqdisi’s tracts “were smuggled out” of

prison by the wives and mothers of inmates).
30 Jean-Charles Brisard and Damien Martinez, Zarqawi: The New Face of Al-Qaeda (New York: Other, 2005), p. 66; Hussein,

Al-Zarqawi.
31 Hussein, Al-Zarqawi.
32 As this section notes, and as has been widely recounted, Adl has framed himself as central to overcoming the initially

heavy skepticism that bin Laden and Zawahiri had toward Zarqawi. But bin Laden disputed this account and pointed to
at least one factual error in Adl’s telling. See discussion in Fishman, The Master Plan, locs. 459-63 of 8220. This intra-jihadist
factual dispute is not material to my conclusions in this section.
33 Hussein, Al-Zarqawi.


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with Zarqawi, arguing that collaborating with the Zarqawi organization would enable al-Qaeda to gain
a foothold in Palestine and Jordan.34

With bin Laden’s consent, Adl met with Zarqawi and discussed plans to establish a military camp in
the city of Herat, in western Afghanistan.35 Bin Laden indirectly provided funding and equipment for
the camp.36 Al-Qaeda and Zarqawi also worked together to plot numerous terrorist attacks during the
period before the 9/11 attacks and deepened their cooperation further thereafter. A U.S. Treasury fact
sheet about Zarqawi issued in September 2003 details these voluminous connections:

            Abu Musa’ab al-ZARQAWI, a Jordanian citizen, has ties to al-Qaida, Asbat al-Ansar
            and Hizballah. In addition to providing the financial and material support for the
            assassination of a U.S. diplomat, he has participated in acts of terrorism, trained
            terrorists, led terrorist cells, facilitated transport of terrorists and is being cited in the
            international press as a suspect in the recent devastating bombing of the Jordanian
            embassy in Baghdad.

            ZARQAWI has arranged training for terrorists at al-Qaida camps. While he was in
            Pakistan, ZARQAWI made contact with al-Qaida to train Jordanians. His operatives
            (called “Jund al-Sham”) began to arrive in Afghanistan in large numbers in 1999. Some
            of these operatives trained at al-Qaida’s al-Faruq Camp, where they received full
            support from al-Qaida. ZARQAWI eventually established his own cell and camp in
            Herat, Afghanistan.

            Plans were made to send ZARQAWI’s operatives to meet with Asbat al-Ansar
            (designated under E.O. 13224 as a Specially Designated Global Terrorist on
            September 24, 2001 and as a Foreign Terrorist Organization on March 27, 2002),
            Hizballah and any other group that would enable them to smuggle mujaheddin into
            Palestine. This plan was launched by ZARQAWI with other terrorist leaders in order
            to smuggle operatives into Israel to conduct operations. In addition to being tasked
            with finding a mechanism that would enable more suicide martyrs to enter Israel, these
            operatives were also sent to provide training on explosives, poisons, and remote
            controlled devices.

            In October 2000, ZARQAWI was indicted in absentia in Jordan for his role in the al-
            Qaida Millennium bombing plot targeting the Radisson SAS hotel in Amman as well
            as other American, Israeli, and Christian religious sites in Jordan.

            In mid 2001, ZARQAWI returned to Qandahar from Herat. At this time, he had
            received more than U.S. $35,000 for work in Palestine. ZARQAWI planned to use the
            money to bring more Jordanian and Palestinian mujaheddin to the camp in Herat, to
            purchase passports, and to facilitate travel to Lebanon. He received assurances that
            further financing would be provided for attacks against Israel. In early 2002,
            ZARQAWI was reported to have found a way into Palestine.

34 Ibid.
35 Ibid.; see also Hazim al-Amin, “Al-Zarqa Produces al-Khalayleh and al-Maqdisi, and the Returnees from Kuwait Rallied

Around Them,” Al-Hayah (London; original in Arabic), December 15, 2004.
36 Hussein, Al-Zarqawi.


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            On October 28, 2002, U.S. diplomat Laurence Foley, an officer with the U.S. Agency
            for International Development, was assassinated in Amman, Jordan. ZARQAWI
            provided financial and material support for this assassination. Key individuals involved
            in both the planning and execution of the operation had strong ties to Afghan Jihad,
            the International Mujaheddin Movement, and al-Qaida. One of these individuals,
            Salim Sa’d Salim Bin-Suwayd, a member of al-Qaida, received more than U.S. $50,000
            for his cooperation in planning assassinations in Jordan against U.S., Israeli, and
            Jordanian government officials. ZARQAWI instructed Suwayd to hide after he had
            completed his first operation and to plan to pursue additional operations against Israeli
            and Jordanian targets in Amman in the future. Jordanian authorities arrested Suwayd
            for the murder. The trial of Suwayd, a Libyan national, is currently underway in
            Jordan.37

Though al-Qaeda did not develop a public alliance with Zarqawi at the time, the above activities make
their cooperation and alignment even prior to Zarqawi’s involvement in the Iraq War clear. Brian
Fishman details specific terms of the early agreement between Zarqawi and al-Qaeda that existed
during this period:

            There is no dispute about the ultimate arrangement between al-Qaeda and Zarqwi. Al-
            Qaeda would arrange start-up money for Zarqawi to build a camp near Herat, along
            the Iranian border, and provide logistical support through a network of safe houses in
            the Iranian cities of Tehran and Mashaad. Zarqawi would not join al-Qaeda, but he
            would complete a special training program at al-Qaeda’s facilities near Kandahar.
            Subsequently, he would provide al-Adl with monthly updates on his progress.38

From the very outset, Zarqawi attracted recruits who would later prove critical to his efforts in Iraq,
including the Syrian Sulayman Khalid Darwish (aka Abu Ghadiyah), “who would manage the first
generation of jihadi logistical networks that moved foreign fighters through Syria to Zarqawi’s eventual
insurgency in Iraq.”39 Moreover, Zarqawi was able to benefit from al-Qaeda’s logistical assistance,
which rested on its relationship with Iran. Fishman writes:

            Al-Qaeda’s financial support to Zarqawi was useful, but its logistical assistance was
            invaluable. Herat sits very near the Iranian border, which immediately emerged as the
            most useful vector for new recruits to enter Afghanistan. But if Zarqawi looked at the
            Taliban askance, he despised the Shia government in Iran. Iran’s intelligence service
            no doubt understood Zarqawi’s sectarian disposition, but they also had a policy of
            tolerating jihadis transiting their territory, especially if those fighters were hostile to the
            Taliban. In 1998, the Taliban executed eight Iranian diplomats, which prompted
            Tehran to give Gulbuddin Hekmatyar, a legendary Afghan fighter and opponent of
            the Taliban, extensive latitude to set up shop on Iranian territory. Sayf al-Adl was quick
            to capitalize on those networks for use by al-Qaeda and he offered them to Zarqawi.40


37 PX35, U.S. Department of the Treasury, “Fact Sheet: Abu Musa’ab al-Zarqawi,” September 23, 2003.
38 Fishman, The Master Plan, p. 19.
39 Ibid.
40 Ibid., p. 20.


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The Zarqawi organization’s network in Herat became known as Jund al-Sham (Soldiers of the Levant),
though the banner above the entrance to the Herat camp continued to read Tawhid wa-l-Jihad (which,
as previously mentioned, is the name that insiders called the group during this period).41 Graduates of
the Herat camp took part in notable terrorist plots, including the 2002 assassination of U.S. diplomat
Laurence Foley in Amman.42

Alliance with Ansar al-Islam
Shortly after the establishment of the Herat camp, Zarqawi tasked Abu Abdel Rahman al-Shami, a
fellow Jordanian militant, with expanding his network into northern Iraq.43 On September 1, 2001,
Shami helped form the group Jund al-Islam with Kurdish jihadist leader Abu Abdullah al-Shafi’i and
Iraqi militant Abu Wa’il. Following the 9/11 attacks, Jund al-Islam merged with a Kurdish jihadist
organization operating in northern Iraq known as Ansar al-Islam.44

The U.S. invasion of Afghanistan in late 2001 forced Zarqawi and around 300 Jund al-Sham members
to relocate from Herat.45 Zarqawi and a number of followers first moved to Iran, then in May 2002
moved from Iran to Iraq. There Zarqawi made his way to northern Iraq and found refuge with Ansar
al-Islam.46 Ansar al-Islam/Ansar al-Sunna will be discussed in greater detail in the next section of this
report. Thereafter, though Zarqawi expanded his organization into other countries in the region, his
main focus was on building his organization in Iraq.47

Eventually the Zarqawi network underwent another rechristening, emerging as Jamaat al-Tawhid wa-
l-Jihad.

Jamaat al-Tawhid wa-l-Jihad (JTJ)
The origins of the JTJ moniker can be traced back to Zarqawi’s days as the leader of Bayat al-Imam
in Suwaqah prison. It was another of the names that the militants in Suwaqah prison used to refer to
themselves.

There is no consensus among observers as to when the Zarqawi organization adopted the JTJ name
publicly. According to journalist Fouad Hussein, whose interviews with Saif al-Adl and other Zarqawi
associates gave him impressive access to the Zarqawi organization’s inner workings, Zarqawi’s group
formally announced itself as JTJ at the beginning of 2004.48

JTJ benefited from a diverse pool of foreign fighters, including militants from Jordan, Syria,
Afghanistan, Pakistan, and the Kurdish regions of Iraq. This enabled Zarqawi and JTJ to become



41 Hussein, Al-Zarqawi; Michael Weiss & Hassan Hassan, ISIS: Inside the Army of Terror (New York: Regan Arts, 2015), p.

13.
42 Weiss & Hassan, ISIS, p. 13.
43 Ibid., p. 14.
44 Hussein, Al-Zarqawi.
45 Mary Anne Weaver, “The Short, Violent Life”; Hussein, Al-Zarqawi.
46 Isma’il Zayir, “Dozens of Arab Afghans ‘Slip’ Into Northern Iraq,” Al-Hayah (London; original in Arabic), February 1,

2002; Husni Mahalli, “Another ‘al-Qaeda’ and New Mullahs in Iraqi Kurdistan; Will Kurdistan Become Tora Bora?,” Al-
Majallah (original in Arabic), February 10, 2002.
47 See, for example, Jean-Charles Brisard & Damien Martinez, Zarqawi: The New Face of Al-Qaeda (Cambridge: Polity, 2005),

p. 142.
48 Hussein, Al-Zarqawi. Indeed, the first communiqué issued in JTJ’s name was posted online in April 2004.


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“among the most prominent actors in the insurgency.”49 By October 2004, when the Zarqawi
organization next took on a new moniker, the U.S. military “held Zarqawi responsible for the deaths
of 675 Iraqis and 40 foreigners, in addition to over 2,000 wounded since the beginning of the
coalition’s offensive.”50

As JTJ, the group retained the same structure, membership and goals that it possessed when it was
publicly known as Jund al-Sham. This is illustrative of the tendency toward organizational continuity
despite public changes in name.

Al-Qaeda in Iraq (AQI)
In October 2004, Zarqawi publicly pledged bayah (an oath of allegiance) to bin Laden, thus making
the Zarqawi organization into al-Qaeda’s first publicly announced affiliate group. Despite extensive
cooperation between the Zarqawi organization and al-Qaeda prior to this public pledge, Zarqawi’s
pledge to bin Laden in 2004 was significant. It served as Zarqawi’s public endorsement by al-Qaeda’s
leadership and challenged (at least temporarily) earlier perceptions that Zarqawi’s organization
intended to rival al-Qaeda. The declaration further served “as a recruiting statement for the Iraqi
insurgency.”51

With Zarqawi’s public declaration of bayah, his organization adopted the moniker Tanzim Qa’idat al-
Jihad fi Bilad al-Rafidayn (al-Qaeda of Jihad Organization in the Land of Two Rivers). The group was
better known as al-Qaeda in Iraq (AQI). Even as it became a publicly-acknowledged al-Qaeda affiliate,
the Zarqawi organization’s leadership structure and membership ranks remained intact. Those who
had worked with Zarqawi in the early days of JTJ either maintained their positions in the organization
or grew in stature (e.g., through the natural process of promotion) once Zarqawi publicly aligned with
al-Qaeda.

One such leader was Abu al-Ghadiyah (born Sulayman Khalid Darwish), who was a cofounder of
Jund al-Sham.52 He traveled with Zarqawi to Iran, and then to Iraq, where he played a key role in
helping the Zarqawi organization establish itself.53 Following Zarqawi’s public pledge to bin Laden,
Abu al-Ghadiyah continued his high-level role in the rechristened al-Qaeda in Iraq.54 In 2005, the U.S.
Treasury Department designated Abu al-Ghadiyah a terrorist, including for his fundraising and
recruiting for AQI. The designation made the continuity in Abu al-Ghadiyah’s high-level role clear, as
it described him as a member of Zarqawi’s shura council, as well as “one of the most prominent
members of the Zarqawi organization in Syria.”55

Another leader demonstrating the continuity in personnel from JTJ to AQI was Abu Azzam al-Iraqi.
According to a Zarqawi organization eulogy produced after Abu Azzam’s death in September 2005,

49   Mapping Militant Organizations, Stanford University, “The Islamic State,” last modified April 2021,
https://cisac.fsi.stanford.edu/mappingmilitants/profiles/islamic-state.
50 Brisard & Damien Martinez, Zarqawi, p. 141.
51 PX664, Jeffrey Pool, “Zarqawi’s Pledge of Allegiance to al-Qaeda: From Mu’asker Al-Battar, Issue 21,” Terrorism Monitor

2:24 (Jamestown Foundation), December 16, 2004.
52 Muhammad Abu Rumman, “Sulayman Khalid Darwish, also known as Abu al-Ghadiyah, One of the Most Prominent

Leaders of the al-Qaeda Organization in Iraq Killed,” Al-Ghadd (Amman; original in Arabic), June 25, 2005.
53 Ibid.
54 Ibid.
55 PX64, U.S. Department of the Treasury, press release, “Syrian National Designated by U.S. as Terrorist Financier,”

January 25, 2005.

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he had been a member of the Salafist underground in Iraq during Saddam Hussein’s rule.56 Following
the Baathist regime’s collapse, Abu Azzam acquired a small group of militant followers whom he
quickly aligned with Zarqawi and JTJ. Abu Azzam traveled across Iraq as a JTJ recruiter and also
featured in JTJ’s military operations, participating in the First Battle of Fallujah and a number of early
terrorist attacks in the Baghdad area. After JTJ became known as AQI, Abu Azzam continued to rise
in the ranks. After the Second Battle of Fallujah and the death of AQI official Umar Hadid, Abu
Azzam was appointed AQI’s emir of Baghdad.57 Abu Azzam was subsequently elevated to AQI’s
shura council, where he answered directly to Zarqawi.58 Following Zarqawi’s injuries during fighting
in al-Qa’im in May 2005, Abu Azzam served as the overall supervisor of AQI’s activities throughout
the Anbar-Baghdad corridor.59

The career trajectories of Abu al-Ghadiyah and Abu Azzam al-Iraqi serve as just two examples among
many of the continuity of leadership maintained throughout the evolution of Zarqawi’s organization
despite name changes and attempts to rebrand.

The Mujahedin Shura Council (MSC)
On January 15, 2006, AQI deputy emir Abu Maysarah al-Iraqi announced the establishment of the
Majlis Shura al-Mujahidin fi-l-Iraq (better known as the Mujahedin Shura Council, or MSC), an
umbrella group composed of six Iraqi Sunni militant factions. These factions were AQI, the Victorious
Sect Army, the Monotheism Supporters Brigades (Saraya Ansar al-Tawhid), the Islamic Jihad Brigades
(Saraya al-Jihad al-Islami), the Al-Ghuraba (Foreigners) Brigades, and the Al-Ahwal (Fear) Brigades.60
ISIS’s eventual “caliph” Abu Bakr al-Baghdadi formally came into AQI’s orbit weeks later, when the
group Jaysh Ahl al-Sunnah wa-l-Jama’a, in which Abu Bakr served as the emir of the Sharia
Committee, joined MSC on January 29.61 These groups’ cooperation before January 2006 culminated
in MSC’s establishment, which can be seen in part as the formalization of prior relationships.

Though MSC purported to function as a coalition, the group was AQI’s brainchild. At the time, AQI
faced growing criticism from Iraqis for representing a foreign agenda and conducting indiscriminate
attacks against civilians. AQI envisioned MSC as a way to rebrand, highlighting its local connections
in an effort to regain the support of other Iraqi factions and the population. The person chosen to
lead this group was a previously unknown figure called Abdallah bin Rashid al-Baghdadi, who
provided MSC’s leadership with an Iraqi face.62 Attacks in Iraq claimed by MSC during its brief
existence did not invoke AQI’s name, seemingly to downplay AQI’s involvement in the insurgency
and to draw attention instead to Iraqi militants.

Though the MSC was designed to provide cover to AQI and showcase the “Iraqi-led” insurgency,
AQI quietly remained the dominant player. As one illustration, Muharib al-Juburi, who was an original

56 Media Division of the Mujahedin Shura Council in Iraq, “Biographies of Eminent Martyrs, Part XLV: Abu Zahra al-

Issawi,” July 18, 2010.
57 Al-Sharqiyah television, September 28, 2005.
58 Al-Furqan Media Production Establishment, “From History’s Secrets: Al-Zarqawi as I Knew Him, Part 1,” September

7, 2007.
59 Hazim al-Amin & Miyasar al-Shammari, “Reports on Smuggling of Leader of the al-Qaeda of Jihad Organization in the

Land of the Two Rivers to a Neighboring Country for Medical Treatment,” Al-Hayah (original in Arabic), May 26, 2005.
60 See, e.g., Muhammad al-‘Ubaydi et al., The Group That Calls Itself a State: Understanding the Evolution and Challengers of the

Islamic State (West Point: Combating Terrorism Center, 2014).
61 Fishman, The Master Plan, p. 151.
62 Ibid., p. 79.


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MSC member and the emir of al-Ghuraba Brigades, had formed an alliance with Zarqawi as early as
2004.63 From 2004-2006, Muharib al-Juburi served as one of Zarqawi’s trusted most trusted couriers,
and as a representative of the Zarqawi organization’s senior leadership—and later served in the same
role for Abu Ayyub al-Masri, Zarqawi’s successor in the organization.64 The case of Muharib al-Juburi
and the al-Ghuraba Brigades helps illustrate how the transition to MSC was a minor adaptation of
AQI’s existing strategy in response to the shifting political climate. The MSC was, like AQI and JTJ
before it, a continuation of the Zarqawi organization.

The main thing MSC accomplished, in addition to providing a cover for AQI, was formalizing
longstanding alliances between AQI and lesser-known insurgent groups. The establishment of the
Islamic State of Iraq, described in the following section, can be understood as a continuation of this
strategy of rebranding and expansion in an effort to gain greater support and legitimacy within the
Iraqi insurgent landscape and the global Muslim community.

Islamic State of Iraq (ISI)
On October 15, 2006, the Majlis Shura al-Mujahidin fi-l-Iraq (better known as the Mujahedin Shura
Council, or MSC) announced its establishment of the Islamic State of Iraq (ISI).65 Zarqawi died prior
to ISI’s creation, but its establishment advanced AQI’s longstanding strategic objectives while in other
ways moving beyond what AQI had been. According to Saif al-Adl, establishing an Islamic state was
one of Zarqawi’s core goals when he relocated to Iraq.66 Indeed, in 2005 al-Qaeda’s deputy emir
Ayman al-Zawahiri had articulated the establishment of an Islamic emirate as one of the jihadists’
earliest priorities for Iraq in a letter he wrote to Zarqawi.67

Following Zarqawi’s death in June 2006, Zawahiri used his eulogy for the slain militant to re-
emphasize the strategic priority of establishing an Islamic emirate, saying: “My mujahid brothers in
Iraq, know that the Islamic Ummah has put its hope in you, and that you must establish an Islamic
state in Iraq, then make your way towards captive Jerusalem and restore the Caliphate which was
toppled through the cooperation of the Crusaders and the traitorous slaves of the English.”68
According to a 2008 interview with ISI’s war minister Abu Hamzah al-Muhajir, Zarqawi organization
members began consulting various insurgent leaders to lay the groundwork and build support for the
establishment of the Islamic State of Iraq around the time that Zawahiri’s eulogy was released.69

When the MSC rebranded to ISI, the coalition appeared to have added seven new member
organizations since its founding: Ahl al-Sunnah wal-Jama’a Army, al-Murabitin Brigades, Jund al-
Sahabah Group, Kataib Ansar al-Tawhid wal-Sunna, Kurdistan Brigades, Millat Ibrahim Brigades, and
Fursan al-Tawhid Brigades. Close examination of the founding member groups reveals that four were


63 Al-Arabiyah television, March 6, 2009.
64 Al-Furqan Establishment for Media Production, “Biographies of Eminent Martyrs, Part XLVIII: Abd al-Aziz Atiq al-

Atiq (Abu Suhayb al-Najdi),” September 15, 2011.
65 Majlis Shura al-Mujahidin fi-l-Iraq, statement on the establishment of the Islamic State of Iraq, October 15, 2006.
66 Quoted in Cole Bunzel, From Paper State to Caliphate: The Ideology of the Islamic State (Washington, D.C.: Center for Middle

East Policy at the Brookings Institution, 2015), p. 15, https://www.brookings.edu/wp-content/uploads/2016/06/The-
ideology-of-the-Islamic-State.pdf.
67 PX970, Zawahiri’s letter to Zarqawi can be found at https://ctc.usma.edu/app/uploads/2013/10/Zawahiris-Letter-to-

Zarqawi-Translation.pdf.
68 PX803, Ayman al-Zawahiri, eulogy of Abu Muhammad al-Zarqawi, posted on the Islamic Renewal Organization’s

website, June 24, 2006.
69 Abu Hamzah al-Muhajir, audio interview, posted by Al-Furqan Media Production Establishment, October 24, 2008.


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MSC holdovers, and one group had former affiliations with AQI. In other words, only two
organizations lacked previous public affiliation with the MSC or AQI. This again underscores that ISI
as a group that was dominated by the Zarqawi organization, and hence represented organizational
continuity. Here is a brief look at ISI’s founding members:

     ● Jund al-Sahabah Group & Kataib Ansar al-Tawhid wal-Sunna. Both the Jund al-Sahabah Group
       and Kataib Ansar al-Tawhid wal-Sunna were members of the Hilf al-Mutaiyabin Coalition,
       and thus affiliates of the MSC before they joined ISI.

     ● Al-Murabitin Brigades. Though it is not clear when al-Murabitin Brigades joined the MSC, it is
       clear that by May 2006 the brigade was one of the eight member organizations in the coalition.
       In a MSC video released that month, MSC highlights the organizations united under its
       banner—the two notable additions since its statement being Ahl al-Sunnah wal-Jama’a Army
       and al-Murabitin Brigades.70

     ● Ahl al-Sunnah wal-Jama’a Army. Established in 2003, Ahl al-Sunnah wal-Jama’a Army began
       exhibiting ideological affinity with the Zarqawi network as early as 2005, and began
       cooperating with AQI on the battlefield in early 2006.71 In one statement attributed to the
       Central Office of the Ahl al-Sunnah wal-Jama’a Army and published to a jihadist forum in
       December 2005, the group “exalted” Zarqawi and bin Laden, and condemned Iraqi media for
       sowing discord and disunity among Iraqi jihadist groups.72 About one month later, Ahl al-
       Sunnah wal-Jama’a Army issued its first video production. In it, the group again highlighted
       key al-Qaeda figures like bin Ladin, Zarqawi, and Zawahiri, and stressed the need to mitigate
       against “political divisions” among insurgent groups.73 Less than a week later, a jihadist website
       published undated statements attributed to the Ahl al-Sunnah wal-Jama’a Army, claiming
       responsibility for an attack in Diyala in coordination with “a unit belonging to al-Qaeda
       organization.”74 On January 28, 2006, the emir of the Ahl al-Sunnah wal-Jama’a Army issued
       a statement expressing a desire to join the MSC, and the following day MSC welcomed the
       group into its ranks.75

     ● Kurdistan Brigades. Though the Kurdistan Brigades do not appear to have ever joined the MSC,
       the group had clear ties to al-Qaeda. In May 2007, AFP described the group as “an Ansar-
       allied group calling itself the ‘Kurdistan Brigades of al-Qaeda.’”76 Following the incorporation
       of the Kurdistan Brigades into ISI, the group continued to identify with al-Qaeda. In a
       statement featured on Al-Arabiyah’s program “Death Industry” in November 2008, the group
       stressed its al-Qaeda affiliation.77 And in an interview with an online Kurdish news source in


70 Mujahedin Shura Council, “Call to Unite Ranks of Mujahedin in Land of the Two Rivers,” part 3, posted to the al-Meer

Forums, May 16, 2006.
71  Charles Lister, “Islamic State Senior Leadership: Who’s Who?” The Brookings Institution, December 2014,
https://www.brookings.edu/wp-content/uploads/2014/12/en_whos_who.pdf.
72 Ahl al-Sunnah wal-Jama’ah Army, statement posted to Bayt al-Maqdis Islamic Forums, December 11, 2005.
73 Ahl al-Sunnah wal-Jama’a Army, video posted to Al-Meer Forums, January 18, 2006.
74 Ahl al-Sunnah wal-Jama’a Army, statement posted to Shamila Net, January 23, 2006.
75 Ahl al-Sunnah wal-Jama’a Army, statement posted on Al-Meer Forums, January 28, 2006; Mujahedin Shura Council,

statement welcoming Ahl al-Sunnah wal-Jama’a Army into its group, January 29, 2006.
76 AFP news agency, May 10, 2007.
77 Death Industry, Al-Arabiyah television, November 8, 2014.


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         May 2011, the head of the Iraqi Kurdish Anti-Terror Agency drew direct connections between
         al-Qaeda leadership and officials within the Kurdistan Brigades.78

    ● Millat Ibrahim Brigades & Fursan al-Tawhid Brigades. The final groups highlighted as founding
      members of ISI, Millat Ibrahim Brigades and Fursan al-Tawhid Brigades, are the only two
      groups that seemingly had no prior ties to AQI or MSC. However, a BBC Monitoring report
      released shortly after the MSC announced the pledge of allegiance from Millat Ibrahim
      Brigades and Fursan al-Tawhid Brigades questioned the existence of these groups, describing
      them as “previously unknown battalions.”79 If these militant groups did in fact exist (and there
      have been other cases in the jihadist landscape where non-existent militant groups were
      claimed to have joined broader networks in order to influence public perceptions), it can be
      said that they were dwarfed by the other al-Qaeda-connected groups that comprised ISI.

In sum, the organizational makeup of the ISI demonstrates that the establishment of the “state”
formalized existing alliances. This is not to say that ISI’s establishment had no impact on the
organization—it did, as I will detail—but rather it demonstrates continued dominance by the Zarqawi
organization. I now profile several key members of ISI’s leadership, which generally consisted of
individuals with clear ties to AQI or else previously unknown Iraqi figures for which there is little to
no information available even now. Here are the pedigrees of some of ISI’s top leaders from the
cabinet level to the regional emir level:

    ● Emir: Abu Umar al-Baghdadi. The chosen leader of ISI, Abu Umar al-Baghdadi, was an
      unknown figure prior to becoming the organization’s emir.80 Born Hamid Dawud Muhammad
      Khalil al-Zawi, Baghdadi originated from Anbar Province. Born into an affluent family,
      Baghdadi worked as a police officer for 11 years before he was fired for promoting extremist
      beliefs. After his termination from the police force, he became an imam.81 Though he was
      relatively obscure when he became emir, a biography published on jihadist forums revealed
      that Baghdadi’s ties to the Zarqawi organization dated back to as early as 2003, when he joined
      JTJ. He later became a member of the MSC and served as the organization’s governor of
      Diyala province before assuming the position of ISI’s emir after Zarqawi’s death.82

    ● Minister of War: Abu Ayyub al-Masri. Though Baghdadi held the position of ISI’s emir, most
      analysts believe he was in many ways a figurehead, and that the person really calling the shots
      was minister of war Abu Ayyub al-Masri (aka Abu Hamzah al-Muhajir).83 Masri’s ties to
      Zarqawi and the Zarqawi organization date back to 1999, when the two trained together at the
      al-Faruq camp in Afghanistan.84 Originally from Egypt, al-Masri emerged in the jihadist scene

78 Kurdistani Nuwe Online (Kurdish), May 10, 2011.
79 BBC Monitoring, “Islamic State of Iraq Claims Two Battalions Pledged Allegiance,” November 30, 2006.
80 Fishman, The Master Plan, p. 89; Al-Durar al-Shamiyah (Arabic), April 5, 2014 (quoting an ISIS defector who described

Abu Umar al-Baghdadi as “not known in the organization as a leader, small or big,” and saying that instead he was just “a
normal person”).
81 Death Industry, Al-Arabiyah television, May 7, 2010; Fishman, The Master Plan, p. 89.
82 “Biographies of the Islamic State’s Men,” video posted to al-Minbar al-Ilami Jihadist Forum, November 20, 2014.
83 See PX935, for example, a publicly available Defense Intelligence Agency document that outlines a source interview

claiming that “Al Baghdadi is an Iraqi and was put in power to try and gain support for the ISI. He is more of a figurehead
than a real leader. All of the orders and commands come from” al-Masri. The DIA document is available at
http://www.dia.mil/FOIA/FOIA-Electronic-Reading-Room/FOIA-Reading-Room-Iraq/FileId/84074/.
84 Shaun Waterman, “Confusion Swirls Over Zarqawi Successor,” UPI, June 20, 2006 (quoting information provided by


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         in the 1980s as part of Ayman al-Zawahiri’s group, Egyptian Islamic Jihad (EIJ). After
         spending time in Sudan and then Pakistan in the mid-1990s, al-Masri travelled to Afghanistan,
         where he became an expert in explosives.85 In 2002, al-Masri travelled to Iraq. During his time
         fighting as an insurgent in the country, al-Masri joined AQI and began working closely with
         Zarqawi as a “master bomb maker and terror coordinator.”86 Following Zarqawi’s death,
         Ayman al-Zawahiri reportedly “hand-picked” al-Masri to lead the al-Qaeda-affiliated jihadist
         group in Iraq.87 Prior to the formation of ISI, the MSC’s media commission announced Abu
         Ayyub al-Masri as AQI’s new emir on June 12, 2006. The establishment of ISI just four
         months later, as well as the selection of Abu Umar al-Baghdadi as the state’s emir, shows that
         the jihadist organization was continuing the “Iraqization program” that Zarqawi had started,
         giving the militant group an Iraqi face.88 Though al-Masri may have been truly pulling the
         strings within ISI, he was a foreigner and thus likely understood that he could not publicly
         assume leadership of the nascent state. Shortly after the MSC announced ISI’s establishment
         under Abu Umar al-Baghdadi’s leadership, al-Masri issued a statement urging other Iraqi
         insurgent groups to pledge allegiance to Baghdadi and unite under the ISI banner. He publicly
         declared his own allegiance to al-Baghdadi.89

    ● Public Relations Minister/Official Spokesman: Muharib Abd al-Latif al-Juburi (aka Abu Abdullah).
      Juburi’s ties to the Zarqawi network date back to at least 2004.90 Following Zarqawi’s death,
      Juburi continued to serve as a trusted courier for Abu Ayyub al-Masri, and, according to al-
      Masri, he was instrumental in establishing ISI and securing the support of tribal leaders in
      Anbar Province and Baghdad.91 According to the late Iraqi analyst Hisham al-Hashimi,
      following ISI’s establishment, Juburi was one of the masterminds behind the creation of the
      group’s media arm, which would become known as al-Furqan Establishment for Media
      Production.92 Juburi managed al-Furqan and served as ISI’s official spokesman until he died
      in April 2007.93

    ● General Security Minister: Abu Abd-al-Jabbar al-Jannabi. Though not a member of AQI per se,
      another Zarqawi organization associate in the ISI cabinet was cleric Abu Abd-al-Jabbar al-
      Jannabi. Prior to becoming General Security Minister of ISI, Jannabi served as the emir of the
      Mujahideen Shura Council in Fallujah. As the New York Times reported, he was known to have


Gen. William Caldwell).
85 “Biographies of the Islamic State’s Men,” video posted to al-Minbar al-Ilami jihadist forum, November 20, 2014.
86 Bill Roggio, “Abu Ayyub al Masri, al Qaeda in Iraq’s Leader, Reported Captured in Mosul,” Long War Journal, May 8,

2008, https://www.longwarjournal.org/archives/2008/05/abu_ayyub_al_masri_a.php.
87 Bill Roggio, “U.S. and Iraqi Forces Kill al Masri and Baghdadi, al Qaeda in Iraq’s Top Two Leaders,” Long War Journal,

April 19, 2010, https://www.longwarjournal.org/archives/2010/04/al_qaeda_in_iraqs_to.php.
88 This conclusion aligns with the analysis in Michael Weiss & Hassan Hassan, ISIS: Inside the Army of Terror (New York:

Regan Arts, 2015), p. 63.
89 Abu Hamzah al-Muhajir, audio message, posted to the Islamic Renewal Organization forum, November 10, 2006.
90 As the emir of al-Ghuraba Brigades, Muharib al-Juburi had formed an alliance with Zarqawi as early as 2004. From

2004-06, Muharib al-Juburi served as one of Zarqawi’s most trusted couriers and a representative of the Zarqawi
organization’s senior leadership. When the MSC announced its formation in 2006, al-Ghuraba Brigades became one of
the founding members.
91 Abu Hamzah al-Muhajir, audio interview, Al-Furqan Media Production Establishment, October 24, 2008.
92 Mu’ayyad Basim, “Iraqi Researcher Reveals Organizational Structure of ISIL’s Media Arm [trans. from Arabic],” Al-

Sabah al-Jadid, June 4, 2014.
93 Islamic State of Iraq, “The Islamic State of Iraq Brings the Good Tidings to the Muslim Nation of the Martyrdom of

Its Official Spokesman,” World News Network website, May 3, 2007.

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            “provided safe haven for foreigners like Mr. Zarqawi and anyone willing to take up arms
            against the Americans or the interim Iraqi government.”94

Beyond the cabinet, many regional emirs were also AQI members. Here are some notable examples:

     ● Jarrah al-Shami (aka Abu Hajar). Described by a jihadist biographer as “one of the pillars of the
       Islamic State of Iraq,” ISI’s emir of Anbar, Jarrah al-Shami, became involved in the Iraq
       jihadist scene as early as 2004, when he participated in the Second Battle of Fallujah.95 After
       being imprisoned briefly in 2005, al-Shami joined up with Zarqawi. During his career in the
       Zarqawi organization, al-Shami was promoted to the military emir of Jazirat al-Ramadi, then
       the emir of Anbar Province. He continued to serve as the emir of Anbar Province after ISI
       was established and continued to hold this position until his death in 2007.

     ● Abu Qaswarah al-Maghribi. Described by AFP as having “ties” to Zarqawi, Abu Qaswarah al-
       Maghribi was considered “al-Qaeda’s number two in Iraq” before his death in October 2008.96
       While little is known about his trajectory within AQI, according to a biography published by
       the jihadist al-Battar Media Foundation, in addition to being AQI’s second in command, he
       was also ISI’s “emir of Northern Iraq.”97 Following Maghribi’s death, ISI’s media arm al-
       Furqan Media Production Establishment published an 8-minute audio statement by Abu
       Umar al-Baghdadi eulogizing him.98

     ● Manaf Abd al-Rahim al-Rawi. Longtime Zarqawi associate Manaf Abd al-Rahim al-Rawi, a
       veteran AQI member, ultimately served as ISI’s Baghdad emir. As Fishman explains, “al-Rawi
       was not part of the jihadi inner circle, but he was adjacent to it.”99 Al-Rawi began his jihadist
       career as the driver and assistant to Abu Muhammad al-Lubnani, one of Zarqawi’s most
       trusted advisors.100 In a 2010 television interview aired on Al-Iraqiyah, al-Rawi described his
       relationship with Lubnani as “very close” and recounted his experience working in proximity
       to the leaders of the nascent Zarqawi organization, such as Zarqawi and Abu Anas al-Shami.101
       In 2004, al-Rawi participated in the major battles in Fallujah, during which he met other
       notable jihadist figures. In June 2004, U.S. forces arrested al-Rawi and imprisoned him in
       Camp Bucca, a U.S. military prison later known for housing some of the most radical elements
       of the Iraqi jihadist movement, including Abu Bakr al-Bagdadi. After his release three and a
       half years later, al-Rawi leveraged the contacts he had made in prison, as well as his pre-
       incarceration jihadist connections, to rejoin AQI.102 With the help of al-Masri, al-Rawi secured
       a position as deputy to Hajji Abd al-Wahid, the head of ISI in Baghdad. When al-Wahid was
       demoted a year later, al-Rawi took over.103 From 2008 until he was arrested again in 2010, al-
       Rawi directed ISI’s deadly operations and activities in Baghdad and Anbar province, including
       attacks and assassinations. Al-Rawi became one of Abu Ayyub al-Masri’s most trusted

94 Robert F. Worth, “Marines Find Vast Arms Cache in Falluja Leader’s Mosque,” New York Times, November 25, 2004.
95 “Biographies of the Islamic State’s Men,” video posted to al-Minbar al-Ilami jihadist forum, November 20, 2014.
96 “Swede Killed Was AQ Second in Command in Iraq,” Agence France-Presse, October 15, 2008.
97 “Biographies of the Islamic State’s Men,” video posted to al-Minbar al-Ilami jihadist forum, November 20, 2014.
98 Abu Umar al-Baghdadi, video released by Al-Furqan Media Production Establishment, October 22, 2008.
99 Fishman, The Master Plan, p. 141.
100 Ibid., p. 140.
101 Al-Iraqiyah Television, May 12, 2010.
102 Ibid.
103 Ibid.


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         associates and was put in charge of coordinating and distributing messages to and from the
         top echelons of ISI’s leadership.104 This trust ultimately led to al-Masri’s demise. In March
         2010, Iraqi forces arrested al-Rawi, and a few weeks later he gave up the names of two key ISI
         couriers. This information allowed U.S. forces to find, and kill or capture, the top leaders of
         ISI.105

While ISI remained dominated by the Zarqawi organization, it is worth detailing the major area in
which it represented a significant evolution for the Zarqawi organization. As Brian Fishman notes, the
group “immediately set out to build a scalable bureaucratic framework that would eventually define
the Islamic State during the Syrian civil war.”106 Fishman outlines a number of steps that ISI took
during this period that later defined ISIS’s bureaucracy. Among other things, the group:

         ● Named a cabinet, including Ministries of Agriculture and Marine Wealth, Oil, and
           Health;

         ● Executed small-scale public works projects, like irrigation canals;

         ● Managed health and safety regulations, including setting speed limits on roads;

         ● Created an internal bureaucracy for political and military administration;

         ● Called on “Muslim brothers around the world, especially those neighboring our
           dear state” to emigrate, and promised to “provide them with benefits and
           expertise”;

         ● Enforced strict financial accounting procedures;

         ● Completely rebranded all of its propaganda;

         ● Enforced rigorous pay scales and cared for the family of deceased fighters; and

         ● Recruited members with a range of administrative and scientific backgrounds, not
           just military experience.107

But ISI encountered a significant challenge that produced the group’s defeat—albeit a temporary one,
as it powerfully reemerged in the post-Arab Spring environment as ISIS. Though the Zarqawi
organization had tried to mask its activities in Iraq under the pretense of an Iraqi-led insurgent
coalition, many Sunni tribal leaders saw the jihadist organization as brutal, foreign in its conception,
and forcibly imposing an oppressive form of the Islamic faith that was alien to Iraq. In September
2006, around 30 of these leaders held a meeting to voice their opposition to the Zarqawi organization,
and formed a coalition called Majlis Inqadh al-Anbar, or the Anbar Salvation Council, to combat al-


104 Al-Durar al-Shamiyah, April 5, 2014 (reporting the testimony of ISIS defector Abu Ahmad).
105 Michael R. Gordon & Bernard E. Trainor, The Endgame: The Inside Story of the Struggle for Iraq, from George W. Bush to Barack

Obama (New York: Vintage Books, 2013), p. 622.
106 Fishman, The Master Plan, loc. 1794 of 8220.
107 Ibid., locs. 1801-08 of 8220.


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Qaeda elements in their midst.108 This was the genesis of what would popularly become known as the
“Awakening” movement, which was instrumental in the Zarqawi organization’s defeat during this
period.

The establishment of the Awakening prompted the Zarqawi organization’s leadership to try to rally
tribal support to counter this growing opposition. On October 12, 2006, MSC formed its own tribal
coalition, the Hilf al-Mutaiyabin (“Alliance of the Perfumed Ones”).109 The MSC rebranded as ISI
three days later.

In April 2010, U.S. and Iraqi forces raided a safe house north of Baghdad and killed ISI leaders Abu
Ayyub al-Masri and Abu Umar al-Baghdadi. The blow was seen as the biggest hit inflicted upon the
organization since Zarqawi’s death in 2006. Around one month later, on May 16, 2010, ISI announced
the selection of a new emir, Abu Bakr al-Baghdadi al-Husayni al-Qurashi, who would in a few years
become ISIS’s first caliph.110 While the rise of ISIS is beyond the scope of this report, suffice it to say
that the group is sufficiently notorious that much ink has been spilled discussing it.

IV.      Ansar al-Islam/Ansar al-Sunnah

Ansar al-Islam, a Salafist militant group, has gone through several name changes since its formation
in December 2001. Originally established under the name Jund al-Islam, Ansar al-Islam emerged from
a conglomeration of several smaller Kurdish Sunni extremist groups based in Iraq’s Kurdistan region.
Also known as Ansar al-Islam Army, Ansar al-Sunna, Army of Ansar al-Islam, Devotees of Islam,
Followers of Islam in Kurdistan, Jaysh Ansar al-Sunna, Jaysh Ansar al-Islam, Jund al-Islam, Kurdish
Taliban, Kurdistan Supporters of Islam, Partisans of Islam, Protectors of Islam, Protectors of the
Sunna Faith, Soldiers of God, Soldiers of Islam, and Supporters of Islam in Kurdistan,111 the group is
listed as Ansar al-Islam in the U.S. government’s designation.112

Origins in the Kurdistan Islamic Movement
The roots of Ansar al-Islam can be found in Iraq’s Kurdistan Islamic Movement (IMK).113 The IMK
was founded in 1987 by Othman Abdul Aziz, who was a prominent Muslim Brotherhood member
from 1960 until 1980.114 In 1984, Aziz fled the persecution of Saddam Hussein’s regime and sought

108 Al-Bayyinah al-Jadidah (Arabic), September 20, 2006.
109 Mujahedin Shura Council, announcement of new alliances, October 12, 2006.
110 For the announcement of Baghdadi’s ascension within ISI, see “God Is Great, A Statement of the Islamic State of

Iraq’s Shura Council [trans. from Arabic],” posted to Al-Fallujah Islamic Forums, May 16, 2010.
111 PX516, Parliament of Australia, Parliamentary Joint Committee on Intelligence and Security, “Review of the Re-Listing

of Ansar Al-Islam, Islamic Movement of Uzbekistan, Lahkar-e Jhangvi, and Jaish-e-Mohammad as Terrorist
Organisations”            (2015),             https://www.aph.gov.au/DocumentStore.ashx?id=59c6be2a-62a6-46b0-a243-
a3ea03a8cade&subId=305072.
112 PX39, U.S. Department of the Treasury, “Treasury Department Statement Regarding the Designation of Ansar Al-

Islam,” February 20, 2003. It is also listed this way in the U.N. Security Council Consolidated List, and by the government
of Canada. See PX526, United Nations Security Council, “United Nations Security Council Consolidated List,” accessed
May 23, 2019; PX518, Public Safety Canada, “Currently Listed Entities,” December 21, 2018. Though Ansar al-Islam and
Ansar al-Sunna are the same entity, they are listed separately by the British government. PX513, Government of the United
Kingdom, “Proscribed Terrorist Groups or Organisations,” April 12, 2019.
113 Iraq’s Kurdistan Islamic Movement is also sometimes referred to as the Islamic Movement in Iraqi Kurdistan.
114 Saed Kakei, “The Islamic Movement of Kurdistan: From Conflict to Cooperation,” Ekurd Daily, March 25, 2013,

https://ekurd.net/mismas/articles/misc2013/3/state6950.htm; David Romano, “An Outline of Kurdish Islamist Groups
in Iraq,” The Jamestown Foundation, October 1, 2007; “Profile: Kurdish Islamist Movement,” BBC News, January 13,
2003, http://news.bbc.co.uk/2/hi/not_in_website/syndication/monitoring/media_reports/2588623.stm.

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sanctuary in Iran.115 During the Iran-Iraq War that ravaged both countries in the 1980s, Tehran funded
a variety of Iraqi Kurdish groups with the goal of stirring up domestic unrest and forcing Saddam to
fight a two-front war.116 With funding from Iran, and supported by IRGC trainers, Aziz returned to
Iraqi Kurdistan in 1987 to head the newly formed IMK.117

Under Aziz’s leadership, Kurdish Islamists—a relatively marginal group compared to the far better
structured and organized leftist Kurdish Patriotic Union (PUK) and Democratic Party of Kurdistan
(KDP)—promoted the idea of a jihad against Saddam Hussein.118 They compared the Kurdish cause
to that of the Afghans at a time when the Afghan-Soviet War had become a cause célèbre throughout
the Arab world. The Kurdish Islamists declared Iraq’s Baathist government to be an infidel regime
occupying Islamic lands in Kurdistan, similar to Soviet forces in Afghanistan. Indeed, during the
Afghan-Soviet War, Kurdish Islamists established ties to various factions fighting the Soviets in
Afghanistan, including Afghan and Pakistani groups, as well as to “Afghan Arab” foreign fighter
contingents.119 These ties facilitated Iraqi Kurdish involvement on the front lines of the Afghan-Soviet
War.120 The ties forged between Kurdish Islamists and some Afghanistan-based fighters, including al-
Qaeda, during the Afghan-Soviet War proved to be long lasting. Throughout the 1990s, contacts
between al-Qaeda and Kurdish Islamists continued. Kurdish militants travelled to Afghanistan to
undertake training and to support al-Qaeda’s fight against the Northern Alliance.121

As Kurdish fighters returned from Afghanistan during the Iran-Iraq War, the IMK, supported by
Iran’s Ministry of Intelligence and Security (MOIS), joined secular Kurdish parties (KDP and PUK)
in fighting alongside Iranian forces during the Val Fajr-10 offensive.122 Kurdish participation in the
Iran-Iraq War factored into Saddam Hussein’s later decision to deploy chemical weapons against the
Kurdish city of Halabja, in which he notoriously killed up to 5,000 Kurdish people. In 1988, the Iraqi
government’s al-Anfal campaign included the use of ground offensives, aerial bombing, systematic
destruction of settlements, mass deportation, and chemical warfare designed to suppress the Kurdish
populations in Northern Iraq.123 Following this campaign, the IMK, like many other Kurdish groups,
largely ceased its operations until the 1991 Gulf War.124

115 Mohammed Shareef, Kurdish Islamists in Iraq from the Muslim Brotherhood to the So-Called Islamic State: Continuity or Departure?

(King Faisal Center for Research and Islamic Studies, 2015), pp. 22–23; Kakei, “The Islamic Movement of Kurdistan:
From Conflict to Cooperation.”
116 Romano, “An Outline of Kurdish Islamist Groups in Iraq.”
117   Mapping Militant Organizations, Stanford University, “Islamic Movement of Kurdistan,” n.d.,
https://cisac.fsi.stanford.edu/mappingmilitants/profiles/islamic-movement-kurdistan.
118 Adel Bakawan, “Three Generations of Jihadism in Iraqi Kurdistan,” Notes de l’Ifri, July 2017, p. 8,

https://www.ifri.org/sites/default/files/atoms/files/bakawan_jihadism_iraqi_kurdistan_2017.pdf.
119 Ami M. Angell and Rohan Gunaratna, Terrorist Rehabilitation: The U.S. Experience in Iraq (Boca Raton, FL: CRC Press,

2012), pp. 9–10.
120 Human Rights Watch, “Ansar al-Islam in Iraqi Kurdistan” (2003); PX705, Sunil Ram, “The Enemy of My Enemy: The

Odd Link Between Ansar al-Islam, Iraq, and Iran,” The Canadian Institute of Strategic Studies, April 2003.
121 Angell and Gunaratna, Terrorist Rehabilitation, pp. 10–11.
122 Miguel Ángel Ballesteros Martin, “Iraqi Kurdistan,” in Geopolitical Overview of Conflicts 2017 (Madrid: Spanish Institute of

Strategic Studies, 2018), p. 117, https://publicaciones.defensa.gob.es/media/downloadable/files/links/g/e/geopolitical-
overview-2017.pdf; International Crisis Group, “Radical Islam in Iraqi Kurdistan: The Mouse That Roared,” ICG Middle
East Briefing, 2003, p. 2, https://www.refworld.org/pdfid/3efde9634.pdf.
123 PX509, European Parliament, “The Kurdish Genocide: Achieving Justice through EU Recognition” (2014), p. 2.
124 Joost Jongerden, “Governing Kurdistan: Self-Administration in the Kurdistan Regional Government in Iraq and the

Democratic         Federation       of       Northern        Syria,”     Ethnopolitics        18:1     (2019),      p.       63,
https://doi.org/10.1080/17449057.2018.1525166; Martin van Bruinessen, “Genocide in Kurdistan?: The Suppression of
the Dersim Rebellion in Turkey (1937-1938) and the Chemical War Against the Iraqi Kurds (1988),” in George J.

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Following the Gulf War, with the installment of a no-fly zone north of the 36th parallel, many Kurdish
political organizations resumed their political and military activities.125 Under the protection of the no-
fly zone, the Iraqi Kurds began to prepare for their first free election and the establishment of a
Kurdish parliament. The 1992 elections illustrated the sharp differences between the IMK and the
general population of Iraqi Kurdistan. The IMK gathered only 5% of the vote, failing to meet the 7
percent threshold required to secure parliamentary seats.126

Disaffected from the political process as a result of their loss, IMK separated itself from ordinary
Kurdish politics.127 Focusing on consolidating its power in Halabja, IMK established a separate
consultative shura (council), and organized education, health, and social services for its members in
areas where the group possessed influence.128 This proved to be a source of friction between the IMK
and the PUK and KDP, with the latter two accusing the IMK of not recognizing or accepting the
legitimacy of the Kurdish administration and its institutions.129

Tensions between IMK and secular Kurdish factions boiled over in 1993-94, as IMK attempted to
expand its influence into Irbil and Sulamaniyah.130 With support from Syria and Iran, which supported
Kurdish Islamist groups in the hope of countering the Kurdish nationalist parties, IMK began carrying
out terrorist attacks against the PUK/KDP Kurdish nationalist government.131 Iran provided financial
backing and military training to IMK, while the Syrian government recruited foreign fighters with
experience against the Soviets in the Afghanistan theater to train IMK members on how to plan
attacks, assassinations, and roadside bombings.132 Consequently, IMK’s militant activities increased
during this period. In response, the PUK initiated a large-scale military campaign against the IMK
stronghold of Halabjah in December 1993 and arrested Aziz, forcing the majority of IMK members
to flee to Iran temporarily.133

In 1994, violence broke out between the PUK and the KDP, distracting both groups from their fight
against the IMK. With the PUK weakened by its ongoing fight with the KDP, Iran pressured it to
cede control of the Halabja-Howraman region to the IMK, which it did in 1996.134

Andreopoulos ed., Genocide: Conceptual and Historical Dimensions (Philadelphia: University of Pennsylvania Press, 1997), p.
161.
125 Matan Chorev, “Iraqi Kurdistan: The Internal Dynamics and Statecraft of a Semistate,” Al Naklah, Fall 2007, p. 4;

Jongerden, “Governing Kurdistan,” p. 63.
126 Romano, “An Outline of Kurdish Islamist Groups in Iraq,” p. 9.
127 Amnesty International, Iraq: Human Rights Abuses in Iraqi Kurdistan Since 1991 (New York: Amnesty International USA,

1995), pp. 19–20, https://www.amnesty.org/download/Documents/180000/mde140011995en.pdf.
128 Romano, “An Outline of Kurdish Islamist Groups in Iraq,” p. 9; Hugh Naylor, “Iraq’s Islamist Kurds under Fire from

Both Sides of the War,” The National (U.A.E.), September 22, 2014; Amnesty International, Iraq: Human Rights Abuses in
Iraqi Kurdistan Since 1991, p. 20.
129 Amnesty International, Iraq: Human Rights Abuses in Iraqi Kurdistan Since 1991, p. 20.
130 Michael M. Gunter, “The KDP-PUK Conflict in Northern Iraq,” Middle East Journal 50:2 (1996), p. 232.
131 Joshua R. Itzkowitz Shifrinson, “The Kurds and Regional Security: An Evaluation of Developments Since the Iraq

War,” Middle East Brief 14 (2006), pp. 1–2; Kakei, “The Islamic Movement of Kurdistan: From Conflict to Cooperation.”
132 Kakei, “The Islamic Movement of Kurdistan: From Conflict to Cooperation.”
133 Amnesty International, Iraq: Human Rights Abuses in Iraqi Kurdistan Since 1991, p. 35; Gunter, “The KDP-PUK Conflict

in Northern Iraq,” p. 232; Shareef, Kurdish Islamists in Iraq from the Muslim Brotherhood to the So-Called Islamic State, p. 9;
Mapping Militant Organizations, Stanford University, “Islamic Movement of Kurdistan,” accessed May 30, 2019,
https://web.stanford.edu/group/mappingmilitants/cgi-bin/groups/view/25#cite20; Human Rights Watch, “Ansar al-
Islam in Iraqi Kurdistan.”
134 Romano, “An Outline of Kurdish Islamist Groups in Iraq,” p. 9; Michael Rubin, “The Islamist Threat in Iraqi


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Following the end of the PUK-KDP fighting, the IMK and PUK agreed to a truce. IMK joined the
Kurdish Regional Government in exchange for control over the Ministry of Endowment and
Religious Affairs and the Ministry of Justice.135 However, the truce between the IMK and PUK
alienated many of the IMK’s more extreme members, thus producing several splinter groups between
1997 and 2000.136 These splinter groups, led by both Kurdish and non-Iraqi Arab veterans of the
Afghan war against the Soviets, included Kurdish Hamas (unrelated to the Palestinian Hamas
organization or to Hamas Iraq), the Second Soran Unit, the Reformist Group, the Islamic Group, and
Tawhid.137 These groups promoted a militant Salafist interpretation of Islam.138

Ansar al-Islam’s Formation
In December 2001, after a series of reconciliations and reorganization under various names (including
Jund al-Islam), many splinter groups of IMK—including al-Tawhid, Kurdish Hamas, the Reformist
Group, and the Second Soran Unit—merged with other Arab and Kurdish Islamist groups to form
Ansar al-Islam. This group was led by former IMK member Mullah Fatih Krekar (real name
Najmaddin Faraj Ahmad).139 Krekar had studied Islamic jurisprudence in Pakistan under Abdullah
Azzam, Osama bin Laden’s mentor.140 Indeed, Krekar wrote about meeting bin Laden in his
autobiography and referred to the al-Qaeda chief as “a jewel in the crown of Islam.”141 Mullah Krekar’s
open lauding of bin Laden and al-Qaeda continued even after the 9/11 attacks.142

Even prior to Ansar al-Islam’s inception, Kurdish Islamist factions appeared to be seeking closer ties
to al-Qaeda, though there are questions about how strong their relationship to al-Qaeda was prior to
the creation of Ansar al-Islam. In August 2001, several Kurdish Islamist factions reportedly visited al-
Qaeda’s leadership in Afghanistan, which wanted to create a base for al-Qaeda in northern Iraq.143
This relationship with al-Qaeda may have manifested not just through funding but also training. In
October 2000, Kurdish Islamist leaders reportedly sent fighters to train with al-Qaeda, who returned
with a message from bin Laden calling for Kurdish Islamist groups to unite.144 Brian Fishman provides
further details about Kurdish militants training in Afghanistan prior to the 9/11 attacks:

          The Kurdish jihadi community was fractured but well known to al-Qaeda’s leadership
          in Afghanistan. The largest group was led by Mullah Fatih Krekar, a veteran of the

Kurdistan,”        Middle         East        Intelligence    Bulletin       3,        no.        2       (December        2001),
https://www.meforum.org/meib/articles/0112_ir1.htm; David McDowall, A Modern History of the Kurds (I.B.Tauris, 2004),
pp. 389–90.
135 Shareef, Kurdish Islamists in Iraq from the Muslim Brotherhood to the So-Called Islamic State, p. 30; Angel Rabasa et al., The

Muslim World After 9/11 (Rand Corporation, 2004); International Crisis Group, Radical Islam in Iraqi Kurdistan: The Mouse
That Roared, p. 3.
136 Romano, “An Outline of Kurdish Islamist Groups in Iraq,” p. 9.
137 See discussion in ibid., pp. 9-10; Rubin, “The Islamist Threat in Iraqi Kurdistan”; Husni Mahalli, “Another ‘al-Qa’ida’

and New Mullahs in Iraqi Kurdistan; Will Kurdistan Become Tora Bora?,” Al-Majallah (Arabic), February 10, 2002.
138 “Ansar al-Islam in Iraqi Kurdistan”; Ram, “The Enemy of My Enemy: The Odd Link Between Ansar Al-Islam, Iraq,

and Iran.”
139 “Ansar al-Islam in Iraqi Kurdistan”; Romano, “An Outline of Kurdish Islamist Groups in Iraq,” p. 12.
140 Romano, An Outline of Kurdish Islamist Groups in Iraq, p. 12.
141 See discussion in J.M. Berger, “The Mullah Krekar Show,” Foreign Policy, July 22, 2011.
142 Jean-Charles Brisard & Damien Martinez, Zarqawi: The New Face of Al-Qaeda (Cambridge, UK: Polity Press, 2005), p.

114.
143 Mahalli, “Another ‘al-Qa’ida’ and New Mullahs in Iraqi Kurdistan.”
144 Abbas al-Badri, “Al-Sharq al-Awsat Obtains Document That Reveals: Bin Ladin Blessed the Establishment of the

Kurdish ‘Jund Al-Islam’ and Sent It a ‘Gift’ in Dollars,” Al-Sharq Al-Awsat (Arabic), September 28, 2001.

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         anti-Soviet jihad, but the most internationally focused group was led by Abu Abdallah
         al-Shafi’i, himself a veteran of Chechnya and Afghanistan’s training camps. It is not
         clear whether al-Shafi’i worked closely with al-Qaeda in Afghanistan, but a jihadi map
         of the al-Faruq training camp in Afghanistan shows a “Kurds Camp” in it.145

As noted, there is some countervailing evidence concerning the strength of the relationship between
Kurdish Islamists and al-Qaeda at this point. Documents found in Afghanistan after the defeat of the
Taliban do not appear to provide a strong link between al-Qaeda and Islamist groups in Iraqi
Kurdistan prior to the defeat of the Taliban regime.146

In the immediate aftermath of 9/11, Jund al-Islam (as Ansar al-Islam was then known) established a
small enclave, providing Kurdish Islamists the first actual territory that they managed to hold in more
than a decade. In this enclave, the group sought to establish an Islamic state explicitly modeled after
that of the Taliban.147 The establishment of this enclave brought Jund al-Islam into direct conflict with
the PUK.148 In September 2001, the group ambushed and killed 42 PUK fighters.149 Jund al-Islam,
anticipating the Taliban regime’s fall, also sought to provide safe haven to Arab militants fleeing
Afghanistan.150

Though there is some lack of clarity regarding the relationship between al-Qaeda and Kurdish militant
groups prior to Ansar al-Islam’s (AAI) creation, Ansar al-Islam represented a deepening in the
relationship between Kurdish militancy and al-Qaeda. As the U.S. Treasury has revealed, “AI came
into being with the blessing of bin Laden after its leaders visited al-Qa’ida in Afghanistan in 2000 and
2001. Bin Laden provided AI with an estimated $300,000 to $600,000 in seed money.”151 Further,
former high-ranking Ansar al-Islam members report that bin Laden regularly provided the group with
installments of $10,000 from 2001 to 2003 through couriers.152 Interviews with Ansar al-Islam
prisoners also seemed to corroborate this claim.

By 2002, Ansar al-Islam was harboring more than 80 foreign jihadists, the majority of them members
of Jamaat al-Tawhid wa-l-Jihad (JTJ), including Abu Musab al-Zarqawi.153 With Ansar al-Islam’s

145 Brian Fishman, The Master Plan, locs. 572-580 of 8220.
146 C.J. Chivers, “Kurds Face a Second Enemy: Islamic Fighters on Iraq Flank,” New York Times, January 13, 2003.
147 “Group Linked to Al-Qaeda Establishes Enclave in North,” Radio Free Europe/Radio Liberty, July 17, 2002,
https://www.rferl.org/a/1100292.html; Rubin, “The Islamist Threat in Iraqi Kurdistan”; Mahalli, “Another ‘al-Qa’ida’
and New Mullahs in Iraqi Kurdistan.”
148 Mahalli, “Another ‘al-Qa’ida’ and New Mullahs in Iraqi Kurdistan”; “Peshmerga Expel Jund al-Islam from Halabja,”

Kurdistan Newsline, October 9, 2001; “Peshmerga Continue Campaign Against Jund al-Islam,” Kurdistan Newsline, September
28, 2001.
149 “Group Linked to Al-Qaeda Establishes Enclave in North.”
150 “Ansar al-Islam in Iraqi Kurdistan.” In this report, Human Rights Watch notes that the PUK alleged that 57 Arab

fighters entered Iraqi Kurdistan from Iran after the 9/11 attacks, in September 2001. Human Rights Watch concluded:
“While Human Rights Watch did not investigate these alleged links, the testimonies of villagers who had fled Biyara and
Tawela and were interviewed in September 2002 appeared to support this contention.”
151 PX39, U.S. Department of the Treasury, “Treasury Department Statement Regarding the Designation of Ansar al-

Islam,” February 20, 2003.
152 Cremonesi Lorenzo, “The Terrorist Leader, Funds for the Organization Come from bin Laden,” Corriere Della Sera

(Italian), February 2, 2004.
153 George Michael, “The Legend and Legacy of Abu Musab Al-Zarqawi,” Defence Studies 7, no. 3 (September 1, 2007), p.

340; Charles Lister, Profling the Islamic State (Washington, D.C: The Brookings Institution, 2014), p. 9; PX923, “Study of
the Insurgency in Anbar Province, Iraq” (Marine Corps Intelligence Activity, June 13, 2007),
https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/0989.%20chapter3.pdf; Chivers, “Kurds Face a Second

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blessing, JTJ quickly established two bases at Dar Ghayish Khan and Sarghat.154 The benefits of this
relationship for Ansar al-Islam were two-fold. First, AAI’s ranks were bolstered by the arrival of
several hundred trained fighters fleeing from Afghanistan, including several European nationals.155
Second, the arrival of European foreign fighters allowed AAI to develop a support network across
Europe that included a network of religious centers in Germany and Italy.156 In Europe, JTJ and AAI’s
networks frequently overlapped. The two groups shared a common goal of facilitating new recruits
and money to northern Iraq and sending trained fighters back to Europe.157

The arrival of Zarqawi and his cadre in Northern Iraq coincided with Ansar al-Islam’s renewed actions
against the PUK in early 2002 and the eventual departure of Mullah Krekar from Iraq in May 2002.158
Krekar sought exile in Norway in the summer of 2002, where he continued to act as Ansar al-Islam’s
spiritual leader and funneled money to the group.159 Abu Abdullah al-Shafi eventually succeeded
Mullah Krekar as Ansar al-Islam’s new leader.160

Ansar al-Islam’s actions against leftist Kurdish groups increased in the summer of 2002. They included
attacks against PUK fighters and the Kurdish Communist Party, the capture of villages inhabited by
the Kaka’i (a syncretistic religious movement) and the displacement of their populations, and the
destruction of the Naqshbandi Sufi sect’s shrines.161 Ansar al-Islam’s campaign against the PUK and
against Kaka’i villages is significant because it reflects the degree to which Ansar al-Islam had begun
to adhere to the sectarian values that would later be associated with Zarqawi.

The fighting between Ansar al-Islam and the PUK intensified throughout the fall of 2002, with Ansar
al-Islam regularly attacking checkpoints outside Halabjah and planning terrorist attacks inside the city.
Ansar al-Islam’s ability to sustain its operation against the PUK astonished Kurdish observers, to
whom this suggested that the group was receiving significant external support, specifically from Iran.162



Enemy”; PX241, Joel D. Rayburn et al. eds., The U.S. Army in the Iraq War, vol. 1 (Washington, D.C: Office of the Chief
of Staff of the U.S. Army, 2019), pp. 21, 48.
154 Fu’ad Husayn, “Al-Zarqawi: The Second Generation of Al-Qa’ida,” serialized in Al-Quds Al-Arabi, June 8, 2005,

http://gtrp.haverford.edu/static/gtr_site/alzarqawi2ndgenpart1.pdf; Jean-Charles Brisard, Zarqawi: The New Face of Al-
Qaeda (Polity, 2005), p. 108.
155 Brisard, Zarqawi; Jeffrey Fleishman, “Militants’ Crude Camp Casts Doubt on U.S. Claims,” Los Angeles Times, April 27,

2003.
156 Sebastian Rotella, “A Road to Ansar Began in Italy,” Los Angeles Times, April 28, 2003; Sebastian Rotella, “3 Terror

Network Suspects Arrested,” Los Angeles Times, November 29, 2003; Petter Nesser, “Jihadism in Western Europe After
the Invasion of Iraq: Tracing Motivational Influences from the Iraq War on Jihadist Terrorism in Western Europe,” Studies
in Conflict & Terrorism 29, no. 4 (2006), p. 324; Raymond Bonner & Don Van Natta Jr., “Regional Terrorist Groups Pose
Growing Threat, Experts Warn,” New York Times, February 8, 2004.
157 Bonner & Van Natta Jr., “Regional Terrorist Groups Pose Growing Threat.”
158 Craig S. Smith, “Kurdish Islamic Leader Arrested in Norway on Murder Charges,” New York Times, January 3, 2004.
159 Bill Roggio, “Iraqi Troops Detain Deputy Leader of Ansar Al Islam,” Long War Journal, August 4, 2009; Angel Rabasa

et al., Beyond Al-Qaeda: The Global Jihadist Movement (Santa Monica, CA: Rand Corporation, 2006), p. 139.
160 PX668, Kathryn Gregory “Ansar al-Islam (Iraq, Islamists/Kurdish Separatists), Ansar al-Sunnah,” Council on Foreign

Relations, backgrounder, nd., https://www.cfr.org/backgrounder/ansar-al-islam-iraq-islamistskurdish-separatists-ansar-
al-sunnah.
161 “U.S. vs. Iraq: Saddam May Have Fired the First Shot,” Christian Science Monitor, April 9, 2002; C. J. Chivers, “Islamic

Militants Clash with Kurdish Forces in Northern Iraq,” New York Times, December 5, 2002; “Kurdish Group Formed to
Fight Secular Rule,” The New York Times, December 15, 2002.
162 International Crisis Group, “Radical Islam in Iraqi Kurdistan: The Mouse That Roared,” 8–9; PX602, “Al-Qaeda in

Northern Iraq?,” Strategic Comments 8, no. 7 (September 1, 2002), p. 2, https://doi.org/10.1080/1356788020873.

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Their conclusions about Iranian support align with those of outside observers. David Romano, an
academic who has focused on Kurdish issues, writes that:

           A significant degree of Iranian support was necessary for Ansar al-Islam to function,
           given that the group’s military supplies came in from Iran (the mountainous region
           they controlled touches the Iranian border), veterans from Afghanistan joined them
           via Iran, and their cadres (including Mullah Krekar himself) entered and left the area
           via Iran. The Shiite regime in Iran likely provided support to this radical Sunni group
           as a means of exercising leverage on the Kurdish secular parties ruling the KRG.
           Support for Ansar al-Islam could provide Iran with a particularly effective means of
           warning Iraqi Kurds not to allow Iranian Kurdish dissidents based in the KRG (the
           Kurdistan Democratic Party of Iran and Komala) to make too much trouble for
           Iran.163

With the prospect of Coalition forces invading Iraq looming, the JTJ cadre in Ansar al-Islam’s territory
consolidated at Dar Ghayish Khan, choosing this location because it was remote.164 Ansar al-Islam’s
leadership relocated to Hanay Din and Shakhi Shiram, relying on caves to keep them safe from
anticipated Coalition attacks. This period also coincided with another reported influx of al-Qaeda
members to Ansar al-Islam.165 Designating Ansar al-Islam as a terrorist group in February 2003, the
U.S. Treasury shed light on the tight cooperation between Ansar al-Islam and al-Qaeda at this time:

           AI [Ansar al-Islam] is a terrorist group operating in northeastern Iraq with close links
           to and support from al-Qa’ida. Al-Qa’ida and Bin Laden participated in the formation
           and funding of Ansar al-Islam and AI has provided safe haven to al-Qaeda in
           northeastern Iraq.… AI has acknowledged that it contracted ‘Islamic figures’ abroad
           before declaring jihad in northeastern Iraq.

           Ansar al-Islam has received training and logistical assistance from al-Qa’ida. Groups
           of AI’s Kurdish members have traveled to Afghanistan to train with al-Qa’ida, while
           AI’s foreign members are believed to be al-Qaida-trained veterans of conflicts in
           Afghanistan and Chechnya.

           Ansar al-Islam has a close association with senior al-Qa’ida operative Abu Musab al-
           Zarqawi, … whose network has established a poison and explosives training camp in
           the area of northeastern Iraq that is controlled by Ansar al-Islam.166

Operation Viking Hammer
Coalition military actions against Ansar al-Islam commenced on March 21, 2003, with Tomahawk
missile strikes against villages in the Ansar al-Islam enclave.167 Many fighters who were part of, or

163   Romano, An Outline of Kurdish Islamist Groups in Iraq, p. 12.
164 “Ansar Al-Islam Confirms Death of Al-Qa’idah Member in Iraqi Kurdistan,” BBC Monitoring Middle East, January 7,

2003.
165 Rotella, “A Road to Ansar Began in Italy”; Craig Whitlock, “In Europe, New Force for Recruiting Radicals,” Washington

Post, February 18, 2005.
166 PX39, U.S. Department of the Treasury, “Treasury Department Statement Regarding the Designation of Ansar al-

Islam,” February 20, 2003.
167 PX708, Timothy Brown, Unconventional Warfare as a Strategic Force Multiplier: Task Force Viking in Northern Iraq, 2003 (Joint

Special Operations University Press, 2017), p. 14; Rayburn et al., The U.S. Army in the Iraq vol. 1, p. 95.

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aligned with, Ansar al-Islam surrendered after these air strikes. On March 28, a ground attack
commenced. It consisted of a six-prong advance, with each prong composed of several Special Forces
teams, CIA paramilitary operations officers, and upwards to 1,000 Kurdish fighters.168 During the
course of the subsequent battle (March 28-30), between 120 and 250 Ansar al-Islam fighters died, and
150 were captured. Identification of the bodies of those killed during Viking Hammer reportedly
revealed how Ansar al-Islam had a “melting pot of fighters from all over the Arab world, with troves
of documents linking Al-Islam to Al-Qaida, Hezbollah, and Hamas.”169

Ansar al-Islam lost more than half of its fighters. Nonetheless, scores of members managed to escape
across the Iranian border.170 Around 40 of these fighters were arrested by Iranian authorities and
handed over to the PUK.171 Tehran’s actions in arresting and handing over these militants do not
contradict the fact that Iran had supported, and continued to support, Ansar al-Islam. Iran’s support
for Sunni militants has always been based on “enemy of my enemy” logic rather than affinity or a
sense of permanent partnership. As Sunni militants tend to be anti-Shia in outlook, Iran has always
regarded them with suspicion even when these militants were useful to the Islamic Republic. Iran has
always tried to hedge against the threat that these Sunni militants could pose to adherents to the Shia
creed or to Iran itself. Further, Iran has been consistently willing to sell out or turn over these erstwhile
allies when there was something to be gained by doing so, just as it turned over the Ansar al-Islam
fighters in this case. Nonetheless, it is clear that far more Ansar al-Islam members fled to Iran than
were arrested by the Islamic Republic. Estimates regarding the number of Ansar al-Islam fighters who
escaped to Iran vary widely from source to source, with some estimates as high as 700.

In the aftermath of Operation Viking Hammer, Coalition forces discovered the remnants of Ansar al-
Islam chemical weapons experiments, including traces of ricin and potassium chloride, hazardous
materials suits, atropine nerve gas antidotes, and manuals on the manufacturing of chemical
weapons.172 Journalists also uncovered notes from a JTJ scientist that documented his successful
production of ricin, chlorine, phosgene, and cyanide compounds, as well as his manufacture of the
conventional explosives nitroglycerine, RDX, ammonium nitrate, and aluminum powder.173

Despite the heavy losses sustained during Operation Viking Hammer, the destruction of Ansar al-
Islam’s enclave did not mark the end of the group. The survival of Ansar al-Islam as a coherent
organization is largely a function of the support it received from the IRGC. In the wake of Operation
Viking Hammer, the IRGC facilitated AAI members’ escape into Iran. IRGC also provided medical

168 Brown, Unconventional Warfare as a Strategic Force Multiplier, p. 14; PX241, Rayburn et al., The U.S. Army in the Iraq War,

vol. 1, p. 95; Janet Ritz, “Special Ops Deployed to Iraq: What Does It Mean?,” Huffington Post, December 6, 2017.
169 Mike Perry, “Operation Viking Hammer,” SOFREP, May 20, 2012, https://sofrep.com/news/operation-viking-

hammer/.
170 Fleishman, “Militants’ Crude Camp Casts Doubt on U.S. Claims”; Brown, Unconventional Warfare as a Strategic Force

Multiplier: Task Force Viking in Northern Iraq, 2003, p. 14; Eli Lake, “U.S., Iran in Talks over Al-Qaida Suspects,” UPI, May
8, 2003; Chris Kutschera, “L’ascension d’Ansar Al Islam,” Radio France Internationale, December 30, 2003,
http://www1.rfi.fr/actufr/articles/051/article_26927.asp; Bakawan, “Three Generations of Jihadism in Iraqi Kurdistan,”
p. 16; PX241, Rayburn et al., The U.S. Army in the Iraq War vol. 1, p. 115.
171 Paul Gallagher, “Terrorist Camp Wiped Out by U.S.,” The Scotsman, March 31, 2003; Scott Peterson, “The Rise and Fall

of Ansar Al-Islam,” Christian Science Monitor, October 16, 2003.
172 Dana Priest & Bradley Graham, “Toxic Gas Tests Draw U.S. Study; Kurdish Group in N. Iraq Accused,” The Washington

Post, August 20, 2002; PX624, C.J. Chivers, “Instruction and Methods From Al Qaeda Took Root in North Iraq with
Islamic Fighters,” The New York Times, April 27, 2003, https://www.nytimes.com/2003/04/27/world/aftereffects-terror-
network-instruction-methods-al-Qaeda-took-root-north-iraq.html.
173 Fleishman, “Militants’ Crude Camp Casts Doubt on U.S. Claims.”


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treatment to injured members, and provided those who wanted to travel to Afghanistan, or return to
Iraq, with fake identification cards.174 From Iran, Ansar al-Islam worked with local smugglers to
facilitate the movement of fighters seeking to return to Iraq between June and August 2003.175 Further
supporting the conclusion that Iranian support was critical to Ansar al-Islam’s rebound following its
military losses, veteran journalist Scheherezade Faramarzi—whose long career has included coverage
of the Iranian revolution, the Iran-Iraq war, and hostage crises—writes:

         When the United States bombed Ansar al-Islam’s base in Iraq, some of the hundred
         or so survivors fled to Iran and some went on to fight in Afghanistan. Those who
         remained in Iran established the al-Qaeda Brigades in Kurdistan and pledged allegiance
         to al-Qaeda. Mullah Abdulhamid and Mullah Mohammad were the group’s more
         prominent leaders, proselytizing in the open and giving sermons in the mosques of
         major Iranian cities such as Sanandaj, Marivan, Saqqez and Bokan.

         Prominent Ansar al-Islam leaders who pledged allegiance to Zarqawi and returned to
         Iraq reorganized the group in Mosul, Howeiza and Kirkuk. Their primary goal
         remained fighting the secular Kurdistan Regional Government (KRG).

         “It’s been said that the Revolutionary Guards left the border points open and did not
         hinder their back-and-forth crossings,” said Mokhtar Hooshmand, an Iranian Kurd
         and former political prisoner who now lives in Germany, where he researches the
         spread of jihadist ideologies among Kurds.

         Hooshmand told this author, “They also allowed what remained of Ansar’s Iraqi
         fighters in Iran to proselytize and establish Salafi jihadi groups because they wanted to
         use them as a bargaining chip in their dealings with Kurdish parties in Iraq.”176

As part of its rebound following its military losses, Ansar al-Islam began recruiting unemployed Iraqi
military and security personnel to conduct low-level attacks in return for cash payments.177 As Ansar
al-Islam continued this gradual resurgence, its leaders put out public statements signaling its intent to
resume its attacks against the U.S.-led forces.178

Initial attempts by Ansar al-Islam to reassert itself in Iraqi Kurdistan in the aftermath of Operation
Viking Hammer were frustrated by a PUK crackdown against the IMK from August to September
2003, which resulted in the arrest of hundreds of IMK members suspected of having ties to Ansar al-
Islam.179 AAI was initially far more successful in establishing itself in central Iraq, particularly in the

174 International Crisis Group, “Iran in Iraq: How Much Influence?,” ICG Middle East Briefing, March 21, 2005, pp. 19–20;

Jeffrey Fleishman, “Ansar Fighters Surrender to Kurds; Denied Refuge in Iran, Hundreds Have Agreed to Turn
Themselves in, a Commander Says,” Los Angeles Times, April 7, 2003; “While Many Islamic Fighters Surrender, Kurds
Remain Wary of New Terrorist Attacks,” New York Times, April 7, 2003.
175 Neil MacFarquhar, “Iraq Draws a New Tide of Islamic Militants,” International Herald Tribune, August 15, 2003;

Thanassis Cambanis, “Along Border, Kurds Say, Iran Gives Boost to Uprising,” Boston Globe, November 7, 2004.
176 Scheherezade Faramarzi, “Iran’s Salafi Jihadis,” Atlantic Council, May 17, 2018.
177 Hisham Mohammed, “Insurgency Provides Financial Lure,” Institute for War and Peace Reporting, November 17,

2005, https://iwpr.net/global-voices/insurgency-provides-financial-lure; “Q&A: Who’s Behind the Escalating Terror
Attacks in Iraq?,” New York Times, August 19, 2003; Human Rights Watch, “A Face and a Name: Civilian Victims of
Insurgent Groups in Iraq” (2005), https://www.hrw.org/reports/2005/iraq1005/3.htm#_ftnref29.
178 Brisard & Damien Martinez, Zarqawi: The New Face of Al-Qaeda, p. 126.
179 Ramadan Shamal, “No ‘Islamic Group’ Member Arrested,” Al-Sharq Al-Awsat, September 21, 2003; Kathleen Ridolfo,


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greater Baghdad area.180 Drawing on its support network in Europe, Ansar al-Islam also sought to
internationalize the conflict and recruit suicide bombers. It drew on financial support and foreign
fighter recruits from Britain, Germany, Italy, and France.181

Ansar al-Sunna’s Formation and Activities
Ansar al-Islam’s efforts occurred independently from JTJ and Zarqawi’s efforts, the alliance between
the groups having been severed, at least temporarily by Operation Viking Hammer.182 On August 23,
2003, Kurdish jihadist leader Abu Abdullah al-Shafi’i made a formal declaration denouncing Krekar,
Ansar al-Islam’s former leader, as “secular” and an “apostate.”183 This declaration was followed on
September 20, 2003 with a statement announcing the establishment of Ansar al-Sunna as the group’s
national organization.184 Following the statement’s release, attacks conducted by Ansar al-Islam
members were claimed under the name Ansar al-Sunna (AAS). However, many operatives abroad,
particularly in Kurdish immigrant communities in Europe, retained their identity as a part of Ansar al-
Islam while continuing to work on behalf of Ansar al-Sunna.

In Iraq, propaganda released by Ansar al-Sunna in February 2004 suggests that the group’s initial
operations were concentrated on Mosul, Baghdad, Kirkuk, and Ramadi. AAI/AAS militants were
connected to or claimed responsibility for several high-profile attacks.185 Ansar al-Sunna also remained
involved in northern Iraq through the first half of 2004.186 The group’s activities, in particular its


“Kurdish Peshmerga Continue to Arrest Militants,” Radio Free Europe/Radio Liberty, September 25, 2003; “Al-Qa’ida
Regrouping in Iraq, ‘Arab Afghans’ in Kurdish Jails,” Al-Hayah (Arabic), April 25, 2004.
180 “Ansar Al-Islam Seen as Main Threat to U.S. in Iraq – Some Linkage to Former Regime Loyalist,” Reuters, October

23, 2003; PX241, Rayburn et al., The U.S. Army in the Iraq War vol. 1, p. 174.
181 See, for example, “Police Pounce on ‘Al-Qaeda Cell,’” BBC, November 28, 2003; “‘Serious Threat’ to Germany from

Islamist Terror Network,” BBC Monitoring, December 4, 2003; Daniel McGrory & Andrew Norfolk, “Briton Arrested in
Iraq ‘As He Tried to Join Terrorist Group,’” The Times (London), December 2, 2003; Celal Ozcan, “Terrorist With One-
Way-Ticket,” Hurriyet, October 12, 2003; Luca Fazzo, “Coi proventi della droga si finanziano i kamikaze,” La Repubblica
(Italian), November 30, 2003; Sebastian Rotella, “Italy Arrests 6 Suspects in Terror Probe,” Los Angeles Times, April 2, 2003;
PX241, Rayburn et al., The U.S. Army in the Iraq War, vol. 1, p. 174.
182 Rabasa et al., Beyond Al-Qaeda: The Global Jihadist Movement, p. 140.
183 Al-Sharq Al-Awsat, August 23, 2003 (Arabic); PX241, Rayburn et al., The U.S. Army in the Iraq War, vol. 1, p. 174.
184 Kathleen Ridolfo, “A Survey of Armed Groups in Iraq,” Radio Free Europe/Radio Liberty, June 4, 2004.
185 These attacks include the August 7, 2003, attack against the Jordanian Embassy in central Baghdad; the August 19,

2003, Canal Hotel bombing in Baghdad which targeted the U.N.’s presence in Iraq; the August 29, 2003, car bombing in
Najaf that killed 82 people; the October 9, 2003, bombing of the International Committee of the Red Cross headquarters
in Baghdad; the October 14, 2003, car bomb attack against the Turkish Embassy in Baghdad; the November 12, 2003,
bombing of the Italian paramilitary police command and control post in Nasiriyah; the November 20, 2003, attack against
the PUK headquarters in Kirkuk; the November 29, 2004, ambush of vehicles carrying Spanish intelligence officers; the
December 12, 2003, attack against a U.S. facility in Ramadi; the January 5, 2004, ambush and killing of Canadian and
British citizens; the January 18, 2004, bombing of the coalition headquarters in Baghdad; the January 31, 2004, bombing
of the al-Taqafah police center in Mosul; the February 23, 2004, bombing of the Rahimawa police station in Kirkuk; the
March 3, 2004, simultaneous bombings of Shia shrines in Baghdad and Karbala that killed at least 143 worshippers; and
the March 28, 2004, ambush of British and Canadian contractors near Mosul. See PX527, for example, United Nations,
“Report of the Independent Panel on the Safety and Security of UN Personnel in Iraq,” October 20, 2003, p. 13,
https://www.un.org/News/dh/iraq/safety-security-un-personnel-iraq.pdf; Rabasa et al., Beyond Al-Qaeda: The Global
Jihadist Movement, pp. 139–40; PX523, United Nations High Commissioner for Refugees, “Chronology of Events in Iraq,
February 2004” (February 2004).
186 See, for example, Rory McCarthy, “Attacks Increase Ethnic Tension Ahead of Handover,” The Guardian, February 2,

2004; Jeffrey Gettleman & Edward Wong, “Twin Bombings in Northern Iraq Kill at Least 56,” The New York Times,
February 1, 2004; Joel Roberts, “Iraq Suicide Bomber Caught on Tape,” CBS News, February 4, 2004; PX523, United
Nations High Commissioner for Refugees, “Chronology of Events in Iraq, February 2004.”

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bombing of PUK and KDP headquarters, which represented the single greatest loss inflicted on
Kurdish leadership in decades, drove home the fact that Ansar al-Sunna was making a comeback.

In February 2004, Ansar al-Sunna released a propaganda video that provided a specific but clearly
inflated tally of its activities, claiming to have perpetrated 285 attacks, resulting in 1,155 deaths since
October 2003. Such propaganda videos featuring the group’s exploits were regularly distributed in
Baghdad and Fallujah, extolling Ansar al-Sunna’s exploits, and framing its fight in Iraq as part of the
global jihad.187

As I have noted, the group’s earlier rhetoric called for attacks against American forces in Iraq. With
its escalation in militant operations, Ansar al-Sunna’s propaganda continued to be anti-U.S., but now
became explicitly pro-al-Qaeda.188 Al-Qaeda’s influence over AAI/AAS during this period could be
found not only in its public statements but also in its operational profile. AAI/AAS increasingly
became known for its well-timed, planned, and precise attacks.189 The group’s attacks also regularly
employed disguises, and it developed sophisticated ambush techniques that used improvised explosive
devices and RPGs.190

Abroad, wiretaps into Ansar al-Sunna’s external networks highlighted that as early as June 2002, the
group was intent on conducting transnational terrorist attacks.191 This international focus would later
be to Ansar al-Sunna’s detriment, as the group faced severe crackdowns by European authorities in
the wake of the March 11, 2004 terrorist attacks in Spain.192 Following these crackdowns, Ansar al-
Sunna’s European networks struggled to reorganize.

Disputes between al-Shafi’i and Zarqawi over the use of sectarian violence impeded Ansar al-Sunna’s
integration into the broader insurgency in Iraq during the first half of 2004, though the group played
a secondary role in the first battle of Fallujah.193 Unlike JTJ, Ansar al-Sunna generally avoided sectarian
rhetoric and violence in the early days of the insurgency. For example, al-Shafi’i publicly described
Ansar al-Sunna’s collaboration with the Shia militant group Jaysh al-Mahdi in an August 2004
interview with Al-Muharrir.194 This implicit criticism of Zarqawi caused a breach between JTJ and
Ansar al-Sunna. As a result of these disputes, it is unclear whether Ansar al-Sunna’s more extreme
actions, such as the kidnapping and execution of a dozen Nepalese contractors in August 2004, were
carried out at the direction of Ansar al-Sunna leadership or by members of the group’s cadre who
were working at JTJ’s behest.195


187 See discussion in Rubin, “Ansar Al-Sunna: Iraq’s New Terrorist Threat.”
188 Brisard & Damien Martinez, Zarqawi: The New Face of Al-Qaeda, p. 130.
189 Rabasa et al., Beyond Al-Qaeda: The Global Jihadist Movement, p. 143.
190 PX241, Rayburn et al., The U.S. Army in the Iraq War vol. 1, p. 353.
191 Keith Johnson & David Crawford, “Spain Bomb Suspects Had Ties Linking to Al Qaeda,” Wall Street Journal Europe,

March 16, 2004; Chivers, “Instruction and Methods From Al Qaeda Took Root in North Iraq with Islamic Fighters.”
192 “Police Pounce on ‘Al-Qaeda Cell,’” BBC, November 28, 2003; Daniel McGrory & Andrew Norfolk, “Briton Arrested

in Iraq ‘As He Tried to Join Terrorist Group,’” The Times (London), December 2, 2003; Ozcan, “Terrorist With One-Way-
Ticket”; Fazzo, “Coi proventi della droga si finanziano i kamikaze”; Rotella, “Italy Arrests 6 Suspects in Terror Probe.”
193 PX241, Rayburn et al., The U.S. Army in the Iraq War vol. 1, p. 459.
194 See Kathleen Ridolfo, “Iraq: Al-Sadr Reasserts Himself – This Time Against Coreligionists,” Radio Free Europe/Radio

Liberty, August 25, 2005, https://www.rferl.org/a/1060941.html; “Iraq Report: September 10, 2004,” Radio Free
Europe/Radio Liberty, September 10, 2004, https://www.rferl.org/a/1343087.html.
195 See Sabrina Tavernise, “12 Hostages from Nepal Are Executed in Iraq, a Militant Group Claims,” New York Times,

September 1, 2004.

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As this report noted previously, in October 2004 Zarqawi formally swore an oath of loyalty (bayah)
to Osama bin Laden. Zarqawi then changed JTJ’s name to Tanzīm Qāʻidat al-Jihād fī Bilād al-Rāfidayn,
commonly known as al-Qaeda in Iraq (AQI). Ansar al-Sunna was embittered by having been passed
over as an overt al-Qaeda affiliate in favor of the Zarqawi organization. This animosity led to tense
relations between AQI and Ansar al-Sunna. The U.S. Army’s definitive history of its involvement in
the Iraq War, which involved years of research, depicts this tense relationship that forced al-Qaeda’s
senior leadership to intervene. It explains that al-Qaeda’s

         alarm had been magnified by exaggerated warnings from the insurgent group Ansar al
         Sunna, which had long resented Zarqawi and believed it—rather than AQI—should
         be in charge of al-Qaeda’s franchise in Iraq. Ansar al Sunna held Zarqawi personally
         responsible for the destruction of its parent organization, Ansar al-Islam, in northern
         Iraq in 2003, and, like some other insurgent groups, opposed Zarqawi’s targeting of
         Iraqi civilians and brutal beheadings. Moreover, Ansar al Sunna’s leaders believed that
         AQI and Zarqawi frequently took credit for attacks that Ansar al Sunni launched, and
         poached members from among their ranks. Relations between the two insurgent
         groups were bad enough that al-Qaeda’s senior leaders received reports that open
         fighting might break out. To resolve this dispute and get a better grasp of the situation
         in Iraq, Abdul Hadi, part of Osama Bin Laden’s inner circle, twice requested Zarqawi’s
         help to infiltrate Iraq, but Zarqawi claimed the security situation would not permit it.
         Abdul Hadi’s visit to mediate between the two groups was delayed 7 months because
         of Zarqawi’s intransigence, and the AQI–Ansar al Sunna feud festered in the
         meantime.196

Ansar al-Sunna’s bitterness was eventually tempered by two factors: (1) the fact that bin Laden had
only appointed Zarqawi as his representative, rather than as the emir of all militant groups in Iraq, and
(2) the fact that Ansar al-Sunna was given direct access to Osama bin Laden.197 Documents later
recovered from Osama bin Laden’s compound in Abbottabad illustrate the degree to which Ansar al-
Sunna continued to be regularly consulted and valued by al-Qaeda’s senior leadership.198 Ansar al-
Sunna’s contact with al-Qaeda’s leadership eventually led to a rapprochement between AQI and Ansar
al-Sunna. Thereafter, Ansar al-Sunna served as an intermediary between AQI and al-Qaeda. Further
cooperation between AQI and Ansar al-Sunna was facilitated in the aftermath of the Second Battle of
Fallujah—a joint American, Iraqi, and British offensive in November and December 2004. During
the battle, Ansar al-Sunna used the outskirts of Mosul as a refuge for combatants fleeing the city,
including Zarqawi.199

This temporary reconciliation between Ansar al-Sunna and AQI is illustrated by a November 2004
joint statement, signed by a dozen organizations pledging to continue fighting Coalition forces. AAS’s
commitment to continuing the insurgency was also demonstrated by its suicide bombing against the
al-Ghazlani Coalition military base in Mosul that killed 22, including 19 Americans, on December 21,
2004. Throughout the first half of 2005, AAS also appears to have significantly expanded its presence

196 PX241, Rayburn et al., The U.S. Army in the Iraq War vol. 1, p 459.
197 Weaver, “The Short, Violent Life of Abu Musab Al-Zarqawi”; Angell and Gunaratna, Terrorist Rehabilitation, p. 19.
198 See PX920, for example, “SOCOM-2012-0000011-HT: Letter from Unknown to Hafiz Sultan,” dated March 28, 2011,

https://www.hsdl.org/?abstract&did=; “SOCOM-2012-0000019-HT; PX921, Letter from Osama Bin Laden to Sheikh
Mahmud,” date estimated May 2010, https://www.hsdl.org/?abstract&did=.
199 Truls Hallberg Tønnessen, “Training on a Battlefield: Iraq as a Training Ground for Global Jihadis,” Terrorism and

Political Violence 20, no. 4 (2008), p. 554; Weiss and Hassan, ISIS, p. 38; “Study of the Insurgency in Anbar Province, Iraq.”

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in central Iraq, likely taking advantage of its alliances with the Islamic Army of Iraq and Jaysh al-
Mujahedin, based on the number of joint operational claims filed by the three groups.

Abroad, throughout 2005-06, Ansar al-Sunna tried to rebuild and reinvigorate its European networks,
which were still reeling from the law enforcement crackdown in the aftermath of the 2004 Madrid
train bombings. Ansar al-Sunna’s efforts appear to have met with limited success, thus prompting
Ansar al-Sunna to step up its recruitment of Saudi foreign fighters.200 This recruitment effort allowed
AAS to create its own foreign fighter network and thus bolster its standing relative to other insurgent
groups.201 Despite its growing standing, the decision by al-Shafi’i and his inner circle to keep a low
profile to ensure their own security meant that the group’s leaders had increasingly little control over
their own fighters.202 In the fall of 2005, Operation SAYAID II, which was aimed at stabilizing the
western Euphrates River valley, swiftly degraded Ansar al-Sunna in the area. In the aftermath, Ansar
al-Sunna’s operations became further integrated with those of AQI, with the majority of the group’s
western Anbar cadres either falling under the operational leadership of AQI or defecting to AQI.203
For example, the February 2006 bombing of the al-Askari Mosque, which ignited a wave of sectarian
violence, was perpetrated by Ansar al-Sunna members from Anbar who joined AQI following
Operation SAYAID II. 204 The close proximity with AQI, and the influx of foreign fighters within the
ranks of Ansar al-Sunna, coincided with Ansar al-Sunna shifting toward AQI’s sectarian targeting
strategy.205

While the aftermath of Operation SAYAID II saw close collaboration between Ansar al-Islam and
AQI, declassified correspondence between al-Shafi’i and Zarqawi’s successor Abu Ayyub al-Masri
highlights a multitude of issues between the two groups.206 These disagreements provide insight into
some of the factors that motivated Ansar al-Sunna to remain independent from the newly-created
Mujahidin Shura Council that united AQI with five other Sunni insurgent groups, or its successor the
Islamic State of Iraq (ISI). Another factor is that much of AAS’s senior leadership was detained over
the course of 2006.207 Yet AAS and AQI retained connections. Illustrating this fact, in January 2006,



200 Thomas Hegghammer, “Saudis in Iraq: Patterns of Radicalization and Recruitment,” Cultures & Conflicts, June 12, 2008,

http://journals.openedition.org/conflits/10042.
201 Omer Mahdi & Rory Carroll, “Under U.S. Noses, Brutal Insurgents Rule Sunni Citadel,” The Guardian, August 21, 2005;

Mohammed M. Hafez, “Suicide Terrorism in Iraq: A Preliminary Assessment of the Quantitative Data and Documentary
Evidence,” Studies in Conflict & Terrorism 29, no. 6 (2006), pp. 592–93.
202 Edward Wong, “Attacks by Militant Groups Rise in Mosul,” New York Times, February 22, 2005.
203 Oscar E. Gilbert, The Marine Corps Tanks Collection (Open Road Media, 2018), p. 221.
204 Edward Wong, “Iraqi Led Bombing of Shiite Shrine, Official Says,” New York Times, June 28, 2006; Kathleen Ridolfo,

“Samarra Bombing Set Off Year of Violence,” Radio Free Europe/Radio Liberty, February 12, 2007.
205 Bakawan, “Three Generations of Jihadism in Iraqi Kurdistan,” p. 15; Lionel Beehner, backgrounder, “Iraq’s Post-

Saddam Insurgency,” Council on Foreign Relations, November 14, 2006; Hafez, “Suicide Terrorism in Iraq,” p. 612.
206 See PX908, “Letter from Abu Hamza Al-Mujahir to Abi `Abdullah Al-Shafi`i,” NMEC-2007-636898; PX909, “Letter

from Abu Hamza to Ansar Al-Sunnah Highlighting Divisions,” NMEC-2007-636878; PX914, “Letters between Abu
Hamza and a Member of Al-Ansar,” NMEC-2007-636892, https://ctc.usma.edu/harmony-program/letters-between-
abu-hamza-and-a-member-of-al-ansar-page-1-original-language-2/; PX913, “Letters between Abu Hamza and a Member
of Al-Ansar,” NMEC-2007-636888, https://ctc.usma.edu/harmony-program/letters-between-abu-hamza-and-a-
member-of-al-ansar-page-2-original-language-2/.
207 See, for example, Michael Howard, “Michael Howard in Kirkuk on Iraq’s Hospital Murders,” The Guardian, April 16,

2006, https://www.theguardian.com/world/2006/apr/17/iraq.topstories3; “Germans Give Iraqi 2½ Years for Aiding
Terrorists,” The New York Times, September 26, 2007; Bill Roggio, “Ansar Al-Sunnah Shura Member Captured,” Long War
Journal, September 24, 2006.

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U.S. military intelligence officials described AQI, Ansar al-Islam, and Ansar al-Sunna as “three
interconnected groups [that] are the most powerful actors in the Iraqi insurgency.”208

Ansar al-Sunna’s weakened state in 2006 led Iran to renew its support for the group in Kurdistan. Iran
reportedly facilitated the recruitment of Iranian Kurds by offering them monthly salaries of $1,500 in
return for submitting to ideological and military training.209 The scale and scope of AAS activities
prompted Iraqi Kurdistan to temporarily close its border with Iran in April 2007. While Iran ostensibly
ended its open support for Ansar al-Sunna activities in late June 2007 under Iraqi Kurdish pressure,
Iran did not suppress Ansar al-Sunna, and the group remained active in Iranian Kurdistan.210

However, an important divide occurred that eventually led to large-scale defections from AAS. After
being released by Coalition forces, Abu Wa’il (real name Saadoun Mahoud al-Ani) attempted to
persuade the group’s leadership to reach an accord with Coalition forces.211 Abu Wa’il was a former
member of the Iraqi security services, a veteran of the Soviet-Afghan War, and the religious emir of
Ansar al-Sunna. Al-Shafi’i opposed Abu Wa’il’s proposal. This dispute led Abu Wa’il to leave AAS,
bringing numerous AAS members to be part of his new organization: Ansar al-Sunna Diwan al-Sharia
wa-l-Qada (Ansar al-Sunna Sharia and Judicial Bureau).212 Abu Wa’il’s new organization aligned itself
with the Islamic Army of Iraq, 1920 Revolution Brigades, Jaysh Rijal al-Tariqa al-Naqshabandiya, and
several other minor insurgent groups opposed to AQI that formed the Jihad and Reform Front
(JRF).213 From early May 2007, JRF sought to consolidate Sunni insurgent leadership under a single
banner to facilitate negotiations with the Government of Iraq.214 These highly publicized defections
harmed Ansar al-Sunna.

Following the defection of Abu Wa’il, conflict between the remaining AAS senior leadership, attrition
of the group’s leadership cadre due to Coalition targeting, and the absorption of the majority of the
group’s cadres into those of AQI led to the group’s continued decline. In the face of these setbacks,
al-Shafi’i tried to rebrand his organization and rebuild, declaring on November 28, 2007 to have
reverted back to the group’s former name of Ansar al-Islam.215 In all likelihood, this rebranding was
intended to differentiate his organization from Wa’il’s splinter group. This rebranding as Ansar al-
Islam coincided with a second attempt by the group throughout 2008 to reassert itself in Diyala, Mosul,
and Kurdistan by establishing a presence in local villages.216 In doing so, AAI/AAS illustrated that it

208 PX237, Home Office Immigration and Nationality Directorate, “Operational Guidance Note: Iraq,” January 12, 2006,

https://www.ecoi.net/en/file/local/1234188/hl990_Iraq_v2.0_January_2006.pdf.
209 PX606, “Iran Allegedly Using Ansar Al-Islam, Al-Qa’idah to Interfere in Iraqi Kurdistan,” BBC Monitoring Middle East,

April 28, 2007; “Report Views Relationship between Iran, Iraqi Kurds,” BBC Monitoring Middle East, April 27, 2007; “Iraqi
Kurdish Article: Border Attack Shows Iran Cannot Be Trusted,” BBC Monitoring Middle East, July 18, 2007.
210 PX673, Lydia Khalil, “The Hidden Hand of Iran in the Resurgence of Ansar Al-Islam,” Terrorism Monitor 5:11, June 7,

2007, https://jamestown.org/program/the-hidden-hand-of-iran-in-the-resurgence-of-ansar-al-islam/; Ram, “The Enemy
of My Enemy: The Odd Link Between Ansar Al-Islam, Iraq, and Iran”; “Iran’s Envoy to Iraq Says Tehran Not Behind
Infiltration in Kurdistan,” BBC Monitoring Middle East, September 15, 2007; Alexandra Zavis, “Iran Reopens Its Border
with Iraq’s Kurdish North,” Los Angeles Times, October 9, 2007.
211 Stanley McChrystal, My Share of the Task: A Memoir (New York: Penguin, 2013), pp. 247–48.
212 Ibid., p. 261.
213 See ibid.; “Six Iraqi Sunni Insurgent Groups Form New Body,” Reuters, October 11, 2007.
214 McChrystal, My Share of the Task, p. 261; “Iraq Islamist Groups Form Rival Coalition to Qaeda,” Reuters, May 3, 2007.
215 Gus Martin, The SAGE Encyclopedia of Terrorism, Second Edition (SAGE Publications, 2011).
216 “Iraqi Diyala Official Says Kurdish-Speaking Gunmen in League with Suicide Attackers,” BBC Monitoring Middle East,

May 9, 2008; “Mosul Operation Has Led Al Qaida Gunmen ‘to Leave,’” Gulf News, May 27, 2008; “Iraq Ansar Al-Islam
Claims Attack on U.S. Minesweeper in Mosul,” BBC Monitoring Middle East, July 3, 2008; “Iraqi Kurdistan Forces Foil
Ansar Al-Islam Infiltration Attempts,” BBC Monitoring Middle East, July 21, 2008; “Iraqi Kurd Paper Reports on Rise of

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remained active in Iraq, and that it continued to fight against Coalition forces and the Government of
Iraq despite its decline.

While AAI/AAS remained a significant terrorist threat—particularly in the Ninewa and Diyala
provinces—Ansar al-Islam was nonetheless a significantly diminished force. In Iranian Kurdistan,
Ansar al-Sunna was forced to fight alongside members of the IRGC against the Partiya Jiyana Azad a
Kurdistanê (Kurdistan Free Life Party, or PJAK) in return for a continued Iran-based safe haven. They
did this despite having adopted a severe anti-Shia stance in 2006-07.217

On May 3, 2010, al-Shafi’i was captured by U.S. forces in Baghdad. Al-Shafi’i’s capture marked the
removal of one of the last remaining members of AAI/AAS’s original leadership cadre and forced
Ansar al-Islam into a period of near inactivity. It took nearly a year until a new emir was named. On
December 15, 2011, Ansar al-Islam announced its decision to name Abu Hashim Muhammad bin
Abd al-Rahman al-Ibrahim as its new emir.218 Following the appointment of Abu Hashim, Ansar al-
Islam’s major focus seems to have been rebuilding the group’s technical capabilities, as propaganda
released by the group following his succession publicized its expertise in remote-controlled cars for
use as VBIEDs, the independent development and manufacture of rockets, electronic circuit boards,
and IEDs intended to defeat Coalition electronic counter-measures.219

Summary of Iranian Support for Ansar al-Sunna
Overall, Iran provided several categories of material support to Ansar al-Islam/Ansar al-Sunna during
the relevant period. Here are the support activities that Iran likely engaged in during the period at issue
in this case:

    •    First, Iran consistently bolstered AAI/AAS as a fighting and terrorist force, including
         even before Operation Viking Hammer. As this section has explained, Ansar al-Islam’s ability
         to sustain its operation against the PUK in the fall of 2002 led Kurdish observers to conclude
         that the group received significant external support from Iran, a conclusion that aligned with
         that of informed outside observers. This support reportedly came in the form of military
         supplies and serving as a transit point for militants, the latter of which will be elaborated upon
         separately in this conclusion.

    •    Second, Iran provided safe haven to fleeing members and leaders following Operation
         Viking Hammer in 2003. The IRGC helped facilitate the escape of these leaders and
         operatives, provided them with medical assistance, and eventually provided refuge for them
         inside Iran. Given the intensity of the Operation Viking Hammer military operation, it is
         reasonable to conclude, as I do, that the survival of Ansar al-Islam as a coherent organization
         is largely a function of the support it received from the IRGC.


Islamic Group Activity on Iran Border,” BBC Monitoring Middle East, February 14, 2008.
217 Scheherezade Faramarzi, “Iran’s Salafi Jihadis,” Atlantic Council, May 17, 2018; “Iran Reportedly Backed by Ansar Al-

Islam against PJAK Rebels,” BBC Monitoring Middle East, April 11, 2008.
218 Thomas Joscelyn & Bill Roggio, “Ansar Al Islam Names New Leader,” Long War Journal, January 5, 2012.
219 See Small Arms Survey 2013 (Cambridge University Press, 2013), p. 235; Marc Goodman, “How Terrorists Are Turning

Robots Into Weapons,” Defense One, April 16, 2015; “Home Made, Printed, and Remote Controlled Firearms,” TRENDS
Research and Advisory, June 21, 2015, http://trendsinstitution.org/home-made-printed-and-remote-controlled-firearms-
terrorism-and-insurgency-implications/; Noah Shachtman, “Iraq Militants Brag: We’ve Got Robotic Weapons, Too,”
Wired, October 4, 2011.

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     •      Third, Iran’s provision of safe haven to AAI/AAS continued for years thereafter. As I
            detailed, Iran arranged a quid pro quo with AAI/AAS in 2008 in which AAI/AAS fought
            alongside members of the IRGC against the Kurdistan Free Life Party in exchange for
            continued safe haven in Iran. Safe haven is a significant boon for any militant organization,
            bolstering the full range of its capabilities, and it is evident that AAI/AAS highly valued its
            safe haven in Iran—enough that it could be persuaded to fight Iran’s enemies to maintain this
            territorial access. This safe haven in Iran significantly enhanced AAI/AAS’s ability to conduct
            operations in Iraq, which was the major focus of the group’s militant activities.

     •      Fourth, Iran provided travel facilitation to AAI/AAS in multiple ways. These included not
            only allowing fighters to pass through the Iran-Iraq border, but also providing them with fake
            identification cards and coordinating the movement of AAI/AAS fighters with local
            smugglers. This travel facilitation helped AAI/AAS’s militant efforts in Iraq by bolstering the
            safe haven that the group enjoyed in Iran and also providing it with greater access to resources,
            given that travel facilitation routes can also double as routes to smuggle goods, money, and
            personnel.

     •      Fifth, Iran aided AAI/AAS’s recruitment during a period of the group’s weakness in
            2006. As I detailed, at this time Iran reportedly facilitated the recruitment of Iranian Kurds by
            offering them monthly salaries of $1,500, which bolstered AAI/AAS’s operations in Iraq.
            Even after Iran ostensibly ended its open support for Ansar al-Sunna activities in late June
            2007 under Iraqi Kurdish pressure, the Islamic Republic still did not suppress Ansar al-Sunna,
            and the group remained active in Iranian Kurdistan.

V.          Iranian Support for al-Qaeda

Despite its Shia identity, Iran has at times provided significant material support to al-Qaeda, as well as
to its al-Qaeda in Iraq (AQI) affiliate. This section begins by providing an overview of Tehran’s
historical arc of support to al-Qaeda starting in the 1990s, continuing through the 9/11 terrorist
attacks. It then turns to the Islamic Republic’s backing of one of al-Qaeda’s most violent affiliates,
AQI, between 2001 and 2011.

Pre-9/11 Iranian Support for al-Qaeda
Ties between Iran and key al-Qaeda leaders date back to the early 1990s, when Ayman al-Zawahiri,
then the emir of Egyptian Islamic Jihad (EIJ), visited Iran to secure an agreement in which Tehran
would reportedly provide $2 million, as well as training support, to assist EIJ in its fight against Egypt’s
Hosni Mubarak regime.220 Indeed, Zawahiri and Iran found synergy in their goals. For his part,
Zawahiri had studied the Iranian revolution and saw it as a potential model for the transformation of
his own native country of Egypt.221 Meanwhile, the Iranian government publicly supported the
assassination of Anwar Sadat, even naming a street after the Egyptian president’s killer, Khalid
Islambouli. Khalid’s brother, a Sunni jihadist named Mohammed Islambouli, received safe have in
Iran after the overthrow of the Taliban’s regime in late 2001.222



220 Lawrence Wright, The Looming Tower: Al-Qaeda and the Road to 9/11 (New York: Alfred A. Knopf, 2006), p. 174.
221 Ibid.
222 See Thomas Joscelyn, “CIA Releases Video of Hamza bin Laden’s Wedding,” Long War Journal, November 1, 2017.


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Though Zawahiri brokered this deal while serving as EIJ’s emir, his group and al-Qaeda were closely
linked even then by virtue of Zawahiri’s connections to Osama bin Laden. The two first met in the
1980s while supporting the mujahedin’s efforts in Afghanistan, and Zawahiri exercised significant
influence over bin Laden from this time onward.223 Following EIJ’s 2001 merger into al-Qaeda,
Zawahiri rose through the ranks of the group, serving for over a decade as the group’s deputy emir,
then becoming its emir after bin Laden’s 2011 death. This close relationship often made it difficult,
even prior to the al-Qaeda/EIJ merger, to practically distinguish between the two militant
organizations. Illustrating this, around 1992 the talks between EIJ and Iran began to include al-Qaeda
as well. These discussions culminated in an informal understanding between Iran, al-Qaeda and EIJ
that they would coordinate politically and militarily to confront the United States and Israel, and
undermine Arab regimes that they viewed as supporting these two states.224

In executing this informal agreement, Iran made considerable use of Hizballah as a conduit for
channeling covert support to al-Qaeda. Hizballah has long played a unique and central role in the
Iranian regime’s international apparatus of militancy, not least by providing Tehran with a critical
conduit for carrying out plausibly deniable operations abroad.225 Operations linked to Hizballah, rather
than specifically to Iran, can be disavowed by Tehran if they prove costly or politically inconvenient.

EIJ operatives played a key role in brokering bin Laden and al-Qaeda’s relationship with Iran and
Hizballah. One EIJ member, Ali Mohamed, served as Zawahiri’s subordinate and arranged security
for a meeting between bin Laden and Hizballah’s chief terrorist, Imad Mughniyeh. “I was aware of
certain contacts between al-Qaeda and al-Jihad organization [EIJ], on one side, and Iran and Hizballah
on the other side,” Mohamed told the U.S. District Court for the Southern District of New York in
2000.226 “I arranged security for a meeting in the Sudan between Mughniyah, Hezbollah’s chief, and
Bin Laden,” Mohamed admitted.227 Imad Mughniyeh was the head of Hizballah’s terrorist operations
and is suspected of orchestrating the 1983 Beirut bombings, as well as other terrorist operations
targeting Western forces and interests in Lebanon. The 1983 bombings contributed to President
Reagan’s decision to withdraw American troops from Lebanese soil in February 1984. Bin Laden
referred to Reagan’s withdrawal in a May 1998 interview with ABC reporter John Miller. Bin Laden
stated: “We have seen in the last decade the decline of the American government and the weakness
of the American soldier who is ready to wage cold wars and unprepared to fight long wars. This was
proven in Beirut when the Marines fled after two explosions.” In making this statement, bin Laden
likely had in mind the operation that his organization was then preparing: the near-simultaneous
bombing of U.S. embassies in Kenya and Tanzania.

The 1998 East African Embassy Bombings & Iranian Support
In Owens v. Republic of Sudan, the District Court for the District of Columbia explained in brief the
devastating impact of the 1998 East Africa embassy bombings:

223 Peter L. Bergen, The Osama bin Laden I Know (New York: Free Press, 2006), p. 63.
224 PX218, “Terrorism Establishment of a Tripartite Agreement Among Usama Bin Laden, Iran and the NIF,” Central

Intelligence Agency report, January 31, 1997, p. 3, available at https://www.documentcloud.org/documents/368918-
1997-01-31-terrorism-establishment-of-a.html.
225 See, for example, Flanagan v. Islamic Republic of Iran, No. 10-1643 (D.D.C., March 31, 2015), p. 18. In that case, the Court

favorably quoted a plaintiff’s exhibit that stated: “In many of its operations involving terrorist groups, Iran uses Hizballah
as a facilitator.… Working through Hizballah offers Iran some degree of deniability if it chooses, as it places one more
degree of separation between the group in question and Iran.”
226 United States v. Mohamed, S(7) 98 Cr. 1023, (S.D.N.Y., October 28, 2000), p. 28.
227 Ibid.


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            On August 7, 1998 truck bombs exploded outside the United States embassies in
            Nairobi, Kenya and in Dar es Salaam, Tanzania. The explosions killed more than 200
            people and injured more than a thousand. Many of the victims of the attacks were U.S.
            citizens, government employees, or contractors.

            As would later be discovered, the bombings were the work of al Qaeda, and only the
            first of several successful attacks against U.S. interests culminating in the September
            11, 2001 attack on the United States itself.228

Iran played a causal role in those attacks. Iranian-backed militants, including Imad Maghniyah, had
met with bin Laden as the relationship between al-Qaeda and Iran deepened. According to Ali
Mohamed, Hizballah subsequently “provided explosives training for al-Qaeda and al-Jihad [EIJ],” as
well as providing them with explosives.229 Testifying in the same court case, al-Qaeda defector Jamal
al-Fadl described the same training. Fadl told the court that he spoke with another al-Qaeda operative,
Abu Talha al-Sudani, who attended Hizballah’s training in Lebanon. According to Fadl, Sudani
described Hizballah’s training as “very good,” and showed Fadl a videotape from the training, which
dealt with how to blow up “big buildings.”230

The 9/11 Commission added context for the training described by Mohamed and al-Fadl, explaining
that discussions between al-Qaeda and Iranian operatives in late 1991 or 1992 “led to an informal
agreement to cooperate in providing support—even if only training—for actions carried out primarily
against Israel and the United States.”231 Shortly after these discussions, “senior al Qaeda operatives
and trainers traveled to Iran to receive training in explosives.”232 Then, during the “fall of 1993, another
such delegation went to the Bekaa Valley in Lebanon for further training in explosives as well as in
intelligence and security.”233 The trainees who received instruction from Iran and Hizballah included
al-Qaeda’s “top military committee members,” as well as al-Qaeda terrorists who belonged to the cell
responsible for attacking the U.S. Embassy in Kenya.234 Indeed, the 9/11 Commission found that the
training provided by Iran and Hizballah gave al-Qaeda the “tactical expertise” it required for the 1998
U.S. Embassy bombings.235

The U.S. District Court for the District of Columbia subsequently confirmed the 9/11 Commission’s
conclusion, finding that Iran played a causal role in the 1998 U.S. Embassy attacks. In Owens v. Republic
of Sudan, in which Iran was also a defendant, the Court found that “prior to their meetings with Iranian
officials and agents, bin Laden and al-Qaeda did not possess the technical expertise required to carry
out the embassy bombings in Nairobi and Dar es Salaam. The Iranian defendants, through Hezbollah,
provided explosives training to bin Laden and al-Qaeda and rendered direct assistance to al-Qaeda
operatives.”236 In its Havlish v. bin Laden opinion, the District Court for the Southern District of New


228 Owen v. Republic of Sudan, 864 F.3d 751, 762 (D.D.C., 2017).
229 United States v. Mohamed, S(7) 98 Cr. 1023, (S.D.N.Y., October 28, 2000), p. 28.
230 PX410, Transcript, Day 2, United States v. Bin Laden, No. S(7) 98 Cr. 1023 (S.D.N.Y, February 6, 2001).
231 PX282, National Commission on Terrorist Attacks upon the United States, The 9/11 Commission Report (2004), p. 61.
232 Ibid.
233 Ibid.
234 Ibid., p. 68.
235 Ibid.
236 Owens v. Republic of Sudan, 826 F.Supp.2d 128, 135 (D.D.C., 2011).


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York affirmed Iran’s support for al-Qaeda during this period, as well as the fact that Iranian leadership
was aware of this material support.237

Iran also played a central role in facilitating al-Qaeda’s activities in the Arabian Peninsula. Al-Qaeda
had exercised some influence in Yemen as early as 1988, supporting anti-communist jihadists during
the country’s civil war.238 Iran helped transform this limited influence into a more potent operation by
serving as a transit route for al-Qaeda members traveling to and from the Gulf. The groundwork for
this travel facilitation was laid in the mid-1990s, when senior al-Qaeda associate Mustafa Hamid
“negotiated a secret relationship between Usama Bin Laden and Iran, allowing many al Qaida
members safe transit through Iran to Afghanistan.”239 Iran held up its end of the bargain by allowing
al-Qaeda to “establish a series of guest houses for its fighters making the long journey through
[Iranian] territory.”240 According to Dr. Patrick Clawson, the director of research at the Washington
Institute for Near East Policy, “during the late 1990s and through 2000,” Iran was the “common
route” for al-Qaeda members transiting between Afghanistan and Yemen.241 Indeed, Saif al-Adl
identified Iran in 1999 as a “safe passage for the fraternal brothers after the Pakistani authorities began
to tighten the noose around our movement.”242

Much of Iran’s support for al-Qaeda was rendered through its Ministry of Intelligence and Security
(MOIS) and the IRGC. In its 2000 report Patterns of Global Terrorism, the U.S. Department of State
noted that these two Iranian organs had supplied “support—including funding, training and logistics
assistance—to extremist groups in the Gulf” of Aden, as well as other areas.243

The U.S. District Court for the District of Columbia later found that Iran’s support to al-Qaeda in the
Gulf played a causal role in the October 2000 suicide bombing attack on the USS Cole, which killed
17 American sailors while the vessel was refueling in the Port of Aden. The Court concluded that Iran,
“through the provision of material support and resources (the financial support, support for training,
and facilitation of travel) to Bin Laden and Al-Qaeda, facilitated the planning and execution of the
attack on the Cole.”244 In finding Iran culpable in the Cole bombing, the Court reasoned that “Iran
took primary responsibility for transferring, via Lebanese Hizballah, extensive technical expertise to
Al-Qaeda and other terrorist organizations.” The court also determined that al-Qaeda “used Iran as a
‘transit point’ for moving money and fighters.” Finally, the court held that “in the years leading up to
the Cole bombing, Iran was directly involved in establishing Al-Qaeda’s Yemen network and
supported training and logistics for Al-Qaeda in the Gulf region.”245

The travel facilitation that Iran provided to al-Qaeda also helped the terrorist group to execute the
9/11 attacks, even if Iran did not necessarily know that al-Qaeda was then preparing such a massive

237 Havlish v. Bin Laden, No. 09848 (S.D.N.Y., December 22, 2011), p. 18.
238 Peter L. Bergen, The Osama bin Laden I Know (New York: Free Press, 2006), pp. 108-09; Nasser al-Bahri, Guarding Bin

Laden: My Life in al-Qaeda, trans. Susan de Muth (London: Thin Man Press, 2013), p. 22.
239 PX129, U.S. Department of the Treasury, press release, “Treasury Targets al Qaeda Operatives in Iraq,” January 16,

2009, https://www.treasury.gov/press-center/press-releases/Pages/hp1360.aspx.
240 Flanagan v. Islamic Republic of Iran, No. 10-1643 (D.D.C., March 31, 2015), p. 20.
241 Ibid., p. 21.
242 Bergen, The Osama bin Laden I Know, p. 354.
243 PX267, U.S. Department of State, Patterns of Global Terrorism, 2000 (Washington, D.C., April 2001), https://2009-

2017.state.gov/j/ct/rls/crt/2000/.
244    Flanagan v. Islamic Republic of Iran, No. 10-1643 (D.D.C., March 31, 2015), p. 32,
https://www.govinfo.gov/content/pkg/USCOURTS-dcd-1_10-cv-01643/pdf/USCOURTS-dcd-1_10-cv-01643-0.pdf.
245 Ibid., p. 35.


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operation on U.S. soil. According to the 9/11 Commission, at least eight and possibly as many as ten
of the 15 Saudi hijackers involved in the 9/11 attacks passed through Iran while en route to Afghanistan
between October 2000 and February 2001.246 This was a preferred route for moving al-Qaeda
operatives during this period, as Tehran instructed its border guards not to stamp the passports of
these operatives, effectively cloaking their movements. Among other things, neglecting to stamp the
passports was an attempt by Iran to disguise its support for al-Qaeda.247 Following a subsequent civil
lawsuit brought against Iran, the District Court for the Southern District of New York ruled that this
travel facilitation, along with other avenues of support, constituted direct material support to al-
Qaeda.248

The period of the al-Qaeda-Hizballah relationship, stretching from 1992 through at least 2001,
spanned multiple Iranian political administrations. The fact that this relationship continued even
through the Mohammad Khatami administration, which observers frequently describe as moderate or
reformist, suggests that changes in Iranian political administrations did not meaningfully alter its policy
regarding al-Qaeda. It is worth noting that the elected Iranian president wields far less power than the
country’s Supreme Leader, Ayatollah Ali Khamenei. Notoriously hardline, Ayatollah Khamenei has
been identified by the CIA as one of Hizballah’s “foremost supporters.”249

Post-9/11 Iranian Support for al-Qaeda
Iranian support for al-Qaeda continued following the 9/11 attacks. Acting through a deal that Abu
Hafs al-Mauritani (born Mahfouz Ibn El Waleed) brokered with the IRGC’s elite Quds Force, Tehran
gave safe passage and sanctuary to hundreds of jihadists fleeing Afghanistan in the wake of the U.S.-
led invasion to overthrow the Taliban.250 Fighters in the first wave fleeing Afghanistan were detained
but then deported to countries of their choice after being documented, with Iran issuing some of them
special traveling papers to facilitate their exit. While detained, these fighters were provided with



246 PX282, The 9/11 Commission Report: Final Report of the National Commission on Terrorist Attacks Upon the United States (2004),

p. 240; PX380, Unclassified Version of Director of Central Intelligence George J. Tenet’s Testimony Before the Joint Inquiry into Terrorist
Attacks against the United States, Central Intelligence Agency, June 18, 2002, https://www.cia.gov/news-
information/speeches-testimony/2002/dci_testimony_06182002.html.
247 Havlish v. Bin Laden, No. 09848 (S.D.N.Y., December 22, 2011), p. 23.
248 Ibid., pp. 50-51.
249 PX929, Central Intelligence Agency, “Hizballah Reactions to Khatami’s Election,” December 22, 1997,

https://www.cia.gov/library/readingroom/docs/doc_0001280265.pdf. Iran’s sustained support for al-Qaeda cannot be
attributed entirely to Khamenei, however. In October 1997, two months after his election, Khatami reassured Hizballah’s
leadership that his administration would maintain its support for the group. Ibid.
250 PX922, “Statement by Sulayman Abu Ghayth to the Federal Bureau of Investigation,” document number 415-A-NY-

307616, March 1, 2013, p. 7; Cathy Scott-Clark and Adrian Levy, The Exile: The Stunning Inside Story of Osama Bin Laden and
Al Qaeda in Flight (New York: Bloomsbury, 2017) p. 146.
      Mauritani is a leading Islamic scholar from Mauritania who became bin Laden’s personal consigliere and al-Qaeda’s
foremost religious authority. As for the Quds Force, it is now responsible for Iran’s extraterritorial covert and military
operations. At the end of the Iran-Iraq War, the IRGC merged several Quds Force predecessors, giving the new elite
division its current name and formalizing its structure. Nader Uskowi, Temperature Rising: Iran’s Revolutionary Guards and Wars
in the Middle East (Lanham, MD: Rowman & Littlefield, 2019), p. 42; PX214, “Al-Quds Forces Associated with the Guards
of the Islamic Revolution,” Iraqi intelligence study (ISGZ 2005-001122-19954), October 2000. However, as early as 1979,
Quds Force predecessors began to support foreign militant groups and Shia dissidents. For example, they provided training
to Iraqi refugees in Iran, deploying them to fight in border skirmishes against Iraqi forces even before the Iran-Iraq War
began in 1980. Quds Force predecessors also trained Afghans in Iran to fight first against the Communist government in
Kabul in 1979, and later against occupying Soviet forces. PX931, National Foreign Assessment Center, U.S. Central
Intelligence Agency, “Iran: Exporting the Revolution,” March 10, 1980.

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comfortable accommodations rather than being held in military or prison facilities.251 Indeed, General
Qassem Suleimani, the head of the Quds Force, reportedly took “personal responsibility” for tending
to Osama bin Laden’s fleeing family, as well as senior al-Qaeda members, when they “sought sanctuary
in Iran in 2002.”252

Indeed, the Islamic Republic permitted entry to some of al-Qaeda’s highest-ranking members,
including, among others, Saif al-Adl, Abu Muhammad al-Masri (a leading al-Qaeda figure who was
involved in the 1998 East African embassy attacks), Abu Musab al-Suri (one of al-Qaeda’s most
influential strategic voices), Sa’ad and Hamza Bin Laden (Osama’s son) and Abu Musab al-Zarqawi
(the future leader of AQI).253 Other al-Qaeda figures who found refuge in Iran after fleeing
Afghanistan included Abu Anas al-Libi (a prominent Libyan member who played an important role
in the 1998 East Africa embassy bombings), Abu Malik al-Libi, Atiyah Abd al-Rahman (a key al-Qaeda
manager, responsible for maintaining communications between al-Adl in Iran and bin Laden in
Pakistan), Thirwat Saleh Shihata (a former deputy to Zawahiri), and Muhammad Islambouli (an
Egyptian fighter who was a prominent al-Qaeda member).254

Iran monitored and surveilled al-Qaeda members in its territory, with the goal of maximizing the utility
al-Qaeda could offer to Iranian objectives (consistent with Iran’s pre-9/11 assistance to al-Qaeda)
while staving off the dangers that the terrorist group might pose to Iran. Prominent analyst Seth Jones
explained Iranian officials’ concerns in an essay for Foreign Affairs: “According to U.S. government
officials involved in discussions with Iran, over time, the growing cadre of AQ leaders on Iranian soil
apparently triggered a debate among senior officials in Tehran. Some worried that the U.S. would
eventually use the terrorist group’s presence as a casus belli. Indeed, in late 2002 and early 2003, U.S.
government officials held face-to-face discussions with Iranian officials demanding the regime deport
AQ leaders to their countries of origin. Iran refused, but around the same time, the country’s Ministry
of Intelligence (MOIS) took control of AQ members and their families.”255 The concerns of Tehran’s
leadership resulted in further restriction on the movements and residences of al-Qaeda members, at
least temporarily, and sporadic detention of these individuals.256

Even so, Iran provided al-Qaeda operatives with wide latitude in carrying out their roles for the
militant organization. As Fishman notes in The Master Plan, Saif al-Adl was “living freely in Shiraz

251 PX906, “Letter Dated 13 Oct 2010,” released in Bin Laden’s Bookshelf, Office of the Director of National Intelligence,

https://www.dni.gov/files/documents/ubl/english/Letter%20dtd%2013%20Oct%202010.pdf; Scott-Clark and Levy,
The Exile, p. 146.
252 Scott-Clark & Levy, The Exile, p. 520.
253 Levy & Scott-Clark, “Al Qaeda Has Rebuilt Itself – With Iran’s Help,” The Atlantic, November 11, 2017,

https://www.theatlantic.com/international/archive/2017/11/al-Qaeda-iran-cia/545576/.
254 See PX906, “Letter Dated 13 Oct 2010,” released in Bin Laden’s Bookshelf, Office of the Director of National

Intelligence, https://www.dni.gov/files/documents/ubl/english/Letter%20dtd%2013%20Oct%202010.pdf; PX907,
“Letter Dated 5 April 2011,” released in Bin Laden’s Bookshelf, Office of the Director of National Intelligence,
https://www.dni.gov/files/documents/ubl/english/Letter%20dtd%205%20April%202011.pdf;                  PX224,        Assaf
Moghadam, “Marriage of Convenience: The Evolution of Iran and al-Qa’ida’s Tactical Cooperation,” CTC Sentinel 10:4
(April 2017); PX130, U.S. Department of the Treasury, press release, “Treasury Targets Key Al-Qa’ida Funding and
Support Network Using Iran as a Critical Transit Point,” July 28, 2011, https://www.treasury.gov/press-center/press-
releases/pages/tg1261.aspx; Adam Goldman, “Senior al-Qaeda Figure Leaves Iran Amid a Series of Departures by
Terrorist Suspects,” The Washington Post, February 14, 2014.
255 PX699, Seth G. Jones, “Al Qaeda in Iran,” Foreign Affairs, January 29, 2012.
256 Nasser al-Bahri, Guarding Bin Laden: My Life in al-Qaeda, trans. Susan de Muth (London: Thin Man Press, 2013), p. 209;

PX906, “Letter Dated 13 Oct 2010,” released in Bin Laden’s Bookshelf, Office of the Director of National Intelligence,
https://www.dni.gov/files/documents/ubl/english/Letter%20dtd%2013%20Oct%202010.pdf.

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when the United States invaded Iraq,” and “he continued to play a key role in al-Qaeda’s broader
command structure.” Al-Adl’s “captors clearly gave him leeway to remain a productive member of al-
Qaeda’s leadership” during this period.257 Illustrating the leeway provided to al-Adl, and thus providing
a window into the leeway that Iran gave also to other al-Qaeda leaders, is Saif al-Adl’s ability to produce
and disseminate the “master plan,” a highly consequential strategic document that would eventually
pave the way for al-Qaeda’s cooperation with Zarqawi and its expansion in Iraq.

Saif al-Adl and the Master Plan
Saif al-Adl’s “house arrest” in Iran gave him the space he needed to write and distribute the
consequential “master plan” text that helped frame a multi-step strategy for al-Qaeda and its affiliates’
future activities and strategies in Iraq and beyond. Fishman elaborates on al-Adl’s relatively lenient
detainment conditions, describing how Iran housed al-Adl in an Iranian villa where he could still
“repeatedly pass messages to al-Qaeda members in Saudi Arabia and Pakistan”258 This environment
was directly conducive to al-Adl producing his master plan. Fishman writes: “Al-Adl had plenty of
opportunity to think big about al-Qaeda’s strategy and the opportunity created by Zarqawi’s growing
network in Iraq. And in the early years of his captivity, at least, he maintained regular contact with the
outside world. The result of these machinations was a master plan to finally integrate the Zarqawiists
into al-Qaeda, build a near-term strategy to reestablish the caliphate, and, eventually, secure final
victory.”259

Beyond providing the space for al-Adl to develop and record his thinking on these issues, Iran allowed
al-Adl to remain connected to members of his militant network who were located outside of Iran.
This was accomplished in part through the use of couriers. To send out his master plan document, al-
Adl used a Palestinian courier who “had been jailed with al-Adl decades earlier in Egypt and had been
more recently living in Tehran.”260 Al-Adl provided this messenger with 42 yellow sheets of paper
containing his master plan, as well as “al-Adl’s history of Zarqawi’s engagement with al-Qaeda.” The
recipient of these 42 yellow sheets was a Jordanian journalist well connected in militant circles, Fouad
Hussein.261 Hussein himself had extremist leanings, and had been imprisoned in Jordan for writing
pieces critical of Jordan’s government. Indeed, he had been “jailed in Jordan alongside Zarqawi and
Maqdisi in the 1990s.”262

After receiving the document from al-Adl, in 2005 Hussein published the contents of these 42 pages
in a biographical book about Zarqawi entitled Al-Zarqawi: The Second Generation of Al Qaeda. In addition
to the information he had received from al-Adl, Hussein compiled additional insights that he gathered
from interviews with other jihadist leaders.263 The book published by Hussein is significant, as it
outlined not only al-Adl’s “visionary effort to incorporate the Zarqawist movement into al-Qaeda’s
strategic vision,” but also a broader seven-stage plan for al-Qaeda and its affiliates to reestablish the
caliphate within a 20-year period. 264 Lawrence Wright provides a competent summary of this seven-
stage plan:


257 Fishman, The Master Plan, locs. 679-86.
258 Ibid., loc. 691.
259 Ibid.
260 Ibid., loc. 735.
261 Ibid., loc. 730.
262 Ibid., loc. 733.
263 Lawrence Wright, “The Master Plan,” The New Yorker, September 3, 2006.
264 Fishman, The Master Plan, loc. 739.


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         Al Qaeda’s twenty-year plan began on September 11th, with a stage that Hussein calls
         “The Awakening.” The ideologues within Al Qaeda believed that “the Islamic nation
         was in a state of hibernation,” because of repeated catastrophes inflicted upon Muslims
         by the West. By striking America—“the head of the serpent”—Al Qaeda caused the
         United States to “lose consciousness and act chaotically against those who attacked it.
         This entitled the party that hit the serpent to lead the Islamic nation.” This first stage,
         says Hussein, ended in 2003, when American troops entered Baghdad.

         The second, “Eye-Opening” stage will last until the end of 2006, Hussein writes. Iraq
         will become the recruiting ground for young men eager to attack America. In this
         phase, he argues, perhaps wishfully, Al Qaeda will move from being an organization
         to “a mushrooming invincible and popular trend.” The electronic jihad on the Internet
         will propagate Al Qaeda’s ideas, and Muslims will be pressed to donate funds to make
         up for the seizure of terrorist assets by the West. The third stage, “Arising and Standing
         Up,” will last from 2007 to 2010. Al Qaeda’s focus will be on Syria and Turkey, but it
         will also begin to directly confront Israel, in order to gain more credibility among the
         Muslim population.

         In the fourth stage, lasting until 2013, Al Qaeda will bring about the demise of Arab
         governments. “The creeping loss of the regimes’ power will lead to a steady growth in
         strength within Al Qaeda,” Hussein predicts. Meanwhile, attacks against the Middle
         East petroleum industry will continue, and America’s power will deteriorate through
         the constant expansion of the circle of confrontation. “By then, Al Qaeda will have
         completed its electronic capabilities, and it will be time to use them to launch electronic
         attacks to undermine the U.S. economy.” Islamists will promote the idea of using gold
         as the international medium of exchange, leading to the collapse of the dollar.

         Then an Islamic caliphate can be declared, inaugurating the fifth stage of Al Qaeda’s
         grand plan, which will last until 2016. “At this stage, the Western fist in the Arab region
         will loosen, and Israel will not be able to carry out preemptive or precautionary
         strikes,” Hussein writes. “The international balance will change.” Al Qaeda and the
         Islamist movement will attract powerful new economic allies, such as China, and
         Europe will fall into disunity.

         The sixth phase will be a period of “total confrontation.” The now established
         caliphate will form an Islamic Army and will instigate a worldwide fight between the
         “believers” and the “non-believers.” Hussein proclaims, “The world will realize the
         meaning of real terrorism.” By 2020, “definitive victory” will have been achieved.
         Victory, according to the Al Qaeda ideologues, means that “falsehood will come to an
         end… The Islamic state will lead the human race once again to the shore of safety and
         the oasis of happiness.”265

Al-Adl’s master plan proved highly consequential. Fishman writes that while “the seven-stage ‘master
plan’ is not the only ‘strategic plan’ that al-Qaeda has offered over the years,” and it “should not be
understood as a formal blueprint for every jihadi behavior,” the document’s significance can be found


265 Wright, “The Master Plan.”


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in the fact that it presented a “remarkably prescient vision of future events, especially the Islamic
State’s declaration of a caliphate.”266

The main intellectual achievement of al-Adl’s theoretical work during his time in Iran was the way in
which he synthesized al-Qaeda and Zarqawi’s goals. Fishman notes that “integrating al-Qaeda’s long-
term strategic framework with Zarqawi’s action-oriented, near-term focus was no easy task.”267 Yet al-
Adl achieved this—even if the relationship between the two would prove limited in duration. Fishman
writes that al-Adl’s suggested plan and timeline “was a revelation for al-Qaeda, which had long sought
to resurrect the caliphate but on a much more protracted, and intentionally vague, timeline.”268

Al-Adl’s master plan is one of the most consequential jihadist strategic documents ever produced. The
fact that al-Adl was able to conceive, write, and distribute it during his time in Iran is indicative of the
latitude that the Islamic Republic provided to him, and to other al-Qaeda leaders.

The “Management Council”
By June 2003, just three months after the U.S. invasion of Iraq, U.S. intelligence officials were already
speaking publicly about Iran’s support for al-Qaeda. One news report published that month noted,
for example: “American intelligence officials said that Iran’s Ministry of Intelligence and Security, and
the Qods Division of the Islamic Revolutionary Guards Corps … are deeply involved in supporting
terrorists, including al Qaeda.”269 The Iran-based al-Qaeda hub rapidly established a “management
council” charged with providing strategic assistance to al-Qaeda’s main leadership that had regrouped
in Pakistan. This cadre helped to plan and direct the October 2003 truck bombing of a Western
housing complex in Riyadh, Saudi Arabia, suicide strikes against multiple targets in Casablanca,
Morocco that same month, and the bombing of the El-Ghriba synagogue in Djerba, Tunisia in 2002.270

Al-Qaeda’s overarching leadership principle is known as “centralization of decision and
decentralization of execution.”271 Peter Bergen notes that, under this framework, “strategic targeting
decisions were made by bin Laden, but the planning and execution of attacks were undertaken by his
field commanders.”272 Applying this principle to the organization more broadly, al-Qaeda’s leadership
structure enabled the organization to operate even when senior leaders were physically separated from
field operatives.

Primarily due to pressure from the United States and other Arab states in the wake of these attacks,
Iran did detain several leading al-Qaeda figures sheltering in the country. However, it never publicly
specified who these operatives were. Further, subsequently uncovered evidence revealed that key

266 Fishman, The Master Plan, loc. 756.
267 Ibid., loc. 742.
268 Ibid.
269 “U.S. Says Iran Harbors al Qaeda Associate,” Washington Times, June 10, 2003.
270 Levy & Scott-Levy, “Al-Qaeda Has Rebuilt Itself – With Iran’s Help”; PX631, Daniel Byman, “Unlikely Alliance: Iran’s

Secretive Relationship with Al-Qaeda,” IHS Defense, Risk and Security Consulting (July 2012), p. 31; PX224, Moghadam,
“Marriage of Convenience”; Toby Dershowitz, “Iran’s Support for al-Qaeda is Incompatible with FATF Standards,”
Foundation for Defense of Democracies, February 6, 2019, https://www.fdd.org/analysis/2019/02/06/irans-support-
for-al-Qaeda-is-incompatible-with-fatf-standards/; PX699, Seth Jones, “Al Qaeda in Iran; Why Teheran is
Accommodating the Terrorist Group,” Foreign Affairs, January 29, 2012.
271 See Peter Bergen, The Osama bin Laden I Know: An Oral History of al Qaeda’s Leader (New York: Free Press, 2006), p. 253

(quoting Nasser al-Bahri, whose kunya is Abu Jandal); Khalid al-Hammadi, “The Inside Story of al-Qaeda, Part 4,” Al-
Quds al-Arabi, March 22, 2005.
272 Peter L. Bergen, The Rise and Fall of Osama Bin Laden (New York: Simon and Schuster, 2021), pp. 112-13.


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management council members—including Atiyah and Muhammad Islambouli—were still allowed to
operate with relative impunity, as I detailed was the case also for Saif al-Adl. It is now known that for
the most part the detained al-Qaeda figures were held under a loose form of military house arrest that
afforded a relatively high degree of movement. In a 2013 interview with the FBI, Sulayman Abu
Ghayth, who had served as al-Qaeda’s chief spokesman in the immediate aftermath of 9/11, described
the accommodations at these sites:

        GHAYTH advised that while initially incarcerated, the Iranians were official and
        formal and treated them well. They never received any verbal or physical abuse and
        they were told that treating them well was a recommendation from their leadership.
        GHAYTH stated that they were never interrogated and were only asked simple
        questions during the first week of incarceration…. After one year and eight months,
        they were moved to a military camp for approximately six months (Iran Location #2).
        GHAYTH said that Iran Location #2 was like a rest area for soldiers.… While
        incarcerated at Iran Location #2, they heard military training and anthems being sung.
        They were in a 100m by 100m compound and free to go in and out of their individual
        apartments within the military compound. The compound also had a mosque and
        soccer field…. After six months in Iran Location #2, they were set up in apartment
        like housing in which they stayed for approximately four years (Iran Location #3). Iran
        Location #3 was within the same Tehran military compound in which Iran Location
        #2 was located, but just in a different section of the overall compound…. After
        approximately four years at Iran Location #3, GHAYTH and his family, and the
        others who were co-located with GHAYTH at Iran Location #3 … were relocated to
        new accommodations within the same military compound in Tehran (Iran Location
        #4). Iran Location #4 was a walled off area with multiple houses, each with a yard,
        surrounding a central courtyard/playground. Each family had its own house at Iran
        Location #4. GHAYTH believed that the Iranians spent about a year refurbishing Iran
        Location #4 to get it ready for them…. GHAYTH and his fellow detained remained
        at Iran Location #4 until GHAYTH’s recent release from Iranian custody, a time-
        period of approximately three and a half years.273

The accommodations offered to al-Qaeda members were so lax that some, including Abu Muhammad
al-Masri, chose to remain in Iranian detention rather than return home. In 2011, al-Masri and several
other al-Qaeda leaders in Iranian custody were offered release under the condition that they returned
to their home countries.274 Al-Masri rejected Iran’s offer, instead choosing to stay in Iranian custody.275
Four years later, after a prisoner exchange with al-Qaeda in 2015, Iran formally released al-Masri from
prison, yet al-Masri again chose to remain in Iran.276 Former FBI agent and prominent terrorism
analyst Ali Soufan concluded that al-Masri likely chose to stay in Iran because Iran offered him
freedoms and security he would not receive had he returned to Egypt.277 Indeed, despite nominally


273 PX922, “Statement by Sulayman Abu Ghayth to the Federal Bureau of Investigation,” document number 415-A-NY-

307616, March 1, 2013, pp. 8-12.
274 PX222, Ali Soufan, “Next in Line to Lead al-Qa`ida: A Profile of Abu Muhammad al-Masri,” CTC Sentinel 12:10

(November 2019), https://ctc.usma.edu/next-line-lead-al-qaida-profile-abu-muhammad-al-masri/.
275 PX922, “Statement by Sulayman Abu Ghayth to the Federal Bureau of Investigation,” document number 415-A-NY-

307616, March 1, 2013, p. 15.
276 PX222, Ali Soufan, “Next in Line to Lead al-Qa`ida.”
277 Ibid.


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being in Iranian custody, al-Masri was able to communicate with al-Qaeda operatives around the
world, unimpeded by Iranian security forces and immune from Coalition drone strikes.278

Abu al-Qassam al-Urduni, a high ranking al-Qaeda member and the brother-in-law of Abu Musab al-
Zarqawi, likewise described al-Qaeda leaders’ extensive freedoms in Iran. In an essay published in
2017, Urduni suggested that al-Masri, along with Saif al-Adl, were detained only insofar as they could
not leave Iran, “for the fact that [al-Masri and Saif al-Adl] are in Iran is true, but as for being detained,
this was what had to be clarified and detailed…they got out of prison. So the two are not detained as
is understood and implied from this word, but they are prohibited from travelling until God can grant
them an exit, for they move about and live their ordinary life except for permission to travel. For the
word ‘detained’ gives the false impression that the two are in prison or incommunicado or deprived
of will or the like.”279

Tehran also continued to allow recruits making the journey to South Asia to access guest houses in
Iran, a fact referenced by Abu Muhammad al-Adnani, former ISIS spokesman, in his May 2014
denunciation of Zawahiri.280 Repeated reference to these sanctuaries being used to facilitate the travel
of al-Qaeda to and from Afghanistan is made in reports prepared at the Guantanamo Bay detention
facility that have been either declassified or appeared in press reporting.281 According to one
document, dozens of Guantanamo prisoners were found to have traveled through the Islamic
Republic en route to al-Qaeda’s training camps in Afghanistan: “Travel through Iran is a known
modus operandi for al Qaeda operatives to get into Afghanistan via a chain of safe-houses and
operatives.”282 This route was operated by Yasin al-Suri since at least 2007, and possibly as early as
2005. Tehran maintained ties with Suri, allowing him to operate in the country.283 Access to guest
houses operated by Tehran also directly supported the operations of al-Qaeda leaders and facilitators
such as Abu Zubaydah and Hussein Salem Mohammed.284

Al-Qaeda Facilitators
The Islamic Republic has been complicit in allowing key al-Qaeda facilitators to operate from its
territory. In 2005, the U.S. Treasury Department designated Muhsin al-Fadhli, an Iran-based confidant
of bin Laden, for providing financial and material support to underwrite attacks against American and
coalition forces fighting in Iraq.285 In 2009, the United States sanctioned several top al-Qaeda

278 Ibid.
279 Aymenn Jawad Al-Tamimi, “The Hay’at Tahrir al-Sham-al-Qaeda Dispute: Primary Texts (III),” Aymenn Jawad Al-

Tamimi’s Blog, December 10, 2017, http://www.aymennjawad.org/2017/12/the-hayat-tahrir-al-sham-al-Qaeda-dispute-
primary-2.
280 Abu Muhammad al-Adnani, “Pardon, Emir of al-Qaeda,” audio recording of speech produced by ISIS’s al-Furqan

Media Foundation, posted to Twitter on May 11, 2014; see also Thomas Joscelyn, “ISIS Spokesman Blames Zawahiri for
Infighting in Syria,” Long War Journal, May 12, 2014.
281 Discussed in Thomas Joscelyn, “Al Qaeda’s Interim Emir and Iran,” Long War Journal, May 18, 2011,

https://www.longwarjournal.org/archives/2011/05/analysis_al_qaedas_i.php.
282 Tim Lister, “Military Documents Reveal Details About Guantanamo Detainees, al Qaeda,” CNN, April 25, 2011,

http://www.cnn.com/2011/US/04/25/wikileaks.documents/index.html; Clemmie Douchez, “Ex-Guantanamo
Detainee Allegedly Led Recruiting Cell for the Islamic State,” Long War Journal, March 1, 2016.
283 See PX130, U.S. Department of the Treasury, press release, “Treasury Targets Key Al-Qa’ida Funding and Support

Network Using Iran as a Critical Transit Point,” July 28, 2011, https://www.treasury.gov/press-center/press-
releases/pages/tg1261.aspx.
284 Thomas Joscelyn, “5 Transferred GITMO Detainees Served al Qaeda, Leaked Files Allege,” Long War Journal,

November 21, 2014, https://www.longwarjournal.org/archives/2014/11/five_guanta_deta.php.
285 PX128, U. S. Department of the Treasury, press release, “Treasury Takes Action to Stem Funding to the Iraqi

Insurgency,” February 15, 2005.

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operatives based in Iran, including bin Laden’s son Sa’ad and also Mustafa Hamid, one of the main
people responsible for channeling strategic and tactical communications to and from Afghanistan
during the 1990s.286

In July 2011, the U.S. Treasury Department for the first time formally accused Tehran of forging an
alliance with al-Qaeda to move money and recruits from the Persian Gulf to the group’s leadership in
Afghanistan, Pakistan, and Iraq, with these personnel and assets moving through Iran. Yasin al-Suri,
who was born Ezedin Abdel Aziz Khalil, was identified as the chief architect behind this enterprise,
which drew on a logistical and financial network that operated in tandem with donors and contributors
based in Qatar and Kuwait.287 According to the 2011 announcement from the Treasury Department,
“Iranian authorities maintain a relationship with Khalil [Suri] and have permitted him to operate within
Iran’s borders since 2005.”288 Treasury also stated that Suri’s activities included moving “money and
recruits from across the Middle East into Iran, then on to Pakistan,” where they served senior al-
Qaeda leaders. Suri also arranged for al-Qaeda members detained in Iran to be freed and sent to
Pakistan. The Iranians did not merely turn a blind eye to Suri’s activities. Instead, Suri operated “under
an agreement between al Qaeda and the Iranian government.”289

Treasury also designated Umid Muhammadi, an AQI supporter based in Iran who was involved “in
planning multiple attacks in Iraq and has trained extremists in the use of explosives.”290 Treasury added
that Muhammadi had “also received training in Afghanistan on the use of rockets and chemicals.”291
The next year, the U.S. Treasury named Adel Radi Saqr al-Wahabi al-Harbi as Fadhli’s chief deputy
inside Iran, and the main person responsible for assisting with the transfer of jihadists to the Middle
East and raising funds in support of al-Qaeda attacks.292

The importance of these Iran-based facilitators is reflected in internal al-Qaeda documents penned by
the group’s senior leaders. In the 2011 raid on bin Laden’s compound in Abbottabad, Pakistan, U.S.
forces seized a letter that al-Qaeda’s emir wrote in 2007 to a jihadist referred to as “Karim,” likely Abu
Ayyub al-Masri. In it, bin Laden highlighted how critical Tehran was to his movement’s operations,
commenting: “Iran is our main artery for funds, personnel, and communication.… There is no need
to fight with Iran unless you are forced.”293 Seth Jones observes that “securing Iranian help was straight
forward” for al-Qaeda because the militant group “lacked the resources of a major state like Iran,”



286 PX129, U.S. Department of the Treasury, press release, “Treasury Targets al Qaeda Operatives in Iraq,” January 16,

2009, https://www.treasury.gov/press-center/press-releases/Pages/hp1360.aspx; PX223, Ari R. Weisfuse, “The Last
Hope for the al-Qa’ida Old Guard?: A Profile of Saif al-‘Adl,” CTC Sentinel 9:3 (March 2016),
https://ctc.usma.edu/app/uploads/2016/04/CTC-SENTINEL-Vol9Iss3_b7.pdf, p. 24.
287 See PX106, Office of the Spokesperson, U.S. Department of State, “Rewards for Justice – Ezedin Abdel Aziz Khalil

(a.k.a. Yasin al-Suri) Reward Offer,” December 22, 2011.
288 PX130, U.S. Department of the Treasury, press release, “Treasury Targets Key Al-Qa’ida Funding and Support

Network Using Iran as a Critical Transit Point,” July 28, 2011, https://www.treasury.gov/press-center/press-
releases/Pages/tg1261.aspx.
289 Ibid.
290 Ibid.
291 Ibid.
292 PX127, U.S. Department of the Treasury, press release, “Treasury Further Exposes Iran-Based Al-Qa’ida Network,”

October 18, 2012, https://www.treasury.gov/press-center/press-releases/Pages/tg1741.aspx.
293 PX911, “Letter to Karim,” released in Bin Laden’s Bookshelf, Office of the Director of National Intelligence,

https://www.dni.gov/files/documents/ubl2016/english/Letter%20to%20Karim.pdf.

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and “having the ability to transit Iran was exceptionally useful for fights in Iraq, Afghanistan and
Pakistan.”294

Another letter, authored by Ayman al-Zawahiri and intercepted by Western intelligence agencies in
November 2008, further underscored al-Qaeda’s reliance on Iran. Zawahiri wrote the letter in the
aftermath of al-Qaeda’s September 2008 bombing of the U.S. embassy in Yemen, which killed 11
civilians, including one American.295 Zawahiri cited Iranian “monetary and infrastructure assistance”
as essential to the group’s success in carrying out the attack. He “also thanked Iran for having the
‘vision’ to help the terror organisation establish new bases in Yemen after al-Qaeda was forced to
abandon much of its terrorist infrastructure in Iraq and Saudi Arabia.”296

In 2011, the aforementioned al-Suri network is believed to have negotiated a non-aggression pact with
Tehran. According to a statement from the U.S. Treasury, under the terms of this agreement, al-Qaeda
was required to desist from conducting any operations on Iranian soil—including recruiting
operatives—while keeping authorities apprised of its activities. In return, the Islamic Republic would
afford al-Qaeda operatives based in the country, and their families, freedom of movement and an
uninhibited ability to travel.297 The benefits of the arrangement appear to have been substantial for al-
Qaeda, providing it a secure base of operations and insulation from U.S. drone attacks.298 Indeed,
David S. Cohen, then the Under Secretary for Terrorism and Financial Intelligence, underscored the
benefits reaped by al-Qaeda in a statement released on July 28, 2011. Cohen stated that “by exposing
Iran’s secret deal with al-Qa’ida allowing it to funnel funds and operatives through its territory, we are
illuminating yet another aspect of Iran’s unmatched support for terrorism.” He added that al-Qaeda’s
deal with Iran provided a “key network” and “much-needed support” to al-Qaeda’s senior
leadership.299

In the years that followed, the U.S. Treasury Department continued to report new details regarding
al-Qaeda’s Iran-based network. In February 2014, Treasury identified an Uzbek national, Olimzhon
Adkhamovich Sadikov, as an operative who “provides logistical support and funding to al Qaeda’s
Iran-based network.”300 In August 2014, Treasury designated Abdul Mohsen Abdullah Ibrahim al-
Sharikh, a senior al-Qaeda leader also known as Sanafi al-Nasr, who “served in early 2013 as chief of
al Qaeda’s Iran-based extremist and financial facilitation network.”301

The value al-Qaeda’s leadership placed on its Iran-based facilitation network became more apparent
in 2014 as al-Qaeda’s competition with its breakaway erstwhile affiliate ISIS deepened. ISIS
spokesman Abu Muhammad al-Adnani released a statement in May 2014 in which he “made a startling
admission: Al Qaeda has ordered its fighters and branches to refrain from attacking the Iranian state

294 PX699, Seth G. Jones, “Al Qaeda in Iran,” Foreign Affairs, January 29, 2012.
295 “Yemen: 30 Are Arrested After Attack on U.S. Embassy,” The New York Times, September 18, 2008.
296 PX628, Con Coughlin, “Iran Receives al Qaeda Praise for Role in Terrorist Attacks,” The Telegraph, December 2, 2019.
297 PX127, U.S. Department of the Treasury, press release, “Treasury Further Exposes Iran-Based Al-Qa’ida Network,”

October 18, 2012, https://www.treasury.gov/press-center/press-releases/Pages/tg1741.aspx.
298 PX224, Moghadam, “Marriage of Convenience”; PX631, Byman, “Unlikely Alliance,” p. 33.
299 PX130, U.S. Department of the Treasury, press release, “Treasury Targets Key Al-Qa’ida Funding and Support

Network Using Iran as a Critical Transit Point,” July 28, 2011, https://www.treasury.gov/press-center/press-
releases/Pages/tg1261.aspx.
300 PX131, U.S. Department of the Treasury, press release, “Treasury Targets Networks Linked to Iran, February 6, 2014,

https://www.treasury.gov/press-center/press-releases/Pages/jl2287.aspx.
301 PX65, U.S. Department of the Treasury, press release, “Treasury Designates Additional Supporters of the Al-Nusrah

Front and Al-Qaida,” August 22, 2014, https://www.treasury.gov/press-center/press-releases/Pages/jl2613.aspx.

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in order to preserve the terror group’s network in the country.”302 Adnani’s intention was to
demonstrate that al-Qaeda had forged an agreement with the Shia state of Iran, and that in doing so,
al-Qaeda constrained ISIS from attacking Iran. Adnani explained (with the grammatical peculiarities
appearing in the original) that:

            ISIS has kept abiding by the advices and directives of the sheikhs and figures of jihad.
            This is why the ISIS has not attacked the Rawafid [rejectionists, a term used to describe
            Shia Muslims] in Iran since its establishment. It has left the Rawafid safe in Iran, held
            back the outrage of its soldiers, despite its ability, then, to turn Iran into bloodbaths.
            It has kept its anger all these years and endured accusations of collaboration with its
            worst enemy, Iran, for refraining from targeting it, leaving the Rawafid there to live in
            safety, acting upon the orders of al Qaeda to safeguard its interests and supply lines in
            Iran. Yes, it [ISIS] has held back the outrage of its soldiers and its own anger for years
            to maintain the unity of the mujahideen in opinion and action. Let history record that
            Iran owes al Qaeda invaluably.303

Prominent analyst Bill Roggio points out that Adnani emphasized how “ISIS ‘complied’ and didn’t
attack Iran.”304 According to Roggio, Adnani’s admission demonstrates how al-Qaeda played a strong
role in preventing its affiliates (as ISIS was an al-Qaeda affiliate during the period that Adnani
describes) with overt commands to refrain from attacking Iran “in order to preserve the terror group’s
network in the country.”305

In July 2016, the U.S. Treasury imposed sanctions on three senior members of al-Qaeda, all of whom
were based in the Islamic Republic: Faisal Jassim Mohammed al-Amri al-Khalidi, Yisra Muhammad
Ibrahim Bayumi, and Abu Bakar Muhammad Muhammad Ghumayn. The trio had carried out a range
of activities for al-Qaeda, including gathering intelligence, raising and transferring funds, procuring
weapons, and facilitating liaison with the Tehrik-e Taliban Pakistan (TTP) militant group.306

Also in July 2016, Abu Muhammad al-Masri made an important operational decision for al-Qaeda
while still in Iran. At the time, al-Qaeda’s Syrian affiliate Jabhat al-Nusra was considering rebranding
in an effort to distance itself from al-Qaeda’s senior leadership.307 When the idea was presented to al-
Masri (among other senior al-Qaeda members), he voiced his opposition to the rebranding. Al-Masri’s
ability to weigh in on the rebranding decision highlights the senior role he continued to play in al-
Qaeda despite being in Iran. This incident showed that al-Masri was still in contact with al-Qaeda’s
leadership from his perch in Iran, that he communicated directly with al-Qaeda elements in Syria, and
that he retained significant decision-making power and influence within the organization.308

In its 2017 Country Reports on Terrorism, the U.S. Department of State specifically singled out Iran’s
ongoing support for al-Qaeda as a serious issue: “Iran remained unwilling to bring to justice senior al-

302 Bill Roggio, “‘Iran Owes al Qaeda Invaluably,’ ISIS Spokesman Says,” Long War Journal, May 12, 2014.
303 Quoted in ibid.
304 Ibid.
305 Ibid.
306 PX69, U.S. Department of the Treasury, press release, “Treasury Designates Three Senior Al-Qaida Members,” July

20, 2016.
307 PX222, Ali Soufan, “Next in Line to Lead al-Qa`ida: A Profile of Abu Muhammad al-Masri,” CTC Sentinel 12:10

(November 2019), https://ctc.usma.edu/next-line-lead-al-qaida-profile-abu-muhammad-al-masri/.
308 See PX222, Soufan, “Next in Line to Lead al-Qa`ida.”


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Qa’ida (AQ) members residing in Iran and has refused to publicly identify the members in its custody.
Iran has allowed AQ facilitators to operate a core facilitation pipeline through Iran since at least 2009,
enabling AQ to move funds and fighters to South Asia and Syria.”309

In July 2018, a report produced by the United Nations Security Council concluded that “Al-Qaida
leaders in the Islamic Republic have grown more prominent, working with Aiman al-Zawahiri and
projecting his authority more effectively than he could previously.”310 The same report concludes that
senior al-Qaeda leaders based in Iran have been able to exert influence on the evolving situation in
northwestern Syria.311 The report’s conclusions are consistent with the roles played in February 2019
by Abu Muhammad al-Masri and Saif al-Adl in mediating tensions between Hayat Tahrir al-Sham and
Tanzim Hurras ad-Din, competing Syria-based factions that have been affiliated with al-Qaeda. At the
time, al-Masri and al-Adl were both in Iran.312

Another recent development pointing to Iran’s enduring permissiveness toward senior al-Qaeda
leaders is the information gleaned in the aftermath of the assassination of Abu Muhammad al-Masri
in August 2020. Al-Masri was assassinated in Tehran by Israeli operatives, after which it was
discovered that he was living freely in the upscale neighborhood of Pasdaran.313

In January 2021, the State Department identified five additional al-Qaeda figures operating in Iran.
The most significant was a Moroccan national named Muhammad Abbatay, better known by his kunya
‘Abd al Rahman al-Maghrebi. Maghrebi is the son-in-law of Ayman al-Zawahiri and has served in a
number of senior roles for al-Qaeda. The State Department described him as the “longtime director”
of As Sahab, al-Qaeda’s central media arm, as well as the head of the group’s External
Communications Office. In that latter capacity, al-Maghrebi “coordinates activities with” al-Qaeda’s
affiliates. Al-Maghrebi has also been al-Qaeda’s “general manager in Afghanistan and Pakistan since
2012.” From his perch in Iran, al-Maghrebi “has continued to oversee al-Qa’ida activities
worldwide.”314

Categories of Iranian Material Support to al-Qaeda
There are numerous categories of Tehran’s material support to al-Qaeda:


309 PX210, Bureau of Counterterrorism and Countering Violent Extremism, Country Reports on Terrorism 2017 (Washington

D.C.: U.S. Department of State, 2018), p. 218.
310 PX524, United Nations Security Council, “Letter Dated 16 July 2018 from the Chair of the Security Council Committee

Pursuant to Resolutions 1276 (1999), 1989 (2011), 2253 (2015) Concerning Islamic State in Iraq and the Levant (Da’esh),
Al-Qaida and Associated Individuals, Groups, Undertakings and Entities Addressed to the President of the Security
Council,” July 27, 2018, p. 6, https://undocs.org/S/2018/705.
311 Ibid., p. 8.
312 See Thomas Joscelyn, “Analysis: Hay’at Tahrir al-Sham and Hurras al-Din Reach a New Accord,” Long War Journal,

February 15, 2019, https://www.longwarjournal.org/archives/2019/02/analysis-hayat-tahrir-al-sham-and-hurras-al-din-
reach-a-new-accord.php; Thomas Joscelyn, “Analysis: Ayman al Zawahiri Calls for ‘Unity’ in Syria Amid Leadership
Crisis,” Long War Journal, December 2, 2017, https://www.longwarjournal.org/archives/2017/12/analysis-ayman-al-
zawahiri-calls-for-unity-in-syria-amid-leadership-crisis.php; Thomas Joscelyn, “Senior al Qaeda Leaders Reportedly
Released from Custody in Iran,” Long War Journal, September 18, 2015.
313 Adam Goldman, Eric Schmitt, Farnaz Fassihi, & Ronen Bergman, “Al Qaeda’s No. 2, Accused in U.S. Embassy

Attacks,         Was    Killed      in     Iran,”      The    New    York      Times,     November       13,     2020,
https://www.nytimes.com/2020/11/13/world/middleeast/al-masri-abdullah-qaeda-dead.html.
314 PX115, U.S. Department of State, Rewards for Justice, “Wanted: Information that Brings to Justice…Muhammad

Abbatay          (‘Abd      al-Rahman        al-Maghrebi)      Up     to      $7      Million       Reward,”      n.d.,
https://rewardsforjustice.net/english/muhammad_abbatay.html.

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    •    The first category of Iranian material support to al-Qaeda is training of its operatives to
         conduct mass casualty bombings and other related skills to shape al-Qaeda’s future
         capacity to carry out attacks. In the 1990s Iran provided al-Qaeda members with explosives
         training at a Hizballah training camp in Lebanon’s Bekaa Valley, and al-Qaeda directly applied
         this training in the 1998 bombings targeting U.S. embassies in Nairobi, Kenya, and Dar es
         Salaam, Tanzania.

    •    The second category of Iranian material support is Tehran providing sanctuary and refuge
         to al-Qaeda operatives that provided the organization with time and space to regroup
         after 9/11. After the U.S. invasion of Afghanistan, Iran gave sanctuary to al-Qaeda members
         and key leaders, such as Saif al-Adl. While Iran ostensibly put many of al-Qaeda’s leaders and
         members under house arrest, those detained were still able to operate and conduct their duties
         for al-Qaeda, including engaging in communication with the broader al-Qaeda network. Saif
         al-Adl’s production of his “master plan” illustrates this, as does the fact that al-Qaeda’s leaders
         in Iran continued to coordinate, plan, and execute terrorist attacks with the central leadership
         based in Afghanistan-Pakistan (including coordinating on such operations as the attack on the
         El Ghriba synagogue in Djerba, Tunisia in 2002, the truck bombing at a Western housing
         complex in Saudi Arabia in October 2003, and the suicide operations in Casablanca in October
         2003).

    •    A third category of Iranian material support to al-Qaeda is serving as a critical transit point
         for moving funds, supplies, and personnel. As the Treasury Department’s designations
         illustrate, Tehran’s leadership had a formal agreement with al-Qaeda from as early as 2005 to
         move “money and recruits from across the Middle East into Iran, then on to Pakistan.”315 This
         agreement helped al-Qaeda set up what the Treasury Department defined as the militant
         group’s “core pipeline.”316 Treasury shared how the terms of this agreement were that “al-
         Qa’ida must refrain from conducting any operations within Iranian territory and recruiting
         operatives inside Iran while keeping Iranian authorities informed of their activities,” while in
         exchange Iran “gave the Iran-based al-Qa’ida network freedom of operation and uninhibited
         ability to travel for extremists and their families.”317

    •    A fourth category of Iranian material support for al-Qaeda is travel facilitation assistance
         for al-Qaeda members that often made a difference in helping al-Qaeda expand its
         influence into new countries. This also helped it move operatives when preparing
         large-scale attacks around the world. For instance, al-Qaeda’s expansion into the Arabian
         Peninsula in the late 1990s was connected to Iranian travel facilitation assistance. As this report
         details, Iranian travel facilitation helped al-Qaeda execute operations such as the October 2000
         suicide bombing of the USS Cole. The 9/11 Commission found that at least eight to ten of the
         15 Saudi hijackers who executed the 9/11 attacks had passed through Iran while traveling to
         Afghanistan between October 2000 and February 2001—which would later result in a U.S.
         court finding Iran culpable for the 9/11 attacks. Such travel facilitation assistance continued
         long after the 9/11 attacks. This kind of travel facilitation could aid al-Qaeda in playing a role

315 PX130, U.S. Department of the Treasury, press release, “Treasury Targets Key Al-Qa’ida Funding and Support

Network Using Iran as a Critical Transit Point,” July 28, 2011.
316 Ibid.
317 PX127, U.S. Department of the Treasury, press release, “Treasury Further Exposes Iran-Based Al-Qa’ida Network,”

October 18, 2012, https://www.treasury.gov/press-center/press-releases/Pages/tg1741.aspx.

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           in Iraq during the Iraq War, as the militant organization could take advantage of travel
           facilitation to move into Iran’s neighbor. In February 2012, the U.S. Treasury Department
           disclosed how Iran’s Ministry of Intelligence and Security (MOIS) had “facilitated the
           movement of al Qa’ida operatives in Iran and provided them with documents, identification
           cards, and passports.”318

      •    A fifth category of Iranian material support to al-Qaeda was financial and infrastructure
           assistance to carry out attacks and establish new bases. As I discuss, in November 2008,
           Western intelligence agencies intercepted a letter written by Ayman al-Zawahiri in which he
           attributed al-Qaeda’s success in pulling off an attack on the U.S embassy in Yemen to the
           “monetary and infrastructure assistance” of the IRGC. In the same letter, he also credited Iran
           with helping al-Qaeda establish new bases in Yemen.

VI.        Iranian Support for the Zarqawi Organization

In addition to its support for the al-Qaeda organization, Iran specifically supported the Zarqawi
organization (also known as al-Qaeda in Iraq, or AQI). Available evidence suggests that Iran had
contact with AQI and was willing to provide financial and logistical assistance specifically for its
campaign of violence in Iraq between 2003 and 2011. Iran’s degree of support for the Zarqawi
organization unsurprisingly fluctuated, as AQI was virulently anti-Shia (as is its successor organization,
ISIS), but its existence is nonetheless clear.

Prior to 9/11, Zarqawi’s association with al-Qaeda allowed him to take advantage of Iran’s permissive
attitude toward Sunni jihadists during this period. Brian Fishman writes that al-Qaeda “would arrange
start-up money for Zarqawi to build a camp near Herat, along the Iranian border, and provide logistical
support through a network of safe houses in the Iranian cities of Tehran and Mashaad.”319 These safe
houses may have been the same as those used by al-Qaeda operatives traveling between Afghanistan
and the Gulf. Iran’s permissiveness was an explicit and deliberate policy.320

Muhammad Khalil al-Hakaymah in Iran
In the immediate aftermath of the 9/11 attacks, Zarqawi and his supporters continued to enjoy a same
permissive travel environment in Iran. For example, Muhammad Khalil al-Hakaymah, a Zarqawi
loyalist who would later rise to a prominent position in al-Qaeda, leveraged his connections with
Afghan warlord Gulbuddin Hekmatyar to transit Iran en route to Afghanistan after 9/11. Fishman
writes:

           Hakaymah was still in London on 9/11, but after seeing the carnage in the United
           States decided immediately to return to Afghanistan. To get there, like so many
           Zarqawi supporters before him, he would travel across Iran….

           After landing in Tehran, Hakaymah contacted Hekmatyar’s network, members of
           which arranged for him to travel to the Iranian border near Afghanistan’s Nimroz

318 PX68, U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and

Security for Human Rights Abuses and Support for Terrorism,” February 16, 2012.
319 Brian Fishman, The Master Plan: ISIS, al-Qaeda, and the Jihadi Strategy for Final Victory Kindle ed. (New Haven: Yale

University Press, 2016), loc. 472.
320 Ibid., loc. 509.


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          province. The journey was smooth until his family was arrested by Iranian intelligence
          along the border. As Hakaymah put it: “[The Iranians] were most interested in Sheikh
          Hekmatyar’s role in smuggling people across the border. At the time, the United States
          was putting pressure on Iran to close down [Hekmatyar’s] operations because [he] had
          declared jihad and urged [his] followers in Afghanistan to resist the Americans.” ….

          He and his family were held for a week in a hotel near the border—and then, one
          morning, the guards simply disappeared. Hakaymah did not stop to reason why.
          Instead, he arranged for his family to stay in an Iranian Sunni town and contacted a
          smuggler. A few days later Hakaymah was trotting along amidst a crowd of gasoline-
          laden donkeys into Afghanistan.321

Hakaymah’s refuge in Afghanistan would be short-lived, however. He and other jihadists who fled
there shortly after 9/11 found that they had to reverse course following the U.S.-led invasion to oust
the Taliban. Iran again lent its support, allowing Zarqawi and a cohort of Arab mujahedin he had
commanded in Afghanistan, including Hakaymah, to reenter its territory.322

Beyond his affiliation with Zarqawi while in Iran, Hakaymah may have also played a key role in shaping
al-Qaeda’s future actions by authoring a consequential strategic text. “Several informed sources”
believe Hakaymah was the author of the jihadist text known as The Management of Savagery.323 This book
was an “influential text among jihadis” that provided additional information to build upon the ideas
put forth in the master plan that Saif al-Adl shaped while he was under house arrest in Iran.324 Fishman
explains that, “unlike the master plan, The Management of Savagery discusses operational questions of
leadership, training programs, target selection, and ultimately, the sort of governance an Islamic state
should provide.”325 Fishman further elaborates on the implications of Hakaymah being the likely
author of this text:

          The Management of Savagery has long been considered an influential text among jihadis,
          but if Hakaymah was the author it takes on added importance. Just like al-Adl,
          Hakaymah lived in Iran when the book was published, and just like al-Adl he had ties
          with the Iranian government predating 9/11. Moreover, The Management of Savagery was
          first published by Mu’askar al-Battar, an al-Qaeda propaganda outlet based in Saudi
          Arabia that published many of al-Adl’s articles during the same period. Hakaymah also
          knew Zarqawi personally, having escaped with them from Afghanistan and Pakistan
          after 9/11. Taken together, the master plan and The Management of Savagery offered
          strategic and operational plans for Zarqawi’s war in Iraq and beyond. But these were
          not documents developed remotely from Zarqawi; they were produced by men that
          know him personally and were likely in direct communication with him when they
          were written.326




321 Fishman, The Master Plan, locs. 525-39.
322 Ibid., locs. 546-53.
323 Ibid., loc. 829.
324 Ibid., loc. 834.
325 Ibid., loc. 822.
326 Ibid., locs. 834-37.


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Hakaymah’s likely authorship of The Management of Savagery may serve as another example illustrating
the impact of Iranian sanctuary for key al-Qaeda leaders. Men like Hakaymah and al-Adl had the
opportunity to think deeply about jihadist strategy and develop critical texts that would guide both al-
Qaeda and also al-Qaeda in Iraq’s “strategic and operational plans” for the “war in Iraq and beyond.”327

The Zarqawi Organization’s Establishment in Iraq & Reliance Upon Iran
With the assistance of the IRGC’s Quds Force, Zarqawi and his cohort proceeded to Iraqi Kurdistan,
where they organized Tawhid wal-Jihad, AQI’s forerunner, which this report discussed previously.328
A 125-page report by the German Federal Criminal Investigation Bureau (BKA) describes how Iran
allowed Zarqawi to establish new camps and safe houses for his operatives in Zahedan, Isfahan, and
Tehran. These facilities were used to send forged passports, money and operational orders across the
Middle East to Turkey and even into Europe, thus transforming Iran into a critical hub for his fast-
growing militant network. Communications were channeled by satellite, cell and land phones, and
handled through middlemen with the IRGC’s support.329

Even as Zarqawi’s targeting in the Iraq theater took on an explicitly sectarian bent, and he became
notorious for attacks on the country’s Shia population, Iran continued its support for AQI, seemingly
because the Islamic Republic saw destabilizing American efforts in Iraq as its greatest priority. Fishman
elaborates on the complicated relationship between Zarqawi and Iran:

            The relationships undergirding Zarqawi’s strategy were riddled with paradoxes. Even
            as Zarqawi and his successors targeted Shia Muslims in Iraq, they relied on networks
            in Shia Iran—including al-Adl and Hakaymah—to communicate with al-Qaeda, and
            networks in Alawite-led Syria (a sect that includes many Shia beliefs) to import foreign
            fighters. And even as Iran and Syria tolerated the jihadi networks, they bolstered Shia
            militias fighting the Zarqawiists.330

Fishman highlights that one crucial aspect of Iranian support to Zarqawi was his “continued reliance
on logistics networks traversing Iran.” 331 Tehran funneled weapons and mines to Zarqawi strongholds
in Fallujah and elsewhere in Sunni-dominated Anbar Province.332 Iran also continued to permit
Zarqawi recruits to transit Iranian territory and make use of safe houses in different parts of the
country. Tehran also harbored facilitators with links to AQI. One such person was Muhsin al-Fadhli
(discussed above), who served in both Chechnya and Afghanistan and was a protégé of Suleiman Abu
Gheith and the Chechen militant leader Ibn al-Khattab. Prior to his involvement in the Iraqi
insurgency, Fadhli acted as a senior leader of al-Qaeda cells in the Gulf, where he helped plan and
finance the attack on the USS Cole in 2000 and the suicide bombing against the French oil tanker MV
Limburg two years later. His name was also linked to the strike against U.S. Marines on Kuwait’s
Faylaka Island in 2002.333 The U.S. Treasury designated al-Fadhli in 2005 for providing financial and

327 Ibid.
328 See PX241, Joel Rayburn & Frank Sobchak, The U.S. Army in the Iraq War – Volume 1 (2019), p. 21.
329 Urs Gehriger, “Abu Musab al-Zarqawi: From Green Man to Guru,” signandsight.com, September 11, 2005,

http://www.signandsight.com/features/449.html; Dan Darling, “The Cicero Articles,” Long War Journal, October 30,
2005.
330 Fishman, The Master Plan, loc. 949.
331 Ibid., loc. 923.
332 Bill Roggio, “Iran and al Qaeda in Iraq,” The Long War Journal, January 6, 2007.
333 PX128, U.S. Department of the Treasury, press release, “Treasury Takes Action to Stem Funding to the Iraqi

Insurgency,” February 15, 2005, https://www.treasury.gov/press-center/press-releases/Pages/is2252.aspx; Husayn al-

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material support to Sunni militants fighting in Iraq. At the time, he was the principal link man for
channeling money and material support to the Zarqawi network.334

In December 2006, further evidence of Iranian support for AQI emerged when two Quds Force
operatives were arrested in Baghdad. According to U.S. defense officials, the operatives possessed
“weapons lists, documents pertaining to shipments of weapons into Iraq, organizational charts,
telephone records and maps, among other sensitive intelligence information.” The operatives also
reportedly “had information about importing modern, specially shaped explosive charges into Iraq,
weapons that have been used in roadside bombs to target U.S. military armored vehicles.”335 According
to a U.S. intelligence official, the information gleaned from the operatives showed “how the Quds
Force [was] working with individuals affiliated with Al Qaeda in Iraq and Ansar al-Sunna.”336

In 2008, a leading Sunni militant named Mubarak Mushakhas Sanad al-Bathali directly tied Iran to
AQI. In an interview with the Kuwaiti publication Al-Qabas, he claimed that Iran was both providing
the group with money and weapons and facilitating the movement of its fighters across the Middle
East and South Asia. The apparent intent of this support was to “deter the United States, in order for
it [the U.S.] not to give its entire attention to Iran.”337 The admission was compelling given al-Bathali’s
background and activities. A Kuwaiti national, he had acted as one of al-Qaeda’s principal fundraisers
for years. Between 2003 and 2004, he was also known to have sent money to the Zarqawi
organization.338 According to the United Nations Security Council, Bathali “has supported every stage
of the terrorist financing life-cycle, from financing terrorist groups and activity, to facilitating deadly
attacks, and inciting others to join campaigns of violence.”339 He was added to the U.S. Treasury
Department’s list of Specially Designated Global Terrorists in July 2006.340

Further evidence of Iranian support to AQI came in February 2012, when the United States designated
Iran’s Ministry of Intelligence and Security (MOIS) for its ongoing and systematic sponsorship of a
variety of terrorist organizations. Among the entities listed was AQI (the name by which the U.S.
government still identified the Zarqawi organization at the time), which according to the Treasury
Department received not only money and weaponry but also “intermediary services” that helped
secure the release of the group’s imprisoned operatives.341

Rationalizing Iranian Support to al-Qaeda and the Zarqawi Organization
Iranian support to the al-Qaeda network and the Zarqawi organization is essentially a product of
pragmatic expediency. While the Islamic Republic has never sought to consolidate an ideological

Awami, “Looking for Foreign Elements to Activate the Organization … a Tough Task for Al-Qa’ida in Saudi Arabia:
Getting Over the Siege and Setbacks,” Al-Hayah (Arabic), April 12, 2006.
334 PX127, U.S. Department of the Treasury, press release, “Treasury Further Exposes Iran-Based Al-Qa’ida Network,”

October 18, 2012, https://www.treasury.gov/press-center/press-releases/Pages/tg1741.aspx; Awami, “Looking for
Foreign Elements.”
335 Sudarsan Raghavan & Robin Wright, “Iraq Expels 2 Iranians Detained by U.S.,” Washington Post, December 30, 2006.
336 PX637, Eli Lake, “Iran’s Secret Plan for Mayhem,” The New York Sun, January 3, 2007.
337 “Kuwaiti Cleric Admits Sending Mujahedin to Iraq, Afghanistan, Argues Iran Involved,” Al-Qabas, May 7, 2008.
338 PX70, U.S. Department of the Treasury, press release, “Treasury Designations Target Terrorist Facilitators,” Dec. 7,

2006, https://www.treasury.gov/press-center/press-releases/Pages/hp191.aspx.
339 PX525, United Nations Security Council, “Mubarak Mushakhas Sanad Mubarak Al-Bathali,” April 6, 2009.
340 PX70, U.S. Department of the Treasury, press release, “Treasury Designations Target Terrorist Facilitators,” Dec. 7,

2006.
341 PX68, U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and

Security for Human Rights Abuses and Support for Terrorism,” February 16, 2012.

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alliance with the group on account of its Sunni extremist orientation, Iran has been willing to
coordinate tactically when doing so furthers its own interests.

Adopting such a stance is in line with Tehran’s general approach to foreign relations and is one that
has borne dividends. The provision of logistical and operational support has buttressed the ability of
al-Qaeda to target a common enemy, the United States. At the same time, allowing the group’s cadres
to shelter on its soil has afforded Iran with leverage in its dealings with Washington: restrictions on
al-Qaeda’s activities can be loosened to deter or retaliate against American actions, while tighter
control can be exercised in exchange for concessions, or to improve bilateral relations.342 Finally,
working with al-Qaeda provided Iran with an insurance policy that often helped to shield it from the
group’s attacks. Indeed, during the 2003-2011 period this arrangement seemingly provided Iran with
a great deal of insulation from the Zarqawi organization.343 There are multiple illustrations of this
insulation, including ISIS spokesman Adnani’s thunderous 2014 accusation that al-Qaeda core had
held the Zarqawi organization back from striking Iran. Another illustration of this dynamic is a 2005
letter from Zawahiri to Zarqawi, in which the former denounced the latter’s use of indiscriminate
violence against the Shia and called for a cessation in order to preserve relations with Tehran:

         Why kill ordinary Shia considering that they are forgiven because of their ignorance?
         And what loss will befall us if we did not attack the Shia? And do the brothers forget
         that we have more than 100 prisoners—many of whom are from the leadership who
         are wanted in their countries—in the custody of the Iranians? And even if we attack
         the Shia out of necessity, then why do you announce this matter and make it public,
         which compels the Iranians to take counter measures? And do the brothers forget that
         both we and the Iranians need to refrain from harming each other at this time in which
         the Americans are targeting us?344

Scholar Assaf Moghadam assesses that although AQI “continued to target Shi’a in Iraq, AQI and its
successor organizations clearly heeded al-Zawahiri’s injunction when it came to Shi’a in Iran.”345

In summary, as former Director of National Intelligence James Clapper testified before the Senate
Armed Forces Committee in 2012, Iran’s relationship with al-Qaeda can be viewed as tantamount to
a “longstanding … shotgun marriage or marriage of convenience.”346 Despite having a vastly divergent
religious outlook, Tehran has identified at various times operational interests that can be advanced by
working with al-Qaeda. It has accordingly put aside ideological reservations that could serve as a
barrier to such cooperation.

Iran’s assistance to the Zarqawi organization can be viewed in the same self-interested light as its
support for al-Qaeda. For the most part, Tehran’s backing for Zarqawi’s group was part of a wider
strategy aimed at accelerating the eviction of U.S. troops from Iraq, while simultaneously ensuring
against the emergence of a strong Shia state that could threaten the legitimacy—and predominance—

342 PX630, Daniel Byman, “The Odd Couple,” Foreign Policy, February 21, 2012; PX224, Moghadam, “Marriage of

Convenience.”
343 PX631, Byman, “Unlikely Alliance,” p. 29.
344      PX910,       “Letter     from      al-Zawahiri     to      al-Zarqawi,”      2005,      available      at
https://fas.org/irp/news/2005/10/letter_in_english.pdf.
345 PX224, Moghadam, “Marriage of Convenience.”
346 Cited in PX707, Thomas Joscelyn, “DNI Clapper: ‘Shotgun Marriage’ Between Iran and Al Qaeda,” Weekly Standard,

February 17, 2012.

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of Iran’s clerical regime.347 This effort entailed a deliberate policy of creating instability in Iraq that
would both impose political, economic and human costs on the United States and delegitimize the
American-led coalition.348

Categories of Iranian Material Support to the Zarqawi Organization
Iranian material support
was critical for the Zarqawi
organization to function as
an insurgent group in Iraq.
In a briefing entitled
“Multi-National Force –
Iraq            Commander’s
Counterinsurgency
Guidance,” Gen. David
Petraeus,       the     former
commander of Multi-
National Force – Iraq,
highlighted the Zarqawi
organization’s needs to
establish       itself.    The
accompanying            graphic
shows how Gen. Petraeus
illustrated AQI’s needs.349

According to Gen. Petraeus’s illustration, the Zarqawi organization required weapons, money, safe
haven, popular support, and senior leader guidance. Tehran ultimately either provided or otherwise
empowered the Zarqawi organization to obtain all of these various needs. This is my summary, based
on the preceding analysis in this section, of specific ways that Iran’s leadership helped to fulfill the
material needs for the Zarqawi organization:

    •    The first category of Iranian material support to the Zarqawi organization is providing money
         and weapons to the Zarqawi organization. In 2004, for example, Iran provided Zarqawi
         with mines and weapons at his strongholds in Fallujah and elsewhere in Anbar province.350
         Additionally, as this section details, in December 2006 the capture of two Quds Force
         operatives in Iraq provided evidence of Iran’s work with AQI. These two individuals had
         documents providing weapons lists, shipment information regarding transactions with Iraq,
         organizational charts, phone records, and maps, as well as information about “importing
         modern, specially shaped explosive charges into Iraq.”351 In 2012, the U.S. Treasury


347 PX241, Rayburn & Sobchak, The U.S. Army in the Iraq War – Volume 1, p. 187; PX212, Brian Fishman and Joseph Felter,

Iranian Strategy in Iraq: Politics and “Other Means” (West Point, NY: Combating Terrorism Center at West Point, 2008), p. 56;
Daniel Byman, “Iran’s Support for Terrorist Groups,” Lawfare, May 25, 2015, https://www.lawfareblog.com/irans-
support-terrorist-groups.
348 PX241, Rayburn & Sobchak, The U.S. Army in the Iraq War – Volume 1, p. 187.
349 PX917, “Multi-National Force – Iraq Commander’s Counterinsurgency Guidance,” Multi-National Force – Iraq, July

15, 2008.
350 Bill Roggio, “Iran and al Qaeda in Iraq,” The Long War Journal, January 6, 2007.
351 Sudarsan Raghavan & Robin Wright, “Iraq Expels 2 Iranians Detained by U.S.,” Washington Post, December 30, 2006.


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           Department also revealed that Iran’s MOIS was providing money and weapons directly to the
           Zarqawi organization.

      •    A second category of Iranian support is giving sanctuary for critically important Zarqawi
           organization leaders and enabling these individuals to carry out tasks and duties for
           the Zarqawi organization from within Iranian borders. One notable beneficiary of Iranian
           safe haven was Muhsin al-Fadhli. The Treasury Department sanctioned al-Fadhli for being a
           key al-Qaeda leader who was “believed to be providing support to fighters against U.S. and
           multinational forces and is considered a major facilitator connected to the brutal terrorist, Abu
           Musab al-Zarqawi.”352 In a later sanctions designation targeting Adel Radi Saqr al-Wahabi al-
           Harbi, an al-Qaeda operative in Iran, Treasury detailed al-Fadhli’s significance to al-Qaeda’s
           Iran financial and logistics network, including facilitating “the travel of extremists to
           Afghanistan or Iraq via Iran” and also seeking funds to carry out attacks.353 Note that this
           sanctuary for senior Zarqawi organization leaders fulfilled two of the categories of
           organizational needs that Gen. Petraeus outlined (both safe haven and also facilitating senior
           leader guidance).

      •    A third category of Iranian support is providing safe houses and travel facilitation for
           Zarqawi organization leaders and fighters to help expand the organization’s reach.
           Among other things, the Quds Force let Zarqawi establish safe houses and camps in Zahedan,
           Isfahan, and Tehran.

      •    A fourth category of Iranian support to the Zarqawi organization was MOIS providing
           intermediary services to help negotiate the release of Zarqawi organization prisoners.

Overall, Iranian support was essential for the Zarqawi organization to fulfill the material needs
highlighted by Gen. Petraeus. Iran’s support helped the Zarqawi organization to become a lethal and
formidable insurgent force.

XVIII. Conclusion

Thus, relying on my background, education, training and experience, as well as substantial evidence
commonly used by experts in relevant fields, it is my expert opinion that:

      A. The Islamic Republic of Iran has an extensive history of using VNSAs as proxy groups to
         advance its foreign policy goals. Among other things, Iran has used these groups to launch
         attacks against U.S. forces in Iraq while retaining a degree of plausible deniability. While Iran
         has provided substantial support to Shia proxy groups throughout the Middle East, the Islamic
         Republic has also backed Sunni militant groups, including al-Qaeda, the Zarqawi organization
         (aka al-Qaeda in Iraq), and Ansar al-Islam/Ansar al-Sunnah, when such support aligned with
         Iran’s state interests.



352 PX128, U.S. Department of the Treasury, press release, “Treasury Takes Action to Stem Funding to the Iraqi
Insurgency,” February 15, 2005.
353 PX127, U.S. Department of the Treasury, press release, “Treasury Further Exposes Iran-Based Al-Qa’ida Network,”

October 18, 2012.

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   B. Iran provided substantial support to al-Qaeda, the Zarqawi organization, and Ansar al-
      Islam/Ansar al-Sunnah, in the form of training, financial support, weapons, safe haven,
      lodging, travel and transportation, and expert knowledge and assistance in tactics, techniques,
      procedures, and attack planning.

   C. The best available evidence indicates that Sunni militants needed Iranian support to establish
      safe havens, routes of communication, and travel and supply routes. Iranian support was also
      causally connected to these groups’ ability to obtain, assemble, and/or utilize the weapons and
      munitions that they employed in Iraq, including rockets, mortars, improvised explosive
      devices, small arms, and other equipment and materiel vital to their operations.

   D. Given the nature and extent of Iranian material support to al-Qaeda, the Zarqawi organization,
      and Ansar al-Islam/Ansar al-Sunnah, Iran’s assistance was critical to the survival and growth
      of these militant organizations, and significantly increased their capabilities. As such, certain
      attacks in Iraq committed by these groups from at least 2003 to 2011 bear a reasonable
      connection to Iran’s sponsorship and support.

I hold the conclusions and opinions detailed in this declaration to a reasonable degree of professional
certainty, and declare the foregoing under the penalty of perjury:


_________________________________________
Daveed Gartenstein-Ross, Ph.D.




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                                         DAVEED GARTENSTEIN-ROSS
                                    daveed@valensglobal.com • 646-246-4179


Dr. Daveed Gartenstein-Ross is a scholar, practitioner, author, and entrepreneur who is the co-founder and chief
executive officer of Valens Global, a private firm that empowers clients as they navigate and address emergent
challenges rooted in security, technology, and a changing global society. In addition, he is a Senior Advisor on
Asymmetric Warfare at the Foundation for Defense of Democracies, a nonpartisan policy institute in Washington,
D.C., and an Associate Fellow at the International Centre for Counter-Terrorism – The Hague (ICCT). Past
positions he has held include Senior Advisor to the Director of the U.S. Department of Homeland Security’s Office
for Community Partnerships (2016-17) and Fellow at Jigsaw, a tech incubator within Google with the mission of
exploring threats to open societies and building technology that inspires scalable solutions. He has been described as
“a rising star in the counterterrorism community” by The International Herald Tribune.

In a career focused on understanding violent non-state actors’ (VNSAs) role in the world and to helping
policymakers, government agencies, private companies, and others fashion innovative solutions to the challenges
that VNSAs pose, Dr. Gartenstein-Ross has undertaken significant work specifically focused on Iraq-based Sunni
and Shia militant groups. In addition to spending time in Iraq during the height of the country’s civil war, he has
written extensively about both Sunni and Shia militant groups active in the Iraq-Syria theater; testified multiple times
before federal courts as an expert witness on these groups; advised private clients on security issues related to
moving personnel through Iraq during the apex of ISIS’s power; led training for U.S. military units preparing to
deploy to the Iraq-Syria theater; and worked on successful hostage negotiations with an Iraq-based Shia militant
group (Asaib Ahl al-Haq).

As a scholar, Dr. Gartenstein-Ross is the author or volume editor of over 30 books and monographs, with a book
on jihadist groups’ organizational learning processes forthcoming from Columbia University Press. Dr. Gartenstein-
Ross has testified on his areas of core competency before the U.S. House and Senate over a dozen times, as well as
before the Canadian House of Commons and the European Parliament. He holds a Ph.D. in world politics from the
Catholic University of America and a J.D. from the New York University School of Law.

EDUCATION
10,000 Small Businesses Certificate of Entrepreneurship, sponsored by the Goldman Sachs Foundation, classes held at
    Babson College, Wellesley, Mass., 2018.
Ph.D., World Politics, The Catholic University of America, Washington, D.C., 2014.
M.A., World Politics, The Catholic University of America, Washington, D.C., 2010.
J.D., magna cum laude, New York University School of Law, New York, N.Y., 2002.
B.A. with Honors, Communication, magna cum laude, Wake Forest University, Winston-Salem, N.C., 1998.

SELECTED PROFESSIONAL EXPERIENCE
Valens Global, Washington, D.C. Chief Executive Officer, 2014-present.
    • Valens is a private firm dedicated to understanding, predicting, and acting to empower clients to
        navigate and address emergent challenges rooted in security, technology, and a changing global
        society. Its applications of this core expertise include delivering training, threat assessments, and reports;
         designing campaigns in the counter-disinformation and counter-extremism space; leading war games and
         strategic simulations; and helping clients upgrade their physical security through a technique called crisis
         architecture.
    • Valens was named to Entrepreneur Magazine’s E360 list of the top small businesses in the United States in
         2018-19 (no list was released in 2020 due to the COVID-19 pandemic).
International Centre for Counter-Terrorism (ICCT) – The Hague, Netherlands. Associate Fellow, 2013-present.
    • I served as a visiting fellow in March-April 2013, during which I lived in The Hague and undertook a major
         research project on post-Arab Spring salafi jihadism in Tunisia. The project included field research in
         Tunisia and culminated in the study Ansar al-Sharia Tunisia’s Long Game: Dawa, Hisba, and Jihad (2013).



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Senior Advisor to the Director, Office for Community Partnerships, U.S. Department of Homeland Security,
     Washington, D.C., 2016-2017.
Jigsaw/Google, New York, N.Y. Fellow, 2016-2017.
     • Jigsaw is a tech incubator in Google that forecasts and confronts emerging threats. Per its website, Jigsaw
         “builds technology to tackle some of the toughest global security challenges facing the world today.” My
         fellowship was designed to help Jigsaw address the organization’s concern about violent extremist groups’
         use of the online space. Most of my work for Jigsaw remains confidential, though one project that has been
         made public is the Redirect Method for individuals who were searching for ISIS propaganda on YouTube.1
Georgetown University, Washington, D.C. Security Studies Program, Adjunct Assistant Professor, 2013-2017.
The Catholic University of America (M.A. program), Washington, D.C. Lecturer, 2012, 2015.
Foundation for Defense of Democracies (FDD), Washington, D.C. Senior Advisor on Asymmetric Warfare, 2019-
     present; Non-Resident Fellow, 2018-19; Senior Fellow, 2010-18; Vice President of Research, 2007-10.

LEGISLATIVE TESTIMONY
“Dollars Against Democracy: Domestic Terrorist Financing in the Aftermath of Insurrection,” U.S. House
     Committee on Financial Services, Subcommittee on National Security, International Development, and
     Monetary Policy, February 25, 2021.
“Exchange of Views on the Continuing Global Threat from Daesh and its Affiliates,” testimony before the
     European Parliament, Subcommittee on Security and Defense, October 28, 2020.
“ISIS Post Caliphate: Threat Implications for America and the West,” testimony before the House Committee on
     Homeland Security, May 23, 2018.
“Radicalization in the U.S. and the Rise of Terrorism,” U.S. House Subcommittee on National Security and the
     Subcommittee on Government Operations of the Committee on Oversight and Government Reform,
     September 14, 2016.
“Terror in Europe: Safeguarding U.S. Citizens at Home and Abroad,” U.S. Senate Committee on Homeland
     Security and Governmental Affairs, April 5, 2016.
“Boko Haram: The Islamic Insurgency in West Africa,” U.S. House Committee on Foreign Affairs, Subcommittee
     on Terrorism, Nonproliferation, and Trade, February 24, 2016.
“The Paris Attacks: A Strategic Shift by ISIS?,” U.S. House Committee on Foreign Affairs Subcommittee on
     Terrorism, Nonproliferation, and Trade, December 2, 2015.
“The Impact of ISIS on the Homeland and Refugee Resettlement,” U.S. Senate Committee on Homeland Security
     and Governmental Affairs, November 19, 2015.
“Radicalization: Social Media and the Rise of Terrorism,” U.S. House Committee on Oversight and Government
     Reform, Subcommittee on National Security, October 28, 2015.
“Admitting Syrian Refugees: The Intelligence Void and the Escalating Homeland Security Threat,” U.S. House
     Committee on Homeland Security, Subcommittee on Counterterrorism and Intelligence, June 24, 2015.
“Jihad 2.0: Social Media in the Next Evolution of Terrorist Recruitment,” U.S. Senate Foreign Relations Committee,
     May 7, 2015.
“The Islamic State’s Strengths and Vulnerabilities,” House of Commons Standing Committee on Foreign Affairs
     and International Development (Canada), February 5, 2015.
“Successes and Failures of the U.S. and NATO Intervention in Libya,” House Committee on Oversight and
     Government Reform, May 1, 2014.
“Syria Spillover: The Growing Threat of Terrorism and Sectarianism in the Middle East,” U.S. Senate Foreign
     Relations Committee, March 6, 2014.
“State of al-Qaeda, Its Affiliates, and Associated Groups,” U.S. House Armed Services Committee, February 4,
     2014.
“The Terrorist Threat in North Africa: Before and After Benghazi,” Joint U.S. House Subcommittee Hearing of
     Subcommittee on Terrorism, Nonproliferation and Trade, and Subcommittee on the Middle East and North
     Africa, July 10, 2013.
“Islamic Extremism in American Prisons,” Georgia State Legislature (U.S.), September 11, 2007.


1 See coverage of this project in Andy Greenberg, “Google’s Clever Plan to Stop Aspiring ISIS Recruits,” Wired, September 7, 2016,
https://www.wired.com/2016/09/googles-clever-plan-stop-aspiring-isis-recruits/. I led Valens Global’s efforts to map the counter-extremist
narrative space on YouTube for this project.

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“Prison Radicalization: Are Terrorist Cells Forming in U.S. Cell Blocks?,” U.S. Senate Homeland Security and
    Governmental Affairs Committee, September 19, 2006.

EXPERT GROUPS
United Nations Counter-Terrorism Centre (UNCCT), Expert Group Meeting, “The Malicious Use of Artificial
    Intelligence for Terrorist Purposes,” webinar, February 9, 2021.
Global Counterterrorism Forum (GCTF), virtual consultation, “GCTF Strategic Vision for the Next Decade,”
    December 4, 2020.

EXPERT WITNESS
Selig v. Islamic Republic of Iran (District of D.C., 2021). Expert witness for plaintiffs in case centered on Iranian
     support for the Taliban and Haqqani Network.
Fields v. Syria Arab Republic (District of D.C., 2021). Expert witness for plaintiffs in case centered on Syrian support
     for the militant group ISIS.
Sotloff v. Syrian Arab Republic (District of D.C., 2021). Expert witness for plaintiffs in case centered on Syrian support
     for the militant group ISIS.
Doe v. Syrian Arab Republic, CA 1:18-cv-00066-KBJ-GMH (District of D.C., 2020). Expert witness for plaintiffs in
     case centered on Syrian support for the militant group ISIS.
Fritz v. Islamic Republic of Iran, CA 15-456 (District of D.C., 2018). Expert witness for plaintiffs in case centered on
     Iranian support for the militant group Asaib Ahl al-Haq (AAH). Defendant found liable.
United States v. Young, Case No. 1:16-cr-00265-LMB (E.D. Va., 2017). Expert witness for prosecution in the first
     criminal trial of an American law enforcement officer for material support for terrorism. Defendant convicted.
Foley v. Syrian Arab Republic, CA 11-699 (District of D.C., 2016). Expert witness for plaintiffs, testifying about the
     Zarqawi network’s culpability in the deaths of three Americans. Defendant found liable.
United States v. Abdul Kareem (District of Arizona, 2016). Litigation consultant for the defense.
In the Matter of Abdul Qadir (Arlington, Va. Immigration Court, 2015). Expert witness on the Taliban in Afghanistan.
In the Matter of A.D. (Memphis, Tenn. Immigration Court, 2012). Expert witness on al-Shabaab and country
     conditions in Somalia.
In the Matter of B.O. in Removal Proceedings (Boston Immigration Court, 2012). Expert witness on al-Qaeda’s activities
     and capabilities in Kenya.
In the Matter of A.A.W. (Bloomington, Minnesota Immigration Court, 2012). Expert witness on al-Shabaab and
     country conditions in Somalia.
In the Matter of A.A.I. (Colorado Immigration Court, 2011). Expert witness on al-Shabaab and country conditions in
     Somalia.
In the Matter of the Application for Withholding of A.A.M. (Boston Immigration Court, 2011). Expert witness on al-
     Shabaab and country conditions in Somalia.
In the Matter of the Application for Asylum of M.A.A. (N.J. Immigration Court, 2009). Expert witness on al-Shabaab and
     country conditions in Somalia.

SELECTED TRAINING PROGRAMS (Instructor)
“Jihadist Propaganda and the Rise of ISIS,” Foreign Service Institute, U.S. Department of State, January 28, 2022.
“ISIS Case Study,” Foreign Service Institute, U.S. Department of State, November 17, 2021. Designed and delivered
    interactive module on ISIS’s use of disinformation about Derna during its Libya campaign.
“The Transnational White Supremacist Extremist Threat,” PayPal, November 8, 2021.
“The Transnational White Supremacist Extremist Threat,” Wells Fargo, September 23, 2021.
“Jihadist Propaganda and the Rise of ISIS,” Foreign Service Institute, U.S. Department of State, June 11, 2021.
“Jihadist Propaganda and the Rise of ISIS,” Foreign Service Institute, U.S. Department of State, March 19, 2021.
“Jihadist Propaganda and the Rise of ISIS,” Foreign Service Institute, U.S. Department of State, October 2, 2020.
“Jihadist Propaganda and the Rise of ISIS,” Foreign Service Institute, U.S. Department of State, June 12, 2020.
“The Transnational White Supremacist Extremist Threat,” U.S. Customs & Border Protection, Buffalo and Boston
    Field Offices (delivered via Microsoft TEAMS), May 5, 2020.
“Armed Rebel Groups and Violent Extremist Groups in the Levant,” 158th Military Engagement Team, Phoenix,
    Ariz., March 2-3, 2019.


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“Security Situation and Armed Rebel Groups & Violent Extremist Groups in the Levant,” 184th Expeditionary
     Sustainment Command, Camp Shelby, Mississippi, October 29, 2018.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Montross, Va., September 9, 2018.
“The Spread of ISIS to the Greater Levant,” 158th Military Engagement Team, Phoenix, Ariz., August 21, 2018.
“The World and I: How Global Events Can Shape the Threats You Confront Locally,” Anti-Defamation League,
     Advanced Training School, Washington, D.C., June 19, 2018.
 “The World and I: How Global Events Can Shape the Threats You Confront Locally,” Anti-Defamation League,
     Advanced Training School, Washington, D.C., December 5, 2017.
“Online Radicalization: Analysis of Social Media & Networks,” Bulgarian Ministry of Interior & Ministry of
     Defense, Sofia, Bulgaria, September 5-8, 2017.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., August 21, 2017.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., July 10, 2017.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., June 26, 2017.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., June 12, 2017.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., May 15, 2017.
“Illegal Weapons Traffic & Usage,” U.S. Customs & Border Protection, Washington, DC, May 2, 2017.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., April 24, 2017.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., March 6, 2017.
“The Islamic State’s European Networks,” U.S. Customs & Border Protection, Washington, DC, February 15, 2017.
“Implications of Refugee Resettlement in Canada,” U.S. Customs & Border Protection, Washington, DC, January
     11, 2017.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., November 14, 2016.
“The Global Migration Crisis,” U.S. Customs & Border Protection, Washington, DC, November 8, 2016.
U.S. Army Central Command, Shaw Air Force Base, Sumter, South Carolina, August 31, 2016.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., August 22, 2016.
Maryland Army National Guard, 29th Infantry Division, El Paso, Tex., August 9, 2016.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., July 11, 2016.
Individual Terrorism Awareness Course (INTAC), Army Corps of Engineers, Winchester, Va., June 20, 2016.
3-197th Field Artillery Regiment, Fort Bliss, Tex., March 20, 2016.
3-197th Field Artillery Regiment, Fort Bliss, Tex., February 19, 2015.
4th Brigade Combat Team, 1st Armored Division, Fort Bliss, Tex., October 30, 2014.
4th Squadron, 3rd Cavalry Regiment, Fort Hood, Tex., March 25, 2014.
3rd Sustainment Command (Expeditionary), Fort Knox, Ky., March 12, 2014.
32nd Infantry Brigade Combat Team, Fort McCoy, Wis., February 11, 2014.
3rd Medical Command, Fort Hood, Tex., January 18, 2014.
3-238 General Support Aviation Battalion, Fort Hood, Tex., January 8, 2014.
42nd Combat Aviation Brigade, Fort Hood, Tex., October 29, 2013.
19th Engineering Battalion, Fort Knox, Ky., October 1-2, 2013.
2nd Brigade Combat Team, 4th Infantry Division, Fort Carson, Colo., August 6, 2013.
Afghanistan/Pakistan Hands, Washington, D.C., August 4, 2013.
6th Squadron, 9th Cavalry, Fort Hood, Tex., July 24, 2013.
Afghanistan/Pakistan Hands, Washington, D.C., June 22, 2013.
55th Sustainment Brigade, Fort Hood, Tex., June 17, 2013.
2nd Brigade, 1st Cavalry Division, Fort Hood, Tex., February 20-21, 2013.
1st Stryker Brigade Combat Team, 25th Infantry Division, Fort Wainwright, Alaska, February 5-6, 2013.
Afghanistan/Pakistan Hands, Washington, D.C., December 2, 2012.
Polish Army Special Forces, Krakow, Poland, Nov. 13-15, 2012.
Counter Threat Training (mirror image course for U.S. military), Salt Lake City, Utah, Nov. 4-9, 2012.
Afghanistan/Pakistan Hands, Washington, D.C., Oct. 20, 2012.
4th Brigade Combat Team, 10th Mountain Division, Fort Polk, La., Oct. 9-10, 2012.
Afghanistan/Pakistan Hands, Washington, D.C., Sept. 16, 2012.
38th Sustainment Brigade, North Fort Hood, Tex., Sept. 12-13, 2012.
1st Brigade Combat Team, 3rd Infantry Division, Fort Stewart, Ga., Aug. 22-24, 2012.
136th Maneuver Enhancement Brigade, Fort Hood, Tex., Aug. 17-19, 2012.

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311th Sustainment Command (Expeditionary), Los Angeles, Calif., Aug. 3-5, 2012.
53rd Civil Support Team, Indiana National Guard, Indianapolis, Ind., July 24, 2012.
Croatian Military Academy, Zagreb, Croatia, June 19, 2012.
63rd Signal Battalion, Fort Gordon, Ga., June 5, 2012.
Oregon National Guard, Salem, Ore., May 22, 2012.
Afghanistan/Pakistan Hands, Washington, D.C., Apr. 21, 2012.
Afghanistan/Pakistan Hands, Washington, D.C., Feb. 25, 2012.
5-19th Agribusiness Development Team, Edinburgh, Ind., Feb. 9, 2012.
Afghanistan/Pakistan Hands, Washington, D.C., Jan. 21, 2012.
Provincial Reconstruction Teams, Camp Atterbury, Ind., Jan. 5, 2012.
BAE Systems, McLean, Va., Dec. 1, 2011.
25th Combat Aviation Brigade, Schofield Barracks, Hawaii, Nov. 15, 2011.
Afghanistan/Pakistan Hands, Washington, D.C., Oct. 15, 2011.
4th Infantry Brigade Combat Team, 1st Infantry Division, Fort Riley, Kans., Oct. 12-13, 2011.
411th Engineer Brigade, New Windsor, N.Y., Sept. 23, 2011.
76th Brigade Combat Team, Monterey, Calif., Sept. 21-22, 2011.
Afghanistan/Pakistan Hands, Washington, D.C., Sept. 10, 2011.
3rd Brigade Combat Team, 1st Armored Division, Fort Bliss, Tex., Aug. 18, 2011.
364th Expeditionary Sustainment Command, Fort Bliss, Tex., Aug. 15, 2011.
Afghanistan/Pakistan Hands, Washington, D.C., Aug. 13, 2011.
Agricultural Development Teams of Kansas, Minnesota and Mississippi (combined), Salina, Kan., July 22, 2011.
116th Infantry Brigade Combat Team, Camp Shelby, Miss., July 5, 2011.
3rd Squadron, 124th Cavalry, Texas Army National Guard, Dallas, Tex., June 22, 2011.
Afghanistan/Pakistan Hands, Washington, D.C., May 21-22, 2011.
37th Infantry Brigade Combat Team, Columbus, Ohio, May 20, 2011.
Texas Agricultural Development Team, Austin, Tex., May 17, 2011.
29th Combat Aviation Brigade, Monterey, Calif., May 11, 2011.
I Corps, Fort Lewis, Wash., May 3, 2011.
4th Expeditionary Sustainment Command, San Antonio, Tex., Apr. 26, 2011.
Afghanistan/Pakistan Hands, Washington, D.C., Apr. 2-3, 2011.
I Corps, Fort Lewis, Wash., Mar. 21-22, 2011.
26th Maneuver Enhancement Brigade, Fort Hood, Tex., Mar. 12-13, 2011.
648th Maneuver Enhancement Brigade, Fort Stewart, Ga., Mar. 10, 2011.
Afghanistan/Pakistan Hands, Washington, D.C., Feb. 5, 2011.
36th Infantry Division, 1st Cavalry, Fort Hood, Tex., Jan. 20, 2011.
1st Cavalry Division, Fort Hood, Tex., Jan. 11, 2011.
172nd Brigade Combat Team, Grafenwoehr (Germany), Dec. 16, 2010.
Afghanistan/Pakistan Hands, Washington, D.C., Nov. 13, 2010.
45th Infantry Brigade Combat Team, Monterey, Calif., Nov. 10, 2010.
Afghanistan/Pakistan Hands, Washington, D.C., Oct. 16, 2010.
2nd Brigade Combat Team, 4th Infantry Division, Oct. 12-13, 2010.
197th Fires Brigade, Fort McCoy, Wis., Oct. 7, 2010.
650th Regional Support Group, North Fort Hood, Tex., July 22, 2010.
Afghanistan/Pakistan Hands, Washington, D.C., July 17, 2010.
184th Sustainment Command (Expeditionary), Camp Shelby, Miss., July 6, 2010.
177th Armored Brigade, Camp Shelby, Miss., June 24, 2010.
Anti-Money Laundering Association, Rockville, Md., May 14, 2010.
Oregon National Guard, Warrenton, Ore., Apr. 11-12, 2010.
Anti-Money Laundering Association, Winter Park, Fla., Sept. 23, 2009.
U.S. Army Central Command, Atlanta, Ga., July 15, 2009.
Southern District of Indiana Anti-Terrorism Advisory Council, Indianapolis, Ind., Apr. 13, 2009.
Northern District of Ohio Anti-Terrorism Advisory Council, Cleveland, Ohio, Mar. 23, 2009.
Northern District of Alabama Anti-Terrorism Advisory Council, Huntsville and Birmingham, Ala., Mar. 16-17,
    2009.

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U.S. Department of State Office of Anti-Terrorism Assistance, lecture for senior Qatari officials, Dunn Loring, Va.,
    Feb. 10, 2009.
LECC Anti-Terrorism Training for South Carolina Law Enforcement, Columbia, S.C., June 5, 2008.
Suffolk County Sheriff’s Office, Suffolk County, N.Y., May 2007.
Suffolk County Sheriff’s Office, Suffolk County, N.Y., June 2006.

TEACHING EXPERIENCE
Adjunct Instructor, Duke University, 2021-23. Course taught: National Security Simulation – Great Power Competition, Non-
    State Actors & Human Rights.
Instructor, Carnegie Mellon University, 2021-22. Led two separate simulation-based courses (spring 2021 and spring
    2022).
Adjunct Assistant Professor, Security Studies Program (M.A. program), Georgetown University, Washington, D.C.,
    2013-17. Course taught: Violent Non-State Actors.
University of Southern California, Executive Program in Counter-Terrorism, Los Angeles, Calif., 2013-17. Course
    taught: Al-Qaeda and Its Affiliates.
Adjunct Faculty Member, The Takshashila Institution, Bangalore, India, 2014. Course taught: Violent Non-State Actors.
Lecturer, The Catholic University of America (graduate), Washington, D.C., 2015. Course taught: Violent Non-State
    Actors.
Lecturer, The Catholic University of America (upper-level undergraduate), Washington, D.C., 2012. Course taught: Al-
    Qaeda and Its Affiliates.
Instructor, Leader Development and Education for Sustained Peace (LDESP) program, Naval Postgraduate School,
    2009-present (seminars). Courses taught, by region:
    • Middle East and North Africa. Regional Security Re-Alignment and Drivers of Instability in the Levant;
         Geography of Kuwait; Gulf States: Political, Economic, and Social Trends; The Arab Awakening and Its
         Implications for Stability; Non-State Actors in the Levant.
    • Horn of Africa. History of the Horn of Africa; Drivers of Instability and Radicalization in Northeast and East
         Africa.
    • Afghanistan-Pakistan. History of Afghanistan; Competing Interests of Afghanistan and Its Neighbors;
         Afghanistan-Pakistan Relations.

WAR GAMES & SIMULATIONS
University of Calgary, August 2022. Contracted to lead a war game focusing on disinformation for the university’s
    summer institute.
Carleton University (Ottawa, Canada), August 2022. Contracted to lead a war game, “Acceleration,” for the
    university’s summer institute.
Regent University, Summer 2022. Contracted to lead a war game, “Sleeping Giants,” as a five-week exercise
    undertaken by a for-credit class.
Wake Forest University, Spring 2022. Led a war game, “Sleeping Giants,” as a five-week exercise undertaken by a
    for-credit class in the Communication department.
Johns Hopkins University, Spring 2022. Led an extracurricular war game, “This Side of Paradise,” simulating great
    power competition in Africa.
Johns Hopkins University, Fall 2021. Led a war game, “Exodus,” simulating competition between and among state
    and non-state actors in Afghanistan following the U.S. withdrawal.
Duke University, Fall 2021. Led a course centered around a single, multi-week war game: National Security Simulation
    – Great Power Competition, Non-State Actors & Human Rights.
Canadian Department of Defence, 2021. Principal Investigator for Deepfakes, Climate Change, Flying Cars & Quantum
    Drones: Conditional Forecasting for Canadian Defense, using scenario planning to conceptualize Canadian defence
    needs with respect to numerous evolving challenges.
Johns Hopkins University and Canadian Department of National Defence (co-sponsored), Spring 2021. Led a war
    game, “Utopia or Oblivion,” demonstrating how war games can contribute to the practice of futurism.
Carnegie Mellon University, Spring 2021. Led a multi-day war game, “Acceleration,” as a standalone micro-course.
American University, Spring 2021. Led a multi-week war game, “Acceleration,” as part of the curriculum for two
    classes (Dr. Bacon’s Counterterrorism and Intelligence Analysis courses).


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Global Counterterrorism Forum, Spring 2021. Led a tabletop exercise simulating the creation and iteration of a
    terrorist watchlist in a fictional country known as Atlantis.
Johns Hopkins University, Fall 2020. Led a war game, “Acceleration,” focusing on how the COVID pandemic
    exacerbates fault lines within and among civilizations.
Duke University, Fall 2020. Led a war game, “Acceleration,” focusing on how the COVID pandemic exacerbates
    fault lines within and among civilizations.
Canadian Department of National Defence, 2020-21. Led a project involving the use of war games to anticipate the
    strategic consequences of the COVID-19 pandemic.
Security Studies Program (M.A. program), Georgetown University, Spring 2020. Led a war game, “Sleeping
    Giants,” focusing on the use of sub-state proxies in the U.S.-China competition.
Foundation for Defense of Democracies, January 2020. Led a tabletop exercise focusing on the strategic
    implications of the investment relationship between the People’s Republic of China and Israel.
Johns Hopkins University, Fall 2019. Led a war game, “Sleeping Giants,” focusing on the use of sub-state proxies
    in the U.S.-China competition.
Johns Hopkins University, Fall 2018. Led a war game simulating the regional and global response to the climate-
    induced collapse of the Pakistani state.
Johns Hopkins University, Fall 2017. Led a war game simulating the regional and global response to a major terrorist
    plot targeting Central Europe.
Security Studies Program (M.A. program), Georgetown University, Washington, D.C., 2013-17. Taught a course
    (Violent Non-State Actors) that regularly incorporated war games as part of the curriculum.
Canadian Department of National Defence, 2016. Principal Investigator for grant using scenario planning to
    conceptualize ISIS’s possible futures in North and West Africa.
Johns Hopkins University, Fall 2016. Led a post-9/11 war game, in which teams positioned themselves to respond
    to al-Qaeda’s attacks against America.
Johns Hopkins University, Fall 2015. Led a post-9/11 war game, in which teams positioned themselves to respond
    to al-Qaeda’s attacks against America.

SELECTED CLIENT WORK
Naval Postgraduate School (NPS). 2009-present. Work as a Subject Matter Expert lecturing for military units
     deploying to critical regions for NPS’s LDESP program.
Foundation for Defense of Democracies (FDD). 2015-present. I lead Valens’s efforts to enhance FDD’s security
     posture. Projects I have led include background checks into new employees, a review of the office’s security
     architecture and procedures, and a personal security review of one of the think tank’s executives.
Global Counterterrorism Forum (GCTF). 2018-present. Lead Subject Matter Expert on the Counterterrorism
     Watchlisting Toolkit (October 2021), the Addendum to the GCTF New York Memorandum on Good Practices for
     Interdicting Terrorist Travel (September 2021), and the Berlin Memorandum on Good Practices for Countering Terrorist Use
     of Unmanned Aerial Systems. I also served as the lead SME for a project on racially and ethnically-motivated
     violent extremism.
Jigsaw/Google. 2015-17. Lead regular research projects for Jigsaw/Google helping the organization understand
     trends in violent extremism and harassment in the online space, and how they can be countered.
NATO. 2016-17. Led study for NATO proposing a new methodology for monitoring and evaluation (M&E) of
     counterterrorism efforts; and designed a software platform to house monitoring and evaluation of future
     counterterrorism security assistance missions.
Global Engagement Center, 2017. I led a project analyzing the audience impact of counter-narratives to extremist
     content on YouTube. My team automatically extracted 53 variables about relevant videos and accompanying
     comments. The extracted data was augmented with additional information, including algorithmic language
     detection, translation, and sentiment scoring to provide a granular look at various metrics and trends.
European Union Technical Assistance to Nigeria’s evolving Security challenges (EUTANS). 2016. Served as a
     Subject Matter Expert in Strategic Communication. Organized, presented at and facilitated a conference in
     Abuja where civil society activists were introduced to Boko Haram’s use of social media, grappled with their role
     in responding to online extremism, and produced a Strategic Action Plan.
Check-6. 2014-2016. Led threat analysis for this oil and gas firm, helping them make vital decisions about whether
     to let their employees travel through certain dangerous or unstable countries.


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Tullow Oil. 2015. Led team conducting an assessment of the likely impact of al-Shabaab’s insurgency in Somalia on
    a possible pipeline investment in the Horn of Africa.
Joint Improvised-Threat Defeat Organization (JIDO). 2014-2015. Worked on four projects: projecting the future (to
    2024) of a variety of violent non-state actors; building scenarios in which the Syria conflict could spill into
    Jordan; analyzing the offensive that the Islamic State (ISIS) undertook in Iraq; and analyzing the Libyan civil
    war.
Ministry of Foreign Affairs, The Netherlands. 2014-2015. Headed major project advising EU policymakers on
    options for addressing the crisis in North Africa.
U.S. Department of State, Office of Anti-Terrorism Assistance. 2007-2010. Subject Matter Expert designing and
    leading training for three separate projects (Mitigating Prison Inmate Radicalization course; and modules on
    Trends in Terrorism, and Terrorism: Overview, Motives, and Methodologies).
Corporate Risk International. 2008-09. Subject matter consultant on Iraqi insurgent group Asa’ib Ahl al-Haq for live
    hostage negotiation.

BOOKS AND MONOGRAPHS
Enemies, Near and Far, forthcoming 2022 from Columbia University Press.
Crypto-Fascists: Cryptocurrency Usage by Domestic Extremists (with V. Koduvayur and S. Hodgson), FDD Press, 2022.
DHS @ 20: Navigating a Changing Security Environment, New America Foundation, August 2021.
Skinheads, Saints, and (National) Socialists: An Overview of the Transnational White Supremacist Movement, FDD Press, 2021.
Behind the Black Bloc: An Overview of Militant Anarchism and Anti-Fascism, FDD Press, 2021.
“Like a Drop of Cyanide”: A Strategic Framework for Addressing Hateful Conduct and Radicalization in the Canadian Armed
     Forces, report for Canada’s Department of National Defence, September 2020.
Through the Adversary’s Eyes: A Review of the Pro-Kremlin, Anti-CAF, Anti-NATO Digital Information Ecosystem, report for
     Canada’s Department of National Defence, August 2020.
How to Master the Strategic Environment of Sub-State Threats Through Applied Artificial Intelligence (with E. Chace-Donahue
     and S. Carvin), report for Canada’s Department of National Defence, January 2020.
Virtual Plotters. Drones. Weaponized AI?: Violent Non-State Actors as Deadly Early Adopters, report for Canada’s
     Department of National Defence, July 2019.
Evolving Terror: The Development of Jihadist Operations Targeting Western Interests in Africa (with J. Zenn, S. Sheafer & S.
     Bejdic), Foundation for Defense of Democracies, 2018.
Islamic State 2021: Possible Futures in North and West Africa, Foundation for Defense of Democracies, 2017.
The Islamic State’s Global Propaganda Strategy (with N. Barr and B. Moreng), ICCT—The Hague, 2016.
Islamic State vs. al-Qaeda: Strategic Dimensions of a Patricidal Conflict (with J. Fritz, B. Moreng and N. Barr), New America
     Foundation, 2015.
The Winner’s Messaging Strategy of the Islamic State: Technically Excellent, Vulnerable to Disruption (with N. Barr), Wikistrat,
     2015.
The Crisis in North Africa: Implications for Europe and Options for EU Policymakers (with N. Barr, G. Willcoxon, and N.
     Basuni), Netherlands Institute of International Relations Clingendael, 2015.
Dignity and Dawn: Libya’s Escalating Civil War (with N. Barr), ICCT—The Hague, 2015.
Ansar Bayt al-Maqdis’s Oath of Allegiance to the Islamic State, Wikistrat, 2015.
China’s Post-2014 Role in Afghanistan, Washington, DC: FDD Press, 2014.
Ed. (with J. Schanzer), Allies, Adversaries and Enemies: America’s Increasingly Complex Alliances, Washington, DC: FDD
     Press, 2014.
Raising the Stakes: Ansar al-Sharia in Tunisia’s Shift to Jihad (with B. Moreng and K. Soucy), ICCT–The Hague, 2014.
Ansar al-Sharia Tunisia’s Long Game: Dawa, Hisba, and Jihad, ICCT—The Hague, 2013.
The Tactical and Strategic Use of Small Arms by Terrorists and Terrorist Groups (Washington, DC: FDD Press, 2012).
Ed. (with L. Frum), Terror in the Peaceable Kingdom: Understanding and Addressing Violent Extremism in Canada
     (Washington, DC: FDD Press, 2012).
Bin Laden’s Legacy (New York: John Wiley & Sons, 2011).
Ed. (with C. May), The Afghanistan-Pakistan Theater: Militant Islam, Security and Stability (Washington: FDD Press,
     2010).
Terrorism in the West 2008: A Guide to Terrorism Events and Landmark Cases (Washington, DC: FDD Press, 2009).
Homegrown Terrorists in the U.S. and U.K.: An Empirical Examination of the Radicalization Process (Washington, DC: FDD
     Press, 2009).

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Abu Yahya al-Libi: Profile of an Ideologue (Washington, DC: FDD Press, 2008).
Ed. (with C. May), From Energy Crisis to Energy Security: A Reader (Washington, DC: FDD Press, 2008).
Firefighters’ Developing Role in Counterterrorism (New York: Manhattan Institute, 2008).
The Convergence of Crime and Terror, New York: Manhattan Institute, 2007.
My Year Inside Radical Islam, New York: Tarcher/Penguin, 2007.

SELECTED BOOK CHAPTERS
“Jihadism in the Post-Arab Spring Maghreb,” in S. King & A. Magraoui eds., The Lure of Authoritarianism: The Maghreb
    After the Arab Spring, Indiana University Press, 2019.
“Midterm Assessment: Sunni Jihadism,” in J. Hannah ed., Midterm Assessment: The Trump Administration’s Foreign and
    National Security Policies, FDD Press 2019.
“The United States’ Post-9/11 Fight Against al-Qa’ida and the Islamic State: A Losing Effort in Search of a
    Change,” in David W. Lesch & Mark L. Haas eds., The Middle East and the United States: History, Politics and
    Ideologies 6th ed., Routledge 2018.
“Violent Non-State Actor Proxies in the Pakistan-Afghanistan Relationship,” in A. Pande ed., Handbook on
    Contemporary Pakistan, Routledge 2017.
“MENA Countries’ Responses to the Foreign Fighter Phenomenon,” in A. de Guttry et al. eds., Foreign Fighters
    Under International Law and Beyond (The Hague: T.M.C. Asser Press, 2016).
“The Evolution of Post-Ben Ali Tunisian Jihadism,” in A. Celso & R. Nalbandov eds., The Crisis of the African State
    (Quantico, Va.: Marine Corps University Press, 2016).
“The Genesis, Rise, and Uncertain Future of al-Qaeda,” in R. Law ed., The Routledge History of Terrorism, forthcoming
    Routledge, 2015.
“Violent Non-State Actors in the Afghanistan-Pakistan Relationship,” in C. Fair & S. Watson eds., Pakistan’s
    Challenges, University of Pennsylvania Press, 2015.
“Violent Non-State Actors: Paradigmatic Lessons Learned,” in National Security Management in Federal Structures:
    Perspectives from India and the United States (Kochi, India: Centre for Public Policy Research, 2014).
“The Future of Preventive Detention Under International Law,” in Sam Muller ed., The Law of the Future and the
    Future of Law (Hague Institute for the Internationalisation of Law, 2012).
“The Legacy of Osama bin Laden’s Strategy,” in David Kamien ed., The McGraw-Hill Homeland Security Handbook
    (New York: McGraw-Hill, 2012).
“Abducting Islam” (with K. Dabruzzi), in R. Rogan & F. Lanceley, eds., Contemporary Theory, Research and Practice of
    Crisis/Hostage Negotiation (Hampton Press, 2010).

ACADEMIC AND TECHNICAL PUBLICATIONS
“Understanding Shifting Triadic Relationships in the Al-Qaeda/ISIS Faction Ecosystem” (with V.S. Subrahmanian
    et al.), IEEE Transactions on Computational Social Systems, September 23, 2020.
“When Jihadist Factions Split: A Data-Driven Network Analysis” (with S. Hodgson, D. Bellutta, C. Pulice & V.S.
    Subrahmanian), Studies in Conflict & Terrorism (2019).
“Fluidity of the Fringes: Prior Extremist Involvement as a Radicalization Pathway” (with M. Blackman), Studies in
    Conflict & Terrorism (2019).
“How al-Qaeda Works: The Jihadist Group’s Evolving Organizational Design” (with N. Barr), Current Trends in
    Islamist Ideology, May 30, 2018.
“We Squeezed the Balloon: As ISIL Collapses, Jihadism Remains in a Growth Phase,” symposium contribution,
    Texas National Security Review, March 20, 2018.
“Violent Non-State Actors in the Age of Social Media: A Twenty-First Century Problem Requires a Twenty-First
    Century Toolkit,” Georgetown Security Studies Review, special issue, February 2017.
“How al-Qaeda Survived the Islamic State Challenge,” Current Trends in Islamist Ideology (Hudson Institute), August
    30, 2016.
“The Lean Terrorist Cell: How Startup Companies and Violent Non-State Actors Are Changing the Old World
    Order” (with N. Barr), Georgetown Journal of International Affairs 17:2, Summer/Fall 2016.
“An Opening for al-Qaeda” (with N. Barr), Journal of International Security Affairs, Winter 2016.
“Recent Attacks Illuminate the Islamic State’s Europe Attack Network” (with N. Barr), Jamestown Foundation,
    April 27, 2016.
“Tunisian Jihadism After the Sousse Massacre” (with B. Moreng), CTC Sentinel, October 2015.

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“The Role of Iraqi Tribes after the Islamic State’s Ascendance” (with S. Jensen), Military Review, July-August, 2015.
“A Critical Link between Jabhat al-Nusra and al-Qaeda: Abu Humam al-Suri,” Militant Leadership Monitor 6:5 (May
     2015).
“AQAP’s Virtual Jihadist—Bakhsuruf al-Danquluh,” Militant Leadership Monitor 6:1 (January 2015).
“Doha’s Dangerous Dalliance,” Journal of International Security Affairs, Fall/Winter 2014.
“A Temporary Marriage of Convenience: Transnational Jihadists in Proxy Warfare,” Fletcher Security Review 1:2 (May
     2014).
“Lone Wolf Islamic Terrorism: Abdulhakim Mujahid Muhammad (Carlos Bledsoe) Case Study,” Terrorism and
     Political Violence 26:110-28 (2014).
“Timeline: Al-Shabaab’s Attacks Since Kismayo,” Militant Leadership Monitor Quarterly Strategic Report, Oct. 2013.
“Al-Qaeda’s Influential Online Strategist: Abu Sa’d al-Amili,” Militant Leadership Monitor, Oct. 2013.
“Al-Qa`ida in the Islamic Maghreb’s Tunisia Strategy” (with A. Zelin and A. Lebovich,” CTC Sentinel, July 23, 2013.
“Perceptions of the ‘Arab Spring’ Within the Salafi Jihadi Movement” (with T. Vassefi), Studies in Conflict & Terrorism
     35:12, Nov. 2012.
“The Forgotten History of Afghanistan-Pakistan Relations” (with T. Vassefi), Yale Journal of International Affairs, Mar.
     2012.
“Islamistischer Terrorismus in den USA: ‘Homegrown Terrorism’ in den Vereinigten Staaten: Bedrohung, Ursachen
     und Prävention,” Der Bürger im Staat (Germany), Winter 2011.
“Al Qaeda’s Rope-a-Dope,” Journal of International Security Affairs, Fall/Winter 2011.
“Leadership vs. Leaderless Resistance: The Militant White Separatist Movement’s Operating Model” (with M.
     Gruen), Foundation for Defense of Democracies, February 18, 2010.
“Assessing the Militant White Separatist Movement” (with M. Gruen), Foundation for Defense of Democracies,
     January 28, 2010.
“The Strategic Challenge of Somalia’s al Shabaab,” Middle East Quarterly, Fall 2009.
“Fixing Our Pakistan Problem,” Journal of International Security Affairs, Spring 2009.
“The Role of Consensus in the Contemporary Struggle for Islam,” Review of Faith & International Affairs, Winter 2008.
“Is al-Qaeda’s Central Leadership Still Relevant?” (with K. Dabruzzi), Middle East Quarterly, Spring 2008.
“Jihad’s New Leaders” (with K. Dabruzzi), Middle East Quarterly, Summer 2007.

SELECTED COMMENTARY, OP-EDS & POLICY ANALYSIS
“America Drops the Ball on White Supremacist Terror Groups” (with V. Koduvayur), Foreign Policy, December 21,
    2021.
“Bordering on Hate: The Strategic Implications of White Supremacist Extremist Travel between the United States
    and Canada” (with C. Clarke and S. Hodgson), International Centre for Counter-Terrorism – The Hague, April
    13, 2021.
“The Evolution and Escalation of the Islamic State Threat to Mozambique” (with E. Chace-Donahue and C.
    Clarke), Foreign Policy Research Institute, April 13, 2021.
“8 Principles of Crisis Architecture Can Help Mitigate Active Shooters” (with T. Lahnert), FacilitiesNet, August 2020.
“Sudanese Human Smuggling Networks: Fueling Instability from North Africa to Europe” (with P. Chalk & C.
    Clarke), International Centre for Counter-Terrorism – The Hague, June 29, 2020.
“The Threat of Jihadist Terrorism in Germany” (with E. Chace-Donahue & C. Clarke), International Centre for
    Counter-Terrorism – The Hague, May 22, 2020.
“The Russian Imperial Movement (RIM) and Its Links to the Transnational White Supremacist Extremist
    Movement” (with S. Hodgson & C. Clarke), International Centre for Counter-Terrorism – The Hague, April 24,
    2020.
“The Growing Threat Posed by Accelerationism and Accelerationist Groups Worldwide” (with C. Clarke and S.
    Hodgson), Foreign Policy Research Institute, April 20, 2020.
“Foreign Terrorist Fighters from Southeast Asia: What Happens Next?” (with C. Clarke and S. Hodgson),
    International Centre for Counter-Terrorism – The Hague, February 17, 2020.
“The Enduring Legacy of French and Belgian Islamic State Foreign Fighters” (with C. Clarke & E. Chace-
    Donahue), Foreign Policy Research Institute, February 5, 2020.
“Terrorists and Technological Innovation” (with C. Clarke and M. Shear), Lawfare, February 2, 2020.
“What Do Asia’s Returning Isis Fighters Do Next? You’re About to Find Out” (with C. Clarke), South China Morning
    Post, February 2, 2020.

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“Greece is the Weak Spot in Post-Caliphate European Counterterrorism (with C. Clarke), The National Interest,
     January 31, 2020.
“How to Win Friends and Wage Jihad: Understanding al Qaeda’s Pragmatism” (with V. Koduvayur), Foreign Affairs,
     July 1, 2019.
“The Growing Challenge of Aviation Insider Threats” (with S. Sheafer), Aviation Security International, December 19,
     2018.
“The Demographics of Southeast Asian Jihadism” (with V. Hagerty & M. Dement), War on the Rocks, September 5,
     2018.
“Terrorists Are Going to Use Artificial Intelligence,” Defense One, May 3, 2018.
“The Emigrant Sisters Return: The Growing Role of the Islamic State’s Women” (with V. Hagerty and L. Macnair),
     War on the Rocks, April 2, 2018.
“Spike in African Terrorism Highlights the Importance of Jihadist Innovation,” War on the Rocks, February 26, 2018.
“Terrorists Are Using Drones Now. And That’s Not the Worst of It,” Fortune, September 9, 2017.
“Save the Terrorism Prevention Toolkit” (with G. Selim), War on the Rocks, August 28, 2017.
“The Manchester Attack Shows How Terrorists Learn,” The Atlantic, May 23, 2017.
“Lone Wolves No More,” Foreign Affairs, March 27, 2017.
“The Coming Islamic Culture War” (with N. Barr), Foreign Affairs, March 4, 2017.
“U.S. Policy in Afghanistan: What to Expect from Trump,” Centre on Religion & Geopolitics, Tony Blair Faith
     Foundation, February 6, 2017.
“Terrorists, Insurgents, Something Else? Clarifying and Classifying the ‘Generational Challenge’” (with J. Zenn),
     Lawfare, January 15, 2017.
“ISIL’s Virtual Planners: A Critical Terrorist Innovation,” War on the Rocks, January 4, 2017.
“Trump Wants to Shake Up the World Order? Here’s Where He Should Start,” Politico, December 11, 2016.
“A Grim Anniversary: 15 Years after 9/11, the War against Radical Islamist Terrorism is not Looking Good,” New
     York Daily News, September 11, 2016.
“Rebranding Terror” (with T. Joscelyn), Foreign Affairs, August 28, 2016.
“Boko Haram’s Doomed Marriage to the Islamic State” (with J. Zenn), War on the Rocks, August 26, 2016.
“The Myth of Lone-Wolf Terrorism” (with N. Barr), Foreign Affairs, July 27, 2016.
“Bloody Ramadan: How the Islamic State Coordinated a Global Terrorist Campaign,” War on the Rocks, July 20,
     2016.
“ISIS May be on the Decline—But Beware al-Qaeda,” New York Post, June 29, 2016.
“Boko Haram’s Buyer’s Remorse” (with J. Zenn), Foreign Policy, June 20, 2016.
“Uncovering if Pulse Club Massacre in Orlando Was an ‘ISIS Attack,’” New York Daily News, June 12, 2016.
“Operation Hemorrhage: The Terror Plans to Wreck the West’s Economy,” Daily Beast, March 24, 2016.
“Osama bin Laden’s ‘Bookshelf’ Reveals al-Qaeda’s Long Game,” Daily Beast, March 17, 2016.
“Neither Remaining Nor Expanding: The Islamic State’s Global Expansion Struggles,” War on the Rocks, February
     22, 2016.
“The CIA’s Syria Program and the Perils of Proxies,” Daily Beast, January 19, 2016.
“How ISIS Makes Money: Oil Sales,” The Cipher Brief, January 14, 2016.
“Islamic State vs. al-Qaeda: The War within the Jihadist Movement,” War on the Rocks, January 13, 2016.
“Druze Clues: Al Nusra’s Rebranding and What It Means for Syria,” Foreign Affairs, October 6, 2015.
“Sunni Tribes Need Arms and Support to Fight ISIS,” New York Times, June 1, 2015.
“Europe’s Volatile Southern Neighbourhood,” Netherlands Institute of International Relations (Clingendael), April
     2015.
“The Losing War Against Ungoverned Spaces,” Pragati, April 28, 2015.
“Al Qaeda is Beating the Islamic State,” Politico, April 14, 2015.
“From Westgate to Garissa, Shabab’s Murderous Wave,” Foreign Policy, April 10, 2015.
“The Islamic State’s African Long Con,” Foreign Policy, March 16, 2015.
“Is Libya the Next Stronghold for the Islamic State?” (with N. Barr), Foreign Policy, March 2, 2015.
“The Truth About ISIS… They’re Better at Twitter than War,” Spectator (U.K.), January 10, 2015.
“Reaction to the Charlie Hebdo Massacre Shows How We’ve Lost Our Free-Speech Spine,” New York Daily News,
     January 7, 2015.
“ISIS is Losing Its Greatest Weapon: Momentum,” The Atlantic, January 6, 2015.
“China No Substitute for U.S. Involvement Over Afghanistan,” CNN, October 29, 2014.

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“Thank You for Bombing,” Foreign Policy, September 24, 2014.
“The Islamic State’s Vulnerability,” War on the Rocks, September 17, 2014.
“Libya’s Islamist Counteroffensive,” War on the Rocks, August 13, 2014.
“Zawahiri’s Revenge,” Foreign Policy, July 31, 2014.
“The Jihadist Governance Dilemma” (with A. Magen), Washington Post (Monkey Cage blog), July 18, 2014.
“Is the Threat Posed by Former Guantánamo Detainees Exaggerated?,” Congressional Quarterly, June 27, 2014.
“China’s Post-2014 Afghanistan Strategy,” Pragati, June 22, 2014.
“Massacre in Mpeketoni: Shabaab’s Strategic Calculus” (with H. Appel), Georgetown Journal of International Affairs, June
     21, 2014.
“Terror’s Comeback Kids,” The Spectator (U.K.), June 21, 2014.
“When America’s Enemies Are Also Its Friends” (with J. Schanzer), The National Interest, June 16, 2014.
“Our Libya Intervention—Failure Disguised as Success,” National Post (Canada), May 16, 2014.
“Safer Now?: Balancing Privacy and Security after the Boston Bombings,” America, April 14, 2014.
“Al-Shabaab’s Insurgency in Somalia: A Data-Based Snapshot” (with H. Appel), Georgetown Journal of International
     Affairs, April 3, 2014.
“The Lies American Jihadists Tell Themselves,” Foreign Policy, Mar. 21, 2014.
“Russia’s ‘Ring of Steel’ Around Sochi Can’t Stop Terror Attacks Outside,” New York Daily News, Jan. 26, 2014.
“Obama’s Kobe Bryant-Al-Qaeda Flap,” Daily Beast, Jan. 22, 2014.
“Interpreting Al-Qaeda,” Foreign Policy, Jan. 6, 2014.
“Al-Qaeda’s Big Year,” Politico, Dec. 29, 2013.
“Afghanistan After the U.S. Drawdown,” Pragati, December 6, 2013.
“Two Cheers for New TSA Screening,” New York Daily News, November 19, 2013.
“The Arab World’s Dimmed Revolutionary Fervour,” Pragati, Oct. 4, 2013.
“The Westgate Mall Attack and the Future of Terrorism,” Georgetown Journal of International Affairs, Sept. 23, 2013.
“Why Qatar is Quietly Supporting a U.S. Strike in Syria” (with J. Schanzer), Atlantic, Sept. 3, 2013.
“The Costs of Counterterrorism,” Townhall Magazine, Sept. 2013.
“Turkey’s Mixed Messages on Syria” (with J. Schanzer), Atlantic, Aug. 30, 2013.
“How We Killed Privacy—in 4 Easy Steps” (with K. Atherton), Foreign Policy, August 23, 2013.
“How Syria’s Jihadists Win Friends and Influence People” (with P. Smyth), Atlantic, August 22, 2013.
“Gitmo’s Czar Speaks Out,” Politico, Aug. 13, 2013.
“The Cuban in the Desert,” Foreign Policy, Aug. 13, 2013.
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    Violent Extremism (REMVE) Toolkit Initiative, webinar, February 3, 2022.
Featured Guest, Virtual Happy Hour, Defense and Intelligence Innovation Ecosystem, January 3, 2022.
Panelist, “Malevolent Platforms: How to Eradicate Them While Preserving Freedom of Speech and Other Legal
    Protections That Foster the Global Exchange of Information,” Eradicate Hate Global Summit 2021, Pittsburgh,
    Pa., October 20, 2021.
Panelist, “The Virus of Hate: COVID-19 as a Breeding Ground for Extremism,” Eradicate Hate Global Summit
    2021, Pittsburgh, Pa., October 18, 2021.
Panelist, “9/11 Lessons Learned,” 4th Great Power Competition Conference: Two Decades After 9/11, co-
    sponsored by the University of South Florida and National Defense University, webinar, September 23, 2021.
“Worldbuilding in the Practice of Wargaming: What Wargamers Can Learn from the Techniques of Hollywood
    Blockbusters & Bestselling Novelists,” National Defense University (webinar), June 30, 2021.
“Preventing Misuse of Cyberspace and New Technologies: Developing Ideas, Skills, and Toolkits for Practitioners,”
    Second United Nations High-Level Conference on Counter-Terrorism, June 28, 2021.
“Crisis Architecture,” Proto-Talks, Protogetic (webinar), June 24, 2021.
“Applying Existing GCTF Resources to REMVE,” Global Counterterrorism Forum, Second Exploratory Dialogue
    on Racially or Ethnically Motivated Violent Extremism, Global (webinar), April 29, 2021.
“After January 6: Social Media, Mobilizations & Militant Groups,” Proto-Talks, Protogetic (webinar), April 22, 2021.
“A Conversation on Wargaming,” Institute for Politics and Strategy, Carnegie Mellon University (webinar), April 9,
    2021.
“Countering the Rising Tide of Domestic Extremism: How We Got Our Current Toolkit, and How to Expand It,”
    Council on Foreign Relations, March 10, 2021.
“‘Like a Drop of Cyanide’ – A Strategic Framework for Addressing Hateful Conduct and Radicalization in the
    Canadian Armed Forces,” Royal Canadian Air Force, March 3, 2021.
Moderator, “Artificial Intelligence and Challenges in National Security,” National Security Alumni Network,
    Foundation for Defense of Democracies, February 18, 2021.
“‘Like a Drop of Cyanide’ – A Strategic Framework for Addressing Hateful Conduct and Radicalization in the
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“‘Like a Drop of Cyanide’ – A Strategic Framework for Addressing Hateful Conduct and Radicalization in the
    Canadian Armed Forces,” Director General Military Personnel Research and Analysis, Ottawa (via webinar),
    January 8, 2021.
“Terrorists, Technology, Tactics: Understanding How Violent Non-State Actors Engage in Organizational
    Learning,” Global Terrorism Trends and Analysis Center Speaker Series, December 17, 2020.
“Addressing Mass Shootings Through the Built Environment,” TEDxTemecula, Temecula, Calif., posted online
    December 7, 2020.
“‘Like a Drop of Cyanide’ – A Strategic Framework for Addressing Hateful Conduct and Radicalization in the
    Canadian Armed Forces,” MINDS Virtual Expert Briefing, Canadian Department of National Defence,
    December 2, 2020.
“Preventing White Supremacist Violent Extremism,” Duke University (webinar), September 11, 2020.
“Maritime Security and Terrorist Travel: A Global Overview,” keynote presentation, Virtual Consultation on the
    Implications of Terrorist Travel in the Maritime Domain, Global Counterterrorism Forum, July 21, 2020.

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“Update on Terrorism—Expectations for 2020 and Beyond,” Infonex Canadian BCP and Emergency Management
     2020 Conference, Ottawa, January 28, 2020.
“Violent Non-State Actors as Deadly Early Adopters,” Canadian Department of National Defence, Ottawa,
     September 18, 2019.
 “Future Global Trends and Asymmetric Warfare,” keynote speech, Changing Nature of Conflicts Workshop, Near
     East South Asia Center for Strategic Studies, National Defense University, Casablanca, Morocco, June 18, 2019.
“CT Challenges: What’s Going Well, What’s Not Going Well,” Beyond Christchurch and the Caliphate: Terrorism’s
     Futures, conference hosted by the Australian Government & Australian National University, Canberra,
     Australia, June 5, 2019.
“Current and Emerging Technologies,” keynote speech, 2019 Sovereign Challenge Program Annual Conference,
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“The Violent Non-State Actor Technology Adoption Curve,” T2 Conference on Technology and the Future of
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“Artificial Intelligence and Asymmetric Warfare,” Near East South Asia Center for Strategic Studies, National
     Defense University, Washington, D.C., February 7, 2019.
“The Current Threat to Civil Aviation,” keynote address, Airport IT & Security 2018 conference, Amsterdam, Dec.
     4, 2018.
“#Extremism: Social Media, Recruitment, Radicalization and Counternarratives,” Partnering in Practice: Preventing
     Social Polarizations conference, Edmonton, Alberta, December 1, 2018.
“The Past, Present and Future of al-Qaeda,” Campbell University, Buies Creek, N.C., September 20, 2018.
“Islamic State’s Virtual Planners Model,” The Jamestown Foundation, Washington, D.C., June 6, 2018.
Panelist on Academic Panel, Defense Combating Terrorism Intelligence Conference, Reston, Va., May 15, 2018.
“Artificial Intelligence and Asymmetric Warfare,” presentation at NESA-AFRICOM Senior Leaders Dialogue,
     Tunis, Tunisia, May 2, 2018.
“Technology Tsunami,” U.S. Army Special Operations Command (USASOC) Young Lions Program, Fort Bragg,
     N.C., February 7, 2018.
“Evolving Terror: The Development of Jihadist Operations Targeting Western Interests in Africa,” Defence
     Engagement Program, Canadian Department of National Defence, Ottawa, Jan. 29, 2018.
“The World and I: How Global Events Can Shape the Threats You Confront Locally,” keynote speech, Counter
     Terrorism Symposium, Miami International Airport Auditorium, Miami, Fla., Jan. 23, 2018.
“The World and I: How Global Events Can Shape the Threats You Confront Locally,” Anti-Defamation League
     Advanced Training School, Washington, D.C., December 5, 2017.
“Islamic Extremist Propaganda,” Institute of World Politics, Washington, D.C., November 28, 2017.
“Countering Radicalization: What Can Be Done?,” Enriching the Middle East’s Economic Future conference,
     sponsored by UCLA Center for Middle East Development, Doha, November 13, 2017.
“Combating Online Radicalization” (panelist), Foundation for Defense of Democracies, Washington, D.C.,
     November 9, 2017.
“Technology Tsunami,” U.S. Army Special Operations Command (USASOC) Young Lions Program, Fort Bragg,
     N.C., October 26, 2017.
“The Evolving Jihadist Ideology and Its Implications for the Intentions of al-Qaeda Core and al-Qaeda in Syria,”
     workshop presentation, Canadian Security Intelligence Service, Ottawa, October 3, 2017.
“Assessing the Next Steps of Foreign Fighters in Iraq/Syria,” workshop presentation, hosted by CENTRA
     Technologies, Arlington, Va., September 28, 2017.
“Information Tools to Support Counterterrorism Capacity-Building Collaboration,” workshop presentation, NATO
     Center of Excellence – Defense Against Terrorism, Ankara, Turkey, September 21, 2017.
“Sixteen Years After 9/11: Assessing the Terrorist Threat” (panel), New America Foundation, Washington, D.C.,
     September 11, 2017.
“The Jihadist Landscape in South Asia,” Near East South Asia Center, National Defense University, Washington,
     D.C., August 14, 2017.
 “Change or Continuity Since 2014: ISIS in Global Context,” The Evolving Terrorist Threat conference, The
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“Future of the Salafi Jihadist Movement” (presenter), The Ideology of Salafi Jihadism, CENTRA Technologies,
    conference hosted for the U.S. intelligence community, McLean, Va., June 6, 2017.
“Organizational Adaptation” (panelist), Anticipating Adaptation and Innovation in Terrorist External Attack
    Planning, CENTRA Technologies, conference hosted for the U.S. intelligence community, Arlington, Va., May
    22, 2017.
“Terrorism in 2020” (panel), Department of Defense Combating Terrorism Intelligence Conference, Reston, Va.,
    May 9, 2017.
“Countering Violent Extremism,” presenter and panelist, Homeland Security Training Institute, College of DuPage,
    Glen Ellyn, Ill., March 29, 2017.
“After the Islamic State: Consequences and Beneficiaries,” panelist, Foundation for Defense of Democracies,
    Washington, D.C., March 7, 2017.
“Counterterrorism/Extremism and the Internet Challenge,” respondent, Quad-Plus Dialogue, hosted at the
    Heritage Foundation, Washington, DC, March 1, 2017.
“A Deep Dive on al-Qaeda’s Syrian Branch,” Al-Qaeda in 2017 Workshop, Washington Institute for Near East
    Policy, Washington, DC, March 1, 2017.
“Terrorism in Conflict Zones: Syria in Comparison,” CENTRA Technologies, conference for U.S. intelligence
    community, Arlington, Va., February 23, 2017.
“The Jihadist Landscape in South Asia,” Near East South Asia Center, National Defense University, Washington,
    D.C., February 6, 2017.
“What Next? Regional Trends and Threats,” Conference on What the New Administration Needs to Know About
    Terrorism & Counterterrorism, Georgetown University Center for Security Studies and St Andrews University
    Handa Centre for the Study of Terrorism and Political Violence, Washington, D.C., January 26, 2017.
“How Does it All End?” workshop, panelist, National Counterterrorism Center (NCTC), McLean, Va., January 12-
    13, 2017.
“The Jihadi Threat: ISIS, al-Qaeda and Beyond,” panel, U.S. Institute of Peace, Washington, D.C., December 12,
    2016.
“The Islamic State’s Virtual Planners: A New Method of Terrorist Attack for the Social Media Age,” Anti-
    Defamation League Advanced Training School, Washington, D.C., Dec. 6, 2016.
Keynote speech, After ISIL: Stability and Spillover, sponsored by U.S. Army Special Operations Command and the
    Laboratory for Unconventional Conflict & Simulation (LUCAS), Duke University, Durham, N.C., Dec. 2, 2016.
“The Growing Challenge,” keynote address, Social Media Narratives and Extremism Workshop, sponsored by the
    Near East South Asia Center, National Defense University, Casablanca, Morocco, August 16-17, 2016.
“The Future of Violent Extremism,” Executive Program in Counter-Terrorism, CREATE center, University of
    Southern California, Los Angeles, August 3, 2016.
“The Jihadist Landscape in South Asia,” Near East South Asia Center, National Defense University, Washington,
    DC, July 14, 2016.
“As the Rest of the World Gets Online: Implications for Militant Groups, Stability, and Social Change,” keynote
    speech, Transportation Security Administration (TSA) Intel Talk series, Arlington, Va., July 13, 2016.
“Degree of Local and Popular Support for the Islamic State Provinces,” Beyond Syria and Iraq conference,
    Washington Institute for Near East Policy, Washington, D.C., June 9, 2016.
“Transnational Terrorism, Foreign Fighters and Youth Radicalization,” Developing Strategies to Address
    Contemporary Security Challenges on Europe’s Southern Flank, George C. Marshall European Center for
    Security Studies, Garmisch, Germany, May 10, 2016.
“Cyber Technology Roles and Trends in Radicalization,” keynote presentation, U.S. Army Special Operations
    Command Commander’s Conference, West Point, N.Y., May 4, 2016.
“Jihadism: Can It Be Defeated?,” Foundation for Defense of Democracies, Washington Forum, Washington, DC,
    April 13, 2016.
“Global Cyber-Vulnerabilities: Threats, Challenges, and Opportunities,” Foundation for Defense of Democracies,
    Washington, DC, March 9, 2016.
“The Competition between the Islamic State and al-Qaeda,” The New Global Reality: Challenges and Risks to
    Regional Stability international conference, Kazakhstan Institute for Strategic Studies, Astana, Kazakhstan,
    March 2, 2016.
“The Three I’s: Iran, Iraq, ISIS,” Near East South Asia Center, National Defense University, Arlington, Va.,
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Col. Richard R. Hallock Lecture Series, Columbus State University, Columbus, Ga., October 12, 2015.
“The Competition between the Islamic State and al-Qaeda: Implications for Regional States and the Future of the
    Jihadist Movement,” NATO Advanced Research Workshop, Brussels, October 6, 2015.
“The Nexus Between Crime and Terror,” Counter-Threat Finance Working Group, U.S. Special Operations
    Command (SOCOM), Tampa, Fla., September 22, 2015.
“ISIS: The New Caliphate?” Near East South Asia Center, National Defense University, Washington, DC,
    September 21, 2015.
“Lone Wolves and Loose Networks,” International Institute for Counter-Terrorism, World Summit on Counter-
    Terrorism, Herzliya, Israel, September 9, 2015.
“The ‘Islamic State’: The Future of Global Jihad?,” International Institute for Counter-Terrorism, World Summit on
    Counter-Terrorism, Herzliya, Israel, September 8, 2015.
“Al-Qaeda and Its Affiliates,” National Center for Risk and Economic Analysis of Terrorism Events (CREATE),
    Executive Program in Counterterrorism, University of Southern California, Los Angeles, August 19, 2015.
“The Middle East: Now and Next,” The Chautauqua Institution, Chautauqua, N.Y., August 17, 2015.
“The Chaotic Future of the Middle East,” Near Futures for the Near East: A Government-Academic Dialogue,
    Minerva Research Initiative/Defense Intelligence Agency, Alexandria, Va., August 5, 2015.
“The Competition between the Islamic State and al-Qaeda,” Center for American Progress, Washington, DC, May
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“Mapping the Global Islamist Insurgency,” Heritage Foundation, Washington, DC, May 5, 2015.
“ISIS: Burning, Beheading and Mass Executions,” Sun Valley Global Affairs Forum, Sun Valley, ID, April 23, 2015.
“Are We Still Fighting a War on Terrorism?”, Washington Forum, Foundation for Defense of Democracies,
    Washington, DC, April 15, 2015.
“Libya’s Escalating Civil War,” Royal United Services Institute, London, 13 March 2015.
“Libya’s Escalating Civil War,” International Centre for Counter-Terrorism—The Hague, March 12, 2015.
“On Tribalism, Jihadists, and Lone Wolf Political Violence,” panel, Understanding the Extremist Threat workshop,
    Institute for National Strategic Studies, Washington, DC, March 11, 2015.
“Terrorism in Canada,” Infonex Canadian Emergency Management Conference, Ottawa, January 20, 2015.
“The Islamic State: A New Genre of Foe for a New Media Age,” Brandeis University, Waltham, Mass., Nov. 13,
    2014.
“Successes and Failures of the U.S. and NATO Intervention in Libya,” Association for the Study of the Middle East
    and Africa Annual Conference, Arlington, Va., Nov. 1, 2014.
 “The ISIL Campaign in Anbar,” National Defense University, Washington, D.C., October 20, 2014.
“Pakistan: Protests and Policy,” Foundation for Defense of Democracies, Washington, D.C., September 19, 2014.
“Terrorism and the United Arab Emirates,” National Defense College, Abu Dhabi, September 14, 2014.
“Competition vs. Cooperation in Global Jihad,” International Institute for Counter-Terrorism, World Summit on
    Counter-Terrorism, Herzliya, Israel, Sept. 11, 2014.
“Using a Political Science Ph.D. in DC: Skills and Training for Non-Traditional Opportunities” (panel), American
    Political Science Association Annual Meeting, Toronto, August 28, 2014.
“Keeping Our Friends Close and Our Frenemies Closer?” Foundation for Defense of Democracies, Washington,
    D.C., July 11, 2014.
“Tunisia and Ansar al-Sharia: Foreign Fighters and the Evolution of a Jihadist Group,” Combating Terrorism
    Working Group, Brussels, April 24, 2014.
“Loss of Distance and the Public Intellectual: Twitter’s Impact on How We Interact and Think,” Wake Forest
    University Argumentation Conference, Winston-Salem, N.C., April 12, 2014.
“The Prospects of Governance in Somalia,” Georgetown University, Washington, D.C., Mar. 5, 2014.
“Ansar al-Sharia’s War with Tunisia,” International Centre for Counter-Terrorism—The Hague, The Hague,
    Netherlands, Feb. 20, 2014.
“Understanding Al-Qaeda and its Affiliates: A Global Threat or JV Squad?” Foundation for Defense of
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     Kochi, India, Dec. 6, 2013.
“Afghanistan After the United States Drawdown,” Takshashila Institution, Bangalore, India, Dec. 5, 2013.
“Afghanistan After the United States Drawdown,” O.P. Jindal Global University, Sonipat, India, Dec. 4, 2013.
“Who Calls the Shots? Syria, Russia, Hezbollah” (discussant), Association for the Study of the Middle East and
     Africa Annual Conference, Arlington, Va., Nov. 23, 2013.
“Ansar al-Sharia Tunisia’s Long Game: Dawa, Hisba, and Jihad,” Association for the Study of the Middle East and
     Africa Annual Conference, Arlington, Va., Nov. 22, 2013.
“Afghanistan After the U.S. Withdrawal,” Takshashila Institution, Graduate Certificate in Public Policy program
     (webinar), Nov. 16, 2013.
Panel: “The Challenge of Violent Non-State Actors and the Academy,” Wake Forest University, Winston-Salem,
     N.C., Oct. 10, 2013.
Panel: “Africa’s Youth in the Age of Extremism,” National Committee on American Foreign Policy, New York
     City, Sept. 26, 2013.
Panel: “Homegrown Terrorism, Local Initiative, and ‘Lone Wolves,’” International Institute for Counter-Terrorism,
     World Summit on Counter-Terrorism, Herzliya, Israel, Sept. 11, 2013.
Panel: “From A to Z: Al-Qaeda Central and Its Affiliates,” International Institute for Counter-Terrorism, World
     Summit on Counter-Terrorism, Herzliya, Israel, Sept. 10, 2013.
“Ansar al-Sharia Tunisia: Dawa, Hisba, and Jihad,” International Centre for Counter-Terrorism—The Hague,
     Brussels, Belgium, Apr. 19, 2013.
“Policy Under Fire: How Should the U.S. Handle the Non-Criminal Detention of Violent Non-State Actors?”
     Foundation for Defense of Democracies, Washington, D.C., Feb. 22, 2013.
“Dispatches from Mali,” discussion sponsored by Foreign Policy and the Pulitzer Center on Crisis Reporting,
     Washington, D.C., Jan. 30, 2013.
“Why Are Consensus Views So Often Wrong in Regional Security Studies?,” Cultural Knowledge Consortium
     Speaker Series, online conference, Nov. 30, 2012.
“Why Are Consensus Views So Often Wrong in Regional Security Studies?,” United States Naval Academy Africa
     Forum, Annapolis, Md., Oct. 17, 2012.
“Why Are Consensus Views So Often Wrong in Regional Security Studies?,” Association for the Study of the
     Middle East and Africa Annual Conference, Arlington, Va., Oct. 12, 2012.
“Lone Wolf Islamic Terrorism: Abdulhakim Mujahid Muhammad (Carlos Bledsoe) Case Study,” Lone Wolf and
     Autonomous Cell Terrorism, conference at Uppsala University, Uppsala, Sweden, Sept. 25, 2012.
“Tactics to Undermine Terrorist Organizations,” University of Maryland at College Park, Washington, D.C., Sept.
     10, 2012.
“The Arab Spring, Organizational Resiliency, and a New Operating Environment: Al Qaeda’s Outlook 2012,”
     Defense Intelligence Agency Speaker Series, Washington, D.C., July 31, 2012.
“Combating Olympic Terrorism: National and International Lessons,” Potomac Institute for Policy Studies,
     Arlington, Va., July 25, 2012.
“Bin Laden’s Legacy: Strategy and the Global Fight Against al Qaeda,” Association for Intelligence Officers,
     Kennebunk, Maine, May 19, 2012.
“The Arab Awakening and the Future of al Qaeda,” Woodrow Wilson International Center for Scholars,
     Washington, D.C., May 10, 2012.
“Homegrown Threats and Radicalization,” 7th Annual Homeland Security Law Institute, American Bar Association,
     Washington, D.C., Mar. 22, 2012.
“Somalia: America’s Forgotten Battleground,” World Affairs Council of Greater Richmond, Richmond, Va., Feb.
     28, 2012.
“Islamist Radicalization,” U.S. Marine Corps Command and Staff College, Quantico, Va., Feb. 22, 2012.
“Al-Qaeda After bin Laden,” School of Advanced International Studies, Johns Hopkins University, Washington,
     D.C., Feb. 21, 2012.
“Bin Laden’s Legacy,” Pakistan Afghanistan Federation Forum, The Pentagon, Arlington, Va., Jan. 20, 2012.
“Foreign Fighter and Radicalization Threats,” Foreign Policy Research Institute, Washington, D.C., Dec. 6, 2011.
“Ungoverned Spaces: The Struggle for Somalia,” Foundation for Defense of Democracies, Washington, D.C., Dec.
     2, 2011.


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“Bin Laden’s Legacy: U.S. Mistakes in the War on Terror,” Cleveland Council on World Affairs, Cleveland, Ohio,
     Nov. 22, 2011.
“Homegrown Terrorism: The Domestic Threat,” Jewish Institute for National Security Affairs, Washington, D.C.,
     Nov. 8, 2011.
“Why al Qaeda is Winning,” Association for the Study of the Middle East and Africa Annual Conference, Arlington,
     Va., Nov. 5, 2011.
“The Bin Laden Aftermath,” World Affairs Council of Greater Richmond, Richmond, Va., Oct. 27, 2011.
“Bin Laden’s Troubled Legacy,” New America Foundation, Washington, D.C., Oct. 18, 2011.
“Bin Laden’s Legacy: U.S. Strategy and the ‘War on Terrorism,’” High Point University, High Point, N.C., Oct. 7,
     2011.
“9/11/01—Ten Years Later,” Campbellsville University, Campbellsville, Ky., Sept. 12, 2011.
“The Future of Terrorism: Combating the Next Wave,” Heritage Foundation, Washington, D.C., Sept. 8, 2011.
“Are We Safer?” (debate with Peter Bergen), National Consortium for the Study of Terrorism and Responses to
     Terrorism, University of Maryland, Washington, D.C., Sept. 1, 2011.
“Bin Laden’s Legacy” (Distinguished Speaker Series), National Center for Risk and Economic Analysis of Terrorism
     Events (CREATE), University of Southern California, Los Angeles, Aug. 4, 2011.
“Terrorist Use of the Internet,” National Counterterrorism Center, Conference on al Qaeda and the Global Threat,
     Warrenton, Va., July 28, 2011.
“Terrorism in Canada,” Foundation for Defense of Democracies, Ottawa, June 12-13, 2011.
“Ideas, Identity, and Terror” (keynote speech), The Impact of Identity Politics on Violent Extremism: Regional
     Perspectives, Global Futures Forum, Monterey, Calif., Apr. 7, 2011.
“Homegrown Terrorists and Lone Wolves,” Government Security Conference and Expo, Washington, D.C., Mar.
     29, 2011.
“Countering Terrorist Narratives,” Council on Foreign Relations, Washington, D.C., Feb. 11, 2011.
“Domestic Intelligence: New Powers, New Risks,” Brennan Center for Justice (New York University School of
     Law), Washington, D.C., Jan. 18, 2011.
“Countering Youth Radicalization,” Preventing Youth Radicalization Conference, Ottawa Police Service, Ottawa,
     Dec. 7, 2010.
“Islamic Radicalization to 2025,” Special Operations Command Europe (SOCEUR), Component Commander’s
     Conference, Garmisch, Germany, Nov. 16, 2010.
“The Economic Strategy of Jihad,” Association for the Study of the Middle East and Africa Annual Conference,
     Arlington, Va., Nov. 6, 2010.
“The al Qaeda Plot in Europe: Testing Transatlantic Security Cooperation,” Foundation for Defense of
     Democracies, Washington, D.C., Oct. 15, 2010.
“Somalia Case Study,” The Foreign Fighter Problem Conference, Foreign Policy Research Institute, Washington,
     D.C., Sept. 27, 2010.
“Americans in al Qaeda,” International Institute for Counter-Terrorism, World Summit on Counter-Terrorism,
     Herzliya, Israel, Sept. 15, 2010.
“The Danger of ‘Homegrown’ Terrorism in the U.S.A.,” Universität Tübingen, Tübingen, Germany, Sept. 9, 2010.
“Academic Perspectives on al-Shabaab,” Inter-Agency Task Force’s Counter-Radicalization Branch, U.S. Special
     Operations Command (SOCOM), Washington, D.C., June 2010.
“The Future of Anti-Money Laundering Efforts,” John Jay College of Criminal Justice, New York City, June 9,
     2010.
“Al Qaeda and the Dynamics of Local: Somalia Case Study,” National Defense University, Washington, D.C., April
     21, 2010.
“The War Against al Qaeda in Somalia,” American Enterprise Institute, Washington, D.C., Apr. 19, 2010.
“Terrorist De-Radicalization Programs,” Heritage Foundation, Washington, D.C., Mar. 26, 2010.
“Islam and the West,” American Political Science Association Annual Meeting, Toronto, September 2009.
“Pakistan’s Military and Religious Extremism,” Foundation for Defense of Democracies, Freeport (The Bahamas),
     June 11, 2009.
“PKK Challenges Ahead,” Assembly of Turkish American Associations Convention, Arlington, Va., May 16, 2008.
“Radicalization in the West,” Manhattan Institute, New York City, Apr. 8, 2008.
“Assessing the Surge,” Cato Institute, Washington, D.C., Sept. 20, 2007.


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“Homegrown Terrorists and Converts,” L.A.P.D. Joint Regional Intelligence Conference, Los Angeles, April 12,
   2007.

GRANTS
Principal Investigator for Getting Past No: Employing Simulations as a Tool to Foster Multi-Stakeholder Negotiations and
    Planning for Climate Change, awarded by the Canadian Department of National Defence’s MINDS program
    (awarded 2022; $49,649.32).
Principal Investigator for Sleeping Giants: A Simulated Study of Modern Great Power Competition, awarded by the Canadian
    Department of National Defence’s MINDS program (awarded 2021; $49,951.75).
Principal Investigator for Blind Sided: Reframing Use of Emerging Technologies in the Grey Zone Environment Through
    Application of Evolutionary Theory, awarded by the Canadian Department of National Defence’s MINDS program
    (awarded 2021; $49,564.64).
Principal Investigator for Deepfakes, Climate Change, Flying Cars & Quantum Drones: Conditional Forecasting for Canadian
    Defense, awarded by the Canadian Department of National Defence’s MINDS program (awarded 2021; $49,040).
Principal Investigator for grant awarded by the Canadian Department of National Defence to create a strategic
    framework for countering hateful conduct and radicalization in the Canadian Armed Forces (awarded 2020;
    $49,676.22 Canadian).
Principal Investigator for grant awarded by the Canadian Department of National Defence to anticipate the strategic
    consequences of the COVID-19 pandemic (awarded 2020; $9,847.50 Canadian).
Principal Investigator for grant awarded by the Canadian Department of National Defence to create a strategic
    framework for countering disinformation designed to thwart or discredit Canadian forces deployed abroad
    (awarded 2019; $49,916.62 Canadian).
Principal Investigator for grant awarded by the Canadian Department of National Defence to study how artificial
    intelligence can predict future patterns of violent non-state actor activity (awarded 2019; $49,860.20 Canadian).
Principal Investigator for grant awarded by the Canadian Department of National Defence to study violent non-
    state adoption of new technologies (awarded 2019; $49,916.40 Canadian).
Co-Principal Investigator for grant awarded by the Canadian Department of National Defence to study jihadist
    operations in Africa targeting Western interests (awarded 2017; $24,983.48 Canadian).
Principal Investigator for grant awarded by the Canadian Department of National Defence to study ISIS’s possible
    futures in North and West Africa (awarded 2016; $24,269.79 Canadian).
Principal Investigator for Smith Richardson Foundation to fund the book Fighting the Far Enemy (awarded 2016;
    $108,350).
Co-Principal Investigator for Office of Naval Research Grant N00014-16-1-2918, using a big-data approach to
    anticipate where fractures may occur in jihadist militant organizations (awarded 2016; three years, $1.5 million).
The Achelis & Bodman Foundation ($50,000), Lynde and Harry Bradley Foundation ($40,000) and Kathryn W.
    Davis Foundation ($5,000) provided grants to fund my study on terrorist radicalization, which was published as
    Homegrown Terrorists in the U.S. and U.K. (2008).

HONORS AND AWARDS
Civil Society Fellowship, partnership of the Aspen Institute the Anti-Defamation League, Class of 2020.
Safe Communities Institute Fellow, University of Southern California, 2016-present.
Distinguished Alumni Award, American Debate Association, 2015.
Senior Fellow. Homeland Security Policy Institute, George Washington University. 2010-2015.
Leader Development for Education and Sustained Peace Support Excellence Award (Naval Postgraduate School).
    2009.

LANGUAGES
English: native fluency.
Italian: advanced reading; intermediate speaking and writing.
Spanish: advanced reading; intermediate speaking and writing.
French: intermediate reading, basic speaking and writing.
Arabic: basic reading and speaking.



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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


ESTATE OF CHRISTOPHER BROOK               )
FISHBECK, et al.,                         )
                                          )
                  Plaintiffs,             )
                                          )   Civil Action No. 1:18-cv-02248-CRC
      v.                                  )
                                          )
THE ISLAMIC REPUBLIC OF IRAN, et al.,     )
                                          )
                  Defendants.             )
                                          )
                                          )
                                          )
                                          )
__________________________________________)


                      DECLARATION & EXPERT REPORT
                         DR. MICHAEL A. RUBIN, PH.D.




                                                April 19, 2022
      _________________________                 ______________
      Dr. Michael A. Rubin, Ph.D.                     Date



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    I, Michael A. Rubin, declare under penalty of perjury that the following is true and correct:


    A. Scope of this Declaration & Expert Report.

1. I have been asked by counsel for plaintiffs in the case of Estate of Christopher Brook Fishbeck,

    et al. v. Islamic Republic of Iran, et al. to provide my professional opinions concerning the

    matters set forth herein.

2. In this report, I specifically aim to provide a historical explanation of Iranian strategic rationale,

    and the Islamic Republic of Iran’s willingness not only to work with Shi’ite militias inside

    Iraq, but also to work with, support, and supply Sunni terrorist groups responsible for targeting

    and killing American servicemen inside Iraq.

3. My opinions, as set forth below, are based upon my academic studies, research, travel in the

    Middle East including to both Iran and Iraq, interviews with insurgents or insurgent

    sympathizers, interviews with leaders of pro-Iranian militias, and my education, training and

    professional experience over the course of more than two decades focusing on Iranian strategy,

    Iranian decision-making, Iraq, and regional politics and security.

4. Moreover, in preparing this expert report, I reviewed the operative Complaint in this case,

    documents declassified by the United States government, as well as the materials cited in this

    Declaration.

5. I am being compensated $400 per hour regardless of my ultimate opinions and the outcome of

    the litigation. I have no prior or current professional or personal connection with any of the

    parties in these cases precluding my ability to provide my professional opinions contained

    herein.

    B. Professional Background & Experience.


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6. I am a United States citizen by birth, residing in Bethesda, Maryland. I hold both a Masters of

   Arts and a Ph.D. in History from Yale University, where I concentrated my studies in Middle

   Eastern and Iranian history. I studied Arabic and Persian (Farsi) at both Yale University and

   Harvard University. In addition, I studied Persian at the Dehkhoda Institute in Tehran and I

   studied Arabic at the Yemen Language Center in Sana’a, Yemen.

7. I also conducted seven months of dissertation research in the Islamic Republic of Iran, visiting

   a variety of both governmental and non-governmental, as well as revolutionary foundation

   repositories. My dissertation on Iranian communications, religion, and political movements

   was awarded Yale University’s top John Addison Prize “for a work of scholarship in any field

   in which it is possible, through original effort, to gather and relate facts and/or principles and

   to make the product of general human interest.” While at Yale, I also served as the assistant

   editor of Iranian Studies, the main international scholarly journal for the study of Iran and the

   Persian world.

8. I have been for more than seventeen years, and remain, a resident scholar at the American

   Enterprise Institute (AEI), a private, non-profit, non-partisan academic and public policy think

   tank in Washington, D.C., where I focus on Iran, Iraq, and terrorism.

9. For the past fourteen years, until June 2021, I have been a senior lecturer first at the Center for

   Civil-Military Relations and subsequently, in the Department of National Security Affairs at

   the Naval Postgraduate School in Monterey, California.

10. For the past thirteen years, I have been a senior editor of the Middle East Quarterly, a refereed

   academic and policy journal, before which I was its editor-in-chief for five years.

11. For the past nine years, I have also simultaneously worked remotely as a contract Iran analyst

   for the U.S. Army’s Foreign Military Studies Office at Fort Leavenworth, Kansas, and provide


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   translation and analysis of Persian-language articles from Iranian government and military

   websites for Foreign Military Studies Office’s monthly Operational Environment Watch. In

   this capacity, I have been called on by various U.S. Army academy groups to review their

   products involving Iran.

12. Previously, between September 2002 and April 2004, I was a country director for Iraq and Iran

   in the Office of the Secretary of Defense at the Department of Defense and was seconded to

   be a political advisor to the Coalition Provisional Authority in Baghdad, Iraq. At the Coalition

   Provisional Authority , my job was to travel the country—outside the confines and security of

   the Green Zone—in order to assess and compare developments in different regions—Sunni,

   Shi’ite, and Kurdish—and to document growing influence of Iran and Iranian-sponsored and

   supported proxy groups.

13. In addition to my current employment and previous experience with the Department of

   Defense, I have taught courses relating to the Middle East and Central Asia at Yale University

   (1999-2000), Iranian history at the University of Sulaimani in Iraqi Kurdistan (2000-2001),

   Iranian state and society at Hebrew University of Jerusalem (2001-2002), and Iranian politics

   at Johns Hopkins University (2008-2009).

14. I have also guest lectured for the Federal Bureau of Investigation’s Counterterrorism

   Investigation and Operations courses on issues relating to Sunnis, Shi’ism, and terrorism, in

   Washington, D.C. and at FBI field offices across the country. In addition, between 2005 and

   2013, I lectured on Iran and its strategy in the Middle East for more than 200 U.S. Army units

   ranging from brigade combat teams to divisions and full corps leadership deploying to Iraq,

   Afghanistan, and Kuwait.

15. On twenty-three occasions between 2010 and 2020—most recently in January 2020—I have




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   taught two-to-three-week-long lectures series about Iraqi politics, security, and society;

   terrorism; Shi’ite militias; Sunni terrorism; and the Islamic Revolutionary Guard Corps

   onboard deployed U.S. carrier strike groups, amphibious ready groups, and Marine

   Expeditionary Units as they cross the Atlantic or Pacific Oceans or Mediterranean Sea and

   head into their areas of operation. In November 2018, I also taught a multi-day course for Navy

   SEAL Team 7 on Iranian strategy, terrorism, and security issues in specific towns, along

   specific roads, and in specific districts of Sunni-dominated regions of Iraq, prior to their

   deployment to the region. In February 2020, I taught a three-day seminar for SEAL Team 1 on

   Iraq and Syria. In July 2020, I taught several seminars to SEAL Team 5 on issues relating to

   Iran and its proxies in the Persian Gulf and Gulf of Aden. In August 2021, I taught a seminar

   on Iranian political developments and military strategy to a mix of Norfolk-based SEAL

   Teams.

16. I have also lectured about Iran, Iraq, and terrorism for government or military audiences in

   Australia, Azerbaijan, Bahrain, Bosnia, Croatia, the Czech Republic, Denmark, Iraq, Israel,

   Italy, Oman, Poland, Romania, Somalia, Sweden, and Turkey. On the 90th anniversary of Iran’s

   constitutional revolution, I delivered an original paper at Tehran’s Institute of Political and

   International Studies, the academic wing of Iran’s foreign ministry.

17. I am regularly called to guest lecture at universities across the United States and globally. In

   the year before the COVID-19 lockdown, for example, I lectured to students at American

   University, Brown University, Carnegie-Mellon University, the University of Chicago,

   College of the Holy Cross, Copenhagen University in Denmark, Cornell University, Furman

   University, George Washington University, Gothenburg University in Sweden, Hargeisa

   University in Somaliland, Harvard University, Kufa University in Iraq, Liberty University,




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   Marist College, Swarthmore College, the University of Texas-Austin, the United States

   International University-Africa in Nairobi, Kenya, the University of Virginia, and the

   University of Wisconsin-Madison. In the past year, I have lectured virtually to students at

   Columbia University, Notre Dame University, University of Texas-Arlington and Yale

   University, and I have lectured in person at the University of Michigan, Georgetown

   University, and Indiana University.

18. My research is widely recognized and cited in major newspapers and before Congress. My

   books and monographs have been favorably reviewed in publications spanning the political

   spectrum such as the Wall Street Journal, New York Review of Books, Washington Times, and

   Middle East Journal. My writing has been cited in the Washington Post, Wall Street Journal,

   New York Times, and in Arabic, Persian, Kurdish, and Turkish language newspapers across the

   Middle East. I am regularly called upon to conduct peer review by academic foundations,

   journals, and publishers such at the University Press of Kansas, Rowman & Littlefield, the

   Journal of Cold War Studies, and the Middle East Quarterly.

19. Along with numerous journal articles and edited volumes, I am also the author or co-author of

   Into the Shadows: Radical Vigilantes in Khatami’s Iran (Washington Institute, 2001), Eternal

   Iran: Continuity and Chaos (Palgrave, 2005), Shi’ites of the Middle East (AEI Press, 2014),

   Dancing with the Devil (Encounter, 2014; second edition, 2015), Kurdistan Rising (AEI Press,

   2016), and Seven Pillars: What Really Causes Instability in the Middle East?(AEI Press,

   2019). A full list of my publications is reflected in my professional CV, which is attached

   hereto as Exhibit A.

   C. Summary of Opinions.




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20. In this report I provide the general background as to the development of Iranian strategic

   thought, its application to Iranian actions in Iraq, and also demonstrate how Iranian military

   and security structures often cross the sectarian divide to sponsor and support Sunni terrorist

   groups who attack those whom the Supreme Leader and the Islamic Revolutionary Guard

   Corps deem enemies of Islam.

21. Specifically, my report demonstrates:

       •   The Islamic Republic of Iran is a designated state sponsor of terrorism that supported

           multiple foreign terrorist organizations who operated in Iraq and attacked American

           and Iraqi nationals during the 2003 to 2011 timeframe.

       •   The Islamic Republic of Iran justified its intervention in Iraq on religious and historical

           grounds, as well as in the Islamic Republic’s call for the “export of revolution.”

       •   The Islamic Republic of Iran sees itself more as an Islamic power than simply a Shi’ite

           one. It has reached across the Sunni-Shi’ite sectarian divide for the entirety of its more

           than four decade existence including to Sunni militant groups like Al Qaeda, Al Qaeda

           in Iraq, and Ansar al-Islam.

       •   The primary mechanisms by which the Islamic Republic of Iran sponsors and supports

           terrorist groups and pursues asymmetric violence abroad are through the Islamic

           Revolutionary Guards Corps (IRGC), the IRGC Qods Force, the Ministry of

           Intelligence and Security (MOIS), and Lebanese Hezbollah.

       •   The IRGC uses Iran’s state-controlled banking infrastructure, including Bank Melli

           Iran and its Central Bank, Bank Markazi, in order to facilitate and fund terrorism such

           as attacks on U.S. nationals in Iraq.

       •   The IRGC, in turn, relies upon state-owned commercial businesses such as the National



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          Iranian Oil Company (NIOC) and the Khatam-al Anbiya Construction Company to

          both fund and provide cover for its terrorist operations, including those in Iraq.

      •   The Islamic Republic of Iran used the IRGC, Qods Force, MOIS and Hezbollah to

          provide material support to Al Qaeda, Al Qaeda in Iraq, Ansar al-Islam and others who

          used this support to commit terrorism against American and Iraqi nationals in Iraq.

      •   The leadership of Iran, including its Presidents and Supreme Leader, as well as those

          responsible for overseeing its military and intelligence services, were aware of the

          Islamic Republic’s support for Shia and Sunni terror groups in Iraq, and directed and

          sanctioned this support.

22. I draw these conclusions based on a combination of my education, personal experiences,

   professional research, and consideration of various historical sources and perspectives. My

   Ph.D. focused on Iranian history, and I spent seven months in the Islamic Republic of Iran

   conducting language study, interviews, and archival research, including at the Iranian Ministry

   of Foreign Affairs archives. Having worked on the Iran and Iraq desks in the Office of the

   Secretary of Defense before and during Operation Iraqi Freedom, I look at the region not only

   academically, but also through a policy and security lens. I have continued to travel to Iraq and

   throughout the broader Middle East, and have met with and discussed regional affairs with

   both Sunni and Shi’ite extremists, from Taliban officials in Afghanistan to leaders of Iranian-

   backed militias in Iraq. During my travel to Iraq over the past two decades, I have never limited

   myself to U.S. bases, embassies, or security parameters defined by the U.S. government; as

   such, my research reflects on-the-ground direct observation rather than a recitation and

   reflection of sources garnered only online or from interacting only with American

   policymakers.




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23. I hold the opinions and conclusions provided in this report to a reasonable degree of historical

   certainty, and if asked to testify, would offer testimony consistent with the contents of this

   report.

   D. Methodology.

24. I trained as a historian at Yale University, and embrace a traditional historical methodology in

   my work. While a political science approach may look for commonalities across societies and

   rely on theory to develop evidence, I focus on a bottom up approach that combines on-the-

   ground field-work and interviews supplemented by evaluation and consideration of

   documentary evidence.

25. When studying contemporary issues in Iraq, this means frequent travel to Iraq to meet with

   and interview individuals from across the country’s ethnic and sectarian spectrum. While

   journalists might seek out colorful quotes under short-deadlines, I will both trace trends and

   developments over the course of years and now decades, and repeatedly confirm what I am

   told by speaking to enough Iraqis from different social and political perspectives to account

   for intrinsic bias, weaknesses, or problems arising from single sources. Since 2000, I have

   spent at least three years cumulatively in Iraq. I have also spent seven months in the Islamic

   Republic of Iran, both studying language and conducting archival research. As I visit Iraqi

   figures repeatedly, including those who are anti-American and/or pro-Iranian, I develop

   personal rapport which enables deeper discussions and remote follow-up by telephone or video

   conferencing technology. For example, I have met Hadi al-Amiri, the head of the Badr Corps

   in Iraq, four times. I now spend up to two hours with him debating politics verbally sparring

   with him in each meeting, probing his responses to my questions, challenging his assumptions,

   testing the credibility of his sources and statements, and confronting him with differing



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   perspectives and information I seek out. I interview, engage, and analyze not only those who

   share similar world views, but also with those who do not, including those who support the

   Islamic Republic of Iran.

26. The historical approach that I apply also requires consideration of source material. I accept that

   some journalistic accounts, especially against the backdrop of conflict and strife, can be narrow

   or inaccurate, and bias, ego, or agenda often skews the accuracy of first-person accounts. I

   grant speeches, political pronouncements, interrogation records, and declassified intercepts

   and other primary sources with more weight than the autobiographies that American officials

   often pen upon the end of their public service. I dismiss accounts where the author tries to fit

   square pegs into round holes or draws conclusions unsupported by the totality of the evidence

   in either substance or scope. Diaspora Iraqis or Iraqis visiting the United States to lobby for

   specific causes or ideas also often have skewed perspectives that should not be accepted at face

   value or until comparatively analyzed.

27. Likewise, I discount accusations of Iranian malfeasance based on anonymous sourcing or via

   individuals that would not be in a position to access adequate firsthand information to support

   the assertions they make. I will, for example, value the word of a U.S. Marine who served six

   months in the Ramadi-Fallujah area more than I would a congressional aide who perhaps

   visited Iraq for a day and spent his or her time listening to PowerPoint presentations at a

   headquarters. I seek to understand and appropriately consider the validity, reliability, and

   relevance of both sources.

28. I emphasize the importance of on the ground research and direct contact with the subjects and

   events being considered. Simply going to Iraq and staying in the “Green Zone” or a luxury

   hotel; however, is not much more valuable than trying to gauge events from an office in




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   Washington. When in Iraq, I study the territory about which I opine. I will personally visit

   border areas to watch traffic crossing the Iran-Iraq border, visit markets selling not only legal

   wears but also illicit goods such as passports, fake manifests, and other documents.

29. The historical methodology and my focus on Iran, Iraq, and terrorism requires my travel into

   areas deemed unsafe or insecure. Many historians employed by universities do not have the

   flexibility of travel because of frequent teaching commitments. Where I differ from other

   historians, journalists, and former diplomats is in the consistency and length of my involvement

   in Iraqi affairs. Diplomats rotate into Iraq for a year or two and seldom return; many Iraqis

   have known me for two decades and realize my interest in their country is not fleeting. Foreign

   correspondents may live in Baghdad for two or three years, but likewise move on. While these

   journalists develop great, in-depth knowledge of Iraq, too often it comes at the expense of a

   broader perspective gained by access to other sources outside of the Iraqi bubble. Being a

   historian at the American Enterprise Institute enables me also to eschew the security

   restrictions which constrain diplomats, politicians, and journalists. I can travel without security

   in order to avoid building a wall between myself and those with whom I need to engage.

   E. Prior Court-Appointed Expert Experience & Testimony.

30. Using this historical methodology, I have been admitted repeatedly as an expert witness into

   Immigration Court in Detroit, Michigan, an epicenter for Iraq-related immigration

   proceedings. In these matters, I have been qualified as an expert witness on country conditions

   in Iraq, security risks, terrorism, Shi’ite militias, religious minorities, and Iranian influence.

   The cases in which I was called to provide expert testimony involved Iraqis who were long-

   term residents of the United States and for whom Immigration and Customs Enforcement had

   initiated removal proceedings after conviction for non-immigration-related crimes. Many of



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   these Iraqis cited fear of persecution or torture should they return to Iraq. The government

   called upon me to speak toward the validity of their concerns. In every instance that I

   underwent voir dire proceedings by respondents’ counsel I was recognized by the court as an

   expert on issues relating to Iraq and Iranian activity in Iraq. For example, in 2017, Immigration

   and Customs Enforcement (ICE) detained numerous Iraqi citizens previously convicted of

   committing crimes in the United States and initiated deportation proceedings against them. The

   American Civil Liberties Union sued ICE, arguing that any Iraqis who returned would suffer

   a high likelihood of torture or death at the hands of the Iraqi government, its security forces,

   or militias operating in the country. Between 2017 and 2019, ICE asked me to provide an

   affidavit regarding country conditions in Iraq, and asked me to testify as an expert witness on

   several occasions both in person at Immigration Court in Detroit or via satellite link. The courts

   have accepted me as an expert on Iraq regardless of whether the case in question involved

   majority Sunni or Shi’ite areas and individuals, or the northern Kurdish region.

31. I have also testified before the United States Congress a number of times, including before the

   House Foreign Affairs Committee and the House Financial Services Committee and House

   Oversight Committee on issues relating to Iran and Iraq. This includes testimony specific to

   how the Islamic Revolutionary Guard Corps hijacks ordinary businesses to fund its terrorism

   and on Iranian influences abroad. In addition, I have often briefed foreign and military

   officials—from Bahrain, France, Indonesia, Turkey, Australia, and Japan—on issues relating

   to the opacity of Iranian and Iran proxy financial dealings.

   F. Historical Roadmap Leading to Iran’s Strategy in Iraq – Exporting the
      Revolution through Violence Against the “Great Satan.”

32. Iranian strategy is complex. In order to understand Iranian strategic thinking today, it is

   important to understand not only the current structure of the Islamic Republic of Iran, but also


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   the broader historical continuity of Iranian strategic thinking in the region and beyond. The

   1979 Islamic Revolution represented a colossal political break as a two-and-a-half-millennia-

   old tradition of monarchy rapidly ended and Shi‘ism assumed an enhanced
                                                                   Mohammadposition  in state
                                                                           Reza Pahlavi
                                                                          Source: Pahlavi.org
   politics. Many elements of Iranian strategy and Persian culture; however, continue across the

   revolutionary divide.

33. In order to illustrate and explain Iranian strategic decision-

   making in relation to post-liberation 2003 Iraq, it is necessary

   to provide broader historical context. Iran was an important

   ally of the United States before 1979. Iran and Saudi Arabia

   constituted one of the “twin pillars” upon which the United

   States sought to build its regional security against the

   backdrop of the Cold War. Mohammed Reza Pahlavi, the
                                                                      Mohammed Reza Pahlavi, 1973.
                                                                          Source: Pahlavi.org
   Shah of Iran, was secular, unabashedly pro-Western, and

   business friendly. His collapse against the backdrop of an

   escalating protest movement shocked the West, but American
                                                                      Ayatollah Ruhollah Khomeini
                                                                      Source: Imam-Khomeini.org
   officials hoped that they could continue their relationship with

   Iran under its new leaders. While revolutionary leader Ayatollah Ruhollah Khomeini was a

   devout Shi’ite Muslim, he repeatedly denied interest in personal power and instead served as

   a figurehead for a broad revolutionary coalition that included not only Islamists, but also

   republicans and nationalists. For nine months after Khomeini’s return to Iran, the American

   embassy continued to operate in downtown Tehran. On November 4, 1979; however,

   revolutionary students loyal to Khomeini seized the embassy and took 52 diplomats hostage.

   Anti-Americanism alone did not motivate this episode: the hostage-takers selectively leaked




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   diplomatic documents to support accusations by religious militants that more liberal and

   moderate factions were seeking to betray the revolution. Over the span of the next year,

   Khomeini and the hostage-takers orchestrated a purge, leaving in place only more theocratic

   elements who recognized Khomeini as “the Supreme Leader,” both politically and religiously.

34. Khomeini’s Islamic Republic, however, was not only a religious state, it was an Iranian one as

   well. Iran—or Persia as it was called before 1935—has a culture that evolved over millennia

   that was not easy to erase. Khomeini sought to meld the two. Post-revolutionary Iranian

   organization interweaves political, military, and economic structures within the Iranian state.

   While many American officials see Iran today only in the context of the Islamic Republic and

   as a Shi’ite sectarian power, Iranians traditionally see their place in the world and the Middle




                          Source: Tasnim News

   East region more expansively. While many analysts see Iran as predominantly a Shi’ite power,

   its imperial legacy leaves it with a regional perspective that treats much of Iraq—whether



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    Sunni or Shi’ite, Arab or Kurd—as a space in which Iranian decision-makers seek to dominate.

    Indeed, both pre- and post-revolutionary Iran have a long history of working across religions

    and ethnicities in order to advance Iranian interests. The Islamic Revolution; however, added

    specific impetus to Iranian actions, especially the notion that “export of the Revolution” was a
                                                1
    core purpose of the Islamic Republic.

35. “Export of Revolution” is enshrined in the Islamic Republic’s constitution, Article 3 of which

    declares the goals of the regime to be both “the expansion and strengthening of Islamic

    brotherhood and public cooperation among all the people” and “unsparing support to the

    oppressed of the world.” In addition, Article 154 calls for “support of the just struggles of the

    oppressed against the arrogant in every corner of the globe.” In practice, Ayatollah Ruhollah

    Khomeini, who led Iran’s Islamic Revolution, defined the repressed as anyone living under a

    system other than Iran’s or similar Islamic orders. “The United States can’t do a damned thing;

    we will export our revolution to the world,” became Khomeini’s mantra and, subsequently, an
                    2
    IRGC slogan. On July 25, 1981, Payam-e Enghelab defined “the principle of jihad” as one of

    the two main tasks of the Islamic Revolutionary Guard Corps; the other being the defense of

    the Supreme Leader’s government.3

36. Scholars today often differentiate between greater and lesser jihad. The greater jihad is an

    internal struggle to make oneself a better Muslim, while the lesser jihad is a defensive holy

    war. In the classical period of Islam (1258-1798) to which many more militant Islamists—both

    Sunni and Shi’ite—seek inspiration, jihad was understood to be military in nature. Theologians


1
  PX278, Helen Chapin Metz, Concept of Export of Revolution in Iran: A Country Study. Washington: GPO for the
Library of Congress, (1987), http://countrystudies.us/iran/100.htm.
2
  Tars-e Amrika az Ahiya-e Islami [The U.S. Fear of the Islamic Revival], Khorasan (Mashhad) (January 25, 1996).
Translation provided by the Open Source Center; Tandar bidun Baran, [Thunder without Rain], Javan (Tehran)
(August 18, 2005).
3
  Ali Alfoneh, quoted in The Revolutionary Guards Role in Iranian Politics, Middle East Quarterly, (Fall 2008).


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    square this circle in two ways: First, they emphasize classical scholarship which strips away

    more moderate interpretations of theology from more recent centuries and, second, they define

    defense not only in terms of repelling military attacks but also in the need to counter Western

    culture. Hence, when Khomeini or his followers in the Islamic Republic and Islamic

    Revolutionary Guard Corps cite jihad, they most often mean a more violent struggle against

    the West.

37. To assist in the creation of the mythology of the “just struggle” and to further compel collective

    desire for jihad against those standing in contrast to the revolution, Ayatollah Ruhollah

    Khomeini deemed the United States “the Great Satan” and this name, as well as calls for “death

    to America,” remain commonplace in text books, Iranian academic journals, and official public

    statements and pronouncements.

38. Such theological and diplomatic demonization of the United States quickly morphed inside

    Iranian leadership and security circles into a justification of terrorism. Iran’s ensuing

    “exportation of the revolution” through “jihad” against western, and particularly American

    targets, resulted in U.S. Secretary of State George Shultz designating the post-revolutionary

    government of Iran as a sponsor of acts of international terrorism on January 19, 1984, pursuant

    to § 6(j) of the Export Administration Act, § 40 of the Arms Export Control Act, and § 620A
                                                                                                               4
    of the Foreign Assistance Act, and the United States has renewed this designation annually.

             a. Iran v. Iraq - Neighbors and Enemies.

39. In September 1980, Iraqi President Saddam Hussein invaded Iran. The alleged impetus for the

    surprise attack was a long-standing border dispute but, in reality, Saddam’s Sunni-led



4
 PX268, U.S. Department of State. Secretarial Determination No. 84-3. “Determination Pursuant to Section 6(i) of
the Export Administration Act of 1979—Iran.” 49 F.R. 2836; January 23, 1984.


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   government feared Khomeini’s government could incite rebellion among Iraq’s majority

   Shi’ite population, and so sought to end Khomeini’s regime. What Saddam expected to be a

   quick operation, turned into an eight-year war of attrition reminiscent at times of World War

   I-era trench warfare. The existential crisis the Islamic Republic faced at the time both enabled

   Iranian leaders to rally Iranians around the flag and fast-tracked the consolidation of

   Khomeini’s revolutionary gangs into a cohesive Islamic Revolutionary Guard Corps (IRGC).

40. To understand the evolution of the IRGC and to better gauge Iranian decision-making today,

   it is necessary to understand the Iran-Iraq War’s lasting trauma. In addition, it is useful to see

   how the Qods Force and its revolutionary predecessors often prioritized warfare against the

   United States over all other factors in their decision-making, and regularly sought to shame

   those within the Iranian political spectrum who would step back or pause the struggle against

   perceived American influence. Iran’s own internal struggles against Kurdish and other

   dissidents have also shaped Iranian strategic thinking, as they worry about precedents

   established in Iraq that could impact Iran domestically.

41. A free and independent Iraq poses both religious and political challenges to Iran’s Islamic

   Republic. The threat Iran’s religious leaders fear from a free and independent Iraq is perhaps

   most acute. This fear is in large part derived from the element of religious choice in Twelver

   Shi’ism—the type of Shi’ism practiced in both Iran and Iraq. Twelver Shi’ism has a religious

   hierarchy somewhat analogous to Roman Catholicism. The biggest difference, however, is that

   while the Roman Catholic Church elects a single pope, ordinary Shi’ites select their personal

   equivalent—called a marja’ at-taqlid (source of emulation)—from amongst the top ayatollahs.

   Traditionally, Shi’ites follow a single living ayatollah’s guidance instead of engaging in à la

   carte theology. In exchange for their marja’s religious guidance, they make an annual religious




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   donation called khums to that ayatollah’s office. Those ayatollahs who receive more khums can

   sponsor more charities, take more seminary students, and support more mosques. These in turn

   amplify their influence. Today, Grand Ayatollah Ali Sistani, an Iranian national who resides

   in the Iraqi shrine city Najaf and opposes the Iranian concept of clerical government, receives

   more khums than any other ayatollah including current Iranian Supreme Leader Ali Khamenei.

   This in turn presents a challenge to Khamenei’s claims to be the ultimate political and religious

   leader for all Shi’ites, especially when Iranians pay khums to Sistani rather than Khamenei.

   When Saddam controlled Iraq, intra-clerical politics did not pose as great a threat, first because

   Saddam’s regime vigorously repressed clerical expression in Najaf and, second, because the

   border between Iraq and Iran remained firmly shut. This changed when Saddam fell from

   power.

             b. The End of Saddam Hussein – A threat and an opportunity.

42. Leading up to the United States’ 2003 invasion and

   liberation of Iraq from the Baathist regime of Saddam

   Hussein, Iran grew increasingly concerned about what it

   perceived as an existential threat posed by a free and

   democratic Iraq stationed on its largest western border. And

   yet, Iran also recognized that the removal of Saddam and
                                                                       Supreme Leader Ali Khamenei
                                                                         Source: timesofisrael.com
   the dismantling of the political and military structures of the

   old regime created a power vacuum within Iraq that it had been preparing for years to exploit.

   Furthermore, with the presence of coalition troops, predominantly American, post-Saddam

   Iraq provided a target-rich environment in which Iran could wage jihad against the “Great

   Satan.”



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43. The Iranian government also feared (and still does) an ethnic precedent emerging from Iraq:

   Upon Saddam’s fall, the Kurds confirmed first in the Transitional Administrative Law and then

   in the 2005 Constitution, expressed federal rights within the Iraqi state. Iranian leaders fear

   that Iran’s ethnic minorities, today close to half the population and many concentrated

   regionally, may demand similar rights which collectively would undermine the power of Iran’s

   central government and its control of its citizens within Iran.

44. In order to address the threats it perceived, exploit the nascent formation of the newly emerging

   political structures in Iraq, and to exact a heavy toll upon the United States, Iran returned to its

   historical willingness to work across Islamic sectarian lines. While Iranian diplomats had

   publicly negotiated an agreement to remain out of the Iraqi theater of operations and to keep

   Islamic Revolutionary Guard Corps-trained Shi’ite militias from infiltrating Iraq, they quickly

   violated their agreement. Beyond Iran’s support for Shi’ite militias, however, Iran also tapped

   its equally dangerous and lethal relationship between Iran’s leadership and Sunni terrorist

   groups.

45. Iran had long-established relationships with Al Qaeda’s most senior leadership which extended

   from the early formation of the group prior to 9-1l to its protection within and free passage

   through Iran’s borders to the present day. Iranian willingness to allow Al Qaeda to exist and

   operate within its territory permitted Al Qaeda to plan operations against Americans and their

   allies from within Iranian borders. Within Iraq, this pattern of Iranian cross-sectarian

   facilitation and material support extended to a number of Sunni insurgent and terrorist groups

   which enabled these groups to be much more lethal, effective, and sophisticated.

   G. Iran’s Interlaced Political, Economic, and Military Structures – A well-
      oiled state-sponsored terrorism engine.

46. Since the 1979 Islamic Revolution, the Iranian state structure is both convoluted and malleable,


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   but there are key consistencies. The Supreme Leader is Iran’s undisputed leader and is imbued

   constitutionally not only with supremacy in the political sphere, but also in the military sphere.

   Article 110 of the Iranian constitution makes the Supreme Leader the “Supreme Commander

   of the Armed Forces” with power to appoint and dismiss the Chief of the General Staff, IRGC

   Commanders, and Supreme Commanders of the Army, Navy, and Air Force. In this capacity,

   the Supreme Leader would have direct knowledge of and be the dominant figure shaping policy

   for the Islamic Revolutionary Guard Corps, its Qods Force, the Ministry of Intelligence and

   Security (MOIS, discussed below), and their collective support for both Iranian proxies

   operating in Iraq and across the Middle East as well as Sunni groups targeting those whom the

   Supreme Leader deemed enemies.

47. The Islamic Revolutionary Guard Corps is one of the Islamic Republic’s two main militaries.

   The Artesh (literally, ‘army’) is charged with territorial defense, while the Islamic

   Revolutionary Guard Corps is charged with defense of the revolution, meaning enemies can

   be both external and internal. Generally speaking, the Islamic Revolutionary Guard Corps is

   the more elite of the two forces.

48. Part of Khomeini’s impetus for creating the Islamic Revolutionary Guard Corps was his

   distrust of the Artesh. Under the shah, many of the army’s senior officers were royalists, and

   the conscript rank-and-file only defected to Khomeini when they believed his victory was

   inevitable. Accordingly, Khomeini saw the Artesh as unreliable and opportunistic, and so

   invested in the Islamic Revolutionary Guard Corps as a body which was ideologically reliable,

   militarily superior, and within his direct control.

49. The Islamic Revolutionary Guard Corps grew more important as the Islamic Republic came to

   rely on it against the backdrop of the 1980-88 Iran-Iraq War. Upon the war’s conclusion, the




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    Islamic Revolutionary Guard Corps leadership did not want to go back into the barracks and

    to lose their privileged positions, and so invested increasingly into Iranian commercial

    enterprises. For the Islamic Revolutionary Guard Corps, this was a successful strategy,

    especially as it was able to bring its military assets to bear in order to push aside competitors

    and ensure dominance of lucrative industries. For the Islamic Revolutionary Guard Corps, this

    also enables it to have an alternate source of funding outside the normal budgetary practice.

    The head of the Islamic Revolutionary Guard Corps also chairs Gharargah Sazandegi-ye

    Khatam al-Anbiya (Construction Base of the Seal of the Prophets) which supervises and

    operates the Islamic Revolutionary Guard Corps’ extensive holdings. Today, by some

    estimates, Khatam al-Anbiya and Iran’s revolutionary foundations control perhaps 20-40
                                   5
    percent of Iran’s economy.

50. Because Iran derives the bulk of its income from petrochemicals, the Islamic Revolutionary

    Guard Corps also took a paramount and symbiotic role with regard to the National Iranian Oil

    Company (NIOC). The Islamic Revolutionary Guard Corps guards most NIOC operations,

    contracts to lay the pipelines, operates the tankers, runs refineries, conducts exploration and

    exploitation in Iran’s onshore and offshore oil and gas fields, and inserts its men into key

    company positions within NIOC.

51. The Islamic Revolutionary Guard Corps can use its corporate holdings and affiliates including

    NIOC to provide cover for covert operations and terror. During the Obama administration, the

    U.S. Treasury Department initially reported that NIOC and the National Iranian Tanker

    Company (NITC) provided financial support for the Qods Force. Under the Iran Threat




5
 Ali Alfoneh, Iran Unveiled: How the Revolutionary Guards is Turning Theocracy into Military Dictatorship.
(Washington: AEI Press, 2013), pp. 165-203.


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    Reduction and Syria Human Rights Act (ITRSHRA) of 2012, the U.S. government likewise

    determined NIOC to be an agent or affiliate of the IRGC under the terms of the Comprehensive

    Iran Sanctions, Accountability, and Divestment Act of 2010 and ITRSHRA. This 2012

    certification found NIOC to be wholly owned and controlled by Iran and that it provided

    significant support to the IRGC and its affiliates.

52. While against the backdrop of diplomacy surrounding implementation of the 2015 Joint

    Comprehensive Plan of Action (JCPOA), the Treasury Department “determined that NIOC is

    no longer an agent or affiliate of the IRGC,” and the Treasury Department subsequently re-
                                                                                                6
    designated NIOC and NITC for its involvement with the Revolutionary Guards.

53. Beyond NIOC, a primary example of the Islamic Revolutionary

    Guard Corps using business and construction as a cover for logistics

    and terror operations came in February 2013, when the Israeli Air

    Force killed Hassan Shateri (AKA Hesam Khoshnevis) in an airstrike

    along the Beirut-Damascus highway.              At the time of his death,

    Shateri was returning from Aleppo where he was “researching
                               7                                                        Maj. Gen. Hassan Shateri
    construction projects.” As Critical Threats Project analyst Will                    Source: MashreghNews.ir

    Fulton notes, “The idea that a very senior Quds Force general had gone to a city that is likely

    soon to come under the control of Syria’s [anti-Iran] opposition in order to look into

    construction projects is nonsensical. It likely reflects a reflexive boilerplate cover-story based


6
  PX125, “Treasury Submits Report to Congress On NIOC And NITC,” U.S. Department of Treasury, September
24, 2012, https://www.treasury.gov/press-center/press-releases/Pages/tg1718.aspx; PX50, “Treasury Sanctions Key
Actors in Iran’s Oil Sector for Supporting Islamic Revolutionary Guard Corps-Qods Force,” U.S. Department of
Treasury, October 26, 2020, https://home.treasury.gov/news/press-releases/sm1165
7
  “Sefarat-e Iran az Shahadat Rais-e Hayat-e Irani Bazsazi Jonub-e Lubnan Khabar Dad” [“The Iranian embassy in
Lebanon informs of the martyrdom of the head of the Iranian Committee for the Reconstruction of Southern
Lebanon”], Islamic Republic News Agency, February 14, 2013, https://www.irna.ir/news/80544041/‫ﺳﻔﺎرت‬-‫اﯾﺮان‬-‫از‬-
‫ﺷﮭﺎدت‬-‫رﯾﯿﺲ‬-‫ھﯿﺎت‬-‫اﯾﺮاﻧﻲ‬-‫ﺑﺎزﺳﺎزي‬-‫ﺟﻨﻮب‬-‫ﻟﺒﻨﺎن‬-‫ﺧﺒﺮ‬


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    on Shateri’s best-known public role overseeing the ‘reconstruction’ of southern Lebanon after
                      8
    the 2006 war.” Whereas Shateri had long lived in Lebanon as a developer and businessman

    involved in projects in southern Lebanon, the Islamic Revolutionary Guard Corps

    acknowledged after his death that he was actually a Senior General in the Islamic

    Revolutionary Guard Corps who helped transport weaponry to Hezbollah and who also acted

    as a liaison between the Qods Force and Bashar al-Assad’s regime in Syria. Lebanese
                                                       9
    Hezbollah published a book in his honor. The London-based pan-Arabic newspaper Asharq

    al-Awsat reported at the time that “Shateri is the highest ranking Iranian Revolutionary Guard

    Corps (IRGC) officer to be killed outside Iran,” a fact that would

    remain true until a U.S. drone strike killed Qods Force Chief
                                                                10
    Qasem Soleimani in Baghdad on January 3, 2020. Shateri’s prior

    service sent him to Iraq at a time when the IRGC Qods Force

    targeted and killed American soldiers. His role and stature in the

    IRGC is evidenced by the fact that General Qasem Soleimani, then-
                                                                                             Gen. Qasem Soleimani
    head of the Islamic Revolutionary Guard Corps’ Qods Force,                                Source: CNBC.com
                                               11
    attended his funeral in earlier 2013.

54. As the Islamic Revolutionary Guard Corps grew richer, it gained power within the domestic

    Iranian political context. This led many analysts, as well as Iranian officials themselves, to



8
  Will Fulton, “The Assassination of Iranian Quds Force General Hassan Shateri in Syria,” Critical Threats February
28, 2013, https://www.criticalthreats.org/analysis/the-assassination-of-iranian-quds-force-general-hassan-shateri-in-
syria#_edn98d1fdfab18e3d52e81e8197572fe13012
9
  ‘Abd-al Qadus Amin, Muhandis al-Mahabati [Engineer of Love]. Mashhad: The Organization of Libraries,
Museums, and Archives of Astan Quds Razavi, 2017, https://www.khoshnwis.net/materials/book.pdf
10
   “Shateri: Iran’s Regional Point Man,” Asharq al-Awsat, February 14, 2013
11
   PX634, Dexter Filkins, “The Shadow Commander,” The New Yorker, September 30, 2013,
https://www.newyorker.com/magazine/2013/09/30/the-shadow-commander


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     consider Gen. Soleimani to be the second most powerful man in Iran outside the Supreme

     Leader prior to Soleimani’s death in a January 3, 2020 American drone strike.

55. Iranian support for terrorism cannot be blamed only on Soleimani or rogue elements inside the

     IRGC or Qods Force. There is ample history which demonstrates that Soleimani and the Qods

     Force had the support of the most senior levels of the Islamic Republic and that their actions

     in Iraq were not rogue actions. In 1986, Ayatollah Ruhollah Khomeini ordered the arrest of

     Mehdi Hashemi, head of the Office of Liberation Movements (the predecessor to the Qods

     Force) after Hashemi pursued policies which undercut Iran’s strategic goals, which at the time

     served as Iran’s chief engine to support terrorist groups and proxies, including the formation
                    12
     of Hezbollah. There were few authorities with as great a revolutionary pedigree as Hashemi.

     Prior to the Islamic Revolution, he gained prominence when the Shah’s government arrested

     him for the 1976 kidnapping and strangling of Ayatollah Abdul Hasan Shamsabadi. Hashemi’s

     televised confession and subsequent capital sentence—never carried out because of the Islamic
                                                                    13
     Revolution--transformed him into a cause célèbre.                   His brother Hadi’s marriage to the

     daughter of Grand Ayatollah Hossein Ali Montazeri, Khomeini’s deputy, cemented the trust

     and esteem in which the new revolutionary regime held him. The precedent of Hashemi’s

     September 27, 1987 execution juxtaposed with Soleimani’s lionization in Iranian society

     affirms the Supreme Leader’s endorsement of Islamic Revolutionary Guard Corps and Qods

     Force actions in Iraq. If Soleimani’s actions were not supported by the Supreme Leader, he

     would not have remained in his position for so long or enjoyed the lionization of Iranian state-

     controlled media. Indeed, both Khamenei and the Iranian press increased public praise of


12
   Bahman Baktiari, Parliamentary Politics in Revolutionary Iran. (Gainesville: University Press of Florida, 1996),
p. 133.
13
   “Iran Executes Former Head of Global Islamic Movement,” Associated Press, September 28, 1987.


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   Soleimani as his campaign of targeting American forces in Iraq escalated and became more

   widely-known, and especially after the U.S. troop drawn down in December 2011.

56. Even as the Iranian government sponsors terrorism and targets Americans, it seeks to maintain

   an air of plausible deniability. Its strategy to accomplish this is rooted in its command-and-

   control structure.

57. In order to keep control, the Supreme Leader often acts like a master marionette, playing Iran’s

   various power centers off each other, privileging some in order to diminish the importance of

   others at any given time. This has led to duplication within the Iranian system so that the

   Ministry of Intelligence (Vezarat-e Ettela'at va Amniyat-e Keshvar, literally the Ministry of

   Information and Security of the Country, or “MOIS”) also conducts external operations and

   supports Iranian proxy groups regardless of sect. Following his 2013 election as Iranian

   president, for example, Hassan Rouhani removed many Islamic Revolutionary Guard Corps’

   veterans from their positions, but replaced them not with political reformers, but rather with

   veterans of MOIS, who shared the same vision of the Islamic Revolutionary Guard Corps, but

   answered to different bureaucratic structures.

58. In order to maintain direct control over various security services, the Supreme Leader

   maintains a series of clerical commissars who observe military policy and report issues and

   information back to him. The Supreme Leader tends not to issue direct orders but rather sets

   parameters that authorize or approve acceptable behavior. These are often declared publicly,

   if at times enigmatically, through weekly Friday sermons delivered by the Supreme Leader or

   his clerical representatives. This creates a unique system: rather than deliver orders and expect

   obedience, the Supreme Leader often acts as a dictator by veto power, directing military policy

   by instructing officers what lines they cannot cross, but allowing significant autonomy within




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     them. Iranian operatives are therefore authorized to act militarily and aggressively without

     receiving formal, written, or spoken orders. This also purposely creates a system of plausible

     deniability in which the Supreme Leader can signal support for action without providing

     foreign intelligence agencies with concrete signals intelligence.

59. In addition, Khamenei appointed Ali Akbar Velayati, Foreign

     Minister between 1981 and 1997, including during the entirety

     of Khamenei’s 1981-1989 presidency of Iran, to be his senior

     advisor for foreign affairs. This appointment underscores

     Khamenei’s supervision and knowledge of Iranian terrorism.

     Velayati has a long history of supervising Iran’s terror

     campaign. On September 17, 1992, for example, Iranian and                       Ali Akbar Velayati
                                                                                    Source: Tehran Times

     Hezbollah assassins murdered four Kurdish dissidents in a

     Berlin café. On April 10, 1997, after hearing from 176 witnesses and reading intelligence files,

     a German court found Kazem Darabi, a captured Iranian intelligence agent as well as a

     Hezbollah accomplice guilty of murder, and two colleagues guilty as accessories. More

     importantly, the court also concluded that a Special Affairs Committee, headed by the Supreme

     Leader and including then-President Ali Akbar Hashemi Rafsanjani, Intelligence Minister Ali
                                                                             14
     Fallahian, and Ali Akbar Velayati, had overseen the operation. Velayati also attended the

     2008 funeral of Imad Mughniyah, mastermind of the 1983 Marine Barracks bombing which

     killed 241 U.S. military personnel, as Khamenei’s personal representative.




14
 Murder at Mykonos: Anatomy of a Political Assassination, at 2-20, (New Haven: Iran Human Rights Documentation
Center, March 2007).


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60. Iran’s financial infrastructure is crucial to its ability to sponsor terrorism outside its borders.

     Iranian banks--including Bank Markazi (Iran’s Central Bank) and Bank Melli Iran (National

     Bank)—remain interwoven into the Iranian security structures. The U.S. Treasury Department

     has designated both banks due to their links with the Islamic Revolutionary Guard Corps and

     Hezbollah. On October 25, 2007, pursuant to its Executive Order 13382 authority to designate

     Iran’s largest bank, Bank Melli, the U.S. Treasury Department explained, “Bank Melli also

     provides banking services to the IRGC and the Qods Force. Entities owned or controlled by

     the IRGC or the Qods Force uses Bank Melli for a variety of financial services. From 2002 to
                                                                                                    15
     2006, Bank Melli was used to send at least $100 million to the Qods Force.” A 2008 U.S.

     State Department non-paper reported, “Bank Melli and Bank Mellat are the principal banks

     used by Khatam al-Anbiya, an IRGC-controlled construction and engineering company headed

     by UNSCR 1737 designee and former IRGC commander [Yahya] Rahim Safavi, as of July 11,

     2007. Khatam al-Anbiya serves as an important source of funding for the IRGC, as the

     organization has been awarded Iranian government contracts in recent years estimated to total
                               16
     over USD $7 billion.”

61. On November 5, 2018, the U.S. Treasury Department augmented its sanctions, stating, “Bank

     Melli is being designated pursuant to E.O. 13224 for assisting in, sponsoring, or providing

     financial, material, or technological support for, or financial or other services to or in support

     of, the IRGC-QF…. As of 2018, the equivalent of billions of dollars in funds have flowed

     through IRGC-QF controlled accounts at Bank Melli. Bank Melli has acted as a conduit for


15
   PX36, “Fact Sheet: Designation of Iranian Entities and Individuals for Proliferation Activities and Support for
Terrorism.” U.S. Department of the Treasury, October 25, 2007, https://www.treasury.gov/press-center/press-
releases/pages/hp644.aspx
16
   PX217, “Subject: Information on Bank Melli for Italy, S Consideration in EU Discussions on Autonomous
Sanctions,” U.S. Department of State, March 8, 2007,
https://archive.org/stream/08STATE24292/08STATE24292_djvu.txt


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     payments to the IRGC-QF. The IRGC-QF has used Bank Melli to dispense funds to Iraqi Shia
                                                                                                 17
     militant groups, and Bank Melli’s presence in Iraq was part of this scheme.”

62. Bank Markazi has for years provided high ranking members of the Iranian government a secret

     channel for illicit funds to be used by terrorist organizations abroad as well as to sustain state-

     owned companies and financial institutions. Because of its terror-related activities, the U.S.

     Department of the Treasury’s Office of Foreign Assets Control (OFAC) has routinely

     sanctioned Bank Markazi pursuant to Executive Order (E.O.) 13224. Official announcements

     of these sanctions actions detail how state-owned banks are used by Iran to support terrorism.

     A 2007 U.S. Treasury press release regarding the designation of the Iranian-owned Bank

     Saderat as an SDGT, noted that:

                  Bank Saderat, which has approximately 3,200 branch offices, has been used
                  by the Government of Iran to channel funds to terrorist organizations,
                  including Hezbollah and EU-designated terrorist groups Hamas, PFLP-GC,
                  and Palestinian Islamic Jihad. For example, from 2001 to 2006, Saderat
                  transferred $50 million from the Central Bank of Iran through its
                  subsidiary in London to its branch in Beirut for the benefit of Hezbollah
                                                                  18
                  fronts in Lebanon that support acts of violence.


63. Similarly, according to the United States’ Financial Crimes Enforcement Network

     (“FinCEN”):

                  The Central Bank of Iran, which regulates Iranian banks, has assisted
                  designated Iranian banks by transferring billions of dollars to these banks in
                  2011. In mid-2011, the CBI transferred several billion dollars to designated
                  banks, including Saderat, Mellat, EDBI and Melli, through a variety of
                  payment schemes. In making these transfers, the CBI attempted to evade




17
   PX51, “U.S. Government Fully Re-Imposes Sanctions on the Iranian Regime as Part of Unprecedented U.S.
Economic Pressure Campaign,” U.S. Department of the Treasury, November 5, 2018.
18
   Fact Sheet, U.S. Dep’t of the Treasury, Designation of Iranian Entities and Individuals for Proliferation Activities
and Support for Terrorism (Oct. 25, 2007), also available at: https://www.treasury.gov/press-center/press-
releases/pages/hp644.aspx


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                 sanctions by minimizing the direct involvement of large international banks
                                                            19
                 with both CBI and designated Iranian banks.

64. In 2018, FinCEN issued another advisory related to Bank Markazi, and its officers/directors,

     stating:

                 The Iranian regime uses deceptive practices, including front companies,
                 fraudulent documents, exchange houses, seemingly legitimate businesses
                 and government officials, to generate illicit revenues and finance their
                 malign activities. Iran's deceptive practices have been orchestrated not only
                 by elements of their government such as the IRGC-Qods Force, but also by
                 Central Bank of Iran officials who were at the highest levels. Any country
                 that allows its Central Bank to be involved in deception in support of
                 terrorism requires the highest levels of scrutiny, particularly when the
                                                                                   20
                 country itself is the world's largest state sponsor of terrorism.

65. Specifically related to its activities in Iraq, Bank Markazi and

     its officers were sanctioned for masking its commercial

     activities to fund terrorism there and for providing financial

     support to Iraq-based terrorist groups. On May 15, 2018, OFAC

     sanctioned Bank Markazi’s governor, Mr. Valiollah Seif, and

     Ali Tarzali, the assistant director of the International                       Valiollah Seif, Former
                                                                                   Governor of Bank Markazi
                                                                                     Source: Payvand Iran
     Department at Bank Markazi, stating:

                 Seif has conspired with the IRGC-QF to move millions of dollars through
                 the international financial system in a variety of foreign currencies to allow
                 the IRGC-QF to fund its activities abroad. Seif has also supported the
                 transfer of IRGC-QF-associated funds to al-Bilad Islamic Bank, an Iraq-
                 based bank… [Ali] Tarzali has worked with Hizballah and proposed that
                 the terrorist group send funds through Iraq-based al-Bilad Islamic Bank….
                 [which] enabled the IRGC-QF’s exploitation of Iraq’s banking sector to
                 move funds from Tehran to Hizballah, jeopardizing the integrity of the Iraqi
                 financial system…. serving as a conduit for financial disbursements from
19
   PX405, Finding That the Islamic Republic of Iran Is a Jurisdiction of Primary Money
Laundering Concern, 76 Fed. Reg. 72756 (Nov. 25, 2011), also available at:
https://www.govinfo.gov/content/pkg/FR-2011-11-25/pdf/2011-30332.pdf (last visited March 18, 2021).
20
   PX101, FinCEN Advisory on the Iranian Regime’s Illicit and Malign Activities and Attempts to Exploit the
Financial System (Oct. 11, 2018), also available at: https://www.fincen.gov/news/news-releases/fincen-issues-
advisory-iranian-regimes-illicit-and-malign-activities-and


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                 the IRGC-QF to Iranian-backed Iraqi groups, [and] has also helped provide
                                                                  21
                 IRGC-QF financial support to Lebanese Hizballah.




66. Bank Markazi and more of its senior officials were

     sanctioned again on November 20, 2018, for playing a

     critical role in Iran’s illicit oil network designed to

     generate funds for Iranian terror proxies, by facilitating
                                                                                        Ali Tarzali
                                                                                     Source: ifmat.org
     payments for Iran’s sale of oil through front companies

     and entities, and syphoning funds for the IRGC-QF, Hezbollah, and other foreign terrorist

     organizations. Specifically, OFAC found that:

                 To conceal its involvement in these transactions, the CBI makes these
                 payments to Mir Business Bank using Iran-based Tadbir Kish Medical and
                 Pharmaceutical Company (Tadbir Kish). Despite the reference to
                 humanitarian goods in Tadbir Kish’s name, the company has repeatedly
                 been used to facilitate illicit transfers in support of this oil scheme.
                 Following the CBI’s transfer of funds from Tadbir Kish to Global Vision
                 Group in Russia, Global Vision Group transfers payment to Russia state-
                 owned Promsyrioimport to pay for the oil. Mir Business Bank was
                 designated on November 5, 2018, pursuant to Executive Order (E.O.)
                 13224, and is a wholly-owned subsidiary of Iran’s Bank Melli, which was
                 designated for acting as conduit for payments to IRGC-QF.
                 ***
                 CBI senior officials play a critical role in this arrangement. Rasul Sajjad,
                 CBI’s International Department Director, and Hossein Yaghoobi, CBI’s
                 Vice Governor for International Affairs, have both assisted in facilitating
                 Alchwiki’s transfers.
                 ***
                 This scheme has also funneled millions of dollars between the CBI and
                 Alchwiki’s Mir Business Bank account in Russia.
                 ***
                 Senior CBI officials played a key role in this scheme, working with their
                 counterparts in Syria and Alchwiki to facilitate transfer of foreign currency
21
  PX118, Press Release, U.S. Dep’t of the Treasury, Treasury Targets Iran’s Central Bank Governor and an Iraqi
Bank Moving Millions of Dollars for IRGC-Qods Force (May 15, 2018), also available at:
https://home.treasury.gov/news/press-releases/sm0385


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                 to Hizballah, and together have coordinated the transfer of millions of
                 dollars through this network. Specifically, CBI Official, Hossein Yaghoobi,
                 who also has a history of working with Hizballah in Lebanon, has
                 coordinated financial transfers intended for Hizballah with the IRGC-QF
                                          22
                 and Hizballah personnel.

67. To illustrate Bank Markazi’s role in the illicit commercial transactions outlined above, OFAC

     accompanied its sanction action with the following diagram:




68. On September 20, 2019, Bank Markazi’s involvement in illicit commercial transactions

     resulted in another round of sanctions—this time involving Iran’s National Development Fund




22
  PX74, Press Release, U.S. Dep’t of the Treasury, Treasury Designates Illicit Russia-Iran Oil Network Supporting
the Assad Regime, Hizballah, and HAMAS (Nov. 20, 2018), also available at: https://home.treasury.gov/news/press-
releases/sm553


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     and the movement of Iran’s foreign currency reserves to its terrorist proxies.                 Specifically,

     OFAC stated:

                 Since at least 2016, the IRGC-QF has received the vast majority of its
                 foreign currency from the CBI and senior CBI officials have worked
                 directly with the IRGC-QF to facilitate CBI’s financial support to the
                 IRGC-QF. In 2017, the IRGC-QF oversaw the transfer of tens of millions
                 of euros to Iraq from the CBI. Then-Governor of the CBI Valiollah Seif
                 directed the transfer.

                 During 2018 and early 2019, the CBI facilitated the transfer of several
                 billion U.S. dollars and euros to the IRGC-QF and hundreds of millions to
                 MODAFL from the NDF. Additionally, millions were to be transferred to
                 the Houthis. CBI has also coordinated with the IRGC-QF to transfer funds
                 to Hizballah.

                 OFAC is designating the CBI today for having materially assisted,
                 sponsored, or provided financial, material, or technological support for, or
                 goods or services to, the IRGC-QF and Hizballah.

69. OFAC has also previously detailed Bank Markazi’s involvement in currency exchange

     schemes used to fund terrorism when announcing terrorist designations against multiple

     Iranian individuals and entities, specifically on May 10, 2018, stating:

                 [A]n extensive currency exchange network in Iran and the UAE… has
                 procured and transferred millions in U.S. dollar-denominated bulk cash to
                 Iran’s Islamic Revolutionary Guard Corps-Qods Force (IRGC-QF) to fund
                 its malign activities and regional proxy groups… Iran’s Central Bank was
                 complicit in the IRGC-QF’s scheme and actively supported this network’s
                 currency conversion and enabled its access to funds that it held in its foreign
                 bank accounts. This network of exchangers and couriers has converted
                 hundreds of millions of dollars.
                 ***
                 The Iranian regime and its Central Bank have abused access to entities in
                 the UAE to acquire U.S. dollars to fund the IRGC-QF’s malign activities,
                 including to fund and arm its regional proxy groups, by concealing the
                                                                   24
                 purpose for which the U.S. dollars were acquired.

23
   PX48, Press Release, U.S. Dep’t of the Treasury, Treasury Sanctions Iran’s Central Bank and National
Development Fund (Sept. 20, 2019), also available at: https://home.treasury.gov/news/press-releases/sm780
24
   PX135, Press Release, U.S. Dep’t of the Treasury, United States and United Arab Emirates Disrupt Large Scale
Currency Exchange Network Transferring Millions of Dollars to the IRGC-QF (May 10, 2018), also available at:
https://home.treasury.gov/news/press-releases/sm0383


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70. OFAC also provided the following diagram demonstrating Bank Markazi’s role in this
                                                25
     particular currency exchange scheme:




71. On April 2, 2019, Robert Palladino, deputy spokesman for the U.S. Department of State, and

     Brian Hook, Special Representative for Iran and Senior Advisor to the Secretary of State,

     conducted a Press Briefing to inform the public about the efforts of the United States to re-

     institute economic sanctions against Iran that were intended to cripple its ability to use its

     terrorist network to commit or support acts of international terrorism. Brain Hook stated that

     the U.S. sanctions, particularly against Iran’s oil and financial network, were “constraining

     [Iran’s] ability to operate freely in the region… are draining Iran’s support to its proxies, and



25
  PX58, High-resolution version of diagram available at https://www.treasury.gov/resource-
center/sanctions/Programs/Documents/irgc_currency_exchange_en.pdf


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     for the first time in a very long time, they have less access to revenue to spread terror and
                  26
     militancy.”

72. As detailed in continuous U.S. sanction actions for over a decade, Bank Markazi and Bank

     Melli (and other state-owned Iranian banks) were used by Iran to funnel oil proceeds through

     its military and political entities including the IRGC, MOIS, and NIOC, to finance acts of

     terrorism in Iraq against Coalition Forces. If not for the role of banks like Markazi and Melli,

     and companies like NIOC, Iran’s financial support could not have been so effectively, covertly,

     or substantially provided to the groups responsible for such acts, including Shia militia, Al

     Qaeda/Al Qaeda in Iraq, and Ansar al Islam.

     H. Iran’s Willingness to Cross Cultural and Sectarian Divides in Order to
        Export the Revolution and Wage Jihad on the West.

73. Iran’s imperial legacy leads it to reach across religious and sectarian divides. At its greatest

     extent, the Iranian Empire stretched from the Mediterranean to India. Over just the last five

     hundred years, however, it has lost half its territory: The Portuguese seized Bahrain in 1521;

     the Ottoman Empire took Baghdad in 1638; and, in the nineteenth century, the Russian Empire

     wrested from Tehran’s control of what today is Armenia, Azerbaijan, and part of Georgia.

     Iranian elementary school texts teach about the Iranian roots not only of cities like Baku, but

     also cities farther north like Derbent, in southern Russia. The Shah lost much of his claim to

     western Afghanistan after the Anglo-Persian War of 1856-1857. Between 1871 and 1872, Iran

     lost much of Baluchistan when it was powerless not to the British army, but rather to the Indo-

     European Telegraph Department officials charged with demarcating the border. While Iran

     today may be, geographically, a shadow of past Persian Empires, a strong sense of history and


26
  PX378, U.S. Dept. of State, Press Briefing (April 2, 2019), video of this statement is available at:
https://www.state.gov/briefings/department-press-briefing-april-2-2019/


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   pride pervades the country. Many Iranians consider their former imperial boundaries to be a




   natural sphere of influence, Iranzamin, just as Russian nationalists believe that Russia should

   have paramount influence within their “near abroad.” Iranian leaders utilize this sense of near

   abroad over former imperial domains to justify their actions throughout Iraq, and not just those

   areas controlled or populated by Shi’ites.

74. That Iran’s identity—even under the Islamic Republic—extends past Shi’ism is also apparent

   with regards to Nowruz, the pre-Islamic Persian New Year which begins on the first day of the

   Spring Equinox and continues for 13 days. The Islamic Republic continues to use Nowruz to

   mark the New Year, and never adapted the hijri calendar used by other Islamic states and many

   Arab countries. Culturally, Iran’s ayatollahs embraced Nowruz as a mechanism to reach out to

   other Persian societies. In 2014, for example, Iranian President Hassan Rouhani spent his first




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     Nowruz as president attending a Nowruz festival in Afghanistan rather than Iran. The annual

     festival, begun in Iran, is now hosted on a rotating basis in other regional countries. The Iranian

     government also uses Nowruz to mark the beginning of its fiscal year.

75. There are many examples of Iranian support to groups across the sectarian divide. Within the

     Caucasus, Iran often supports Armenia, an overwhelmingly Christian country, against

     Azerbaijan, even though Azerbaijan is one of only three countries beyond Iran which are

     majority Shi’ite. The Islamic Republic’s reasoning appears pragmatic: If successful, an

     independent and majority Shi’ite but secular and Western-leaning Azerbaijan could challenge

     the model and legitimacy of the religious rule in Tehran. The fact that Azerbaijanis enjoy a

     greater life expectancy, literacy, and purchasing power than Iranians, embarrasses the Iranian

     clergy. It is hard for the Supreme Leader to claim that he presides over a near perfect Islamic

     system as the deputy of the messiah on earth when secular governments perform better.

76. A pragmatic calculation about Iran’s national interest also plays into the silence of Iranian

     leaders when it comes to the plight of Muslims abroad. While Supreme Leader Ali Khamenei

     might lambast alleged mistreatment of Muslims in the West, he remained largely silent when

     the Russian army leveled whole cities in Muslim Chechnya and also has been muted in any

     discussion of the mass-imprisonment of Uighurs in China.

77. In 1979, the Islamic Revolution inaugurated the modern world’s first Shi’ite theocracy, but

     Iranian authorities do not see themselves solely as a Shi’ite power. While Sunnis often say

     Shi’ites broke away from them, from a Shi’ite perspective that narrative is opposite: Shi’ism

     represents true Islam and it was the Sunnis who went astray. In practice, this means that Iranian




27
  “Iran’s President Due in Afghanistan to Attend Nowruz Festival,” Tasnim News Agency (Tehran), March 20,
2014, http://www.tasnimnews.com/English/Home/Single/319027


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     leaders see themselves as representing all Muslims, regardless of sect. Iranian leaders

     accordingly see no impediment to transcendence of sectarian lines to support Sunni groups in

     order to advance the Islamic Republic’s broader ideological goals and aims, foremost among

     which are animosity toward the United States, Israel, and the West more broadly. Hossein

     Allahkaram, a former Qods Force officer who deployed to Bosnia in the early 1990s and today

     heads the coordination council of the hardline Iranian organization Ansar-e Hezbollah, the

     group responsible for violently cracking down on Iranian students who protest against the

     Islamic Republic’s social restrictions and prohibitions, explained in August 2021, “We don’t

     distinguish between Shiites or Sunnis. I was with Al-Mujahid, the leader of Al Qaeda in the
                                                               28
     [Bosnian] war, and together we liberated Sarajevo.”

78. Iranian strategic objectives are shaped by a combination of Revolutionary leader Khomeini’s

     vision, Iranian nationalism, and pragmatism. Khomeini placed antipathy toward the United

     States and Israel as a cornerstone in his philosophy. Grievances toward America pepper his

     speeches from his days in exile in Najaf, Iraq, where he taught until the severity of Saddam’s

     crackdown led him once again to flee, through his final sermons in Tehran.29 As the founding

     father of the Islamic Republic, Khomeini is untouchable in the Islamic Republic’s political

     debate.

79. He was never as manichaean toward Sunnis or Sunni countries, however, and was often willing

     to make pragmatic concessions to Sunni interests. He handed over Israel’s pre-revolutionary

     office in Tehran to the Palestine Liberation Organization (PLO), even though PLO chief Yasser

     Arafat was a secular, Sunni Marxist, and named a Tehran street after Khalid Islambouli, a



28
   Video tweeted by AJ News Club, August 31, 2021:
https://twitter.com/ajnewsclub/status/1432679948221829121?s=11
29
   See, for example, Imam Khomeini (Hamid Algar, trans.) Islam and Revolution. London: KPI, 1981.


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     Sunni extremist responsible for the murder of Egyptian President Anwar Sadat. Against the

     backdrop of the Iran-Iraq War, the Islamic Republic also demonstrated its willingness in other

     ways to work across the ethnic sectarian divide. For example, during the Iran-Iraq War, Iraj

     Masjedi, a 35-year veteran of the Islamic Revolutionary Guards Corps, worked as a liaison to

     both Kurdistan Democratic Party (KDP) officials Fadhil Mirani, today the KDP secretary, and

     also to the late Jalal Talabani, Patriotic Union of Kurdistan (PUK) leader who was between
                                             30
     2006 and 2014 the President of Iraq.

80. Despite the tense history between Iran and Kurdish separatism, the Islamic Republic has

     continued to maintain close and cooperative relations with both Masoud Barzani and his

     nephew and current Iraqi Kurdish President Nechirvan Barzani and the late Iraqi President

     Jalal Talabani’s PUK, a group which both controls territory alongside Iran’s border and hosts

     dissident Iranian Kurdish insurgents. Qods Force Chief Qasem Soleimani frequently

     coordinated with Jalal Talabani’s nephew Lahur, the head of the party’s elite counterterrorism

     force in pursuit of specific interests of the moment, even if major disputes between the Islamic

     Republic and secular Kurdish groups remain.

81. Khomeini’s willingness to execute Office of Liberation Movements head Mehdi Hashemi was

     offered as an olive branch to Saudi Arabia against the backdrop of a diplomatic initiative to

     end that country’s bankrolling of Saddam Hussein and also underscored Iran’s sectarian

     pragmatism.




30
  “Modiriat-e Pazhouheshha-ye Amaliati-ye Nirou-ye Zmini-ye Sepah, Sanad-e Shomareh-ye 37514” “[Directorate
for Research into the Operations of the IRGC Ground Forces, Document Number 37514”], quoted in Said
Mohammadpour, “Tasir-e Amaliat-haye Namonazam-e Qarargahe Rmezan dar Jang-e Tahmili” [“Impacts of the
Irregular Operations of Base Ramezan during the Imposed War”], Faslnameh-ye Siasat-e Defaei (Tehran), 12, No.
17(2004):85, cited in “Generational Change in the Iranian Revolutionary Guard Corps Quds Force: Brigadier
General Iraj Masjedi,” Middle East Outlook, American Enterprise Institute (March 2012).


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82. In 1986, as the Iran-Iraq War dragged on and casualties mounted, Khomeini sought to

     ameliorate Iranian relations with Arab countries. All Arab countries except Syria backed Iraq

     in the war. Syria’s willingness to side with Iran and against a fellow Arab state, Iraq, was based

     on three considerations. First, the Assad family dominating Syria since 1970 was religiously

     Alawite, a Shi’ite offshoot sect, and so Damascus saw religious solidarity with Tehran. Second,

     Syria and Iraq were Baath Party rivals. By siding with Tehran, Damascus sought to weaken

     his Arab rival and neighbor. Third, Syria long sought to amplify its regional influence by

     rejecting broader Arab solidarity. This enabled Syria to be the head of its own bloc, rather than

     subordinate itself to any political bloc led by more the populous Egypt or wealthier Saudi

     Arabia.

83. The Iranian leadership wanted to disrupt the Gulf Cooperation Council financing of Iraq’s war

     efforts. Hashemi, however, refused to compromise his ideological and sectarian principles and

     so refused to support any outreach to Saudi Arabia. Instead, in August 1986, in an operation

     which served as a precedent for Iran’s post-2003 Iranian operations in Iraq, he sent operatives

     disguised as pilgrims to disrupt the Hajj and embarrass the Kingdom. Saudi authorities arrested

     more than 100 Iranians carrying arms and explosives, humiliating Iranian officials and
                                                                                                    31
     undermining the credibility of the Iranian diplomatic outreach to Saudi Arabia. Because

     Hashemi—in contrast to Khomeini and the Islamic Republic’s decision-making elite—was

     unwilling to compromise his sectarian ideological principles at a time when Iran felt great
                                                               32
     pressure, Khomeini had him arrested and executed.




31
   Michael Dunn, “Until the Imam Comes: Iran Exports Its Revolution,” Defense and Foreign Affairs, July/August
1987, 43.
32
   Ed Blanche, “Firing Squad Executes Former Aide to Khomeini’s Successor,” Associated Press, September 28,
1987.


                                                      41


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84. Among Iran’s array of perceived enemies, the United States (and Israel) take top billing. This

     was a lesson which former president Ali Akbar Hashemi Rafsanjani learned in April 2012,

     after he suggested that there really was no difference between Iranian relations with China and

     Russia, and normalization of ties with the United States.33 In response, Ayatollah Ahmad

     Alamolhoda at Friday prayers in Mashhad, Iran’s second-largest city and the site of the holiest

     shrines in the country, declared, “Our foreign policy is based on the principle of fighting with

     the Arrogance [a term commonly used to describe the United States],” adding, “Undoubtedly,

     negotiations with America have never been and will never be in our interests.”34 Ahmad

     Khatami, in his capacity as temporary Friday Prayer leader, likewise castigated Rafsanjani as

     “naïve” and “timid.”35 This cemented anti-Western sentiment permits the Iranian leadership to

     justify supporting terrorism, even through the use of Sunni proxies like al-Qaeda, so long as

     such support furthers its broader strategic goals of undermining or undercutting the United

     States and its policy goals.

85. Beyond simply countering the United States, Iranian support for Sunni terrorist groups in Iraq

     had the further purpose of tarnishing the notion of democracy to try to delegitimize the goal

     among the broader Iranian populace. Sheikh Jassim Muhammad Salih al-Suwaydawi, the

     sheikh of the Albu-Souda tribe in Sofia outside of Ramadi, for example, remarked, “The

     terrorists claimed they were a legitimate resistant, but they were not. They were terrorists that

     had been backed and paid by Iranian and Syrian intelligence for a special purpose: to prevent




33
   “Hashemi va tasmimesh bara-ye mazakereh ba Amrika,” (“Hashemi and his decision to talk with America,”)
Fararu.com (Tehran), April 2, 2012.
34
   “Highlights: Iran Provincial Friday Sermons 6 Apr 12 -- Part 1,” Open Source Center, April 6, 2012.
35
   Hojjat al-Islam Sayiid Ahmad Khatami, “Khutbah-ye Nimaz Jameah,” (Friday Prayer Sermons), Nasim Online
(Tehran), April 6, 2012.


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     democracy from spreading in Iraq, which, they were afraid would trickle down to other

     countries.”36

86. Often, after an Iranian military operation or Iranian-sponsored terror attack, Iranian diplomats

     and other officials will deny responsibility. Such denials are empty and often meant to distract.

     Seldom do officials offering denials have any role in or knowledge of Iran’s military

     operations. For example, Iranian Foreign Minister Mohammad Javad Zarif repeatedly denied

     Iranian forces were fighting in Syria. “At the

     current moment, only Iranian advisors are

     present in Syria, not military personnel,” he

     told the Iranian news portal Tabnak.ir. That

     same day, international media reported that
                                                                          Mohammad Javad Zarif
     Gen. Hossein Hamedani, one of Iran’s top                     Source: Iran Ministry of Foreign Affairs

     military officials in Syria, had been killed in

     Aleppo. That Zarif was caught in such a lie shows the irrelevance of diplomatic and other

     Iranian public denials of its military and terrorist activities outside its borders. Similarly, with

     direct evidence in hand, Ryan Crocker, the U.S. ambassador to Iraq, outlined U.S. concerns

     about Iranian support for militias and terrorism in Iraq during a May 28, 2007 meeting, to

     which Iranian Ambassador Hassan Kazemi Qomi, a Qods Force alum with complicity in such
                                                                   37
     operations, simply ignored the substance of the charges.




36
   PX635, Dr. William Knarr, et al., Al-Sahawa-The Awakening Vol. IV-A: Area of Operations Topeka, East Ramadi
and the Shark Fins, Institute for Defense Analysis, at p. B-4 (August 2019).
37
   “U.S., Iranian Ambassadors Meet in Baghdad,” Radio Free Europe, (May 28, 2007)
https://www.rferl.org/a/1076745.html


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87. Iran’s choice of personnel for its embassy in Iraq,
                                                                                      Hassan Kazemi Qomi
                                     38                                         Source: Islamic Rep. News Agency
     however, clarified its intent. Between 2003 and 2010, its

     chargé d'affaires and later ambassador was Hassan

     Kazemi-Qomi. Qomi, a senior commander in the IRGC’s

     Qods Force, the main coordinating body for Iranian

     terrorism abroad, and a former IRGC liaison to Hezbollah
                   39
     in Lebanon.        Today, Qomi remains a senior advisor to

     Supreme Leader Ali Khamenei. Qomi’s replacement

     Hassan Danaeifar also hailed from the IRGC. On October

     16, 2020, Danaeifar granted an interview to Islamic

     Republic of Iran Broadcasting television in which he
                                                                                          Iraj Masjedi
     spoke of his close connections to Soleimani, whom he saw                          Source: iranintl.com

                                                                                                              40
     as his superior, who often provided him with intelligence about ongoing operations. Iraj

     Masjedi, who assumed the ambassadorship of Iran to Iraq in April 2017, was a senior Qods

     Force commander and a former advisor to Qods Force Chief Qasem Soleimani. On October

     22, 2020, the U.S. Treasury Department sanctioned Masjedi for having “overseen a program

     of training and support to Iraqi militia groups, and he has directed or supported groups that are

     responsible for attacks that have killed and wounded U.S. and Coalition Forces in Iraq. In his

     current capacity, Masjedi has exploited his position as the Iranian regime’s ambassador in Iraq




38
   PX275, “Iran’s Ministry of Intelligence and Security: A Profile,” Federal Research Division, Library of Congress,
(December 2012).
39
   “Entekhab-e Safir-e Jadid-e Iran Dar Eragh Va Janjal-e Resaneh-ha-ye Arabi” [Appointment of New Iranian
Ambassador to Iraq and Mayhem of the Arab Media], Diplomasi-ye Irani (Tehran) (January 24, 2010).
40
   https://www.telewebion.com/episode/2396175


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                                                                                                         41
     to obfuscate financial transfers conducted for the benefit of the IRGC-QF [Qods Force].” The

     logic of Iran’s ambassadorial appointments appears geared toward its aims and policies in Iraq:

     the support of militias—an IRGC responsibility—trumped traditional diplomatic dialogue.

88. It would be consistent with Iranian practice for Qomi to control operations involving not only

     Shi’ite militias but also Sunni armed groups as well. In Lebanon, for example, the Iranian

     embassy interacts not only with Hezbollah, but also its allies among Sunnis and Christians as

     well. In Afghanistan, the Iranian ambassador likely helps coordinate Iranian weapons supply

     to the Taliban. In Baghdad, the Iranian embassy has long sought to co-opt and work with Sunni

     tribal leaders and politicians such as Muhammad al-Halbousi, the current speaker of the

     parliament who won his position largely due to Iranian-provided largesse. Generally speaking,

     the Iranian embassy in Baghdad and Iranian diplomats and officials more broadly in Iraq have

     a long history of working across the sectarian divide, and would have had specific knowledge

     of Iran’s support for Shia militia and Sunni terror groups operating in Iraq against American

     interests.

     I. Iran’s History of Supporting the Foreign Terrorist Organization - Al
        Qaeda.

89. The National Commission on Terrorist Attacks upon the United States, often called the “9/11

     Commission,” interviewed more than 1,000 people in ten countries and conducted an

     unprecedented review of U.S. intelligence before finalizing its report, an unclassified version
                                                                 42
     of which was released to the public on July 22, 2004.            The Commission found evidence of a

     significant and continuing relationship between al-Qaeda and the Islamic Republic of Iran.


41
   PX49, “Treasury Sanctions Iranian Ambassador to Iraq,” U.S. Department of the Treasury, October 22, 2020,
https://home.treasury.gov/news/press-releases/sm1159
42
   PX282, 9-11 Commission Report. Washington, D.C., The National Commission on Terrorist Attacks upon the
United States (July 22, 2004).


                                                      45


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90. The 9-11 Commission concluded that, "the relationship between Al Qaeda and Iran

     demonstrated that Sunni-Shia divisions did not necessarily pose an insurmountable barrier to

     cooperation in terrorist operations," and that, in the early 1990s, discussions in Sudan between

     Al Qaeda and Iranian operatives led to an informal agreement to cooperate in providing support

     for actions carried out primarily against Israel and the United States.

91. The 9-11 Commission also found that Sudanese officials facilitated meetings between Al

     Qaeda operatives and Iranian officials at the time when, between 1991 and 1996, Usama bin

     Laden lived in Sudan. As a result, some senior Al Qaeda operatives traveled to Iran to receive

     training in explosives and some visited the Bekaa Valley in Lebanon for training in explosives
                                                 43
     as well as in intelligence and security.         While Bin Laden provided Al Qaeda’s initial seed

     money from his personal fortune, early training by Iranian proxies, such as Hezbollah, and

     Iran’s logistical support were critical to the group’s early development and evolution.

92. On June 26, 1996, a truck bomb ripped through an apartment complex in al-Khobar, Saudi

     Arabia, killing nineteen U.S. servicemen. The Saudi Hezbollah operatives who carried out the

     attack were associated with Brigadier General Ahmad Sharifi, an Islamic Revolutionary Guard
                          44
     Corps commander.          In its report the 9-11 Commission reiterated the likelihood that Iranian
                                                            45
     officials played a role in attacking U.S. forces.

93. The U.S. District Court for the District of Columbia held that Iran was responsible for the

     Khobar Towers bombing in Heiser v. Islamic Republic of Iran, 466 F.Supp.2d 229 (D.D.C.

     2006), finding that the operation was undertaken on direct orders from senior Iranian



43
   PX282, “The Foundation of the New Terrorism,” 9-11 Commission Report, p. 61.
44
   Pierre Thomas; David B. Ottaway. “Suspect Links Iranian to Anti-American Plot; Claim Reinforces U.S.
Suspicion in Saudi Blast,” The Washington Post. June 28, 1997.
45
   PX282, “The Foundation of the New Terrorism,” 9-11 Commission Report, p. 60.


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     government leaders, the bombers had been trained and funded by the IRGC in Lebanon's Bekaa

     Valley, and senior members of the Iranian government, including Ministry of Defense,

     Ministry of Intelligence and Security (MOIS) and the Supreme Leader's office had selected

     Khobar as the target and commissioned the Saudi Hizballah to carry out the operation.

94. Further, the 9/11 Commission Report found that Al Qaeda

     was also involved in the planning and preparations for the

     Khobar Towers bombing according to a classified CIA

     analytic report that showed the IRGC-Qods Force

     commander Ahmad Vahidi planned the Khobar Towers

     attack with Ahmad al Mughassil, a Saudi-born Al Qaeda
                                                                                     Ahmad Vahidi
                                                                                  Source:alchetron.com
               46
     operative.     On the day of the operation, bin Laden was,

     according to NSA intercepts, congratulated by members of other Sunni militant
                     47
     organizations.

95. On August 7, 1998, two nearly-simultaneous truck bombings destroyed the U.S. embassies in

     Nairobi, Kenya, and Dar-es-Salaam, Tanzania, killing more than 300 people and wounding

     more than 5,000. The U.S. District Court in Owens, et al. v. Republic of Sudan, 2011 U.S.

     Dist. LEXIS 135961, held that Iran, the IRGC, and MOIS, as well as the Republic of Sudan

     and its Ministry of the Interior, were liable for supporting the U.S. Embassy bombings and that

     "support from Iran and Hezbollah was critical to Al Qaeda's execution of the 1998 embassy

     bombings." The Court also found that the material support of Iran, the IRGC, and MOIS was

     supplied to Al Qaeda through Iran's sponsorship of Hezbollah.


46
  PX282, 9-11 Commission Report at p. 60, n. 48.
47
  ” Panel Links al Qaeda to Khobar Towers Blast, Other Attacks” Air Force Magazine, September 2004.
https://www.airforcemag.com/PDF/SiteCollectionDocuments/Reports/2006/March/Day20/AW_04_1.pdf


                                                     47


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96. Iran again used Hezbollah as its conduit through which the IRGC and MOIS facilitated Al

     Qaeda’s deadly attack against the U.S.S Cole on October 12, 2000 while the ship was being

     refueled in Yemen’s Aden harbor. The U.S. District Court of the District of Columbia found

     Iran liable for supporting Al Qaeda in the attack based on the fact Iran provided material and

     direct support to Al Qaeda via the Ministry of Intelligence and Security (“MOIS”) and the

     IRGC as well as via Hezbollah. The court stated that, although they have a long history of

     cooperating in a common anti-American agenda, Iran and Al Qaeda have always had serious

     ideological differences. In providing support to Al Qaeda and Hezbollah, the IRGC, including

     the IRGC Qods division, is acting as an official agency whose activities are tightly and

     carefully controlled by the Iranian government through the Supreme Leader and his

     representatives. Iran’s relationship with Al Qaeda continues even in situations where Iran is
                                                     48
     also supporting those fighting Al Qaeda.

97. Iran was also found liable for materially supporting Al Qaeda in the attacks on September 11,

     2001. The U.S. District Court for the Southern District of New York, in In Re Terrorist Attacks

     on September 11, 2001, 349 F.Supp.2d 765 (S.D.N.Y. 2005) concluded that the Islamic

     Republic of Iran provided direct and material support and resources to Al Qaeda for acts of

     terrorism, including the extrajudicial killing of the victims of the September 11, 2001 attacks.

98. In a related case, the U.S. District Court for the Southern District of New York also held that

     the Islamic Republic of Iran provided material support or resources, to Al Qaeda generally




48
  Flanagan v Islamic Republic of Iran, United States District Court for the District of Columbia, Case 1:10-cv-
01643-RC, 03/31/2015, at p. 35.


                                                          48


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     including planning, funding, money, lodging, training, expert advice or assistance, safe houses,
                                                                                                     49
     false documentation or identification, transportation, and safe haven within Iran.

99. After the Taliban seized Kabul in 1996, Usama Bin Laden relocated to Afghanistan, flying on

     a leased aircraft from Khartoum to Jalalabad. In Afghanistan, he resumed his terror campaign,

     planning the 1998 East Africa embassy bombings. In aftermath of those twin attacks in Nairobi

     and Dar-es-Salaam, investigators obtained Bin Laden’s phone records and determined that ten
                                                                     50
     percent of his calls were made to phones inside Iran. Federal prosecutors investigating the

     1998 East Africa bombings noted the Iran-Bin Laden nexus developed while Bin Laden still

     lived in Sudan. “Al Qaeda also forged alliances with the National Islamic Front in the Sudan

     and with the government of Iran and its associated terrorist group Hezbollah for the purpose

     of working together against their perceived common enemies in the West, particularly the
                                                                                         51
     United States,” the November 1998 indictment against Bin Laden read.

100.    In Afghanistan, Bin Laden established a number of terrorist training camps which attracted

     a steady stream of young Islamists, many of whom transited Iran. Iranian border officials

     normally stamp passports, but they made an exception for Al Qaeda terrorists hindering the

     ability of both American intelligence analysts and counterterrorism officials in the hijackers’
                                                      52
     home countries to trace their movements. Between eight and ten of the 9-11 Saudi hijackers
                                                                                              53
     traversed Iran to travel to or return from Al Qaeda training camps.                           While the 9-11



49
   In re Terrorist Attacks on Sept. 11, 2001, No. 03 MDL 1570(GBD)(FM), 2012 WL 4711407 (S.D.N.Y. 2012),
regarding Havlish v. bin Laden, 03 Civ. 9848 (GBD) (FM) 2012.
50
   PX275, “Iran’s Ministry of Intelligence and Security: A Profile,” Federal Research Division, Library of Congress,
December 2012.
51
   United States vs. Usama Bin Laden, “Indictment,” United States District Court, Southern District of New York,
November 4, 1998.
52
   PX282, “The Foundation of the New Terrorism,” 9-11 Commission Report, p. 61.
53
   PX282, “The Attack Looms,” 9-11 Commission Report, pp. 240-241.


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       Commission report did not say that Iranian authorities knew the advance details of Bin Laden’s

       9-11 plan, had Iranian authorities not allowed the hijackers to freely transit Iranian territory, it

       is unlikely the attacks could have been successful. The 9-11 Commission report further noted,

       “For terrorists, success is often dependent on travel…. For terrorists, travel documents are as
                                  54
       important as weapons.”

101.       Iran subsequently provided similar logistical support and safe-haven to members of other

       Sunni militant groups such as Ansar al-Islam. In a 2003 report, for example, the International

       Crisis Group found that, absent any other explanation, it “is indisputable…that the group could

       not survive without the support of powerful factions in neighboring Iran, its sole lifeline to the
                         55
       outside world.” Indeed, many Ansar al-Islam members escaped the initial American assault

       on Iraq by seeking refuge across the Iranian border, and were able to re-group and re-emerge

       in Iraq to effectively attack Coalition forces and Iraqi citizens for years afterwards.

102.       It is not possible to transit Iran casually. When, in 1996 and 1999, I took both public buses

       and also private cars within Iran, it was normal for police to check documents and passports at

       internal provincial boundaries and for security to ensure visas and stamps at hotels. It is not

       realistic for any traveler to bypass passport controls or visa checks without a deliberate Iranian

       government knowledge and cooperation to allow them to do so.

103.       Anti-Americanism is the tie that binds Iran with Sunni terror groups like Al Qaeda and

       Ansar al Islam. While sectarian differences may, to the outsider, seem to obviate any




54
     PX282, 9-11 Commission Report, p. 384.
55
     "Radical Islam in Iraqi Kurdistan: The Mouse that Roared?" International Crisis Group, February 7, 2003.


                                                          50


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     ideological alliance between Shia Iran and Sunni extremist groups like Al Qaeda, pragmatism
                                                                       56
     allows the Iranian government to overcome any antipathy.

104.    This pragmatic alliance among sectarian rivals to target the United States has often been

     on display with regard to Iranian relations with the Taliban. “It is better for Iran if America is


     entangled in Afghanistan with the Taliban, because as soon as the United States has no problem

     in Afghanistan, it can turn to the next area in the Middle East,” explained Abulfazl Amooei, a

     political analyst for the mass-circulation daily Hamshahri, a paper founded by reformist faction

     member and former Tehran mayor Gholamhossein Karbaschi.57 Such support is not simply

     theoretical. International Security Assistance Force (ISAF) forces have intercepted Iranian

     weapons shipments to the Taliban, and the Afghan National Army has captured Taliban

     commanders in possession of Iranian bank books.58 Afghan authorities have also accused Iran

     of training both Taliban fighters and suicide bombers.59




56
   In his profile of Qods Force leader Qasem Soleimani, New Yorker writer Dexter Filkins provides several
examples. See, PX634, Dexter Filkins, “The Shadow Commander,” New Yorker (September 23, 2013),
https://www.newyorker.com/magazine/2013/09/30/the-shadow-commander
57
   Kim Murphy, “Iran is Keeping its Options Open in Afghanistan,” Los Angeles Times (August 15, 2008),
http://archive.boston.com/news/world/middleeast/articles/2007/08/15/iran_is_keeping_its_options_open_in_afghani
stan/
58
   PX313, Denis Blair, director of National Intelligence, Senate Select Committee on Intelligence, February 12,
2009, https://www.dni.gov/files/documents/Newsroom/Testimonies/20090212_testimony.pdf; “Farmandehan
Taliban dar Iran Hesab-e Banki Darand,” [Taliban commander has bank account in Iran], Hasht-e Sobh (Kabul),
January 08, 2011, https://8am.af/j8am/index.php?option=com_content&view=article&id=16742:1389-10-18-05-11-
56&catid=236&Itemid=281
59
   “Gulab Mangal, Vali Helmand: Iran va Pakistan Mukhalafan-e Maslah ra Himayat Mikonad,” [Helmand
Governor Gulab Mangal: Iran and Pakistan Support Armed Opposition”], Hasht-e Sobh, February 13, 2011,
https://8am.af/j8am/index.php?option=com_content&view=article&id=17513:1389-11-24-04-50-
28&catid=236&Itemid=281


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105.     The anti-American alliance between Iran and Al Qaeda is well-developed. After the

     September 11, 2001 terror attacks, U.S. officials identified senior Al Qaeda operatives who

     sought refuge and protection in Iran. The Islamic Revolutionary Guard Corps’ Qods Force
                                     60
     facilitated their movement.          The IRGC reportedly accommodated and protected Al Qaeda
                                                                                                   61
     leaders in its own facilities, for example, outside of Chalus, near the Caspian Sea. Chalus was

     convenient for the IRGC to control Al Qaeda given the sandwiching of the town between the

     Caspian Sea and Alburz mountains, with only one road traversing the mountain pass into town.

106.     These Al Qaeda leaders included Al Qaeda

     spokesman (and Usama bin Laden’s son-in-law)

     Sulayman Abu Ghaith, top operative Sayf al-Adl, and

     Usama bin Laden’s son and heir-apparent, Saad bin
              62                                                                  Sulayman Abu Ghaith
     Laden.        Al Qaeda, in effect, trusted Iran with its brain              Source:foreignpolicy.com

     trust.

107.     Abu Ghaith was a Kuwaiti cleric who had joined Bin Laden in an Afghan cave in the hours

     after the 9-11 and helped Bin Laden recruit suicide bombers. In March 2014, a U.S. federal




60
   PX699, Seth G. Jones, “Al Qaeda in Iran: Why Tehran is Accommodating the Terrorist Group,” Foreign Affairs
(January 29, 2012).
61
   Sharon Chadha, “What is Al-Qaeda Management doing in Iran?” Radio Free Europe/Radio Liberty Newsline
(Prague) (December 2, 2004); "Nearly 400 al-Qaeda members and other terror suspects in Iran," Agence France
Presse (July 15, 2004).
62
   Peter Bergen, “Strange bedfellows -- Iran and al Qaeda,” CNN.com, March 10, 2013,
https://www.cnn.com/2013/03/10/opinion/bergen-iran-al-qaeda/index.html; PX223, Ari R. Weisfuse, “The Last
Hope for the al-Qa`ida Old Guard? A Profile of Saif al-`Adl,” CTC Sentinel, Combatting Terrorism Center at West
Point, March 2016, https://ctc.usma.edu/the-last-hope-for-the-al-qaida-old-guard-a-profile-of-saif-al-adl/; PX621,
Bobby Ghosh, “U.S. Spurned Iran Offers to Turn Over bin Laden's Son,” Time (July 30, 2009),
http://content.time.com/time/world/article/0,8599,1913323,00.html


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     district court convicted him of conspiracy to kill Americans and providing material support to
                                                       63
     terrorists and sentenced him to life in prison.

108.    According to West Point’s Combating Terror Center, Sayf al-Adel an Egyptian special

     forces operator who grew up secular but radicalized into Egyptian Islamic Jihad, was one of

     Al Qaeda’s top operatives and was largely responsible for building the terrorist organization’s
                                                                                                         64
     operational capability. He remained in Sudan with Bin Laden between 1992 and 1996. Al-

     Adl also taught courses to Al Qaeda recruits and operatives on how to conduct assassinations

     and abductions, and assisted with intelligence collection. Al-Adl also acted as the chief liaison
                                                                                  65
     between Bin Laden and his eventual successor Ayman al-Zawahiri.

109.    According to testimony provided by

     Khalid Sheikh Muhammad, the chief planner

     of the 9-11 operation, al-Adl was informed of

     the operations in New York and Washington

     in April 2001. Al-Adl later wrote of the
                                                                                 Sayf al-Adl
                                                                        Source: rewardsforjustice.net
     decision by senior Al Qaeda operatives to

     seek shelter in Iran: “We began to flock to Iran one after the other. The brothers in the Arab

     Peninsula, Kuwait, and the United Arab Emirates who were outside Afghanistan had already

     arrived. They possessed abundant funds. We set up a central leadership circle and subordinate

     circles. We began to rent apartments for the brothers and some of their families,” he wrote in



63
   Benjamin Weiser, “Abu Ghaith, a Bin Laden Adviser, Is Sentenced to Life in Prison,” New York Times
(September 23, 2014).
64
   PX687, Michael S. Smith II, “The Al-Qa’ida-Qods Force Nexus: Scratching the Surface of a ‘Known Unknown,’”
Kronos (April 29, 2011).
65
   PX223, Ari R. Weisfuse, “The Last Hope for the al-Qa`ida Old Guard? A Profile of Saif al-`Adl,” CTC Sentinel
(March 2016).


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                                                                                   66
     a biography of Al Qaeda in Iraq leader Abu Musab al-Zarqawi. Al-Adl also coordinated

     meetings between Al Qaeda and both the Islamic Revolutionary Guard Corps and Iran’s
                                                           67
     Ministry of Information and Security (MOIS).

110.    Iranian authorities were certainly aware of these activities given both Iranian border

     control, the presence of local Iranian security officials who monitor foreigners, and Iranian

     surveillance conducted on senior Al Qaeda officials, many of whom lived in Islamic

     Revolutionary Guard Corps bases or other facilities. In November 2001, a 50-vehicle convoy

     departed Herat with 250 Taliban and Al Qaeda operatives destined for Iran. A Western

     diplomat stationed in the area did not find it credible that such a crossing could happen without

     prior coordination with Iranian authorities. “The Iranian Revolutionary Guard has an eye on

     everything that happens along the border," the diplomat said. "Of course they know that
                                                                68
     Taliban and Al Qaeda fighters are getting across.”

111.    Saad bin Laden, one of Usama bin Laden’s elder sons,

     used his Iranian sojourn to manage Al Qaeda operations from

     within the Islamic Republic although he eventually migrated

     back to Pakistan where he was killed in a 2009 drone strike.

     While in Iran, he was involved in orchestrating high-profile                           Saad bin Laden
                                                                                         Source:Aljazeera.com
     suicide bombings in both Saudi Arabia and Morocco which

     are detailed below.



66
   PX223, Ari R. Weisfuse, “The Last Hope for the al-Qa`ida Old Guard? A Profile of Saif al-`Adl,” CTC Sentinel
(March 2016).
67
   PX275, “Iran’s Ministry of Intelligence and Security: A Profile” Federal Research Division, Library of Congress,
(December 2012), p. 41.
68
   Tim McGirk, “Did Iran Help al Qaeda Escape?”, Time, Feb. 02,
2002,http://content.time.com/time/world/article/0,8599,198857,00.html


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112.     Ezedin Abdel Aziz Khalil (more commonly known as Yasin al-Suri), an Al Qaeda

     facilitator, helped move both men and money from throughout the Middle East to Bin Laden’s
                                                     69
     subsequent Pakistan headquarters via Iran. Iran also reportedly sheltered Abu Muhammad
                                                                                70
     al-Masri, a mastermind of the 1998 East Africa embassy bombings.                Documents seized in the

     Abbottabad compound where Bin Laden was killed also showed that Hamza bin Laden and his

     mother escaped U.S.-led forces in Afghanistan by seeking refuge in a series of safe houses in
         71
     Iran.    Prior to the September 14, 2019 announcement of his death, the State Department

     believed Al Qaeda was grooming Hamza for a senior leadership role and, in February 2019,

     offered a $1 million reward for information about his current location.

113.     In subsequent years, senior Al Qaeda leaders remained under Iranian protection. Iran has

     provided refuge to “hundreds” Al Qaeda members and the family members of core leaders like
                 72
     Bin Laden.       That the Islamic Republic of Iran provided shelter to Al Qaeda after the 9-11

     terror attacks likely saved senior Al Qaeda operatives and, in the short-term, the group’s

     functionality. Al Qaeda was actively on-the-run in the immediate aftermath of the U.S.-led

     invasion of Afghanistan and the ouster of the Taliban regime. While Pakistan also provided

     some aid and assistance to some Al Qaeda leaders including in subsequent years Usama Bin

     Laden, al-Qaeda did not consider Pakistan to be as secure as Iran. The United States had a




69
   PX699, Seth G. Jones, “Al Qaeda in Iran: Why Tehran is Accommodating the Terrorist Group,” Foreign Affairs,
January 29, 2012; PX130, "Treasury Targets Key Al-Qa’ida Funding and Support Network Using Iran as a Critical
Transit Point,” U.S. Department of Treasury, July 28, 2011, https://www.treasury.gov/press-center/press-
releases/pages/tg1261.aspx
70
   PX699, Seth G. Jones, “Al Qaeda in Iran: Why Tehran is Accommodating the Terrorist Group,” Foreign Affairs,
January 29, 2012.
71
   Jon Gambrell, “Born into al-Qaida: Hamza bin Laden’s rise to prominence,” Associated Press, March 17, 2019,
https://www.apnews.com/814939215e824f82bc809199ac1a0d0f
72
   PX687, Michael S. Smith II, “The Al-Qa’ida-Qods Force Nexus: Scratching the Surface of a ‘Known Unknown,’”
Kronos, (April 29, 2011).


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     military and intelligence presence inside Pakistan and was willing to utilize drones and special

     operators in order to target wanted terrorists even when the Pakistan government or elements

     within it were seeking to protect them. The decades-long diplomatic break between

     Washington and Tehran meant that there was little U.S. intelligence presence or military

     liaisons inside Iran. In a conversation recorded by Italian police, Libyan Lased ben Heni, a

     member of an al-Qaeda cell in Milan, explained to colleagues that, while Pakistan was more

     “comfortable,” the ability of other intelligence services to operate there made Iran a better
           73
     route.     That FBI cash rewards of up to $25 million for senior Al Qaeda officials remained

     unclaimed indicates the degree of safety the Iranian haven provided Al Qaeda planners and

     operatives.

114.    Iranian cooperation was also a strategic boon to Al Qaeda as Iran was geographically closer

     to Iraq and the rest of the Middle East and was necessary territory in which to operate with the

     goal to infiltrate men and equipment into Iraq. With the exception of Syria—an Iranian ally--

     Iraq’s other neighbors Turkey, Kuwait, and Saudi Arabia took a zero-tolerance approach to Al

     Qaeda cells on their territories. (President Recep Tayyip Erdoğan subsequently made common

     cause with some Al Qaeda-affiliated groups in Syria, although this occurred in the wake of the

     Syrian civil war in 2011).

115.    The willingness of Iran to cooperate with and protect Al Qaeda operatives surprised lower

     level operatives assigned to transit through the country. Italian police recorded a March 10,

     2001 conversation among members of a Milan terror cell. “Isn’t there a danger in Iran?” a

     Tunisian named Tarek Charaabi asked. “No, because there’s an organization that takes care of




73
  Sebastian Rotella, “Terrorism Suspects Traced to Iran,” Los Angeles Times, Aug. 1,
2004,https://www.latimes.com/archives/la-xpm-2004-aug-01-fg-iran1-story.html


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     helping the mujahedin brothers cross the border. There’s total collaboration with the Iranians,”
                                                           74
     a Libyan named Lased ben Heni responded.                   More likely than not, this “organization”

     assisting Al Qaeda was the IRGC.

116.    While Iranian officials passed messages saying Al Qaeda leaders were under “house

     arrest,” Al Qaeda operatives’ own statements and actions belie this purported incarceration.

     Rather, it appears Iran wanted plausible deniability while at the same time empowering a

     militant group which it understood would use the safe haven it provided to authorize, plan,

     commit, and inspire attacks against American interests in Iraq and beyond.

117.    For Al Qaeda, other than safe haven and travel facilitation, perhaps the greatest benefit of

     its alliance with Iran was financial. Usama Bin Laden was the scion of a Saudi construction

     empire worth billions. His break with Saudi Arabia made access to his family’s fortune and his

     own personal holdings difficult. In the aftermath of the 1998 East Africa attacks, the U.S.

     Treasury Department and international community began cracking down on informal financial

     networks such as the hawala system which enabled terrorists to transfer large sums of money

     outside of banks and more formal operators legally bound to report if not do due diligence.

     Restrictions on informal transfers increased still more after the 9-11 attacks, a time when for

     obvious reasons Al Qaeda was under a microscope and many of its traditional donors reticent

     for fear of designation as Al Qaeda financiers. It was against this backdrop that Iran embraced

     Al Qaeda at a time when Al Qaeda cash reserves were dwindling. In many ways, through

     access to cash and banking services, Iran became an angel investor for the group at a time both

     when it faced dire need and when it began attacking American targets in Iraq.




74
  Sebastian Rotella, “Terrorism Suspects Traced to Iran,” Los Angeles Times, Aug. 1,
2004,https://www.latimes.com/archives/la-xpm-2004-aug-01-fg-iran1-story.html


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118.     The U.S. Treasury Department has repeatedly

     designated Al Qaeda operatives residing in or

     utilizing Iran as a financial transit point. On July 28,

     2011, for example, the Treasury Department

     designated six members of an Al Qaeda network
                                                                               Ezedin Abdel Aziz Khalil
     headed by Ezedin Abdel Aziz Khalil (AKA Yasin                            Source: rewardsforjustice.net


     al-Suri), an Iran-based Al Qaeda facilitator who helped facilitate transfer of funding. “The

     network serves as the core pipeline through which Al Qa’ida moves money, facilitators and
                                                                      75
     operatives from across the Middle East to South Asia.” The designation identifies Khalil as

     the Iran-based Al Qaeda liaison who would arrange the releases of Al Qaeda operatives

     imprisoned in Iran and would facilitate travel across the country. It also identifies Umid

     Muhammadi as an Al Qaeda facilitator “and key supporter of Al-Qa’ida in Iraq” who petitions

     Iranian officials to release Al Qaeda operatives detained in the country. Muhammadi, who is
                                                                 76
     Iran-based, has also planned multiple attacks in Iraq.




75
   PX130, “Treasury Targets Key Al-Qaida Funding and Support Network Using Iran as a Critical Transit Point,”
U.S. Department of Treasury, July 28, 2011, https://www.treasury.gov/press-center/press-
releases/pages/tg1261.aspx
76
   PX130, “Treasury Targets Key Al-Qaida Funding and Support Network Using Iran as a Critical Transit Point,”
U.S. Department of Treasury, July 28, 2011, https://www.treasury.gov/press-center/press-
releases/pages/tg1261.aspx


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119.    In 2012, the U.S. Treasury Department designated Adel Radi Saqr al-Wahabi al-Harbi, an

     additional Al Qaeda terrorist operating from Iran.

     According to the designation, “Al-Harbi is an Iran-based

     al-Qa’ida facilitator who serves as the deputy to [al-Qaeda

     facilitator Muhsin] al-Fadhli. Al-Fadhli took over the Iran-

     based facilitation network from Ezedin Abdel Aziz Khalil

     in late 2011. In his capacity as the deputy to al-Fadhli in

     Iran, al-Harbi facilitates the travel of extremists to                    Adel Radi Saqr al-Wahabi al-Harbi
                                                                                        Source:atfp.org
     Afghanistan or Iraq via Iran on behalf of al-Qa’ida, and is
                                                                          77
     believed to have sought funds to support al-Qa’ida attacks.”

120.    On July 30, 2012, U.S. District Court Judge Frank Maas assigned civil liability to the
                                                                                                                   78
     Islamic Republic for its cooperation with Al Qaeda prior to 9/11 and ordered it pay damages.

     In 2015, Iranian authorities released Abu Muhammad al-Masri, Abu Khayr al-Masri, and al-

     Adl, along with a handful of other operatives. Abu Khayr al-Masri died two years later in a
                                   79
     U.S. drone strike in Syria. According to a document seized from Bin Laden’s Abbottabad
                                                                                                80
     compound, Bin Laden’s wife went to a dentist in Iran to have a cavity filled. While such a

     dental appointment may seem innocuous, Bin Laden’s casual attitude toward his wife—

     someone who knew his exact whereabouts—going back and forth to Iran suggests that the Al



77
   PX127, "Treasury Further Exposes Iran-Based Al-Qa'ida Network," U.S. Department of Treasury, October 18,
2012, https://www.treasury.gov/press-center/press-releases/Pages/tg1741.aspx
78
   United States District Court, Southern District of New York, In Re: Terrorist Attacks on September 11, 2001,
Regarding Havlish v. bin Laden, 03 Civ. 9848 (GBD) (FM), July 30, 2012.
79
   PX224, Assaf Moghadam, “Marriage of Convenience: The Evolution of Iran and al-Qa`ida’s Tactical
Cooperation,” CTC Sentinel, April 2017, pp. 12-13.
80
   PX912, “Letter to Wife,” Director of National Intelligence archive of Bin Laden documents,
https://www.dni.gov/files/documents/ubl2016/english/Letter%20to%20wife.pdf


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     Qaeda leader did not fear Iranian attack or betrayal and, quite the contrary, to a certain degree

     trusted senior Iranian officials with the fate of his closest relatives even if, to some degree, he

     remained suspicious that Iran might seek intelligence advantage from her presence.

121.    On July 20, 2016, the Treasury Department announced the designation of three senior Al

     Qaeda operatives living in Iran: Faisal Jassim Mohammed al-Amri al-Khalidi, Yisra

     Muhammad Ibrahim Bayumi, and Abu Bakr Muhammad Ghumayn. Khalidi was a liaison

     between Iran and the Pakistani Taliban, Bayumi a mediator with Iranian authorities and a

     facilitator for Al Qaeda members liaising with Iranian authorities, and Ghumayn served at the
                                               81
     time in an Al Qaeda intelligence role. Al Qaeda’s extensive administrative network in Iran

     and its multiple liaisons with Iranian authorities belie the notion that Iranian authorities are

     unaware of the group’s actions.

122.    Al Qaeda members resident in Iran or under Iranian protection were responsible for several

     high-profile plots and attacks. For example, U.S. officials blamed the May 12, 2003 bombings

     in Riyadh, Saudi Arabia, against four expatriate housing complexes on Abu Ghaith, al-Adl,

     and Saad Bin Laden, saying they were able to contact associates outside Iran in order to
                         82
     coordinate attacks. Saad Bin Laden was also an organizer for the May 16, 2003 Casablanca

     suicide attacks which 33 people in addition to the 12 suicide bombers. Yasin al-Suri, Iran’s

     chief facilitator in Iran, reportedly plotted commando-style attacks in Germany, France, and

     the United Kingdom. The suspects in Al Qaeda’s “Europlot” traveled from Europe to Pakistan




81
   PX69, “Treasury Designates Three Senior Al-Qaida Members,” U.S. Department of Treasury, July 20, 2016,
https://www.treasury.gov/press-center/press-releases/Pages/jl0523.aspx
82
   PX695, Robert Windrem, “Al-Qaida finds safe haven in Iran,” NBC, June 24, 2005,
http://www.nbcnews.com/id/8330976/ns/dateline_nbc/t/al-qaida-finds-safe-haven-iran/#.XPUp_SApDIU ; Douglas
Jehl and Eric Schmitt, “U.S. Suggests a Qaeda Cell in Iran Directed Saudi Bombings,” New York Times, May 21,
2003.


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                                                                      83
     via Iran before U.S. intelligence disrupted the attempt. In April 2013, Canadian authorities

     disrupted another plot formulated by “Al Qaeda elements living in Iran” which sought the
                                                                 84
     derailment of a New York – Toronto passenger train. Al-Suri reportedly brokered a deal with

     Iranian officials by which Al Qaeda could operate from within Iran, but would refrain from
                                                                                                            85
     targeting any Iranian interests and would also inform Iranian intelligence of its actions. In

     one letter seized from Bin Laden’s Abbottabad compound, Bin Laden declared, “Iran is our
                                                                           86
     main artery for funds, personnel, and communication.”

123.     The tight relationship between the Iranian government and Al Qaeda has continued. On

     August 7, 2020, for example, assassins gunned down Abdullah Ahmed Abdullah, also known

     as Abu Muhammad al-Masri on a Tehran street.

     Secretary of State Mike Pompeo subsequently

     confirmed al-Masri’s death. At the time of his

     assassination, al-Masri was Al Qaeda’s deputy

     leader. That such a senior level official would be in

     Tehran at all suggests a relationship of trust and                         Abu Muhammad al-Masri
                                                                                  Source:nytimes.com
     cooperation between Al Qaeda and top Iranian

     security and political officials.




83
   PX224, Assaf Moghadam, “Marriage of Convenience: The Evolution of Iran and al-Qa`ida’s Tactical
Cooperation,” CTC Sentinel, April 2017, p. 15.
84
   PX224, Assaf Moghadam, “Marriage of Convenience: The Evolution of Iran and al-Qa`ida’s Tactical
Cooperation,” CTC Sentinel, April 2017, p. 15.
85
   PX224, Assaf Moghadam, “Marriage of Convenience: The Evolution of Iran and al-Qa`ida’s Tactical
Cooperation,” CTC Sentinel, April 2017, p. 15.
86
   PX911, Usama Bin Laden, “Letter to Karim,” October 18, 2007, Director of National Intelligence archive of Bin
Laden documents, https://www.dni.gov/files/documents/ubl2016/english/Letter%20to%20Karim.pdf


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124.       In short, behind Bin Laden, Iran was Al Qaeda’s longest and most generous supporter.

       Senior Al Qaeda leaders both before and after Bin Laden’s death, considered Iran to be a

       crucial supporter of its efforts to target American personnel in Iraq.

       J. The Diversity of Islamic Revolutionary Guard Corps Operations.

125.       The Islamic Revolutionary Guard Corps (IRGC) rose to prominence against the backdrop

       first of the Islamic Revolution and then of the Iran-Iraq War. During the period, they became

       the military elite, in terms of resources, equipment, and prestige. Indeed, as far back as 1982,

       they had grown so powerful as to sway Khomeini himself against accepting a ceasefire and

       convincing the Iranian supreme leader to continue the costly war for an additional six years,
                                           87
       largely for ideological reasons. Upon the end of the Iran-Iraq War in 1988, the IRGC was

       loath simply to return to the barracks, disband, or subordinate themselves fully to the political

       leadership in Tehran.

126.       Fundamental to the IRGC’s strategy to preserve its

       own power was the creation of Khatam al-Anbiya.

       Under the banner of Khatam al-Anbiya, the IRGC’s

       engineering and contracting wing moved into civilian

       enterprises and, over subsequent decades, came to                       Mahmoud Ahmadinejad
                                                                              Source: timesofisrael.com
       dominate      Iran’s    construction,      oil,   automobile

       manufacturing, and electronics sectors. Ali Akbar Hashemi Rafsanjani encouraged the practice

       during his presidency in the early 1990s in order to generate independent income. President

       Mahmoud Ahmadinejad—the first Iranian president to come from a Revolutionary Guards

       background, although whether his was formal membership or in a volunteer capacity remains


87
     Ali Alfoneh, Iran Unveiled. (Washington, DC: AEI Press, 2013), p. 108.


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     debated—expanded the IRGC’s role in the economy even more. Yahya Safavi, the former head

     of the IRGC, justified such IRGC involvement in the civilian economy in Article 147 of the

     Iranian constitution which states, “In time of peace, the government must utilize the personnel

     and technical equipment of the Army in relief operations, and for educational and productive
                                             88
     ends, and the Construction Jihad….”

127.    In 2005, President Mohammad Khatami ordered the

     privatization of most state-owned industries. Rather than

     encourage free-market capitalism; however, the process turned

     into a shell game. IRGC-dominated banks or companies

     affiliated with Khatam al-Anbiya rather than private investors,
                                                                                   Mohammad Khatami
                                                                               Source: historica.fandom.com
     bought controlling interests in the companies as the Tehran

     Stock Exchange opened their initial public offerings. As a result, the portfolio of IRGC-

     affiliated companies expanded rapidly. The Rise of the Pasdaran, a 2009 RAND Corporation

     monograph authored by seven Iran scholars, noted that “from laser eye surgery to automobile

     manufacturing and real estate, the IRGC has extended its influence into virtually every sector

     of the Iranian market.” While some Iranians may only see the public face of Khatam al-

     Anbiya’s economic populism, especially with regard to its projects in rural Iran, RAND noted

     “the subtext of this apparent economic populism is, of course, the IRGCs control of Iran’s

     shadow economy—the illicit smuggling networks, kickbacks, no-bid contracts, and the




88
  Nasser Lorestani, “Piyamad-ha-ye Salteh Eqtesadi va Siyasi Sepah” [“The Consequences of the IRGC’s
Economic and Political Dominance”], Rah-e Sabz, January 11, 2010.


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     accumulation of wealth by its senior officials….” As of 2016, Khatam al-Anbiya had more
                                                                   89
     than 800 subsidiaries and 5,000 subcontracting firms.

128.    According to the non-partisan Congressional Research Service, “Iran’s defense budget

     generally runs about 4% of GDP. Of the defense budget, about two-thirds funds the IRGC and
                                                                                                                 90
     its subordinate units, and about one-third funds the regular military (Artesh) and its units.”

     The Iranian defense budget–perhaps $20-$25 billion to include both IRGC and Artesh is

     relatively small in terms of Iran’s total gross domestic product, especially relative to Gulf
                                               91
     Cooperation Council states or Israel.

129.    Because of Khatam al-Anbiya, much of the IRGC’s budget is off-the-books. President

     Mahmoud Ahmadinejad preferentially awarded government contracts to IRGC-affiliated
                 92
     companies.       “Ahmadinejad was the IRGC’s candidate,” Iranian political analyst Nasser
                                                                              93
     Lorestani wrote for the Green Movement’s main publication. During Ahmadinejad tenure,

     for example, IRGC-affiliated companies won government contracts to build portions of the

     multibillion dollar Tehran Metro system, part of the 400-mile Tehran-Tabriz railway, the

     Karkheh dam, and multiple oil and gas projects including a 600-mile pipeline between the




89
   Parisa Hafezi and Louis Charbonneau, "Iranian nuclear deal set to make hardline Revolutionary Guards richer,"
Reuters, July 6, 2015, https://www.reuters.com/article/us-iran-nuclear-economy-insight/iranian-nuclear-deal-set-to-
make-hardline-revolutionary-guards-richer-idUSKCN0PG1XV20150706; and Emanuele Ottolenghi and Saeed
Ghasseminejad, “The Nuclear Deal’s Impact on Iran’s Revolutionary Guards,” Foundation for Defense of
Democracies, July 17, 2015.
90
   PX280, Kenneth Katzman, “Iran’s Foreign and Defense Policies,” Congressional Research Service, October 9,
2018, R44017, p. 19
91
   Ibid.
92
   Nader Habibi, “The Economic Legacy of Mahmoud Ahmadinejad,” Crown Center for Middle East Studies,
Brandeis University, June 2013.
93
   Nasser Lorestani, “Piyamad-ha-ye Salteh Eqtesadi va Siyasi Sepah” [“The Consequences of the IRGC’s Economic
and Political Dominance”], Rah-e Sabz, January 11, 2010.


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     Persian Gulf industrial town of Asaluyeh to Iranshahr, just south of Tehran. In June 2007

     alone, for example, the Iranian government awarded Khatam al-Anbiya three contracts worth
                                                                                       95
     $7 billion, greater than the entire budget of the IRGC at the time. In 2012, the Tabriz

     municipal council awarded Khatam al-Anbiya a $12 billion contract to construct a metro
                                          96
     system in the northwestern city. In 2018, director of Khatam al-Anbiya reported that the

     IRGC’s economic wing would undertake 40 large projects worth $28 billion in that year alone,
                                                                                97
     again a figure far greater than the IRGC’s official budget.                     In addition, the Islamic

     Revolutionary Guard Corps reaps, according to one Iranian parliamentarian, an estimated $12

     billion annually—again, a figure greater than its official budget—by smuggling and by taking

     advantage both of differentials between government subsidies it receives and the black market,
                                                       98
     as well as its control over ports and airports.

130.    Former Khatam al-Anbiya Deputy Director Abdolreza Abedzadeh has said that 70 percent
                                                               99
     of the organization’s business is military-related.            The relationship between the IRGC’s



94
   PX642, Frederic Wehrey, Jerrold D. Green, Brian Nichiporuk et al. The Rise of the Pasdaran: Assessing the
Domestic Roles of Iran’s Islamic Revolutionary Guards Corps. (Santa Monica: RAND Corporation, 2009), pp. 61-
62.
95
   Arash Hasan-Nia “Yek mah, se gharardad, 7 milliard dollar” [One Month, Three Contracts, $7 Billion], E’temad
Melli (Tehran), July 1, 2006, available at:
https://web.archive.org/web/20080209214114/www.magiran.com/npview.asp?ID=1121630
96
   “Guards Corp company wins subway contract,” Radio Zamaneh, March 16, 2012,
https://en.radiozamaneh.com/7087/
97
   “Behrebardari Abr-e Piruzhi Abi Gharb-e Kehavarz bar Hamat Sepah ta Payan-e Sal” (“Executing Large Water
Projects in the West of the Country with the effort of the IRGC by the end of the year”), Tasnim News Agency, 12
June 2018. www.tasnimnews.com/fa/news/1397/03/22/1747682
98
   "Ghachagh-e Milliardi az Gomrok-e Foroudgah" [Billions-Worth Are Smuggled through Airport Customs], Iran
Newspaper, September 29, 2007, https://web.archive.org/web/20110522043028/http://www.iran-
newspaper.com/1386/860707/html/special4.htm; “Tejarat-e Sepah dar eskeleh-ha-ye namar’i” [“Black Market in the
Invisible Docks” Quds Online, July 6, 2011, http://qudsonline.ir/news/1751; Ali Alfoneh, “How Intertwined Are the
Revolutionary Guards in Iran’s Economy?” AEI Middle East Online, October 22, 2007,
http://www.aei.org/publication/how-intertwined-are-the-revolutionary-guards-in-irans-economy/ ; PX642, Wehrey,
Green, and Nichiporuk, p. 65.
99
   PX642, Wehrey, Green, and Nichiporuk, p. 62.


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      military and economic components is symbiotic. On one hand, Khatam al-Anbiya creates a

      source of revenue upon which the IRGC’s military wing can draw. On the other, the IRGC can

      leverage its military wing to privilege Khatam al-Anbiya. On May 9, 2004, for example, the

      IRGC drove tanks onto the runways during the inauguration of the Imam Khomeini

      International Airport to force the voiding of an airport services contract awarded to Tepe Akfen

      Vie (TAV), a joint Turkish-Austrian company, which had earlier beaten an IRGC-linked
                                      100
      company for the contract.             This ultimately delayed the opening of Iran’s primary

      international airport for a year and led to the Iranian government having to pay a multimillion

      dollar settlement for the contract Khatam al-Anbiya forcibly voided.

131.     A subsequent case was more violent. In August 2006, when Revolutionary Guards small

      boats attacked an oil rig working in the South Pars Oil Field, the Romanian workers were there

      under contract with the Oriental Kish Company (also known as Oriental Oil). When, on July

      1, 2006, Khatam al-Anbiya acquired the Oriental Kish Company, it took possession of its $90

      million inventory of equipment and assumed control over its activities. The Romanian firm

      Grup Servicii Petroliere which had earlier provided services wanted out so as not to face U.S.

      sanctions. That is when the IRGC fired on the Romanian workers, ultimately seizing the

      Romanian rigs and taking the Romanian workers hostage. In essence, the Khatam al-Anbiya

      brought in the military wing of the Revolutionary Guards to impose its will against the

      backdrop of a commercial dispute in order to seize drilling platforms which lawfully belonged




100
   “Iran to reopen its largest airport Saturday,” Islamic Republic News Agency, April 27, 2005; Jerrold D. Green,
Frederic Wehrey, Charles Wolf, Jr., Understanding Iran. (Santa Monica: RAND Corporation, 2009), p. 14.


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      to the Romanians rather than Oriental Kish.                    In 2007, the U.S. Treasury Department
                                                                                        102
      designated Oriental Kish alongside other IRGC-affiliated companies.

132.     The U.S. Treasury Department has found that, “The Government of Iran also uses the

      Islamic Revolutionary Guard Corps (IRGC) and IRGC-QF to implement its foreign policy

      goals, including, but not limited to, seemingly legitimate activities that provide cover for

      intelligence operations and support to terrorist and insurgent groups. These activities include

      economic investment, reconstruction, and other types of aid to Iraq, Afghanistan, and Lebanon,

      implemented by companies and institutions that act for, on behalf of, or are owned or controlled
                                                         103
      by the IRGC and the Iranian government.”                 Khatam al-Anbiya has also pursued a leading

      role in Syria’s reconstruction, in effect, seeking to profit from the destruction the IRGC,
                                                                                                    104
      associated militias, and the Iranian-backed regime of Bashar al-Assad wrought.                      Khatam al-

      Anbiya is an “agency or instrumentality” of the government of Iran as defined by 29 U.S.C. §

      1603(b).

133.     The United States was not alone in its concerns about Khatam al-Anbiya. In June 2010, the

      United Nations Security Council added the IRGC-run conglomerate to its list of entities whose
                                   105
      assets should be frozen.           While both Turkey and Brazil voted against the move, each




101
    Andrew Higgins, "A Feared Force Roils Business in Iran," Wall Street Journal, October 14, 2006,
https://www.wsj.com/articles/SB116079428301492832
102
    PX36, “Fact Sheet: Designation of Iranian Entities and Individuals for Proliferation Activities and Support for
Terrorism.” U.S. Department of the Treasury, October 25, 2007, https://www.treasury.gov/press-center/press-
releases/pages/hp644.aspx
103
    PX30, “Fact Sheet: U.S. Treasury Department Targets Iran’s Support for Terrorism. Treasury Announces New
Sanctions Against Iran’s Islamic Revolutionary Guard Corps-Qods Force Leadership,” U.S. Department of the
Treasury, August 3, 2010.
104
    Ahmad Majidyar, “I.R.G.C.'s Khatam al-Anbia Eyes Leading Role in Syria’s Reconstruction,” Middle East
Institute, December 13, 2017, https://www.mei.edu/publications/irgcs-khatam-al-anbia-eyes-leading-role-syrias-
reconstruction
105
    PX521, UN Security Council Resolution 1929 (2010).


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      permanent member of the Security Council—including both Russia and China—agreed. The

      following year, both the British and Japanese governments listed Khatam al-Anbiya as an

      entity of concern due to its involvement in the proliferation of ballistic missiles and biological,

      chemical, and nuclear weapons technology.

134.     Khatam al-Anbiya was active in Iraq at the time when Iranian-backed militias, insurgents,

      and terrorist groups targeted U.S. and Coalition forces. In 2003, the same year that U.S.-led

      forces overthrew Iraqi President Saddam Hussein’s regime, the IRGC founded the

      Headquarters for the Restoration of the Holy Shrines (HRHS) ostensibly to renovate Shi’ite

      shrines in Iraq and also to coordinate between Iranian government entities and the Iraqi

      government and non-governmental organizations operating in Iraq.

135.     The IRGC and Qods Force involvement in HRHS was undeniable: Qasem Soleimani, the

      commander of the Qods Force, sat on the HRHS’s Board of Trustees, alongside the Supreme

      Leader’s representative to the Qods Force. The Supreme Leader appointed three senior clerics

      from his office to fill out the other seats. IRGC-affiliated groups subsequently took the lead on

      a $500 million refurbishment of a courtyard in the Shrine of Imam Ali, perhaps the holiest

      shrine for Shi’i Muslims, located in Najaf, Iraq.106 The group’s companies also won Iranian

      contracts to build a 160-mile water pipeline from the Iraqi border into Syria, and a rail link

      between Basra, Iraq’s second-largest city, to the Iranian port of Khorramshahr.

136.     The group made little effort to hide its military goals. HRHS embraces and supports the

      Special Groups. Every major shrine in Najaf and Karbala maintains donation boxes to solicit

      money specifically for the special groups. The HRHS is open about its links to the Special



106
   “Perozheh-e Hazar Milliard Tomani Iran dar Javar Harem Imam Ali dar Najaf” [“One Thousand Billion Toman
Project near the Imam Ali Shrine in Najaf”], Deutsche Welle, September 21, 2016, https://www.dw.com/fa-ir/‫ﭘﺮوژه‬-
‫ھﺰار‬-‫ﻣﯿﻠﯿﺎرد‬-‫ﺗﻮﻣﺎﻧﯽ‬-‫اﯾﺮان‬-‫در‬-‫ﺟﻮار‬-‫ﺣﺮم‬-‫اﻣﺎم‬-‫ﻋﻠﯽ‬-‫در‬-‫ﻧﺠﻒ‬/a-19565605


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      Groups. HRHS considers the Special Groups to be “Defenders of the Shiite Holy Shrines
                         107
      operating in Iraq.”      Supreme Leader Ali Khamenei also spoke of the role of Special Groups
                                 108
      in defending the shrines.

137.     The same holds true in Lebanon and Syria. In February 2015, Akram al-KShaabi, the

      founder of and secretary general of Harakat Hezbollah al-Nujaba appeared alongside

      Hezbollah Secretary-General Hassan Nasrallah in a photo in a website close to the Qods Force
                                                                                    109
      which labelled him as a commander of the Defenders of the Shrine.                   In December 2016,

      Brigadier General Salar Abnoush, the Deputy Coordinator for the Khatam al-Anbiya

      Construction Headquarters, praised those fighting in Syria and said, “If war breaks out, the
                                              110
      enemy will not be the one to end it.”         His statement reflected the close ties and interwoven

      nature of Khatam al-Anbiya, HRHS, Special Groups, and Lebanese Hezbollah. This was most

      clearly seen in the interplay and activities of Hassan Shateri, discussed in paragraph 53.

138.      The interplay between the IRGC military and its economic wing became crucial to the

      IRGC’s support of both Sunni and Shi’ite militias in Iraq, as discussed below.




107
    See website of “Setad Ejraiye Farmane Hazrate Emam- Samarra” [“Headquarters for Executing the Order of the
Imam- Samara,” https://web.archive.org/web/20170928034014/http://setadsamarra.ir/ (Accessed August 31, 2021);
108
    “Shahada-ye Modafa’a Haram” [“Martyrs Defending the Shrine”], Khamenei.ir, March 13, 2019,
https://farsi.khamenei.ir/newspart-index-
old?tid=11206&_x_tr_sl=fa&_x_tr_tl=en&_x_tr_hl=en&_x_tr_pto=ajax,sc,elem#74143
109
    “Farmandeh-Modafa’an-e Haram dar Konar Sayyid Hassan Nasrallah + Aks”[“The Commander of the Defenders
of the Shrine next to Sayyid Hassan Nasrallah + Photo”], Oweis.ir, February 5, 2015,
https://web.archive.org/web/20150206042628/http://oweis.ir/?p=6640
110
    “Agar Jangi Dahad, Doshman Tamam Konandeh an Nakhahad Bud” [“If War Breaks Out, the Enemy Will not be
the One to End it,” Fars News Agency, December 15, 2016, https://www.farsnews.ir/news/13950926000027/‫اﮔﺮ‬-
‫ﺟﻨﮕﯽ‬-‫رخ‬-‫دھﺪ‬-‫دﺷﻤﻦ‬-‫ﮐﻨﻨﺪهﺗﻤﺎم‬-‫آن‬-‫ﻧﺨﻮاھﺪ‬-‫ﺑﻮد‬-‫ﺗﻤﺎم‬-‫ﻣﻌﺎدﻻت‬-‫دﻧﯿﺎ‬-‫در‬


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   K. The Evolution of Iranian Militia Strategy in Iraq.

139.   Within Iraq, Iran supported both Shi’ite and Sunni groups and militias. Among the most

   prominent Shi’ite groups the IRGC supported were the Badr Corps, Kata’ib Hezbollah, Asa’ib

   Ahl al-Haq, Kata'ib al-Imam Ali, Harakat Hezbollah al-Nujaba, the Jaysh al-Mahdi and its

   splinter group, the Liwaʾ al-Yawm al-Mawʿud (also known as the Muqawimun or the

   Promised Day Brigade), among others. While the Hashd al-Shaabi—often translated as

   Popular Mobilization Units or Popular Mobilization Forces—are often lumped together as

   Shi’ite militias or Iran-backed militias, there are distinct differences among the broader array

   of Shi’ite militias.

140.   The IRGC began cultivating and training militias such as the Badr Corps first against the

   backdrop of the Iran-Iraq War and subsequently against the backdrop of Iraqi President

   Saddam Hussein’s repression of Iraqi Shi’ites in the 1990s. In March 2003, shortly before

   Operation Iraqi Freedom—the U.S.-led liberation of Iraq—U.S. National Security Council

   official Zalmay Khalilzad and U.S. diplomat Ryan Crocker met with Iran's then-U.N.

   ambassador, Mohammad Javad Zarif in Geneva, and British Foreign Secretary Jack Straw met

   with his Iranian counterpart Kamal Kharazi in order to reduce the possibility of accidental

   conflict between Iran and the United States if war between Iraq and the United States occurred.

   As part of such agreement, Iran would not interfere with any accidental U.S. violations of its

   air space and Iran would safeguard any U.S. pilots or aircraft forced to make emergency

   landings in Iran. In addition, the Iranian diplomats promised to restrain infiltration of Iraq by

   the IRGC or IRGC-backed militias.

141.   As U.S.-led forces entered Iraq and fought Saddam Hussein's Fedayeen, or militants

   willing to engage in self-immolation, in Basra and advanced on Najaf in March 2003, Iran



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      broke its promise as Badr Corps units poured into northern Iraq from Iran, provoking a strong
                                                                           111
      warning to Tehran by Secretary of Defense Donald Rumsfeld.                 According to an April 25,

      2003, report by well-connected Iranian journalist Ali Reza Nurizadeh in the London-based

      Arabic daily Ash-Sharq Al-Awsat, elite Iranian Revolutionary Guards “brought in radio

      transmission equipment, posters, pamphlets printed in [the Iranian holy city of] Qom, and huge
                                                                                               112
      amounts of money, some of which was used to buy weapons for the Badr Corps.”

142.     In the wake of Operation Iraqi Freedom, the IRGC helped form, train, and supply several

      other Shi’ite militias. Senior IRGC leaders involved in Iran’s training program would facilitate

      Iran-Iraq border formalities for those seeking entrance into Iran to train with the Islamic
                113
      Republic.       Kata’ib Hezbollah, for example, has been active since October 2003, Asa’ib Ahl

      al-Haq was founded in July 2006, and Harakat Hezbollah al-Nujaba was formed in 2013.

      Often, these groups freely acknowledged both loyalty to Iran’s Supreme Leader Ali Khamenei

      and receipt of Iranian assistance. Interrogation records from the capture of Qais Khazali, a

      prominent Shi’ite militia leader, suggest the IRGC also trained the Jaysh al-Mahdi (“JAM”) at
                                                          114
      three bases inside Iran, near its capital Tehran.

143.     In December 2006, U.S. forces detained two Iranian Qods Force operatives who had in

      their possession, according to the Washington Post: “…Detailed weapons lists, documents

      pertaining to shipments of weapons into Iraq, organizational charts, telephone records and



111
    PX364, Secretary of Defense Donald Rumsfeld and General Richard Myers, USAF, chairman of the Joint Chiefs
of Staff, Pentagon Briefing Room, Arlington, Virginia 1: 15 P.M. EST, March 28, 2003.
112
    PX615, Ali Reza Nourizadeh, “Revolutionary Guards Accompanied Supreme Council for Islamic Revolution and
Al-Da'wah Party Fighters Across the Border into Iraq; Iranian Sources Confirmed Tehran Equipped Its Elements
With Light Weapons, Money, and Radio Equipment To Help Impose 'Fait Accompli' in 11 Iraqi Cities,” Ash-Sharq
al-Awsat, April 25, 2003.
113
    PX927, The Sixteenth Interrogation of N1228A,” U.S. Central Command, March 29, 2007.
114
    PX919, “Shi’a SDE Tactical Interrogation Report,” June 18, 2007, 17:30. Report No. 200243-008.


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      maps, among other sensitive intelligence information.” In addition, the Iranian detainees had

      “information about importing modern, specially shaped explosive charges into Iraq, weapons
                                                                                               115
      that have been used in roadside bombs to target U.S. military armored vehicles.”               The Iranian

      provision of explosively-formed projectiles to its favored militias had a devastating effect on
                                                                                         116
      Iraqi security, stability, and claimed the lives of hundreds of U.S. soldiers.

144.     Qais Khazali was head of the Iranian-backed “Special Groups” in Iraq from June 2006 until

      his capture by British forces in March 2007, after which he was transferred to U.S. custody

      and interrogated. He was released in January 2010 as part

      of a prisoner exchange. Today, he is secretary-general of

      Asa'ib Ahl al-Haq “League of the Righteous,” a Shi’ite

      paramilitary group, which has competed in the political

      arena since 2014 and, since the 2018 elections, held 15 seats

      in the Iraqi parliament. On April 6, 2018, the U.S. Central
                                                                                       Qais Khazali
      Command declassified Khazali’s interrogation records. He                Source: washingtonexaminer.com

      stated, according to the interrogation summary, “Iran supports many groups in Iraq and not
                          117
      just Shi’a groups.”       He differentiated between groups loyal to Iranian Supreme Leader Ali

      Khamenei and those who do not hold Khamenei paramount. The Islamic Revolutionary Guard

      Corps interpreted recognition of Khamenei as supreme leader to be proof of loyalty, a

      necessary qualification for provision of certain weaponry—such as surface-to-air missiles. In


115
    Sudarsan Raghavan and Robin Wright, "Iraq Expels 2 Iranians Detained by U.S. American Defense Official Calls
Release 'Obviously Troubling,'" Washington Post, December 30, 2006,
https://www.washingtonpost.com/archive/politics/2006/12/30/iraq-expels-2-iranians-detained-by-us-span-
classbankheadamerican-defense-official-calls-release-obviously-troublingspan/f9f56a51-bd96-418f-9267-
e8d63d7d80b8/?utm_term=.b79359ab3426
116
    Michael Weiss and Hassan, ISIS: Inside the Army of Terror (New York: Regan Arts, 2016), p. 53.
117
    PX925, “The Seventh Interrogation of N1228A,” U.S. Central Command, March 24, 2007.


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      practice, therefore, the Badr Corps received surface-to-air missiles (SAMs) while the IRGC
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      would not provide SAMs to Muqtada al-Sadr’s militia, JAM, or to Sunni groups.                            Sunni

      groups, however, did possess some anti-aircraft weaponry such as Strela shoulder-fired
                                                                    119
      missiles seized from Saddam-era Iraqi Army stockpiles.
                                                                                          120
145.     Khazali stated that pro-Khamenei groups operated throughout Iraq.                      In another session,

      he relayed traveling to Iran with Muqtada al-Sadr, meeting personally with then-Qods Force

      commander Qasem Soleimani and Gen. Hajji Yousef, and being offered and eventually
                                                                                                  121
      receiving between $750,000 and $1,000,000 monthly for the Jaysh al-Mahdi.

146.     Khazali, however, said that the Islamic Revolutionary Guard Corps was willing to provide

      training for the manufacture and use of explosively-formed projectiles (EFPs) to Sunni groups

      as well as pro-Khomeini groups. “Detainee said that anyone can receive EFP training and Iran

      does not care who gets it,” the record of one interrogation session relates. At the time, EFPs
                                                                      122
      came solely from Iran and were not manufactured in Iraq.

147.     Muqtada al-Al-Sadr is personally volatile and his followers fissiparous. In 2007, he spun

      off part of the Jaysh al-Mahdi to form the

      Promised Day Brigade, also headquartered in

      Sadr City, to carry out terrorist attacks

      against Coalition Forces and U.S. nationals,

      including certain Plaintiffs, in order to
                                                                              Muqtada al-Sadr
                                                                          Source: content.time.com


118
    PX926, “The Tenth Interrogation of N1228A,” U.S. Central Command, March 26, 2007.
119
    PX918, “Shi’a SDE Tactical Interrogation Report,” August 9, 2007, 15:30. Report No. 200243-025.
120
    PX926, “The Tenth Interrogation of N1228A,” U.S. Central Command, March 26, 2007.
121
    PX971, “The Ninth Interrogation of N1228A,” U.S. Central Command, March 25, 2007.
122
    PX926, The Tenth Interrogation of N1228A,” U.S. Central Command, March 26, 2007.


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      disrupt security operations and destabilize Iraq. Most Promised Day Brigade operations

      focused on Baghdad and southern Iraq. The Promised Day Brigade received funding from the

      Islamic Revolutionary Guard Corps and, in June 2011, numbered approximately 5,000 men.

      That same month, the Promised Day Brigade claimed responsibility for 52 attacks on U.S.

      Forces.   On June 28, 2011, the Promised Day Brigade issued a statement claiming

      responsibility for ten mortar and Katyusha rocket attacks against U.S. military convoys which

      led to the death of three U.S. troops.123

148.     On November 18, 2019, the New York Times and The Intercept published approximately

      700 pages of leaked Iranian intelligence documents written primarily in 2014 and 2015

      detailing continued Iranian operations inside Iraq and Iranian efforts to expand their reach and

      run operations not only with and against Iraqi Shi’ite politicians, but also among Kurds and

      others. As such, they show Iranian ambitions to operate across all areas of Iraq in order to
                                                  124
      undercut and undermine U.S. influence.

149.     There remains a qualitative difference between militias under Iranian command-and-

      control and ordinary Iraqi Shi’ite militias: The former are much more disciplined and

      professional, or in other words, effectively lethal. When, in October 2017, the Iraqi government

      moved to reclaim disputed territories from the Kurdistan Regional Government, for example,

      the Iraqi government purposely and specifically cooperated with Iranian-backed militias rather

      than less-disciplined hashd al-Shaabi units in order to minimize the chance of sectarian




123
    "Promised Day Brigades" Mapping Militant Organizations, Stanford University, August 27, 2012,
https://web.stanford.edu/group/mappingmilitants/cgi-bin/groups/view/249
124
    “All Of The Iraqi Army’s Intelligence—Consider It Yours”, The New York Times, (January 26,
2014)https://www.nytimes.com/interactive/2019/11/18/world/middleeast/iran-iraq-spy-cables.html; Jeremy Scahill
and Murtaza Hussain, “From the Rubble of the U.S. War in Iraq, Iran Built a New Order,” The Intercept,
(November 17, 2019), https://theintercept.com/2019/11/18/us-iraq-invasion-iran/


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      reprisal. Such discipline does not necessarily equal restraint; rather, it means that the Iranian-

      backed militias restrain themselves when ordered, but also pursue targets when Tehran

      demands.

      L. Iran’s Material Support for Sunni Terrorist Groups in Iraq.

150.     Iranian support for Sunni groups in Iraq was an important component of Iran’s strategy

      from the very beginning of Operation Iraqi Freedom. Beyond material assistance, Iran

      provided two main services for Sunni (and Shi’ite) terror groups. Iranian officials allowed

      Sunni terror leaders and their rank-and-file to use Iranian territory as a transit route back-and-

      forth between Al Qaeda camps in Afghanistan and Pakistan and the areas in which they

      operated in Iraq. This mitigated their ability to remain effective and cut losses. In addition, the

      ability of Sunni terrorist groups to use Iranian territory for their logistics enabled terrorist

      groups to stage, organize, and collect prior to their departure via Syria for entry into Iraq

      through Al Qa’im into the Anbar governorate or across the Syrian frontier into the Ninewa

      (Mosul) governorate. Syrian Arab Airlines, Iran Air, and the IRGC-owned Mahan Airlines

      flew regularly between Tehran and other Iranian cities, and Damascus both prior to and during

      the Syrian civil war which erupted in 2011.

151.     In 1989, the G7 helped found the intergovernmental Financial Action Task Force to combat

      money laundering. In 2001, the Financial Action Task Force expanded its mandate to counter

      terror finance. In a 2008 report, it identified three mechanisms by which terrorists acquire

      outside financing: direct transfers through an established financial system, physical movement
                                                                                              125
      of money by cash couriers or other means, and alternative remittance systems.                 Shipping


125
   PX219, “Terrorist Financing,” Financial Action Task Force, February 29, 2008, http://www.fatf-
gafi.org/media/fatf/documents/reports/FATF%20Terrorist%20Financing%20Typologies%20Report.pdf


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      goods to legitimate businesses is consistent with the latter.         Many Iraqis from al-Anbar and

      other Sunni areas confirmed such schemes as common and pervasive. Such Iranian funding

      would have provided the bulk of funding for several Sunni groups, as governments like

      Jordan’s largely cooperated with U.S. counterterror efforts. Political tension with Turkey did

      not manifest itself in anti-American terrorism. The Saudi government both largely cooperated

      with U.S. security interests in the Middle East and lacked the interconnectivity to Iraq to

      regularly support and supply insurgent groups there.

152.     In order to avoid ideological blowback from ordinary rank-and-file Sunni fighters, Iran

      used laundering and layering schemes to mask the source of their financial supports. In July

      2014, I met in Sweileh, Jordan, with General Raad Hamdani, the former commander of the

      2nd Republican Guards Corps under Saddam Hussein, and Walid al-Obeidi, a Saddam-era

      Iraqi intelligence agent who had joined the insurgency. They described a mechanism of Iranian

      support for Sunni insurgent groups in the initial four or five years after the initial U.S.

      intervention of Iraq by which shell companies in Al-Anbar would import electronics and other

      consumer goods which IRGC-linked firms would supply. These would be shipped to

      warehouses in predominantly Sunni areas of Iraq along with invoices which would never be

      paid. Instead, the proceeds from the sales of such goods would be used by the Sunni Iraqi

      warehouse owners to fund various Sunni groups attacking Americans in Al-Anbar while

      cannibalized products could provide electronic components for improvised explosive devices.

153.     On April 7, 2021, I traveled to Fallujah and Ramadi with Gen. Hatem Abu Risha, advisor

      to the president of Iraq, and a key Iraqi figure in fighting the Sunni insurgency which erupted




126
  PX249, MAJ Nathan J. Prussian, U.S. Army, “Countering Iranian Sponsored Terrorism,” Master’s Thesis, Joint
Forces Staff College, Joint Advanced Warfighting School, Norfolk, Virginia, June 16, 2010.


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      in Al Anbar in 2004. He affirmed that his forces faced not simply an indigenous Sunni

      insurgency, but rather one supported financially and supplied by Iran. He based his conclusion

      both on intercepts of supplies and interrogations of captured insurgents.

154.     Later that day in Ramadi, I met with major tribal leaders (including Sheikh Ahmed Abu

      Risha, leader of the Anbar Salvation Council), university academics, and prominent

      businessmen from al-Anbar in a lengthy conversation. While several were critical of the

      United States and its policies during the 2003 Iraq war, many acknowledged that Iranian-

      backed groups helped spark and exacerbate the insurgency in predominantly Sunni provinces

      both to target Americans and undercut efforts at reconciliation.

155.     Iran also utilized its influence to undermine economic projects meant to bolster al-Anbar’s

      economic development. Both the United States and the Iraqi government supported the

      transformation of the Amman-Baghdad road into a highway and toll road on the theory that it
                                                                                                        127
      could spark both trade and development in a Sunni region desperately in need of it.                     Iraqi

      officials working on the economic and development portfolio; however, often pointed the

      finger at Iran rather than al-Anbar residents for undercutting the project.

156.     Iran’s relationship across sectarian lines manifests in other ways. After the 2018

      parliamentary elections, the Iranian government supported Mohamed al-Halbousi, a Sunni

      Arab politician and the governor of Iraq’s Sunni-dominated al-Anbar governorate to be speaker

      of the parliament, over Khaled al-Obaidi, a former defense minister supported by the United

      States. Iranian authorities were willing to cross sectarian lines to leverage their relationship

      with Halbousi who, as speaker, can control Iraq’s legislative agenda.




127
   Tim Arango, “U.S. Sees a Vital Iraqi Toll Road, but Iran Sees a Threat,” New York Times, May 27, 2017,
https://www.nytimes.com/2017/05/27/world/middleeast/iraqi-toll-road-national-highway-iran.html


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                      i.     Ansar al-Islam / Ansar al Sunna.
157.     Iran has had multiple dealings with Sunni insurgent, extremist, and terrorist groups in Iraq,

      many of which appeared to find common cause in their animosity to the United States and its

      international partners.

158.     Ansar al-Islam demonstrates the interplay between Al Qaeda and Iran. The group was

      formed in December 2001 from the merger of Kurdish Hamas, Tawhid, the Al-Tawhid Islamic

      Front, the Second Soran Unit, the Reformist group, and Jund al-Islam, the latter of which Al
                            128                                                                        129
      Qaeda had trained.          Usama Bin Laden provided the group with its initial seed money.

159.     The 9/11 Commission cited a Central Intelligence Agency report in its final report which

      described Ansar al-Islam (which also operated as Ansar al-Sunna) as “Al Qa’ida’s ally in
                           130
      northeastern Iraq.”         Zarqawi appears to have acted as the chief Al Qaeda liaison to Ansar al-

      Islam, and he reportedly helped establish an Ansar al-Islam training camp in Khurmal which

      Zarqawi’s lieutenants operated.

160.     The camp’s location was in a particularly rugged area about three miles from the Iranian
             131
      border.      This appeared deliberate so that the group could take advantage of the border’s

      permeability and the safe-haven and supply which Iran could provide. Cross-border porousness

      has been a decades-long problem along the northern section of the Iran-Iraq border. Saddam



128
    “Mapping Militants Organizations “Ansar al-Islam,” Stanford University, Last modified December 2018,
https://cisac.fsi.stanford.edu/mappingmilitants/profiles/ansar-al-islam
129
    PX39, “Treasury Department Statement Regarding the Designation of Ansar al-Islam,” U.S. Department of
Treasury, February 20, 2003,https://www.treasury.gov/press-center/press-releases/Pages/js48.aspx
130
    PX282, CIA analytic report, “Ansar al-Islam: Al Qa’ida’s Ally in Northeastern Iraq,” CTC-2003-40011CX,
February 1, 2003, as cited in 9-11 Commission Report, p. p. 468.
131
    PX503, “Review of the re-listing of Ansar al-Sunna, JeM, LeJ, EIJ, IAA, AAA and IMU as terrorist
organisations,” Parliamentary Joint Committee on Intelligence and Security, June 2007, Canberra. Also: PX501,
“Ansar al-Sunna,” Attachment A, Australian Security Intelligence Organisation,
https://aph.gov.au/parliamentary_business/committees/house_of_representatives_committees?url=pjcis/grouped/ans
ar%20al-sunna.pdf


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      Hussein used chemical weapons against Iraqi Kurds against the backdrop of the Iran-Iraq War

      in part because of ethnic animus, but also because he accused them of involvement in cross-

      border smuggling operations. When I taught in Iraqi Kurdistan during academic year 2000-

      2001, I traveled along much of Iraqi Kurdistan’s border with Iran, including those areas

      reachable only seasonably due to snow and rugged terrain. In the border region surrounding

      Ahmedawa, a village adjacent to Khurmal and between it and the Iranian border, I watched

      smuggling operations with goods such as fruit and alcohol loaded onto donkeys which were

      then sent a couple hundred yards up a mountain path to the Iranian side of the border. The

      Islamic Revolutionary Guard Corps appeared to tolerate if not participate in this activity on the

      other side of the border. On July 31, 2009, the Islamic Revolutionary Guard Corps seized three

      American hikers whom they alleged crossed the border in this area. This action suggests that

      Iranian border guards controlled the border when they chose to do so.

161.     That Khurmal camp’s location enabled Ansar

      al-Islam members to also maintain close relations

      with Iran. In one example, a Saddam-era Iraqi

      Intelligence Services document, for example,

      reported Ansar al-Islam head Mullah Krekar

      traveled to Iran to meet with various Iranian
                                                                                  Mullah Krekar
      officials to discuss increasing tension with Jalal                     Source: norwaytoday.info


      Talabani’s Patriotic Union of Kurdistan which had allied itself with the United States in the
                                           132
      run-up to Operation Iraqi Freedom.         In September 2002, the Washington Post reported, “The



132
  PX662, Iraqi Intelligence Services to M40, M4/2/2/1, Ref. No. 397, June 13, 2002, as reproduced in Kevin M.
Woods, “Primary Source Materials for Saddam and Terrorism: Emerging Insights from Captured Iraqi Documents:
Volume 5,” Institute for Defense Analysis, November 2007.


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      consensus in London, including among PUK [Patriotic Union of Kurdistan] representatives, is

      that Iran provides key logistical support [to Ansar al-Islam] and a safe area beyond the northern
                       133
      Iraqi border.”         Several Zarqawi associates including Khaled al-Aruri and Abdel Hadi Ahmad

      Mahmoud Daghlas established residences near the Iraqi Kurdish border inside Iran in order to
                                                                              134
      help coordinate the flow of militants across the Iranian border.              In March 2004, a Kurdish

      security official told me that, the previous month, Kurdish forces had seized a cache of Syrian,

      Yemeni, and Saudi passports in an Ansar al-Islam safe house. The passports all had Iranian

      passport stamps indicating that the militants did not enter Iran secretly.

162.      Iranians, Iranian and Iraqi Kurds, and journalists all say that security forces strictly control

      and limit the access by foreigners to the Iranian border regions with Iraqi Kurdistan due to the

      sensitivity of the area for Iranian security. It is not credible to believe that non-Iranian militants

      could establish residence in the region without the prior permission of the Islamic

      Revolutionary Guard Corps.

163.      On March 29, 2003, U.S. Special Forces, coupled with Patriotic Union of Kurdistan

      peshmerga [literally, ‘those who face death,’ the name of the Kurdish militia], attacked
                                               135
      Khurmal, killing scores of fighters.           Over the next several months, many re-entered Iraq,
                                                                  136
      often bribing corrupt border guards for safe passage.             Broadly speaking, during this period

      and after the U.S.-led occupation, Ansar al-Islam concentrated in Mosul, as well as the so-

      called Sunni Triangle whose points coincided roughly with Ramadi, Baghdad, and Tikrit,


133
    PX632, Daniel Williams, "Islamic Militants Harassing Iraqi Kurds; Group in North Backed by Iran and Bolstered
by Al Qaeda, Opposition Leaders Say," The Washington Post, September 5, 2002.
134
    PX937, “Insurgent Group Profile: Al Qaeda in Iraq (AQI),” Working Paper, MC Study A, May 2, 2007,
Secret/Noforn
135
    Jason Burke. “US Special Forces take fight to fundamentalist terror group.” The Observer. March 29, 2003,
https://www.theguardian.com/world/2003/mar/30/iraq10
136
    Interviews by author with several senior Kurdish officials, August 2003 and March 2004.


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      although it also staged spectacular attacks outside this zone.

164.     Ansar al-Islam released a video in February 2004, claiming responsibility for 285 attacks

      in which 1,155 people were killed. In addition, the group claimed to have destroyed 26 tanks,
                                                                                            137
      22 armored vehicles, 15 fuel tankers, 30 Humvees, and 71 personnel carriers.                The claims of

      some of these attacks were exaggerated. Still, in a report published by the Iraqi insurgent

      website albasrah.net, Ansar al-Islam claimed responsibility for a December 12, 2003 car bomb

      attack on a U.S. facility in Ramadan which killed one soldier, and attacks on coalition partner

      contractors which Ansar al-Islam confirmed by showing identification cards and passports in
                                             138
      subsequent videos or press releases.         On December 21, 2004, a suicide bomber wearing an

      Iraqi security service uniform detonated himself inside the dining facility at Forward Operating

      Base Marez, adjacent to the U.S. military airfield in Mosul. The attack killed 14 U.S. soldiers,

      four U.S. civilian contractors, and four Iraqi soldiers. At least 50 others were seriously injured

      in the attack. Ansar al-Islam took credit for the attack in an internet statement.

165.     Other attacks claimed by or attributed to Ansar al-Islam include a suicide bombing at a

      Kurdistan Democratic Party (KDP) office in Erbil that killed 60 and wounded 150; the May 8,

      2005 ambush of security contractors, killing 16; an August 1, 2005 ambush in Haditha which

      killed six Marines; the July 23, 2006 sniper attacks on two U.S. soldiers in Hit; an improvised

      explosive device attack on a U.S. armored vehicle in al-Miqdadiya on the same date; and a

      rocket and automatic weapons attack that killed several U.S. servicemen in the al-Haqlaniyah




137
    “Exclusive Translation of Ansar al-Sunnah Army's ‘Banners of Truth’ Video,” TIDES World Press Reports,
https://web.archive.org/web/20040622050051/http://tides.carebridge.org/Translations/RAYAT-verbatim.htm
138
    Hani al-Siba’i, “Ansar al-Islam, Ansar al-Sunna Army, Abu-Mus’ab Al-Zarqawi, and Abu-Hafs Brigades,”
www.albasrah.net, March 14, 2004. No longer available online.


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                                139
      market west of Baghdad.

166.     In October 2008, “Ansar al-Sunna”—as some in Ansar al-Islam began rebranding

      themselves—released an Arabic video with English subtitles entitled “Ansar al-Sunnah Top

      20 IED [Improvised Explosive Device] Attacks on U.S. Forces” via “Ansar al-Sunnah’s Media

      Podium.” While this is no longer online, I have personally viewed a saved copy. The 20 attacks

      listed were geographically varied, and included U.S. military vehicles in Abu Ghraib, Baquba,

      Fallujah, al-Karkh, al-Tarmiya, Tikrit, Samarra, Baiji, Yusifiya, Balad, Kirkuk, Baghdad,

      Haditha, Hit, Miqdadiyah, Latifiya, Rasafa, Hawija, and Ramadi. This suggests that Ansar al-

      Sunnah moved throughout Iraq with ease and was able to conduct successful and lethal attacks

      against Coalition targets throughout Iraq.

167.     Throughout this time period, Ansar al-Sunna continued to cooperate with Al Qaeda in Iraq.

      On May 27, 2009, for example, police patrols in Bahraz, a district in Iraq’s Diyala governorate,

      detained Basim Ali Kamel while he was taking photographs of local police and Iraqi army to
                                      140
      provide to Al Qaeda in Iraq.          Likewise, an Ansar al-Sunna cell and an Al Qaeda in Iraq cell

      were jointly responsible for a June 23, 2008 improvised explosive device explosion on Route
                                                     141
      Cecil, wounding two Iraqi Army troops.               The Sons of Iraq, former insurgents and jihadists

      who, after becoming disenfranchised with insurgency, cooperated with the U.S. military to

      ensure stability and security in their local areas, included members who had previously served




139
    PX501, “Ansar al-Sunna,” Attachment A, Australian Security Intelligence Organisation,
https://aph.gov.au/parliamentary_business/committees/house_of_representatives_committees?url=pjcis/grouped/ans
ar%20al-sunna.pdf; Ellen Knickmeyer, “14 Marines Die in Huge Explosion in Western Iraq,” Washington Post,
August 4, 2005.
140
    PX256, Report by National Joint Operations Center (NJOC), Operations (OPS), Liaison Officer, May 27, 2009,
23:11.
141
    PX948, Multinational Division (MND)-Baghdad Significant Activity (SIGACT) Manager, June 23, 2008. 20:08.


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                                                                        142
      as operatives for both Ansar al-Sunna and Al Qaeda in Iraq.

168.     Iranian ties with Ansar al-Islam/Sunna were not simply a matter of passive support through

      availability of cross-border safe-haven. Following the U.S.-led intervention in Iraq, Iranian

      officials facilitated and supported the Al Qaeda-affiliated group’s attacks on U.S. personnel.

169.     In 2004, Abu Abdullah (AKA Wirya Salih) who assumed control over Ansar al-Islam

      following Krekar’s 2004 arrest, told the Beirut weekly al-Muharrir in a report published in its

      21-27 August 2004 edition that his group works with another Iranian-support group, Muqtada

      al-Sadr’s Jaysh al-Mahdi, and that the two groups sometimes exchanged personnel. “This
                                                                              143
      relationship can be described as intimate,” Abu Abduallah said.               It appears to be a continuing

      relationship. The Jaysh al-Mahdi sent envoys to Arab countries, for example, to further Sunni-
                          144
      Shi’ite cooperation.

170.     In December 2006, U.S. forces arrested two Iranian intelligence agents in Baghdad at the

      Supreme Council of Islamic Revolution in Iraq’s Baghdad compound. The Iraqi government

      protested the arrests on the grounds that the Iranians were part of a diplomatic delegation. Prior

      to their release, the United States seized documents in their possession showing Qods Force

      relations not only with Shi’ite militias but also with Al Qaeda in Iraq and Ansar al-Sunna. “We

      found plans for attacks, phone numbers affiliated with Sunni bad guys, a lot of things that filled
                                                                                                 145
      in the blanks on what these guys are up to,” one U.S. intelligence official said.

171.     Cell phones seized from Qods Force officers arrested by U.S. forces in Erbil on January



142
    Multi-National Division (MND)-Baghdad Event, August 28, 2009, 08:45.
143
    Kathleen Ridolfo, “Iraq: A nation finds itself at a crossroads,” (Sep. 16,
2005),https://reliefweb.int/report/iraq/iraq-nation-finds-itself-crossroads
144
    PX966, “MNC-I BUA Intel Daily Slides,” May 2007.
145
    PX637, Eli Lake, “Iran’s Secret Plan for Mayhem,” The New York Sun, (January 3,
2007),https://www.nysun.com/foreign/irans-secret-plan-for-mayhem/46032/


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      11, 2007 affirmed the relationship. Data acquired from the phones showed connections
                                                   146
      between the officers and Ansar al-Islam.

172.     On September 23, 2007, U.S. forces raided a Sulaymaniyah hotel and arrested Mahmoudi

      Farhadi, an Iranian official suspected of supplying explosively-formed projectiles and other

      arms to Iraqi insurgents and explosives to Ansar al-Islam. The Iranian government responded

      to Farhadi’s arrest by cutting off shipments of food, fuel, and consumer goods to Iraqi
                                          147
      Kurdistan and closing its border.         While Farhadi may not have been a Qods Force leader,

      Iranian officials reacted strongly in order to ensure that Iraqi Kurdish authorities would not

      continue to allow U.S. operations directed at the Qods Force.

                   ii.    Al Qaeda in Iraq (FKA Jama'at al-Tawhid wal-Jihad).
173.     The genesis of Al Qaeda in Iraq predates the 2003 Iraq War. In the late 1990s, Abu Musab

      al-Zarqawi used Al Qaeda seed money to set up an Al

      Qaeda training camp in Herat, less than two hours by car
                                148
      from the Iranian border.        The camp trained recruits

      from 18 different countries, including a number of

      Jordanians and Palestinians.
                                                                                 Abu Musab al-Zarqawi
174.     The camp’s proximity to Iran facilitated movement                       Source: Britannica.com

      of militants by road from the camp through Iran to Iraqi Kurdistan, where Ansar al-Islam had

      established its base. At the time, Esmail Qaani, a Qods Force operative who assumed control

      over the organization after the death of Qods Force commander Qasem Soleimani in an



146
    Matthew Levitt, Hezbollah: The Global Footprint of Lebanon’s Party of God, p. 294.
147
    Jim Landers, “Terror Group Raises Stakes for U.S., Iran,” Dallas Morning News, October 4, 2007.
148
    PX937, “Insurgent Group Profile: Al Qaeda in Iraq (AQI),” Working Paper, MC Study A, May 2, 2007,
Secret/Noforn


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      American drone strike, was commander of the Fourth Ansar Corps, the Qods Force unit in
                                          149
      charge of Afghanistan operations.

175.     According to the German government, prior to Operation Iraqi Freedom, Zarqawi, at the

      time leader of Al-Tawhid, but who would soon declare himself leader of Al Qaeda in Iraq, met

      with an Iraqi extremist named Mohamed Abu Dhess inside Iran in order to plot attacks on
                                                                 150
      Israeli or Jewish targets in Germany with “his people.”          Iranian security services keep Sunni

      visitors in Iran under strict surveillance, all the more so if they are affiliated with known

      extremist groups. The September 2001 Zarqawi-Abu

      Dhess meeting shows that so long as Iranian leaders

      are likely to approve of the target, they welcome Al

      Qaeda and other Sunni extremists to utilize their

      territory to plan or coordinate terrorism. Zawahiri’s

      relationship with Iran was long-standing. In April                          Ayman al-Zawahiri
                                                                              Source:english.alaraby.co.uk

      1991, Zawahiri travelled secretly to Iran to ask for
                                                                                   151
      Iranian assistance in his campaign to overthrow Egypt’s government.                In his Pulitzer Prize-

      winning history of Al Qaeda, Lawrence Wright reported that “Most of Al Qaeda’s relationship
                                           152
      with Iran came through Zawahiri.”




149
    Ali Alfoneh, “Esmail Qaani: the next Revolutionary Guards Quds Force commander?” AEI, (January 11,
2012),https://www.aei.org/research-products/report/esmail-qaani-the-next-revolutionary-guards-quds-force-
commander/
150
    PX45, Treasury Designates Six Al-Qaida Terrorists,” U.S. Treasury Department, September 24, 2003
JS-757, https://web.archive.org/web/20040229114439/https://www.treasury.gov/press/releases/js757.htm
151
    PX672, Lucie Švejdová, “The Iran-Al Qaeda Nexus: Two Islamisms, One Goal,” The Euro-Gulf Information
Centre, September 3, 2018.
152
    Lawrence Wright, The Looming Tower: Al Qaeda and the Road to 9/11. (New York: Vintage, 2006), p. 197.


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176.     After the start of U.S. and NATO military operations in Afghanistan, Zarqawi and other

      senior Al Qaeda leaders fled to Iran. Zarqawi continued onward through Iraq and into Syria,
                                                                           153
      whose government was and remains Iran’s top regional ally.                 From there, as the U.S. invasion

      of Iraq loomed, he coordinated efforts to begin operations in Iraq with a center of operations

      in Fallujah where his network had stockpiled several tons of arms and munitions. Zarqawi’s

      continued relationship with Bin Laden infused his group with money, recruits, logistical
                                         154
      support, and religious backing.

177.     At around the same time, Qods Force leader Qasem Soleimani established a base in Syria
                                                                           155
      to supply the Iraqi resistance with arms and equipment.                    In October 2007, U.S. forces

      captured an insurgent laptop in a raid near Sinjar, northern Iraqi, which documented the transit
                                                                                                          156
      of 700 foreign fighters entering Iraq via Syria between August 2006 and August 2007.                      While

      these documents do not on their face show active Iranian assistance to Al Qaeda, they do

      suggest that Bashar al-Assad’s regime in Syria was likely aware of the flow of Al Qaeda-

      aligned Sunni fighters across its territory. The Assad regime in Syria was and remains Iran’s

      top regional ally.

178.     In Fallujah, Zarqawi helped set up the Fallujah Mujadhideen Shura Council. While in

      theory the group was a loose consultative body, in reality the lack of formal leadership allowed

      Zarqawi’s group to dominate. Thirty-nine groups joined the Shura, including two Shi’ite


153
    PX937, “Insurgent Group Profile: Al Qaeda in Iraq (AQI),” Working Paper, MC Study A, May 2, 2007,
Secret/Noforn
154
    PX937, “Insurgent Group Profile: Al Qaeda in Iraq (AQI),” Working Paper, MC Study A, May 2, 2007,
Secret/Noforn
155
    Elie Hanna and Hussein al-Amin, “Al-Jeneral: Sanuhzim Amrika fi Suriya” (“The General: We Will Defeat
America in Syria”), Al-Akhbar (Beirut), January 4, 2020. https://al-akhbar.com/World/281972
156
    Brian Fishman and Joseph Felter, “Al-Qa’ida’s Foreign Fighters in Iraq: A First Look at the Sinjar Records,”
CTC at West Point, (January 02, 2007)https://ctc.usma.edu/al-qaidas-foreign-fighters-in-iraq-a-first-look-at-the-
sinjar-records/


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      groups which appear to have been associated with Muqtada al-Sadr’s Jaysh al-Mahdi.

      Abdullah al-Janabi, a local Sunni cleric who served as the imam of Fallujah’s Sa’ad bin Abi

      Waqas Mosque and who had long established relations with Saddam’s security services,

      became an active member of the Shura and a key Al Qaeda in Iraq ally. He facilitated contacts
                                                                     158
      among insurgent groups across tribal and sectarian lines.

179.     Iran’s cooperation with Al Qaeda also continued after the Iraq war began. In an October

      2003 press conference, State Department spokesman Richard Boucher reported that authorities

      in Tehran continued to reject intelligence sharing and coordination with the United States with

      regard to Al Qaeda members in Iran, some of whom were suspected to be involved in cross-
                         159
      border operations.

180.     In the first months of Operation Iraqi Freedom, Al Qaeda in Iraq sought to avoid direct

      confrontation with coalition forces, instead using the time to lay the groundwork for a far more

      lethal insurgency. Sami Mohammed Ali Said al-Ja’af (AKA Abu Umar al-Kurdi), an Al Qaeda

      in Iraq operative captured in Iraq in 2005, said that the group designed its operations at the

      time to be blamed on Saddam loyalists rather than Al Qaeda in order to avoid retaliatory strikes.

      In a letter from Zarqawi to Bin Laden, Zarqawi said his group had orchestrated 25 suicide
                                                                                               160
      attacks including the bombings of the Jordanian embassy and UN Headquarters.                   It would be

      almost eight months before Zarqawi would publicly claim responsibility for the latter blast.



157
    PX937, “Insurgent Group Profile: Al Qaeda in Iraq (AQI),” Working Paper, MC Study A, May 2, 2007,
Secret/Noforn
158
    PX937, “Insurgent Group Profile: Al Qaeda in Iraq (AQI),” Working Paper, MC Study A, May 2, 2007,
Secret/Noforn
159
    PX362, Richard Boucher, “Daily Press Briefing,” U.S. Department of State, Washington, DC, October 29, 2003,
https://2001-2009.state.gov/r/pa/prs/dpb/2003/25731.htm
160
    PX937, “Insurgent Group Profile: Al Qaeda in Iraq (AQI),” Working Paper, MC Study A, May 2, 2007,
Secret/Noforn


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181.     Al Qaeda in Iraq claimed responsibility for numerous attacks on U.S. forces in Iraq.                       It
                                                                                                   162
      was the most ruthless insurgent group in Iraq, responsible for thousands of deaths.                It broadly

      operated along major roads in major population centers in western and northern Iraq, as well

      as in Baghdad. However, its ability to kidnap foreigners in both Sunni and Shi’ite-dominated

      regions suggested an ability to coordinate and de-conflict if not cooperate with Shi’ite militias.

      The highest Al Qaeda in Iraq presence stretched from Al-Qa’im to Ramadi in al-Anbar

      governorate, and then north toward Mosul, as well as around Samarra, Baqubah, and Kirkuk.

      U.S. military and intelligence assessments placed blame on Al Qaeda in Iraq for many attacks.

      On July 14, 2003, for example, Al-Tawhid, the group that would rebrand itself Al Qaeda in

      Iraq after its founder Abu Musab al-Zarqawi moved from Jordan to Iraq, released an audiotape

      which declared in reference to attacks on U.S. forces, “I swear by God no one from his [Saddam

      Hussein's] followers carried out any jihad operations like he claims.... They are a result of our
                          163
      brothers in jihad.”       On May 11, 2004, Zarqawi himself beheaded American businessman

      Nicholas Berg on videotape. Zarqawi’s followers claimed responsibility for a car bomb in

      Baghdad which killed three General Electric employees. On September 30, 2004, bombs killed

      35 children as U.S. troops handed out candies at the opening of a sewage treatment plant;

      Zarqawi’s group claimed responsibility. On May 7, 2005, two car bombs rammed a U.S.



161
    On December 1, 2004, the U.S. Treasury Department published a Specially Designated National (SDN) List
update for the al-Zarqawi Network/Al Qaeda in Iraq listing numerous aliases for the group These can be found here:
https://www.treasury.gov/resource-center/sanctions/OFAC-Enforcement/Pages/20041201.aspx. PX71.
162
    “Al Qaida Grains Strength in Sunni Heartland,” Associated Press, August 16, 2006,
http://www.nbcnews.com/id/14368862/ns/world_news-mideast_n_africa/t/al-qaida-gains-strength-iraq-sunni-
heartland/#.XQfQYHdFzIU; PX638, Eric Hamilton, "Backgrounder #21: Developments Fighting Al Qaeda in Iraq,"
Institute for the Study of War, January 20, 2008,
http://www.understandingwar.org/sites/default/files/reports/Devolpments%20Fighting%20Al%20Qaeda%20in%20I
raq.pdf; Hayder al-Khoei, “Al-Qaida's surge spells further turmoil for Iraq,” The Guardian, August 21, 2012,
https://www.theguardian.com/commentisfree/2012/aug/21/al-qaida-surge-iraq-jihadist
163
    John Hendren, “Tape Claims Al Qaeda is at Work in Iraq,” Los Angeles Times, July 14, 2003.


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                                                                                                          164
      security company convoy in Baghdad, killing two Americans and at least 20 others.                         On

      August 1, 2005, Al Qaeda in Iraq claimed responsibility for a suicide bombing in Hit which
                             165
      killed a U.S. Marine.        The August 19, 2003 truck bombing of the U.N. headquarters in

      Baghdad which killed 23, including U.N. envoy Sergio Vieira de Mello, remains among the
                                                              166
      group’s most spectacular attacks on foreigners.               After his January 15, 2005 capture,

      explosives expert Sami Mohammed Ali Said al-Ja’af said he had built 75 percent of the car
                                                                                       167
      bombs used across Iraq since the beginning of Operation Iraqi Freedom.

182.     Al Qaeda’s central leadership sought to ensure that Zarqawi focused his violence on

      Americans and other foreigners rather than Iraqi Shi’ites. On October 11, 2005, for example,

      Al Qaeda’s second-in-command Ayman al-Zawahiri wrote to Zarqawi to urge him to avoid

      attacking Shi’ites and their mosques in order to avoid any complications in the primary

      imperative to attack Americans and drive them from Iraq. “Don’t let your eyes lose sight of
                                                                                             168
      the target, and that it should stand before you always,” Zawahiri wrote.                     After Zarqawi

      orchestrated a February 22, 2006 attack on the al-Askari Shrine in Samarra, Zawahiri wrote to

      chastise him for attacking Shi’ites. Zawahiri and other senior Al Qaeda leaders worried that

      sectarian attacks in Iraq would jeopardize their ability to work across the sectarian aisle in the
              169
      country.




164
    “Timeline: Major Attacks Claimed by Zarqawi and His Followers,” Associated Press, June 8, 2006.
165
    Ellen Knickmeyer, “14 Marines Die in Huge Explosion in Western Iraq,” Washington Post, August 4, 2005.
166
    “Timeline: Major Attacks Claimed by Zarqawi and His Followers,” Associated Press, June 8, 2006.
167
    PX937, “Insurgent Group Profile: Al Qaeda in Iraq (AQI),” Working Paper, MC Study A, May 2, 2007,
Secret/Noforn
168
    PX910, “Letter from Al-Zawahiri to Al-Zarqawi” dated July 9, 2005, Office of the Director of National
Intelligence, October 11, 2005.
169
    PX937, Insurgent Group Profile: Al Qaeda in Iraq (AQI),” Working Paper, MC Study A, May 2, 2007,
Secret/Noforn


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183.     On June 7, 2006, a targeted airstrike killed Zarqawi. Abu Ayyub al-Masri, an Egyptian

      who came to Iraq by way of Afghanistan, succeeded him. He continued to be an effective

      liaison between Al Qaeda’s senior leadership in Pakistan and Al Qaeda in Iraq until his death
                                            170
      in a 2010 U.S.-Iraq joint operation.        By 2007, Diyala—an Iraqi governorate bordering Iran—

      became “the main hub” of operations in Iraq. The provincial capital Baquba was, in effect, the
                                                         171
      capital of Al Qaeda in Iraq’s Islamic emirate.           That same year, the U.S. military estimated

      that foreign-born Al Qaeda terrorists were responsible for between 80 and 90 percent of suicide
                      172
      attacks in Iraq.      In 2012, the U.S. Treasury Department designated Iran’s Ministry of

      Information and Security—the Islamic Republic’s intelligence agency—“for its support to
                                                                               173
      terrorist groups, including al Qa’ida [and] al Qa’ida in Iraq….”

184.     During the height of the insurgency and terror campaign, from 2003 through 2011, Al

      Qaeda in Iraq operated broadly across the country and with broad lethality. In 2006, it made

      Baqubah, a small city approximately 50 miles northeast of Baghdad and the capital of the
                                                                    174
      Diyala governorate, the capital of its rump Islamic state.          Baqubah also sits aside major routes

      into Iran as the roads to the Khanaqin crossing 87 miles further northeast and Mandali, just 59

      miles further east, converge in the city. Simply put, Iranian goods crossing the two highest

      traffic and nearest border posts to Baghdad would pass through Al Qaeda in Iraq’s zone of

      operation. That the transit of Iranian goods in such circumstances continued unimpeded


170
    PX966, “MNC-I BUA Intel Daily Slides,” May 2007.
171
    Bill Roggio, “Battle of Baqubah,” Long War Journal, June 19, 2007.
172
    PX304, U.S. military spokesman Brigadier General Kevin Bergner, July 11, 2007 press conference, as quoted by
Anthony H. Cordesman, “Iraq’s Sunni Insurgents: Looking Beyond al Qa’ida,” Center for Strategic and
International Studies, July 16, 2007.
173
    PX68, “Treasury Designates Iranian Ministry of Intelligence and Security for Human Rights Abuses and Support
for Terrorism” U.S. Department of Treasury, February 16, 2012.
174
    Bill Roggio, “The Battle of Baqubah I”, FDD’s Long Journal War, June 19 2007,
http://www.longwarjournal.org/archives/2007/06/the_battle_of_baquba.php


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      suggests a modus operandi. In 2007, Diyala became the main hub of Al Qaeda operations.

      According to Bill Roggio, an Al Qaeda expert at the Foundation for Defense of Democracies,

      more than 2,000 Al Qaeda in Iraq operatives who had fled Baghdad were operating in Diyala
                 175
      at the time.     US-led coalition forces launched major operations in 2007 and 2008 to clear Al
                                     176
      Qaeda in Iraq from the area.

185.      Al Qaeda in Iraq also effectively controlled Ramadi, the capital of overwhelmingly Sunni
                                              177
      al-Anbar governorate, by mid-2004.            Center for Strategic and International Studies scholar

      Anthony Cordesman, a former Director of Intelligence Assessment in the Office of the
                                                                                                          178
      Secretary of Defense, affirmed Al Qaeda in Iraq infrastructure in and around Ramadi.                      Al

      Qaeda in Iraq also employed car bombs, mortars, rockets, improvised explosive devices, and

      ambushes in Fallujah, a town in al-Anbar roughly 30 miles east of Ramadi and the halfway

      point between the provincial capital and Baghdad.179 By June 2004, Al Qaeda in Iraq sponsored
                                                                                   180
      ceremonies in which tribal sheiks pledged their loyalty to Zarqawi.                Roggio found in 2007




175
    Bill Roggio, The Diyala Salvation Front, FDD’s Long Journal War, May 10 2007,
http://www.longwarjournal.org/archives/2007/05/the_diyala_salvation.php
176
    “New Push Starts Against Al Qaeda In Iraq”, CNSNEWS, July 29 2008
https://www.cbsnews.com/news/new-push-starts-against-al-qaeda-in-iraq/ ; Bill Roggio, The Diyala Salvation Front,
FDD’s Long Journal War, May 10 2007,
http://www.longwarjournal.org/archives/2007/05/the_diyala_salvation.php
177
    Bill Roggio, “The Anbar Tribes vs. al Qaeda, Continued”, FDD’s Long Journal War, November 22 2006
http://www.longwarjournal.org/archives/2006/11/the_anbar_tribes_vs.php
178
    PX618, Anthony Cordesman, Iraq's Sunni Insurgents: Looking Beyond Al Qa'ida, Center for Strategic and
International Studies, 16 July 2007, p. 2
179
    PX215, “Exploiting al-Qa’ida’s Organizational Vulnerabilities”, Combating Terrorism Center: United States
Military Academy, February 14, 2006, p. 37, https://ctc.usma.edu/v2/wp-content/uploads/2010/06/Harmony-and-
Disharmony.pdf
180
    PX675, M. J. Kirdar, “Al-Qaeda in Iraq”, Center for Strategic and International Studies, June 2011, p. 3.
https://csis-prod.s3.amazonaws.com/s3fs-
public/legacy_files/files/publication/110614_Kirdar_AlQaedaIraq_Web.pdf


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      that “Iranian mines and weapons were funneled to Zarqawi’s terrorists in Fallujah and

      elsewhere throughout Sunni dominated Anbar province.”181

186.     Al Qaeda’s entrenchment and dominance in Anbar, particularly Ramadi, was confirmed

      by Sheikh Jassim al-Suwaydawi of the Albu-Souda tribe in Sofia primarily located to the east

      of Ramadi along the Euphrates. Although reportedly anti-coalition after the fall of Saddam, the

      tribe abandoned any allegiance to al Qaeda and insurgency after the battle of Sofia in

      November 2006. When interviewed on April 9, 2010 and asked what caused the insurgency

      and the Awakening, Jassim stated, “They were terrorists that had been backed and paid by

      Iranian and Syrian intelligence for a special purpose: to prevent democracy from spreading in

      Iraq, which, they were afraid would trickle down to other countries.” After leading his tribe in

      several battles against AQI, resulting in his brother and three cousins being killed by the group,

      Jassim was offered a diya (blood money) of $1 Billion Iraqi dinars by AQI, which he

      understood would be supplied to AQI by Iran.182

187.     Zarqawi traveled frequently not only between Baghdad and Ramadi, but also northward to

      Tikrit, the capital of the Salah al-Din governorate. These cities defined the three points of the
                                                                                                            183
      so-called “Sunni Triangle” which became an epicenter of Sunni attacks on American forces.

188.     Al Qaeda in Iraq attacks; however, transcended Diyali, al-Anbar, and the Sunni Triangle.

      The groups also remained active in the Kirkuk and Ninewah governorates in northern Iraq, as




181
    Bill Roggio, The Diyala Salvation Front, FDD’s Long Journal War, May 10 2007,
http://www.longwarjournal.org/archives/2007/05/the_diyala_salvation.php
182
    PX635, Dr. William Knarr, et al., Al-Sahawa-The Awakening Vol. IV-A: Area of Operations Topeka, East Ramadi
and the Shark Fins, Institute for Defense Analysis, at p. B-4 – B-7 (August 2019).
183
    PX675, M. J. Kirdar, “Al-Qaeda in Iraq”, Center for Strategic and International Studies, June 2011, p. 3.
https://csis-prod.s3.amazonaws.com/s3fs-
public/legacy_files/files/publication/110614_Kirdar_AlQaedaIraq_Web.pdf


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                                                                                    184
      well as areas of Babil and Wasit to the south of Baghdad.                           Eric Hamilton, today a lecturer at

      New York University in Abu Dhabi, found in a 2008 Institute for the Study of War study on

      the battle for Mosul, Iraq’s second largest city, that “Mosul has always been a center for the
                                                                                                                              185
      Sunni insurgency. It is a critical hub for AQI funding and foreign terrorist facilitation.”                                   In

      November 2004, Al Qaeda in Iraq and Ansar al Sunna launched an offensive against U.S. and
                                       186
      coalition forces in the city.




                     Source: Eric Hamilton, Developments Fighting Al Qaeda in Iraq, Institute for the Study of War, January
                                                               2008. PX638.




184
    PX618, Anthony Cordesman, Iraq's Sunni Insurgents: Looking Beyond Al Qa'ida, Center for Strategic and
International Studies, 16 July 2007, p. 3-4.
185
    PX639, Eric Hamilton, “The Fight For Mosul”, March 2003 - March 2008, Institute for the Study of War, p 3
http://www.understandingwar.org/sites/default/files/reports/Iraq%20Report%208.pdf
186
    PX639, Eric Hamilton, “The Fight For Mosul”, March 2003 - March 2008, Institute for the Study of War, p. 9
http://www.understandingwar.org/sites/default/files/reports/Iraq%20Report%208.pdf


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189.     In summary, in the run-up to the 2003 war in Iraq and continuing through 2011, the

      Iranian regime worked directly and indirectly with the founding members and leaders of

      Al Qaeda in Iraq, and facilitated the group’s operations which targeted, wounded, and

      killed U.S. forces in Iraq. Al Qaeda in Iraq simply would not have been able to maintain

      its existence, pace or the lethality of its attacks absent this Iranian assistance.

                   iii.   Islamic Army in Iraq.

190.     Other Sunni terrorist groups operated in Iraq, targeted Americans, and likely benefited

      from indirect Iranian support. Prominent Baghdad Sheikh Ahmed al-Dabash founded the

      Islamic Army in Iraq (IAI) in 2003, for example, and the group remained active in Iraq’s

      Sunni Triangle until 2011 and then, after a brief hiatus, resumed attacks in 2013. Al-Dabash

                                                                                             187
      reportedly described himself to be like a “brother to Abu Musab al-Zarqawi.”                 Motivated

      both by hostility to the presence of foreign forces in Iraq as well as anti-Shi’ite sectarian

      animus, links to Iran can seem counterintuitive. While not formally designated as a terrorist

      group by the U.S. Treasury Department, U.S. forces in Iraq put al-Dabash on its most wanted




187
   Ruth Sherlock and Carol Malouf, “Islamic Army of Iraq founder: Isis and Sunni Islamists will march on
Baghdad,” Daily Telegraph, June 20, 2014,
https://www.telegraph.co.uk/news/worldnews/middleeast/iraq/10914567/Islamic-Army-of-Iraq-founder-Isis-and-
Sunni-Islamists-will-march-on-Baghdad.html


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      list for several years in the late 2000s.            In addition, in 2008, the Treasury Department

      designated Mish’an al-Jiburi and Syria-based al-Zawra television for broadcasting coded
                                                                                          189
      messages to Islamic Army in Iraq directing terrorism against U.S. forces.                 At the time, Syria

      was fully under the control of Bashar al-Assad, the Islamic Republic of Iran’s chief regional

      ally. The Islamic Army in Iraq benefited from Iranian support for Sunni terrorism in Iraq

      through groups such as the Shura Council. That body, discussed in paragraph 177, enabled Iran

      to maintain indirect influence over a broader array of Sunni terrorist groups.

191.     Among those attacks for which the Islamic Army of Iraq claimed responsibility were a

      March 24, 2005 vehicle-borne improvised explosive device (VBIED) attack in Ramadi which

      killed 11 policemen and wounded two U.S. marines and the November 2005 kidnapping and

      videotaped execution of U.S. security contractor Ronald Alan Schulz.

192.     The Islamic Army of Iraq was a lethal and disruptive force during the height of the Iraq

      insurgency and terror campaign between 2003 and 2011, and proved its ability to operate and

      conduct operations from Mosul in the north to the environs of Najaf in southern Iraq. As with

      Al Qaeda in Iraq, the Iranian government’s provision of aid and equipment through

      intermediaries such as Al Qaeda in Iraq enabled the Islamic Army of Iraq to transform itself

      from a small local criminal group into a broader reaching and highly lethal terror threat.

                   iv.     The Mujahideen Army.

193.     The Mujahideen Army also coordinated and operated closely with the IAI beginning in

      2004. In November 2004, it took five hostages but released all but the American, whom it kept



188
    “Islamic Army in Iraq,” Mapping Militant Organizations, Stanford University, November 10, 2015,
http://web.stanford.edu/group/mappingmilitants/cgi-bin/groups/view/5
189
    PX67, “Treasury Designates Individuals, Entity Fueling Iraqi Insurgency,” U.S. Department of Treasury, January
9, 2008, https://www.treasury.gov/press-center/press-releases/Pages/hp759.aspx


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       prisoner for ten months until his rescue by U.S. forces. In December 2004, it seized ten Iraqis

       working for a United States contracting firm and executed eight. The Mujahideen Army also

       claims credit for shooting down American helicopters in January 2006 and January 2007. In

       May 2007, the Mujahideen Army joined with the IAI and Ansar al-Islam and some smaller

       groups to form the Jihad and Reform Front which sought to channel its constituent groups’
                                                                        190
       efforts into targeting Americans rather than rival factions.           Therefore, the Mujahideen Army

       cooperated and coordinated groups which had maintained relations with the Islamic

       Revolutionary Guard Corps, a relationship which multiplied its operational and logistical

       capabilities.

194.       As with the Islamic Army of Iraq, Iranian provision of aid, equipment, and expert advice

       and knowledge to Sunni Iraqi intermediaries through groups like Al Qaeda in Iraq augmented

       the Mujahideen Army’s capabilities and lethality in central and western Iraq at the height of

       Iraq’s post-liberation insurgency.

                       v.    Army of Muhammad.
195.       Some Saddam loyalists also received Iranian support after U.S.-led forces ousted the

       Baathist regime. On January 14, 2005, Muayed Al-Nasseri, who had commanded the Sunni

       “Army of Muhammad” (Jaysh Muhammad) in Iraq following the U.S.-led liberation,

       confessed on a Dubai-based Iraqi television channel that Iran had provided his group with

       money and arms. He claimed “We carried out many armed operations against the coalition

       forces in all the districts. The operations included bombarding their military posts, their camps,

       and their bases, fighting these forces, and planting explosive devices against their patrols and




190
      “Mujahideen Army,” Mapping Militant Organizations, Stanford University, August 14, 2015.


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                    191
       convoys....”       The Army of Muhammad subsequently sought Al Qaeda in Iraq assistance in a
                                              192
       plan to kidnap coalition soldiers.           While the Army of Muhammad did not gain the

       prominence of Al Qaeda in Iraq or other insurgent groups, it too appears to have received

       Iranian assistance in order to augment its operations in Baghdad and western Iraq and its

       general threat to American forces in the region.

       M. Conclusion.

196.       Prior to Operation Iraqi Freedom, Iranian diplomats met with their American and British

       counterparts and pledged non-interference. Iranian Foreign Minister Kamal Kharazi and

       Mohammad Javad-Zarif, then-UN ambassador and Kharazi’s eventual successor, further

       promised that they would protect any American personnel and property that might make an

       emergency landing in Iranian territory. They lied. Even prior to the 2003 launch of Operation

       Iraqi Freedom, the IRGC and MOIS were co-opting and cooperating with Sunni terrorist

       groups, including core Al Qaeda and Ansar al-Islam personnel, and laying the groundwork

       with them and with IRGC-trained militia leaders for a broad-based terror campaign of jihad

       against the United States.

197.       The nexus between Al Qaeda and top levels of the Iranian government and IRGC is deep-

       seeded and predates the September 11, 2001 terrorist attacks in New York City, Pennsylvania

       and Washington, D.C. Both the Iranian leadership’s and Al Qaeda’s hatred toward the United

       States trumps the sectarian divisions which exist between Tehran and Al Qaeda-affiliated

       groups.




191
      https://web.archive.org/web/20050206025152/http://www.memritv.org/Transcript.asp?P1=492
192
      PX916, “MNC-I BUA Intel Daily Slides,” October 2007.


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198.   While diplomats often focus on the Shi’ite character of the Islamic Republic, Iran’s

   coordination and cooperation with Sunni terror groups is more the rule than the exception to

   Iranian strategy and the Islamic Republic’s past actions.

199.   Specifically, Iranian officials at the most senior levels were both aware of and approved

   the IRGC and MOIS’ coordination not only with Shi’ite militias but also with Sunni terrorist

   groups in Iraq. Such support included provision of safe-haven, travel facilitation, logistics,

   funding, weapons, specialized training, expert assistance and intelligence, not only in Baghdad,

   but also in predominantly Sunni governorates like al-Anbar, Samarra, Ninewa [Mosul], and

   Kirkuk. This support was significant and continuous, and afforded these groups the means to

   sustain and grow their operations, expand their influence and operational capacities, and

   increased their lethal effectiveness and sophistication as violent extremist organizations.

200.   Iran’s provision of safe haven within, and safe passage into and through, its borders to Al

   Qaeda senior leadership and operatives permitted Al Qaeda to conduct strategic planning,

   coordinate with its factions and franchises, fundraise, train, and travel freely and in relative

   safety. This operational support was crucial to the survival of Al Qaeda as an organization,

   increased its apparent legitimacy as a jihadist movement, and allowed it to continue to commit

   violence against Americans, particularly in Iraq. Without this support Al Qaeda and its

   affiliates in Iraq would have been much weaker, more isolated, and unable to sustain operations

   or even grow or expand its operations into and throughout Iraq.

201.   Iran’s support to Ansar al-Islam and Abu Musab al-Zarqawi was equally vital to their

   ability to sustain operations and flourish after the U.S.-led liberation of Iraq in 2003 and up

   through the subsequent evolution of Zarqawi from an Ansar al Islam/Al Tawhid chief to the

   founding Emir of Al Qaeda in Iraq and its eventual progression to the Islamic State of Iraq.




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202.   The IRGC and its affiliated companies NIOC, Bank Melli Iran, Bank Markazi and Khatam

   al-Anbiya were crucial elements in Iranian support for terrorists in Iraq. NIOC and KAA were

   used by Iran to generate and source funds used to finance the Islamic Republic’s terror

   networks. Financial institutions such as Bank Markazi and Bank Melli Iran permitted the

   Islamic Republic to access, transfer and move the funds to terror groups. Banks Melli and

   Markazi used a variety of deceptive practices, including front companies, fraudulent

   documents, exchange houses, seemingly legitimate businesses and government officials to

   structure financial transactions to avoid international counterterrorism financing sanctions, and

   to channel funds and materials directly and indirectly to Shia and Sunni terrorist groups in Iraq

   for the purpose of attacking and killing Americans.

203.   Just as they did with Shi’ite militias, Iranian leaders and top IRGC generals sought to

   support multiple Sunni terrorist groups in Iraq, specifically Ansar al Islam, al Qaeda, and al

   Qaeda in Iraq. Supporting various groups and sects not only allowed Tehran to effectively

   deflect responsibility, but also to further encourage attacks on Americans by forcing the groups

   to compete with one another to earn or maintain Iran’s support.

204.   Simply put, Iranian support for and cooperation with not only Shi’ite militias but also with

   al Qaeda, al Qaeda in Iraq and Ansar al-Islam, was essential to these groups’ cooperation,

   leadership structures, organizational infrastructure, financial solvency, recruitment and

   growth, and for their ability to plan, commit, and authorize sophisticated terror attacks against

   American servicemen, contractors, and civilians.

205.   Without Iran’s significant support, Al Qaeda, Al Qaeda in Iraq, and Ansar al Islam would

   not have been the potent lethal threats that they posed in Iraq from 2003 through 2011.




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206.   I hold these opinions to a professional degree of historical certainty based on more than

   two decades of professional experience analyzing Iran and Iraq, traveling to the Middle East,

   hundreds of interviews, and extensive research not limited in scope to this report about both

   Iranian strategic behavior and terrorism in Iraq.




   I declare under penalty of perjury that the foregoing is true and correct.



                                                          April 19, 2022
       ___________________                                ______________
       Michael Rubin, Ph.D.                               Date




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       Exhibit A




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                                         Michael Rubin
                                          Senior Fellow
                      American Enterprise Institute for Public Policy Research
                                1789 Massachusetts Avenue, NW
                                    Washington, DC 20036
                                     Phone 202.862.5851
                                     E-mail mrubin@aei.org
POSITIONS
Senior Fellow, American Enterprise Institute, 2004 – present.
Senior Lecturer, Naval Postgraduate School, 2007– 2021.
Contract Iran Analyst, Foreign Military Studies Office, Fort Leavenworth, 2012– present
Contributing Editor, 1945, 2020- present.
Contributor, Washington Examiner, 2017 - present
Contributor, Commentary Magazine, 2011 - 2017.
Lecturer, Johns Hopkins University, 2010.
International Election Observer, Bangladesh, 2008.
Senior Editor, Middle East Quarterly, 2009 – present.
Editor, Middle East Quarterly, 2004 – 2009.
Political Adviser. Coalition Provisional Authority, Baghdad, Iraq, 2003-2004.
Staff Adviser, Iran and Iraq. Office of the Secretary of Defense (International Security Affairs), 2002-
   2004.
International Affairs Fellow, Council on Foreign Relations, 2002-2003.
Fellow. The Leonard Davis Institute for International Relations, Hebrew University. Jerusalem.
   2001-2002.
Editorial Board, Middle East Intelligence Bulletin, 2001-2002, 2004.
Fellow. Carnegie Council on Ethics and International Affairs, 2000-2001.
Assistant Editor, Iranian Studies, 1994 – 1997.

EDUCATION
Ph.D., History, Yale University, 1999.
Dissertation: “The Making of Modern Iran, 1858-1909: Communications, Telegraph and Society”
•       Recipient, John Addison Porter Prize “for a work of scholarship in any field in which it is
        possible, through original effort, to gather and relate facts and/or principles and to make the
        product of general human interest.”
M.A., History, Yale University, 1996.
B.S., Biology and History (dual major), Yale University, 1994.


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“National Security Symposium,” Musanze, Rwanda, May 13, 2021.
“100 Days: Assessing Biden’s Middle East and South Asia Policy,” Usanas Foundation, May 6,
   2021.
“Should the U.S. Re-enter the JCPOA?” Northwestern University Political Union, May 6, 2021.
“U.S.-Iran Relations (or Lack Thereof)” Miami University of Ohio Alexander Hamilton Society,
   April 28, 2021.
“Reframing U.S. Relations with the Kurdistan Region of Iraq in Light of Human Rights and
   Freedom of Speech Violations,” Kurdistan Times Talk, March 9, 2021.
“After the Abraham Accords: What’s Next for Israel?” Alexander Hamilton Society, Yale
   University, March 8, 2021.




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“The Biden Administration and U.S. Foreign Policy Concepts in the Eastern Mediterranean,”
    American Hellenic Institute, January 27, 2021.
“The Changing American Political Landscape and its Impact on the Horn of Africa and the Red
    Sea,” Institute for Peace and Conflict Studies, University of Hargeisa, Somaliland, January 10,
    2021.
“Iran in a Post-Pandemic World,” Temple Emanu-El, Palm Beach Island, December 16, 2020.
“Turkey’s Aggression in Syria and Iraq,” In Defense of Christians, December 16, 2020.
“Trump’s Iran Policy and Expectations,” Alexander Hamilton Society, Columbia University,
    December 11, 2020.
“Feasibility of an International Envoy and New Mandate for Ambassador Khalilzad,” Afghanistan
    Institute of Strategic Studies, December 10, 2020.
“Perils and Possibilities: US-Iran Relations,” George Washington University, Alexander Hamilton
    Society, November 18, 2020.
“Lebanon: A Nation in Turmoil,” B’nai Brith, November 5, 2020.
“Healing the Wounds of Kandahar and Kabul: Searching for Peace in Afghanistan,” Usanas
    Foundation, October 30, 2020.
“Iraq Trip Report,” State Department Bureau of Near Eastern Affairs, October 29, 2020.
“Turkey is Committing Another Christian Genocide. Why is the Trump Administration Silent?"
    October 16, 2020.
“Should the US Cut Off Support to Saudi Arabia Over Yemen?” Hamilton Society Debate, Notre
    Dame University, September 24, 2020.
“Sinjar,” State Department Bureau of Near Eastern Affairs, September 10, 2020.
“Eastern Mediterranean,” Foreign Service Institute, September 4, 2020.
“The Strategic US-Africa Partnership,” New York Center for Foreign Policy Affairs, August 21,
    2020.
“What Really Causes Instability in the Middle East?” World Affairs Council of Philadelphia,
    Philadelphia, Pennsylvania, January 15, 2020.
“The Situation in Baghdad,” Niskanen Center, Washington, DC, January 7 2020.
“Seven Pillars of Instability in the Middle East,” University of Chicago, Chicago, Illinois,
    December 5, 2019.
“Chaos in the Middle East: The Seven Pillars” University of Wisconsin- Madison, Madison,
    Wisconsin, December 4, 2019.
“Seven Pillars of Instability in the Middle East,” Brown University, Providence, Rhode Island,
    December 3, 2019.
“Somaliland’s Regional Integration,” Economy and Infrastructure in Somaliland Conference,
    Nairobi, Kenya, November 21, 2019.
“Integration in East Africa,” United States International University- Africa, Nairobi, Kenya,
    November 18, 2019.




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“Turkey’s Challenge to Libyan Stability,” National Council on U.S.-Libya Relations, Washington,
     DC, November 15, 2019.
“Withdrawing from Syria: What Happens Next?” Vanderbilt University Executive Council,
     Nashville, Tennessee, November 12, 2019.
“Turkey’s Illegal Intelligence Gathering on Dissidents in the United States and Europe,” The
              Investigative Journal Conference on Turkey/ISIS, November 11, 2019.
“U.S. and Irn: How Has History Shaped Policy Decisions Today?” American University Hamilton
     Society, November 5, 2019.
“Iranian Foreign Policy and the Persian Gulf,” Foreign Service Institute, Arlington, Virginia,
     October 31, 2019.
“Strengthening U.S.-Morocco Relations,” Royal Institute for Strategic Studies, Rabat, Morocco,
     October 29, 2019.
“U.S. Perspectives on South Asia,” Pakistan National Defense University roundtable, Islamabad,
     Pakistan October 22, 2019.
“Turkey: New Realities and Challenges,” George Washington University Hamilton Society,
     Washington, DC, September 25, 2019.
“Is the Eastern Mediterranean the New Persian Gulf?” Foreign Service Institute, Arlington,
     Virginia, August 20, 2019.
“The Turkey-ISIS Nexus,” Rojava Center for Strategic Studies, Amudeh, Syria, July 6, 2019.
“Leadership in Somali Education and Development,” Marist College, Poughkeepsie, NY, June 9,
     2019.
“The Future of U.S. Involvement in the Middle East,” Chicago Institute of Politics, University of
     Chicago, May 31, 2019.
“The Fallacy of Talking to the Taliban,” the Afghan Institute for Strategic Studies, Kabul,
     Afghanistan, May 23, 2019.
“What next in Syria?” Carnegie-Mellon University Hamilton Society, Pittsburgh, Pennsylvania,
     April 24, 2019.
 “Is US Reconciliation with Iran Possible?” Copenhagen University, April 5, 2019.
“What changes in the Middle East will define the Trump presidency?” Danish Institute for
     International Studies, April 4, 2019.
“U.S. Strategy and Foreign Policy in the Middle East,” Royal Danish Defense College,
     Copenhagen, April 4, 2019.
“Is the US posture to the Middle East wrong?” University of Gothenburg, Sweden, April 3, 2019.
“Is U.S.-Iran Reconciliation Possible?” Brännpunkt Europa, Gothenburg, Sweden, April 3, 2019.
“Succession in the Middle East along with the U.S. Grand Strategy,” Swedish Defense University,
     April 2, 2019.
“What may influence US policy toward Iran,” International Council of Swedish Industry,
     Stockholm, April 2, 2019.




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“The Trouble with Turkey,” The Confederation of Swedish Conservative and Liberal Students,
    Stockholm, Sweden, April 1, 2019.
Roundtable on Current Events, Swedish Defense Research Agency, Stockholm, April 1, 2019.
“The Future of the U.S.-Saudi Strategic Alliance,” Cornell Political Union, Ithaca, New York,
    March 26, 2019.
“Should the U.S. Withdraw from Syria?” University of Virginia Hamilton Society, March 4, 2019.
“Trump’s Proposed Troop Withdrawal from Syria,” Furman University Executive Council,
    Greenville, South Carolina, February 27, 2019.
“Changing U.S. Perspectives toward the Horn of Africa,” University of Hargeisa, Hargeisa,
    Somaliland, February 12, 2019.
“Iran’s Imperial Foreign Policy,” Council on Foreign Relations’ Symposium on the 40th
    Anniversary of Iran’s Islamic Revolution, February 6, 2019.
“Iranian Soft Power Strategies in Syria,” Culture, Regional Expertise and Language Management
    Office, Fort Leavenworth, January 14, 2019.
“Turkey as a Regional Hotspot,” Near East/South Asia (NESA) Center, National Defense
    University, Washington, DC, December 6, 2018.
“The Future of U.S.-Saudi Relations” University of Wisconsin Hamilton Society, Madison,
    Wisconsin, November 28, 2018.
“Should the U.S. Stop Military Aid to Saudi Arabia?” Brown University Hamilton Society,
    November 15, 2018.
 “Temptation of Power: U.S. Policy in the Middle East,” 5th Annual Abu Dhabi Strategic Debate,
    Abu Dhabi, United Arab Emirates, November 10, 2018.
“How Best Can the U.S. Combat Islamist Extremism?” Ohio State University Hamilton Society,
    Columbus, Ohio, November 1, 2018.
“U.S. Withdrawal from the JCPOA,” Harvard University Hamilton Society, Cambridge,
    Massachusetts, October 29, 2018.
“The Future of U.S. Policy Toward the Strait of Hormuz,” Omani Diplomatic Academy, Muscat,
    Oman, October 22, 2018.
 “Where Politics and Religion Diverge,” Imam Sajjad Festival, Shrine of Imam Hussein, Karbala,
    Iraq, October 5, 2018.
“Religious Freedom must be Front and Center in U.S. Policy,” Liberty University Convocation,
    Lynchburg, Virginia, September 29, 2018.
“Could the Islamic Republic of Iran ever Collapse?” Foreign Military Studies Office, Fort
    Leavenworth, Kansas, August 2, 2018.
“U.S. Power in the Middle East,” Notre Dame International Security Center, Notre Dame, Indiana,
    April 26, 2018.
“Is Turkey Still an Ally?” Hillsdale College Hamilton Society, Hillsdale, Michigan, April 3, 2018.




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“The Wisdom of Projecting Military Power,” University of Pennsylvania Federalist Society,
    Philadelphia, Pennsylvania, March 22, 2018.
 “New Threats and Future Opportunities of the New World Economy,” Dakhla, Western Sahara,
    Morocco, December 7, 2017.
“The Future of Iran’s Military,” Foreign Military Studies Office, Fort Leavenworth, Kansas, June 12,
    2017.
“The U.S. – Kurdish Collaboration in the Course of Reshaping the Middle East,” Kurdish Policy
    Research Center conference, Washington, DC, May 25, 2017.
"Talk Ain't Cheap: The High Cost of Diplomacy with Enemies," Towson University Global Lecture
    Series, April 27, 2017.
“What should Trump be doing about ISIS?” Hamilton Society, Boston College, April 25, 2017.
“Restore or Revise: The Future of US-Israel Relations,” Hamilton Society, University of Texas-
    Austin, April 4, 2017.
“New Developments in Hezbollah and Iran Arsenals,” Temple Emanu-El, Palm Beach, Florida,
    March 29, 2017.
 “Lessons from Failed Middle East Diplomacy,” EMET Capitol Hill Conference, March 23, 2017.
“The Age of Hyper-Terrorism and ‘Low cost' Terrorism” Marrakech Security Forum, Marrakech,
    Morocco, February 12, 2017.
“Terrorism and Militancy,” Counterterrorism Investigations and Operations, FBI, Manassas,
    Virginia, January 11, 2017
“Terrorism on our Doorstep,” Awakening Conference, Sea Island, Georgia, January 7, 2017.
“What role for Western powers in Kurdish democratic agenda?,” 13th International Conference on
    the European Union, Turkey, Middle East, and the Kurds, European Union Parliament,
    Brussels, Belgium, December 7, 2016.
“Problems in Kurdish Studies,” Middle East Studies Association, Boston, Massachusetts, November
    19, 2016.
“How to Augment America’s Fight against ISIS.” Ashland University Hamilton Society, Ashland,
    Ohio, November 17, 2016.
“Terrorism and Militancy,” Counterterrorism Investigations and Operations, FBI, Manassas,
    Virginia, November 16, 2016.
“Is Change in Iran Rhetorical or Real,” Association for the Study of Middle East and Africa
    (ASMEA), Washington, DC, October 28, 2016.
“Terrorism and Militancy,” Counterterrorism Investigations and Operations, FBI, Manassas,
    Virginia, October 26, 2016.
“Why Diplomacy with Rogue Regimes Doesn’t Work,” Special Warfare Operational Design Course,
    Fort Bragg, North Carolina, October 19, 2016.
“The Syrian Refugee Crisis,” George Washington University Hamilton Society, Washington, DC,
    September 22, 2016.




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“Future of ISIS,” Joint Terrorism Task Force conference, Leesburg, Virginia, September 20, 2016.
“The Evolution of Terrorism,” FBI Field Office, Jacksonville, Florida, September 14, 2016.
“Iran, Terrorism, and Islamic Radicalism,” FBI Washington Field Office, Washington, DC., April
     22, 2016.
“The Role of Secular Governance in World Peace: Reaffirming Ataturk's Vision.” Atatürk Society
     of America, Washington, DC, April 21, 2016.
“Future of U.S. Foreign Policy with Israel,” Hillsdale College (Michigan) Hamilton Society,
     Hillsdale, Michigan, April 20, 2016.
“Turkey’s Foreign Policy and Involvement in Syria,” Columbia University Hamilton Society, New
     York, New York, April 18, 2016.
 “Islam, Terrorism, and Extremism,” FBI Counter Terrorism and Intelligence Operations, Manassas,
     Virginia, April 14, 2016.
“U.S. Policy toward Rogue Regimes,” Arizona State University Hamilton Society, Tempe, Arizona,
     April 12, 2016.
 “Iran, Terrorism, and Islamic Radicalism,” FBI Washington Field Office, Washington, DC, April
     4, 2016.
 “The Saudi-Iran Challenge,” Duke University Hamilton Society, Durham, NC, March 28, 2016.
 “Australia-Israel Relations,” AIPAC Policy Conference, Washington, DC, March 20, 2016.
“Terrorism in South Asia,” Raisina Dialogue, India Ministry of External Affairs, New Delhi, March
     3, 2016.
“Unilateralism and Diplomacy,” Ohio State University Hamilton Society, February 2, 2016.
“The Middle East Challenge,” Pepperdine University, Malibu, California, January 13, 2016.
“Immigration and National Security,” Princeton University Hamilton Society, December 15, 2015.
“Islam, Terrorism, Iran, and Hezbollah,” FBI Field Office, Miramar, Florida, November 20, 2015.
“What Should the U.S. Do in the Middle East?” University of Miami, Miami, Florida, November
     19, 2015
“Foreign Policy Over Coffee,” Ave Marie University, Ave Marie, Florida, November 18, 2015.
 “The Future of Iraq,” University of Karbala, Karbala, Iraq, November 10, 2015
“Don’t Conflate Iran and Shi’ism,” 2nd Annual Conference on Imam Sajjad, Karbala, Iraq,
     November 8, 2015.
“The Ideology & Cash Behind Terrorism,” Dynasty Financial Partners, St. Helena, California,
     October 23, 2015.
“Islam, Terrorism, Iran, and Hezbollah,” FBI Field Office, Houston, Texas, October 21, 2015.
Islam, Terrorism, Iran, and Hezbollah,” FBI Field Office, New York City, July 30, 2015
“Shi’ite Islam, Iranian Revolutionary Guards, and Hezbollah,” FBI Washington Field Office, June
     11, 2015.
“The Challenge of ISIS,” Grove City College, Grove City, Pennsylvania, April 20, 2015
“Iran Nuclear Program,” Arizona State University, Tempe, Arizona, April 16, 2015




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“The Nature of Tyranny,” Ohio State University, February 24, 2015.
“The Challenge of ISIS,” Miami University of Ohio, February 23, 2015.
“Middle East Turmoil: Lessons from and Implications for Asia,” Institute of Strategic and
   International Studies, Bangkok, Thailand, February 5, 2015.
“The Expectations and Plights of the West,” 11th International Conference on the European
   Union, Turkey, the Middle East and the Kurds. European Parliament, Brussels, December 11,
   2014.
“The Roots of Terrorism,” Los Angeles Field Office, Federal Bureau of Investigation (on terrorism),
   December 3, 2014
“Imam Sajjad and Human Rights,” First International Conference of the Hauzeh on the Treatise of
   Imam Sajjad, Karbala, Iraq, November 18, 2014.
“Dancing with the Devil: Diplomacy with Rogue Regimes,” Savannah Council on Foreign Relations,
   Savannah, Georgiaa, November 13, 2014.
“Dealing or Dueling with Iran?” U.S. Marine Corps University, Quantico, Virginia, November 4,
   2014.
“The Iran Challenge: The Political and Economic Dynamics of the Islamic Republic,” White House
   Seminar for USAF Senior Leaders, Andrews Air Force Base, October 30, 2014.
“The Dangerous Neighborhood of the Middle East,” University of Connecticut, Stamford, October
   28, 2014.
“The New Map of the Middle East,” Northwestern University Hamilton Society, Evanston, Illinois,
   October 14, 2014.
Hamilton Society Debate, College of the Holy Cross, Worcester, Massachusetts, October 8, 2014.
Hamilton Society Debate w/ Brian Katulis at Washington College, Maryland, October 2, 2014.
Panelist, “Third Annual Herat Security Dialogue,” Herat, Afghanistan, September 27, 2014.
Hamilton Society Debate, Stetson University, Florida, September 10, 2014.
Speaker, Washington, DC, Field Office, Federal Bureau of Investigation (on terrorism), August 7,
   2014.
“Terrorism and the Islamic Revolutionary Guard Corps,” Washington, DC, Field Office, Federal
   Bureau of Investigation (on terrorism), July 14, 2014.
“Terrorism and the Islamic Revolutionary Guard Corps” Oklahoma City Field Office, Federal
   Bureau of Investigation, June 27, 2014.
“What’s Next in the Middle East?” Foreign Military Studies Office, Fort Leavenworth, Kansas, May
   19, 2014.
“Dancing with the Devil: U.S. Diplomacy with Rogue Regimes,” Metropolitan Club, New York,
   New York, May 8, 2014.
Moderator, “Developing the Nation’s Human Capital,” U.S.-Azerbaijan Convention, Washington,
   DC, April 30, 2014.
“Dancing with the Devil,” Henry Jackson Society, London, United Kingdom, April 29, 2014.




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“Terrorism and the Syrian Connection,” Counterterrorism Expo, London, United Kingdom, April
    29, 2014.
“U.S.-Iran Relations,” debate with Ambassador Thomas Pickering, World Affairs Council of
    Philadelphia, Philadelphia, Pennsylvania, April 16, 2014.
“U.S. Diplomacy with Rogue Regimes, San Francisco Hamilton Society Professional Chapter, San
    Francisco, California, April 3, 2014.
“U.S. Diplomacy with Rogue Regimes,” Stanford University Hamilton Society, Stanford, California,
    April 2, 2014.
“U.S. Diplomacy with Rogue Regimes,” Claremont-McKenna College, Hamilton Society,
    Claremont, California, April 1, 2014.
“Book Talk: Dancing with the Devil,” David Horowitz Freedom Center luncheon, Los Angeles,
    California, April 1, 2014.
“Diplomacy with Rogue Regimes,” Westmont College, Santa Barbara, California, March 31, 2014.
“Is Current US Policy Toward Iran Working?” Ashland University Hamilton Society, Ashland,
    Ohio, March 20, 2014.
“U.S. Diplomacy with Adversaries,” Center for American Progress, Washington, DC, February 25,
    2014.
“Should the United States Act Alone in the Middle East?” Alexander Hamilton Society, Williams
    College, Williamstown, Massachusetts, November 2013.
“Iran, Russia, and Diplomacy in Syria,” Alexander Hamilton Society, University of Pennsylvania,
    Philadelphia, Pennsylvania, November 2013.
“America’s Role in the Middle East,” Alexander Hamilton Society, Brown University, Providence,
    Rhode Island, October 2013.
“What’s Motivating Iran’s Outreach,” Center for Security Policy National Security Lunch,
    Washington, DC, October 2013
“Rise of Radical Islam in South Caucasus,” conference, Hudson Institute, Washington, DC,
    October 2013
“Political Developments in Iran” Video Conference with Canadian Ministry of Foreign Affairs,
    September 2013.
“Iranian Strategy in Syria,” Joint IED Defeat Organization, Herndon, Virginia, August 2013.
“Is Turkey a Model for the Middle East?” Chautauqua Institution, Chautauqua, New York, August
    2013
“What Next in Egypt?” Conservative Opportunity Society, U.S. Congress, on Egypt, July 2013.
“The American View toward Iran,” University of Basra, Iraq, June 2013.
“Iranian Strategy,” Lecture to Defense Department personnel on Iran and Hezbollah, Georgetown
    University, June 2013.
“Iran’s Presidential Elections,” Strategic Research Institute, Baku, Azerbaijan, June 2013




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“Iran’s Recent Past and Today: Main Development Tendencies and Prospects for the Near Future,”
    Khazar University, Baku, Azerbaijan, May 2013.
 “Azerbaijan Between East and West,” U.S-Azerbaijan Convention, Baku, Azerbaijan, May 2013
 “Has Turkey Missed Its Moment?” World Affairs Council of Houston, March 2013.
 “How Does Iran Think?” Westminister Institute, Washington, DC, February 2013.
 “How Middle East Issues Impact Public Health,” George Washington University Medical School,
    February 2013.
“Addressing the Iranian Challenge,” Tufts University, February 2013.
“Addressing the Iranian Nuclear Challenge,” St. Lawrence College, New York, November 2012.
“Should the United States Intervene in Syria?” Duke University, November 2012.
“The 2012 Elections and U.S. Foreign Policy,” College of Political Science, University of Baghdad,
    Iraq, October 2012.
“Developments in Turkey,” Center for Security Policy National Security Lunch, June 2012.
“The Iran Crisis,” Berlin Middle East Talks and Middle East Freedom Forum, on Iran, May 2012.
“Supporting the Global Campaign Against Terror,” Counter-Terror Expo 2012, London, April
    2012.
“The Changing Middle East: Responses and Reactions,” Stetson University, Florida, April 2012.
“In Need of a New Approach to Pakistan,” Johns Hopkins University, April 2012.
“U.S. Policy Toward Iran,” World Affairs Council of Philadelphia- Washington Forum, April 2012.
“Iranian Decision-Making and Plausible Deniability,” Defense Intelligence Agency/CENTCOM,
    Tampa, Florida, March 2012.
“Preventing a Nuclear Iran,” Middle East Forum, Philadelphia, Pennsylvania, March 2012
“Arab Democracy: Institution Building in the Middle East,” AIPAC Policy Conference, March
    2012.
“Sanctioning Iran, “Debate with Brookings’ Suzanne Maloney at CSIS, February 2012.
“U.S. and Iran after the DC Plot,” Center for Security Policy National Security Lunch, January 2012.
“What Comes Next in the Arab Spring?” Phoenix Council on Foreign Relations, Scottsdale,
    Arizona, December 2011.
“Negotiating with the Taliban,” Florida Atlantic University, Boca Raton, Florida, November 2011.
“Egypt: What Next?” Conservative Opportunity Society, Washington, DC, February 2011.
“The New Middle East: Quo Vadis?” Potomac Institute, Washington, DC, February 2011.
“Strike Iran?” George Mason University, Fairfax, Virginia, February 2011.
“Problems in Kurdish-American Relations,” Lvin Seminar, Sulaymani, Iraq, December 2010.
“Can the United States Negotiate with the Taliban?” Williams College, Massachusetts, October
    2010.
“Determining Rogue vs. State-Sanctioned Behavior in Iran,” National Counter Terrorism Center,
    Washington, DC, August 2010.




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“Iran 2025,” International Future Operation Environment Seminar, Newport News, Virginia, June
    2010.
“How Obama’s Vision of a Nuclear-Free World Weakens American Security,” Heritage,
    Washington, DC, June 2009.
“Iran, The Islamist Threat, and American Policy,” Ayn Rand Institute, Washington, DC, November
    2009.
“The Iran Dilemma: Avoiding a Cascade of Instability in the Region,” University of Connecticut,
    Stamford, Connecticut, October 2009.
“Preventing Disaster: Containing Iran and Protecting Israel,” Forum with Rep. Ileana Ros-Lehtinen,
    Miami, Florda. August 2009.
“The Challenge of Diplomacy with Iran,” World Affairs Council of Houston, May 2009.
“Can Diplomacy Tame Iran?” Kennedy Center Lecture, Brigham Young University, Utah, April
    2009.
“Foreign Policy under McCain and Obama,” Institute of Public Affairs, Melbourne, Australia.
    September 2008.
Panelist, “Are the Revolutionary Guards rogue actors?’ Center for Naval Analysis, Alexandria,
    Virginia, October 2008.
Panel chair, “The Middle East: Its Future Among Uncertainties,” Organized by Strategic Research
    and Study Center (SAREM) under the Turkish General Staff. Istanbul, Turkey. June 2008.
“The Future of U.S.-Turkish Relations,” Global Leadership Forum, Istanbul, Turkey, May 2008.
“The Future of the Middle East,” Global Leadership Forum, Istanbul, Turkey, May 2008.
“Countering Iran’s Geopolitical Designs,” Yale University, April 2008.
“U.S. Policy in the Middle East,” Royal Danish Defence College, Copenhagen, Denmark, April
    2008.
“Are Muslim Values Compatable with those of the West?” Radio Free Europe/Radio Liberty and
    Prague Civic Forum, Prague, Czech Republic, October 2007.
“Understanding Iranian Strategy in Afghanistan.” Presented to the Royal Danish Defense College
    and RAND. Copenhagen, Denmark. June 2007.
“Asymmetrical Threat Concept and its Reflections on International Security.” Conference on New
    Dimensions of Security and International Organizations. Organized by Strategic Research and
    Study Center (SAREM) under the Turkish General Staff. Istanbul. May 2007.
“Iranian Strategy in Iraq.” Conference on “Iraq: Past and Present.” University of Haifa. Israel. March
    2007.
“Current Threats from the Middle East,” NATO Parliamentary Assembly, Quebec City, Canada,
    November 2006.
“Saudi-Iranian Relations,” Royal Danish Defense College, Copenhagen, October 2006.
“Confronting the Threat: Implications of a Nuclear Iran,” Anti-Defamation League and AIPAC,
    Atlanta, Georgia, May 2008.




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“U.S. Policy Options in Iran,” U.S. Commission on International Religious Freedom,” Washington,
    DC, April 2006.
Commentator, Aspen Institute-Berlin Conference on Arab Democracy, Doha, Qatar, March 2006.
“Current Middle East Situation,” Tampere Peace Research Institute, Tampere, Finland, March
    2006.
“Explaining US Middle East Policy,” Tampere University, Tampere, Finland, March 2006.
“Transformational Diplomacy,” Ministry of Foreign Affairs, Training Department, Helsinki,
    Finland, March 2006.
“Iran’s Nuclear Program: A U.S. Perspective,” Finnish Institute of International Affairs, Helsinki,
    Finland, March 2006.
“The Iranian Crisis,” Aleksanteri Institute, Helsinki, Finland, March 2006.
“Eternal Iran,” Timbro, Stockholm, Sweden, March 2006.
“Iran: New Challenges Ahead,” Uppsala Association of International Affairs, Uppsala University,
    Uppsala, Sweden, March 2006.
“New Developments in the Middle East,” Swedish Institute of International Affairs, Stockholm,
    Sweden.
“Explaining U.S.-Iran Policy,” University of Reykjavik, Iceland, March 2006.
“U.S. Middle East Policy,” University of Iceland, Reykjavik, March 2006.
“How Goes Iraq?” University of Iceland, Reykjavik, March 2006.
“U.S. Foreign Policy,” Yeditepe University, Istanbul, Turkey, February 2006.
“Political Responses to Terrorism,” Globe Research Institute, Rome, Italy, February 2006.
“U.S. Policy and the Iraqi Shi’ites.” Washington Institute for Near East Policy Weinberg Founders
    Conference. Landsdowne, Virginia. October 2004.
“The Future of Iraq,” Roundtable at the Office of National Assessment, Canberra, Australia. June
    2004.
“The U.S. Presidential Elections and the Future of Middle East Policy,” The Sydney Institute,
    Sydney, Australia, June 2004.
“Iraq: Now is not the time for the United States to Withdraw,” New Zealand Trade Association,
    Auckland, New Zealand, June 2004.
 “Ethnic Cleansing in Iraq? Arabization and the Kurds.” The Gustav Heinemann Institute of
    Middle Eastern Studies. Conference on Forced Migration in a Comparative Perspective.
    University of Haifa. June 2002.
“Current Developments in Northern Iraq,” Diplomatic Academy, Vienna, May 2002.
“Tactical Terrorism: Iran’s Continued Challenge to the Secular Middle East.” The Truman
    Institute. Hebrew University. Jerusalem. March 2002.
“The Iranian Paradox: Why Reform Won’t Work in Iran.” The Leonard Davis Institute for
    International Relations, Jerusalem. December 2001.




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“Targeting the Taliban,” Yale University, Democracy, Security and Justice lecture series, October
   2001.
“Countering Threats from the Middle East,” George Marshall Center for Strategic Studies,
   Garmisch, Germany, September 2001.
“The Impact of Hard-line Pressure Groups on Iranian Politics and Society.” Middle East Studies
   Association, Orlando, Florida. November 2000.
“Armenians in the Iranian Telegraph Service.” Third Biennial Society of Iranian Studies, Bethesda,
   Maryland. May 2000.
“The Culture of Telegraph Workers in Iran.” Societas Iranologica Europaea,4ème Conférence
   Européenne d’études Iraniennes, Paris, France. September 1999.
“Communications during the Constitutional Revolution.” Constitutional Revolution Conference.
   Iranian Institute of Contemporary Historical Studies, Tehran, Iran. August 1999.
“The Modern Middle East.” (Guest Lecturer). University of Iceland, Reykjavik. April 1999.
“The Telegraph and Iranian Frontier Politics.” Modernity in the Middle East Conference. St.
   Antony’s College, University of Oxford. June 1998.
“U.S.-Iranian Relations in the 1920s.” Institute of Political and International Studies. Tehran.
   August 1996.
MILITARY LECTURES
SEAL Team 6, Norfolk, Virginia, June 4, 2021.
Commander General Staff College, Fort Leavenworth (via video), April 26, 2021.
Foreign Military Studies Office, Fort Leavenworth (via video), February 10, 2021.
Marine Special Operations Command, Camp Lejeune (via video), August 13-14, 2020.
SEAL Team 5, Coronado, California, August 11, 2020 (via video)
SEAL Team 5, Coronado, California, July 29, 2020 (via video)
SEAL Team 10, Little Creek, Virginia, July 16, 2020.
SEAL Team 1, Coronado, California, February 3 – 4, 2020.
USS Bataan/26th Marine Expeditionary Unit, December 17, 2019 – January 4, 2020, Atlantic
  Ocean
SEAL Team 3, September 10 – 12, 2019, Coronado, California.
USS Boxer Amphibious Ready Group/11th Marine Expeditionary Unit, May 1 – 14, 2019, Pacific
  Ocean
USS Kearsarge (LHD 3) and 22nd Marine Expeditionary Unit, December 17 – 31, 2018, Atlantic
  Ocean
US Navy SEAL Team 7, Coronado, California, November 26 – 27, 2018.
USS Essex, July 9 – July 21, Pacific Ocean
USS Harry S. Truman Carrier Strike Group 8, Atlantic Ocean, April 10 – April 25, 2018.
USS Iwo Jima Amphibious Ready Group, Atlantic Ocean, February 9 – February 24, 2018.




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USS Bataan Expeditionary Strike Group, 24th Marine Expeditionary Unit, Atlantic Ocean, February
    28 – March 12, 2017.
USS Eisenhower (CVN-69) and Carrier Strike Group-10, Atlantic Ocean, June 1 – June 13, 2016.
USS Boxer (LHD-4)/13th Marine Expeditionary Unit, Pacific Ocean, February 12 – February 21,
     2016.
USS Harry S. Truman, Carrier Strike Group-8, Mediterranean Sea, November 28 – December 5,
     2015.
USS Arlington, 26th Marine Expeditionary Unit, Atlantic Ocean, October 14 – October 18, 2015.
USS Kearsarge, 26th Marine Expeditionary Unit, Atlantic Ocean, October 6 – October 13, 2015.
USS Theodore Roosevelt and Carrier Strike Group-12, Atlantic Ocean, March 9 – March 22, 2015.
USS Iwo Jima and the 24th Marine Expeditionary Unit, Pacific Ocean, December 14-28, 2014.
3rd Brigade Combat Team, 101st Airborne, Fort Campbell, Kentucky, August 14, 2014
USS Makin Island and 11th Marine Expeditionary Unit, Pacific Ocean, July 24-August 5, 2014.
34th Combat Aviation Brigade, Fort Hood, Texas, July 15, 2014.
Headquarters, U.S. Special Forces, Fort Bragg, North Carolina, June 6, 2014.
Polish Special Forces Command, Warsaw, Poland, June 3, 2014.
1st Brigade Combat Team, 1st Infantry Division, Fort Riley, Kansas, May 20, 2014.
3rd Special Forces Group, Fort Bragg, North Carolina, March 5, 2014.
3rd Cavalry Regiment, Fort Hood, Texas, January 14, 2014.
1st Cavalry, Fort Hood, Texas, December 3, 2013
Croatian Army, Zagreb, Croatia, November 22, 2013
19th Engineering Brigade, Fort Knox, Kentucky, October 1, 2013
Af/Pak Hands, Washington, DC, September 28, 2013
159th Combat Aviation Brigade, Fort Campbell, Kentucky, September 25, 2013
18th Airborne, Fort Bragg, North Carolina, September 11, 2013
Romanian Land Forces, Buzau, Romania, September 10, 2013
10th Polish Brigade, Swietoszow, Poland, September 4, 2013
Af/Pak Hands, Washington, DC, August 25, 2013
USS Harry S Truman, Atlantic Ocean, July 22 – August 6, 2013
Af/Pak Hands, Washington, DC, May 12, 2013
226th Maneuver Enhancement Brigade, North Fort Hood, Texas, April 12, 2013.
Afghanistan Provincial Reconstruction Teams, Camp Atterbury, Indiana, April 8, 2013.
143rd Expeditionary Support Command, Orlando, Florida, April 2, 2013.
26th Marine Expeditionary Unit/Kearsarge Amphibious Ready Group, Atlantic Ocean, March 7-25,
     2013.
     th
175 Expeditionary Support Command, Fort Hood, Texas, January 30, 2013.
III Corps, Fort Hood, Texas, January 23, 2013.
Af/Pak Hands, Washington, DC, January 19, 2013.



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Af/Pak Hands, Washington, DC, January 12, 2013.
79th Brigade Combat Team, San Luis Obispo, California, January 10, 2013.
101st Airborne, Fort Campbell, Kentucky, November 28, 2012.
Army Central Command, Shaw Air Force Base, South Carolina, October 3, 2012.
2nd Romanian Brigade, Craiova, Romania, September 27, 2012.
16th Sustainment Brigade, Bamberg, Germany, September 20, 2012.
55th Armored Brigade Combat Teams, Fort Indiantown Gap, Pennsylvania, September 10-11, 2012.
Provincial Reconstruction Teams, Camp Atterbury, Indiana, August 24, 2012.
1st Brigade Combat Team, 3rd Infantry Division, Fort Stewart, Georgia, August 23, 2012.
Af/Pak Hands, Washington, DC, August 19, 2012
Provincial Reconstruction Teams, Camp Atterbury, Indiana, July 26, 2012
1st Infantry Division, Fort Bliss, Texas, July 16, 2012.
Af/Pak Hands, Washington, DC, July 14, 2012
USS Dwight D. Eisenhower, Carrier Strike Group-8, Atlantic Ocean, June 20-July 3, 2012
4th Brigade Combat Team, 1st Infantry Division, Fort Bliss, Texas, June 4, 2012
12th Polish Brigade, Szczecin, Poland, May 23, 2012
173rd Armored Brigade Combat Team, Bamberg, Germany, May 21-22, 2012
173rd Armored Brigade Combat Team, Vincenza, Italy, May 14-15, 2012
201st Battlefield Surveillance Brigade, Fort Lewis, Washington, May 9, 2012
Af/Pak Hands, Washington, DC, April 22, 2012
15th Romanian Brigade, Iasi, Romania, March 12, 2012
Af/Pak Hands, Washington, DC, February 26, 2012
316th Expeditionary Sustainment Command, Pittsburgh, Pennsylvania, February 11-12, 2012.
V Corps, Wiesbaden, Germany, February 7, 2012.
5th Fleet Headquarters, Manama, Bahrain, January 26, 2012
Af/Pak Hands, Washington, DC, January 22, 2012
557th Medical Company, Washington, DC, January 18, 2012
U.S.S. Abraham Lincoln, Pacific Ocean, December 7-15, 2011.
113th Battlefield Sustainment Brigade, Fort Hood, Texas, November 15-16, 2011
Af/Pak Hands, Washington, DC, November 12-13, 2011.
V Corps, Wiesbaden, Germany, October 18, 2011.
Af/Pak Hands, Washington, DC, October 16, 2011.
4th Brigade Combat Team, 25th Infantry Division, Fort Richardson, Alaska, October 5, 2011.
411th Engineering Brigade, Stewart, New York, September 24, 2011.
76th Brigade Combat Team, Monterey, California, September 22, 2011.
Army Central Command, Shaw Air Force Base, South Carolina, September 13, 2011.
Afghanistan/Pakistan Hands, Washington, DC, September 11, 2011.




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4th Cavalry Brigade, Fort Knox, Kentucky, September 7, 2011.
Afghanistan/Pakistan Hands, Washington, DC, August 15, 2011.
Pacific Submarine Command, Pearl Harbor, Hawaii, August 11, 2011.
U.S. Pacific Fleet, Pearl Harbor, Hawaii, August 10, 2011.
U.S.S. John C. Stennis, Pacific Ocean, July 31-August 9, 2011.
Third Fleet Command, San Diego, California, July 28, 2011.
Romanian Land Forces, Brasov, Romania, June 8, 2011.
37th Brigade Combat Team, Battle Creek, Michigan, June 3, 2011.
513th Military Intelligence Brigade, Fort Gordon, Georgia, June 2, 2011.
U.S.S. George H.W. Bush, Atlantic Ocean, May 10-22, 2011
I Corps, Fort Lewis, Washington, May 5, 2011.
Army National Agri-Business Development Team, Camp Atterbury, Indiana, April 30, 2011.
77th Theater Aviation Brigade, Fort Hood, Texas, April 21, 2011.
2nd Brigade Combat Team, 1st Cavalry Division, Fort Hood, Texas, April 7, 2011.
U.S.S. Ronald Reagan, Pacific Ocean, February 28 - March 6, 2011.
5th Armored Division, Fort Bliss, Texas, February 27, 2011.
Afghanistan/Pakistan Hands, Washington, DC, February 6, 2011.
U.S.S. Enterprise Battle Group, Atlantic Ocean, January 12-22, 2011.
1st Cavalry Division, Fort Hood, Texas, January 11, 2011.
7th Sustainment Brigade, Fort Eustis, Virginia, December 7, 2010.
804th Medical Brigade, Fort Devens, Massachusetts, December 2, 2010.
Bosnian General Officers, Sarajevo, Bosnia, November 12, 2010.
14th Military Intelligence Battalion, Fort Sam Houston, San Antonia, Texas, October 26, 2010.
Afghanistan/Pakistan Hands, Washington, DC, October 17, 2010.
Afghanistan/Pakistan Hands, Washington, DC, September 18, 2010.
310th Expeditionary Sustainment Command, Indianapolis, Indiana, September 10, 2010.
10th Mountain Division, Ft. Drum, New York, September 9, 2010.
7th Army Joint Multinational Training Command, Grafenwøhr, September 2, 2010.
170th Heavy Brigade Combat Team, Baumberg, Germany, August 31, 2010.
4th Infantry Division, Fort Carson, Colorado, August 19, 2010.
Texas Agricultural Development Teams, Austin, Texas, August 11, 2010.
25th Infantry Division, Schofield Barracks, Hawaii, August 5, 2010.
Provincial Reconstruction Teams, Camp Atterbury, Indiana, July 29, 2010.
Provincial Reconstruction Teams, Camp Atterbury, Indiana, July 27, 2010.
Afghanistan/Pakistan Hands, Washington, DC, July 17-18, 2010.
184th Expeditionary Sustainment Command, Camp Shelby, Mississippi, July 8, 2010.
4th Brigade Combat Team, 10th Mountain Division, Ft. Polk, Louisiana, June 29, 2010.




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U.S. Training and Doctrine Command’s International Future Operation Environment Seminar,
     Newport News, Virginia, June 22, 2010.
103rd Expeditionary Sustainment Command, Ft. Hood, Texas, May 27, 2010.
36th Infantry Division, Corpus Christi, Texas, May 22, 2010.
118th Infantry Brigade, Ft. Stewart, Georgia, May 12, 2010.
159th Combat Aviation Brigade, Ft. Campbell, Kentucky, May 5, 2010.
5th Special Forces Group, Ft. Campbell, Kentucky, May 4, 2010.
3rd Armored Cavalry Regiment, Ft. Hood, Texas, April 28, 2010.
2nd Brigade Combat Team. 34th Infantry Division, Camp Dodge, Iowa, April 15, 2010.
Afghanistan/Pakistan Hands, Rosslyn, Virginia, April 12, 2010.
Afghanistan/Pakistan Hands, Rosslyn, Virginia, April 10, 2010.
116th Heavy Brigade Combat Team, Monterey, California, March 17, 2010.
101st Airborne Division, Ft. Campbell, Kentucky, March 3, 2010.
3rd Brigade Combat Team, 1st Armored Division, Ft. Bliss, Texas, February 17, 2010.
Afghanistan/Pakistan Hands, Rosslyn, Virginia, February 15, 2010.
Afghanistan/Pakistan Hands, Rosslyn, Virginia, February 13, 2010.
2nd Stryker Cavalry Regiment, Vilseck, Germany, February 4, 2010.
U.S. Army Europe, Hohenfels, Germany, February 2-3, 2010.
1-4th Infantry, Hohenfels, Germany, February 2, 2010.
Joint Military Training Center, Hohenfels, Germany, February 1, 2010.
4th Infantry Division, Ft. Carson, Colorado, January 29, 2010.
1st Brigade Combat Team, 10th Mountain Division, January 25, 2010.
1st Brigade Combat Team, 4th Infantry Division, Ft. Carson, Colorado, January 20, 2010.
20th Engineering Brigade, Ft. Bragg, North Carolina, January 12, 2010.
525th Battlefield Surveillance Brigade, Ft. Bragg, North Carolina, January 11, 2010.
46th Military Police Command, Battle Creek, Michigan, January 9, 2010.
U.S. Army Central Command, Atlanta, Georgia, January 6-8, 2010.
Afghanistan-Pakistan Hands, Washington, DC, December 20, 2009.
3rd Brigade Combat Team, 4th Infantry Division, Colorado Springs, Colorado, December 10, 2009.
1st Infantry Division, Ft. Riley, Kansas, December 2, 2009.
101st Airborne Division, Ft. Campbell, Kentucky, October 1, 2009.
3rd Brigade Combat Team, 3rd Infantry Division, Ft. Benning, Georgia, September 10, 2009.
173rd Armored Brigade Combat Team, Grafenwøhr, Germany, August 25, 2009.
25th Combat Aviation Brigade, Schofield Barracks, Hawaii, August 18, 2009.
157rd Brigade, Ft. Jackson, South Carolina, August 13, 2009.
5th Armored Brigade, McGregor Range, New Mexico, August 11, 2009.
120th Infantry Brigade, Ft. Hood, Texas, July 21, 2009.




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Task Force Phoenix X, Northfield, Vermont, July 18, 2009.
U.S. Army Central Command, Atlanta, Georgia, July 15, 2009.
194th Engineering Brigade, Ft. McCoy, Wisconsin, June 30, 2009.
4th Brigade Combat Team, 82nd Division, Ft. Bragg, North Carolina, June 9-10, 2009.
16th Military Police Brigade, Ft. Bragg, North Carolina, May 26, 2009.
72nd Brigade Combat Team, San Antonio, Texas, May 15, 2009
130th Engineering Brigade, Schofield Barracks, Hawaii, May 6, 2009
115th Brigade Combat Team, Ft. Hood, Texas, April 30, 2009
Afghanistan Provisional Reconstruction Teams, Camp Atterbury, Indiana, April 15, 2009
4th Brigade Combat Team, 1st Armored Division, Ft. Bliss, Texas, April 7, 2009
32nd Brigade Combat Team, Ft. Bliss, Texas, April 5, 2009.
13th Expeditionary Strike Group, Ft. Hood, Texas, March 27, 2009
14th Military Intelligence Battalion, San Antonio, Texas, March 25, 2009
115th Heavy Brigade Combat Team, Camp Shelby, Mississippi, March 9, 2009
Navy IA Combat Training Center, Ft. Jackson, South Carolina, February 25, 2009.
82nd Combat Aviation Brigade, Ft. Bragg, North Carolina, February 23, 2009
16th Military Police Brigade, Ft. Bragg, North Carolina, February 18, 2009
89th Military Police Brigade, Ft. Hood, Texas, February 12, 2009
30th Heavy Brigade Combat Team, Camp Shelby, Mississippi, February 8, 2009.
41st Brigade Combat Team, Tigard, Oregon, February 5, 2009.
4th Brigade Combat Team, 25th Infantry, Ft. Richardson, Alaska, January 21, 2009.
225th Engineering, Ft. Hood, Texas, December 18, 2008.
Agricultural Development Teams (Afghanistan), Camp Atterbury, Indiana, December 16, 2008.
National Training Center, Ft. Irwin, California, December 12, 2008.
82nd Airborne Division, Ft. Bragg, North Carolina, December 2-4, 2008.
1st Calvary Division headquarters, Ft. Hood, Texas, November 21, 2008.
1st Brigade Combat Team, 1st Cavalry Division, Ft. Hood, Texas, November 20, 2008.
1st Cavalry Combat Aviation Brigade, Ft. Hood, Texas, November 18, 2008.
U.S. Army Central Command, Monterey, California, November 3-5, 2008.
33rd Brigade Combat Team, Ft. Bragg, North Carolina, October 15-18, 2008.
34th Infantry Division, Rosemont, Minnesota, October 5, 2008.
Provincial Reconstruction Teams, Ft. Bragg, North Carolina, October 2, 2008.
2-34th Armor, Ft Riley, Kansas, September 5, 2008.
45th Field Artillery Brigade, Oklahoma City, Oklahoma, August 6, 2008.
81st Brigade Combat Team, Yakima, Washington, July 31, 2008.
1-185 Armor, Camp Roberts, California, July 25, 2008.
2nd Brigade Combat Team, 1st Infantry Division, Hohenfels, Germany, July 16, 2008.




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8th Military Police Brigade, Honolulu, Hawaii, July 10, 2008.
120th Infantry, Fort Hood, Texas, July 2, 2008.
29th Brigade Combat Team, Waimanalo, Hawaii, June 26, 2008.
3rd Brigade Combat Team, 10th Mountain Division, Ft. Drum, New York, June 18, 2008.
10th Combat Aviation Brigade, Ft. Drum, New York, May 29, 2008.
420 Engineering Brigade, Ft. McCoy, Wisconsin, May 9, 2008.
I Corps, Ft. Lewis, Seattle, April 28, 2008.
56th Brigade Combat Team, Austin, Texas, April 16, 2008.
50th Brigade Combat Team, Fort Indiantown Gap, Pennsylvania, April 9, 2008.
1 Maneuver Enhancement Brigade, Ft. Polk, Louisiana, April 4, 2008.
311 Expeditionary Support Command, Ft. Bragg, North Carolina, March 28, 2008.
926th Engineering Brigade, Camp Shelby, Mississippi, March 19, 2008.
37th Brigade Combat Team, Ft. Hood, Texas, March 3, 2008.
3rd Brigade Combat Team, Ft. Hood, Texas, February 29, 2008.
Iraqi Police Mobile Training Team, Ft. Riley, Kansas, February 23, 2008.
18th Engineering Brigade, Hohenfels, Germany, February 20, 2008.
10th Mountain Brigade, Ft. Drum, New York, January 17, 2008.
39th Brigade Combat Team, Camp Shelby, Mississippi, January 9, 2008.
42nd Military Police Battalion, Ft. Lewis, Washington, January 4, 2008.
45th Brigade Combat Team, Ft. Bliss, Texas, December 12, 2007.
XVIII Airborne Corps, Ft. Bragg, North Carolina, December 6, 2007.
Regimental Combat Team-1 11th Marines, Camp Pendleton, California, November 28, 2007.
2nd Brigade Combat Team, 1st Armored Brigade, Hohenfels, Germany, October 29, 2007.
4th Infantry Division, Ft. Hood, Texas, September 11, 2007.
325 Combat Aviation Support Hospital, Ft. McCoy, Wisconsin, August 2, 2007.
1st Battalion/4th Infantry Division; 4th Battalion/4th Infantry Division; 3rd Battalion/1st Infantry
      Division, Fort Hood, July 26, 2007.
   th
11 Marine Regiment, Camp Pendleton, California, July 17, 2007.
316 Electronic Support Command, Ft. Bragg, North Carolina, June 25, 2007.
2 Brigade Combat Team 25th ID, Schofield Barracks, Hawaii, May 23, 2007.
2 Brigade Combat Team 25th ID, Schofield Barracks, Hawaii, May 17, 2007.
1 Brigade Combat Team 82nd Airborne, Ft. Bragg, North Carolina, May 10, 2007.
2 Brigade Combat Team 101st Airborne, Ft. Campbell, Kentucky, April 12, 2007.
12th Combat Aviation Brigade, Grafenwöhr, Germany, February 16, 2007.
12th Combat Aviation Brigade, Hohenfels, Germany, February 15, 2007.
5 AR BDE, Ft. Carson, Colorado, February 9, 2007.




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National Air and Space Intelligence Command, Wright-Patterson Air Force Base, Ohio, December
     15, 2006.
III Corps, Ft. Hood, Texas, September 7, 2006.
1st Cavalry, Ft. Hood, Texas, August 16, 2006.
10th Mountain Division, Ft. Drum, New York, July 28, 2006.
3rd MEDCOM and 411 ENG, Ft. McCoy, Wisconsin, July 21, 2006.
Iceland Defense Force, Keflavik, Iceland, March 14, 2006.
1st Cavalry, Ft. Hood, Texas, February 2, 2006.
V Corps, Heidelberg, Germany, October 14, 2005.
Bosnia Ministry of Defense, Sarajevo, Bosnia, May 9, 2005.
Land Warfare Studies Centre, Canberra, Australia, June 3, 2004.




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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 ESTATE OF CHRISTOPHER BROOK
 FISHBECK, et al.,                                       Civil Action No. 1:18-cv-02248-CRC

           Plaintiffs,
 v.
 THE ISLAMIC REPUBLIC OF IRAN, et al.,

           Defendants.


                             DECLARATION OF RIPLEY QUINBY IV

I, Ripley Quinby IV, declare as follows:

      1. I am currently employed as the Deputy Associate Director in the Office of Global



                                                             with OGT as either a contractor or an

         OGT government employee since 2015, first as a Sanctions Investigator; then as a

                                                          ction; as an Assistan

         Human Rights, Corruption & Counterterrorism Division; and in my current capacity. As

         Deputy Associate Director, my responsibilities include oversight of all the activities of

         OGT.

      2. This Declaration is based on information and documents received in my official capacity.

         I make this Declaration based on my personal knowledge of such information and

         documents maintained by OFAC.

      3. I am authorized in my official capacity to certify and attest to the facts and information in

         this Declaration.

      4. OFAC is the office within Treasury that is principally responsible for administering U.S.

         economic sanctions programs. These programs are primarily directed against foreign states




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     and nationals to implement U.S. foreign policy and national security goals. Pursuant to

     authority delegated by the President to the Secretary of the Treasury, OFAC acts under

     Presidential national emergency powers, including pursuant to the International

     Emergency Economic Powers Act, 50 U.S.C. §§ 1701-1706.

5. OFAC currently administers economic sanctions programs against foreign governments,

     entities, and individuals whose activities conflict with U.S. national security and foreign

     policy interests. For instance, OFAC administers sanctions programs relating to Iran, Cuba,

     Syria, and North Korea. OFAC also implements sanctions programs related to drug

     trafficking, terrorism, and proliferation of weapons of mass destruction, among others.

6.                                                    ng those relating to Iran, include elements

     that block the property of entire governments as well as individuals and groups whose

     activities threaten or conflict with U.S. national security and foreign policy interests. OFAC

     also implements list-based sanctions programs that, inter alia, block property of designated

     narcotics traffickers and kingpins; terrorists and their supporters; and proliferators of

     weapons of mass destruction and their supporters.

7. Executive Orders governing sanctioning authority, including but not limited to Executive

     Order 13224, are authorities aimed at freezing the assets of terrorists and their supporters,

     and at isolating them from U.S. financial and commercial systems. Designations under

     specific Executive Orders prohibit all transactions between designees and any U.S person,

     and freeze any assets the designees may have under U.S. jurisdiction.

8.                                    ng individuals or entities appropriate for sanctions begins

     with an extensive investigation. Treasury investigations within the Office of Global

                                                      formation, which historically has included

     both publicly available and non-publicly available information, as well as classified




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      information.    Non-publicly available information is often protected by applicable

      privileges, such as the law enforcement or deliberative process privileges.

9. Once evidence is gathered, Treasury staff within OGT draft an evidentiary memorandum

      summarizing the various exhibits acquired through their investigation. These evidentiary

      memoranda often contain classified and privileged information. After an evidentiary

      package has been reviewed within OFAC, it is then reviewed for legal sufficiency by

                                                       , the analyst or investigator may engage in

      further investigation and revise the package to address any legal concerns.

10. An evidentiary package that has been approved by OFAC creates the basis under which

      sanctions designations are made pursuant to specific relevant Executive Orders. That is,

      the evidentiary package contains the factual findings of a legally authorized investigation

      and shows the regular activities of the Treasury and its sub-agencies taken in furtherance

      of that investigation.

11. OFAC publishes lists of individuals and companies owned or controlled by, or acting for

      or on behalf of, targeted countries. It also lists individuals, groups, and entities, such as

      terrorists and narcotics traffickers designated under programs that are not country-specific

                                                    updates these Sanctions Lists as sanctions

      activities occur.

12.                                                    https://home.treasury.gov/policy-

      issues/office-of-foreign-assets-control-sanctions-programs-and-

      informationhttps://home.treasury.gov/policy-issues/office-of-foreign-assets-control-

      sanctions-programs-and-information.

13. Treasury      officially   publishes   press   releases   regarding   sanctions    designation

      decisions. These press releases include factual findings from legally authorized




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       investigations, as described above. They also summarize U.S. government actions,

       including the legal authority and basis for the designation of the sanctioned person or entity.

   14. Treasury press releases, including press releases announcing sanctions designations

       issued pursuant to Executive Orders (as described in paragraphs six and ten of this

       Declaration) are available online at: https://home.treasury.gov/news/press-releases.

I declare under penalty of perjury that the foregoing is true and correct. Executed this 30th day of

March, 2022.



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DEPARTMENT OF THE TREASURY                and the Attorney General, to be owned             THE LIBERATION OF PALESTINE,
                                          or controlled by, or to act for or on             a.k.a. FOLLOWERS OF THE PROPHET
Office of Foreign Assets Control          behalf of, any other person designated            MUHAMMAD); Lebanon.
                                          pursuant to the Order (collectively                 ARAB REVOLUTIONARY BRIGADES
List of Specially Designated Terrorists   "Specially Designated Terrorists" or              (a.k.a. ANO, a.k.a. ABU NIDAL
Who Threaten To Disrupt the Middle        "SDTs").                                          ORGANIZATION, a.k.a. BLACK
East Peace Process                          The Order further prohibits any                 SEPTEMBER, a.k.a. FATAH
AGENCY: Office of Foreign Assets          transaction or dealing by a United States         REVOLUTIONARY COUNCIL, a.k.a.
Control, Treasury.                        person or within the United States in             ARAB REVOLUTIONARY COUNCIL,
ACTION: Notice of blocking.
                                          property or interests in property of              a.k.a. REVOLUTIONARY
                                          SDTs, including the making or receiving           ORGANIZATION OF SOCIALIST
SUMMARY: The Treasury Department is       of any contribution of funds, goods, or           MUSLIMS); Libya; Lebanon; Algeria;
issuing a list of blocked persons who     services to or for the benefit of such            Sudan; Iraq.
have been designated by the President     persons. This prohibition includes                  ARAB REVOLUTIONARY COUNCIL
as terrorist organizations threatening thedonations that are intended to relieve            (a.k.a. ANO, a.k.a. ABU NIDAL
Middle East peace process or have been    human suffering.                                  ORGANIZATION, a.k.a. BLACK
found to be owned or controlled by, or       Designations of persons blocked                SEPTEMBER, a.k.a. FATAH
to be acting for or on behalf of, these   pursuant to the Order are effective upon          REVOLUTIONARY COUNCIL, a.k.a.
terrorist organzations.                   the date of determination by the                  ARAB REVOLUTIONARY BRIGADES,
EFFECTIVE DATE: January 24, 1995.         Secretary of State or his delegate, or the        a.k.a. REVOLUTIONARY
FOR FURTHER INFORMATION: J. Robert        Director of the Office of Foreign Assets          ORGANIZATION OF SOCIALIST
McBrien, Chief, International Programs,   Control acting under authority delegated          MUSLIMS); Libya; Lebanon; Algeria;
Tel.: (202) 622-2420; Office of Foreign   by the Secretary of the Treasury. Public          Sudan; Iraq.
Assets Control, Department of the         notice of blocking is effective upon the             BLACK SEPTEMBER (a.k.a. ANO,
Treasury, 1500 Pennsylvania Avenue        date of filing with the Federal Register,         a.k.a. ABU NIDAL ORGANIZATION,
NW., Washington, DC 20220.                or upon prior actual notice.                      a.k.a. FATAH REVOLUTIONARY
                                            List of Specially  Designated  Terrorists       COUNCIL, a.k.a. ARAB
SUPPLEMENTARY INFORMATION:
                                            Who Threaten the Middle East Peace              REVOLUTIONARY COUNCIL, a.k.a.
Electronic Availability                     Process                                         ARAB REVOLUTIONARY BRIGADES,
  This document is available as an                                                          a.k.a. REVOLUTIONARY
                                              Note: The abbreviations used in this list are ORGANIZATION OF SOCIALIST
electronic file on The Federal Bulletin     as follows: "DOB" means "date of birth,"
Board the day of publication in the                                                         MUSLIMS); Libya; Lebanon; Algeria;
                                            "a.k.a." means "also known as," and "POB"
Federal Register. By modem dial 202/        means "place of birth."                         Sudan; Iraq.
512-1387 or call 202/512-1530 for disks                                                       DEMOCRATIC FRONT FOR THE
or paper copies. This file is available in  Entities                                        LIBERATION OF PALESTINE (a.k.a.
Postscript, WordPerfect 5.1 and ASCII.         ABU NIDAL ORGANIZATION (a.k.a.               DEMOCRATIC FRONT FOR THE
                                            ANO, a.k.a. BLACK SEPTEMBER, a.k.a. LIBERATION OF PALESTINE-
Background                                  FATAH REVOLUTIONARY COUNCIL,                    HA WATMEH FACTION, a.k.a. DFLP);
  On January 23 , 1995, President           a.k.a. ARAB REVOLUTIONARY                       Lebanon; Syria; Israel.
Clinton signed Executive Order 12947,       COUNCIL, a.k.a. ARAB                              DEMOCRATIC FRONT FOR THE
"Prohibiting Transactions with              REVOLUTIONARY BRIGADES, a.k.a.                  LIBERATION OF PALESTINE-
Terrorists Who Threaten To Disrupt the REVOLUTIONARY ORGANIZATION                           HA WATMEH FACTION (a.k.a.
Middle East Peace Process" (the             OF SOCIALIST MUSLIMS); Libya;                   DEMOCRATIC FRONT FOR THE
"Order") . The Order blocks all property Lebanon; Algeria; Sudan; Iraq.                     LIBERATION OF PALESTINE, a.k.a.
subject to U.S. jurisdiction in which          AL-GAMA'A AL-ISLAMIYYA (a.k.a.               DFLP); Lebanon; Syria; Israel.
there is any interest of 12 terrorist       ISLAMIC GAMA'AT, a.k.a. GAMA'AT,                  DFLP (a.k.a. DEMOCRATIC FRONT
organizations that threaten the Middle      a.k.a. GAMA'AT AL-ISLAMIYYA, a.k.a. FOR THE LIBERATION OF
East peace process as identified in an      THE ISLAMIC GROUP); Egypt.                      PALESTINE-HAWATMEH FACTION,
Annex to the Order. The Order also             AL-JIHAD (a.k.a. JIHAD GROUP, a.k.a. a.k.a. DEMOCRATIC FRONT FOR THE
blocks the property and interests in        VANGUARDS OF CONQUEST, a.k.a.                   LIBERATION OF PALESTINE);
property subject to U.S. jurisdiction of    TALAA'AL AL-FATEH); Egypt.                      Lebanon; Syria; Israel.
persons designated by the Secretary of         ANO (a.k.a. ABU NIDAL                           FATAH REVOLUTIONARY COUNCIL
State, in coordination with the Secretary ORGANIZATION, a.k.a. BLACK                        (a.k.a. ANO, a.k.a. ABU NIDAL
of Treasury and the Attorney General,       SEPTEMBER, a.k.a. FAT AH                        ORGANIZATION, a.k.a. BLACK
who are found (1) to have committed, or REVOLUTIONARY COUNCIL, a.k.a.                       SEPTEMBER, a.k.a. ARAB
to pose a significant risk of committing,   ARAB REVOLUTIONARY COUNCIL,                     REVOLUTIONARY COUNCIL, a.k.a.
acts of violence that have the purpose or a.k.a. ARAB REVOLUTIONARY                         ARAB REVOLUTIONARY BRIGADES,
effect of disrupting the Middle East        BRIGADES, a.k.a. REVOLUTIONARY                  a.k.a. REVOLUTIONARY
peace process, or (2) to assist in, sponsor ORGANIZATION OF SOCIALIST                       ORGANIZATION OF SOCIALIST
or provide financial, material, or          MUSLIMS); Libya; Lebanon; Algeria;              MUSLIMS); Libya; Lebanon; Algeria;
technological support for, or services in Sudan; Iraq.                                      Sudan; Iraq.
support of, such acts of violence. In          ANSAR ALLAH (a.k.a. PARTY OF                   FOLLOWERS OF THE PROPHET
addition, the Order blocks all property     GOD, a.k.a. HIZBALLAH, a.k.a.                   MUHAMMAD (a.k.a. PARTY OF GOD,
and interests in property subject to U.S. ISLAMIC JIHAD, a.k.a.                             a.k.a. HIZBALLAH, a.k.a. ISLAMIC
jurisdiction in which there is any          REVOLUTIONARY JUSTICE                           JIHAD, a.k.a. REVOLUTIONARY
interest of persons determined by the       ORGANIZATION, a.k.a.                            JUSTICE ORGANIZATION, a.k.a.
Secretary of the Treasury, in               ORGANIZATION OF THE OPPRESSED ORGANIZATION OF THE OPPRESSED
coordination with the Secretary of State ON EARTH, a.k.a. ISLAMIC JIHAD FOR ON EARTH, a.k.a. ISLAMIC JIHAD FOR

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THE LIBERATION OF PALESTINE,             JIHAD FOR THE LIBERATION OF             THE LIBERATION OF PALESTINE,
a.k.a. ANSAR ALLAH); Lebanon.            PALESTINE, a.k.a. ANSAR ALLAH,          a.k.a. ANSAR ALLAH, a.k.a.
  GAMA'AT (a.k.a. ISLAMIC                a.k.a. FOLLOWERS OF THE PROPHET         FOLLOWERS OF THE PROPHET
GAMA'AT, a.k.a. GAMA'AT AL-              MUHAMMAD); Lebanon.                     MUHAMMAD); Lebanon.
ISLAMIYYA, a.k.a. THE ISLAMIC               PALESTINE LIBERATION FRONT             REVOLUTIONARY ORGANIZATION
GROUP, a.k.a. AL-GAMA'A AL-              (a.k.a. PALESTINE LIBERATION            OF SOCIALIST MUSLIMS (a.k.a. ANO,
ISLAMIYYA); Egypt.                       FRONT-ABU ABBAS FACTION, a.k.a.         a.k.a. ABU NIDAL ORGANIZATION,
  GAMA'AT AL-ISLAMIYYA (a.k.a.           PLF-ABU ABBAS, a.k.a. PLF); Iraq.       a.k.a. BLACK SEPTEMBER, a.k.a.
ISLAMIC GAMA'AT, a.k.a. GAMA'AT,            PALESTINE LIBERATION FRONT-          FATAH REVOLUTIONARY COUNCIL,
a.k.a. THE ISLAMIC GROUP, a.k.a. AL-     ABU ABBAS FACTION (a.k.a. PLF-ABU       a.k.a. ARAB REVOLUTIONARY
GAMA'A AL-ISLAMIYYA); Egypt.             ABBAS, a.k.a. PLF, a.k.a. PALESTINE     COUNCIL, a.k.a. ARAB
  HAMAS (a.k.a. ISLAMIC                  LIBERATION FRONT); Iraq.                REVOLUTIONARY BRIGADES); Libya;
RESISTANCE MOVEMENT); Gaza; West            PALESTINIAN ISLAMIC JIHAD-           Lebanon; Algeria; Sudan; Iraq.
Bank Territories; Jordan.                SHIQAQI (a.k.a. PU, a.k.a. ISLAMIC        TALAA'AL AL-FATEH (a.k.a. JIHAD
  HIZBALLAH (a.k.a. PARTY OF GOD,        JIHAD OF PALESTINE, a.k.a. PIJ          GROUP, a.k.a. AL-JIHAD, a.k.a.
a.k.a. ISLAMIC JIHAD, a.k.a.             SHIQAQI/AWDA FACTION, a.k.a.            VANGUARDS OF CONQUEST); Egypt.
REVOLUTIONARY JUSTICE                    PALESTINIAN ISLAMIC JIHAD); Israel;       THE ISLAMIC GROUP (a.k.a.
ORGANIZATION, a.k.a.                     Jordan; Lebanon.                        ISLAMIC GAMA'AT, a.k.a. GAMA'AT,
ORGANIZATION OF THE OPPRESSED               PARTY OF GOD (a.k.a. HIZBALLAH,      a.k.a. GAMA'AT AL-ISLAMIYYA, a.k.a.
ON EARTH, a.k.a. ISLAMIC JIHAD FOR       a.k.a. ISLAMIC JIHAD, a.k.a.            AL-GAMA' A AL-ISLAMIYYA); Egypt.
THE LIBERATION OF PALESTINE,             REVOLUTIONARY JUSTICE                     VANGUARDS OF CONQUEST (a.k.a.
a.k.a. ANSAR ALLAH, a.k.a.               ORGANIZATION, a.k.a.                    JIHAD GROUP, a.k.a. AL-JIHAD, a.k.a.
FOLLOWERS OF THE PROPHET                 ORGANIZATION OF THE OPPRESSED           TALAA'AL AL-FATEH); Egypt.
MUHAMMAD); Lebanon.                      ON EARTH, a.k.a. ISLAMIC JIHAD FOR      Individuals
  ISLAMIC GAMA' AT (a.k.a.               THE LIBERATION OF PALESTINE,
GAMA'AT, a.k.a. GAMA'AT AL-              a.k.a. ANSAR ALLAH, a.k.a.                ABBAS, Abu (a.k.a. ZAYDAN,
ISLAMIYYA, a.k.a. THE ISLAMIC            FOLLOWERS OF THE PROPHET                Muhammad); Director of PALESTINE
GROUP, a.k.a. AL-GAMA'A AL-              MUHAMMAD); Lebanon.                     LIBERATION FRONT-ABU ABBAS
ISLAMIYYA); Egypt.                          PFLP (a.k.a. POPULAR FRONT FOR       FACTION; DOB 10 December 1948.
  ISLAMIC JIHAD (a.k.a. PARTY OF                                                   AL BANNA, Sabri Khalil Abd Al
                                         THE LIBERATION OF PALESTINE);
GOD, a.k.a. HIZBALLAH, a.k.a.                                                    Qadir (a.k.a. NIDAL, Abu); Founder and
                                         Lebanon; Syria; Israel.
REVOLUTIONARY JUSTICE                       PFLP-GC (a.k.a. POPULAR FRONT        Secretary General of ABU NIDAL
ORGANIZATION, a.k.a.                                                             ORGANIZATION; DOB May 1937 or
                                         FOR THE LIBERATION OF
                                         PALESTINE-GENERAL COMMAND);             1940; POB Jaffa, Israel.
ORGANIZATION OF THE OPPRESSED                                                      AL RAHMAN, Shaykh Umar Abd;
ON EARTH, a.k.a. ISLAMIC JIHAD FOR       Lebanon; Syria; Jordan.                 Chief Ideological Figure of ISLAMIC
THE LIBERATION OF PALESTINE,                PIJ (a.k.a. PALESTINIAN ISLAMIC
                                                                                 GAMA'AT; DOB 3 May 1938; POB
a.k.a. ANSAR ALLAH, a.k.a.               JIHAD-SHIQAQI, a.k.a. ISLAMIC
                                                                                 Egypt.
FOLLOWERS OF THE PROPHET                 JIHAD OF PALESTINE, a.k.a. PIJ            AL ZAWAHIRI, Dr. Ayman;
MUHAMMAD); Lebanon.                      SHIQAQI/AWDA FACTION, a.k.a.            Operational and Military Leader of
  ISLAMIC JIHAD FOR THE                  PALESTINIAN ISLAMIC JIHAD); Israel;     JIHAD GROUP; DOB 19 June 1951; POB
LIBERATION OF PALESTINE (a.k.a.          Jordan; Lebanon.                        Giza, Egypt; Passport No. 1084010
PARTY OF GOD, a.k.a. HIZBALLAH,             PU SHIQAQI/AWDA FACTION (a.k.a.      (Egypt).
a.k.a. ISLAMIC JIHAD, a.k.a.             PU, a.k.a. PALESTINIAN ISLAMIC            AL-ZUMAR, Abbud (a.k.a. ZUMAR,
REVOLUTIONARY JUSTICE                    JIHAD-SHIQAQI, a.k.a. ISLAMIC           Colonel Abbud); Factional Leader of
ORGANIZATION, a.k.a.                     JIHAD OF PALESTINE, a.k.a.              JIHAD GROUP; Egypt; POB Egypt.
ORGANIZATION OF THE OPPRESSED            PALESTINIAN ISLAMIC JIHAD); Israel;       AWDA, Abd Al Aziz; Chief
ON EARTH, a.k.a. ANSAR ALLAH,            Jordan; Lebanon.                        Ideological Figure of PALESTINIAN
a.k.a. FOLLOWERS OF THE PROPHET             PLF (a.k.a. PLF-ABU ABBAS, a.k.a.    ISLAMIC JIHAD-SHIQAQI; DOB 1946.
MUHAMMAD); Lebanon.                      PALESTINE LIBERATION FRONT-               FADLALLAH, Shaykh Muhammad
  ISLAMIC JIHAD OF PALESTINE             ABU ABBAS FACTION, a.k.a.               Husayn; Leading Ideological Figure of
(a.k.a. PU, a.k.a. PALESTINIAN           PALESTINE LIBERATION FRONT);            HIZBALLAH; DOB 1938 or 1936; POB
ISLAMIC JIHAD-SHIQAQI, a.k.a. PU         Iraq.                                   Najf Al Ashraf (Najaf), Iraq.
SHIQAQI/AWDA FACTION, a.k.a.                PLF-ABU ABBAS (a.k.a. PALESTINE        HABASH, George (a.k.a. HABBASH,
PALESTINIAN ISLAMIC JIHAD); Israel;      LIBERATION FRONT-ABU ABBAS              George); Secretary General of POPULAR
Jordan; Lebanon.                         FACTION, a.k.a. PLF, a.k.a. PALESTINE   FRONT FOR THE LIBERATION OF
  ISLAMIC RESISTANCE MOVEMENT            LIBERATION FRONT); Iraq.                PALESTINE.
(a.k.a. HAMAS); Gaza; West Bank             POPULAR FRONT FOR THE                  HABBASH, George (a.k.a. HABASH,
Territories; Jordan.                     LIBERATION OF PALESTINE (a.k.a.         George); Secretary General of POPULAR
  JIHAD GROUP (a.k.a. AL-JIHAD, a.k.a.   PFLP); Lebanon; Syria; Israel.          FRONT FOR THE LIBERATION OF
VANGUARDS OF CONQUEST, a.k.a.               POPULAR FRONT FOR THE                PALESTINE.
TALAA'AL AL-FATEH); Egypt.               LIBERATION OF PALESTINE-                  HAWATMA, Nayif (a.k.a.
  KACH; Israel.                          GENERAL COMMAND (a.k.a. PFLP-           HAWATMEH, Nayif, a.k.a.
  KAHANE CHAI; Israel.                   GC); Lebanon; Syria; Jordan.            HAWATMAH, Nayif, a.k.a. KHALID,
  ORGANIZATION OF THE                       REVOLUTIONARY JUSTICE                Abu); Secretary General of
OPPRESSED ON EARTH (a.k.a. PARTY         ORGANIZATION (a.k.a. PARTY OF           DEMOCRATIC FRONT FOR THE
OF GOD, a.k.a. HIZBALLAH, a.k.a.         GOD, a.k.a. HIZBALLAH, a.k.a.           LIBERATION OF PALESTINE-
ISLAMIC JIHAD, a.k.a.                    ISLAMIC JIHAD, a.k.a.                   HAWATMEH FACTION; DOB 1933.
REVOLUTIONARY JUSTICE                    ORGANIZATION OF THE OPPRESSED             HAWATMAH, Nayif (a.k.a.
ORGANIZATION, a.k.a. ISLAMIC             ON EARTH, a.k.a. ISLAMIC JIHAD FOR      HAWATMA, Nayif; a.k.a. HAWATMEH,

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Nayif, a.k.a. KHALID, Abu); Secretary   LIBERATION OF PALESTINE-                 QASEM, Talat Fouad; Propaganda
General of DEMOCRATIC FRONT FOR         HAWATMEH FACTION; DOB 1933.            Leader of ISLAMIC GAMA' AT; DOB 2
THE LIBERATION OF PALESTINE-              MUGHNIYAH, Imad Fa'iz (a.k.a.        June 1957 or 3 June 1957; POB Al Mina,
HAWATMEH FACTION; DOB 1933.             MUGHNIYAH, Imad Fayiz); Senior         Egypt.
  HAWATMEH, Nayif (a.k.a.               Intelligence Officer of HIZBALLAH;       SHAQAQI, Fathi; Secretary General of
HAWATMA, Nayif; a.k.a.                  DOB 7 December 1962; POB Tayr Dibba,   PALESTINIAN ISLAMIC JIHAD-
HAWATMAH, Nayif, a.k.a. KHALID,         Lebanon; Passport No. 432298           SHIQAQI.
Abu); Secretary General of              {Lebanon).                               TUFAYLI, Subhi; Former Secretary
DEMOCRATIC FRONT FOR THE                                                       General and Current Senior Figure of
                                          MUGHNIYAH, Imad Fayiz (a.k.a.
LIBERATION OF PALESTINE-                MUGHNIYAH, Imad Fa'iz); Senior         HIZBALLAH; DOB 1947; POB Biqa
HAWATMEH FACTION; DOB 1933.                                                    Valley, Lebanon.
                                        Intelligence Officer of HIZBALLAH;
                                                                                 YASIN, Shaykh Ahmad; Founder and
  ISLAMBOULI, Mohammad Shawqi;          DOB 7 December 1962; POB Tayr Dibba,
Military Leader ofISLAMIC GAMA'AT;                                             Chief Ideological Figure of HAMAS;
                                        Lebanon; Passport No. 432298
DOB 15 January 1955; POB Egypt;         {Lebanon).                             DOB 1931.
                                                                                 ZAYDAN, Muhammad (a.k.a. ABBAS,
Passport No. 304555 (Egypt).              NAJI, Talal Muhammad Rashid;         Abu); Director of PALESTINE
  JABRIL, Ahmad (a.k.a. JIBRIL,         Principal Deputy of POPULAR FRONT      LIBERATION FRONT-ABU ABBAS
Ahmad); Secretary General of POPULAR    FOR THE LIBERATION OF                  FACTION; DOB 10 December 1948.
FRONT FOR THE LIBERATION OF             PALESTINE-GENERAL COMMAND;               ZUMAR, Colonel Abbud (a.k.a. AL-
PALESTINE-GENERAL COMMAND;              DOB 1930; POB Al Nasiria, Palestine.   ZUMAR, Abbud); Factional Leader of
DOB 1938; POB Ramleh, Israel.             NASRALLAH, Hasan; Secretary          JIHAD GROUP; Egypt; POB Egypt.
  JIBRIL, Ahmad (a.k.a. JABRIL,         General of HIZBALLAH; DOB 31 August      Dated: January 23, 1995.
Ahmad); Secretary General of POPULAR    1960 or 1953 or 1955 or 1958; POB Al   R. Richard Newcomb,
FRONT FOR THE LIBERATION OF             Basuriyah, Lebanon; Passport No.
                                                                               Director, Offlce ofForeign Assets Control.
PALESTINE-GENERAL COMMAND;              042833 (Lebanon).
DOB 1938; POB Ramleh, Israel.             NIDAL, Abu (a.k.a. AL BANNA, Sabri     Approved: January 23, 1995.
  KHALID, Abu (a.k.a. HAWATMEH,         Khalil Abd Al Qadir); Founder and      John Berry,
Nayif, a.k.a. HAWATMA, Nayif, a.k.a.    Secretary General of ABU NIDAL         Deputy Assistant Secretary (Enforcement).
HAWATMAH, Nayif); Secretary General     ORGANIZATION; DOB May 1937 or          [FR Doc. 95-2035 Filed 1-24-95: 10: 10 am]
of DEMOCRATIC FRONT FOR THE             1940; POB Jaffa, Israel.               BILLING CODE 4810-25-P




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Foreign Terrorist Organizations
  state.gov/foreign-terrorist-organizations


Foreign Terrorist Organizations (FTOs) are foreign organizations that are designated by the
Secretary of State in accordance with section 219 of the Immigration and Nationality Act
(INA), as amended. FTO designations play a critical role in our fight against terrorism and
are an effective means of curtailing support for terrorist activities and pressuring groups to
get out of the terrorism business.


                             Designated Foreign Terrorist Organizations


 Date Designated                                            Name


     10/8/1997             Abu Sayyaf Group (ASG)


     10/8/1997             Aum Shinrikyo (AUM)


     10/8/1997             Basque Fatherland and Liberty (ETA)


     10/8/1997             Gama’a al-Islamiyya (Islamic Group – IG)


     10/8/1997             HAMAS


     10/8/1997             Harakat ul-Mujahidin (HUM)


     10/8/1997             Hizballah


     10/8/1997             Kahane Chai (Kach)


     10/8/1997             Kurdistan Workers Party (PKK, aka Kongra-Gel)


     10/8/1997             Liberation Tigers of Tamil Eelam (LTTE)


     10/8/1997             National Liberation Army (ELN)




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 10/8/1997   Palestine Liberation Front (PLF)


 10/8/1997   Palestine Islamic Jihad (PIJ)


 10/8/1997   Popular Front for the Liberation of Palestine (PFLP)


 10/8/1997   PFLP-General Command (PFLP-GC)


 10/8/1997   Revolutionary People’s Liberation Party/Front (DHKP/C)


 10/8/1997   Shining Path (SL)


 10/8/1999   al-Qa’ida (AQ)


 9/25/2000   Islamic Movement of Uzbekistan (IMU)


 5/16/2001   Real Irish Republican Army (RIRA)


12/26/2001   Jaish-e-Mohammed (JEM)


12/26/2001   Lashkar-e Tayyiba (LeT)


 3/27/2002   Al-Aqsa Martyrs Brigade (AAMB)


 3/27/2002   Asbat al-Ansar (AAA)


 3/27/2002   al-Qaida in the Islamic Maghreb (AQIM)


 8/9/2002    Communist Party of the Philippines/New People’s Army (CPP/NPA)


10/23/2002   Jemaah Islamiya (JI)


 1/30/2003   Lashkar i Jhangvi (LJ)


 3/22/2004   Ansar al-Islam (AAI)




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 7/13/2004   Continuity Irish Republican Army (CIRA)


12/17/2004   Islamic State of Iraq and the Levant (formerly al-Qa’ida in Iraq)


 6/17/2005   Islamic Jihad Union (IJU)


 3/5/2008    Harakat ul-Jihad-i-Islami/Bangladesh (HUJI-B)


 3/18/2008   al-Shabaab


 5/18/2009   Revolutionary Struggle (RS)


 7/2/2009    Kata’ib Hizballah (KH)


 1/19/2010   al-Qa’ida in the Arabian Peninsula (AQAP)


 8/6/2010    Harakat ul-Jihad-i-Islami (HUJI)


 9/1/2010    Tehrik-e Taliban Pakistan (TTP)


 11/4/2010   Jaysh al-Adl (formerly Jundallah)


 5/23/2011   Army of Islam (AOI)


 9/19/2011   Indian Mujahedeen (IM)


 3/13/2012   Jemaah Anshorut Tauhid (JAT)


 5/30/2012   Abdallah Azzam Brigades (AAB)


 9/19/2012   Haqqani Network (HQN)


 3/22/2013   Ansar al-Dine (AAD)


11/14/2013   Boko Haram




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11/14/2013   Ansaru


12/19/2013   al-Mulathamun Battalion (AMB)


 1/13/2014   Ansar al-Shari’a in Benghazi


 1/13/2014   Ansar al-Shari’a in Darnah


 1/13/2014   Ansar al-Shari’a in Tunisia


 4/10/2014   ISIL Sinai Province (formerly Ansar Bayt al-Maqdis)


 5/15/2014   al-Nusrah Front


 8/20/2014   Mujahidin Shura Council in the Environs of Jerusalem (MSC)


 9/30/2015   Jaysh Rijal al-Tariq al Naqshabandi (JRTN)


 1/14/2016   Islamic State’s Khorasan Province (ISIS-K)


 5/20/2016   Islamic State of Iraq and the Levant’s Branch in Libya (ISIL-Libya)


 7/1/2016    Al-Qa’ida in the Indian Subcontinent


 8/17/2017   Hizbul Mujahideen (HM)


 2/28/2018   ISIS-Bangladesh


 2/28/2018   ISIS-Philippines


 2/28/2018   ISIS-West Africa


 5/23/2018   ISIS-Greater Sahara


 7/11/2018   al-Ashtar Brigades (AAB)




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   9/6/2018          Jama’at Nusrat al-Islam wal-Muslimin (JNIM)


   4/15/2019         Islamic Revolutionary Guard Corps (IRGC)


   1/10/2020         Asa’ib Ahl al-Haq (AAH)


   1/14/2021         Harakat Sawa’d Misr (HASM)


   3/11/2021         ISIS-DRC


   3/11/2021         ISIS-Mozambique


   12/1/2021         Segunda Marquetalia


   12/1/2021         Revolutionary Armed Forces of Colombia – People’s Army (FARC-EP)




                         Delisted Foreign Terrorist Organizations


  Date                                Name                          Date Originally
Removed                                                              Designated


10/8/1999      Democratic Front for the Liberation of Palestine -     10/8/1997
               Hawatmeh Faction

10/8/1999      Khmer Rouge                                            10/8/1997


10/8/1999      Manuel Rodriguez Patriotic Front Dissidents            10/8/1997


10/8/2001      Japanese Red Army                                      10/8/1997


10/8/2001      Tupac Amaru Revolution Movement                        10/8/1997


5/18/2009      Revolutionary Nuclei                                   10/8/1997


10/15/2010     Armed Islamic Group (GIA)                              10/8/1997




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  9/28/2012    Mujahedin-e Khalq Organization (MEK)                           10/8/1997


  5/28/2013    Moroccan Islamic Combatant Group (GICM)                        10/11/2005


  7/15/2014    United Self Defense Forces of Colombia                         9/10/2001


  9/3/2015     Revolutionary Organization 17 November (17N)                   10/8/1997


  12/9/2015    Libyan Islamic Fighting Group (LIFG)                           12/17/2004


  6/1/2017     Abu Nidal Organization (ANO)                                   10/8/1997


  2/16/2021    Ansarallah                                                     1/19/2021


  12/1/2021    Revolutionary Armed Forces of Colombia (FARC)                  10/8/1997


Identification

The Bureau of Counterterrorism in the State Department (CT) continually monitors the
activities of terrorist groups active around the world to identify potential targets for
designation. When reviewing potential targets, CT looks not only at the actual terrorist
attacks that a group has carried out, but also at whether the group has engaged in planning
and preparations for possible future acts of terrorism or retains the capability and intent to
carry out such acts.

Designation

Once a target is identified, CT prepares a detailed “administrative record,” which is a
compilation of information, typically including both classified and open sources information,
demonstrating that the statutory criteria for designation have been satisfied. If the Secretary
of State, in consultation with the Attorney General and the Secretary of the Treasury, decides
to make the designation, Congress is notified of the Secretary’s intent to designate the
organization and given seven days to review the designation, as the INA requires. Upon the
expiration of the seven-day waiting period and in the absence of Congressional action to
block the designation, notice of the designation is published in the Federal Register, at which
point the designation takes effect. By law an organization designated as an FTO may seek
judicial review of the designation in the United States Court of Appeals for the District of
Columbia Circuit not later than 30 days after the designation is published in the Federal
Register.



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Until recently the INA provided that FTOs must be redesignated every 2 years or the
designation would lapse. Under the Intelligence Reform and Terrorism Prevention Act of
2004 (IRTPA), however, the redesignation requirement was replaced by certain review and
revocation procedures. IRTPA provides that an FTO may file a petition for revocation 2 years
after its designation date (or in the case of redesignated FTOs, its most recent redesignation
date) or 2 years after the determination date on its most recent petition for revocation. In
order to provide a basis for revocation, the petitioning FTO must provide evidence that the
circumstances forming the basis for the designation are sufficiently different as to warrant
revocation. If no such review has been conducted during a 5 year period with respect to a
designation, then the Secretary of State is required to review the designation to determine
whether revocation would be appropriate. In addition, the Secretary of State may at any time
revoke a designation upon a finding that the circumstances forming the basis for the
designation have changed in such a manner as to warrant revocation, or that the national
security of the United States warrants a revocation. The same procedural requirements apply
to revocations made by the Secretary of State as apply to designations. A designation may be
revoked by an Act of Congress, or set aside by a Court order.

Legal Criteria for Designation under Section 219 of the INA as amended

   1. It must be a foreign organization.
   2. The organization must engage in terrorist activity, as defined in section 212 (a)(3)(B) of
      the INA (8 U.S.C. § 1182(a)(3)(B)),or terrorism, as defined in section 140(d)(2) of the
      Foreign Relations Authorization Act, Fiscal Years 1988 and 1989 (22 U.S.C. § 2656f(d)
      (2)), or retain the capability and intent to engage in terrorist activity or terrorism.
   3. The organization’s terrorist activity or terrorism must threaten the security of U.S.
      nationals or the national security (national defense, foreign relations, or the economic
      interests) of the United States.

Legal Ramifications of Designation

   1. It is unlawful for a person in the United States or subject to the jurisdiction of the
      United States to knowingly provide “material support or resources” to a designated
      FTO. (The term “material support or resources” is defined in 18 U.S.C. § 2339A(b)(1) as
      ” any property, tangible or intangible, or service, including currency or monetary
      instruments or financial securities, financial services, lodging, training, expert advice or
      assistance, safehouses, false documentation or identification, communications
      equipment, facilities, weapons, lethal substances, explosives, personnel (1 or more
      individuals who maybe or include oneself), and transportation, except medicine or
      religious materials.” 18 U.S.C. § 2339A(b)(2) provides that for these purposes “the term
      ‘training’ means instruction or teaching designed to impart a specific skill, as opposed
      to general knowledge.” 18 U.S.C. § 2339A(b)(3) further provides that for these purposes
      the term ‘expert advice or assistance’ means advice or assistance derived from
      scientific, technical or other specialized knowledge.’’


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   2. Representatives and members of a designated FTO, if they are aliens, are inadmissible
      to and, in certain circumstances, removable from the United States (see 8 U.S.C. §§
      1182 (a)(3)(B)(i)(IV)-(V), 1227 (a)(1)(A)).
   3. Any U.S. financial institution that becomes aware that it has possession of or control
      over funds in which a designated FTO or its agent has an interest must retain
      possession of or control over the funds and report the funds to the Office of Foreign
      Assets Control of the U.S. Department of the Treasury.

Other Effects of Designation

   1. Supports our efforts to curb terrorism financing and to encourage other nations to do
      the same.
   2. Stigmatizes and isolates designated terrorist organizations internationally.
   3. Deters donations or contributions to and economic transactions with named
      organizations.
   4. Heightens public awareness and knowledge of terrorist organizations.
   5. Signals to other governments our concern about named organizations.

Revocations of Foreign Terrorist Organizations

The Immigration and Nationality Act sets out three possible basis for revoking a Foreign
Terrorist Organization designation:

   1. The Secretary of State must revoke a designation if the Secretary finds that the
      circumstances that were the basis of the designation have changed in such a manner as
      to warrant a revocation;
   2. The Secretary of State must revoke a designation if the Secretary finds that the national
      security of the United States warrants a revocation;
   3. The Secretary of State may revoke a designation at any time.

Any revocation shall take effect on the date specified in the revocation or upon publication in
the Federal Register if no effective date is specified. The revocation of a designation shall not
affect any action or proceeding based on conduct committed prior to the effective date of
such revocation.




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State Sponsors of Terrorism
  state.gov./state-sponsors-of-terrorism


Countries determined by the Secretary of State to have repeatedly provided support for acts
of international terrorism are designated pursuant to three laws: section1754(c) of the
National Defense Authorization Act for Fiscal Year 2019, section 40 of the Arms Export
Control Act, and section 620A of the Foreign Assistance Act of 1961). Taken together, the
four main categories of sanctions resulting from designation under these authorities include
restrictions on U.S. foreign assistance; a ban on defense exports and sales; certain controls
over exports of dual use items; and miscellaneous financial and other restrictions.

Designation under the above-referenced authorities also implicates other sanctions laws that
penalize persons and countries engaging in certain trade with state sponsors. Currently there
are four countries designated under these authorities: Cuba, the Democratic People’s
Republic of Korea (North Korea), Iran, and Syria.


 Country                                                  Designation Date

 Cuba                                                     January 12, 2021

 Democratic People’s Republic of Korea (North Korea)      November 20, 2017

 Iran                                                     January 19, 1984

 Syria                                                    December 29, 1979

For more details about State Sponsors of Terrorism, see “Overview of State Sponsored
Terrorism” in Country Reports on Terrorism.




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Designation of Kata'ib Hizballah as a Foreign Terrorist
Organization
  2009-2017.state.gov/r/pa/prs/ps/2009/july/125582.htm


Media Note
Bureau of Public Affairs, Office of the Spokesman

Washington, DC

July 2, 2009




On June 24, 2009 Deputy Secretary of State James B. Steinberg designated Kata’ib Hizballah
(KH) as a Foreign Terrorist Organization (FTO) under Section 219 of the Immigration and
Nationality Act, as amended (INA). Deputy Secretary Steinberg also designated KH under
section 1(b) of Executive Order 13224, as amended. Kata’ib Hizballah is an Iraqi terrorist
organization responsible for numerous terrorist acts against Iraqi, U.S., and other targets in
Iraq since 2007. The Department of State took these actions in consultation with the
Attorney General, the Secretary of the Treasury, and other relevant U.S. agencies.

These designations play a critical role in our fight against terrorism and are an effective
means of curtailing support for terrorist activities and pressuring groups to get out of the
terrorism business. The consequences of these designations include a prohibition against
U.S. persons providing material support or resources to, or engaging in other transactions
with KH, and the freezing of all property and interests in property of the organization that
are in the United States, or come within the United States, or the control of U.S. persons.

Kata’ib Hizballah is a radical Shia Islamist group with an anti-Western establishment and
jihadist ideology that has conducted attacks against Iraqi, U.S, and Coalition targets in Iraq.
Kata’ib Hizballah has ideological ties to Lebanese Hizballah and gained notoriety in 2007
with attacks on U.S. and Coalition forces designed to undermine the establishment of a
democratic, viable Iraqi state. The organization has been responsible for numerous violent
terrorist attacks since 2007, including improvised explosive device bombings, rocket
propelled grenade attacks, and sniper operations. Kata’ib Hizballah also targeted the
International Zone in Baghdad in a November 29, 2008 rocket attack that killed two UN
workers. In addition, KH has threatened the lives of Iraqi politicians and civilians that
support the legitimate political process in Iraq.

The Department of Treasury has also designated Kata’ib Hizballah under Executive Order
13438.



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       The United States To Impose Sanctions on Chinese Firm Zhuhai
       Zhenrong Company Limited for Purchasing Oil From Iran
       PRESS STATEMENT

       MICHAEL R. POMPEO, SECRETARY OF STATE

       JULY 22, 2019



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   Today, the United States is taking further action as part of our maximum economic pressure campaign against the Iranian
   regime by imposing sanctions on the Chinese firm Zhuhai Zhenrong Company Limited and its chief executive for knowingly
   purchasing or acquiring oil from Iran, contrary to U.S. sanctions. We said we would fully enforce our sanctions, and we are
   backing this up with real action. The announcement today will help deny the regime critical income to fund terror around
   the world, engage in foreign conflicts, and advance its ballistic missile development. The Iranian regime must cease these
   destabilizing activities.


   Zhuhai Zhenrong Company Limited knowingly engaged in a significant transaction for the purchase or acquisition of crude
   oil from Iran. The transaction in question took place after the expiration of China’s Significant Reduction Exception (SRE) on
   May 2, 2019, and was not covered by that SRE. Among other things, the imposition of these sanctions blocks all property
   and interests in property of Zhuhai Zhenrong Company Limited that are in the United States or within the possession or
   control of a U.S. person, and provides that such property and interests in property may not be transferred, paid, exported,
   withdrawn, or otherwise dealt in. Additionally, the United States is imposing several restrictions as well as a ban on entry
   into the United States on Youmin Li, a corporate officer and principal executive officer of Zhuhai Zhenrong Company
   Limited. To implement my action today, the Department of the Treasury is adding Zhuhai Zhenrong Company Limited and
   Youmin Li to its List of Specially Designated Nationals and Blocked Persons.


   Any entity considering evading our sanctions should take notice of this action today. It underscores our commitment to
   enforcement and to holding the Iranian regime accountable. The United States will continue to deny funding to this
   regime, which uses its wealth and tremendous resources to enrich itself, deprive the Iranian people of opportunity, and
   fuel its destructive foreign policy. All entities must do their diligence and stay well clear of sanctioned Iranian entities and
   sectors. No company or nation should be willing to expose itself to the possibility of supporting Iran’s Islamic Revolutionary
   Guard Corps or the regime’s regional proxies
https://web.archive.org/web/20210116131318/https://www.state.gov/the-united-states-to-impose-sanctions-on-chinese-firm-zhuhai-zhenrong-company-… 1/3



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   Guard Corps or the regime’s regional proxies.




   TAGS


     Bureau of East Asian and Pacific Affairs       Bureau of Economic and Business Affairs          Bureau of Near Eastern Affairs


     China      Division for Counter Threat Finance and Sanctions          Iran      Office of the Spokesperson       Oil      Sanctions


     The Secretary of State




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8/25/2021                                                                                 Fact Sheet: New Sanctions on Iran



U.S. DEPARTMENT OF THE TREASURY

Press Center



  Fact Sheet: New Sanctions on Iran
  11/21/2011
  Today, the United States is taking a series of actions to confront the threat posed by Iran and significantly increase pressure on Iran to comply with the full range of its international
  obligations and to address the international community’s longstanding concerns regarding its nuclear program. These steps include: expanding sanctions to target the supply of goods,
  services, technology, or support (above certain monetary thresholds) to Iran for the development of its petroleum resources and maintenance or expansion of its petrochemical industry;
  designating eleven individuals and entities under Executive Order 13382 for their role in Iran’s WMD program; and identifying the Islamic Republic of Iran as a jurisdiction of “primary
  money laundering concern” under section 311 of the USA PATRIOT Act.

  These actions underscore the Administration’s continued strong commitment – particularly in light of the IAEA Director General’s most recent report – to hold the Iranian regime
  accountable for its refusal to comply with its international obligations regarding its nuclear program. The Administration is also sending an unequivocal message to the Government of
  Iran today that it will continue to face increasing international pressure until it addresses the international community’s legitimate concerns regarding the nature of Iran’s nuclear
  program.

  New Sanctions under Executive Order (E.O.) 13590:

  On November 19, President Obama signed E.O. 13590, which significantly expands existing energy-related sanctions on Iran to authorize sanctions on persons that knowingly provide:

  1. Goods, Services, Technology, or Support for the Development of Petroleum Resources:

          The sale, lease, or provision of goods, services, technology, or support to Iran that could directly and significantly contribute to the enhancement of Iran’s ability to develop
          petroleum resources located in Iran could trigger sanctions if a single transaction has a fair market value of $1 million or more, or if a series of transactions from the same entity
          have a fair market value of $5 million or more in a 12-month period.

  2. Goods, Services, Technology, or Support for the Maintenance or Expansion of the Petrochemical Sector:

          The sale, lease, or provision of goods, services, technology, or support to Iran that could directly and significantly facilitate the maintenance or expansion of its domestic
          production of petrochemical products could trigger sanctions if a single transaction has a fair market value of $250,000 or more, or if a series of transactions from the same entity
          have a fair market value of $1 million or more in a 12-month period.

  If a person is found to have provided a good, service, technology, or support described in E.O. 13590, the Secretary of State, in consultation with other agencies, has the authority to
  impose sanctions, including prohibitions on: foreign exchange transactions; banking transactions; property transactions in the United States; U.S. Export-Import Bank financing; U.S.
  export licenses; imports into the United States; loans of more than $10 million from U.S. financial institutions; U.S. government procurement contracts; and, for financial institutions,
  designation as a primary dealer or repository of U.S. government funds.

  Designation of Entities under E.O. 13382:

  The U.S. Department of State has designated the Nuclear Reactors Fuel Company, Noor Afzar Gostar Company, Fulmen Group, and Yasa Part under E.O. 13382 for their role in Iran’s
  nuclear procurement networks. They support a variety of Iran’s proscribed nuclear procurement activities, including centrifuge development, heavy water research reactor activities, and
  uranium enrichment.

  The U.S. Department of the Treasury also has designated Javad Rahiqi, Modern Industries Technique Company (MITEC), Neka Novin, Parto Sanat, Paya Partov, Simatic, and the Iran
  Centrifuge Technology Company (TESA) under E.O. 13382. These entities are linked to the Atomic Energy Organization of Iran (AEOI), which is a key actor in Iran’s nuclear program
  as the main Iranian organization for research and development activities in the field of nuclear technology, including Iran’s centrifuge enrichment program and experimental laser
  enrichment of uranium program. The AEOI was listed in the Annex to E.O. 13382 and has been sanctioned by the United Nations in Security Council resolution 1737.

  E.O. 13382 blocks the assets under U.S. jurisdiction of the designated persons and prohibits U.S. persons from engaging in transactions involving them.

  To view the complete list of designations under E.O. 13382, visit link        .

  Identification of the Islamic Republic of Iran as a Jurisdiction of “Primary Money Laundering Concern” Under Section 311 of the USA PATRIOT Act:

  The U.S. Department of the Treasury identified the Islamic Republic of Iran as a jurisdiction of primary money laundering concern under Section 311 of the USA PATRIOT Act (Section
  311) based on Iran’s support for terrorism; pursuit of weapons of mass destruction (WMD); reliance on state-owned or controlled agencies to facilitate WMD proliferation; and the illicit
  and deceptive financial activities that Iranian financial institutions – including the Central Bank of Iran – and other state-controlled entities engage in to facilitate Iran’s illicit conduct and
  evade sanctions.

  In issuing today’s Finding, Treasury has for the first time identified the entire Iranian financial sector; including Iran’s Central Bank, private Iranian banks, and branches, and subsidiaries
  of Iranian banks operating outside of Iran as posing illicit finance risks for the global financial system.

  The Finding also creates a clear public record of the scope and depth of Iran’s illicit conduct, detailing the involvement of Iranian government agencies and banking institutions in WMD
  proliferation, support for terrorism, and other illicit conduct. In particular, the Finding includes new information about the Central Bank of Iran’s role in facilitating Iran’s illicit conduct and
  Iran’s efforts to evade international sanctions.

  Today’s action reinforces U.S. and international sanctions already in place against Iran and provides greater certainty that the U.S. financial system is protected from Iranian illicit
  activity.

https://www.treasury.gov/press-center/press-releases/Pages/tg1367.aspx                                                                                                                                    1/2



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8/25/2021                                                                              Fact Sheet: New Sanctions on Iran

  Treasury’s Financial Crimes Enforcement Network (FinCEN) also today filed a Notice of Proposed Rule Making (NPRM), in which it proposes imposing a special measure against Iran.
  While current U.S. regulations already generally prohibit U.S. financial institutions from engaging in both direct and indirect transactions with Iranian financial institutions, this action
  would require U.S. financial institutions to implement additional due diligence measures in order to prevent any improper indirect access by Iranian banking institutions to U.S.
  correspondent accounts.

  To view the complete 311 Finding, visit link        .
  To view the NPRM, visit link   .

  To view a fact sheet on Section 311, visit link.​




https://www.treasury.gov/press-center/press-releases/Pages/tg1367.aspx                                                                                                                            2/2



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            Treasury and State Department Iran Designations Identifier Information
                  Pursuant to E.O. 13224 (Terrorism) and E.O. 13382 (WMD)
                                       October 25, 2007

E.O. 13224

1. Entity:             BANK SADERAT IRAN
AKA:                   Iran Export Bank
AKA:                   Bank Saderat PLC
Location:              PO Box 15745-631, Bank Saderat Tower, 43 Somayeh Avenue, Tehran,
                       Iran, and all offices worldwide, including:
Location:              16 rue de la Paix, 75002 Paris, France
Location:              Postfach 160151, Friedenstr 4, D-603111 Frankfurt am Main, Germany
Location:              Postfach 112227, Deichstrasse 11, 20459 Hamburg, Germany
Location:              PO Box 4308, 25-29 Venizelou St, GR 105 64 Athens, Attica, Greece
Location:              3rd Floor, Aliktisad Bldg, Ras El Ein Street, Baalbak, Baalbak, Lebanon
Location:              1st Floor, Alrose Bldg, Verdun Rashid Karame St, Beirut, Lebanon
Location:              PO Box 5126, Beirut, Lebanon
Location:              Alghobeiri Branch - Aljawhara Bldg, Ghobiery Blvd, Beirut, Lebanon
Location:              Borj Albarajneh Branch - Alholom Bldg, Sahat Mreijeh Kafaat St, Beirut,
                       Lebanon
Location:              Sida Riad Elsoleh St, Martyrs Square, Saida, Lebanon
Location:              PO Box 1269, 112 Muscat, Oman
Location:              PO Box 2256, Doha, Qatar
Location:              No 181, Makhtoomgholi Ave, 2nd Floor, Ashgabat, Turkmenistan
Location:              PO Box 700, Abu Dhabi, UAE
Location:              PO Box 16, Liwara Street, Ajman, UAE
Location:              PO Box 1140, Al-Am Road, Al-Ein Al Ain, Abu Dhabi, UAE
Location:              PO Box 4182, Murshid Bazar Branch, Dubai City, UAE
Location:              Sheikh Zayed Rd, Dubai City, UAE
Location:              Khaled Bin Al Walid St, Dubai City, UAE
Location:              PO Box 4182, Almaktoum Rd, Dubai City, UAE
Location:              PO Box 316, Bank Saderat Bldg, Al Arooba St, Borj Ave, Sharjah, UAE
Location:              5 Lothbury, London, EC2R 7HD, UK
Location:              PO Box 15175/584, 6th Floor, Sadaf Bldg, 1137 Vali Asr Ave, 15119-
                       43885, Tehran, Iran

2. Entity:      ISLAMIC REVOLUTIONARY GUARDS CORPS (IRGC)- QODS FORCE
AKA:                 Pasdaran-e Enghelab-e Islami (Pasdaran)
AKA:                 Sepah-e Qods (Jerusalem Force)


DESIGNATIONS BY THE STATE DEPARTMENT
PURSUANT TO E.O. 13382

1. Entity:             ISLAMIC REVOLUTIONARY GUARD CORPS




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AKA:              IRGC
AKA:              IRG
AKA:              AGIR
AKA:              The Iranian Revolutionary Guards
AKA:              The Army of the Guardians of the Islamic Revolution
AKA:              Sepah-e Pasdaran-e Enqelab-e Eslami
AKA:              Pasdaran-e Enghelab-e Islami
AKA:              Pasdaran-e Inqilab
AKA:              Revolutionary Guards
AKA:              Revolutionary Guard
AKA:              Sepah
AKA:              Pasdaran
AKA:              Sepah Pasdaran
AKA:              Islamic Revolutionary Corps
AKA:              Iranian Revolutionary Guard Corps
Location:         Tehran, Iran

2. Entity         MINISTRY OF DEFENSE AND ARMED FORCES LOGISTICS
AKA:              Ministry of Defense and Support for Armed Forces Logistics
AKA:              MODAFL
AKA:              MODSAF
Location:         Located on the West Side of Dabestan Street, Abbas Abad District,
                  Tehran, Iran

DESIGNATIONS BY THE TREASURY DEPARTMENT
PURSUANT TO E.O. 13382

Bank Melli

1. Entity:        BANK MELLI IRAN
Location:         Ferdowsi Avenue, P.O. Box 11365-171, Tehran, Iran, and all offices
                  worldwide, including:
Location:         43, Avenue Montaigne, Paris 75008, France
Location:         Holzbrucke 2, 20459 Hamburg, Germany
Location:         Nobel Avenue 14, Baku, Azerbaijan Republic
Location:         P.O. Box 2643 PC 112, Muscat, Oman
Location:         P.O. Box 5270, Oman Street, Al Nakheel, Ras al Khaimah, UAE
Location:         P.O. Box 248, Al Marash R/A, Hamad Bin Abdullah Street,
                  Fujairah, UAE
Location:         P.O. Box 459, Al Burj Street, Sharjah, UAE
Location:         P.O. Box 1888, Clock Tower, Industrial Road, Al Ain,
                  Abu Dhabi, UAE
Location:         P.O. Box 2656, Hamdan Street, Abu Dhabi, UAE
Location:         P.O. Box 3093, Khalid Bin Waleed Street, Bur Dubai, UAE
Location:         P.O. 1894, Beniyas Street, Dubai, UAE
Location:         No. 111-27, Alley - 929, District - Arasat Street, Baghdad, Iraq




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Location:         704-6 Wheelock House, 20 Pedder Street, Hong Kong, China

2. Entity:        BANK KARGOSHAEE
AKA:              Kargosa’i Bank
Location:         587 Mohammadiye Square, Mowlavi St., Tehran, 11986, Iran

3. Entity:        BANK MELLI IRAN ZAO
Location:         Number 9/1, Ulitsa Mashkova, Moscow 103064, Russia

4. Entity:        MELLI BANK PLC
Location:         1 London Wall, London, EC2Y 5EA, United Kingdom

5. Entity:        ARIAN BANK (Joint Venture between Banks Melli and Saderat)
AKA:              Aryan Bank
Location:         House 2, Number 13, Wazir Akbar Khan, Kabul, Afghanistan


Bank Mellat

6. Entity:        BANK MELLAT
Location:         327 Taleghani Avenue, 15817 Tehran, Iran, and all offices worldwide,
                  including:
Location:         P.O. Box 375010, Amiryan Street #6, P/N-24, Yerevan, Armenia
Location:         Keumkang Tower, 13th and 14th Floors, 889-13 Daechi-Dong,
                  Gangnam-Ku, Seoul 135-280, South Korea
Location:         P.O. Box 79106425, Ziya Gokalp Bulvari No. 12, Kizilay,
                  Ankara, Turkey
Location:         Cumhuriyet Bulvari No. 88/A, PK 7103521, Konak, Izmir, Turkey
Location:         Buyukdere Cad, Cicek Sokak No. 1-1, Levent, Istanbul, Turkey

7. Entity:        MELLAT BANK SB CJSC
AKA:              Mellat Bank DB AOZT
Location:         P.O. Box 24, Yerevan 0010, Republic of Armenia

8. Entity:        Persia International Bank PLC.
Location:         Number 6 Lothbury, Post Code: EC2R 7HH, United Kingdom


IRGC Entities:

9. Entity:        KHATAM OL ANBIA GHARARGAH SAZANDEGI NOOH
AKA:              Khatam Ol Ambia
AKA:              Ghorb Khatam
AKA:              Khatam Al-Anbya
Location:         Number 221, North Falamak-Zarafshan Intersection, 4th Phase, Shahrak-
                  E-Ghods, Tehran 14678, Iran




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10. Entity:           ORIENTAL OIL KISH
Location:             2nd Floor, 96-98 East Atefi St., Africa Blvd., Tehran, Iran
Alternate location:   Dubai, UAE

11. Entity:           GHORB KARBALA
AKA:                  Gharargah Sazandegi Karbala-Moasseseh Taha
AKA:                  Gharargah Karbala
Location:             No. 2 Firouzeh Alley, Shahid Hadjipour St., Resalat Highway, Tehran,
                      Iran

12. Entity:           SEPASAD ENGINEERING COMPANY
Location:             Number 4 corner of Shad Street, Mollasadra Ave., Vanak Square, Tehran,
                      Iran

13. Entity:           GHORB NOOH
Location:             P.O. Box 16765-3476, Tehran, Iran

14. Entity:           OMRAN SAHEL
Location:             Tehran, Iran

15. Entity:           SAHEL CONSULTANT ENGINEERS
Location:             Number 57, Eftekhar Street, Larestan Street, Motahhari Avenue, Tehran,
                      Iran
Mailing address:      P.O. Box 16765-34, Tehran, Iran

16. Entity:           HARA COMPANY
AKA:                  Hara Institute
Location:             Tehran, Iran

17. Entity:           GHARARGAHE SAZANDEGI GHAEM
AKA:                  Gharargah Ghaem
Location:             Number 25, Valiasr Street, Azadi Square, Tehran, Iran

AIO Individuals:

18. Individual:       BAHMANYAR MORTEZA BAHMANYAR
DOB:                  December 31, 1952
POB:                  Tehran, Iran
Passport:             I0005159 (Iran)
Alternate Passport:   10005159 (Iran)

19. Individual:       AHMAD VAHID DASTJERDI
AKA:                  AHMED DASTJERDI VAHID
DOB:                  January 15, 1954
Passport:             Diplomatic Passport A0002987 (Iran)




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20. Individual:     REZA-GHOLI ESMAELI
DOB:                April 3, 1961
POB:                Tehran, Iran
Passport:           A0002302 (Iran)

IRGC Individuals:

21. Individual:     MORTEZA REZAIE
AKA:                Morteza Rezai
DOB:                circa 1956

22. Individual:     MOHAMMAD HEJAZI
DOB:                circa 1959

23. Individual:     ALI AKBAR AHMADIAN
AKA:                Ali Akbar Ahmadiyan
DOB:                circa 1961
POB:                Kerman, Iran

24. Individual:     HOSEIN SALIMI
AKA:                Hossein Salami
AKA:                Hoseyn Salami
AKA:                Hussayn Salami
Passport:           D08531177 (Iran)

25. Individual:     QASEM SOLEIMANI
AKA:                Ghasem Soleymani
AKA:                Qasmi Sulayman
AKA:                Qasem Soleymani
AKA:                Qasem Solaimani
AKA:                Qasem Salimani
AKA:                Qasem Solemani
AKA:                Qasem Sulaimani
AKA:                Qasem Sulemani
DOB:                March 11, 1957
POB:                Qom, Iran
Passport:           1999 Diplomatic Passport 008827 (Iran)




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Treasury Designates the IRGC under Terrorism Authority
and Targets IRGC and Military Supporters under Counter-
Proliferation Authority
  home.treasury.gov/news/press-releases/sm0177


WASHINGTON – Today, the U.S. Department of the Treasury’s Office of Foreign Assets
Control (OFAC) designated Iran’s Islamic Revolutionary Guard Corps (IRGC) pursuant to the
global terrorism Executive Order (E.O.) 13224 and consistent with the Countering America’s
Adversaries Through Sanctions Act. OFAC designated the IRGC today for its activities in
support of the IRGC-Qods Force (IRGC-QF), which was designated pursuant to E.O. 13224
on October 25, 2007, for providing support to a number of terrorist groups, including
Hizballah and Hamas, as well as to the Taliban. The IRGC has provided material support to
the IRGC-QF, including by providing training, personnel, and military equipment.

Additionally, today OFAC designated four entities under E.O. 13382, which targets weapons
of mass destruction proliferators and their supporters, for their support to the IRGC or Iran’s
military.

“The IRGC has played a central role to Iran becoming the world’s foremost state sponsor of
terror. Iran’s pursuit of power comes at the cost of regional stability, and Treasury will
continue using its authorities to disrupt the IRGC’s destructive activities,” said Treasury
Secretary Steven T. Mnuchin. “We are designating the IRGC for providing support to the
IRGC-QF, the key Iranian entity enabling Syrian President Bashar al-Assad’s relentless
campaign of brutal violence against his own people, as well as the lethal activities of
Hizballah, Hamas, and other terrorist groups. We urge the private sector to recognize that
the IRGC permeates much of the Iranian economy, and those who transact with IRGC-
controlled companies do so at great risk.”

IRGC
The IRGC was designated today for the activities it undertakes to assist in, sponsor, or
provide financial, material, or technological support for, or financial or other services to or in
support of, the IRGC-QF. The IRGC, which is the parent organization of the IRGC-QF, was
previously designated pursuant to E.O. 13382 on October 25, 2007, in connection with its
support to Iran’s ballistic missile and nuclear programs, and pursuant to E.O. 13553 on June
9, 2011 and E.O. 13606 on April 23, 2012, in connection with Iran’s human rights abuses.

The IRGC has provided material support to the IRGC-QF, including by providing training,
personnel, and military equipment. The IRGC has trained IRGC-QF personnel in Iran prior
to their deployments to Syria, and has deployed at least hundreds of personnel from its
conventional ground forces to Syria to support IRGC-QF operations. IRGC personnel in


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Syria have provided military assistance to the IRGC-QF, and have been assigned to IRGC-QF
units on the battlefield, where they provide critical combat support, including serving as
snipers and machine gunners.

Additionally, the IRGC has recruited, trained, and facilitated the travel of Afghan and
Pakistani nationals to Syria, where those personnel are assigned to, and fight alongside, the
IRGC-QF. The IRGC also has worked with the IRGC-QF to transfer military equipment to
Syria. The IRGC used both IRGC bases and civilian airports in Iran to transfer military
equipment to Iraq and Syria for the IRGC-QF.

Shahid Alamolhoda Industries, Rastafann, and Fanamoj
OFAC also designated today three Iran-based entities pursuant to E.O. 13382 for their
activities related to two key elements of Iran's military.

Shahid Alamolhoda Industries (SAI) was designated for being owned or controlled by Iran's
Naval Defence Missile Industry Group (SAIG). SAIG, which is involved in the development
and production of cruise missiles and is responsible for naval missiles, was designated
pursuant to E.O. 13382 on June 16, 2010. SAIG also is sanctioned by the United Nations and
the European Union. SAI, a direct subordinate to SAIG, is involved in the development of
missile components.

Rastafann Ertebat Engineering Company (Rastafann) was designated for having provided, or
attempted to provide, financial, material, technological, or other support for, or goods or
services in support of, SAIG and the IRGC. Rastafann has provided radar systems to SAIG
and communications equipment to the IRGC.

Fanamoj, the parent company of Rastafann, was designated for having provided, or
attempted to provide, financial, material, technological, or other support for, or goods or
services in support of, the IRGC. Fanamoj has designed components for the Iranian
military's missile systems.

Wuhan Sanjiang Import and Export Co. LTD



Additionally, OFAC designated China-based Wuhan Sanjiang Import and Export Co. LTD
(Wuhan Sanjiang) pursuant to E.O. 13382 for proliferation activities related to a key
supporter of Iran’s military. Wuhan Sanjiang has provided financial, material, technological,
or other support for, or goods or services in support of, Iran’s Shiraz Electronics Industries
(SEI).

SEI was designated pursuant to E.O. 13382 on September 19, 2008, for being owned or
controlled by Iran’s Ministry of Defense and Armed Forces Logistics (MODAFL). SEI
engaged in the production of various electronics equipment for the Iranian military,


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including radars, microwave electron vacuum tubes, naval electronics, avionics and control
systems, training simulators, missile guidance technology, and electronic test equipment.

Since at least 2014, Wuhan Sanjiang has entered into contracts to sell SEI navigation-related
gyrocompasses valued at hundreds of thousands of dollars. Wuhan Sanjiang has sold SEI a
variety of highly specialized sensors valued at nearly one million dollars, and has taken steps
to obfuscate those transactions to avoid detection.

Additionally, in 2011, Wuhan Sanjiang transferred six off-road lumber transporter vehicles to
North Korea, which North Korea subsequently converted into Transporter-Erector-
Launchers (TELs) for use in its ballistic missile program.

Identifying information on the entities that were listed today.
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